Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 1 of 1061 PageID #: 196




UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

 ARMAND SKRINE,

                                  Petitioner,
               -against-
                                                          No. 23-cv-04575-DG
 CHRISTOPHER COLLINS,

                                 Respondent.




                               STATE COURT RECORD




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 Dated: December 1, 2023
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 2 of 1061 PageID #: 197




                                    TABLE OF CONTENTS

Supreme Court, Richmond County, Decision and Order
on Defendant’s Motions to Suppress, dated July 17, 2013 .................................... 1-7

Defendant’s Appellate Division, Second Department, Brief .............................. 8-79

The People’s Appellate Division, Second Department, Brief ......................... 80-126

Defendant’s Appellate Division, Second Department, Reply Brief .............. 127-147

Decision & Order of the Appellate Division, Second Department,
      dated January 12, 2023 ....................................................................... 148-149

Defendant’s Initial Letter Seeking Leave to Appeal to the New York
     Court of Appeals .................................................................................. 150-151

Defendant’s Supplemental Letter Seeking Leave to Appeal ......................... 152-156

The People’s Letter in Opposition ................................................................. 157-160

Order of the Court of Appeals Denying Leave to Appeal,
      dated March 24, 2022, ................................................................................ 161

Pretrial Hearing Transcript ............................................................................ 162-228

Voir Dire Transcript ....................................................................................... 229-469

Trial Transcript ............................................................................................ 470-1041

Sentencing Transcript ................................................................................ 1042-1059
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 3 of 1061 PageID #: 198
000001



 SUPREME COURT OF THE STATE OF NEW YORK
 COUNTY OF RICHMOND: CRIMINAL TERM - PART 12

 HON. ROBERT J. COLLINI, J.S.C.

  THE PEOPLE OF THE STATE OF NEW YORK,
                                                                   DECISION AND ORDER
                                                                   ON DEFENDANT'S
                                                                   MOTIONS TO SUPPRESS
                           -against-


                                                                   July 17, 2013


  ARMAND SKRINE,                                                   Indictment No.: 454/2011

                                         Defendant.



        A Dunaway/Huntley/Mapp/Wade hearing having been conducted before this Court
 on June 14, 2013, and upon due consideration of the arguments of counsel 1, it is decided as
 follows ~
        DETECTIVE DANIEL GUARIANO of the 120 th Squad, POLICE OFFICER
JEFFREY ANDERSON ofthe 120th Precinct and DETECTIVE EDWARD T. PATTERSON
 of the 120th Squad testified on the People's behalf. Defendant did not produce any witnesses.



                                       FINDINGS OF FACT


        The Court, having heard the testimony of the witnesses and having observed their
demeanor, finds each witness credible in all respects.
        On December 8, 2011 at approximately 11:55 a.m., P.O. Anderson received a radio

        1
            Memoranda of counsel: People, dated July 15, 2013 ; defense, dated July 10, 2013.

                                             Page 1 of 7
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 4 of 1061 PageID #: 199
000002



 run of a male shot only about a few minutes earlier .,it 195 Steuben Street in Staten Island,
 New York. P .0. Anderson and his partner were in uniform, riding in a marked police vehicle
• when they drove from the Verrazano Bridge onto the north service road. (People's 3 in
  evidence is a recording of the radio trasmissions.)
            As they drove along the service road and neared a wooded area, P.O. Anderson
 observed defendant. This occurred approximately five minutes after receiving the radio run.
            Defendant was walking alone and no other pedestrians were in the area. He was not
 disheveled in appearance. He appeared nervous and made eye contact with P.O. Anderson
 as he was driving past. He then began to walk faster.
            P.O. Anderson then stopped his vehicle, backed up and both officers exited.
 Defendant appeared sweaty2 and fidgety. He refused the officers' request for identification.
 P.O. Anderson had his gun out, but at his side, while, at this point, his partner proceeded to
 handcuff defendant for safety. Defendant had no blood on him.
        Mud was observed on defendant's black sneakers. There was mud along a path in the
 woods, which leads to 195 Steuben Street. It is an approximate five-minute walk between
 that location and where defendant was stopped by police.
        A wallet was recovered from defendant's person with his driver's license along with
 counterfeit United States currency.
        Other police officers arrived and a name check was conducted, which revealed that
 defendant had an active "I-card" for his arrest for assault in Queens.
        The radio run reveals that no description of a suspect was broadcasted over the radio.
 Even P.O. Anderson could be heard requesting a description and the police dispatcher made
 several attempts to telephone the 911 caller who reported the shooting, all of which were to
 no avail.
        Thus, at the time defendant was stopped, there was no description of any suspect, not
even whether it was a male or female.
        Shortly thereafter it was confirmed that the shooting was, in fact, a homicide. Det.
Guariano was assigned to assist in the investigation.
        Later that day at approximately 4:00 p.m. while with the K-9 unit, Det. Guariano


        2
            The temperature was approximately 40-45 degrees.

                                            Page 2 of 7
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 5 of 1061 PageID #: 200
000003



 discovered a black and grey duffel bag in the heavily wooded area between 195 Steuben
 Street and the service road where defendant was stopped. At that time, he was unaware that
 anyone had been arrested in connection with the case.
        Inside the bag was a semiautomatic weapon with gray masking tape affixed to it
 (People's 1 in evidence is a photo of the bag; People's 2in evidence is a photo of the wooded
 area where the bag was found).
        At approximately 2:00 p.m. on December 8, 2011, defendant was present inside the
 interview room at the 120 th Squad with Det. Patterson and Det. Hoti.             Prior to the
 administration of Miranda warnings, both detectives were discussing the counterfeit money
 in defendant's presence when defendant said, "I picked that money up."
        Det. Patterson subsequently tried to read Miranda to defendant eight times over the
 course of eight to ten hours. Defendant was completely unresponsive.
        A photo array was conducted by Det. Patterson on January 6, 2012 at I :45 p.m.
 (People's 4 in evidence). The Photo Manager System created the array after Det. Patterson
 entered defendant's NYSID as the subject of the array. The computer generated photos of
 individuals similar in appearance to defendant and the program selected defendant's position
 in the array as number one.
       Instructions on viewing the array (People's 5 in evidence) were read to the witness
 who viewed the array. The witness selected defendant's photo.




                                 CONCLUSIONS OF LAW



Physical Evidence Recovered From Defendant's Person and
Defendant's Statement to Police

       In People v. DuBour, 40 NY2d 210 (1976), the Court of Appeals provided a
"graduated four-:level test for evaluating street encounters initiated by the police," which was
reaffirmed by the Court in People v. Moore, 6 NY3d 496 (2006). Under this test, "level one


                                          Page 3 of 7
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 6 of 1061 PageID #: 201
000004



 permits a police officer to request information from an individual and merely requires that
 the request be supported by an objective, credible reason, not necessarily indicative _of
 criminality; level two, the common-law right ofinquiry, permits a somewhat greater intrusion
 and requires a founded suspicion that criminal activity is afoot; level three authorizes an
 officer to forcibly stop and detain an individual, and requires a reasonable suspicion that the
 particular individual was involved in a felony or a misdemeanor; level four requires probable
 cause to believe that the person to be arrest has committed a crime." People v DuBour, 40
 NY2d ~t 223; People v. Kennebrew, 106 AD3d 1107, 1108-1109 (2d Dept 2013).
        "To elevate the right to a level three to forcibly stop and detain, the police must obtain
 additional information or make additional observations of suspicious conduct sufficient to
 provide reasonable suspicion of criminal behavior." People v. Moore, 6 NY3d at 500-501.
        Here, when they initially confronted defendant, the police had, at most, a level one
 request for information under DuBour. The police, however, immediately proceeded from
 a level one to a level three by forcibly detaining and handcuffing defendant and recovering
 his wallet. This includes the counterfeit bills and forms of identification recovered from
 defendant's wallet and those otherwise on his person.
        There was simply no basis 3 for any inquiry beyond that of a level one. Nervousness,
 on defendant's part, is not a permissible indicator of criminality. People v. Garcia, 20 NY3d
 317, 324(2012); People v. Milaski, 62 NY2d 147 (1984). There was no blood visible on
 defendant nor any other evidence indicative of defendanthaving been in a shooting or even
 a physical altercation.
        A higher level inquiry may have been permissible if even _a general description of a
 suspect was broadcasted over the radio based on the geographic and temporal proximity to
the scene of the homicide, even without the observation of mud on defendant's sneakers.




        3
         While the Court must abide by binding authority from the New York State Court of
Appeals and the United States Supreme Court, as applicable here, it should be emphasized that
the police officers believed that they were taking appropriate and justifiable actions relative to
this defendant. In fact, these officers should be commended for their efforts, including to
repeatedly request a description of the suspect and for having superlative instinct and perception.
Their actions were neither overzealous nor borne out of any malicious intent.

                                            Page 4 of 7
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 7 of 1061 PageID #: 202
000005



         Here4, the police knew not whether there were multiple suspects nor if the suspect(s)
 was (were) male or female.
        Based on the foregoing, the recovery of physical evidence from defendant's person
 (i.e., the counterfeit currency and identification cards) must be suppressed.
                                                               th
         Similarly, defendant' s statement to the police at 120 Precinct is suppressed as a fruit
 of the unjustified ·detention of defendant along the service road. It is further suppressed as:
 (1) defendant was clearly in cµstody for Miranda purposes; (2). Miranda was not read to
 defendant when he made the statements; and (3) his statement was not spontaneously uttered
 based on the fact that the two detectives were conversing about the counterfeit currency in
 front of defendant immediately prior to defendant making his statement about that currency.




 Recovery of Defendant's Duffel Bag


        Defendant's motion to suppress physical evidence as to the duffel bag and its contents
 is DENIED in all respects.
        ·First, defendant has not demonstrated standing nor a legitimate expectation ofprivacy
 to challenge the search and recovery of the bag that he left in the woods. People v. Scully,


        4
           One conceivable scenario where geographic and temporal proximity alone might permit
 a higher level inquiry would be where, among other facts, if an officer was outside of a building,
 heard a gunshot clearly emanate from inside that building and then stopped an individual who
 exited that building. Here, the officers were not "ear-witnesses" and defendant was a several-
 minute walk from the location. Further, defendant was walking along a street during midday, not
 late in the evening nor in the early morning hours. Without even the most general or vaguest of
 descriptions of a suspect, any inquiry beyond that of a "level qne" under DuBour was
 constitutionally impermissible.
        5
          "[F]ully sensitive to defendant's rights, yet using an objective standard, the Trial Judge
 must determine whether defendant's statement can be said to have been triggered by police
 conduct which should reasonably have been anticipated to evoke a declaration from defendant."
 People v. Lynes, 49 NY2d 286, 295 (1980). See also, People v. Damiano, 87 NY2d 477, 486-
 487 (1996).


                                             Page 5 of 7
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 8 of 1061 PageID #: 203
000006



 14 NY3d 861 (2010); People v. Burton, 6 NY3d 584 (2006).
        Second, even if defendant had standing, he voluntarily abandoned his bag in the
 woods. Neither was defendant under police pursuit at the time he abandoned his bag. See,
 e.g., People v. Hills, 295 AD2d 365 (2d Dept 2002).




 Photo Array


        "The test for determining whether a pretrial identification was so unfair as to be
 violative of due process is whether 'the confrontation ... was so unnecessarily suggestive
 and conducive to irreparable mistaken identification that [the defendant] was denied due .
 process of law.' In the case of a photo array, '[t]he general rule _is that [it] is deemed to be
 suggestive when some characteristic of one picture draws the viewer's attention to that
 picture, indicating that the police have made a particular selection."' People v. Killimayer,
 40 AD3d 1118 (2d Dept 2007), lv. denied, 9 NY3d 866 (2007) (internal citations omitted).
      "Contrary to the defendant's contentions, the photo array was not unduly suggestive,
 as the individuals in the photo array were sufficiently similar in appearance to the defendant."
 People v. Mitchell, 47 AD3d 951 (2d Dept 2008), lv. denied, 10 NY3d 867 (2008).
       Finally, the photo array, which was conducted almost one whole month following
 defendant's arrest, was clearly attenuated from any unlawful stop.



                                              ***




                                           Page 6 of 7
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 9 of 1061 PageID #: 204
000007




        Accordingly, defendant's motions to suppress are granted in part, and are denied in
 part, as set forth above.
        This constitutes the decision, opinion and order of the Court .




 Dated: July 17, 2013                                             . S. C.
 Staten Island, New York                                HON. ROBERT J. COLLINf




                                         Page 7 of 7
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 10 of 1061 PageID #: 205
 000008


                                                       To be argued by
                                                       NATALIE REA
                                                       (10 Minutes)



        NEW YORK SUPREME COURT

          APPELLATE DIVISION -- SECOND DEPARTMENT


             THE PEOPLE OF THE STATE OF NEW YORK,
                                Respondent,                   TO BE HEARD ON THE
                                                               ORIGINAL RECORD
                         -against-
                                                               Richmond County
              ARMAND SKRINE,
                                                                Ind. No. 454/11
                                Defendant-Appellant.
                                                               AD No. 2014-07390


                BRIEF FOR DEFENDANT-APPELLANT




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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 11 of 1061 PageID #: 206
 000009


                                            TABLE OF CONTENTS

       TABLE OF AUTHORITIES ......................................................................... iii

       PRELIMINARY STATEMENT ..................................................................... 1

       QUESTIONS PRESENTED ........................................................................... 2

       SUMMARY OF ARGUMENT ....................................................................... 2

       STATEMENT OF FACTS .............................................................................. 4

               The Charges ........................................................................................... 4

               Pretrial Proceedings............................................................................... 5

               The Trial ................................................................................................ 7

                   The Crime Scene .............................................................................. 8

                   The Investigation ............................................................................ 11

                   Physical Evidence .......................................................................... 11

                        • Evidence recovered from the 7th floor ................................. 12
                        • Evidence recovered from the duffel bag .............................. 13
                        • Evidence recovered at the precinct ...................................... 15


               Identification Testimony ..................................................................... 17

               The Defense ......................................................................................... 24

               Motions and Summations .................................................................... 24

               Charge, deliberations and verdict ........................................................ 27

               Post-Verdict Motion and Sentence...................................................... 30

               The Sentence ....................................................................................... 31
                                                         i
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 12 of 1061 PageID #: 207
 000010




       ARGUMENT

       POINT I

       Where The People’s Case Was Based Entirely On The Inadmissible Hearsay
       Testimony Of An OCME Analyst Who Did Not Construct The DNA Profile;
       An Inadmissible, Never-Authenticated Mask With The Only Full DNA
       Profile; And The Improper, Repeated Use Of Appellant’s Suppressed
       Clothing, Counsel’s Failure To Object To Any Of This Inadmissible Evidence
       Deprived Appellant Of The Effective Assistance Of Counsel, Mandating
       Reversal. U.S. Const., Amends. VI, XIV; N.Y. Const., Art. I, §6. ............... 35

             I.       Counsel’s performance fell far below reasonable objective
                      standard. .................................................................................... 37

             A. Counsel did not object to the People’s critical but inadmissible
             evidence ............................................................................................... 38
                                1) Wong’s DNA testimony was inadmissible hearsay…38
                                2) The second mask with the only complete DNA
                                profile was never authenticated and inadmissible… …..41
                                3) Appellant’s suppressed clothing was introduced
                                into evidence without objection ……………………….46

              B.      Counsel’s indecision evinced her lack of preparation .............. 49

              C.      Counsel gave no opening and an incoherent summation ......... 51

             II.      The jury deliberated for four days and, but for counsel’s
                      incompetence, the outcome would have been different ………53




                                                            ii
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 13 of 1061 PageID #: 208
 000011


               POINT II

               Given Appellant’s Difficult Background, History of
               Mental Illness, Insignificant Criminal Record, and
               Expressed Remorse, The Maximum Sentence of 25 Years
               to Life Was Excessive and Should Be Reduced. U.S.
               Const., Amend. XIV; N.Y. Const. Art. I, §5. ...................................... 56

       CONCLUSION.............................................................................................. 60

       PRINTING SPECIFICATIONS STATEMENT .......................................... 1A

       ADDENDUM

               STATEMENT PURSUANT TO 5531............................................... 2A




                                                           iii
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 14 of 1061 PageID #: 209
 000012




                                     TABLE OF AUTHORITIES
                                                                                               Page(s)

       FEDERAL CASES

       Bullcoming v. New Mexico, 564 U.S. 647 (2011)........................................ 38
       Crawford v. Washington, 541 U.S. 36 (2004).........................................36, 38

       Henry v. Poole, 409 F.3d 48 (2d Cir. 2005) .................................................. 52

       Melendez-Diaz v. Massachusetts, 557 U.S. 305 (2009) ............................... 38
       Strickland v. Washington, 466 U.S. 668 (1984) ........................................... 35



       STATE CASES
       People v. Benevento, 91 N.Y.2d 708 (1998) ................................................. 36
       People v. Bennett, 29 N.Y.2d 462 (1972) ...............................................37, 55

       People v. Carillo, 186 A.D.3d 849 (2d Dept. 2020) ...................................... 60

       People v. Childs, 29 A.D.3d 709 (2d Dept. 2006) ........................................ 42
       People v. Clarke, 66 A.D.3d 694 (2d Dept. 2009) ..................................52, 55

       People v. Connelly, 35 N.Y.2d 171 (1974) ................................................... 44

       People v. Cortez, 296 A.D.2d 465 (2d Dept. 2002) ..........................37, 45, 51

       People v. Delgado. 80 N.Y. 2d 780 (1992) ................................................... 56

       People v. Droz, 39 N.Y.2d 457 (1976) .......................................................... 36

       People v. Duren, 130 A.D.3d 842 (2d Dept. 2015) ....................................... 50

       People v. Egan, 6 A.D.3d 1203 (4th Dept. 2004) .......................................... 41
       People v. Farrar, 52 N.Y.2d 302 (1981) ........................................................ 57

                                                      iv
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 15 of 1061 PageID #: 210
 000013


       People v. Farrell, 169 A.D.3d 919 (2d Dept. 2019) ...................................... 59

       People v. Forkey, 72 A.D.3d 1209 (3rd Dept. 2010) .................................... 59
       People v. Goldstein, 6 N.Y. 3d 119 (2005) ................................................... 38

       People v. Hayes, 60 A.D.3d 1097 (3rd Dept. 2009)...................................... 59

       People v. Haynes, 14 A.D. 3d 789 (3rd Dept. 2005)..................................... 59
       People v. Jeffries, 160 A.D.2d 406 (1st Dept. 1990) .................................... 57

       People v. John, 27 N.Y.3d 294 (2016) ..............................................38, 39, 40

       People v. Julian, 41 N.Y.2d 340 (1977) ........................................................ 41
       People v. King, __ A.D. 3d __, 2021WL1202112 (2d Dept. 2021).............. 40

       People v. Lawson, 114 A.D.3d 962 (2d Dept. 2014) ................................ 7, 50

       People v. Long, 81 A.D.2d 521 (2d Dept. 1981) .......................................... 52
       People v. McGee, 49 N. Y.2d 48 (1979) ....................................................... 41
       People v. Merrill, 187 A.D.3d 1058 (2d Dept. 2020).................................... 58

       People v. Oathout, 21 N.Y.3d 127 (2013) .........................................37, 41, 45

       People v. Price, 29 N.Y. 3d 472 (2017)......................................................... 41
       People v. Reyes, 89 A.D.3d 401 (1st Dept. 2011) ........................................ 58

       People v. Rodriguez, 94 A.D.2d 805 (2d Dept. 1983) .................................. 45

       People v. Sarkodie, 172 A.D.3d 909 (2d Dept. 2019) ................................... 60

       People v. Strawbridge, 299 A.D.2d 584 (3d Dept. 2002) ............................. 58

       People v. Thompson, 60 N.Y.2d 513 (1983) ................................................. 56

       People v. Turner, 5 N.Y.3d 476 (2005) ...................................................36, 40

       People v. Watt, 189 A.D.3d 637 (1st Dept. 2020) ........................................ 58
       People v. Wilson, 34 A.D.2d 546 (2d Dept. 1987) ....................................... 49

                                                       v
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 16 of 1061 PageID #: 211
 000014


       STATUTES

       C.P.L. § 330.30 ........................................................................................24, 30
       C.P.L. § 470.15(6)(b)..................................................................................... 56

       C.P.L § 730.30 ................................................................................................. 5

       P.L. § 125.25(1) ............................................................................................... 1
       P.L. § 221.10 .................................................................................................. 58

       P.L. § 265.01 .................................................................................................. 58

       P.L. § 265.03(3) ............................................................................................... 1



       CONSTITUTIONAL PROVISIONS

       N.Y. Const., Art. I, §5. .............................................................................. 2, 56
       N.Y. Const., Art. I, §6. ..............................................................................2, 35
       U.S. Const., Amend. VI .................................................................2, 35, 36, 38

       U.S. Const., Amend. XIV ........................................................2, 35, 36, 38, 56




                                                               vi
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 17 of 1061 PageID #: 212
 000015


       SUPREME COURT OF THE STATE OF NEW YORK
       APPELLATE DIVISION: SECOND DEPARTMENT
       ------------------------------------------------------------- X

       THE PEOPLE OF THE STATE OF NEW YORK,                            :
                                                                       :
                                                Respondent,            :
                                                                       :
                                 against
                                                                       :
       ARMAND SKRINE,                                                  :
                                                                       :
                                     Defendant-Appellant.              :
       -------------------------------------------------------------   X

                                  PRELIMINARY STATEMENT

              This is an appeal from a judgment, rendered July 29, 2014, convicting

       appellant after a jury trial of second-degree murder and criminal possession

       of a weapon in the second degree (P.L. §§125.25(1) and 265.03(3)), and

       sentencing him to an indeterminate term of imprisonment of 25 years to life,

       concurrent to a determinate term of 10 years followed by 2 ½ years of post-

       release supervision, respectively (Collini, J., at hearing and Rooney, J., at trial

       and sentence).

              Notice of appeal of the judgment was timely filed, and on May 8, 2018,

       this Court granted appellant leave to appeal and proceed as a poor person on

       the original record and typewritten briefs and assigned Seymour W. James,

       Jr., succeeded by Janet E. Sabel, as counsel on appeal. Appellant is currently

       incarcerated, pursuant to the judgment herein appealed.

                                                    1
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 18 of 1061 PageID #: 213
 000016


                                QUESTIONS PRESENTED

                    1.     Whether where the People’s case was based
                    entirely on the inadmissible hearsay testimony of an
                    OCME analyst who did not construct the DNA
                    profile; an inadmissible, never-authenticated mask
                    with the only full DNA profile; and the improper,
                    repeated use of appellant’s suppressed clothing,
                    counsel’s failure to object to any of this
                    inadmissible evidence deprived appellant of the
                    effective assistance of counsel, mandating reversal.

                    2.    Whether      given    appellant’s     difficult
                    background, history of mental illness, insignificant
                    prior criminal record, and expressed remorse, the
                    maximum sentence of 25 years to life was excessive
                    and should be reduced.


                              SUMMARY OF ARGUMENT


             On December 8, 2011, in the lobby of 195 Steuben Street on Staten

       Island, the janitor saw a tall person, 6’5” or more, dressed all in black, with a

       black full-face ski mask and carrying a gym bag. Five to ten minutes later,

       David Williams was fatally shot in the seventh-floor hallway, in front of his

       apartment. Appellant, who was Williams’ friend and former college

       roommate, and who stands somewhere between 6’5” and 6’7”, was arrested

       in the vicinity shortly thereafter. Later that afternoon, a duffel bag containing

       items of clothing, including a full-face black ski mask and the murder weapon



                                              2
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 19 of 1061 PageID #: 214
 000017


       was recovered in a wooded area near the building. Appellant was charged

       with the murder.

             Before trial, the court suppressed everything recovered from appellant

       at the time of arrest, including his clothing. At trial, the People’s case against

       appellant was based on a full DNA profile of appellant recovered from a small

       mask, a partial DNA profile from a full-face mask, and the comparable extra-

       large size of the clothing worn by appellant at the time of arrest and recovered

       from the duffel bag in the woods. All that evidence was inadmissible and

       should never have been presented to the jury. It was and counsel never

       objected.

             The only DNA testimony came from Irene Wong, a criminalist at the

       OCME who had only reviewed reports by others and therefore, her testimony

       was inadmissible hearsay. The key OCME criminalists with initials BMA or

       FR who edited and constructed appellant’s DNA profile never testified. Nor

       did DMW or SNP and KLB, the OCME criminalists who edited and

       constructed the DNA profiles from the two masks. Counsel did not object.

       The smaller black mask with the only full DNA profile was never

       authenticated. Unlike all the other evidence recovered that was meticulously

       marked, vouchered and photographed, this second smaller mask was not. The

       People never established a foundation for its introduction. Counsel never

                                               3
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 20 of 1061 PageID #: 215
 000018


       objected. Finally, appellant’s clothing had been suppressed. The size extra-

       large of his clothing should never have been introduced into evidence and

       compared to the extra-large size clothing from the duffel bag. Counsel never

       objected. Counsel’s incompetence permeated the trial through less critical

       blunders ending with an incoherent summation pointing the finger at a

       neighbor one foot shorter than the suspect.

             After four days of deliberations, the jury convicted appellant. But for

       counsel’s incompetence, the outcome would have been different. Appellant

       was deprived of his right to the effective assistance of counsel, warranting

       reversal. At the very least, the maximum permissible sentence of 25 years to

       life was excessive in light of appellant’s mental illness, insignificant record,

       and his expression of remorse before and after trial.

                                      STATEMENT OF FACTS

       The Charges

             On December 9, 2011, appellant, 34, was charged with second-degree

       murder, criminal possession of a semi-automatic weapon, and two counts of

       criminal possession of a forged instrument (i.e. counterfeit money in his wallet

       and in the duffel bag).1 He was found fit to proceed in April 2013 (2013


       1
             For different reasons, the last two counts would not be submitted to the jury.

                                                  4
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 21 of 1061 PageID #: 216
 000019


       Report following a C.P.L §730.30 Fitness to Proceed Examination; Court

       Sheet). Appellant’s counsel had to be relieved for health reasons and new trial

       counsel, Maria Guastella, Esq., was assigned.

       Pretrial Proceedings

              Counsel successfully moved to suppress, inter alia, all evidence

       recovered from appellant’s person and from the duffel bag found in the

       vicinity of the crime (H: 3; Decision and Order (“Decision”) dated 7/17/13)

       at 4-5 (Collini, J.)). 2 While appellant is not challenging the ruling, a summary

       of the relevant hearing testimony is included.

              At the hearing, Detective Jeffrey Anderson testified that around 11:50

       a.m. on December 8, 2011, he and his partner were both in uniform, in a

       marked police car, when they received a radio run of “a male shot at 195

       Steuben Street” in Staten Island; there was no description of a perpetrator (H:

       22-23; 37; Decision at 1-2). Five minutes after receiving the radio run and not

       far from 195 Steuben Street, Anderson saw a man “on the highway walking

       toward the police car” (H: 23). The man, later identified as appellant, was



       2
               References to pages of the pretrial hearing minutes are preceded by “H; references
       to pages of the transcript of voire dire conducted on 2/24 and 2/26/14 are preceded by
       “VD”; references to pages of the trial transcript are preceded by the name of the witness
       who so testified, unless the identity is obvious, or they refer to pages of colloquy; and pages
       of the sentencing minutes are preceded by “S.”

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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 22 of 1061 PageID #: 217
 000020


       wearing black jeans, a short black jacket, muddy sneakers, and a blue Yankee

       cap (H: 27, 43). According to Anderson, they made eye contact; appellant

       “looked nervous,” and started to walk faster (H: 26, 34; Decision at 2). The

       officers stopped, backed up, and got out of their car, guns out of their holster

       (H: 27; 42).

             Asked where he was going, appellant said he was “going to the S53

       Bus” (H: 27). Anderson asked him for identification; appellant did not answer

       (H: 28). At that point, Anderson’s partner handcuffed him and patted him

       down (H: 28). From his back pocket, they removed a passport, birth certificate

       and wallet, the latter containing a driver license, legitimate and counterfeit

       bills (H: 28-29, 30). The officers ran the license, found an open I-card for an

       assault in Queens, and transported appellant to the precinct, where he was

       formally arrested and searched (Decision at 2). At 4:00 p.m. that afternoon, a

       large black and gray duffel bag was found by the K-9 unit under leaves in a

       wooded area in “close proximity” to 195 Steuben Street (Decision at 2-3). In

       the bag, the officer saw an assault rifle and a small black shovel (H: 18).

             The hearing court found that the officers had had “at most a level one

       request for information” when they confronted appellant and unlawfully

       proceeded to a level three (Decision at 4). The court suppressed all the



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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 23 of 1061 PageID #: 218
 000021


       “physical evidence [recovered] from defendant’s person (i.e., the counterfeit

       currency and identification cards),” as well as a statement appellant allegedly

       made about the counterfeit money (Decision at 3-5). 3

              Before trial, the People informed the court that it planned to introduce

       into evidence 160 photos, which would be sent to the court. The prosecutor

       argued that the photographs were relevant to intent and to counter a

       justification defense, should it be raised (VD 238-39). The court had not seen

       the photos but referred the parties to People v. Lawson, 114 A.D.3d 962, 963

       (2d Dept. 2014), issued the day before (VD 239).4

       The Trial

              Before opening statements, counsel informed the court that she was not

       sure what defense she would be presenting and moved to postpone her


       3
              Detective Edward Patterson and his partner met appellant in the squad room at the
       precinct (H: 49). As they entered the room, they were talking about the counterfeit money
       when appellant said: “I picked that money up” (H: 50, 51, 65). Patterson read appellant
       his Miranda warnings eight times; appellant was unresponsive (H: 51, 65). The court
       suppressed the statement (Decision at 3-4).

       4
              In Lawson, this Court held that Judge Rooney, the presiding judge in this case, had
       not abused his discretion in allowing into evidence two crime scene photographs and 14
       autopsy photographs of the victim where the photographs were not overly gruesome and
       were relevant to a “material issue at trial, and elucidated the testimony of the medical
       examiner regarding the cause of death.”




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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 24 of 1061 PageID #: 219
 000022


       opening statement until the People had rested (2). The court said that it had

       never granted such a motion, but it would decide when the time came (2).

             In her opening statement, the prosecutor told the jury that appellant and

       the deceased, David Williams, had been college roommates and had remained

       friends (15). The evidence would show that on December 8, 2011, a tall man

       carrying a gray and black duffel bag took the ferry to Staten Island (17). A

       tall man wearing a dark face mask and carrying a duffel bag was seen in the

       victim’s building at 195 Steuben Avenue by the janitor (17). Shortly

       thereafter, two shots were fired (17). Appellant was stopped walking on a

       service road 10 minutes later (17). In the afternoon, a dark duffel bag was

       recovered in the wooded area in the vicinity of 195 Steuben Avenue. In the

       bag, was the murder weapon, a black mask with appellant’s DNA, clothing

       and other items (18). At the end of the case, she would be asking the jury to

       convict appellant on all counts (20).

             Defense counsel did not make an opening statement (19).

       The Crime Scene

             David Williams, his fiancée, Jaclyn Nicole Hunt, and their 5-year-old

       daughter lived at 195 Steuben Street, in Apartment 7L (Hunt 239-40).

       Williams and appellant had been roommates in college (Hunt 243-44). They


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 25 of 1061 PageID #: 220
 000023


       had stayed in touch, went out together, and appellant visited them,

       occasionally using their shower (Hunt 244-45, 259). Appellant had been there

       the week before carrying a gym bag (Hunt 245-46, 259). Hunt described

       appellant as tall, over 6’5” “probably about 6’9” (Hunt 243). On cross-

       examination, Hunt described another friend, Lonney Walker, as a “big guy,

       possibly 6’6” and 220 lbs. (Hunt 264).

             Early on December 8, 2011, Williams drove Hunt to the preschool

       where she taught and their daughter to kindergarten (Hunt 247). Sometime

       before noon, Jean Loiseau, the janitor at 195 Steuben Street, left his tool shop

       in the basement and walked through the lobby on the way to his second

       building (Loiseau 111-12, 116). In the lobby, he saw a very tall person by the

       elevator (Loiseau 113). He could not tell whether the person was a man or a

       woman, black or white (Loiseau 113). Loiseau is 6’4” and the person he saw

       was taller than him (Loiseau 114). The person was wearing a long black coat,

       black gloves, a full face black mask, and was carrying a gym bag (Loiseau

       114-15). Loiseau described the face mask as covering the person’s head and

       face except for the eyes (Loiseau 114; People’s Exh. 115, 116).

             That morning, around 11:00, Janet Smith who lived in apartment 7M,

       next to Williams and Hunt, was home cleaning her stove when she realized



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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 26 of 1061 PageID #: 221
 000024


       that the pilot light was off (Smith 164-65, 166). Because she did not have a

       match, she stepped out of her apartment, planning to ask Williams (Smith

       166). From the hallway, however, she heard men talking in his apartment and

       decided to go down the stairs to a friend on the fourth floor (Smith 165-67).

       She borrowed a lighter, went back to her apartment, lit the stove pilot, and left

       to return the lighter (Smith 167).

              In the hallway, this time, she heard furniture moved around and loud

       noise coming from Apartment 7L (Smith 168). As she headed toward the

       stairs, she heard what sounded like a shot; the door to 7L opened (Smith 169).

       She turned around and saw Williams, wearing a white T-shirt, come out of his

       apartment with his hands on his stomach (Smith 169, 183). He managed to

       walk almost to her door and said: “help me,” “Oh, God help me” and then fell

       (Smith 170). At that moment, the door to 7L shut (Smith 170). Smith was

       maybe two steps down the stairs, when she heard “another bang;” she kept

       running and told her friend on the fourth floor “call the cops, my neighbor was

       shot” (Smith 171).5




       5
               Dr. Stephen de Roux, a forensic pathologist from the Office of the Chief Medical
       Examiner (“OCME”), later performed the autopsy and found that Williams had been shot
       twice (Roux 363). One shot went through the victim’s right arm then entered his chest,
       heart and lung and exited through his left side (Roux 363). That shot could have left the
       victim conscious for 10 to 15 seconds (Roux 369). The other shot entered the left side of

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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 27 of 1061 PageID #: 222
 000025


               The Investigation

              When officers arrived at the scene, Williams was unresponsive, lying

       face down in the hallway in front of apartment 7L, skull fragments, and blood

       down the hall (Officer Vincent Aguillo 30-32; Detective Edward Patterson

       220-22). A radio-run was sent out and five to ten minutes after receiving it,

       Detective Anderson stopped appellant as he walked on Narrows Road North

       (186, 191, 194). Anderson described appellant as about 6’5”, wearing a NY

       Yankees cap, black jacket, black jeans, and black muddy shoes (191-93).

              Physical Evidence

              Around 4:00 p.m. that day, the K-9 unit found a duffel bag under a pile

       of leaves in the wooded area by 195 Steuben Street (Officer Anthony Jacobs

       201-02). Detective Robin Streneck of the Crime Scene Unit vouchered and

       photographed the physical evidence recovered from the 7th floor hallway,

       from the duffel bag in the wooded area, and from appellant at the time of arrest

       (Streneck 25-88). She took between 100 to 160 photographs (Streneck 29-63;

       (Trial Exh. 1-106).6 Because the evidence, with the exception of the murder


       the head behind the ear and exited the top of the head (Roux 369). He could not say which
       shot had been fired first (Roux 369-70).
       6
              Electronic copies of the People’s trial exhibits are submitted to the Court in a
       “pdf” document entitled “Trial Exh.” and references to these exhibits will appear as
       follows: (Trial Exh. [exhibit number when necessary] at [pdf page]).

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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 28 of 1061 PageID #: 223
 000026


       weapon and ballistic evidence, held by the property clerk at the police

       warehouse was contaminated during Hurricane Sandy, the People relied on

       the photographs of the evidence at trial ((Trial Exh. 1-160; Sergeant John

       Trzcinski, property clerk division, 148-49).

           • Evidence recovered from the 7th Floor

              Detective Streneck took dozens of photographs of the 7th floor hallway

       depicting blood splatter, skull fragments, as well as the interior of apartment

       7L, all of which were introduced into evidence (Trial Exh. at 35-59; 188-277).

       She also recovered pieces of evidence that she marked and photographed. The

       first piece of evidence collected was a deformed bullet found in the middle of

       the hallway (Streneck 36-37; Trial Exh. 13 at 135). It was marked RS1, RS

       for her initials and “1” because it was the first piece of evidence recovered

       (Streneck 37). On the photograph, the deformed bullet is set next to a blue

       NYPD ruler for scale showing the number RS1, the date and case number

       11/1073 (Streneck 38, 52; Trial Exh. at 135).7 The second piece of evidence

       collected was a shell casing; it was photographed next to a blue NYPD scale




       7
              A second deformed bullet was recovered at the scene (Streneck 51-52; Trial Exh
       71). Dr. James Clontz, the ballistics expert, analyzed the two bullets to see if they came
       from the weapon, but the results were “inconclusive” (306-07).

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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 29 of 1061 PageID #: 224
 000027


       marked RS2 with the date and case number (Streneck 40; Trial Exh. 17 at

       187).

               A “possible latent print” on the west wall south of the stairwell was

       marked RS6 and photographed (Streneck 57-58; Trial Exh. 82-86 at 119, 121,

       169-71). It was subsequently analyzed and found to belong to Samuel Nelson,

       who lived on the same floor in apartment 7-O and was a friend of the deceased

       (Patterson 22; Hunt 262-63). Detective Patterson testified that Nelson was

       never a suspect because he was 5’7” and 170 pounds (222-23).

          • Evidence recovered from the duffel bag

               After processing the evidence inside the building, Streneck responded

       to the wooded area nearby, where a duffel bag had been found (Streneck 61-

       64; Trial Exh. 90-103). By then, it was approximately 11:00 p.m. (Streneck

       62). From the duffel bag, marked RS23 (Trial Exh. 106, 124 at 83, 85), she

       recovered numerous items, including: one full-face black mask with eye

       holes, marked RS12 (Trial Exh. 115 at 73); a long black jacket/coat, size

       46XL, marked RS7 (Trial Exh. 107, 108 at 81, 140; Streneck 66); a gray

       hooded zip sweatshirt, size 3XL, marked RS8 (Trial Exh.110 at 99, 105;

       Streneck 67); two pink towels, marked RS9 and RS10 (Trial Exh. 111 at 79,

       107); a black hooded sweatshirt, size 3XL, marked RS11 (Trial Exh. 113, 114


                                             13
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 30 of 1061 PageID #: 225
 000028


       at 101); a loaded rifle, marked RS126 (Trial Exh. 126 at 85, 87, 147; Streneck

       69-70); a black sock, marked RS13, with US currency emerging slightly from

       the sock’s opening, ((Trial Exh. 116 at 7); counterfeit currency removed from

       the sock was gathered by serial numbers, marked together RS13A, RS13AB;

       and RS13AC (Trial Exh. 141, 143; 144, 146 at 9-31; Streneck 74-75); and a

       rifle, marked RS127 (Trial Exh. 30), with live ammunition in the chamber,

       and a discharged shell casing in a plastic bag attached with duct tape to the

       weapon (Streneck 70-72).8 All these items were photographed with the blue

       NYPD scale marked with the RS number of the items, the date, and case

       number (Trial Exh. 153-57, 159). The coat, marked RS7, was photographed

       twice, from the outside and from the inside (Trial Exh. 107, 108 at 81, 140;

       Streneck 66).

              The ballistics expert described the rifle as an operable defaced semi-

       automatic – AK 47-type - weapon with a detachable magazine (Clontz 278,




       8
               Other items recovered from the duffel bag included a black spade with a yellow
       handle (Trial Exh. 117 at 93), two umbrellas (Trial Exh. 118, 119 at 89, 149), a nine-foot
       white rope (Trial Exh 120 at 115); a black glove (Trial Exh. 121 at 117); a CD player (Trial
       Exh. 122 at 115); 2 latex gloves (Trial Exh. 123 at 97; Gatorade (Trial Exh 125 at 111).
       Shown the photographs, Hunt, the victim’s partner, testified that the following items
       recovered from the duffel bag did not belong to Williams: the long black coat, the black
       mask [RS12], the gray hoodie, the black hoodie, the counterfeit money, the shovel, the
       rope, the white glove, the CD player or the weapon (Hunt 251-256).

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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 31 of 1061 PageID #: 226
 000029


       284, 288-91, 297). Tests showed that the two recovered shell casings were

       fired by the same weapon (Clontz 307-08, 310).

          • Evidence recovered at the precinct

             Detective Streneck introduced photos of appellant taken at the precinct

       (Streneck 72-73; Trial Exh. 132 to 135 at 61-72). Without objection, she

       testified about pictures of him dressed in his suppressed arrest clothes,

       standing in front of a wall of wanted posters (Streneck 72-73; Trial Exh 132

       at 71 (frontal view); Trial Exh. 133 at 61 (left side); Trial Exh. 134 at 63 (back

       side); Trial Exh. 135 at 65 (right side). Without objection, she testified about

       the photos of appellant’s clothing at the time of arrest (Streneck 76-77; Trial

       Exh. 153 at 141 (short black jacket marked RS28); Trial Exh. 154 at 91 (2

       black sneakers marked RS29); Trial Exh. 55 at 143 (one pair of jeans marked

       RS30); Trial Exh. 156 at 103 (black shorts marked RS31); Trial Exh. 157 at

       75 (gray sleeveless T-shirt marked RS32); Trial Exh. 59 at 101 (long sleeve

       black shirt marked RS11). All these items had been photographed with the

       blue NYPD scale, the RS number, the date, and case number (Trial Exh. 153-

       57, 159).

             Without objection, Streneck testified that the short black jacket

       appellant had been wearing at the time of arrest, marked RS28, was a size


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 32 of 1061 PageID #: 227
 000030


       4XL, the shoes, a size 13, the jeans, W38, the gray sleeveless T-shirt, XXL,

       and the black long-sleeve shirt, a 6XL (Streneck 77-78). Without objection,

       the People introduced into evidence two non-counterfeit bills – one $100 bill

       and one $20 bill – removed from appellant’s wallet (Streneck 78; Trial Exh.

       160 at 9).

                The next day, counsel lodged a belated objection to the introduction of

       the two legitimate $100 and $20 bills (95-96). Counsel explained that she had

       learned from the DD5s that Nicole Hunt had withdrawn $120 the morning of

       the offense, and counsel believed the prosecution was going to use the bills to

       link appellant to the incident (96). Counsel argued that this would improperly

       force appellant to provide an explanation (96). The court reminded the parties

       that all “physical evidence from the defendant’s person” had been suppressed

       (96, 98). The prosecutor noted that these were legitimate bills, that tests had

       shown that there was no blood on the bills, and that the People would not be

       using the evidence (98-99). Counsel withdrew her objection (99-100). The

       court told counsel that if she changed her mind, it would strike the testimony

       (100).




                                              16
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 33 of 1061 PageID #: 228
 000031


       Identification Testimony

             No witness identified appellant as the perpetrator. Loiseau, the janitor

       at 195 Steuben, was shown a picture of the long coat marked RS7, recovered

       from the duffel bag, and was asked if it looked like the one worn by the person

       he had seen in the lobby on December 8, 2011; he said: “[i]t look [sic] like it”

       (Loiseau 115). Shown photos of the dark gray and black duffel bag marked

       RS23, and asked “how it compared” to the black shoulder bag carried by the

       person he saw in the lobby that morning (Loiseau 115-16), Loiseau said:

       “[l]ike I tell you, I was passing. I was passing. I see the bag, but is this kind,

       you know,” “this size” (Loiseau 116). Finally, asked if the photo of the full-

       face black ski mask, marked RS12, looked like the one worn by the man in

       the lobby that morning, he said: “that kind” (Loiseau 115). He was not shown

       a second mask.

             Edward Patterson, the case detective, who had been one of the first

       officers at the scene, testified about the video footage and still photographs of

       security cameras from the Staten Island Ferry. The videos and photographs

       were taken from the Whitehall Terminal in Manhattan, just before the 9:15

       a.m. ferry on December 8, 2011, and at its arrival at St. George Terminal on

       Staten Island (Patterson 223; James Vitale, assistant director of security at



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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 34 of 1061 PageID #: 229
 000032


       Whitehall 211-213, Exh. 170; Michael Casiano, security inspector at the

       Department of Transportation, 158; Trial Exh. 168, 171 A-F at 315-317, 325-

       333). On the video, he pointed to “a tall fellow wearing a dark jacket, gray

       hooded sweatshirt, carrying a large grey and black duffel bag” (Patterson 224-

       25). Shown the photograph of the duffel bag, marked RS23, and the gray

       hooded sweatshirt, marked RS8, Detective Patterson testified that they

       appeared to be the bag and sweatshirt worn by the man on the video (Patterson

       230). Shown the still photographs of the videos, he pointed to a man wearing

       a dark colored jacket and gray hooded sweatshirt, carrying a gray and black

       bag (Patterson 225; Trial Exh.171-A at 315). In the still photos, marked

       Exhibit 171-C (Trial Exh. at 335), Patterson noted what appeared to be the

       same man in dark clothing, wearing a baseball cap and carrying a large bag

       (227-29).9

              Earlier, the prosecution had attempted to introduce into evidence the

       Yankee cap appellant had been wearing when he was stopped, but counsel

       objected (154-55). The People argued that appellant’s clothes had been

       entered into evidence without objection; to which the court responded: “[n]o


       9
               In the still photos, the person is seen alone from the back and the side carrying a
       gym bag and does not appear tall. In Exh. 171A, they are two other men in similar attire,
       similar size, without a gym bag.


                                                   18
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 35 of 1061 PageID #: 230
 000033


       kidding. I know that, but I haven’t heard an objection. I’m getting an

       objection now to the hat. As I read the decision the hat is suppressible, he was

       wearing it” (155-56).

              Irene Wong, a Criminalist IV, at the Office of the Chief Medical

       Examiner (“OCME”) testified that her office received all the evidence

       recovered from the duffel bag, from appellant after his arrest, as well as blood

       samples from the deceased for testing (Wong 317, 329-331).10 Counsel did

       not object to the mention of the suppressed clothing. In listing the clothing,

       Wong identified clothing taken from the duffel bag as “items taken from

       [appellant]” (Wong 329). Counsel did not object. Only four items of clothing

       were tested for DNA: the long brown coat marked RS7, the black glove

       marked RS18, the full-face black mask marked RS12, and a second smaller

       face mask, never marked, providing partial face coverage (Wong 329-331;

       Trial Exh. 121, 107, 108, 115; Trial Exh. 176B at 159; Trial Exh. 176D at

       161-63). Wong testified that the second smaller face mask came “from inside



       10
               All the evidence recovered from the duffel bag was received by OCME for
       examination, and Wong listed every item (Wong 329-30): long coat; black sock; black
       glove with yellow trim; black leather jacket; black long sleeved shirt, black duffel bag;
       pink bath towel; pink hand towel; black hoodie pull over; black shorts; gray t-shirt; black
       spade; black umbrella; a rifle; and magazine. Similarly, items recovered from appellant at
       the time of arrest were received for examination and listed: gray hoodie; black hoodie pull
       over; black ankle sneakers ; blue jeans; black shorts, a short black jacket (Wong 329)


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 36 of 1061 PageID #: 231
 000034


       the left outside pocket of the brown coat” (Wong 329, 334; Trial Exh. 176B

       at 159). A handwritten note on the photo of this second mask, Exh. 176B,

       states that the “mask will be packed in evidence bag with item 1A” that was

       never identified. During voire dire of the masks, counsel had no question

       about the second smaller mask, asking only about the grey lines showing the

       areas swabbed for DNA (333).

             Wong described the process of DNA analysis. Here, DNA profiles were

       generated from a buccal swab taken from appellant and from the swabs taken

       from the coat, glove, and two masks (Wong 336). On the profiles, analysts

       generally look at 15 specific locations called “loci” (Wong 325). The loci on

       one sample is then compared to the loci on another sample (Wong 338-39).

       On the full-face mask, marked RS12, the generated profile had only 10 loci

       and that is not enough to obtain a full profile (Wong 335, 340-41; Trial Exh.

       176C-D). Only the unmarked second smaller mask, Trial Exh. 176B, had a

       full profile matching the DNA obtained from appellant’s buccal swab (Wong

       334, 340).

              During Wong’s testimony, the People also introduced into evidence

       the Forensic Biology files prepared by her office, FB11-S1608 (“FB File




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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 37 of 1061 PageID #: 232
 000035


       1/Suspect File”) and FB11-06979 (“FB File 2/Crime Scene File”), containing

       the underlying paperwork with the actual tests and results.11

              According to FB File 2/Crime Scene File, a criminalist with the initials

       DTR opened the packaging and examined the crime scene evidence, including

       the coat (FB File 2/Crime Scene File at 183-195). DTR did not testify

       although he was the analyst who discovered the second smaller mask in the

       pocket of the coat (id. at 30, 195). Criminalist Wong did not participate or

       directly observe or supervise this evidence examination. Criminalists with

       initials DMW or SNP edited and constructed the DNA profiles detected on

       the two masks, and criminalists with initials DMW or KLB edited and

       constructed the DNA profiles on the duplicate tests on the masks (id. at 104-

       05). A criminalist with initials MM, Michael Mordente, interpreted and

       compared the results (id. at 9; FB File 1/Suspect File at 5).

              According to FB File 1/Suspect File, a criminalist with initials BMA

       edited and constructed appellant’s profile, and a criminalist with the initials


       11
               These electronic versions of FB File 1/Suspect File and FB File 2/Crime Scene File,
       are being submitted to the Court as “pdf” documents. Page references to these documents
       refer to the pages of the pdf document. FB File 1/Suspect File is the OCME’s casefile
       containing the paperwork for the testing of the buccal swab taken from appellant and the
       results of the comparison between appellant’s DNA profile to the crime scene evidence
       which was suitable for comparison, summarized in the February 28, 2012 laboratory
       report. FB File 2/Crime Scene File is the casefile containing the paperwork for the testing
       of the swabs of the firearm and the interpretation of the results.


                                                   21
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 38 of 1061 PageID #: 233
 000036


       FR reviewed the process (FB File1/Suspect File at 32-33). Wong only

       reviewed and testified about the work performed by others. Counsel did not

       raise a single objection to Wong’s DNA testimony.

             At sidebar after Wong’s testimony, counsel asked who had taken the

       buccal swab from appellant because she may want to call that person as a

       witness (344-45). The prosecutor said that Detective Streneck had taken the

       swabs (344-45). The court suggested that “maybe the DA could ask that

       question in an effort to reveal the source”; The DA did just that and the court

       asked: “So we are done with that issue? Counsel explained that what would

       have happened is that she would have objected, the DA would have had to

       call Streneck and that would have wasted time (345). During the same

       sidebar, counsel noted that the DD5s showed that there was no residue on the

       glove consistent with the discharge of a firearm (345). Counsel stated that she

       wanted to know the name of the person who performed the test and if other

       tests had been done, but counsel then abandoned the issue (346).

             Before the People rested, the court asked about the “second mask,”

       unsure which was the first and which was the second:

       The Court:         Okay, the jury has left. I just wanted to ask a question
                          about the second mask. I’m calling it the second, I don’t
                          know which is the first. Which ski mask have I been
                          looking at pictures during the trial?

                                             22
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 39 of 1061 PageID #: 234
 000037




       [Prosecutor]:     The pictures that you’ve been looking at during the trial
                         have been the ski mask that was found in the duffel bag
                         itself. The second ski mask was found in the pocket of the
                         brown coat found in the duffel bag.


       The Court:        Who found it, the one in the coat?


       [Prosecutor:]     The one in the coat, the testimony was that the office of
                         the Chief Medical Examiner found it in the pocket of the
                         coat when they processed the coat.


       The Court:        I know the coat was in the duffel bag according to the
                         Crime Scene Unit. There is no testimony she looked into
                         the pockets or took anything out, did she?


       [Prosecutor:]     No.


       The Court:        So, the coat is vouchered and sent out to the lab where that
                         mask is taken from the pocket and tested?


       [Prosecutor:]     Correct.


       The Court:        Okay. I was just wondering. I haven’t reviewed the
                         transcript. I will over the weekend.


       (374). Counsel had no objection.




                                           23
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 40 of 1061 PageID #: 235
 000038


              The Defense

              On the first day of trial, counsel had not been ready to make an opening

       statement and had moved to adjourn her opening until after the People rested

       (2-3). After the People rested, she did not present a case and did not make an

       opening statement (377-79).12

              Motions and Summations

              Counsel moved for a trial order of dismissal, arguing generally that the

       People had not established legally sufficient evidence as to the three charges

       the court intended to submit to the jury: second-degree murder, criminal

       possession of a weapon in the second degree, and criminal possession of a

       forged instrument (381). The court denied the motion but later reverse itself

       and dismissed the latter (461).

              In summation, counsel argued that the People had not established

       beyond a reasonable doubt that appellant was the culprit. She told the jury

       that the mask with appellant’s DNA, found in the duffel bag with the murder

       weapon, was “proof of nothing” (400). She questioned where the second


       12
              The transcript does not include a renewed request by counsel to make an opening
       statement. The subsequent motion to set aside the verdict pursuant to C.P.L. §330.30
       suggests that such a request may have been made. Decision of the motion (“330.30
       Decision”) dated April 18, 2014, at 1, 3-4.


                                                 24
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 41 of 1061 PageID #: 236
 000039


       mask with the DNA came from (411). She said that Detective Streneck had

       been extremely thorough in cataloguing everything. Had there been a second

       mask, she would have found it.13 Counsel told the jury that the 4X and 48L

       clothing in the duffel bag did not prove that appellant was the culprit (400).

       The clothes could belong to Lonney Walker, another friend of the victim, who

       was 6’6” and 220 pounds (401). The person the janitor saw in the lobby may

       have been Lonney Walker (405). Counsel also questioned the People’s failure

       to investigate Samuel Nelson as a suspect given his prints on the wall of the

       7th floor hallway (410). She told the jury that the prosecution’s reason for not

       investigating Nelson was because he lived in the building, calling that

       rationale “ridiculous” (409). She concluded by telling the jury:

                       [M]ost importantly, what do we know for sure?
                       Because the detective told you – everyone told you
                       here that the handprint on the wall belonged to
                       Samuel Nelson, but he was ruled out because he
                       lived on the same floor. That’s what we know.
                       Samuel Nelson’s hand was in David’s blood

                       Thank you.

       (415).14



       13
               The prosecutor objected but the court denied the objection stating: “I don’t know
       if – will not comment on the evidence” (411).
       14
                There was no evidence in the record that Nelson’s hand print had been in David’s
       blood.

                                                   25
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 42 of 1061 PageID #: 237
 000040


             The prosecutor began her summation by telling the jury:

                    No one knew when they boarded the 9:15 ferry on
                    December 8th of 2011, that with a murderer’s
                    intention in his heart and assault rifle strapped to his
                    chest, death in the form of defendant was boarding
                    along with them


       (428). She went on “when David met death that morning, he didn’t recognize

       him,” “David welcomed death,” “death revealed himself,” “death tried to hide

       his identity,” “Death sits before you today in his suit and tie, his face is

       revealed – ” At that point, the court said, “I’m going to sustain the objection

       [not on the record ] as “to death sits before you today in a suit and tie” (428).

       The prosecutor told the jury that Samuel Nelson was not a suspect because he

       was 5’7” or a foot shorter than the suspect (445). The suspect was very tall,

       between 6’5” and 6’9” and he had shot the victim in the chest and then the

       head (430, 443).

             The prosecutor argued that appellant was the perpetrator based on the

       “masks” with his DNA, as well as the size extra-large of the clothing in the

       duffel bag and clothes worn by appellant at the time of arrest (432, 447-48).

       The prosecutor added that the masks had been recovered from the duffel bag

       with the murder weapon (431-32, 447-48) and that appellant’s clothing at the

       time of arrest matched the man on the ferry “minus the baseball cap” (437).


                                              26
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 43 of 1061 PageID #: 238
 000041


       Counsel did not object. The prosecutor claimed that the janitor, Jean Loiseau,

       had recognized the smaller mask as the one worn by the person he saw in the

       lobby (448). The prosecutor argued that the shell casing found in the duffel

       bag established that the weapon in the bag was the murder weapon; the masks

       in the bag had appellant’s DNA, the size of the clothes in the duffel bag, a

       46XL long coat, a 3XL gray hoodie, and the size of the clothes he wore at the

       time of arrest – 4XL, US13, W38 – showed that appellant was the tall man in

       the lobby and the perpetrator (442-444).

             Charge, deliberations, and verdict

             After summations, the court dismissed the charge of first-degree

       criminal possession of a forged instrument related to the counterfeit money,

       on the grounds that there was no evidence of knowledge that the bills were

       counterfeit or of intent to defraud (460-61). Counsel asked that an instruction

       to disregard any testimony during trial and comments in summation about

       counterfeit money (461). The court said it would tell the jury that “[f]or

       reasons that need not and must not concern you, the court will not submit the

       other counts of the indictment” (462). Counsel said: “I guess that’s fine but

       just note my objection.” The court asked: “I guess that’s fine but note my

       objection?” (463).



                                             27
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 44 of 1061 PageID #: 239
 000042


             The jury deliberated for four days and sent numerous notes. On the first

       day, it asked for: a “review of the Ferry terminal videos”; the “testimony from

       detective who apprehended the defendant”; and the “DNA testimony and

       evidence” (Court Exhs. 3 to 7; 500-07). As to the last request, the jury was

       read Wong’s testimony and given the forensic biology reports, as well as the

       photos of both masks (504, 521). The jury also asked for the “testimony about

       Samuel Nelson’s prints”; “defendant’s clothing, money et cetera [sic]” (502).

       The court wanted to know if the jury was talking about “clothing in the duffel

       bag, clothing defendant was wearing” or both (502-03). The court asked the

       jury: “We’re going to need a clarification on that. I have to get it in a note.”

                    [W]hat I’d like you to do, if you could, is send us
                    another note telling us with a little more specificity,
                    if possible, what you want. We’re not sure if you’re
                    talking about clothing recovered from the duffel
                    bag, clothing that the defendant was allegedly
                    wearing, both.

       (507)(emphasis added). Counsel did not object. In response, the jury asked

       for “photos of items found on defendant at time when he was picked up;

       testimony from detective who picked him up;” and the “list of all items found

       in the duffel bag.” (512). Because no such list existed, the jury was provided

       the photos of the items: photos 105 to 131 (clothing, rifle, etc.); and photos

       140 to 152 (counterfeit bills) (514-515). Counsel did not object. As for the


                                              28
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 45 of 1061 PageID #: 240
 000043


       items found on defendant at the time he was arrested, the jury was sent photos

       132-35, 138, 139 (arrest photos); 153-160 (clothing at the time of arrest)

       (515).15 Counsel did not object.

              The next day, the jury asked for the “photos of the outside area where

       the defendant was apprehended, and secondly, photographs of the hallway

       where the deceased was found.” In another note, the jury also asked, “can the

       judge review definition of circumstantial evidence, the intent, and reasonable

       doubt” (530-31; Court Exhs. 9 and 10). On the third day, the jury asked for

       the “[j]anitor testimony read back. Shell casings at scene,” and inquired, “was

       there any testimony in regard to fingerprints found in the apartment?”; “what

       were the judge’s instructions about Lonney Walker”; and “defense attorney’s

       questions and answers read back regarding Lonney Walker” (Court Exhs. 12,

       13, 14, 547-49).

              On the last day of deliberations, the jury asked for “part of the

       neighbor’s testimony when she said she heard voices in David’s apartment

       prior to borrowing the lighter” (561; Court Exh. 17). Ultimately, the jury




       15
              Counsel noted that Exh [photo]160, the two legitimate bills - $100 and $20 - had
       been suppressed; she said nothing about the counterfeit money or suppressed clothing.

                                                 29
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 46 of 1061 PageID #: 241
 000044


       convicted appellant of second-degree murder and criminal possession of a

       weapon (568-570).

       Post-Verdict Motion and Sentence

             Trial counsel filed a motion to set aside the verdict pursuant to C.P.L.

       §330.30 arguing that (a) the court improperly forced her to go to trial when

       she had not had the time to hire an expert to review the ferry videotapes and

       was still waiting for the psychiatric report (330.30 Motion ¶¶4-17); (b) the

       court had improperly denied her request to adjourn her opening statement (id.

       ¶¶18, 19); (c) the prosecution had misstated the cause of death in summation

       and improperly introduced into evidence the suppressed legitimate $100 and

       $20 bills, and (d) the evidence presented at trial had been legally insufficient

       (id. ¶¶33-40). Trial counsel was replaced by new counsel, who adopted the

       original 330.30 Motion but added that prior counsel’s failure to object

       vociferously to the introduction of the suppressed legitimate bills, amounted

       to ineffective assistance of counsel (Supplemental 330.30 Motion). New

       counsel attached the report from Alexander Sasha Bardey, M.D., forensic

       psychiatrist, that had not been finished when trial began (“Bardey Report”).

             The court denied the motion (S: 2). It found that (a) counsel had had

       almost a year to prepare when trial began (330.30 Motion at 2-4); (b) counsel


                                             30
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 47 of 1061 PageID #: 242
 000045


       had withdrawn her objection to the two legitimate bills and there was no

       evidence of lack of strategy to do so that would constitute ineffective

       assistance of counsel; (c) the denial of the request to postpone the opening

       statement was proper since counsel has no right to set the order of trial and

       since she did not present a case, an opening statement after the People rested

       would have been another summation; (d) the People’s statement in summation

       that the victim had been shot first in the chest and then the head was supported

       by the testimony of the neighbor; and (e) the evidence was legally sufficient

       supported by the timing of the defendant’s arrest, the recovery of the bag with

       the murder weapon, and defendant’s DNA.

             The Sentence

             Williams’ mother expressed her anger in a lengthy statement, ending

       by telling appellant, “May you rot in hell” (S: 3-5). The prosecutor read a

       letter from Williams’ fiancée, Nicole Hunt, in which she described her loss

       and the loss to her 5-year-old daughter (S: 7). She wrote that being in the

       courtroom with appellant made her “sick to her stomach” (S: 7). The People

       argued that, given the “horrific nature of the crime,” and “despite the lack of

       significant criminal history,” the court should impose the maximum term on

       both counts, to run consecutively (S: 8-9).



                                             31
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 48 of 1061 PageID #: 243
 000046


             Counsel focused on appellant’s mental illness (S: 11). In his report, Dr.

       Bardey explained that appellant’s parents had divorced, then remarried,

       divorced again, and his mother blamed him for things his father had done.

       Appellant felt that his parents’ dysfunctional relationship had “messed up” his

       head. After his parents’ divorce, the family moved in with his grandmother

       but eventually became homeless (Bardey Report at 4). When appellant was in

       high school, his mother was diagnosed with breast cancer and he became “the

       man in the house” (Bardey Report at 4). At 16, he started taking her to her

       treatments. After graduating from high school, he went to the University of

       North Carolina and, during his first year, his mother died (Bardey Report at

       5). She had wanted her children to be taken care of by their grandmother and

       appellant found himself in a dispute with his father over the custody of his

       siblings. Although he was unaware of it, he suffered from depression.

             In 1997, appellant was convicted of criminal possession of a forged

       instrument, a check, a misdemeanor offense (H (2/24/2014) 4-5). After that

       incident, he reconnected with his father, started working for him at a youth

       summer program. Appellant was given a partial basketball scholarship at Post

       University in Connecticut. He graduated in 2001, then went to law school at

       the University of Vermont (Bardey Report at 6). Although he managed to

       graduate, in his second year, he snapped. He started abusing drugs, lost touch

                                             32
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 49 of 1061 PageID #: 244
 000047


       with reality, and started hearing voices (id. at 7). He had hallucinations and,

       for the next 10 years, lived on the street (id. at 8). In 2002, he was convicted

       of fifth-degree criminal possession of marijuana (H (2/24/2014) at 4). In June

       2011, he was convicted of a misdemeanor criminal possession of a weapon in

       the fourth degree for having a gravity knife (id.).

             According to Dr. Bardey, at the time of this offense, appellant reported

       that he was “homeless, delusional, and experiencing command auditory

       hallucinations to commit suicide” (Bardey Report at 13). He was extremely

       depressed, paranoid, experiencing auditory and visual hallucinations” (id. at

       14). Describing his hallucinations, he said that “he would look at a person’s

       face and see another person’s face” (id. at 14). He believed an “evil spirit was

       passing through them” (id. at 14). Appellant told Dr. Bardey that he worked

       for David Williams exchanging counterfeit money for him (id. at 14). He took

       full responsibility for his action and demonstrated “appropriate remorse” (id.

       at 15). Dr. Bardey concluded that at the time of the offense, appellant suffered

       from acute symptoms of a mood disorder and a substance abuse disorder that

       caused significant impairments in his thinking (id. at 17).

             Counsel told the court that appellant had been on the road to success,

       nearing law school graduation, when mental illness and self-medication ended



                                              33
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 50 of 1061 PageID #: 245
 000048


       a promising life (S: 11). Counsel asked the court to consider appellant’s

       mental illness as a mitigating factor in imposing sentence (S: 13). Appellant

       talked briefly about his mental illness and said, “I’m sorry” (S: 14).

             The court noted that no psychiatric or intoxication defense had been

       raised (S: 15). Appellant had 3 prior misdemeanor convictions, including one

       for criminal possession of a weapon (S: 3, 16). The crime had been senseless,

       brutal, and its impact tragic (S: 15). Appellant was sentenced to the maximum

       indeterminate term of imprisonment of 25 years to life on the murder count,

       and a determinate term of 10 years, with 2 ½ years of post-release supervision,

       to run concurrently (S: 16-17).




                                             34
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 51 of 1061 PageID #: 246
 000049




                                    ARGUMENT

                                        POINT I

                   Where The People’s Case Was Based Entirely On
                   The Inadmissible Hearsay Testimony Of An OCME
                   Analyst Who Did Not Construct The DNA Profile;
                   An Inadmissible, Never-Authenticated Mask With
                   The Only Full DNA Profile; And The Improper,
                   Repeated Use Of Appellant’s Suppressed Clothing,
                   Counsel’s Failure To Object To Any Of This
                   Inadmissible Evidence Deprived Appellant Of The
                   Effective Assistance Of Counsel, Mandating
                   Reversal. U.S. Const., Amends. VI, XIV; N.Y.
                   Const., Art. I, §6.


             The People’s case relied on three pieces of evidence, all three

       inadmissible: the DNA testimony of an OCME analysist, Irene Wong; the full

       DNA profile recovered from the second mask; and the extra-large size

       clothing worn by appellant at the time of arrest. The testimony of OCME

       analysist was inadmissible hearsay because she neither generated nor

       reviewed the raw material underlying the DNA profiles. The second partial

       mask with the complete DNA profile, fortuitously recovered by another

       unnamed OCME employee, was never marked, never vouchered, never

       authenticated and was therefore inadmissible. Finally, appellant’s clothing

       was suppressed following his illegal arrest. Counsel never objected to this


                                           35
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 52 of 1061 PageID #: 247
 000050


       inadmissible evidence. Not only did counsel not object to critical evidence

       against appellant, she made blunders throughout the trial, culminating in an

       incoherent summation, showing either ignorance, or lack of preparation, or

       both. Despite these deficiencies, the jury still struggled to reach a verdict,

       indicating the weaknesses in the State’s evidence.         Because counsel’s

       incompetent representation was highly prejudicial, appellant was deprived of

       the effective assistance of counsel, warranting reversal. U.S. Const., Amends.

       VI, XIV; N.Y. Const., Art. I, §6.

             To establish ineffective assistance of counsel under the Sixth

       Amendment, a defendant must show that counsel’s performance fell below

       “an objective standard of reasonableness” and that there is a “reasonable

       probability that, but for counsel’s unprofessional errors, the result of the

       proceedings would have been different.” Strickland v. Washington, 466 U.S.

       668, 687-88, 694 (1984). Under the New York State Constitution, effective

       assistance requires “meaningful representation,” a standard that focuses on the

       “fairness of the process as a whole,” more than a specific showing of

       prejudice.   People v. Benevento, 91 N.Y.2d 708, 713 (1998).              The

       “meaningful representation” rule is “somewhat more favorable to defendants”

       than its federal counterpart. People v. Turner, 5 N.Y.3d 476, 480 (2005).

       Meaningful representation includes the right to the assistance of a lawyer who

                                             36
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 53 of 1061 PageID #: 248
 000051


       has taken the time to review and prepare both the law and the facts relevant to

       the defense. See People v. Droz, 39 N.Y.2d 457, 462 (1976). The right to be

       represented by an attorney means more than just having a person with a law

       degree nominally present asking questions. People v. Bennett, 29 N.Y.2d 462,

       466 (l972). Under both the federal and state standards, counsel was

       ineffective.


       I.    Counsel’s performance fell far below reasonable objective standard.

             “Counsel’s performance must be evaluated to determine whether the

       tactics and strategies were consistent with those of a reasonably competent

       attorney.” People v. Oathout, 21 N.Y.3d 127, 128 (2013). Counsel is

       expected to be familiar with rules of evidence, be able to object to

       inadmissible evidence, present a viable defense, and make cogent opening and

       closing statements. Id.; see People v. Cortez, 296 A.D.2d 465 (2d Dept. 2002)

       (ineffective assistance of counsel where counsel’s deficient performance

       included lack of familiarity with the rules of evidence, failure to review

       Rosario materials, failure to object to misstatements in summation).

             Here, counsel’s incompetent performance permeated the trial. She

       failed to object to the inadmissible hearsay DNA testimony by Irene Wong.

       She did not object to the introduction of an inadmissible, never-authenticated


                                             37
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 54 of 1061 PageID #: 249
 000052


       second mask purportedly containing the only full DNA profile. She never

       objected to the People’s repeated use of appellant’s extra-large size clothing

       that had been suppressed.

             A.     Counsel did not object to the People’s critical but inadmissible
                    evidence


                    1)    Wong’s DNA testimony was inadmissible hearsay

             Counsel’s failure to object to critical inadmissible hearsay DNA

       testimony of the OCME analysist, Irene Wong, demonstrated a complete lack

       of familiarity with the Sixth Amendment right to confrontation. U.S. Const.,

       Amends. VI and XIV.         The Confrontation Clause protects a criminal

       defendant from testimonial hearsay untested by prior cross-examination.

       Crawford v. Washington, 541 U.S. 36, 53-54 (2004); see People v. Goldstein,

       6 N.Y. 3d 119 (2005). “Forensic evidence reports admitted into evidence for

       proving the truth of the matter asserted are not exempt from the Confrontation

       Clause under Crawford and its progeny.” People v. John, 27 N.Y.3d 294, 303

       (2016); see Bullcoming v. New Mexico, 564 U.S. 647, 657 (2011); Melendez-

       Diaz v. Massachusetts, 557 U.S. 305 (2009).

             DNA profiling and comparison evidence is subject to confrontation

       analysis. John, 27 N.Y.3d at 307. The key analyst is the one who “conducted



                                            38
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 55 of 1061 PageID #: 250
 000053


       or supervised the laboratory’s generation of the DNA profile from the

       defendant’s exemplar” or the crime scene. John, 27 N.Y.3d at 308. In John,

       the court explained that in constructing

                    A DNA profile, the OCME tests for 15 specific
                    short tandem repeat (STR) locations (loci) and the
                    amelogenin locus, which is used to determine the
                    sex origin of the sample. The STR alleles are
                    identified by the number of core repeats present at
                    the locus. Experienced analysts convert these
                    numeric identifiers into a DNA profile using
                    machine-generated raw data analyzed by a software
                    program and the analyst's independent manual
                    examination which involves an editing process.
       27 N.Y.3d at 298 (citations omitted) (emphasis added); People v. King, __

       A.D.3d __, 2021WL1202112 (2d Dept. 2021)(the testimony of the criminalist

       was admissible where she had “independently analyzed the raw data,

       reviewed tests and arrived at her own conclusion”).

             John clearly barred the DNA testimony presented in this case. Here,

       the Forensic Biology files, FB File 1/Suspect File and FB File 2/Crime Scene

       File show that the analysts who edited and constructed the DNA profile from

       appellant’s buccal swab was someone with the initials BMA and the reviewer

       was FR. The analysts who edited and constructed the DNA profile from the

       masks and reviewed it were DMW, SNP, and KLB. The analyst who made

       the original comparison was MM or Michael Mordente. None of these



                                             39
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 56 of 1061 PageID #: 251
 000054


       analysts testified. Unlike the criminalist in King, Wong only reviewed the file

       and was impermissibly “permitted to parrot the recorded findings that were

       derived from the critical witnesses’ subjective analysis.” John, 27 N.Y.3d at

       298. Her DNA testimony as to both masks and the only evidence directly

       linking appellant to the crime was inadmissible hearsay. Counsel never

       objected.16

              While a single error by counsel will not generally be considered to have

       deprived a defendant of the effective assistance of counsel, when, as here, it

       is so egregious and prejudicial, it will amount to ineffective assistance of

       counsel. See People v. Turner, 5 N.Y.3d 476 (2005); infra Point I(II). Sadly,

       counsel’s failure to object to the DNA testimony was not isolated; her errors

       continued.




       16
               Criminalist Wong also testified, without objection, that appellant was the donor to
       the two mask samples to a “reasonable degree of scientific certainty” (Wong 343). The
       use of this phrase has been roundly criticized by scientists and legal scholars because, as a
       term with no actual scientific basis, it can grossly mislead the finder of fact into according
       the expert testimony undue weight. The National Commission on Forensic Science
       concluded that “the term ‘reasonable degree of scientific [or discipline] certainty’ has no
       place in the judicial process” because it has “no scientific meaning” and thus the term is
       “idiosyncratic to the witness.” See “Testimony using the term ‘reasonable scientific
       certainty,”     National     Commission       on     Forensic     Science,     available     at
       https://www.justice.gov/archives/ncfs/page/file/641331/download, last visited 4/5/21. It is
       not a term scientists use, and therefore has never been defined or standardized, yet purports
       to establish certainty. The word “reasonable” could also lead a juror to “equate it with
       certainty at the level of beyond a ‘reasonable’ doubt.” Id.


                                                    40
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 57 of 1061 PageID #: 252
 000055


                    2)    The second mask with the only complete DNA profile was
                          never authenticated and inadmissible

             Counsel is expected to know the rules for “laying a proper foundation

       for the admission of evidence.”      Oathout, 21 N.Y.3d at 129. A basic

       evidentiary rule requires that an exhibit be authenticated before it can be

       admitted into evidence.     Authentication of an exhibit requires that the

       proponent of the evidence demonstrate (1) that the exhibit is actually what it

       claims to be, People v. Price, 29 N.Y. 3d 472, 476 (2017), and (2) that it is

       genuine and has not been tampered with, People v. McGee, 49 N. Y.2d 48

       (1979). “The requirement of authentication is thus a condition precedent to

       admitting evidence.” Price, 29 N.Y.3d at 476.

             Foundation requirements will vary with the type of evidence. Where

       the object possesses unique characteristics or markings and material

       alterations would be readily apparent, identification by one familiar with the

       object may suffice to establish authenticity. Id.; People v. Egan, 6 A.D.3d

       1203 (4th Dept. 2004)(where a cell phone had a specific serial number that lit

       up with the victim’s name when it was turned on, the testimony of the police

       officer and the victim who were present when the telephone was recovered

       established the necessary foundation). When the evidence is fungible, proof

       of unbroken chain of custody will generally be the method of showing the


                                            41
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 58 of 1061 PageID #: 253
 000056


       accuracy and authenticity. People v. Julian, 41 N.Y.2d 340, 343 (1977). The

       chain of custody requirement provides assurances of an exhibit’s identity and

       that its condition is unchanged. See People v. Childs, 29 A.D.3d 709, 710 (2d

       Dept. 2006)(the People demonstrated neither a complete chain of custody nor

       circumstances providing reasonable assurances as to the identity and

       unchanged condition of the drugs).

             In this case, the People presented no evidence to authenticate the second

       face mask that allegedly provided the only full DNA profile of appellant.

       First, no witness was asked if he or she recognized the unmarked mask. Jean

       Loiseau, the building janitor, was shown the full-face mask, marked RS12,

       and barely recognized it, saying it was “the kind” of mask worn by the person

       in the lobby. He was never shown the second unmarked partial mask.

             Second, no chain of custody was established for the second mask. An

       unnamed employee of the OCME, with the initials DTR, apparently found it

       in the pocket of the coat marked RS7, found in the duffel bag marked RS23.

       Given Detective Streneck’s meticulous vouchering and marking of every

       piece of evidence at the scene, in the duffel bag, and recovered from

       appellant’s person, this fortuitous discovery raises serious questions about its

       authenticity. Everything Streneck recovered she marked with her initials and

       photographed with a blue NYPD scale, on which appeared her RS number, as

                                             42
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 59 of 1061 PageID #: 254
 000057


       well as the number of the case and the date. For example, the duffel bag was

       marked RS23, the black full-face ski mask was marked RS12, and the long

       coat was marked RS7. When items were found inside another item, such as

       the counterfeit bills recovered from the black sock marked RS13, they were

       marked in a manner showing their origin. The bills from the sock were

       marked RS13A, RS13B, and RS13C and photographed protruding from the

       sock, to show where they were found.

             The unmarked second mask was allegedly recovered from the coat

       Streneck handled and marked RS7. She took two photos of the coat, one from

       the outside and one from the inside. Trial Exh. 107 and 108 at 81, 139. Had

       there been a mask in the front pocket, Streneck would have felt it, she would

       have found it, and she would have marked it. As with the counterfeit money

       recovered from a sock marked RS13A-C, she would have marked the second

       mask recovered from the pocket, RS7A, to show that it had been found in the

       pocket of the coat marked RS7. She would have photographed the second

       mark protruding from the coat pocket. The probability that Streneck missed

       this second mask in the pocket of a coat is extremely low and raises serious

       questions about whether it is what it claimed to be, a small mask worn by

       appellant that day.



                                            43
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 60 of 1061 PageID #: 255
 000058


             In addition, there was no evidence as to how the second mask was

       handled. The second unmarked mask does not appear on the list of items

       received and vouchered by the property clerk, Sergeant Trzcinski, who

       vouchered “one” black mask: the full-face black mask with eye holes, RS12.

       A photograph of the second unmarked mask, Trial Exh. 176B at 159, contains

       an annotation by an unknown person instructing another unknown person to

       pack this second mask with “item 1A.” There was no explanation for “item

       1A.” Nor was there evidence of how or where the second mask was stored,

       raising the troubling possibility that it may have been tampered with and that

       the DNA on that mask was transferred to the full-face mask marked RS12.

       The absence of evidence as to where the second mask was stored, the

       conditions of its storage, or who had access to it and when, cast suspicion on

       the integrity of the exhibit. See People v. Connelly, 35 N.Y.2d 171 (1974)(the

       item might have been accessible to others not called as witnesses casting

       “suspicion on the integrity of the evidence often rendering it inadmissible

       especially when it appears that the evidence was available to unknown persons

       over an extended time”).

             The problem with the authentication of the second mask was clear to

       the court and, seemingly, to the prosecutor. Twice, the court asked about this

       new mask. First during the testimony of Irene Wong from the OCME and

                                            44
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 61 of 1061 PageID #: 256
 000059


       again at the end of the People’s case (340; 374; supra at 23-24). The

       prosecutor explained that the second mask was not the “ski mask found in the

       duffel bag itself,” marked RS12. Rather, “[i]t was found in the pocket of the

       brown coat found in the duffel bag.” When the court asked who found it, the

       prosecutor answered that “the testimony was that the office of the medical

       examiner found it in the pocket of the coat when they processed the coat.” In

       other words, the court said, “the coat is vouchered and sent out to the lab

       where the mask is taken from the pocket and tested?” The court added:

       “Okay, I was just wondering.” However, according to FB File 1/Suspect File,

       an OCME employee with initials DTR opened the package. The prosecutor

       did not mention DTR, let alone call DTR to testify about the chain of custody.

       Counsel’s silence following this clear prompt from the court to object to the

       second mask is remarkable.

             Reasonable standards of professional competence require that counsel

       be familiar with rules of evidence and object to inadmissible evidence. People

       v. Cortez, 296 A.D.2d 465 (2d Dept. 2002); see Oathout, 21 N.Y.3d at 130.

       Failure to object to the second, unmarked mask due to the absence of

       foundation showed counsel’s incompetence. See People v. Rodriguez, 94

       A.D.2d 805, 806 (2d Dept. 1983)(counsel ineffective for, among other things,

       failure to object to the lack of foundation for expert testimony opining that

                                            45
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 62 of 1061 PageID #: 257
 000060


       drugs recovered were cocaine). Had counsel objected, the second mask and

       the DNA profile purportedly recovered from it would never have been

       admitted into evidence.

             3)     Appellant’s suppressed clothing was introduced into evidence
                    without objection


             Before trial, the court ruled that the police illegally stopped appellant

       and suppressed all the evidence recovered from his person, including his

       clothes. Nonetheless, the prosecution repeatedly referred to appellant’s

       clothes at the time of his arrest, drawing a link between the extra-large size of

       his clothing and extra-large size of the garments in the duffel bag. Counsel’s

       failure to object to the repeated references to suppressed evidence constituted

       ineffective assistance of counsel.

             The prosecution repeatedly elicited testimony about appellant’s

       suppressed clothing: Streneck was asked about the marking, vouchering, and

       photographing of appellant’s suppressed clothing (supra at 15-16); Streneck

       was also asked about the size of the suppressed clothing: a waist length black

       jacket, RS28, size 4XL; of black sneakers, RS29, size US 13; dark jeans,

       RS30, size 38 waist; a grey sleeveless T-shirt, RS31, size double extra-large;

       a black long sleeve shirt, size 6XL, RS 76 (supra at 16); Sergeant Trzcinski of



                                              46
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 63 of 1061 PageID #: 258
 000061


       the property clerk’s office was asked to list all the clothing he had vouchered

       which included the suppressed clothing (supra at 12-13); Wong of the OCME

       was asked to list the evidence she received for analysis, including all the

       suppressed clothing (supra 19-20); and the People introduced into evidence

       photos of appellant taken at the precinct, standing in front of a wall of wanted

       posters, wearing the suppressed clothing (supra at 15). Finally, the prosecutor

       referred to the clothing in summation (supra at 27). Counsel never objected

       as the prosecution repeatedly flouting the suppression court’s ruling.

             When counsel finally did object, the court’s response strongly

       suggested that it would have sustained earlier objections had they been made.

       Specifically, when counsel objected to the People’s use of the baseball cap

       appellant wore at the time of arrest, the prosecutor—apparently surprised by

       the objection—reminded the court that it had allowed testimony about

       appellant’s clothes. The court said: “no kidding,” adding that it had heard no

       objection at the time (supra at 19). The court’s comment did not appear to

       register with defense counsel but made it clear that objections would have

       been granted and the evidence precluded.

             During deliberations, counsel aggravated the prejudice created by the

       repeated emphasis on appellant’s extra-large clothing. The People had used



                                             47
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 64 of 1061 PageID #: 259
 000062


       the size of the clothing in the duffel bag and the size of appellant’s suppressed

       clothing to argue, in summation, that the clothing belonged to the same

       person. At one point, the jury asked for “defendant’s clothing, money et cetera

       [sic].” The court proposed a clarification that would ask whether the jury was

       talking about “clothing in the duffel bag, clothing defendant was wearing,” or

       both. The framing of the clarification mistakenly assumed that the clothing

       in the bag belonged to appellant, reinforcing the People’s case and placing

       additional emphasis on the suppressed evidence. Again, counsel did not

       object and the court proceeded to ask the jury the question (supra at 29).

             Without more, counsel’s failure to object to the introduction of the

       inadmissible hearsay DNA testimony, the never-authenticated inadmissible

       mask, and the suppressed clothing was so prejudicial as to amount to

       ineffective assistance of counsel. ---
                                          See ----
                                              infra Point I (II). Unfortunately,

       counsel’s deficient performance did not end there.




                                              48
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 65 of 1061 PageID #: 260
 000063


             B.     Counsel’s indecision evinced a lack of preparation


             In addition to counsel’s evidentiary errors, other blunders pervaded the

       trial, showing ignorance and a lack of preparation. See People v. Wilson, 34

       A.D.2d 546 (2d Dept. 1987). At several points, she made incomprehensible

       objections and arguments. For example, she raised numerous arguments

       about the two legitimate $100 and $20 bills recovered from appellant’s pocket

       at the time of arrest. These bills were irrelevant to the People’s case and the

       prosecution did not intend to use them. Given the irrelevance of these

       (suppressed) bills, counsel’s focus on them is puzzling, at best. First, she

       objected to their introduction, then withdrew the objection; later, when the

       jury asked for appellant’s suppressed clothing and money, she reminded the

       court, for no apparent reason, that she had objected to the two bills. Counsel

       subsequently renewed her objection to the bills’ introduction in her motion to

       set aside the verdict. Rejecting the argument, the court reminded counsel that

       the objection to the two bills had been withdrawn. Defense counsel’s myopic

       focus on these two bills, arguably the only non-prejudicial suppressed items,

       shows her total lack of preparation.

             Counsel’s indecisive and incomprehensible conduct continued

       throughout the People’s case. While she failed to object to Wong’s testimony


                                              49
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 66 of 1061 PageID #: 261
 000064


       on confrontation grounds, she questioned Wong about gray lines on the mask,

       indicating where it had been swabbed for DNA. Counsel also briefly

       suggested that the People call Detective Streneck to testify about the buccal

       swab, only to withdraw her request as potentially time-consuming. Later, she

       made and abandoned another request for gun powder evidence on a glove.

       Counsel also abandoned her objection to the 160 photos the People planned

       to introduce even after the court cited to People v. Lawson, 114 A.D.3d 962,

       963 (2d Dept. 2014). In Lawson, this Court sanctioned the introduction of 16

       photos, not 160. Counsel never distinguished Lawson. Nor did counsel renew

       her objection to the graphic autopsy photos after it became clear that the cause

       of death was uncontested. ---
                                 See -id.; -
                                           see also ------------
                                             - ---  People v. Duren, 130 A.D.3d 842

       (2d Dept. 2015).

             The pattern of scattershot objections and withdrawals persisted during

       summations, charge, and deliberations. During the prosecutor’s summation,

       counsel did not object to the prosecutor’s erroneous statement that the janitor

       had identified the second mask as one worn by the man in the lobby, a

       devastating misstatement since that was the inadmissible mask with the full

       DNA. In contrast, counsel objected to the prosecutor’s factually supported

       argument that the deceased had been shot first in the heart and then the head.

       Finally, after summation when the court belatedly dismissed the charges of

                                             50
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 67 of 1061 PageID #: 262
 000065


       criminal possession of a forged instrument, counsel appropriately asked for

       an instruction to the jury to disregard the evidence related to the charge. The

       court offered to tell the jury “for reasons that need not and must not concern

       you, the court will not submit the other counts of the indictment” (supra at

       28). That was not what counsel had asked for, but she said: “I guess that’s

       fine but just note my objection.” Even the court did not understand, repeating,

       “I guess that’s fine but note my objection?” Counsel said nothing.

              C.      Counsel gave no opening and an incoherent summation


              As part of a reasonable performance, counsel must give a cogent

       opening and a cogent summation, presenting a viable defense. People v.

       Cortez, 296 A.D.2d 465 (2d Dept. 2002). Counsel did neither. She did not

       give an opening at all because she did not know what her defense would be.

       She wanted to wait until the People rested. At the end of the People’s case,

       counsel did not renew her motion on the record.17 In any event, she did not

       present a case and, therefore, had no opening to give.

              Counsel did give a summation but, after a somewhat logical start, it

       deteriorated into incoherence. At first, she questioned the fortuitous discovery


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              Counsel may have renewed her request to make an opening statement off the
       record because, in her motion to set aside the verdict, she argued that the court erred in
       denying her request.

                                                    51
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 68 of 1061 PageID #: 263
 000066


       of the second mask. Then, she minimized the importance of the size extra-

       large clothing, telling the jury that it may belong to the Lonney Walker, who

       was also 6’6.” This approach made sense: the suspect seen by the janitor in

       the lobby was very tall, and counsel’s argument was consistent with the

       evidence. Incomprehensibly, however, she abandoned her Lonney Walker,

       third-party defense, and pointed the finger at Samuel Nelson, the 5’7”

       neighbor. Although there was no evidence of Nelson’s prints in the blood

       recovered from the seventh floor, she told the jury that his prints were in the

       victim’s blood on the wall. Contrary to the testimony, she told the jury that

       the prosecution had eliminated Nelson because he lived in the building. In

       fact, as the prosecutor told the jury, Nelson had been eliminated because he

       was 5’7”. Raising a third-party defense by pointing the finger at someone a

       foot shorter that the suspect is like raising an alibi defense on the wrong day.

       See People v. Long, 81 A.D.2d 521 (2d Dept. 1981)(wrong alibi day

       amounted to ineffective assistance of counsel notwithstanding counsel’s

       competence during other phases of the trial). It is error. Henry v. Poole, 409

       F.3d 48 (2d Cir. 2005)(wrong alibi).

             In sum, counsel’s conduct throughout the trial shows her lack of

       preparation and lack of knowledge of basic rules of evidence. Her failure to

       object to the inadmissible hearsay DNA testimony, to the inadmissible,

                                              52
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 69 of 1061 PageID #: 264
 000067


       unauthenticated mask with the only complete DNA profile of appellant, to the

       prosecutor’s repeated use of the suppressed evidence, was not an “objectively

       reasonable and legitimate trial strategy,” or merely misguided strategic

       calculations. These critical errors, standing alone, demonstrated a failure to

       properly comprehend the tactical process necessary to set the stage for the

       defense. See People v. Clarke, 66 A.D.3d 694, 698, (2d Dept. 2009).

       Combined and with the string of indecisive objections to peripheral evidence

       (the two legitimate bills, the gun powder, the buccal swab); the lack of

       objections to problematic events (an excessive number of photographs, the

       prosecution’s mischaracterization of the janitor’s testimony about the second

       mask); the lack of opening; and the incoherent summation, counsel’s

       performance fell far below any reasonable professional standard of conduct.

       II.   The jury deliberated for four days and, but for counsel’s incompetence,
             the outcome would have been different


             The evidence was far from overwhelming. The People’s case rested

       entirely on the hearsay DNA testimony, the never-authenticated mask, and the

       size of appellant’s clothing. The jury struggled with the evidence. During

       four days of deliberations, it asked to see and hear all of that evidence again.

       Had counsel been competent, none of the People’s key evidence would have

       been before the jury. All the DNA testimony would have been precluded as


                                             53
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 70 of 1061 PageID #: 265
 000068


       inadmissible hearsay. The second unauthenticated unmarked mask would

       have been s inadmissible and appellant’s extra-large clothing would have been

       suppressed. Had counsel’s performance been competent, the People’s case

       would have been reduced to inculpating appellant based on his height, with a

       viable third-party theory based on the victim’s friend Lonney Walker, who

       was also tall. Even with the prejudicial, inadmissible evidence before them,

       jurors made the connection and, during deliberations, asked to have the

       testimony    about   Lonney     Walker     read   back.   Had    counsel    not

       incomprehensibly undermined her own third-party defense by adding Samuel

       Nelson, 5’7” as a suspect, the jury may have reached a different conclusion.

             The People took advantage of counsel’s ineffectiveness, aggravating

       the prejudice.   Apparently confident that counsel would not object, the

       prosecutor asked multiple witnesses to list the suppressed clothing. The

       prosecutor also blatantly misrepresented the evidence in summation, without

       objection, telling the jury that the mask inside the coat pocket – -
                                                                          i.e.
                                                                            - the

       inadmissible second mask – was “the same mask that Jean [the janitor] saw

       appellant wearing on December 8th.” Pushing the envelope, the prosecutor

       told the jury that appellant’s (suppressed) clothing matched the clothing of the

       man on the ferry, “minus the baseball cap,” even though the baseball cap was

       clearly one of the suppressed items of clothing appellant was wearing at the

                                             54
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 71 of 1061 PageID #: 266
 000069


       time of     arrest.    Finally, during deliberations, the prosecutor took full

       advantage of counsel’s virtual absence. When the jury asked to see appellant’s

       clothing the prosecutor eagerly included photos of all the items of clothing

       from the duffel bag, as well as appellant’s suppressed clothes, linking

       appellant to the duffel bag. This flagrant disregard of the suppression ruling

       was facilitated by the court’s own clarification question to the jury, assuming

       that the clothes in the duffel bag belonged to appellant. Again, at the most

       critical time, counsel said nothing.

              Under both the federal and state standards, counsel was ineffective.

       Indeed, the right to be represented by an attorney means more than just having

       a person with a law degree sitting there asking questions. People v. Bennett,

       29 N.Y.2d 462, 466 (l972). Appellant received just that. Reviewing the

       totality of the record, it is obvious that counsel engaged in “an inexplicably

       prejudicial course” of conduct throughout the trial, the cumulative effect of

       which was to deprive the defendant of the effective assistance of counsel and

       his right to a fair trial. People v. Clarke, 66 A.D.3d 694, 696 (2d Dept. 2009).18




       18
                Should the court find that counsel was not ineffective, the verdict is against the
       weight of the admissible evidence and the judgment should be reversed in the interest of
       justice.

                                                   55
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 72 of 1061 PageID #: 267
 000070


                                           POINT II

                       Given Appellant’s Difficult Background, History of
                       Mental Illness, Insignificant Criminal Record, and
                       Expressed Remorse, The Maximum Sentence Of 25
                       Years to Life Was Excessive and Should Be
                       Reduced. U.S. Const., Amend. XIV; N.Y. Const.
                       Art. I, §5.

             Appellant overcame a difficult childhood and severe depression, caring

       for his mother as she battled breast cancer, to graduate from law school. He

       was on the path to a successful career when mental illness took over his mind

       and his life. Before this case, he had an insignificant record equivalent to one

       misdemeanor and one violation. Before and after trial, he expressed remorse.

       The court dismissed these mitigating factors and sentenced him to the

       maximum permissible sentence of 25 years to life for murder. The sentence

       is excessive.

             This Court has the power to reduce an unduly harsh or excessive

       sentence in the interest of justice, even if it falls within the statutory range.

       C.P.L. §470.15(6)(b); see also People v. Delgado. 80 N.Y. 2d 780 (1992);

       People v. Thompson, 60 N.Y.2d 513, 520 (1983). In imposing sentence, a

       court must consider the crime itself but also mitigating factors such as the

       defendant’s family background, criminal history, mental illness, and remorse.




                                              56
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 73 of 1061 PageID #: 268
 000071


       People v. Farrar, 52 N.Y.2d 302, 305 (1981). Looking at all these factors,

       appellant’s sentence is excessive.

             Appellant suffered from severe psychiatric problems.           He began

       suffering from depression when, as a teenager, he was faced with his mother’s

       terminal cancer. He took her to her treatments and had to watch her die. For

       a time, he appeared to survive. Against all odds, he graduated from high

       school, college, and Vermont University Law School. During law school,

       however, his mental illness worsened. He had hallucinations, started self-

       medicating and doing drugs. He would never pass the Bar exam and became

       homeless. According to Dr. Bardey, at the time of this offense, he “was

       extremely depressed, paranoid, delusional and experiencing auditory and

       visual hallucinations.” “He would look at a person’s face and see another

       person’s face.” He thought an “evil spirit was passing through them.”

             At sentencing, the court dismissed his illness, noting that no psychiatric

       defense had been raised. This was error, since mental illness is a mitigating

       factor even where a psychiatric defense has not been presented. See People v.

       Jeffries, 160 A.D.2d 406 (1st Dept. 1990)(reducing prison sentence for first-

       degree manslaughter from eight-and-one-third to 25 years to five to 15 years);

       People v. Farrell, 169 A.D.3d 919, 921 (2d Dept. 2019) (evidence of bipolar

       disorder was a factor in reducing the sentence for second-degree kidnapping

                                             57
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 74 of 1061 PageID #: 269
 000072


       and first- degree criminal sexual act from 20 years to 15 years); People v.

       Reyes, 89 A.D.3d 401 (1st Dept. 2011) (reducing prison term for attempted

       murder from 11 years to eight years where defendant had a history of

       hospitalization for schizophrenia); People v. Strawbridge, 299 A.D.2d 584,

       594 (3d Dept. 2002) (citing defendant’s “documented impaired emotional and

       mental health” in reducing sentence for depraved indifference murder from

       19 years to life to 15 years to life); People v. Watt, 189 A.D.3d 637 (1st Dept.

       2020)(sentence of 14 years reduced to 10 years for defendant, 19, who

       suffered from mental illness and had cognitive limitations in two “horrific”

       attempted murders, where the defendants “smashed a large brick on the

       [victim’s] head, then kicked him, and kicked a second victim before throwing

       him in in the Hudson River).

             Another mitigating factor was appellant’s virtually non-existent

       criminal record. In the words of the prosecutor, appellant’s criminal history

       was “insignificant.” At the time, it consisted of three misdemeanors: one for

       possession of a forged check, one for criminal possession of marijuana, and

       one for criminal possession of a gravity knife. Today, the marijuana

       possession would be a violation, P.L. §221.10, and the possession of a gravity

       knife would not be a crime at all, P.L. §265.01, People v. Merrill, 187 A.D.3d

       1058 (2d Dept. 2020)(possession of a gravity knife has been decriminalized).

                                             58
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 75 of 1061 PageID #: 270
 000073


       Here, the court mistakenly considered the criminal possession of a gravity

       knife an aggravating factor. Appellant’s “insignificant” criminal history

       should have been considered a mitigating factor. See People v. Forkey, 72

       A.D.3d 1209 (3rd Dept. 2010)(lack of criminal record a mitigating factor).

             Appellant also expressed remorse. Before trial, Dr. Bardey wrote that

       appellant took responsibility for his action and demonstrated “appropriate

       remorse.” At sentencing, he told the court he was sorry. Such remorse was

       another mitigating factor. See Id. (sentenced modified in light of defendant’s

       lack of criminal record and expression of remorse). The court seems to have

       ignored it.

             Focusing on what it considered to be the senseless nature of the crime

       and its brutality, the court imposed the maximum sentence. However, the

       maximum sentence is reserved for particularly “heinous” crimes. See People

       v. Hayes, 60 A.D.3d 1097 (3rd Dept. 2009)(where the defendant strangled the

       victim and stabbed her 33 times in the neck and stabbed her infant multiple

       times, a sentence of 50 years to life was upheld); -
                                                          see also --------------
                                                            - ---  People v. Haynes,

       14 A.D. 3d 789 (3rd Dept. 2005)(where the defendant seriously injured a pizza

       delivery person with a baseball bat and brutally killed another with a baseball

       bat a few days later, the court upheld the 50-year to life sentence). There is no

       denying the seriousness of the offense, but it does not belong in the heinous

                                              59
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 76 of 1061 PageID #: 271
 000074


       category justifying the maximum permissible term. Here, the victim was

       fatally shot twice following an argument. Given appellant’s insignificant

       record, his remorse and his serious mental illness, the maximum sentence is

       excessive and should be reduced. See People v. Carillo, 186 A.D.3d 849 (2d

       Dept. 2020)(second degree murder sentence reduced to 20 years to life); see

       also People v. Sarkodie, 172 A.D.3d 909 (2d Dept. 2019)(same).




                                    CONCLUSION

                   For the Reasons Stated in Point I, The Judgment
                   Must Be Reversed and a New Trial Ordered. Should
                   the Court Disagree, For the Reasons Stated in Point
                   II, The Sentence Should Be Reduced.



                                            Respectfully Submitted,




                                            JANET E. SABEL
                                            Attorney for Defendant-
                                            Appellant


          NATALIE REA
           Of Counsel
          April 2021




                                           60
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 77 of 1061 PageID #: 272
 000075




                     PRINTING SPECIFICATIONS STATEMENT


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 78 of 1061 PageID #: 273
 000076


                                            ADDENDUM

       SUPREME COURT OF THE STATE OF NEW YORK
       APPELLATE DIVISION: SECOND DEPARTMENT
       ------------------------------------------------------------- x
       THE PEOPLE OF THE STATE OF NEW YORK,                            :
                                                                       :
                                                Respondent,            :
                                                                       :
                                 against
                                                                       :
       ARMAND SKRINE,                                                  :
                                                                       :
                                     Defendant-Appellant.              :
       -------------------------------------------------------------   x
                          STATEMENT PURSUANT TO RULE 5531
       1.     The indictment number in the court below was No. 454/2011.

       2.     The full names of the original parties were The People of the State of

              New York against Armand Skrine.

       3.     The action was commenced in Supreme Court, Richmond County.

       4.     The action was commenced by the filing of an indictment, No.

              454/2011.

       5.     This is an appeal from a judgment, rendered July 29, 2014, convicting

              appellant after a jury trial of second-degree murder (P.L. §125.25) and

              second-degree criminal possession of a weapon P.L. §265.03(1)(a)) and

              sentencing him to a term of imprisonment of 25 years to life, concurrent




                                                   2A
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 79 of 1061 PageID #: 274
 000077


             to a determinate term of 10 years, followed by post-release supervision

             (Collini, J., at hearing and Rooney, J., at trial and sentence).

       6.    Appellant has been granted permission to appeal as a poor person on

             the original record. The appendix method is not being used.




                                             3A
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 80 of 1061 PageID #: 275
 000078


       SUPREME COURT OF THE STATE OF NEW YORK
       APPELLATE DIVISION: SECOND DEPARTMENT
       ------------------------------------------------------------- x

       PEOPLE OF THE STATE OF NEW YORK,                              :     AFFIRMATION
                                                                     :     OF SERVICE
                                              Respondent,            :
                                                                     :     Richmond County
                                     v.                              :
                                                                     :
                                                                           Ind. No. 454/11
       ARMAND SKRINE,                                                :
                                                                     :
                                                                           AD2 No. 2014-
                                                                     :     07390
                                   Defendant-Appellant.
                                                                     :
       ------------------------------------------------------------- x

       STATE OF NEW YORK  )
                          ) ss.:
       COUNTY OF NEW YORK)

              Natalie Rea, an attorney duly admitted to the practice of law in this
       State, does hereby affirm and show:

             That, on April 8, 2021, the within brief was served upon the
       Richmond Count District Attorney, Attention: Hon. Michael McMahon, at
       130 Stuyvesant Place, 7th Floor, Staten Island, New York 10301, via email
       at: Tanya.Janovsky@rcda.nyc.gov and to Attention: Morrie Kleinbart, via
       email at: Morrie.Kleinbart@rcda.nyc.gov. The District Attorney’s Office has
       consented to be served exclusively by electronic mail.

       Dated:         New York, New York
                      April 8, 2021

                                                                    /s/Natalie Rea(ak)
                                                                         NATALIE REA
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 81 of 1061 PageID #: 276
 000079


       SUPREME COURT OF THE STATE OF NEW YORK
       APPELLATE DIVISION: SECOND DEPARTMENT
       ------------------------------------------------------------- x

       PEOPLE OF THE STATE OF NEW YORK,                              :     AFFIRMATION
                                                                     :     OF SERVICE
                                              Respondent,            :
                                                                     :     Richmond County
                                     v.                              :
                                                                     :
                                                                           Ind. No. 454/11
       ARMAND SKRINE,                                                :
                                                                     :
                                                                           AD2 No. 2014-
                                                                     :     07390
                                   Defendant-Appellant.
                                                                     :
       ------------------------------------------------------------- x

       STATE OF NEW YORK  )
                          ) ss.:
       COUNTY OF NEW YORK)

              Natalie Rea, an attorney duly admitted to the practice of law in this
       State, does hereby affirm and show:

             That, on April 8, 2021, the within brief was served upon the
       defendant-appellant, Mr. Armand Skrine, DIN: 14A3581, at Great Meadow
       Correctional Facility, 11739 State Route 22, Box 51, Comstock, New York
       12821-0051, by depositing a true copy of the same in a postpaid, properly
       addressed wrapper, in an official depository under the exclusive care and
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       Dated:         New York, New York
                      April 8, 2021

                                                                    /s/Natalie Rea(ak)
                                                                         NATALIE REA
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 82 of 1061 PageID #: 277
 000080


                                                                To be argued by:
                                                                Thomas B. Litsky
                                                                 (10 Minutes)

                    Appellate Division No. 2014-07390


   Supreme Court of the State of New York
        APPELLATE DIVISION: SECOND DEPARTMENT

               THE PEOPLE OF THE STATE OF NEW YORK,

                                               Respondent,


                                 - against -



                            ARMAND SKRINE,

                                               Defendant-Appellant.


                        RESPONDENT’S BRIEF

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             ASSISTANT DISTRICT ATTORNEYS
             Of Counsel


                     Richmond County Ind. No. 454/2011
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 83 of 1061 PageID #: 278
 000081


                                                  Table of Contents

 Table of Authorities ................................................................................................. ii

 Preliminary Statement ................................................................................................ 1

 Introduction ................................................................................................................ 1

 The Evidence at the Suppression Hearing ................................................................. 3

          The People’s Case............................................................................................ 3

          The Court’s Decision ....................................................................................... 5

 THE EVIDENCE AT TRIAL ............................................................................................ 5
          THE PEOPLE’S CASE ......................................................................................... 5

          THE DEFENSE CASE ........................................................................................ 13
 ARGUMENT ........................................................................................................... 13

          POINT I

               DEFENDANT’S REPRESENTATION AT TRIAL WAS
               THOROUGHLY EFFECTIVE .......................................................................... 13

          POINT II

               DEFENDANT WAS APPROPRIATELY SENTENCED TO
               25 YEARS TO LIFE...................................................................................... 34

 CONCLUSION ........................................................................................................ 39




                                                               i
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 84 of 1061 PageID #: 279
 000082


                                           Table of Authorities

 CASES
 Amaro v. New York,
   40 N.Y.2d 30 (1976) .......................................................................................... 28
 Bullcoming v. New Mexico,
   564 U.S. 647 (2011) .......................................................................................... 24
 Michigan v. Bryant,
   562 U.S. 344 (2011) ........................................................................................... 24
 People v. Baldi,
   54 N.Y.2d 137 (1981) ........................................................................................ 14
 People v. Benevento,
   91 N.Y.2d 708 (1998) ........................................................................................ 14

 People v. Brown,
   13 N.Y.3d 332 (2009) ........................................................................................ 25
 People v. Caban,
   5 N.Y.3d 143 (2005) ........................................................................................... 31
 People v. Conwell,
   115 A.D.2d 552 (2d Dept. 1985) ........................................................................ 38

 People v. Cortez,
   296 A.D.2d 465 (2d Dept. 2002) ...................................................................... 19
 People v. DeBour,
   40 N.Y.2d 210 (1976) .......................................................................................... 5
 People v. Esposito,
   70 Misc.3d 74 (App. Term 2d Dept. 2020) ....................................................... 29
 People v. Figueroa,
   83 A.D.2d 564 (2d Dept. 1981) .......................................................................... 18

                                                            ii
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 85 of 1061 PageID #: 280
 000083




 People v. Flores,
   84 N.Y.2d 184 (1994) ......................................................................................... 14
 People v. Freycinet,
   11 N.Y.3d 38 (2008) ........................................................................................... 24

 People v. Gibson,
   163 A.D.3d 586 (2d Dept. 2018) ........................................................................ 26
 People v. Gutierrez,
   172 A.D.3d 1094 (2d Dept. 2019) ...................................................................... 38
 People v. Hansen,
   290 A.D.2d 47 (3d Dept. 2002) .......................................................................... 35

 People v. Hawkins,
   11 N.Y.3d 484 (2008) .......................................................................................... 29

 People v. Jamison,
   29 A.D.2d 973 (2d Dept. 1968) ........................................................................... 28
 People v. Jenkins,
   34 A.D.3d 833 (2d Dept. 2006) .......................................................................... 38
 People v. John,
   27 N.Y.3d 294 (2016) ...................................................................................25, 27
 People v. Julian,
   41 N.Y.2d 340 (1977) ......................................................................................... 28
 People v. Keough,
   145 A.D.2d 437 (2d Dept. 1988) ........................................................................ 38
 People v. Leftenant,
   22 A.D.3d 603 (2d Dept. 2005) .......................................................................... 38

 People v. Mancusi,
   161 A.D.3d 775 (2d Dept. 2018) ......................................................................... 29


                                                         iii
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 86 of 1061 PageID #: 281
 000084


 People v. Maxwell.
   152 A.D.3d 622 (2d Dept.) ................................................................................. 27
 People v. Migliaccio,
   77 A.D.2d 575 (2d Dept. 1980) .......................................................................... 38
 People v. Nelson,
   125 A.D.3d 58 (2d Dept. 2014) .......................................................................... 38

 People v. Orr,
   267 A.D.2d 177 (1st Dept. 1999)......................................................................... 18
 People v. Ortiz,
   76 N.Y.2d 652 (1990) ......................................................................................... 14
 People v. Rose,
   307 A.D. 270 (2d Dept. 2003) ............................................................................ 18
 People v. Satterfield,
   66 N.Y.2d 706. (1985) ........................................................................................ 19
 People v. Whyte,
   299 A.D.2d 378 (2d Dept. 2002) ........................................................................ 38
 Powell v. Alabama,
   287 U.S. 45 (1932) ............................................................................................. 13
 Strickland v. Washington,
    466 U.S. 668 (1984) ........................................................................................... 14


 STATUTES


 N.Y. Crim. Proc. Law § 260.30 .............................................................................. 17
 Penal Law § 60.05 ................................................................................................... 35
 Penal Law § 125.25 ............................................................................................... 1, 2
 Penal Law § 170.30 ................................................................................................... 2
 Penal Law § 265.02 ................................................................................................... 2
 Penal Law § 265.03 ............................................................................................... 1-2
                                                           iv
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 87 of 1061 PageID #: 282
 000085




 OTHER

 Marrus, Commentary on N.Y. Crim. Proc. Law § 260.30 “Delivering
      Effective Opening Statement for Defense” (Available at link:
       N.Y. Crim. Proc. Law § 260.30) .................................................................. 17




                                                     v
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 88 of 1061 PageID #: 283
 000086




 SUPREME COURT OF THE STATE OF NEW YORK
 APPELLATE DIVISION: SECOND DEPARTMENT

  THE PEOPLE OF THE STATE OF NEW YORK,
                                                             Richmond County
                                     Respondent,             Ind. No. 454/2011

                         -against-                           A.D. No. 2014-07390

  ARMAND SKRINE,

                                     Defendant-Appellant.



                           BRIEF FOR RESPONDENT

                               Preliminary Statement

       Defendant Armand Skrine appeals from a judgment of the Supreme Court of

 the State of New York, Richmond County (Collini, J., on suppression motion;

 Rooney, J., at trial and sentence), rendered July 29, 2014. By that judgment,

 defendant was convicted, following a jury trial, of Murder in the Second Degree [P.

 L. § 125.25(1)] and Criminal Possession of a Weapon in the Second Degree [P. L. §

 265.03(3)]. He was sentenced to concurrent indeterminate and determinate terms of

 imprisonment of 25 years to life and ten years, the later to be followed by two and a

 half years of post-release supervision. Defendant is presently serving his sentence.



                                           1
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 89 of 1061 PageID #: 284
 000087


                                    Introduction

       On December 8, 2011, inside a residential apartment complex at 195 Steuben

 Street in Staten Island, defendant used an assault rifle with a defaced serial number

 to shoot a friend to death. The gun was recovered from an abandoned duffel bag

 containing counterfeit currency and defendant’s personal items; defendant himself,

 meanwhile, was spotted on a street just blocks from the bag, and minutes after the

 shooting.

       Defendant was arrested and charged with Murder in the Second Degree [P. L.

 § 125.25(1)], Criminal Possession of a Weapon in the Second Degree [P. L. §

 265.03], Criminal Possession of a Weapon in the Third Degree (assault weapon)

 [P. L. § 265.02(7)], Criminal Possession of a Weapon in the Third Degree (defaced

 weapon) [P. L. § 265.02(3)], and Criminal Possession of a Forged Instrument in the

 First Degree (two counts) [P. L. § 170.30]. See Indictment 454/2011.

       On June 14, 2013, the court conducted a Wade/Huntley/Mapp/Dunaway

 hearing. It granted defendant’s suppression motion in part, ordering that property

 recovered from defendant’s person not be introduced at trial.

       In March 2014, the parties proceeded to trial on the second-degree murder,

 criminal possession of a weapon, and first-degree criminal possession of a forged




                                          2
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 90 of 1061 PageID #: 285
 000088


 instrument counts.1 On March 14, 2014, the jury convicted defendant of the murder

 and weapon possession counts. On July 29, 2014, he was sentenced as described

 above.

       On appeal, defendant raises a pair of objections to his judgment of conviction:

 (1) that counsel was constitutionally ineffective, owing largely to her failure to

 object to “critical but inadmissible evidence”; and (2) that his indeterminate sentence

 was excessive.


                   THE EVIDENCE AT THE SUPPRESSION HEARING

                                 THE PEOPLE’S CASE

       At around 11:50 a.m. on December 8, 2011, Police Officer JEFFREY

 ANDERSON and a partner, both in uniform, traveled to Staten Island in a marked

 police car (Anderson 22). They were responding to a radio report of a male shot at

 195 Steuben Street (Anderson 22).

       Officer Anderson drove across the Verrazzano Bridge, then exited onto a

 service road in the direction of Steuben Street (Anderson 23). Finally within walking

 distance of 195 Steuben Street, and only five minutes after the radio report, Anderson




 1
   The forged instrument count concerned defendant’s apparent possession of
 counterfeit money. That count was dismissed at trial following counsel’s motion.
                                        3
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 91 of 1061 PageID #: 286
 000089


 noticed defendant walking along the service road. He was wearing black jeans; a

 black jacket; black, muddy sneakers; and a blue Yankees hat (Anderson 26). As

 Anderson’s car passed, defendant made eye contact with him, and then increased his

 speed (Anderson 26, 34).

       Officer Anderson backed up and pulled over (Anderson 27). He asked

 defendant where he was going. Defendant did not respond. He kept his hands in his

 pockets, and Anderson noticed he was sweating despite the December cold

 (Anderson 27-28). Anderson and his partner asked to see defendant’s ID; defendant

 refused. Anderson’s partner then placed defendant in handcuffs, and Anderson

 frisked him (Anderson 28).

       The frisk recovered $900 cash, a quantity of counterfeit currency, a passport,

 and a birth certificate (Anderson 30-31). A check of defendant’s name revealed an

 open “I-card” for his arrest (Anderson 30). Defendant was then arrested.

       Following    defendant’s    arrest,       Detective   EDWARD   PATTERSON

 interviewed him at the precinct stationhouse (Patterson 48).

       At around 4:00 p.m., Detective DANIEL GUARIANO observed the recovery

 of a black and gray duffel bag from a pile of leaves in a wooded area near 195

 Steuben Street (Guariano 6-8). Inside the bag was a semiautomatic weapon

 (Guariano 9; People’s Ex. 1 [photograph]).

                                             4
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 92 of 1061 PageID #: 287
 000090


       On a later date, Detective Patterson conducted a photo array. It produced a

 positive identification (Patterson 48).

                                The Court’s Decision

       In a Decision and Order issued July 17, 2013, the court (Collini, J.) determined

 that the circumstances of defendant’s police encounter on the service road permitted

 no more than a “Level One” request for information under People v. DeBour, 40

 N.Y.2d 210 (1976). Thus, the officers’ detention and frisk of defendant required that

 “the … physical evidence from defendant’s person (i.e., the counterfeit currency and

 identification cards) must be suppressed” along with the ensuing statement to police

 (Decision and Order at 4-5).

       The court denied the suppression motion in all other respects.

                                The Evidence at Trial

                                  The People’s Case

       David Williams lived with his fiancée, JACLYN NICOLE HUNT, and their

 daughter at 195 Steuben Street, Apartment 7L, Staten Island (Hunt 240). He was an

 Access-A-Ride employee; she was a preschool teacher (Hunt 240, 241). They had

 known each other for thirteen years (Hunt 240).

       Williams had known defendant for a while, too. He called him “2-5” (Hunt

 243). They had been college roommates, and they kept in touch after graduation,

                                           5
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 93 of 1061 PageID #: 288
 000091


 spending time together at Williams’s apartment and elsewhere (Hunt 243, 245).

 Williams was 5’11” and skinny; defendant, who had played college basketball, was

 taller and much heavier (Patterson 233; Hunt 241, 245; DeRoux 361-62).

       On Thanksgiving 2011, Hunt noticed defendant was carrying a heavy duffel

 bag, Hunt identified a photo of that duffel bag (Hunt 246, People’s Ex. 124

 [photograph]).

       On the morning December 8, 2011, Williams dropped Hunt off at work and

 their daughter off at school (Hunt 247). That same morning, as depicted in

 surveillance videos downloaded by Department of Transportation employees

 JAMES VITALE and MICHAEL CASIANO, defendant traveled by ferry from

 Manhattan to Staten Island during the 9:00 hour (Casiano 162; Vitale 215; People’s

 Ex. 168, 170 [videos]). Defendant was also in a dark jacket, gray hooded sweatshirt,

 and baseball cap; and he was carrying a large, gray and black bag (Patterson 225;

 People’s Ex. 171 [photographs]). Upon his arrival in Staten Island, defendant

 walked toward a bus terminal (Patterson 227; People’s Ex. 171).

       Later that morning, building custodian JEAN LOISEAU noticed a person

 standing in front of the lobby elevator of 195 Steuben Street (Loiseau 112, 123). The

 man, who was taller than 6’4”, was covered from head to toe – a long coat, a full-




                                          6
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 94 of 1061 PageID #: 289
 000092


 face mask, gloves, and so on – to the point where Loiseau could not even discern his

 race (Loiseau 113, 114). He was carrying a black “sports bag” (Loiseau 113, 115).

       At one point that morning, JANET SMITH, who lived in Apartment 7M, next

 door, heard male voices coming from Apartment 7L (Smith 164,166). The tone was

 initially conversational (Smith 167). But later, as Smith walked in the hallway

 toward the stairwell, she heard “shuffling” and “heavy things being moved around”

 inside the apartment – and finally a loud shot (Smith 168).

       Before Smith could leave the hallway, the door to Apartment 7L opened

 (Smith 169). Williams emerged, his hands on his stomach (Smith 169). He said,

 “Help me; oh god, help me,” and fell to the floor (Smith 170). The door shut behind

 him (Smith 170).

       Smith ran down the stairs, on her way to a neighbor’s apartment from which

 she could call the police (Smith 171, 175). As she ran, she heard “another bang, a lot

 of bang” (Smith 171).

       Moments later, at around 11:50 a.m., Police Officer JEFFREY ANDERSON,

 driving in Brooklyn toward the Verrazzano Bridge, heard a radio report of a male

 shot at 195 Steuben Street (Anderson 186). He drove into Staten Island, then left the

 Staten Island Expressway onto a service road two blocks south of 195 Steuben Street

 (People’s Ex. 169 [maps]). Between the apartment building and the service road

                                           7
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 95 of 1061 PageID #: 290
 000093


 were a single residential block, and a wooded area about one block long (People’s

 Ex. 169 [maps]).

       Defendant was walking on the service road; it had no sidewalk (Anderson

 189). He was wearing a Yankees cap, a dark jacket, and black jeans (Anderson 191,

 192, 193). His shoes were muddy, and his face was sweaty (Anderson 191, 192). As

 he crossed the side of Officer Anderson’s car, he made eye contact with Anderson

 and picked up speed (Anderson 191-92). Anderson stopped him (Anderson 193-94).

       Meanwhile, at about 12 noon, first responders arrived at Apartment 7L

 (Diniso 105; Aguilo 131). Police Officer VINCENT AGUILO and Detective

 EDWARD PATTERSON, each responding to a report of shots fired, were among

 those on the scene.

       They encountered Williams lying prone, facedown, in a pool of blood on the

 hallway floor (Aguilo 132; Patterson 221; People’s Ex. 4, 12 [photographs]). Skull

 fragments and brain matter were visible “a good distance down the hallway”

 (Steneck 32; Patterson 221; People’s Ex. 3, 6 [photographs]). JESSICA DINISO, an

 emergency medical technician, concluded immediately that Williams had

 succumbed to a gunshot wound to his head (Diniso 106).

       Officer Aguilo, who had been informed that a child might be in the home,

 opened the apartment door (Aguilo 133). He found that the living area was

                                         8
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 96 of 1061 PageID #: 291
 000094


 disheveled, with a drum set and sofa pulled apart and various objects thrown or fallen

 to the floor (Aguilo 134; Patterson 221; Hunt 250). Chairs and tables were turned

 over (Patterson 221). A radio played music (Aguilo 134). A shell casing sat on the

 floor near the doorway (Aguilo 134). Aguilo secured the crime scene.

       At around 3 p.m., Detective ROBIN STENECK and other members of the

 Crime Scene Unit arrived at Apartment 7L (Steneck 25, 36). Apart from the physical

 evidence already described by Aguilo and Patterson, Steneck observed wounds to

 Williams’s arm and upper torso, and blood spatter on the wall of the hallway

 (Steneck 35, 42; People’s Ex. 23, 25, 33-37 [photographs]).

       Detective Steneck also found signs of fired bullets. In the hallway in front of

 Apartment 7H was a deformed bullet2 on the floor and a bullet-impact mark on the

 wall, 4’6” up from the ground (Steneck 35, 54-55, 57). Inside the apartment were a

 deformed bullet on the floor near the front door and a bullet-impact mark on the

 door, 4’1” up from the ground (Steneck 51-52, 56, 57).




 2
  As Steneck explained: “A shell casing is what the bullet is ejected from in a firearm.
 When somebody fires a firearm, the pin actually hits the primer in the shell casing,
 [and] the gunpowder inside that shell casing will force that bullet to explode out of
 the shell casing. The bullet is what ejects out of the barrel, and the shell casing will
 eject out of the slide of the firearm. The shell casing doesn’t actually fire towards
 the person; the bullet does” (Steneck 40).
                                            9
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 97 of 1061 PageID #: 292
 000095


       Fingerprints were also recovered from the hallway outside Apartment 7L. But

 the only examinable print ultimately belonged to a non-suspect resident who was

 5’7” tall and weighed 170 pounds (Patterson 222-23).

       In the wooded area between 195 Steuben Street and the Staten Island

 Expressway service road, Police Officer ANTHONY JACOBS, of the NYPD’s K-9

 unit, conducted a search with the help of a German shepherd named Storm (Jacobs

 197, 200). The dog located a black and gray duffel bag hidden under some leaves

 (Jacobs 201, 204-05).

       Detective Steneck processed the duffel bag. It contained a long black or brown

 jacket, a gray hooded sweatshirt, a hand towel, a spade, an umbrella, a rope, a single

 black glove, a black mask with eye holes, a CD player, a Gatorade bottle, and a sock

 containing paper currency (Steneck 66-69; Jacobs 205).3 Finally, it contained both a

 rifle, loaded with a magazine and a live cartridge in the chamber, and a discharged

 shell casing (Steneck 69; Jacobs 205).



 3
   The clothing articles themselves were not introduced at trial; photographs were
 introduced instead. As Sergeant JOHN TRZCINSKI explained, the NYPD
 warehouse in which the items were stored became waterlogged on October 29, 2012,
 as a result of Superstorm Sandy (Trzcinski 148-49). The floodwaters, which rose to
 a height of eight to ten feet, ultimately caused evidence at the warehouse to sustain
 “high levels of PCBs, heavy metals, and E. Coli…, thus contaminating … or at least
 compromising them” (Trzcinski 150). As of the date of trial, the warehouse remained
 closed (Trzcinski 150).
                                            10
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 98 of 1061 PageID #: 293
 000096


       Williams’s autopsy was conducted by Dr. STEPHEN DEROUX, of the Office

 of the Chief Medical Examiner. DeRoux observed entry and exit gunshot wounds to

 Williams’s head, and a second pair of entry and exit gunshot wounds to his torso

 (DeRoux 363). The torso wounds suggested that a bullet had traveled through

 Williams’s heart and lungs, entering his body while his arms were at his side

 (DeRoux 363, 371). Either injury would have caused Williams’s death, but the head

 injury would have killed him instantly (DeRoux 366, 369).

       Dr. DeRoux also noticed fresh abrasions to defendant’s head, chest, leg, and

 shoulder (DeRoux 363, 372).

       Detective JAMES CLONTZ, of the NYPD’s forensic-investigation division,

 examined the rifle. It was an operable, semi-automatic weapon based on the AK-47

 Kalashnikov rifle, and it contained an ejection port designed to catch errant shell

 casings (Clontz 282, 283, 286, 290-91). Its serial number had been defaced (Clontz

 297). Two rounds were missing from the magazine (Clontz 287).

       Detective Clontz also determined that the bullets recovered from 195 Steuben

 Street matched the duffel bag’s unused cartridges in appearance and caliber class,

 and that they were an appropriate shape and size to have been fired from the rifle

 (Clontz 304-05, 306). He could not conclusively state whether they had actually been

 fired from the rifle (Clontz 306).

                                         11
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 99 of 1061 PageID #: 294
 000097


       After examining the discharged shell casings, however, Clontz was more

 confident: he determined that the casings been fired from the same firearm (Clontz

 309-10).

       IRENE WONG, a criminalist in the city medical examiner’s forensic-biology

 department, supervised the generation of a profile based on DNA recovered from

 two black masks within the duffel bag, including one within the duffel bag’s long

 brown jacket (Wong 329, 331). That profile was then compared to an exemplar

 profile generated from DNA within the mouth of defendant (Wong 337).

       As the report demonstrates (People’s Exh. 176 [DNA report]), Wong reached

 two conclusions: first, that the DNA from both black masks derived from a single

 source (Wong 341); second, that the characteristics of two profiles were so

 consistent that they generated a “random match probability” of one in 6.8 trillion

 people (Wong 343). As Wong explained, “Armand Skrine is the donor to those two

 mask samples” (Wong 343).

       The paper currency from the duffel bag was also examined. They were stacks

 of U.S. ten-dollar bills divided into multiple sets, and the bills in each set had the

 same serial number (Steneck 75). Criminalist PATRICIA ZIPPO determined that

 they were counterfeit (Zippo 271).




                                          12
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 100 of 1061 PageID #: 295
  000098


                                   The Defense Case

        Defendant did not call any witnesses.



                                     ARGUMENT

                                        POINT I

            DEFENDANT’S REPRESENTATION AT TRIAL WAS THOROUGHLY
            EFFECTIVE (ANSWERING DEFENDANT’S POINT I).
        Defendant’s first claim on appeal is that he was deprived of the effective

  assistance of counsel. In support of this point, defendant notes that his attorney

  declined to give an opening statement, failed to object to the admission of certain

  evidence, and displayed “indecision” and “incoheren[ce]” at various points.

        In each instance, defendant overstates the significance of counsel’s acts and

  omissions. Waiving an opening statement was an unorthodox but ultimately harmless

  trial strategy; not a single piece of admissible, significant evidence escaped counsel’s

  objection; and “indecision” and “incoheren[ce]” hardly describe her overall

  performance before the jury. The claim should be rejected.

                                            A.

        The right to the assistance of counsel guaranteed under both the federal and

  state constitutions extends to the giving of “effective” aid, Powell v. Alabama, 287

  U.S. 45, 71 (1932), which generally means “the reasonably competent services of an

                                            13
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 101 of 1061 PageID #: 296
  000099


  attorney devoted to the client’s best interests,” People v. Ortiz, 76 N.Y.2d 652, 655-

  56 (1990). The phrase “effective assistance” is not amenable to precise demarcation

  applicable in all cases, People v. Benevento, 91 N.Y.2d 708, 712 (1998); in fact, as

  long as “the evidence, the law, and the circumstances of a particular case, viewed in

  totality and as of the time of the representation, reveal that the attorney provided

  meaningful representation, the constitutional requirement will have been met,”

  People v. Baldi, 54 N.Y.2d 137, 147 (1981).

        Because the Constitution guarantees a defendant a fair trial, not a perfect one,

  People v. Flores, 84 N.Y.2d 184, 187 (1994), applying the “meaningful

  representation” standard does not permit a reviewing court to second-guess counsel’s

  efforts “with the clarity of hindsight,” People v. Satterfield, 66 N.Y.2d 706. 799

  (1985). Thus, “[t]o prevail on a claim of ineffective assistance, defendants must

  demonstrate that they were deprived of a fair trial by less than meaningful

  representation; a simple disagreement with strategies, tactics, or the scope of possible

  cross-examination, weighed long after the trial, does not suffice.” Flores at 187. And,

  under the federal standard, counsel’s deficient performance must have also actually

  prejudiced the defendant, which is to say that “there is a reasonable probability that,

  but for counsel’s unprofessional errors, the result of the proceeding would have been

  different.” Strickland v. Washington, 466 U.S. 668, 694 (1984).

                                            14
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 102 of 1061 PageID #: 297
  000100




                                           B.

        Defendant received the benefit of thorough and impassioned representation,

  by an attorney well versed in the intricacies of New York criminal procedure.

        To be sure, that attorney was faced with significant evidence of her client’s

  guilt. Because the argument and first shot occurred inside David Williams’s

  apartment, the killer was very likely somebody he knew (see Smith 167-69). In fact,

  as neighbor Janet Smith testified, voices she had heard coming from the murder

  apartment had been conversational, plainly reflecting that whoever shot Williams

  had been known to Williams. The trial evidence also reflected that Williams and

  defendant had been college roommates and remained in touch after their graduation

  (Hunt 243, 245). Further, since a very tall man, covered from head to toe in ski

  equipment and carrying a duffel bag -- a description uncannily matching defendant,

  who was known to carry a similar duffel bag (Hunt 246) -- had visited Williams’s

  apartment building at the time of the homicide, the killer was very likely defendant

  (see Loiseau 112-15, 123).

        Defendant’s ties to the scene, and to the apparent killer, were virtually

  innumerable. He rode the ferry to Staten Island that morning (see Casiano 162, Vitale

  215, People’s Ex. 168, 170) and, after the murder, was spotted wandering just two

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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 103 of 1061 PageID #: 298
  000101


  blocks from the scene (Anderson 189). A duffel bag recovered from neighboring

  woods contained an AK-47 missing two bullets – the same number of shots

  overheard by Williams’s neighbor, and the same number evidenced by deformed

  bullets and impact markings at the scene (Steneck 34, 51-57, 66-69; Smith 167-69).

        DNA that matched defendant’s was recovered from a ski mask within the bag

  (Wong 343), and a jacket within the bag was the same one Loiseau had spotted on

  the camouflaged man standing in the lobby (see Loiseau 115). The duffel bag itself

  matched the bag carried by the apparent killer (see Loiseau 116), the bag carried by

  defendant during his ferry travels (see Patterson 225; People’s Ex. 171), and as

  noted, a bag Williams’s fiancée remembered defendant having carried around (see

  Hunt 246).

        In other words, apart from the general notion that the evidence of the killer’s

  identity would be challenged – and that Williams’s regular access to the apartment

  would be helpful – an effective defense theory would largely be contingent on the

  outcome of cross-examination: on whatever discrepancies, weaknesses, and doubts

  emerged from prodding at witness testimony. To be sure, waiving an opening

  statement is not the only way for an attorney to keep those theoretical options open.

  But counsel’s initial desire to defer her opening until she heard the People’s case –




                                           16
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 104 of 1061 PageID #: 299
  000102


  a request eventually denied by the court, as memorialized in counsel’s motion to set

  aside the verdict – was understandable.

        The notion that the failure to deliver an opening statement can ever be the

  basis for a conclusion that that failure evinces constitutional ineffectiveness of

  counsel is belied by the CPL itself. While CPL Section 260.30(3) requires that the

  People “deliver an opening address to the jury,” it provides that a defendant “may”

  do so. In other words, it lies within the tactical discretion of defense counsel whether

  or not to deliver an opening statement.

        At least one commentator has recognized that there are cases in which defense

  counsel may be better advised not to make an opening statement. “[T]here are cases

  in which it is very uncertain who will actually testify on behalf of the prosecution or

  what a particular witness would actually say. In these situations, other than telling

  jurors in an opening statement to pay attention and warning jurors that what the

  prosecutor said in opening is not evidence, refraining from an opening statement

  may be the best strategy for the defense. By not making an opening statement,

  defense counsel does not have to commit to a defense. Such a wait-and-see approach

  allows defense counsel to adapt a defense strategy as the prosecution’s case

  develops.” Marrus, Commentary on N.Y. Crim. Proc. Law § 260.30 “Delivering

  Effective Opening Statement for Defense” (Available at link: N.Y. Crim. Proc. Law

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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 105 of 1061 PageID #: 300
  000103


  § 260.30). This, of course, was a case in which proof of guilt was purely

  circumstantial. Inasmuch as a defense attorney must be careful not to turn an opening

  statement into a summation, see, e.g., People v. Orr, 267 A.D.2d 177 (1st Dept.

  1999), absent a full picture of what it is the evidence would show, there would be

  little for counsel to say to the jury and certainly nothing that she might have omitted

  could have served to deny defendant a fair trial, the very point of the guarantee of

  counsel at trial.

         Consistent with the discretion afforded a defense counsel when it comes to an

  opening statement, it appears that a waived opening statement has never been the

  sole basis for a reversal on appeal. It has resulted in affirmances, see People v. Rose,

  307 A.D. 270, 271 (2d Dept. 2003) (“That the defense counsel waived an opening

  statement does not itself amount to ineffective assistance, and we find that the

  defendant was afforded the effective assistance of counsel.”), and it has been cited

  in reversals on other grounds, see People v. Figueroa, 83 A.D.2d 564, 564 (2d Dept.

  1981) (reversal where counsel failed to seek a pretrial Wade hearing, waived his

  client’s Sixth Amendment right to a public trial, failed to make appropriate

  objections, demonstrated ignorance of basic principles of criminal law and

  procedure, elicited prejudicial testimony, compounded that prejudice on summation,

  presented a fundamentally contradictory defense, delivered an incoherent

                                            18
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 106 of 1061 PageID #: 301
  000104


  summation, and made no statement on behalf of his client at sentencing). But courts

  have hesitated to invade the province of trial strategy, see Flores, 84 N.Y.2d at 187;

  Satterfield, 66 N.Y.2d at 799, and the decision to deliver such statement is just such

  a matter of strategy. Indeed, second guessing a defendant counsel’s strategy simply

  cannot result in reversal on ineffective assistance grounds, especially in cases where

  counsel’s performance evinces coherent tactics and overall competence.4

        Here, Ms. Guastella’s performance evinced both. The theme of her summation

  was the overwhelming circumstantiality of the People’s case. As she pointed out, it

  relied on inferences about the manner in which the victim was shot (T. 398-99),5

  inferences about the identity of the ferry rider and the man standing in the lobby (T.

  399), inferences that one commonly available mask is the same as another (T. 399,

  400), inferences that one commonly available duffel bag is the same as another (T.




  4
   Defendant cites People v. Cortez, 296 A.D.2d 465 (2d Dept. 2002), for the principle
  that, “[a]s part of a reasonable performance, counsel must give a cogent opening”
  (Def. Br. 51). The case says nothing of the sort.
  5
     To underscore the limitations of the People’s evidence, and perhaps the
  thoroughness of the responding officers, counsel observed that even the precise
  location of the shooting had not been thoroughly proven. No one had observed it
  firsthand. And it did not escape counsel’s attention that no one had noticed the bullet
  in the hallway before Detective Steneck had arrived (T. 407).
                                            19
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 107 of 1061 PageID #: 302
  000105


  406)), and the inference that a gun was used by the same person whose DNA was

  recovered from a neighboring mask (T. 398, 400).

        “They haven’t even proved the last time somebody wore that ski mask,”

  counsel told the jury. “You heard Ms. Wong testify that [defendant’s] DNA could

  have been on the mask for over a year. [And the clothes] could have also belonged

  to Lonney Walker,” a neighbor who used to date Hunt’s relative.6 “We know he’s

  6’6” and over 220 pounds. And in Ms. Hunt’s own words, she said he was a big guy.

  Those could have been his clothes. We know he’s been in the apartment” – and that

  defendant’s own visits to that apartment raised the possibility of DNA contamination

  (T. 401). This was a thoughtful factual argument.

        Counsel also challenged the credibility of Detective Anderson’s account of

  defendant wandering on the service road (T. 402), the likelihood that an AK-47

  would have slipped past counterterrorism officers at the ferry terminal (T. 404), a

  description of the “same” duffel bag by different witnesses (T. 406), a description of

  the “same” jeans by different witnesses (T. 412), and the “sense[less]” fact that the




  6
    The fact that Lonney Walker had dated Hunt’s relative and had been inside
  Williams’s apartment was revealed in a particularly effective display of cross-
  examination (see Hunt 264).
                                       20
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 108 of 1061 PageID #: 303
  000106


  ski mask with defendant’s DNA went unmentioned in Detective Steneck’s log of

  recovered items (T. 411).

        Although defendant brands as “incoherent” counsel’s reference to the on-

  scene presence of neighbor Samuel Nelson’s fingerprint, its purpose was clear: to

  challenge the thoroughness and credibility of the detective work that settled on

  defendant as the shooter (see T. 409 [“That’s ridiculous. … Not concerned that there

  is a palm print right on the wall outside … where the deceased was laying? … But

  he’s ruled out because he’s a resident of the building. Some investigation.”]).7 This

  is the very same reason why counsel excoriated investigators for “d[oing] nothing”

  to test the bite mark on Williams’s back (see T. 413), and why she underscored that

  no one had noticed the bullet in the hallway before Detective Steneck had arrived

  (see T. 407). At no point did counsel abandon her theory that Lonney Walker might

  have committed the crime.

        Counsel’s vigorous closing argument arrived amid – and in some ways was

  made possible by – other displays of alertness and fluency in the relevant facts and




  7
     Defendant accuses counsel of misunderstanding the reasons for Nelson’s
  elimination as a suspect (Def Br. at 52). In fact, counsel did not. Detective Patterson
  had indeed testified that Nelson was excluded because “he resides within the
  building” (Patterson 222).

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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 109 of 1061 PageID #: 304
  000107


  law. Counsel knew to ask for an adverse inference concerning missing property (T.

  90).8 She moved for a trial order of dismissal (S. 388). She objected to numerous

  aspects of the People’s use of Microsoft PowerPoint during summation (S. 418).

  Another objection resulted in the dismissal of a count of the indictment (T. 460).9

        Counsel anticipated a possible prosecution theory of a robbery, based on a

  coincidence in quantities of cash carried by victim and defendant (T. 98). She honed

  in on arguable discrepancies in the descriptions of defendant’s duffel bag and jeans,

  which helped to challenge the proof that Loiseau’s masked man had been defendant

  (Loiseau 115). She successfully blocked Detective Patterson from mentioning

  defendant’s official height and weight, even though the suppression decision had not

  expressly ruled out pedigree information (Patterson 232). She repeatedly teased out

  omissions and discrepancies between witnesses and their associated DD5 reports,

  from Janet Smith to Jaclyn Nicole Hunt. Her cross-examination of Loiseau, Smith,



  8
   The citation refers to the minutes of defendant’s trial, which began on March 3,
  2014.
  9
    Again, defendant appears to seriously mischaracterize an aspect of the transcript.
  Counsel did not “sa[y] nothing” when prompted by the court to clarify her objection
  (Def. Br. at 51). Instead, she did precisely what the court had asked her to do,
  explaining that “if the People didn’t put it in their PowerPoint and actually expand
  on the charge and put the elements out in front of them and compare what they think
  they have proven to each element, then I probably wouldn’t have asked for a curative
  instruction” (T. 463).
                                           22
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 110 of 1061 PageID #: 305
  000108


  and Hunt were especially thorough, and her questions to Detective Clontz suggested

  a longstanding familiarity with guns and ballistics. Finally, of course, the theory that

  Lonney Walker had killed David Williams was only possible because of counsel’s

  cross-examination of Williams’s fiancée (Hunt 264).

        For her work, counsel can reasonably be credited with the jury’s considerable

  deliberation over an extremely strong circumstantial case. Her strategy was cogent,

  and it was backed up by a thorough understanding of the record, as well as the

  characters, locations, tools, and documents underlying the facts of the case.

                                            C.

        Of defendant’s objections to counsel’s performance, three are explored in

  detail in his brief. None have merit.

                                             i.

        The conclusion that defendant was the single source of DNA recovered from

  two black masks, and that he matched a profile unique among approximately 6.8

  trillion people, was based on the testimony of OCME criminalist Irene Wong. Wong

  “supervise[s] Criminalists Levels II and Criminalists Level III in their case work,

  which means that [she does] a technical review on their work to make sure that

  everything is correct” (Wong 318). She supervised the analysis of both masks

  recounted in the DNA report. ---
                               See Forensic Biology Case Contact Sheet, 12/11/11

                                            23
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 111 of 1061 PageID #: 306
  000109


  (“Told her DTR is the analyst and I am his supervisor”); PCR Statistics Sheet,

  12/21/11 (listing DTR as analyst); Forensic Biology Schedule of Analysis Sheet,

  2/27/12 (Wong ordered extraction, quantitation, DNA typing, a comparison, and a

  report). In fact, she remained the supervisor of analyst DTR’s work well after the

  generation of the dual black-mask profiles that inculpated defendant. See

  Electropherograms, 12/19/11; Forensic Biology Case Contact Sheet, 12/29/11.

        Defendant complains that counsel was ineffective for failing to object to this

  testimony, which defendant characterizes as testimonial hearsay in violation of the

  Confrontation Clause. That characterization is plainly wrong.

        The U.S. Supreme Court and the New York State Court of Appeals have set

  out in clear terms that a defendant’s right to be “confronted with the witnesses

  against him,” U.S. Const. Amd. VI, extends only to those witnesses whose words

  are “testimonial,” i.e., “procured with a primary purpose of creating an out-of-court

  substitute for trial testimony,” Michigan v. Bryant, 562 U.S. 344, 358 (2011). A

  Confrontation Clause violation, then, requires that two conditions be satisfied: first,

  that the primary purpose of the statement be to create a record for trial, Bullcoming

  v. New Mexico, 564 U.S. 647, 669 (2011) (Sotomayor, J., concurring); and second,

  that the statement’s declarant not testify in court, People v. Freycinet, 11 N.Y.3d 38,




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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 112 of 1061 PageID #: 307
  000110


  42 (2008) (“Dr. Lacy was not defendant’s ‘accuser’ in any but the most attenuated

  sense.”).

        In People v. John, 27 N.Y.3d 294 (2016), the Court of Appeals succinctly

  applied the relevant rule to DNA reports: “We conclude that an analyst who

  witnessed, performed or supervised the generation of defendant’s DNA profile, or

  who used his or her independent analysis on the raw data, as opposed to a testifying

  analyst functioning as a conduit for the conclusions of others, must be available to

  testify.” Id. at 305 (emphasis added). Significantly, “one analyst with the requisite

  personal knowledge” is enough, as “an ‘all analysts’ rule” would not be “consistent

  with the decisional law.” Id. at 312-13. And “nothing in this record supports the

  conclusion that the analysts involved in the preliminary testing stages, specifically,

  the extraction, quantitation or amplification stages, are necessary witnesses.” Id. at

  313. Cf. Def. Br. at 39 (objecting that “the analysts who edited and constructed the

  DNA profile” did not testify).

        In other words, on one side of the line are cases like Bullcoming, 564 U.S.

  647, where “a witness who never tested the forensic evidence that incriminated an

  accused defendant was asserting that the nontestifying analyst’s testing results were

  truthful.” John at 304. And on the other side are cases like People v. Brown, 13

  N.Y.3d 332 (2009) , where “[t]he testifying witness, an OCME Level IV Criminalist

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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 113 of 1061 PageID #: 308
  000111


  who had supervised the generation of the DNA profile from the defendant’s

  exemplar, had personally examined and independently interpreted the data.” John at

  310. See also id. (“Determinatively, the expert testified that any conclusions or

  opinions she reached from the raw data supplied by the outside laboratory were her

  own and not contained in any reports. By contrast, Huyck, who made no such claim

  and who was not an OCME supervisor, reviewed the reports of other OCME analysts

  [and] saw that the ‘necessary people’ had signed off and agreed with their

  conclusions.”) (internal citations omitted).

        “Personally examin[ing] and independently interpret[ing] the data” is exactly

  what Wong did. A supervising criminalist like the one in Brown, she conducted her

  own “technical review … to make sure that everything [was] correct,” as opposed to

  simply repeating verbatim what other analysts had concluded (Wong 318). See

  People v. Gibson, 163 A.D.3d 586, 588 (2d Dept. 2018) (“The testifying criminalist

  performed a technical review of the analyst’s report, independently reviewed the

  analyst’s data interpretation, and reached an independent conclusion, and thus[] was

  not merely ‘functioning as a conduit for the conclusions of others.’”) (quoting John

  at 315). The detailed nature of her description of the particular steps taken in

  defendant’s case confirmed her fluency in the matter.




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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 114 of 1061 PageID #: 309
  000112


        And the conclusion that defendant “is the donor to those two mask samples”

  was manifestly her own (Wong 343). Thus, for purposes of the Confrontation

  Clause, the declarant – the only person who can be said to have “accused” defendant

  – was Wong, the very same person who testified in court and was cross-examined

  by the defense.

        Of course, the irony behind the compatibility of Wong’s testimony with

  People v. John, 27 N.Y.3d 294 (2016), is that John was not decided until two years

  after defendant was convicted. At the time of defendant’s trial, the governing case

  was Brown, 13 N.Y.3d at 337, which held that a report was not testimonial “because

  it consisted of merely machine-generated graphs, charts and numerical data,” and

  the relevant “technicians would not have been able to offer any testimony other than

  how they performed certain procedures.” In light of this history, it is impossible to

  retroactively require defense counsel to anticipate the more precise rules imposed

  two years later by John – even though, in any event, the court’s and the parties’

  handling of the DNA evidence was entirely compliant with the rules that were yet to

  be established. See People v. Maxwell. 152 A.D.3d 622, 624 (2d Dept.) (“counsel

  cannot be found ineffective for failing to anticipate changes in the law”), lv. denied,

  30 N.Y.3d 1062 (2017).




                                            27
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 115 of 1061 PageID #: 310
  000113


                                           ii.

        Matching DNA profiles were generated from not one but two masks within

  the abandoned duffel bag: a mask that was loose inside the bag (People’s Ex. 177C,

  marked “2” by OCME and “RS12” by Steneck) and a mask that was packaged within

  the pocket of a long coat (People’s Ex. 177B, marked “1B” by OCME and unmarked

  by Steneck).

        In contending that counsel should have objected to the admission of this latter

  mask, defendant misses an important aspect of how the mask was handled and

  stored. “Fungible” as the second mask may be, its provenance is not mysterious: it

  was stored within the pocket of a vouchered coat, an item whose chain of custody

  cannot be seriously challenged.

        To be admissible, any piece of evidence must be shown to accurately portray

  a relevant and material element of the case. People v. Julian, 41 N.Y.2d 340, 342

  (1977). When real evidence purports to be the actual object associated with a crime,

  such accuracy is established by proof that the evidence is identical to that involved

  in the crime, and that it has not been tampered with. Id. at 342-43.

        But “the chain of custody requirement [need not] be extended to unreasonable

  limits.” Id. at 343 (citing People v. Jamison, 29 A.D.2d 973 [2d Dept. 1986] [postal

  workers need not testify about the security of mail delivery]). In Amaro v. New

                                           28
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 116 of 1061 PageID #: 311
  000114


  York, 40 N.Y.2d 30 (1976), for example, the Court of Appeals recognized that

  failure to establish a chain of custody may be excused “where the circumstances

  provide reasonable assurances of the identity and unchanged condition” of the

  evidence. Id. at 35. And the Court of Appeals in Julian, satisfied that sealed, initialed,

  and dated packages of cocaine and marijuana had not been altered during a three-

  year gap in which the packages changed location without explanation, affirmed a

  conviction because:

               [t]he proof indicates that after being deposited with the
               property clerk, the evidence was transferred to another unit
               of the police department, pursuant to a legitimate
               administrative mandate. When discovered, the drugs were
               found precisely where they were supposed to be, in the
               police narcotics laboratory. At all times, the drugs
               apparently remained safely under police control. That the
               offered items were the materials seized in defendant’s
               apartment was confirmed by the fact that they remained
               within identifiable containers. Throughout the period of
               police custody, the packages were stored in the same
               suitcases into which they had initially been placed.

  Id. at 343-44.

        Moreover, even where there is a gap in the chain of custody, “testimony [may]

  establish circumstances providing reasonable assurances of the identity and

  unchanged condition” of a fungible item. People v. Esposito, 70 Misc.3d 74, 76

  (App. Term 2d Dept. 2020) (citing People v. Hawkins, 11 N.Y.3d 484, 494 [2008];

  People v. Mancusi, 161 A.D.3d 775 [2d Dept. 2018]).
                                             29
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 117 of 1061 PageID #: 312
  000115


        That was precisely what happened here. Detective Steneck testified that she

  marked the long black jacket from the duffel bag as “RS7” and photographed it

  (Steneck 65-67; see People’s Ex. 107, 108); Sergeant Trzcinski, the property clerk,

  testified that the long black jacket remained in police custody as it was vouchered,

  forwarded to the police lab, and forwarded to the OCME (Trzcinski 144); and Irene

  Wong, the criminalist, testified that it was received by OCME with the original

  “RS7” label and the exact same appearance, and that the second black mask was

  “inside the left outside pocket of the . . . brown long coat” (Wong 330, 332-33; see

  People’s Ex. 176A [photograph]). These are no doubt “reasonable assurances of …

  identity and unchanged condition” as contemplated by Jamison, Julian, and

  Esposito.

        Defendant does not contend that these procedures were insufficient to ensure

  the authenticity of the long black jacket – or, for that matter, any of the other items

  recovered from within the duffel bag. Instead, defendant argues that a different

  standard should be applied to any item found within the long black jacket, including

  the mask, because it is “suspicio[us]” that Steneck would have failed to photograph

  something “protruding from the coat pocket.”

        This view is specious. There is no record support for the idea that Steneck

  checked all of the jacket pockets, or that the mask was “protruding” as described in

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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 118 of 1061 PageID #: 313
  000116


  the brief. Nor is there any record support for the view that the mask, or any other

  item, had been tampered with. In these respects, the case is indistinguishable from

  the above-cited precedents. As in Julian, the property remained under police control

  “pursuant to … legitimate administrative mandate[s].” As in Jamison and Esposito,

  the possibility of tampering is not to be equated with evidence of tampering. A mail

  carrier could conceivably tamper with letters stored within an envelope; a hospital

  laboratory employee could conceivably tamper with blood from a vial covered by a

  removable cap. The question is not whether tampering is possible: it is whether

  testimony about institutional custody and safekeeping provides “reasonable

  assurances of … identity and unchanged condition.” The precedent makes clear that

  the instant testimony did exactly that. For this reason, counsel cannot be faulted for

  declining to raise an “argument that has little or no chance of success” People v.

  Caban, 5 N.Y.3d 143, 152 (2005) (citation omitted).

        Of course, the fact that the complained-of mask was only one of two masks

  from which a matching profile had been constructed (Wong 331, 335, 341) puts the

  lie to the notion that defendant even could have been prejudiced by his attorney’s

  omission. Wong also testified about significant commonalities between defendant’s

  exemplar sample and the partial profile from the loose mask (Wong 341 [“So if

  you’re looking at the DNA profile for mask 2 is on the last column on the right.”]).

                                           31
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 119 of 1061 PageID #: 314
  000117


  Thus, defendant’s entire claim rests on the minor distinction between one persuasive

  DNA match and two persuasive DNA matches. It must be rejected.

                                           iii.

        Third and finally, defendant complains that counsel did not object when the

  jury heard references to items of clothing that, in defendant’s view, had been

  suppressed weeks before. Indeed, Justice Collini’s hearing decision had suppressed

  “the … physical evidence from defendant’s person (i.e., the counterfeit currency and

  identification cards),” along with defendant’s ensuing statement to police (Decision

  and Order at 4-5). Inconsistent with defendant’s interpretation of the ruling were

  various references to the full list of vouchered clothes (Steneck 66; Wong 329).

        Because Justice Collini had essentially suppressed the fruits of what he had

  held to be an unlawful detention, defendant extrapolates on appeal that the ruling

  should have applied to the clothes defendant was wearing at the time of arrest. At

  the outset, however, that does not actually appear to be the meaning of Justice

  Collini’s suppression decision. The decision and order listened only “the counterfeit

  currency and identification cards” – in other words, the secreted items that were

  recovered from defendant’s unlawful frisk. The order did not list any items that

  would have been observable to the officers upon their chance encounter with

  defendant. Inasmuch as the court used the abbreviation “i.e.” rather than “e.g.,” the

                                           32
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 120 of 1061 PageID #: 315
  000118


  currency and cards are fairly understood to make up an exhaustive list of the

  “physical evidence from defendant’s person” the court was referring to. Counsel

  cannot be faulted to failing to read more into the order than was there.10

        Another distinction between defendant’s clothes and the counterfeit items

  recovered from his person is that defendant’s hat, sweatshirt, and other clothes are

  not particularly useful evidence of his guilt. Jean Loiseau, the custodian, said only

  that the man who waited by the elevator with a duffel bag wore a long coat, a full-

  face mask, and gloves. These items bore no connection to the outfit defendant was

  wearing when stopped by police. They were all recovered from the woods and the

  duffel bag within.

        Defendant suggests that the clothing was especially useful to the prosecution

  because it pointed to the perpetrator’s large size. But the trial record contains

  references to defendant’s height and weight that were not grounded in the Steneck

  and Wong’s voucher recitations. Hunt said he was taller and heavier than her fiancé




  10
     If what defendant is suggesting is that the description of defendant’s clothing at
  the time of arrest was suppressible, that is simply not the case. People v. Watkins,
  40 A.D.3d 290, 291 (1st Dept. 2007). And this would be true even if the clothing
  itself had been recovered from defendant and suppressed as the result of illegality.
  People v. Mackey, 5 A.D.3d 136, 138 (1st Dept. 2004).
                                            33
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 121 of 1061 PageID #: 316
  000119


  (Hunt 241, 245); Detective Patterson guessed that he was 6’7” (Patterson 233). There

  was no dispute over defendant’s size.

        For all of these reasons, counsel’s treatment of the DNA evidence and her

  client’s clothing were not error, let alone the sort of error that would sufficiently

  prejudice her client and sufficiently taint her overall performance to amount to an

  ineffective-assistance reversal.

                                          * * * *

        In sum, defense counsel ably defended her client in a circumstantial evidence

  case in which that circumstantial proof was, indeed, overwhelming. None of the

  conduct claimed to evince ineffectiveness did anything of the sort. Reversal is

  unwarranted.


                                       POINT II

            DEFENDANT WAS APPROPRIATELY SENTENCED TO 25 YEARS
            TO LIFE (ANSWERING DEFENDANT’S POINT II).

        Defendant’s final claim is a plea that the indeterminate sentence associated

  with his Murder in the Second Degree [P. L. § 125.25(1)] conviction should be

  reduced. In support of this request, defendant cites three factors: (1) his “mental

  illness”; (2) his “remorse”; and (3) a background framed as one in which defendant

  overcame adversity, moving from a “difficult childhood” to graduation from law

  school (Def. Br. at 56). Because these factors are either unsupported by the evidence
                                            34
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 122 of 1061 PageID #: 317
  000120


  or outweighed by obvious aggravating factors, the prayer for resentencing should be

  rejected.

        At the outset, courts “have repeatedly held that the imposition of the sentence

  rests within the sound discretion of the trial court, and we should not interfere unless

  there has been a clear abuse of discretion or extraordinary circumstances.” People v.

  Hansen, 290 A.D.2d 47, 57 (3d Dept. 2002) (internal quotation omitted). Defendant

  can demonstrate no such abuse of discretion or extraordinary circumstances.

        Indeed, it will bear no repeating that the premeditated killing of another person

  is among the most serious of criminal offenses. Here, defendant carried out the task

  like a hardened, calculating professional. Maintenance worker Jean Loiseau watched

  defendant stand by the elevator, covered from head to toe to evade identification.

  Once inside the apartment, defendant took pains to ensure that his deadly goal was

  achieved: as David Williams fled Apartment 7L, arms to his stomach, desperately

  seeking aid following the initial gunshot, defendant shot him again, this time in the

  head. Finally, on his way out of the building, defendant appeared to execute a plan:

  it did not take him very long to abandon his weapon and attire in organized fashion,

  leaving both in a duffel bag under some foliage in the center of neighboring woods.

        For the murder alone, the Penal Law permits a narrow set of possible

  sentences, ranging from 15 years to life to 25 years to life. P. L. §§ 60.05(2), 70.00.

                                            35
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 123 of 1061 PageID #: 318
  000121


  Defendant’s maximum penalty could be said to reflect the relative penury of

  available sentencing options. More to the point, though, it reflects the gravity of

  defendant’s crime.

           As Justice Rooney noted, “The evidence indicated that … the defendant went

  to the victim’s apartment with an AK-47 semiautomatic rifle and shot the victim

  twice. One shot penetrated the chest and went through the lungs and heart. The other

  shot went through the victim’s head … while the victim was lying prone on the

  hallway floor. … [E]ach shot was fatal. … These were senseless crimes, as far as I

  can tell, and committed in a brutal manner with tragic effect” (S. 15).11

           As a matter of general deterrence, the court’s reasoning cannot be disputed,

  and it was right to impose the harshest sanction available. As a matter of specific

  deterrence, too, there was no shortage of aggravating factors before the court.

  Defendant was no model citizen at the time of this offense; he was dealing drugs,

  not just using them (S. 13). And he had already been convicted of three

  misdemeanors, one of them for fourth-degree criminal possession of a weapon, the

  same type of offense for which he was convicted here (S. 15).




  11
       The citation refers to defendant’s sentencing proceeding on July 29, 2014.

                                             36
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 124 of 1061 PageID #: 319
  000122


        Moreover, contrary to defendant’s claim, what defendant expressed to the

  court was the opposite of “remorse.” As his attorney noted, “My client adamantly

  maintains his innocence” – a sentiment repeated by defendant himself, when he

  disputed “the way that … certain people … pointed out certain things to indicate that

  I am the guilty person in this” (S. 10, 14). Continuing to plead his innocence,

  defendant continued: “And I just felt that there were certain things they did sloppy,

  that should have been looked at a little bit more clearly… I hope one day that the

  truth you see is fully brought to you” (S. 14).

        In fact, defendant’s only reference to “the loss that this family is dealing with”

  came by way of analogy to his own victimhood: “Just like you all suffered losses,”

  he remarked, “I have gone through a lot of pain, and a lot of trials and tribulations

  to this point in my life” (T. 13).

        Nor does defendant’s mental-health history outweigh the aggravating factors

  here described. To be sure, counsel noted that his client lost his mother at a young

  age, attended law school, began to encounter “periodic episodes of depression,” and

  then started “self-medicat[ing]” (S. 11). This background was self-reported to Dr.

  Alexander Bardey, whose findings were expressly considered by the court (S. 15).

  But Justice Rooney decided that they should not be dispositive in light of, among

  other factors, the pain caused Williams’s fiancée and seven-year-old daughter and

                                            37
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 125 of 1061 PageID #: 320
  000123


  the brutal, senseless nature of the crime (S. 15). The court also referenced, “in

  passing,” defendant’s failure to raise a psychiatric defense at trial (S. 15).

        In these respects, defendant is situated no more favorably any number of

  perpetrators of violent crimes whose sentences of 25 years to life have been affirmed.

  See, e.g., People v. Gutierrez, 172 A.D.3d 1094 (2d Dept. 2019); People v. Nelson,

  125 A.D.3d 58 (2d Dept. 2014); People v. Jenkins, 34 A.D.3d 833 (2d Dept. 2006);

  People v. Leftenant, 22 A.D.3d 603 (2d Dept. 2005); People v. Whyte, 299 A.D.2d

  378 (2d Dept. 2002); People v. Keough, 145 A.D.2d 437 (2d Dept. 1988); People v.

  Conwell, 115 A.D.2d 552 (2d Dept. 1985); People v. Migliaccio, 77 A.D.2d 575 (2d

  Dept. 1980).

        Because of these factors, defendant should not be heard to argue in favor of a

  15- or 20-year minimum. For all the reasons set out by Justice Rooney, the harshest

  penalty was called for.




                                             38
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 126 of 1061 PageID #: 321
  000124




                                   CONCLUSION

            FOR THE FOREGOING REASONS, THE JUDGMENT
            SHOULD BE AFFIRMED IN ALL RESPECTS.


  Dated: Staten Island, New York
         July 23, 2021


                                            Respectfully submitted,

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                                       39
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 127 of 1061 PageID #: 322
  000125



                          Printing Specifications Statement

  I, Alexander Fumelli, attorney for Respondent, do hereby certify pursuant to the
  rules of the Appellate Division as follows:

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  Dated: July 23, 2021
                                              /s Thomas B. Litsky
                                              _____________________
                                              Thomas B. Litsky
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 128 of 1061 PageID #: 323
  000126


  SUPREME COURT OF THE STATE OF NEW YORK
  APELLATE DIVISION: SECOND DEPARTMENT
  ---------------------------------------------------------------------X
  PEOPLE OF THE STATE OF NEW YORK,

                                Respondent,

                        -against-                                      AFFIRMATION OF
                                                                       SERVICE

  ARMAND SKRINE,                                                       Docket No. 2014-07390

                                 Defendant-Appellant.
  ---------------------------------------------------------------------X

  State of New York )
  County of Richmond ) ss.:

         Thomas B. Litsky, affirms under penalty of perjury:

  1.    I am over 18 years of age and am employed by the Richmond County District
  Attorney’s Office, 130 Stuyvesant Place, Staten Island, New York. I am admitted
  to practice before the Courts State of New York.

  2.    On July 23, 2021, I served the annexed brief by in the above-captioned case
  by electronic means by emailing it to Natalie Rea, Esq. at NRea@legal-aid.org and
  by sending it by regular mail to:

                 Natalie Rea, Esq.
                 THE LEGAL AID SOCIETY
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  July 23, 2021                                               /s Thomas B. Litsky
  Staten Island, New York                                     THOMAS B. LITSKY
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 129 of 1061 PageID #: 324
  000127


                                                       To be argued by
                                                       NATALIE REA
                                                       (10 Minutes)



           NEW YORK SUPREME COURT
           APPELLATE DIVISION -- SECOND DEPARTMENT

             THE PEOPLE OF THE STATE OF NEW YORK,
                                Respondent,                          TO BE HEARD ON THE
                                                                      ORIGINAL RECORD
                         -against-
                                                                         Richmond County
               ARMAND SKRINE,
                                                                         Ind. No. 454/11
                                Defendant-Appellant.
                                                                         AD No. 2014-07390

              REPLY BRIEF FOR DEFENDANT-APPELLANT



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           August 2021
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 130 of 1061 PageID #: 325
  000128


                                           TABLE OF CONTENTS

       TABLE OF AUTHORITIES .......................................................................... ii

       PRELIMINARY STATEMENT .................................................................... 1

       ARGUMENT

                         Contrary To The People’s Contentions, The
                         Judgment Must Be Reversed Because The People’s
                         Case Hinged On Connecting Appellant To The
                         Duffle Bag Through The DNA Testimony Of
                         Wong, The Second Mask, And Appellant’s
                         Clothing At The Time Of Arrest, But All That
                         Evidence Was Inadmissible And Counsel’s Never
                         Objected To It, Depriving Appellant Of The
                         Effective Assistance Of Counsel. (Reply To RB
                         Point I at 13--34). ........................................................................ 3

               I.        Counsel’s performance fell below reasonable standards….. …. 4

                     A            Wong’s DNA testimony violated the Confrontation
                                  Clause and was inadmissible…………………………….4

                     B            The “second” mask was inadmissible………………….. 9

                     C            Appellant’s clothing at the time of arrest
                                  was suppressed…………………………………………12

                     D            Counsel’s other blunders showed her lack
                                  of preparation…………………………………………..14

               II.       The People’s case was far from overwhelming and
                         counsel errors devastating…………………………………….15


       CONCLUSION.............................................................................................. 16

       PRINTING SPECIFICATIONS STATEMENT .......................................... 1A


                                                              i
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 131 of 1061 PageID #: 326
  000129




                                     TABLE OF AUTHORITIES

                                                                                               Page(s)


       FEDERAL CASES

       Bullcomings v. New Mexico, 564 U.S. 647 (2011) .................................... 5, 9
       Crawford v. Washington, 541 U.S. 36 (2004)................................................. 9

       Melendez-Diaz v. Massachusetts, 557 U.S. 305 (2009) ............................. 5, 9



       STATE CASES

       People v. Austin, 30 N.Y.3d 98 (2018) .......................................................... 8

       People v. Brown, 13 N.Y. 3d 332 (2009) ........................................................ 8
       People v. Esposito, 70 Misc. 3d 74 (App. Term. 1st Dept. 2020)................. 11

       People v. Gibson, 163 A.D.3d 586 (2d Dept. 2018) ....................................... 5
       People v. Jamison, 29 A.D.2d 973 (1968) ..................................................... 11

       People v. John, 27 N.Y.3d 294 (2016) ...................................................passim

       People v. Julian, 41 N.Y.2d 340 (1977) ........................................................ 10

       People v. King, 192 A.D.3d 1140 (2d Dept. 2021) ......................................... 5
       People v. McGee, 49 N.Y.2d 48 (1979) .......................................................... 9

       People v. Powell, 165 A.D.3d 842 (2d Dept. 2018) ...................................... 12

       People v. Price, 29 N.Y. 3d 472 (2017).....................................................9, 10




                                                       ii
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 132 of 1061 PageID #: 327
  000130



       SUPREME COURT OF THE STATE OF NEW YORK
       APPELLATE DIVISION: SECOND DEPARTMENT
       ---------------------------------------------------------------- x

       THE PEOPLE OF THE STATE OF NEW YORK,                            :
                                                                       :
                                                Respondent,            :
                                                                       :
                                 against
                                                                       :
       ARMAND SKRINE,                                                  :
                                                                       :
                                     Defendant-Appellant.              :
       ---------------------------------------------------------------- x

                                  PRELIMINARY STATEMENT
              The facts and procedural history of the case are fully discussed in

       appellant’s opening brief (hereinafter “AB”). In Point I, appellant argued that

       counsel’s failure to object to the introduction of (A) the inadmissible DNA

       profile testimony of Irene Wong, a criminalist at the Office of the Chief

       Medical Examiner (“OCME”), who never reviewed the raw data or the editing

       process that generated appellant’s DNA profile (AB at 38-41); (B) the

       unauthenticated inadmissible “second” mask of unknown origin containing

       the only full DNA profile (AB at 41-46);1 (C) the size extra-large clothing

       worn by appellant at the time of arrest and suppressed before trial (AB at 46-

       49), and her added blunders throughout the trial amounted to ineffective


       1
              A different full-face mask was recovered on the day of the crime and properly
       authenticated.
                                                    1
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 133 of 1061 PageID #: 328
  000131


       assistance of counsel mandating reversal (AB at 35-54). In Point II, appellant

       argued that the imposed maximum sentence of 25 years was excessive in light

       of appellant’s psychiatric problems, lack of criminal record, and remorse (AB

       at 56-60).

             This reply is being submitted for the limited purpose of responding to

       the People’s arguments that counsel provided effective representation because

       (1) Wong was a supervisor in the OCME and the proper witness to testify

       about the DNA analysis (Respondent’s Brief (“RB”) at 23-29); (2) the

       “second” mask of unknown origin was properly authenticated since it was

       found in the pocket of a properly authenticated coat (RB at 29-32); (3) the

       order to suppress all “physical evidence [recovered] from defendant’s person”

       did not include appellant’s size extra-large clothing and was limited to the

       items recovered from his pocket (RB at 32-34); and (4) the evidence was

       overwhelming.




                                             2
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 134 of 1061 PageID #: 329
  000132


                                       ARGUMENT

                    Contrary To The People’s Contentions, The
                    Judgment Must Be Reversed Because The People’s
                    Case Hinged On Connecting Appellant To The
                    Duffle Bag Through The DNA Testimony Of
                    Wong, The Second Mask, And Appellant’s
                    Clothing At The Time Of Arrest, But All That
                    Evidence Was Inadmissible And Counsel’s Never
                    Objected To It, Depriving Appellant Of The
                    Effective Assistance Of Counsel. (Reply To RB
                    Point I at 13-34).

             The murder weapon was recovered from a duffel bag. No fingerprints

       were recovered. No one identified appellant as the perpetrator. To connect

       appellant to the duffel bag, the People relied on the DNA testimony of OCME

       Criminalist Wong, a “second” mask of unknown origin recovered by a non-

       testifying OCME employee with the only full DNA profile, and the size extra-

       large clothing worn by appellant at the time of arrest matching the size extra-

       large clothing in the duffel bag. All that evidence was inadmissible: Wong’s

       testimony violated the Confrontation Clause because she never reviewed,

       supervised or otherwise observed the raw, unedited data or observed the

       editing process underlying the DNA profiles; the “second” mask was never

       authenticated; and the size extra-large clothing worn by appellant had been

       suppressed. Shockingly, counsel never objected to any of this evidence.

       Instead, she pursued useless objections, made and withdrew baseless

       arguments, and gave an incoherent summation pointing the finger at a

                                             3
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 135 of 1061 PageID #: 330
  000133


       neighbor of the victim who was a foot shorter than the perpetrator. The jury

       struggled with the evidence and deliberated for four days. But for counsel’s

       incompetence, the result would have been very different.

              I       Counsel’s performance fell below reasonable
                      standards

              A       Wong’s DNA testimony violated the Confrontation Clause and
                      was inadmissible

              The DNA evidence in this case consisted of the partial DNA profile on

       the full-face mask, the full DNA profile match on the “second” inadmissible

       mask, and the DNA profile from appellant’s buccal swab. The OCME analyst

       and reviewer of the raw data and edits on the first tests of the full-face mask,

       marked RS12 but referred to in the OCME file as mask 2, and “second” mask,

       unmarked but referred to in the OCME file as mask 1B, were DMW and SNP

       (FB File 2-Crime Scene, Part II (“FB2 Part II”) at pdf 93-96, 9 [Kastle11-

       127ID-A Table (showing the edits)]).2 The analyst and reviewer on the

       second, duplicate tests of these masks were DMW and KLB (FB2 Part II at

       pdf 5; Kastle11-130ID-A (table). The OCME analyst and reviewer of the raw

       data and edits on the first and second tests on appellant’s buccal swab were

       BMA and FR (FB File 1 (“FB1”) at pdf 32-33). None of these analysts


       2
              The digital copy of the Forensic Biology files introduced by the People at trial
       were submitted to the Court with appellant’s opening brief and consist of FB File 1-
       Suspect File and FB File 2-Crime Scene Parts I and II.
                                                   4
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 136 of 1061 PageID #: 331
  000134


       testified. The only DNA witness was Wong who never reviewed the raw data

       before it was edited by others. Under People v. John, 27 N.Y.3d 294, 315

       (2016), Bullcomings v. New Mexico, 564 U.S. 647, 651 (2011), and

       Melendez-Diaz v. Massachusetts, 557 U.S. 305 (2009), her DNA testimony

       violated the Confrontation Clause and was inadmissible (AB at 38-40). This

       DNA evidence was the only evidence directly linking appellant to the duffel

       bag. Counsel never objected.

             In People v. John, 27 N.Y.3d 294, 315 (2016), the Court explained that

       a supervisor may testify about the DNA analysis without running afoul of the

       Confrontation Clause if the “testifying criminalist performed a technical

       review of the analyst’s report, independently reviewed the analyst’s data

       interpretation, and reached an independent conclusion.” Id. at 315 (RB at 26,

       citing People v. Gibson, 163 A.D.3d 586, 588 (2d Dept. 2018), quoting John

       at 315)). John makes it clear that a supervisor is a proper witness if that person

       reviewed the raw data on the computer and the allele editing process. John, 27

       N.Y.3d at 310; see John at 298-301 (describing the DNA analysis process).

       The testifying analyst in John had not. She had only reviewed the DNA

       profile “after the editing process” and had agreed with the conclusion. As a

       result, her testimony violated the Confrontation Clause. Id. In contrast, in

       People v. King, 192 A.D.3d 1140 (2d Dept. 2021), the testifying criminalist

                                               5
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 137 of 1061 PageID #: 332
  000135


       had independently analyzed the raw data, reviewed the tests, and arrived at

       her own conclusion. Her testimony satisfied the Confrontation Clause.

              Without pointing to any evidence in the record showing that Wong

       observed or reviewed the raw data or editing process, the People erroneously

       argue that as an OCME supervisor she was the proper witness to testify about

       the DNA analysis.3 Wong has the title of supervisor but, like the analyst in

       John, she did not review the raw data on the computer and the editing of the

       DNA material recovered. The forensic files show that the analysts and

       reviewers on the DNA tests of the masks and buccal swab were DMW and

       SNP, DMW and KLB, and BMA and FR. See Supra at 4. They, not Wong,

       reviewed the raw data on the computer. They, not Wong, made editing

       decisions and generated DNA profiles. See John, 27 N.Y.3d at 314 (“it is the

       generated numerical identifiers and the calling of the alleles at the final stage

       of the DNA typing that effectively accuses defendant of his role in the crime

       charged”).




       3
               The People cite to entries in the FB file dated 12/11/11 (FB2 Part I at pdf 94); and
       12/29/11 (FB2 Part I at pdf 95) (RB at 22-23) referring to Irene Wong as supervisor. In
       the 12/19/11 entry on the next page, Wong actually informed the trial prosecutor that “the
       case was passed to MWM” (FB2 Part I at 95). The 12/29/11 entry mentions the Gatorade
       bottle recovered from the duffel bag, not masks, and notes that the additional evidence has
       not yet been received (FB2 Part I at pdf 95).

                                                    6
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 138 of 1061 PageID #: 333
  000136


              All Wong did in this case was review the already-called alleles. In her

       testimony, she confirmed her limited involvement. When she explained how

       a DNA profile is generated, she did not even mention the editing process. She

       said that the DNA material is put “into an instrument for STR, or short tandem

       repeat, what that does is it’s going to come out with a DNA profile” (Wong

       324). Her testimony mistakenly suggested that the DNA profile had been

       generated by an instrument, “a fiction” the Court in John rejected. 4 When

       explaining the testing of the “second” mask, Wong testified that the grey lines

       on the photo of the mask showed where “the analyst,” not her, “did the testing

       swabbed that middle position of the mask” (334). She also testified that the

       “lab,” not her, “was successful in generating DNA profile from that item that

       was swabbed by the technician” (Wong 334). There is absolutely no evidence

       that Wong reviewed the raw material on the computer or reviewed the edits

       that generated the DNA profile as required by John. The review and editing

       steps in the process are critical areas of cross-examination. Since Wong had

       no personal knowledge of the process in this case, her DNA testimony

       violated the Confrontation Clause.




       4
              “We will not indulge in the science fiction that DNA evidence is merely
       machine-generated.” John, 27 N.Y.3d at 311.
                                                  7
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 139 of 1061 PageID #: 334
  000137


              The People state in very general terms that “the detailed nature of

       [Wong’s] description of the particular steps taken in defendant’s case

       confirmed her fluency in the matter” (RB at 26). Wong testified as DNA

       expert (Wong 322). Her “fluency in the matter” is not the issue. Cross-

       examination is the issue and the Confrontation Clause “does not tolerate

       dispensing with confrontation simply because the court believes that

       questioning one witness about another’s testimonial statements provides a fair

       enough opportunity for cross-examination.” Bullcomings, 564 U.S. at 662.

       Wong did not have personal knowledge of the testing conducted in this case.

       She did not review the editing process and allele-calling or conduct an

       independent review of the raw data. She acted as a surrogate witness for those

       who did.      Her testimony violated the Confrontation Clause and was

       inadmissible. People v. Austin, 30 N.Y.3d 98, 100 (2017)(the introduction of

       DNA evidence through the “surrogate testimony” “of a witness who had not

       performed, witnessed or supervised the generation of the DNA profiles

       violated the Confrontation Clause). Counsel never objected to this most

       critical evidence.5      Had counsel objected, Wong’s testimony connecting

       appellant to the masks and the duffel bag would have been precluded.


       5
                The People also argue that because John had not been decided at the time of this
       trial, People v. Brown, 13 N.Y. 3d 332 (2009) governs. Under Brown, the DNA report,

                                                  8
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 140 of 1061 PageID #: 335
  000138


              B       The “second” mask was inadmissible

              No trial witness identified the “second” mask as one worn by the

       suspect to establish that it was what it purported to be. People v. Price, 29

       N.Y.3d 472 (2017). There was no evidence of chain of custody to establish

       that it had not been tampered with. People v. McGee, 49 N.Y.2d 48 (1979).

       The origin of this “second” mask is totally unknown. There is no indication

       that Detective Streneck who marked, vouchered, and photographed all the

       evidence recovered at the scene, from the duffel bag and from appellant, was

       aware of its existence. It was allegedly found by a non-testifying OCME

       employee with the initials DTR in the pocket of the long coat found in the

       duffel bag, but there was no evidence as to how it got there. The non-

       testifying OCME employee reported the unusual discovery on the “Evidence

       Deficiency/Discrepancy Form,” as an “administrative deficiency” and

       “evidence discrepancy quantity more” (FB2 Part I at pdf 30 [“Also in the

       pocket of item#1 [the coat] was another black mask”]). Since the mask was

       never authenticated, it was inadmissible.


       then considered to be is generated by a machine, was not testimonial and thus, Wong’s
       testimony was not subject to the confrontation clause under Crawford v. Washington, 541
       U.S. 36 (2004)(RB at 27). At the time of the trial, however, Melendez-Diaz v.
       Massachusetts, 557 U.S. 305 (2009) and Bullcomings v. New Mexico, 564 U.S. 647, 651
       (2011), had been decided and held that forensic laboratory reports created “for the purpose
       of proving the guilt of appellant at trial” were testimonial subject to cross-examination.
       The Court in John did not go beyond what was clear from these cases and should have been
       known to counsel.
                                                   9
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 141 of 1061 PageID #: 336
  000139


              The People disagree and argue that the “second” mask was properly

       authenticated because it was found in the pocket of a properly authenticated

       coat and that a proper chain of custody had been established (RB at 28-32).

       These arguments are without merit. First, there is no legal basis for the

       People’s novel derivative authentication theory that all items allegedly

       recovered by anyone at any time from a properly authenticated different

       properly authenticated coat are also authenticated and admissible. Under such

       a theory, the proper authentication of the duffel bag would confer proper

       authentication to all the items in the bag. That would negate the purpose of

       authentication which is to make sure that every piece of evidence is what it

       purports to be and has not been tampered with. People v. Price, 29 N.Y. 3d

       472, 476 (2017).6

              Second, no chain of custody was established for the “second” mask.

       Contrary to the People’s claim (RB at 29-31), this is not a case where there

       was a “gap” in the chain of custody as in People v. Julian, 41 N.Y.2d 340,

       343-44 (1977). The drugs in Julian had been recovered, sealed, initialed,


       6
              Contrary to the People’s statement (RB at 30), appellant never claimed that the
       second mask was protruding from the pocket of the coat and, therefore, Detective Streneck
       was bound to have seen it. Instead, appellant argued that Detective Streneck was extremely
       meticulous in marking the evidence (AB at 42-43). When she found money in socks
       marked as RS13, found in the duffel bag, she marked the money RS13A, RS13B and
       RS13C, to show that the money had been found in the sock. Had the mask been in the coat
       pocket, she would have found it and marked it appropriately.

                                                  10
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 142 of 1061 PageID #: 337
  000140


       packaged, and deposited with the property clerk before being transferred to

       another police unit. The three years between the time the sealed and packaged

       drugs were moved to another police department and the time they were tested

       did not break the chain of custody. The drugs remained in the originally

       marked, signed and sealed package.7

              Here, in contrast, the People utterly failed to establish any chain of

       custody. The police did not recover the mask, mark it, voucher it, and seal it

       in an evidence bag. It was never deposited with the property clerk. Instead,

       DTR, a non-testifying OCME employee, recovered it at some point after all

       the evidence had been recovered by the police, sent to the property clerk and

       the OCME. He acknowledged his unusual finding as a discrepancy in the

       chain of evidence. There is absolutely no evidence as to when or who put it

       there or where it originally came from. Since this mask was never

       authenticated, it was inadmissible, but again, counsel never objected.8


       7
               Other cases cited by the People, People v. Jamison, 29 A.D.2d 973, 973, (1968) and
       People v. Esposito, 70 Misc. 3d 74, 75–76 (App. Term. 1st Dept.2020), are not on point.
       In both cases, the evidence was recovered and given to an officer who placed the evidence
       in a bag, signed, and sealed it. Detective Streneck who recovered all the evidence, marked
       it and signed it did not recover the second mask, or mark it, of photograph it. The second
       mask appeared miraculously in the OCME’s office with no evidence of who put it there. It
       could have been recovered from appellant at the time of arrest and placed by someone in
       the pocket.
       8
              The People minimize the importance of the DNA profile recovered from the second
       mask by incorrectly asserting that that “[m]atching DNA profiles were generated from not
       one but two masks within the abandoned duffel bag” (RB at 28). In fact, only one mask

                                                  11
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 143 of 1061 PageID #: 338
  000141


                C     Appellant’s clothing at the time of arrest was suppressed

                The motion court explicitly suppressed the physical evidence “from the

       defendant’s person (i.e. the counterfeit currency and identification cards),”

       which had been recovered from the pocket of his pants. The trial court

       logically interpreted the ruling as suppressing all the evidence from

       appellant’s person, rather than just evidence from his pocket (96, 98). The

       court made that clear when it granted counsel’s objection to the introduction

       of the baseball cap worn by appellant at the time of arrest. The prosecutor

       objected by reminding the court that it had allowed appellant’s other clothes

       into evidence (154-56). The court responded “no kidding. I know that but

       haven’t heard an objection. I’m getting an objection now to the hat. As I read

       the decision the hat is suppressible, he was wearing it” (155-56; AB at 18-19).

       The prosecutor did not argue for a more limited reading of the suppression

       order.

                The People now argue for the first time on appeal that the trial court

       misread the scope of the suppression hearing. They now argue that because

       the motion court used the term “i.e.” in listing the counterfeit currency and


       was recovered from the duffel bag and that mask had a partial profile. Only the second
       unauthenticated mask had full profile and there is no evidence that it was found in the
       duffel bag. Given “the powerful influence of DNA evidence on juries” and “the
       opportunity for juror confusion,” the erroneous use of the second mask was extremely
       prejudicial. People v. Powell, 165 A.D.3d 842 (2d Dept. 2018).

                                                 12
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 144 of 1061 PageID #: 339
  000142


       identification cards, it somehow meant to suppress only those two items (RB

       at 32). Their new argument is not only unpreserved, it is nonsensical. The

       motion court suppressed all evidence recovered from appellant’s “person,”

       not his pocket. It made the common error of using “i.e.” instead of “e.g.” to

       list examples. Its ruling included suppression of all appellant’s clothing.9

              Although the People argue on appeal that evidence of appellant’s extra-

       large clothing at the time of arrest was “not particularly useful” (RB at 33), at

       trial they used it over and over again. Counsel did not object. They elicited a

       list of the clothing from Detective Streneck, from Sergeant John Trzcinski,

       the property clerk, and from Irene Wong from the OCME (AB at 12-13, 19 n.

       10, 46-47). They introduced photos of appellant’s clothing including black

       shorts, RS31, a gray XXL sleeveless T-shirt, RS32, a 6XL long sleeve shirt,

       and his size 13 shoes, and 4XL jacket, RS28 (AB at 14-15). The People

       referred to the items in summation to connect appellant to the crime.

       Referring to the coat recovered from the duffel bag, the prosecutor told the

       jury “And if you’ll note, that’s a 46XL” and a grey hoodie in the bag “that’s


       9
                Furthermore, this Court has no jurisdiction to review the suppression court’s ruling
       or the trial court’s ruling (interpreting the suppression ruling) because both of those rulings
       were decided in appellant’s favor. See N.Y. Crim. Proc. Law § 470.15 (McKinney)(“Upon
       an appeal to an intermediate appellate court from a judgment, sentence or order of a
       criminal court, such intermediate appellate court may consider and determine any question
       of law or issue of fact involving error or defect in the criminal court proceedings which
       may have adversely affected the appellant”; emphasis added).

                                                    13
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 145 of 1061 PageID #: 340
  000143


       a 3XL” (442). Drawing the jury’s attention to the suppressed clothing, the

       prosecutor said: “And look at the sizes, this is what’s on the defendant: 4XL,

       US13, W38. That’s what the defendant is wearing of the time of arrest.” (444).

       The clothing had been suppressed; counsel never objected.

             D      Counsel’s other blunders showed her lack of preparation

             The People characterize counsel’s blunders as understandable, part of

       a coherent tactics, and overall competence (RB at 17, 19, 21). They were not.

       As   described    in   detail   in   appellant’s   opening   brief,   counsel’s

       incomprehensible objections to two irrelevant bills - $100 and $20 – found on

       appellant, her failure to object to the prosecutor’s statement in summation that

       the janitor had identified the second mask as one worn by the suspect, her

       waiver of an opening statement and incoherent summation, showed her

       complete lack of preparation (AB at 49-53).

             II.    The evidence was far from overwhelming and counsel’s
                    errors devastating

             The evidence was troubling. Had counsel been competent, the DNA

       evidence from both masks would have been precluded; the only full DNA

       profile from the second mask would never have been entered into evidence;

       and the repeated comparison of the extra-large clothing in the duffel bag and

       on appellant at the time of arrest would never have been made. Even with the

       improperly introduced evidence, the jury deliberated for four days. Had
                                              14
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 146 of 1061 PageID #: 341
  000144


       counsel’s performance not fallen short of constitutional standards, the verdict

       would have been different. Accordingly, appellant was deprived of the

       effective assistance of counsel and the judgment must be reversed.



                                      CONCLUSION

                    FOR   THE   REASONS    STATED   IN
                    APPELLANT’S OPENING BRIEF AND THIS
                    REPLY, THE JUDGMENT MUST BE
                    REVERSED AND A NEW TRIAL ORDERED.
                    SHOULD THE COURT DISAGREE, THE
                    SENTENCE SHOULD BE REDUCED OR THE
                    MATTER REMANDED FOR RESENTENCING.
                                              Respectfully Submitted,


                                              JANET E. SABEL
                                              Attorney for Defendant-
                                              Appellant

           NATALIE REA
            Of Counsel
           August 2021




                                             15
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 147 of 1061 PageID #: 342
  000145


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                                                   /s/Natalie Rea(ak)
                                                   NATALIE REA




                                           1A
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 148 of 1061 PageID #: 343
  000146


       SUPREME COURT OF THE STATE OF NEW YORK
       APPELLATE DIVISION: SECOND DEPARTMENT
       ------------------------------------------------------------- x

       PEOPLE OF THE STATE OF NEW YORK,                              :   AFFIRMATION
                                                                     :   OF SERVICE
                                              Respondent,            :
                                                                     :   Richmond County
                                     v.                              :
                                                                     :
                                                                         Ind. No. 454/11
       ARMAND SKRINE,                                                :
                                                                     :
                                                                         AD2 No. 2014-
                                                                     :   07390
                                   Defendant-Appellant.
                                                                     :
       ------------------------------------------------------------- x

       STATE OF NEW YORK  )
                          ) ss.:
       COUNTY OF NEW YORK)

              Natalie Rea, an attorney duly admitted to the practice of law in this
       State, does hereby affirm and show:

              That, on August 2, 2021, the within reply brief was served upon the
       Richmond Count District Attorney, Attention: Thomas B. Litsky, at 130
       Stuyvesant Place, 7th Floor, Staten Island, New York 10301, via email at:
       Thomas.Litsky@rcda.nyc.gov. The District Attorney’s Office has consented
       to be served exclusively by electronic mail.

       Dated:         New York, New York
                      August 2, 2021

                                                             /s/Natalie Rea(ak)
                                                             NATALIE REA
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 149 of 1061 PageID #: 344
  000147


       SUPREME COURT OF THE STATE OF NEW YORK
       APPELLATE DIVISION: SECOND DEPARTMENT
       ------------------------------------------------------------- x

       PEOPLE OF THE STATE OF NEW YORK,                              :   AFFIRMATION
                                                                     :   OF SERVICE
                                              Respondent,            :
                                                                     :   Ind. No. 454/11
                                     v.                              :
                                                                     :   AD2 No. 2014-
       ARMAND SKRINE,                                                :
                                                                     :
                                                                         07390
                                   Defendant-Appellant.              :
                                                                     :
       ------------------------------------------------------------- x

       STATE OF NEW YORK  )
                          ) ss.:
       COUNTY OF NEW YORK)

              Natalie Rea, an attorney duly admitted to the practice of law in this
       State, does hereby affirm and show:

             That, on August 2, 2021, the within Reply Brief was served upon the
       defendant-appellant, Mr. Armand Skrine, DIN: 14A3581, at Great Meadow
       Correctional Facility, 11739 State Route 22, Box 51, Comstock, New York
       12821-0051, by depositing a true copy of the same in a postpaid, properly
       addressed wrapper, in an official depository under the exclusive care and
       custody of the United States Post Office Department within the State of New
       York.

       Dated:         New York, New York
                      August 2, 2021

                                                              /s/Natalie Rea(ak)
                                                               NATALIE REA
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 150 of 1061 PageID #: 345
  000148


                    Supreme Court of the State of New York
                  Appellate Division: Second Judicial Department
                                                                                               D68241
                                                                                                 Y/htr

        AD3d                                                             Argued - November 12, 2021

  VALERIE BRATHWAITE NELSON, J.P.
  REINALDO E. RIVERA
  WILLIAM G. FORD
  DEBORAH A. DOWLING, JJ.


  2014-07390                                                                   DECISION & ORDER

  The People, etc., respondent,
  v Armand Skrine, appellant.

  (Ind. No. 454/11)


                 Janet E. Sabel, New York, NY (Natalie Rea of counsel), for appellant.

                 Michael E. McMahon, District Attorney, Staten Island, NY (Morrie I. Kleinbart,
                 Alexander Fumelli, and Thomas B. Litsky of counsel), for respondent.

                 Appeal by the defendant from a judgment of the Supreme Court, Richmond County
  (Stephen J. Rooney, J.), rendered July 29, 2014, convicting him of murder in the second degree and
  criminal possession of a weapon in the second degree, upon a jury verdict, and imposing sentence.

                 ORDERED that the judgment is affirmed.

                  In fulfilling our responsibility to conduct an independent review of the weight of the
  evidence (see CPL 470.15[5]; People v Danielson, 9 NY3d 342), we nevertheless accord great
  deference to the jury’s opportunity to view the witnesses, hear the testimony, and observe demeanor
  (see People v Mateo, 2 NY3d 383). Upon reviewing the record here, we are satisfied that the
  verdicts of guilt were not against the weight of the evidence (see People v. Romero, 7 NY3d 633).

                  “[T]he evidence, the law, and the circumstances of this case, viewed in the totality
  and as of the time of the representation, reveal that counsel provided the defendant with meaningful
  representation” (People v Benevento, 91 NY2d 708, 712; see People v Baldi, 54 NY2d 137, 147).
  Contrary to the defendant’s contention, counsel was not ineffective for failing to assert a
  Confrontation Clause challenge to the testimony of a criminalist employed by the Office of the Chief
  Medical Examiner of the City of New York (see People v John, 27 NY3d 294, 295). The alleged

  January 12, 2022                                                                              Page 1.
                                   PEOPLE v SKRINE, ARMAND
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 151 of 1061 PageID #: 346
  000149


  error involves an issue which was not “so clear-cut and dispositive” (People v Rodriguez, 31 NY3d
  1067, 1068 [internal quotation marks omitted]) at the time of the defendant’s trial that “no
  reasonable defense counsel would have failed to assert it” (id. at 1068 [internal quotation marks
  omitted]; see People v McGee, 20 NY3d 513, 518; People v Cunningham, 194 AD3d 954, 956). In
  addition, counsel’s failure to object to improper testimony and evidence regarding the clothing worn
  by the defendant at time of his arrest was not “sufficiently egregious and prejudicial as to
  compromise [the] defendant’s right to a fair trial” (see People v Caban, 5 NY3d 143, 152).

                 The sentence imposed was not excessive (see People v Suitte, 90 AD2d 80).

  BRATHWAITE NELSON, J.P., RIVERA, FORD and DOWLING, JJ., concur.

                                                ENTER:


                                                              Maria T. Fasulo
                                                             Clerk of the Court




  January 12, 2022                                                                            Page 2.
                                   PEOPLE v SKRINE, ARMAND
 Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 152 of 1061 PageID #: 347
  000150
THE                                                                             Criminal Appeals Bureau
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January 18, 2022
                                                                                Justine M. Luongo
                                                                                Attorney-in-Charge
                                                                                Criminal Practice
The Honorable Janet DiFiore
Chief Judge                                                                     David Loftis
Court of Appeals                                                                Attorney-in-Charge
Eagle Street                                                                    of Post-Conviction and Forensic Litigation
Albany, New York 12207

                                         Re:    People v. Armand Skrine
                                                Richmond Co No. 454/11

Your Honor:

Pursuant to Criminal Procedure Law Section 460.20, I am submitting this letter as an application for
permission to appeal to the Court of Appeals in the above-entitled case. An application has not been made to
a justice of the Appellate Division. By decision rendered January 12, 2022, the Appellate Division Second
Department affirmed a judgment rendered July 29, 2014, by the Supreme Court Richmond County,
convicting appellant after trial of second-degree murder and criminal possession of a weapon. Appellant was
sentenced to the maximum permissible term of 25 years to life.

I am enclosing a copy of the decision and order of the Appellate Division. Please advise me of the judge
designated to decide this application so that I may send that judge a follow-up letter in support of the
application. We request this Court to consider and review all issues outlined in defendant-appellant's brief.

                                        Respectfully yours,




                                        NATALIE REA
                                        Associate Appellate Counsel
                                        212-577-3403

Encl.

Cc:     Hon. Michael McMahon
        District Attorney
        Richmond County
        130 Stuyvesant Place
        Staten Island, New York 10301
        Attn: Morrie Kleinbart (Morrie.Kleinbart@rcda.nyc.gov)



Justice in Every Borough.
 Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 153 of 1061 PageID #: 348
  000151
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                                                                             Attorney-in-Charge
                                                                             Criminal Practice

February 10, 2022                                                            David Loftis
                                                                             Attorney-in-Charge
                                                                             of Post-Conviction and Forensic Litigation

The Honorable Madeline Singas
Judge of the Court of Appeals
Court of Appeals Hall
20 Eagle Street
Albany, New York 12207


Re:    People v. Armand Skrine
       Richmond Co No. 454/11


Your Honor:

Under well-established constitutional standards set in Strickland v. Washington, 466 U.S. 668
(1984), People v. Benevento, 91 N.Y. 91 N.Y.2d 708 (1998), and more recently in Padilla v.
Kentucky. 559 U.S. 356 (2010), the reasonableness of counsel performance must be assed under
"prevailing professional norms." In this case, the Appellate Division Second Department in a
complete departure from these well-established standards, applied a much stricter standard limiting
counsel's constitutional obligations to raising arguments to those "so clear-cut and dispositive [ ... ]
that no reasonable defense counsel would have failed to assert" them. People v. Skrine, _ A.D.3d
_, 2022WL108383 (2d Dept. 2022). Leave should be granted for the Court of Appeals to address
this new strict and unconstitutional standard.

In this case, the only direct evidence connecting appellant to the crime was the DNA testimony of
Irene Wong, an analyst from the Office of the Chief Medical Examiner ("OCME") who had neither
supervised, conducted, or observed the testing as required by Crawford v. Washington, 541 U.S. 36,
53-54 (2004), Bullcoming v. New Mexico, 564 U.S. 647, 657 (2011), as subsequently confirmed in
People v. John, 27 N.Y.3d 294, 303 (2016). The trial took place in 2014 and, under prevailing
professional norms at the time, counsel had to raise a confrontation clause objection to Wong's
testimony. Counsel did not do so even though the Supreme Court in Bull coming, had previously
held that the testimony of an expert who had neither supervised, conducted or observed the blood
alcohol testing violated the confrontation clause. The Appellate Division found that counsel's failure
to make a confrontation clause objection to Wong's DNA testimony was not error because John had



Justice in Every Borough.
 Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 154 of 1061 PageID #: 349
    000152


                                                                                                            Page 2


not been decided and therefore, the issue was not "so clear-cut and dispositive [. . . ] that no
reasonable defense counsel would have failed to assert it."

Counsel's failure to object to Wong's DNA testimony was not her only error. Among her more
serious errors were her failure to object to the introduction of a mask never vouchered, never marked
and never authenticated that contained the only matching full DNA profile and to the People's
repeated use of previously suppressed clothing connecting appellant to the crime. 1 Counsel admitted
to being unprepared. Contrary to the findings of the Appellate Division, these errors were
"sufficiently egregious and prejudicial" to deprive appellant of his constitutional right to the
effective assistance of counsel.

Case Summary

The facts and arguments are fully discussed in appellant's opening and reply briefs submitted to the
Appellate Division (Appellant's Opening Brief ("AOB"), filed herewith as PeoplevSkrine-App-
Skrine-ADbrf, and Reply Brief ("ARB"), filed herewith as PeoplevSkrine-App-Skrine-ADrpl. The
following is a summary relevant to this leave application.

Appellant was charged with the murder on December 8, 2011, of David Williams outside his 7th
floor apartment at 195 Steuben Street on Staten Island. According to the trial testimony, that
morning, the building janitor saw a very tall person by the elevator in the lobby. He could not tell
whether the person was a man or a woman, black or white. He testified that he was 6'4", and the
person was taller, wearing a long black coat, black gloves, a full-face black mask, and carrying a
gym bag. The face mask covered the person's head and face except for the eyes. Around 11:00 a.m.,
Williams' neighbor was in the hallway when she heard men talking in Williams' apartment, and
furniture moved around. She then heard what sounded like a shot, saw the door to Williams'
apartment open, Williams come out with his hands on his stomach, saying "help me," and then fall.
As she ran down the stairs, she heard a second shot. Williams died of two gunshot wounds.

Appellant, 6'5" to 6'7", and Williams' former college roommate, was stopped in the vicinity without
probable cause. That afternoon, a duffel bag was recovered in a nearby wood containing the murder
weapon, a full-face mask, size extra-large clothing, and other items. The People had to connect
appellant to the duffel bag and all the evidence recovered from the bag was meticulously vouchered,
numbered, and photographed (AOB at 11-15). Appellant's clothing at the time of arrest was
suppressed (AOB at 5-7) but along with items from the duffel bag was sent to the OCME for testing
(AOB at 19-23). At the time of testing, a non-testifying OCME employee noted the presence of
partial face mask of unknown origin, referred to as the second mask, in the pocket of a vouchered

         Black jacket size 4XL, the shoes, a size 13, the jeans, W38, the gray sleeveless T-shirt, XXL, and the black
long-sleeve shirt, a 6XL (AOB at 16, 46 ). Clothing recovered from the duffel bag included a long black jacket/coat,
size 46XL, a gray hooded zip sweatshirt, size 3XL; a black hooded sweatshirt, size 3XL (AB at 13, 27).




Justice in Every Borough.
 Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 155 of 1061 PageID #: 350
    000153


                                                                                                          Page 3


coat from the duffel bag. The non-testifying employee noted the finding on the "Evidence
Deficiency/Discrepancy Form," as an "administrative deficiency" and "evidence discrepancy
quantity more."

At the beginning of the trial, counsel admitted to being unprepared. Later, when the People
repeatedly compared the size extra-large clothing of appellant's suppressed clothing to the size
extra-large clothing found in the duffel bag, she did not object. When the People introduced the
DNA test results from the second never-vouchered and never-authenticated mask discovered by the
non-testifying OCME employee. She did not object. Most importantly, counsel never objected to
Wong's DNA testimony that provided the only direct evidence connecting appellant to the crime.
Wong had reviewed the DNA tests results but had not supervised, or conducted, or observed the
DNA testing. Nevertheless, she testified, without objection, that a partial DNA profile matching
appellant had been found on the vouchered and authenticated full-face mask recovered from the
duffel bag and a full DNA profile recovered from the never-vouchered, never-authenticated second
mask. After four days of deliberations, appellant was convicted of murder. Though he had no prior
felony and suffered from mental issues, appellant was sentenced to the maximum term of
imprisonment 25 years to life.

Appeal to The Appellate Division

Appellant argued that under both the federal and state standards, counsel's failure to object to
Wong's DNA testimony, to the admissibility of the never-authenticated second smaller mask with
the only full DNA profile, and the suppressed clothing, along with a slew of smaller errors amounted
to ineffective assistance of counsel (AOB at 35-55; ARB at 4-15). 2 Under the Sixth Amendment, to
establish ineffective assistance of counsel a defendant must show (1) that counsel's performance fell
below "an objective standard of reasonableness" and (2) that there is a "reasonable probability that,
but for counsel's unprofessional errors, the result of the proceedings would have been different."
Strickland v. Washington, 466 U.S. 668, 687-88, 694 (1984). The New York State Constitution is
"somewhat more favorable to defendants" than its federal counterpart. People v. Turner, 5 N.Y.3d
476, 480 (2005). Under the State Constitution, the second prong of Strickland, prejudice, "is
examined more generally in the context of whether defendant received meaningful representation."
People v. Benevento, 91 N.Y.2d 708, 713 (1998). Meaningful representation includes the right to
the assistance of a lawyer who has taken the time to review and prepare both the law and the facts
relevant to the defense. See People v. Droz, 39 N.Y.2d 457, 462 (1976).

With respect to Wong's DNA testimony, appellant argued that counsel's failure to raise a
confrontation clause objection was error because it fell below reasonable professional standards
(AOB at 38-40; ARB at 4-8). Indeed, forensic evidence reports admitted into evidence for proving
the truth of the matter asserted are not exempt from the Confrontation Clause under Crawford and its
progeny." People v. John, 27 N.Y.3d 294, 303 (2016); see Bullcoming v. New Mexico, 564 U.S.

       This leave letter will focus on the confrontation clause issues arising out of Wong's testimony.




Justice in Every Borough.
  Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 156 of 1061 PageID #: 351
     000154


                                                                                                                  Page4


647, 657 (2011); Melendez-Diaz v. Massachusetts, 557 U.S. 305 (2009). Appellant argued that to
satisfy the Confrontation Clause, the DNA criminologist testifying must be the one who "conducted
or supervised the laboratory's generation of the DNA profile from the defendant's exemplar" or the
crime scene. John, 27 N.Y.3d at 308. (AOB at 39; ARB at 6). In this case, the analysts who edited
and constructed the DNA profile from the masks and reviewed it were DMW, SNP, and KLB. The
analyst who made the original comparison was MM or Michael Mordente. None of these analysts
testified (AOB at 39-40; ARB at 4, 6-7). Wong had reviewed the results but never edited or
constructed the DNA profile.

The People took the position that there was "significant evidence" of guilt and counsel's
performance did not amount to ineffective assistance (People's Brief ("PB") at 13-34, filed herewith
as PeoplevSkrine-Res-People-ADBrf). As to Wong's testimony, they argued that, as a supervisor,
she was the proper witness for confrontation clause purposes under People v. John, 27 N.Y.3d 294,
303 (2016); see Bullcoming v. New Mexico, 564 U.S. 647, 657 (2011) (PB at 24-26). The People
added that the "irony behind the compatibility of Wong's testimony with" John, "is that John was
decided two years after the 2014 trial. At the time, People v. Brown, 13 N.Y.3d 332, 337 (2009),
was controlling and Wong's DNA testimony was deemed not testimonial and not subject to the
confrontation clause (PB at 27). 3

The Appellate Division affirmed the conviction finding that "as of the time of the representation,"
counsel provided meaningful representation," under People v. Benevento, 91 N.Y.2d 708 (1998).
According to the court, "counsel was not ineffective for failing to assert a confrontation clause
challenge to the testimony of a criminalist employed by the Office of the Chief Medical Examiner of
the City of New York (see People v. John, 27 N.Y.3d 294, 295). The alleged error involves an issue
which is not "so clear-cut and dispositive' (People v. Rodriguez, 31 N.Y.3d 1067, 1068 [internal
quotation omitted]) at the time of defendant's trial that no reasonable defense counsel would have
failed to assert it." The court added that counsel's failure to object to "improper testimony and
evidence regarding the clothing," was "not sufficiently egregious and prejudicial to compromise
appellant's right to a fair trial."

Leave should be granted

The Appellate Division applied a new and seemingly unconstitutional standard. Counsel's Sixth
Amendment constitutional obligations are not limited to raising arguments "so clear-cut and
dispositive" that "no reasonable defense counsel would have failed to assert" them." See Strickland
v. Washington, 466 U.S. 668, 687-88, 694 (1984). Under the first prong of Strickland, counsel's


         The People argued that the second partial mask was properly in evidence since its origins were well known. It
came from the vouchered and marked coat found in the duffel bag (PB at 27-32). As to the repeated use of appellant's
suppressed clothing, they argued, for the first time on appeal, that the trial court misread the suppression ruling and that
appellant's clothing had not been suppressed clothing was not (PB at 32). In any event, the suppressed clothing was not
particularly important since there was other evidence that appellant was tall (PB at 32-33).




Justice in Every Borough.
 Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 157 of 1061 PageID #: 352
    000155


                                                                                                Page 5


performance is assessed under "an objective standard of reasonableness." "The first prong -
constitutional deficiency - is necessarily linked to the practice and expectations of the legal
community." Padilla v. Kentucky. 559 U.S. 356, 366 (2010). "The proper measure of attorney
performance remains simply reasonableness under prevailing professional norms." Id, quoting
Strickland. In Padilla, where the Court held that the Sixth Amendment required defense counsel to
advise a non-citizen defendant about the immigration consequences of a guilty plea, the Court
looked to the prevailing practices "reflected in American Bar Association standards." Padilla, 559
U.S. at 367. The Court noted that they were guides and not "inexorable commands," but they were a
"valuable measure of the prevailing norms of effective representation." Id.

In 2014, at the time of the trial in this case, two years before the Court of Appeals' decision in John,
but two after Bullcoming, the "practice and expectations of the legal community" required trial
counsel to raise a confrontation clause objection to Wong's DNA testimony. Defense lawyers had
been making confrontation clause objections to similar OCME analyst testimony based on Crawford
and Bullcoming. See People v. Butler, 183 A.D.3d 665 (2d Dept. 2020)(trial in 2013, two years
after Bullcoming and three years before John, counsel objected to the criminalist who had not
performed or supervised the DNA testing); People v. Tsintzelis, 35 N.Y.3d 925 (2020)(trial in 2014,
three years after Bullcoming and two years before John, counsel objected to the criminalist
testimony); People v. Velez, 35 N.Y. 3d (2020)(same); People v. Austin, 30 N.Y. 3d 98 (2017)(trial
in 2012, one year after Bull coming and four years before John, counsel objected to similar
testimony); People v. Welch, 137 A.D.3d 1313, 1314-15 (3d Dept. 2016)(trial in 2012, one year after
Bullcoming and four years before John, counsel had a reasonable trial strategy not to object to the
analyst's DNA testimony); People v. Pascall, 164 A.D.3d 1265 (2d Dept. 2018)(trial in 2013, two
years after Bullcoming and three years before John, counsel preserved the confrontation clause
objection); People v. Metellius, 157 A.D.3d 821 (2d Dept. 2018)(trial in 2012, two years after
Bullcoming and four years before John, counsel failed to preserve the confrontation clause
violation). At trial in John, counsel made the argument counsel should have made in this case.

John did not set new standards. It simply adopted the analysis of the Court in Bullcoming. John, 27
N.Y.3d at 304. Bullcoming involved the testing of the defendant's blood alcohol level. At trial, the
prosecution relied on an analyst who had not performed the gas chromatograph test. Describing the
testifying expert witness in Bullcoming. the Court in John explained that the witness had "reviewed
the reported test results, but had not supervised, conducted or observed the testing that produced the
results upon which he relied for his opinion." John, 27 N.Y. 3d at 94. In John, the DNA testing of
the defendant was conducted as the criminal action was pending. There was no question that the
"primary (truly sole) purpose" was proving a particular fact," i.e., that the defendant possessed the
gun, and thus, the evidence testimonial and subject to the confrontation clause. On this record, wrote
the Court in John,

               the admission into evidence of the laboratory reports for their truth as
               to the generation of the DNA profile from the gun without testifying




Justice in Every Borough.
 Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 158 of 1061 PageID #: 353
      000156


                                                                                              Page 6


               analyst who performed, witnessed or supervised any portion of the
               testing is indistinguishable from Bullcoming

27 N.Y.3d at 97 (emphasis added). If, in Padilla, counsel had to follow ABA guides that were not
"inexorable commands," here, under prevailing professional norms, counsel had to follow the
"inexorable command" of the Supreme Court precedent in Bullcoming. "indistinguishable" from
John.

The "so clear-cut and dispositive" that "no reasonable defense counsel would have failed to assert it"
standard applied by the Second Department to assess counsel's performance violates the Sixth
Amendment, Strickland, and Padilla, and necessarily the broader right to counsel under the New
York Constitution. The Court of Appeals has recognized, that "DNA evidence is powerful forensic
evidence in determining the guilt or innocence of an accused." John, 27 N.Y.3d at 303. Under the
strict new "so clear-cut and dispositive" that "no reasonable defense counsel would have failed to
assert it" standard to assess counsel's performance, a defendant accused of the most serious crime
under the Penal Law would be deemed to have received constitutionally effective representation
where counsel failed to object to the prosecution most powerful evidence. Such a standard renders
the right to counsel meaningless.

Leave should be granted for the Court of Appeals to address this erroneous strict new standard and
reiterate the proper standard to assess the performance of counsel in an ineffective assistance of
counsel claim. The standard adopted by the Appellate Division will make a mockery of the
"meaningful representation" standard set by the Court of Appeals and reasonable professional
standards set by Strickland. U.S. Const., Amends. VI And XIV; N.Y. Const., Art. I, §6. Should
your Honor wish to discuss this matter at a hearing, I would, of course, be most happy to do so at
your convemence.




                                     NATALIE REA
                                     Associate Appellate Counsel
                                     212-577-3403
                                     NRea@Legal-Aid.org

Cc:    Hon. Michael McMahon
       District Attorney
       Richmond County
       130 Stuyvesant Place
       Staten Island, New York 10301
       Attn: Morrie Kleinbart (Morrie.Kleinbart@rcda.nyc.gov)




Justice in Every Borough.
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 159 of 1061 PageID #: 354
  000157




                                OFFICE OF THE DISTRICT ATTORNEY
                                       RICHMOND COUNTY

 THOMAS B. LITSKY                                     MICHAEL E. Mc1\1AHON
 ASSISTANT DISTRICT A TTORNEY                            DISTRICT ATTORNEY
 (718)-556-7120



                                                                                                 March 9, 2022
 Hon. Madeline Singas
 Judge of the Court of Appeals
 Court of Appeals Hall
 20 Eagle Street
 Albany, New York 12207-1095

 Dear Judge Singas:

          RE: People v. Armond Skrine, CLA 2022-00133, Richmond Co. Ind. No. 454/11

        I submit this letter in response to defendant's application for leave to appeal from the
 January 12, 2022 Order of the Appellate Division, Second Department, affirming a July 29, 2014
 judgment of the Supreme Court, Richmond County, convicting defendant, following a jury trial,
 of Murder in the Second Degree and Criminal Possession of a Weapon in the Second Degree, and
 sentencing him to state prison.

         Defendant seeks further review of his conviction, claiming that he received ineffective
 assistance of counsel. That application should be denied.

         In this case, there was significant evidence connecting defendant to the crime to the scene,
 and to the apparent killer. Defendant rode the ferry to Staten Island that morning (see Casiano
 162, Vitale 215, People's Ex. 168, 170) and, after the murder, was spotted wandering just two
 blocks from the scene (Anderson 189). A duffel bag recovered from neighboring woods contained
 an AK-47 missing two bullets - the same number of shots overheard by the deceased's neighbor,
 and the same number evidenced by deformed bullets and impact markings at the scene (Steneck
 34, 51-57, 66-69; Smith 167-69).




                      •130 STUYVESANT PLACE • STATEN ISLAND, NEW YORK 10301 • TELEPHONE (71 8) 876-6300·
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 160 of 1061 PageID #: 355
  000158
 MARCH 9, 2022               RICHMOND COUNTY DISTRICT ATTORNEY                           PAGE 12


        The duffel bag itself matched the bag carried by the apparent killer (see Loiseau 116), the
 bag carried by defendant during his ferry travels (see Patterson 225; People's Ex. 171), a bag
 Williams's fiancee remembered defendant having carried around (see Hunt 246). And a jacket
 within the bag was the same Jean Loiseau had spotted on the camouflaged man standing in the
 lobby of the deceased's apartment building on the day of the murder (see Loiseau 115).

         DNA evidence further linked defendant to two black masks recovered from the duffel bag.
 A detective recovered, and vouchered, one loose mask and a camouflage jacket inside the duffel
 bag that the police found in the woods. An OCME analyst recovered a second mask from the
 vouchered camouflage jacket's pocket. At trial, the conclusion that defendant was the single source
 of DNA recovered from two black masks, and that he matched a profile unique among
 approximately 6.8 trillion people, was based on the testimony of OCME criminalist Irene Wong.
 Wong "supervise[s] Criminalists Levels II and Criminalists Level III in their case work, which
 means that [she does] a technical review on their work to make sure that everything is correct"
 (Wong 318). She supervised the analysis of both masks recounted in the DNA report. See ~ '
 Forensic Biology Case Contact Sheet, 12/11/11 ("Told her DTR is the analyst and I am his
 supervisor"); PCR Statistics Sheet, 12/21/11 (listing DTR as analyst); Forensic Biology Schedule
 of Analysis Sheet, 2/27/12 (Wong ordered extraction, quantitation, DNA typing, a comparison,
 and a report). In fact, she remained the supervisor of analyst DTR's work well after the generation
 of the dual black-mask profiles that inculpated defendant. See Electropherograms, 12/19/11;
 Forensic Biology Case Contact Sheet, 12/29/11.

         At the time of defendant's trial, the governing case was People v. Brown, 13 N.Y.3d 332
 (2009), which held that a DNA report was not testimony "because it consisted of merely machine-
 generated graphs, charts and numerical data," and the relevant "technicians would not have been
 able to offer any testimony other than how they performed certain procedures." Id. at 337. It is
 impossible to retroactively require defense counsel to anticipate the more precise rules articulated
 by the Court of Appeals two years later in People v. John, 27 N.Y.3d 294 (2016), requiring that
 "an analyst who witnessed, performed or supervised the generation of defendant's DNA profile,
 or who used his or her independent analysis on the raw data, as opposed to a testifying analyst
 functioning as a conduit for the conclusions of others, must be available to testify." Id. at 305
 (emphasis added). Here, the court's and the parties' handling of the DNA evidence was entirely
 compliant with the rules that were yet to be established by John. In any event, as the Appellate
 Division recognized the "alleged error" -- not objecting to the DNA testimony on confrontation
 clause ground- was "not 'so clear-cut and dispositive ... at the time of defendant's trial." People
 v. Skrine. 2022 NY Slip Op 00197, 156 N.Y.S.3d 888 (2d Dept. 2022). Thus, counsel was not
 deficient by refraining from objecting on confrontation clause grounds.
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 161 of 1061 PageID #: 356
  000159
 MARCH 9, 2022               RICHMOND COUNTY DISTRICT ATTORNEY                           PAGE         13




         In his application, without record cite, defendant avers that counsel -- who had represented
 him for one year - stated that she was "unprepared" "at the beginning of the trial." It is unclear
 where in the record such a statement appears. In any event, this claim provides no basis for further
 review. As outlined in Point I of respondent's Appellate Division brief. defendant received the
 benefit of thorough and impassioned representation by an attorney whose performance evinced
 both coherent tactics and overall competence in a very difficult case.

        This case presents no leave worthy issue. And not granting leave will neither "make a
 mockery" of standards set by People v. Baldi , 54 N.Y.2d 137 (1981), nor Strickland v.
 Washington, 466 U.S. 668 (1984). Accordingly, defendant's application for leave to appeal should
 be denied.

                                                              Respectfully,

                                                               ~(Jw1~                ~      Ull'O,._.,_

                                                              Thomas B. Litsky
                                                              Assistant District Attorney



 cc: Natalie Rea, Esq.
     The Legal Aid Society
     Criminal Appeals Bureau
     199 Water Street
     New York, NY 10038
     (NRea@legal-aid.org)
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 162 of 1061 PageID #: 357
  000160


 COURT OF APPEALS
 STATE OF NEW YORK
 -----------------------------------------------------------------------X
 THE PEOPLE OF THE STATE OF NEW YORK,

                                             Respondent,
                           V.                                               AFFIRMATION OF SERVICE

  ARMOND SKRINE,                                                            CLA 2022-00133

                                                                            Ind. No. 454/11
                                             Defendant-Appellant.
 -----------------------------------------------------------------------X

 STATE OF NEW YORK)
 COUNTY OF RICHMOND)

         Thomas B. Litsky, affirms under penalty of perjury:

         I am over 18 years of age and am employed by the Richmond County District Attorney's
 Office, 130 Stuyvesant Place, Staten Island, New York. I am admitted to practice before the Courts
 State of New York.

        On March 9, 2022, I served the annexed letter response to defendant's leave application,
 by mailing and emailing to

                           Natalie Rea, Esq.
                           The Legal Aid Society
                           Criminal Appeals Bureau
                           199 Water Street
                           New York, NY 10038
                           (NRea@legal-aid.org)


                                                          ~AM?~
                                                      Is Thomas B. Litsky

                                                      Thomas B. Litsky
  Dated: Staten Island, New York
         March 9, 2022
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 163 of 1061 PageID #: 358
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  crouri, 1of 29pprals
 BEFORE: HON. MADELINE SINGAS
                Associate Judge


 THE PEOPLE OF THE STATE OF NEW YORK,

                                             Respondent,                          ORDER
                             -against-                                         DENYING
                                                                                  LEAVE
 SKRINE, ARMAND,

                                             Appellant.



          Appellant having applied for leave to appeal to this Court pursuant to Criminal Procedure

 Law§ 460.20 from an order in the above-captioned case;*

          UPON the papers filed and due deliberation, it is

          ORDERED that the application is denied.



 Dated:    March 24, 2022
           at Albany, New York




                                                                Associate Judge



  *Description of Order: Order of the Appellate Division, Second Department, entered January 12,
  2022, affirming a judgment of Supreme Court, Richmond County, rendered July 29, 2014.
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 164 of 1061 PageID #: 359
  000162
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           SUPREME COURT OF THE STATE OF NEW YORK
           COUNTY OF RICHMOND - CRIMINAL TERM - PART 12
           --------------------------------------x INDICTMENT NO.
           THE PEOPLE OF THE STATE OF NEW YORK
                                                               454/2011

                         -against-


           ARMAND SKRINE,


                                             Defendant.      : HEARING
           --------------------------------------x
           (Det. Guarino}            18 Richmond Terrace
           (P.O. Anderson)                   Staten Island, New York
           (Det. Patterson)                  June 14, 2013


           BEFORE:

                HONORABLE ROBERT COLLINI, Justice.




           APPEARANCES:

                DANIEL DONOVAN, ESQ.
                District Attorney - Richmond County
                     130 Stuyvesant Place
                     Staten Island, N.Y. 10301
                BY:  JENNIFER CILIA, ESQ., and
                     WANDA DeOLIVEIRA, ESQ.,
                     Assistant District Attorneys

               MARIA GUASTELLA, ESQ.
               Attorney for the Defendant
                    88 New Dorp Plaza
                    Staten Island, N.Y. 10306




                                                   MAURIZIA M. SELLECK
                                                   SENIOR COURT REPORTER
           Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 165 of 1061 PageID #: 360
             000163                                                                                2
                                                     Proceedings

                 1                      THE COURT CLERK:      Calling number 1 on the

                 2         calendar, Indictment 454/2011, Armand Skrine.

                 3                      THE COURT:   This case is on for hearings.          Both

                 4         parties ready?

                 5                      MS. CILIA:   Yes.

                 6                      MS. GUASTELLA:      Yes.
                 7                      THE COURT:   Off the record.

                 8                      (Whereupon, a discussion is held off the record.)

                 9                      THE COURT CLERK:      Appearances, please.
                10                      MS. CILIA:   Jennifer Cilia and Wanda Deoliveira

                11         for the People.
                12                      MS. GUASTELLA:      Maria Guastella on behalf of
                13         Mr. Skrine.
                14                      THE COURT:   Apparently, a Wade hearing and a
                15         Huntley hearing were granted in this case; is that
                16         correct?
                17                      MS. CILIA:   Yes.
                18                      THE COURT:   All right.     With respect to the Wade
                19         hearing, what's the subject of the Wade hearing?
                20                      MS. CILIA:   There is a photo array, Judge, one
                21         photo array.
                22                      MS. GUASTELLA:      I think it was a Dunaway/Mapp.
                23         Is it a Dunaway/Mapp/Wade?
                24                      THE COURT:   And a Dunaway/Mapp.     Okay.    I'm
,,.-.,_,        25         sorry.     With respect to the Huntley hearing, what is the


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           Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 166 of 1061 PageID #: 361
             000164                                                                             3
                                                     Proceedings

                 1         subject of the hearing?

                 2                     MS. CILIA:    There are two oral statements, one

                 3         made on scene to Police Officer Anderson

                 4                     THE COURT:    Two oral statements is fine.       Thank

                 5         you.

                 6                     And with respect to the Dunaway/Mapp?

                 7                     MS. CILIA:    There was property recovered on scene

                 8         and later at the precinct from the defendant.           There was

                 9         also a duffel bag recovered that was abandoned that is

                10         apparently also the subject matter of this hearing.
                11                     THE COURT:    There was property on the scene that

                12         was recovered.     Does that include the duffel bag?
,,-,.,,_        13                     MS. CILIA:    The duffel bag was recovered later by

                14         a K-9.

                15                     THE COURT:    And the property in the precinct from
                16         the defendant?
                17                     MS. CILIA:    Yes.
                18                     THE COURT:    And the duffel bag.     All right.
                19                     Ready to proceed?
                20                     MS. CILIA:    I am.    I do need to call the
                21         witnesses out of order for scheduling purposes, so I'm
                22         going to
                23                     THE COURT:    I didn't know there was an order.
                24                     MS. CILIA:    It won 1 t be -- All right.
                25                     THE COURT:    Counsel, are you ready to proceed?


                                                            MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 167 of 1061 PageID #: 362
  000165                                                                            4
                                          Proceedings

      1                    MS. GUASTELLA:        Yes.

      2                    THE COURT:     Call your first witness.

      3                    MS. CILIA:     The People call Daniel Guariano.

      4                     Also, for the record, I provided to defense

      5         counsel certain discovery and other disclosures, and

      6         defense counsel has signed acknowledging receipt of those.

      7                     MS. GUASTELLA:       Acknowledge receipt, Judge.

      8                     THE COURT OFFICER:          Witness entering.

      9                     THE COURT:    Is there a list of the discovery?

     10                     MS. CILIA:    Yes.
     11                     THE COURT:    Could you give that to defense
     12         counsel, and I'd ask that she
     13                     MS. CILIA:    I did.
     14                     MS. GUASTELLA:       I did sign it, Judge.

     15                     THE COURT:       date it and we'll make it part of
     16         the court file.
     17                     Just an extra one for the court files.
     18         Obviously, if you review the list and there is something

     19         that's been alleged --
     20                     The officers do that.
     21                    MS. CILIA:     I'm sorry.
     22                    THE COURT:     They get mad.
    23                      If there is something on the list that is alleged
    24          to have been brought -- given to you, if it's not there
    25          when you have a better opportunity to review all the


                                                 MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 168 of 1061 PageID #: 363
  000166                                                                                 5
                           People - Det. Guariano - Direct/Cilia

      1         documents, bring it to my attention.           If it's something

      2         material with respect to any of the issues during the

      3         course of this hearing, I'll allow you to reopen the

      4         hearing.

      5                     MS. GUASTELLA:        That's fine, Judge.     Thank you.

      6                     THE COURT:     Counsel.

      7                     THE COURT OFFICER:          Step up, remain standing, and

      8         face the clerk.

      9    DE T.      DA N I E L      GU AR I AN o, bearing shield number

     10         5748, assigned to the 120 Precinct Detective Squad, having

     11         been called as a witness on behalf of the People, having

     12         been duly sworn by the clerk of the court, was examined and

     13         testified as follows:
     14                     THE COURT OFFICER:          State your full name and

     15         title for the record.

     16                     THE WITNESS:     Detective Daniel Guariano,
     17         G-U-A-R-I-A-N-O, is 120 Detective Squad.
     18                     THE COURT CLERK:        And your shield number.

     19                     THE WITNESS:     5748.

     20                     THE COURT CLERK:        Thank you, Officer.     Be seated.
     21                     MS. CILIA:     May I inquire?
     22                     THE COURT:     Yes.
     23    DIRECT EXAMINATION
     24    BY MS. CILIA:
     25         Q.    Detective, how long have you approximately been with


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 169 of 1061 PageID #: 364
 000167                                                                             6
                              People - Det. Guariano - Direct/Cilia

      1    the NYPD?

      2         A.     Nine years.

      3         Q.     Approximately how many arrests have you participated

      4    in in your career?

      5         A.     300.

      6         Q.     Directing your attention to December 8th of 2011, were

      7    you working on that day?

      8         A.     Yes, I was.

      9         Q.     What was your assignment?

     10                       THE COURT:   Slow down.   What day are we talking

     11         about?
     12                       MS. CILIA:   December 8th of 2011.

     13                       THE COURT:   Go ahead.
     14         Q.     What was your assignment on that day?

     15         A.     Investigative field in 120 Detective Squad.
     16         Q.     Were you working on a particular case?
     17         A.     Yes, I was.
     18         Q.     What was that?
     19         A.     A homicide that occurred at 195 Steuben Street.
     20         Q.     As part of this investigation, were you present for
     21    the recovery of anything?
     22         A.     Yes, I was.
     23         Q.     What specifically was recovered?
     24         A.     A large black and gray duffel bag.
     25         Q.     And approximately what time was that recovered?


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 170 of 1061 PageID #: 365
  000168                                                                                7
                           People - Det. Guariano - Direct/Cilia

      1         A.    1600 hours.

      2         Q.    From where?

      3         A.    From a wooded area in the rear of 198 --

      4                       THE COURT:     Before we go any further, I 1 m not

      5         sure exactly what 1600 hours means.

      6                       THE WITNESS:     I'm sorry.      4 p.m.
      7                       THE COURT:     4 p.m.?

      8                       THE WITNESS:     4 p.m.

      9                       THE COURT:     Okay.     The record should reflect what

     10         you meant is 4 p.m.        Fine.

     11                       MS. CILIA:     Thank you, your Honor.
     12         Q.    Can you just go back to describing what that area is
     13    like?
     14         A.    Sure.     It's a heavily wooded area which is across from
     15    a residential neighborhood.
     16                       THE COURT:     I'm going to stop you, because I take
     17         notes during these hearings.             So, when you speak really
     18         fast, sometimes I miss something.
     19                       THE WITNESS:     No problem.
     20                       THE COURT:     So, where were you at 4 p.m. on 12/8?
     21                       THE WITNESS:     It was the rear of 198 Pierce
     22         Street, which is a heavily wooded area.
     23         Q.    And with respect to that --
    24                        THE COURT:     Hold on.
    25                        MS. CILIA:     I'm sorry.


                                                   MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 171 of 1061 PageID #: 366
  000169                                                                            8
                           People - Det. Guariano - Direct/Cilia

      1                       THE COURT:   Go ahead.

      2         Q.    Where is 195 Steuben Street in relation to that wooded

      3    area?

      4         A.    In close proximity.

      5         Q.    Is that a walkable distance?

      6         A.    Yes, it is.
      7         Q.    Now, at the time that you participated in the search,

      8    were you aware of whether anyone had been arrested in

      9    connection with this case?

     10         A.    No, I was not.

     11         Q.    Were there any civilians on scene who were

     12    participating in the search?

     13         A.    No, there was not.
     14         Q.    Can you describe the recovery of this bag?
     15         A.    Sure.     I was assigned to work with the K-9 officers

     16    and their dogs.       At around that time, 1600, which is 4 p.m., I
     17    was alerted to a bark from K-9 Storm.         I approached the dog.

     18    The dog was scratching in a heavily wooded area.           There was
     19    leaves.    I then moved the leaves to the side, and right there
     20    there was a large gray and black duffel bag underneath the
     21    leaves.
     22         Q.    What does it mean when the dog scratches?
     23         A.    He concentrated on a certain area, and he just -- he
     24    brought it to his handler's attention.
    25          Q.    Now, did there come a time when you saw what was


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 172 of 1061 PageID #: 367
  000170                                                                            9
                           People - Det. Guariano - Direct/Cilia

      1    underneath those leaves?

      2         A.    Yes, I did.

      3         Q.    What was that?
      4         A.    Inside of this large gray and black duffel bag was a

      5    semiautomatic weapon with gray masking tape affixed to it.

      6         Q.    Now, were there other items inside of that bag as

      7    well?

      8         A.    Yes, there was.
      9                     MS. CILIA:    I'd ask that People 1 and 2 be deemed

     10         marked for identification.

     11                     THE COURT:    We will deem it marked 1 and 2.

     12                     (Whereupon, People's Exhibits 1 and 2 are deemed
     13         marked for identification.}
     14         Q.    Detective, taking a look at People's 1 and 2 for
     15    identification, do you recognize these?
     16         A.    Yes, I do.
     17         Q.    What are they?
     18         A.    This is a photo of the large gray and black duffel bag
     19    that I observed on that day at that time.
     20         Q.    And is the duffel bag open or closed in that picture?
     21         A.    In this photo the duffel bag is open.
     22                     MS. CILIA:    We're going to deem that 1 for
     23         identification, Judge.
     24         Q.    And, Detective, does that fairly and accurately
     25    Detective, does that fairly and accurately depict the way that


                                               MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 173 of 1061 PageID #: 368
  000171                                                                            10
                            People - Det. Guariano - Direct/Cilia

      1    the duffel bag looked on December 8th when you saw it?

      2         A.    Yes, it does.

      3         Q.    And the contents within that duffel bag, does that

      4    also fairly and accurately depict the way that it looked inside

      5    the duffel bag?
      6         A.    Yes, it does.
      7         Q.    Has it been altered in any way?

      8         A.    No.

      9                     MS. CILIA:     I'd ask that this be moved into

     10         evidence as People's 1.

     11                     MS. GUASTELLA:     Judge, if I may.

     12                     Detective, did you take these photos?

     13                     THE WITNESS:     No, I did not.

     14                     MS. GUASTELLA:     Were you present when the photos
     15         were taken?
     16                     THE WITNESS:     No, I was not.
     17                     MS. GUASTELLA:     Judge, I am going to object to
     18         these photos coming in.       He wasn't present when the photos
     19         were taken.     We're not sure where these photos came from.
     20         If, in fact
     21                     THE COURT:     Overruled.   So moved.    Deemed marked
     22         People's 1 in Evidence for purposes of the hearing.
     23                      (Whereupon, People's Exhibit 1 is deemed marked
    24          in evidence.)
    25          Q.    Taking a look at People's 2 for ID, what is that?


                                               MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 174 of 1061 PageID #: 369
  000172                                                                               11
               People - Det. Guariano - Direct/Cilia-Voir Dire/Guastella

      1           A.      This is a photo of the location where I observed the

      2    duffel bag and the duffel bag was recovered.

      3           Q.      And can you describe the area within that photo?

      4           A.      Sure.     Once again, a heavily wooded area.     To the left

      5    in the depicted photo is a retainer wall that separates the

      6    service road and the wooded area.

      7           Q.      Does it fairly and accurately depict where you saw the

      8    duffle bag on December 8th of 2011?

      9           A.      Yes, it does.        Minus the    I observed it during the

     10    day.        This was taken at night.

     11           Q.      So, in terms of the lighting, the lighting is

     12    different?
     13           A.      The lighting is different.

     14           Q.      But in terms of the placement of the bag, is there

     15    anything that 1 s been altered with respect to that?

     16           A.      No.     Same location.
     17                           MS. CILIA:     I'd ask that this be moved into

     18           evidence as People's Exhibit Number 2.

     19                           THE COURT:     Counsel?

     20                           MS. GUASTELLA:     Again, Judge --
     21    VOIR DIRE EXAMINATION
     22    BY MS. GUASTELLA:
     23           Q.      Detective, you said you observed it in the daytime?
     24           A.      Correct.
     25           Q.      At what time did you observe the bag?


                                                     MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 175 of 1061 PageID #: 370
  000173                                                                            12
                        People - Det. Guariano - Voir Dire/Guastella

      1         A.      4 p.m.

      2         Q.      And then at some point later you went back to the

      3    scene and saw the bag still there?

      4         A.      No.

      5         Q.      Were you there when the bag was recovered out of the

      6    woods?
      7         A.      Can you explain "recovered"?

      8         Q.      Were you present when this was recovered from the

      9    woods?      Withdrawn.
     10                 You see the bag at 4:00, correct?
     11         A.      Correct.

     12         Q.      And you didn't take this photo?

     13         A.      No.
     14         Q.      And then the next time you see it is in this photo,
     15    correct?
     16         A.      Correct.
     17                       MS. GUASTELLA:     Judge, I have an objection.
     18                       THE COURT:     Overruled.   So moved.   Deemed marked
     19         People's 2 in Evidence for purposes of the hearing.
     20                       (Whereupon, People's Exhibit 2 is deemed marked
     21         in evidence.)

     22                       THE COURT:     In People's 2, is that the duffel
     23         bag?
     24                       THE WITNESS:     Yes, that is, your Honor.
    25     DIRECT EXAMINATION (Continued)


                                                 MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 176 of 1061 PageID #: 371
  000174                                                                            13
                       People - Det. Guariano - Direct/Cilia-Cross

      1    BY MS. CILIA:

      2         Q.    Detective, regarding People's Exhibit Number 2, you

      3    mentioned that there is a retaining wall in that picture.

      4         A.    Yes.

      5         Q.    What's behind that retaining wall?

      6         A.    On the other side of that retaining wall is the
      7    service road on the side of the Expressway.

      8         Q.    And can you tell us where Steuben Street is in
      9    relation to People's Exhibit Number l?
     10         A.    Sure.     From this depicted photo, Steuben Street would

     11    be to the right of this photo, going that way, to the right.
     12                       MS. CILIA:   I have no further questions for this
     13         witness.
     14                       THE COURT:   Counsel?
     15    CROSS-EXAMINATION

     16    BY MS. GUASTELLA:

     17         Q.    Detective, how were you assigned this case?
     18         A.    I wasn't assigned this case.
     19         Q.    Well, earlier in the record you said you were assigned
     20    to a homicide that occurred at 195 Steuben.
     21         A.    I was assigned to assist.
     22         Q.    Okay.     By who?
     23         A.    By my squad CO.
     24         Q.    Who were you assisting in particular on that day?
     25         A.    Detective Patterson.


                                               MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 177 of 1061 PageID #: 372
  000175                                                                            14
                                 People - Det. Guariano - Cross

      1         Q.    He is the lead detective on this?

      2         A.    Correct.

      3         Q.    And what was your assignment to assist, what did it

      4    include?

      5         A.    That was my assign -- The exact assignment was to work

      6    with K-9 that day.
      7         Q.    Have you personally been trained to working with K-9?

      8         A.    No.

      9         Q.    And what were your duties working -- assisting the K-9

     10    unit?
     11         A.    If K-9 had recovered
     12                     THE COURT:     I'm going to stop there.     You said

     13         you weren 1 t trained to work with K-9.       Does that mean

     14         you're not trained to train the dogs and to work with the
     15         dog personally?
     16                     THE WITNESS:     Correct.   They are assigned to
     17         handlers who are --
     18                     THE COURT:     There are other handlers.

     19                     THE WITNESS:     There are other handlers, yes.
     20                     THE COURT:     Have you ever worked K-9?
     21                     THE WITNESS:     I have, yes.
     22                     THE COURT:     Are you familiar with how they
     23         operate?
     24                     THE WITNESS:     Yes.
     25                     THE COURT:     So, when you said they -- was it


                                               MMS
         Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 178 of 1061 PageID #: 373
           000176                                                                            15
                                          People - Det. Guariano - Cross

               1         scratch something, or you --

               2                       THE WITNESS:     Paid attention to a certain

               3         location.

               4                       THE COURT:     You understand what this means?

               5                       THE WITNESS:     Yes, I do.

               6                       THE COURT:     Go ahead.
               7         Q.    Who were the handlers that you were assigned to work

               8    with?
               9         A.    If I could go back to my notes that I believe we have.

              10    I have written it down.

              11                       MS. CILIA:     I am going to turn up notes that were

              12         turned over to defense previously.
,,-..,        13                       THE WITNESS:     May I proceed, your Honor?

              14                       THE COURT:     Go ahead.
              15         A.    Police Officer Jacobs (phonetic}, and Police Officer

              16    Figueroa {phonetic} from the K-9 unit.
              17         Q.    And what time did you meet up with them?
              18         A.    At 3:40 p.m., 1540 hours.

              19         Q.    And you met them at the location of 198 Pierce Street?
              20         A.    In the vicinity of the wooded area.
              21         Q.    Okay.     Do you know what time they got there?
              22         A.    I don't.
              23         Q.    But when you arrived, they were already there with the
              24    dogs?
              25         A.    I was there before them.


                                                          MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 179 of 1061 PageID #: 374
  000177                                                                            16
                                   People - Det. Guariano - Cross

      1         Q.      You were there before them?

      2         A.      Correct.

      3         Q.      Do you know where they were prior to that?

      4         A.      No, I do not.

      5         Q.      Do you know if they were at Steuben Street first?

      6         A.      I do not know.

      7         Q.      So, you're location approximately 3:40.       Where do you

      8    first go?

      9         A.      3:40 is when I meet with the K-9 officers.

     10         Q.      What time do you get to the location?

     11         A.      I don't recall.

     12                       THE COURT:    By "location," do we mean this wooded

     13         area?

     14                       MS. GUASTELLA:    Yes, I'm sorry, the wooded area.

     15         A.      Oh, the wooded area.     I apologize.   At that time, at

     16    3:40 p.m.

     17         Q.      And at some point K-9 arrives?

     18         A.      Yes, correct.

     19         Q.      And did you yourself search the woods?

     20         A.      Assisted.

     21         Q.      Prior to them reaching you, the K-9 unit, did you

     22    search the woods on your own?

     23         A.      No.

     24         Q.      Did you peer over the fence or look around yourself?

     25         A.      No.


                                                MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 180 of 1061 PageID #: 375
  000178                                                                            17
                                 People - Det. Guariano - Cross

      1         Q.    So, you just waited for them to show up?

      2         A.    Correct.

      3         Q.    And then approximately how long were they there before

      4    Storm barked?

      5         A.    15 minutes.

      6                      THE COURT:   Before what?

      7                      MS. GUASTELLA:   Storm, the dog Storm, barked.

      8                      THE COURT:   Just so the record is clear.

      9         Q.    Were you in the woods with the dog?

     10         A.    No, I was not.
     11         Q.    Were the handlers in the woods with the dog?

     12         A.    Yes.

     13         Q.    At the time you heard this bark, you knew what that

     14    meant?
     15         A.    Yes, I did.
     16         Q.    And what did that mean?
     17         A.    That meant that the dog Storm had found or located
     18    something that he was bringing to the attention of his handler.
     19         Q.    Could have been anything, correct?
     20         A.    I guess so.
     21                      MS. CILIA:   Objection.
     22                      THE COURT:   Overruled.
     23         Q.    And you then went into the woods?
     24         A.    Correct.
     25         Q.    And you noticed, you said, a duffel bag, correct?


                                               MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 181 of 1061 PageID #: 376
  000179                                                                            18
                                 People - Det. Guariano - Cross

      1         A.    Correct.

      2         Q.    And you're saying the duffel bag is black and gray?

      3         A.    Black and gray.

      4         Q.    Did you open up the bag?

      5         A.    Yes, I did.

      6         Q.    Were you wearing gloves?
      7         A.    Yes, I was.

      8         Q.    And what did you see in the bag?
      9         A.    A large assault rifle and a black shovel.
     10         Q.    Black shovel?
     11         A.    Black shovel, mini shovel, yes.

     12         Q.    Anything else?
     13         A.    I didn't touch anything after that.
     14         Q.    And then what did you do next?
     15         A.    I called my immediate supervisor and he then spoke

     16    with police personnel who secured the scene until Crime Scene
     17    would arrive.

     18         Q.    Your immediate supervisor, meaning Detective
     19    Patterson?
     20         A.    Lieutenant •Nilsen.
     21         Q.    Was Nilsen at the scene?
     22         A.    Yes.
     23         Q.    And approximately -- So, you didn't see the recovery
     24    of the duffel bag from the woods, correct?
     25         A.    Can you explain what you mean by "recovery"?


                                               MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 182 of 1061 PageID #: 377
 000180                                                                             19
                      People - Det. Guariano - Cross/Redirect-Cilia

      1         Q.    In other words, taken out of the woods.

      2         A.    No.

      3         Q.    At some point you leave it -- you leave it there?

      4         A.    Yes, it's secured.

      5         Q.    When you say "secured," who was securing it?

      6         A.    A police officer secured it.       I don't have his name.

      7         Q.    Uniformed?
      8         A.    Yes.

      9         Q.    Approximately how many?
     10         A.    How many?

     11         Q.    How many officers were in the woods securing the bag?

     12         A.    I don't recall.     I know when I left there was one
     13    person      there was one officer there.
     14                      MS. GUASTELLA:    Nothing further.
     15                      THE COURT:   Counsel?
     16                      MS. CILIA:   Just one quick thing.
     17    REDIRECT EXAMINATION
     18    BY MS. CILIA:
     19         Q.    Detective, you mentioned that there were some
     20    additional contents in the bag.        Is that right?
     21         A.    That's right.
     22         Q.    Do you know what happened to those contents?
     23         A.    Yes, I do.
     24         Q.    What happened?
     25         A.    They were vouchered.


                                               MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 183 of 1061 PageID #: 378
  000181                                                                                20
                                           Proceedings

      1                     MS. CILIA:     I have no further questions.         Thank

      2         you.
      3                     THE COURT:     Counsel?
      4                     MS. GUASTELLA:        Nothing further.

      5                     THE COURT:     Thank you, Detective.       You're

      6         excused.
      7                     Call your next witness.
      8                      (Witness excused.)
      9                     MS. CILIA:     The People are next going to be
     10         calling Police Officer Jeffrey Anderson.
     11                      I'll just note for the Court that I will be
     12         playing a brief portion of the radio run.
     13                     THE COURT OFFICER:          Are you ready for the
     14         witness, your Honor?
     15                     THE COURT:     Yes.
     16    P. 0.       J E F F R E Y     ANDERSON, bearing shield number
     17         11068, assigned to the 120 Precinct Detective Squad, having
     18         been called as a witness on behalf of the People, having
     19         been first duly sworn by the clerk of the court, was
     20         examined and testified as follows:
     21                     THE COURT CLERK:        Please state your full name and
     22         your title for the record.
    23                      THE WITNESS:     Police Officer Jeffrey Anderson,
    24          120 Precinct, shield number 11068.
    25                      THE COURT CLERK:       Okay, Officer, please be


                                                  MMS
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 184 of 1061 PageID #: 379
      000182                                                                              21
                               People - P.O. Anderson - Direct/Cilia

          1         seated.
          2                       THE WITNESS:     Thank you.

          3                       THE COURT:     Counsel.
          4    DIRECT EXAMINATION

          5    BY MS. CILIA:

          6         Q.    Officer, approximately how long have you been with the
          7    NYPD?
          8         A.    Approximately six years.

          9         Q.    And about how long have you been with your current

         10    command?
         11         A.    Approximately five years.
         12         Q.    Where did you start your career?
         13         A.    70 Precinct, Brooklyn.
         14         Q.    And what type of cases did you handle there?

         15         A.    General police work: foot patrols, arrests.
         16         Q.    I am just going to ask that you keep your voice up.
         17         A.    Sure.
         18         Q.    And now that you're in the 120, what types of cases do

         19    you handle at the 120?
         20         A.    Right now I'm currently Anti-Crime patrol.           I patrol
         21    high-crime areas in plain clothes.
         22         Q.    About how many arrests have you participated in in
         23    your career?
         24         A.    Approximately 108.
~        25                       THE COURT:     I'm sorry.     What precinct are you


                                                     MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 185 of 1061 PageID #: 380
  000183                                                                            22
                             People - P.O. Anderson - Direct/Cilia

      1         stationed at?

      2                      THE WITNESS:   120 Precinct, sir.

      3         Q.    Officer, I'm going to draw your attention to

      4    December 8th of 2011.      Were you working?

      5         A.    Yes.

      6         Q.    What was your tour that day, your hours?

      7         A.    My tour that day was 7:05 in the morning to 3:40 in

      8    the afternoon.

      9         Q.    And drawing your attention to about 11:50, were you --

     10    where were you at that time?

     11         A.    I was in my RMP, my radio car that's given to me.

     12         Q.    When you say "RMP," was that a marked car or an

     13    unmarked car?

     14         A.    A marked police vehicle.

     15         Q.    And were you alone or were you with someone else?

     16         A.    I was with a partner.

     17         Q.    And were you in the car the driver or the passenger?

     18         A.    I was the driver, I was the operator.

     19         Q.    Were you in plain clothes or were you in uniform?

     20         A.    I was in full uniform.
     21         Q.    What, if anything, did you hear at the time?
     22         A.    At that time I heard a radio run for a male shot at
     23    195 Steuben Street.

     24         Q.    And in what vicinity were you in when you got that
     25    call?


                                               MMS
         Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 186 of 1061 PageID #: 381
           000184                                                                            23
                                     People - P.O. Anderson - Direct/Cilia

               1         A.    When I got that call I was in my radio car, in

               2    Brooklyn, on a highway.

               3         Q.    And which direction were you traveling?

               4         A.    I was traveling towards the Verrazano Bridge, towards

               5    Staten Island.

               6         Q.    When you heard the radio run, what, if anything, did
               7    you do?

               8         A.    I responded to that location.       I was responding to

               9    that location.

              10         Q.    Which route did you take?

              11         A.    I took the Verrazano Bridge to a service road, Narrows

              12    Road North.
r""""\        13         Q.    Narrows Road North?

              14         A.    Correct.

              15         Q.    And is there a cross street near there?

              16         A.    I think -- I believe Clove Road -- I'm not sure.
              17         Q.    Why did you take that service road to get to Steuben?

              18         A.    That would be the quickest route to get to Steuben
              19    Street.
              20         Q.    Now, did you actually reach Steuben Street?
              21         A.    No.
              22         Q.    Why not?
              23         A.    Because I observed a male on the highway walking
              24    towards my RMP.
              25         Q.    This male on the highway, do you see this person in


                                                        MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 187 of 1061 PageID #: 382
  000185                                                                            24
                             People - P.O. Anderson - Direct/Cilia

      1    court today?
      2         A.    Yes.

      3         Q.    Can you please point to this person and indicate an

      4    article of clothing that he is wearing?

      5         A.    Excuse me?

      6         Q.    Can you point to the person and then indicate an

      7    article of clothing that he's wearing on the record?

      8         A.    The collared shirt right there.

      9                      THE COURT:     Excuse me?

     10                      THE WITNESS:     The collared shirt male right

     11         there.

     12                      THE COURT:     You got to get more specific.

     13         Q.    Like the color of his shirt.

     14         A.    Dark green shirt right here.

     15                      THE COURT:     Green?

     16                      THE WITNESS:     Gray shirt.     It's pretty faded.

     17                      THE COURT:     Gray shirt?

     18                      THE WITNESS:     Dark gray shirt.

     19                      THE COURT:     Are you colorblind?
     20                      THE WITNESS:     Dark shirt right here.
     21                      THE COURT:     There's about six people sitting here
     22         with dark collared shirts.           Which -- Be specific.
     23                      THE WITNESS:     The male right here, the dark
     24         shirt, dark collared shirt.
     25                      THE COURT:     There is one, two, three, four, five


                                                MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 188 of 1061 PageID #: 383
  000186                                                                             25
                           People - P.O. Anderson - Direct/Cilia

      1         males in the direction that you are pointing all wearing

      2         dark collared shirts.       Which one are you talking about?

      3                      THE WITNESS:     I would say the green shirt, dark

      4         green.   It's faded, sir -- your Honor.
      5                      THE COURT:     There's one person in a green shirt,

      6         that's Mr. King, who's a clerk of the court.
      7                      THE WITNESS:     Brown shirt, sir.

      8                      THE COURT:     Brown shirt?    Okay.   Indicating the
      9         defendant.
     10                      MS. GUASTELLA:     Judge, I'd ask him to answer the
     11         question your Honor asked, if he was colorblind.
     12                      THE COURT:     I'll strike that question.     That was
     13         inappropriate to begin with.          It's just that there was
     14         nobody there except for Mr. King in a green shirt.           If you
     15         want to identify him as the person on the highway, I don't
     16         have an objection to that, but obviously not the second
     17         person you identified wearing a brown shirt with a collar,
     18         which would be the defendant.
     19                      MS. CILIA:     I also ask the record reflect that
     20         the witness was pointing toward the defendant at that time.
     21                      THE COURT:     He was pointing in the direction of
     22         about six people --
     23                      THE WITNESS:     I'm sorry, your Honor.
     24                      THE COURT:     -- over to the right.    Otherwise, if
     25         there were one person sitting there, it would be specific,


                                                MMS
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 189 of 1061 PageID #: 384
      000187                                                                            26
                               People - P.O. Anderson - Direct/Cilia

          1         but it wasn't.

          2                     Officer, I just want you to answer the questions.

          3                     Go ahead, Counsel.

          4         Q.    Officer, can you describe that location when you saw

          5    the defendant initially?

          6         A.    It was a highway, wooded area on service road.

          7         Q.    Now, on the service road, was there just the defendant

          8    or were there other people walking around?

          9         A.    Just the defendant.
         10         Q.    And what about this person, the defendant, drew your

         11    attention to him?

         12         A.    He made eye contact with me.       He made eye contact with

~        13    me and he looked very nervous.
         14         Q.    What do you mean by "nervous"?
         15         A.    He started walking a little bit faster when I passed
         16    him and that caught my attention.
         17         Q.    What, if anything, did you do?
         18         A.    At that point I stopped my police vehicle and I put it
         19    in reverse and I backed up towards the defendant.
         20         Q.    Now, Officer, this area that you stopped the
         21    defendant, where was that location in relation to 195 Steuben
         22    Street?
         23         A.    That location was within the proximity.
         24         Q.    Can you explain about how close that is?
         25         A.    It's within walking distance to where the area is.


                                                   MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 190 of 1061 PageID #: 385
  000188                                                                                 27
                             People - P.O. Anderson - Direct/Cilia

      1         Q.    From the place where you stopped the defendant, is

      2    there a pathway with which you can get to 195 Steuben Street?

      3         A.    Yes.

      4         Q.    What would that path be?

      5         A.    That path would be a wooded area, dirt area, with

      6    trees and everything, and you could walk down that area towards

      7    Steuben Street.

      8         Q.    What was the defendant wearing at that time?

      9         A.    The defendant had on black jeans, black jacket, black

     10    sneakers with mud on them, and a blue Yankee hat.

     11         Q.    Did you see mud in the area?

     12         A.    Yes.

     13         Q.    Where specifically?

     14         A.    In that wooded area that you can get down towards

     15    Steuben Street.

     16         Q.    And with respect to the time that you first heard that

     17    call come over the radio to the time that you stopped the

     18    defendant, about how long had gone by?

     19         A.    Approximately five minutes.
     20         Q.    You mentioned that you stopped the defendant.          Tell us

     21    what happened at that point.       How did you stop the defendant?

     22         A.    At that point I backed my police vehicle up, got out
     23    of the vehicle.      I asked the defendant where he was going.           He
     24    stated to me he was going to the S53 bus.         And at that point I
     25    noticed he was very nervous, sweating, fidgety.           When I asked


                                               MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 191 of 1061 PageID #: 386
  000189                                                                            28
                             People - P.O. Anderson - Direct/Cilia

      1    him to produce identification, he refused.

      2         Q.    When you say, "he refused," how did he refuse?

      3         A.    I just -- He would not respond to me, kept his hands

      4    in his pocket.
      5         Q.    Now, you mentioned that he was sweating?

      6         A.    Yes.
      7         Q.    Could you actually see sweat on his face?

      8         A.    Yes.

      9         Q.    And what were the weather conditions that day?

    10          A.    That day the weather was cool out.        It was

     11    approximately 40, 45 degrees.

    12          Q.    This was in December?
    13          A.    Yes.
    14          Q.    When the defendant refused to produce ID, tell us what

    15     happened next.
    16          A.    At that point, my partner handcuffed the subject and
     17    we conducted a pat-and-frisk to get his identification.
     18         Q.    And tell us what happened next.
     19         A.    At that point, I felt a hard object in his back
    20     pocket, which turned out to be his wallet, and we recovered his
     21    identification from his wallet.
    22          Q.    When you say "we recovered," who specifically
    23     recovered it?
    24          A.    I recovered it.
    25          Q.    And when you say "the wallet," can you describe where


                                               MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 192 of 1061 PageID #: 387
  000190                                                                            29
                             People - P.O. Anderson - Direct/Cilia

      1    in the wallet you recovered this ID?

      2         A.    The identification was in the wallet, in the general

      3    area which at that point is when I also recovered counterfeit

      4    money.

      5         Q.    Okay.    Well, let's talk about the ID first.

      6         A.    Okay.
      7         Q.    What type of ID was this?
      8         A.    This was a driver's license.
      9         Q.    And was that the only ID that was there?
     10         A.    No.
     11         Q.    In the wallet specifically, was that the only ID that

     12    was there?
     13         A.    Correct.
     14         Q.    Okay.    And you said that there was something else

     15    within that same area?
     16         A.    Yes.
     17         Q.    What was that?
     18         A.    There was counterfeit money in there.
     19         Q.    You say counterfeit money.       Have you seen counterfeit

     20    money before?
     21         A.    Yes.
     22         Q.    Where?
     23         A.    In my scope of work, the Police Academy, and other
    24     arrests.
     25         Q.    Have you been trained in observing counterfeits?


                                               MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 193 of 1061 PageID #: 388
  000191                                                                            30
                             People - P.O. Anderson - Direct/Cilia

      1         A.    Yes.

      2         Q.    And being able to identify them?

      3         A.    Yes.
      4         Q.    And are you also -- as a layperson, are you familiar

      5    with legitimate money?

      6         A.    Yes.
      7         Q.    Why did you think that this particular money was

      8    counterfeit?
      9         A.    Just the texture of it, very papery, the serial

     10    numbers.    Several of the bills matched all the same serial

     11    numbers, no watermarks, very light.
     12         Q.    Tell us what happened next after that, Officer.
     13         A.    At that point the other units knew my location and
     14    proceeded to come and meet me.       And that's when a name check

     15    was conducted by the 120 Precinct Detective Squad, and it was

     16    found out to be that the defendant had a open I-card in Queens
     17    for an Assault 2.
     18         Q.    Okay.    And that was through a name check?
     19         A.    Yes, ma'am.
     20         Q.    Was that conducted on scene?
     21         A.    Yes.
     22         Q.    What happened next?
     23         A.    Next, we transported the defendant back to the 120
    24     Precinct Detective Squad.
    25          Q.    Did you, yourself, transport the defendant?


                                               MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 194 of 1061 PageID #: 389
  000192                                                                            31
                              People - P.O. Anderson - Direct/Cilia

      1           A.   Yes.

      2                        (Whereupon, a discussion is held off the record.}

      3           Q.   You said that you transported him back to the

      4    precinct?
      5           A.   Yes, ma'am.

      6           Q.   And once he was at the precinct, where did you place

      7    him?

      8           A.   In the 120 Precinct Detective Squad's holding room.

      9           Q.   While at the precinct, did you conduct any additional

     10    searches?
     11           A.   Yes.

     12           Q.   What did you search?
     13           A.   We removed the belts and shoelaces of all the
     14    defendants, and inside of his shoe was -- $900 in U.S. currency
     15    was found in his shoe.
     16           Q.   And when you say $900 U.S. currency, are you talking
     17    about counterfeit or legitimate?
     18           A.   Legitimate.
     19           Q.   And just going back to the scene, after going and

     20    into the wallet and finding those items that you already
     21    described, is there any other search that you conducted on the
     22    scene?
     23           A.   Well, there was also a passport and a birth
     24    certificate found in that pocket, too.
     25           Q.   Okay.    That was also found on his person?


                                               MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 195 of 1061 PageID #: 390
  000193                                                                            32
                             People - P.O. Anderson - Direct/Cilia

      1         A.    Yes.
      2         Q.    Were those in the name of the defendant?

      3         A.    Yes.
      4         Q.    Now, Officer, you mentioned that you were
      5    communicating with other police officers while you were on the

      6    scene.    Is that right?
      7         A.    Yes.
      8         Q.    How were you communicating?
      9         A.    By my department-issued radio.
     10         Q.    And are those radio runs, are they recorded?
     11         A.    Yes.
    12          Q.    Had you had an opportunity to listen to the radio run
     13    from this time period prior to coming to court today?
     14         A.    Yes.
     15         Q.    And when was the last time that you listened to it?
     16         A.    This morning.
     17                      MS. CILIA:   I'm going to ask this be deemed
     18         marked People's Exhibit Number 3 for ID.
     19                      THE COURT:   Deemed marked.
    20                        (Whereupon, People's Exhibit 3 is deemed marked
    21          for identification.)
    22                       THE COURT:   Counsel?
     23                      MS. GUASTELLA:   Yes.
     24         Q.    Officer, taking a look at what's been deemed marked
    25     People's 3 for ID, do you recognize that?


                                               MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 196 of 1061 PageID #: 391
  000194                                                                            33
                              People - P.O. Anderson - Direct/Cilia

      1           A.   Yes.

      2           Q.   What is it?

      3           A.   This is a -- the recording of the radio run from that

      4    day.
      5           Q.   How do you know that there is a recording on that,

      6    People's Exhibit Number 3?
      7           A.   This is what I listened to this morning and I

      8    initialed right here with the date.

      9           Q.   And did you listen to the whole recording?

     10           A.   Yes.

     11           Q.   Does it fairly and accurately depict what was said on

     12    December 8th --

     13           A.   Yes.
     14           Q.   -- on the radio run?
     15                Has it been altered in any way?

     16           A.   Yes.
     17           Q.   How has it been altered?
     18           A.   The caller's name and phone number has been --
     19           Q.   -- redacted?
     20           A.   Yes.
     21           Q.   Besides those redactions of a name and a phone number,
     22    is everything else on People's Exhibit Number 3 for ID, is
     23    that -- is it a fair and accurate representation of what was
     24    said?
     25           A.   Yes.


                                               MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 197 of 1061 PageID #: 392
  000195                                                                            34
                            People - P.O. Anderson - Direct/Cilia

      1                       MS. CILIA:    I'd ask to move that into evidence as

      2         People 1 s 3.

      3                       THE COURT:    Counsel?

      4                       MS. GUASTELLA:    No objection.

      5                       THE COURT:    Deemed marked People's 3 in evidence

      6         for purposes of the hearing.

      7                       (Whereupon, People's Exhibit 3 is deemed marked

      8         into evidence.)
      9                       THE COURT:    Do you want to play that now,

    10          Counsel?

    11                        MS. CILIA:    I would, just a specific portion, in

    12          a few minutes.      I am going to play from 7 minutes and

     13         40 seconds for the record into the radio run.
    14                        (Whereupon, People's Exhibit Number 3 in evidence

    15          is played.)

    16          Q.    I've stopped the recording at this time.         I just have

    17     a couple of questions regarding the recording that we just

     18    listened to.
    19                There were two things that you say that I want to ask
    20     you about.      The first one is when you said that he was acting
    21     nervous.     Can you just describe what you meant by he was acting
     22    nervous, when you said that on the radio?
     23         A.    Sure.     The defendant's hands were in his pockets; he
     24    was sweating profusely.         When he made eye contact with me, he
    25     started walking faster away from my patrol car.


                                                MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 198 of 1061 PageID #: 393
  000196                                                                               35
                           People - P.O. Anderson - Direct/Cilia

      1         Q.    And when you said that he might have cut through the

      2    woods, first of all, what woods were you referring to?

      3         A.    The wooded area from where I stopped the defendant.
      4         Q.    Why specifically did you think that?

      5         A.    Because of the mud on his shoes and that's the -- that

      6    would be the general way to get towards that scene.
      7                     MS. CILIA:    Thank you, Officer.       I have no
      8         further questions.
      9                     THE COURT:    Just, does a transcript of that
     10         recording exist?
     11                     MS. CILIA:    The DA's office has prepared a --
     12         like a draft transcript which I can give to the Court and
     13         defense counsel later today.           I would just like to go
     14         through it and make sure it's as accurate as possible.
     15                     THE COURT:    Any objections, Counsel?
     16                     MS. GUASTELLA:       No.
     17                     THE COURT:    I would ask that -- It doesn't have
     18         to be today, I am not going to render a decision today, but
     19         if there's -- We'll talk about that in a few minutes.            But
     20         I would ask that you do supply counsel and the Court with a
     21         transcript, if it exists.
     22                     MS. CILIA:    Yes.     It may be rough.    But I have
     23         also provided
     24                     THE COURT:    I am going to need -- Obviously, the
     25         tape is in evidence, so I am going to need the tape, we'll


                                                 MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 199 of 1061 PageID #: 394
  000197                                                                            36
                               People - P.O. Anderson - Cross

      1         keep the tape.     And if you have a transcript, that would be

      2         of great service.     Thank you.

      3                      MS. CILIA:   Yes, we'll definitely provide that.

      4                      No further questions.

      5                      THE COURT:   Counsel?

      6    CROSS-EXAMINATION
      7    BY MS. GUASTELLA:

      8         Q.    Officer, who was your partner on this particular day?

      9         A.    Police Officer Kimberly McKnight (phonetic).

     10         Q.    McKnight?

     11         A.    Yes.

     12         Q.    You were with her the whole day?

     13         A.    Yes.
     14         Q.    You said you were coming back from Brooklyn?

     15         A.    Yes.

     16         Q.    Were you coming back from the job or from lunch?

     17         A.    Job.
     18         Q.    And you worked at the 120, correct?

     19         A.    Yes.
     20         Q.    So, does Anti-Crime go into Brooklyn?

     21                      MS. CILIA:   Objection as to the scope of this
     22         hearing.
     23                      THE COURT:   Sustained with respect to that
     24         question.     I'll allow a moderate amount of latitude with

     25         regard to the fact that he was in Brooklyn and he works in


                                               MMS
     Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 200 of 1061 PageID #: 395
       000198                                                                              37
                                       People - P.O. Anderson - Cross

           1         Staten Island.

           2                         MS. GUASTELLA:     Thank you, Judge.

           3         Q.      Did you receive a call to go into Brooklyn to respond

           4    to a call?

           5         A.      I had to conduct police business in another borough.

           6                         THE COURT:     Did it have anything to do with this

           7         case?
           8                         THE WITNESS:     No, sir.

           9         Q.      On your way back, that's when you first heard the
          10    radio run, correct?

          11         A.      Yes, ma'am.

          12         Q.      And what exactly was in the radio run that you first

          13    heard?
          14         A.      A male shot at 195 Steuben Street.
          15         Q.      Okay.     And no description was transmitted through that

          16    radio run, correct?
          17         A.      No.
          18         Q.      So
          19                         THE COURT:     Just so we're clear, is 195 Steuben
          20         Street close to the bridge?
          21                         THE WITNESS:     Yes, sir -- your Honor.
          22                         THE COURT:     Is that why you responded to the
          23         call, because you were coming back over the bridge?
          24                         THE WITNESS:     Yes .
.~        25                         THE COURT:     And it was close to where you were?


                                                         MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 201 of 1061 PageID #: 396
  000199                                                                            38
                               People - P.O. Anderson - Cross

      1                      THE WITNESS:     Yes.

      2                      THE COURT:     Go ahead.

      3                      MS. GUASTELLA:     Thank you, Judge.

      4         Q.    So, there was no description in the radio run,

      5    correct?

      6         A.    No.
      7         Q.    And at the time you first see this individual, you

      8    didn't have a description, correct?
      9         A.    No.

     10         Q.    And, so, you didn't know at the time -- Withdrawn.

     11               So, you didn't know if you were looking for a female

     12    or male, white or black, correct?
     13         A.    No.
     14         Q.    You had no idea?
     15         A.    No.

     16         Q.    So, you 1 re saying that you saw this individual that
     17    looked nervous because he made eye contact with you?
     18         A.    Yes.
     19         Q.    Is that unusual for someone to be nervous when a
     20    police car slowly drives past them?
     21         A.    It could be.
     22         Q.    And, in fact, when you saw him, there is a bus stop
     23    for the S53, correct?
     24         A.    I'm not sure where that is.
     25         Q.    Did you see anybody else walking around near him?


                                                MMS
         Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 202 of 1061 PageID #: 397
           000200                                                                            39
                                          People - P.O. Anderson - Cross

               1          A.   No.

               2          Q.   Was it raining when you saw him?

               3          A.   No.

               4          Q.   And he was walking -- Which direction was he walking

               5    in?
               6          A.   He was walking towards the Verrazano Bridge.

               7          Q.   Okay.   You made a right off the service road onto

               8    Steuben?

               9          A.   I was on Steuben Street.       I made a right?
              10          Q.   Okay.   Let me take you back to the bridge.        You come
              11    over the bridge and you hear the radio run?
              12          A.   Okay.

              13          Q.   And you go lights and sirens
              14          A.   Yes.
              15          Q.   -- or are you slowly driving?

              16          A.   Lights and sirens.
              17          Q.   Where did you go exactly?
              18          A.   I proceeded over the Verrazano Bridge and I went onto
              19    the service road.
              20          Q.   And then you made a turn onto what street?
             21           A.   I never made a turn.
              22          Q.   Okay.   And your intention was to go to Steuben?
             23           A.   Correct.
             24           Q.   As you're on the service road, you see a person
,-,..,       25     walking towards the vehicle?


                                                        MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 203 of 1061 PageID #: 398
  000201                                                                            40
                                 People - P.O. Anderson - Cross

      1         A.    Correct.

      2         Q.    On the right side of the bridge, correct?

      3         A.    Yes.

      4         Q.    And you then -- How far past did you go before you

      5    stopped the vehicle?

      6                      THE COURT:   Just so we're clear, when you say the

      7         "right side of the bridge"

      8                      MS. GUASTELLA:   Coming from Brooklyn.

      9                      THE COURT:   The right side of the bridge as you

    10          enter Staten Island?      Coming from Brooklyn?      Is that what
    11          you meant?

    12                       MS. GUASTELLA:   Yes.

     13                      THE COURT:   I'm trying to -- because depending on
    14          where you're standing, the "right side of the bridge" could
    15          mean a lot of different things.
    16          Q.    Officer, you're driving straight on North Narrows

    17     Road, correct?
    18          A.    Correct.
    19          Q.    And this individual was to your right of the police
    20     car, right?
    21          A.    Correct.
    22          Q.    And he's walking down the sidewalk towards the
    23     vehicle?
    24          A.    Yes.
    25          Q.    And you pass him?


                                               MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 204 of 1061 PageID #: 399
  000202                                                                            41
                                  People - P.O. Anderson - Cross

      1         A.     There is no sidewalk there.

      2         Q.     Okay.   So there is woods?

      3         A.     It's a service road with no pedestrian walkways.

      4         Q.     Okay.   So, you're saying he's in the street then?

      5         A.     He's on the side road, in the grassy wooded area.

      6         Q.     The grassy wooded area.       So, and it had just rained

      7    that day?

      8         A.     I'm not sure if it rained.

      9         Q.     Would your memo book reflect if it was raining?

     10         A.     I don't believe so.     I can look at it.
     11         Q.     Were you the driver of the vehicle?

     12         A.     Yes.
     13         Q.     Can you take a look at your memo book?
     14         A.     Sure.   I don't have it notated.
     15         Q.     Okay.   So, but he was in the grassy woody part,
     16    correct?
     17         A.     Yes.
     18         Q.     Walking towards the vehicle?
     19         A.     Correct.
     20         Q.     And you pass him?
     21         A.     Yes.
     22         Q.     And then at some point you stop?
     23         A.     Yes.
     24         Q.     And did he run?
     25         A.     He started putting more effort into his walk, walking


                                               MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 205 of 1061 PageID #: 400
  000203                                                                            42
                                People - P.O. Anderson - Cross

      1    faster away from me.

      2         Q.    He didn't jog away or anything like that?

      3         A.    No.

      4         Q.    And you backed up towards him?

      5         A.    Yes.

      6         Q.    And was your vehicle in front of him when you stopped?

      7         A.    No.

      8         Q.    Where did you stop in relation to him, where he was

      9    walking?

     10         A.    I stopped a few feet before him for my safety and my

     11    partner's safety.

     12         Q.    A few feet before him?

     13         A.    Yes.

     14         Q.    And you jumped out of the car?
     15         A.    Yes.

     16         Q.    And so did your partner?
     17         A.    Yes.

     18         Q.    And guns were drawn, correct?

     19         A.    My gun was to my side.      I don't believe my partner had

     20    a gun out.
     21         Q.    So, you think you were responding to someone that may

     22    have just killed someone and you don't jump out of the car with

     23    guns drawn?       Is this your testimony?
     24                      MS. CILIA:   Objection.
     25         A.    I did have my gun out.


                                               MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 206 of 1061 PageID #: 401
 000204                                                                             43
                                 People - P.O. Anderson - Cross

      1         Q.     You did have your gun out?

      2         A.     Yes.

      3         Q.     Can you describe how you were holding your gun?

      4         A.     To the side.

      5         Q.     So, you said you were driving?

      6         A.     Yes.
      7         Q.     So, you come around the car and approach him in this

      8    wooded area?

      9         A.     Yes.

     10         Q.     Okay.    And do you know where your partner is at that

     11    point?
     12         A.     She's on the side where the defendant is.

     13         Q.     And can you describe what he looked like?        Was he full

     14    of blood?
     15         A.     No.     He was a tall individual, male black, black
     16    jeans, black jacket, with a blue Yankee hat.
     17         Q.     Any cuts or bruises on him that you could see?

     18         A.     No.
     19         Q.     Were his clothes ripped or disheveled?
     20         A.     No.
     21         Q.     And he didn't have any blood on him, correct?
     22         A.     No.
     23         Q.     You said at that point that's when you noticed muddy
     24    shoes?
    25          A.     Yes.


                                               MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 207 of 1061 PageID #: 402
  000205                                                                              44
                                 People - P.O. Anderson - Cross

      1         Q.    But he was just walking in the muddy path, correct?

      2         A.    Correct.

      3         Q.    Do you recall testifying in the grand jury in

      4    connection with this case?

      5         A.    Yes.

      6         Q.    And do you recall telling the grand jury that you

      7    stopped someone that fit the description?
      8                      MS. CILIA:    Objection.   I think we need a --

      9                      THE COURT:     Sustained as to form.

     10                      MS. CILIA:    We need a specific.      And I believe I

     11         know what she's talking about and I'd ask that she just --
     12                      MS. GUASTELLA:    Okay.

     13         Q.    Do you recall being asked this series of questions

     14                      THE COURT:    Give me a line and page.
     15                      MS. GUASTELLA:     Line 24 on page 5.
     16         Q.    "Did you, in fact, respond to that location?"
     17               And do you recall giving the answer, "No"?

     18                      "QUESTION:    Why not?
     19                      "ANSWER:     Because I ended up stopping the suspect
     20         that fit the description, didn't fit the description.           I
     21         went to the location, I saw a male who looked suspicious,
     22         and I stopped him, and that's when I stopped on Narrows
     23         North Road."
     24               Can you tell us what description it is that you were
     25    referring to in the grand jury?


                                                MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 208 of 1061 PageID #: 403
  000206                                                                                 45
                                People - P.O. Anderson - Cross

      1                     MS. CILIA:      Objection, Judge.       I think that the

      2         statement speaks for itself.             He stopped himself in the

      3         middle of the statement because he misspoke.                It's clear

      4         from the statements.

      5                     MS. GUASTELLA:         No.    He testifies in the grand

      6         jury "suspect that fit the description, didn't fit the
      7         description."     What description was he referring to?

      8                      THE WITNESS:     I clearly made an error in --

      9         Q.      You corrected yourself by saying he didn't fit the

     10    description.     What description were you referring to?
     11                     MS. CILIA:      Objection.       This is very
     12         argumentative.     I think that the statement speaks for
     13         itself.

     14                     THE COURT:      Number one, is the objection to the
     15         introduction of this statement as an attempt to impeach the
     16         witness?
     17                     MS. CILIA:      Yes.

     18                     THE COURT:      That's sustained, because there's
     19         nothing in that statement that seems to contradict what he
     20         said.
     21                     Now, if your implication is that he made
     22         reference in the grand jury to a statement, I don't know
    23          how it's introduced into the hearing, but if you want to
    24          ask whether or not there was a description, you can ask
    25          that question.


                                                   MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 209 of 1061 PageID #: 404
  000207                                                                            46
                                 People - P.O. Anderson - Cross

      1         Q.    Officer, is it your testimony today you had no

      2    description when you stopped Mr. Skrine, correct?

      3         A.    Correct.
      4         Q.    Approximately how many arrests have you made while in

      5    Anti-Crime?

      6         A.    I have approximately 108.         I don't know how many I

      7    made in Anti-Crime.
      8         Q.    Okay.     And the next step after Anti-Crime is a shield,

      9    it 1 s a detective shield, correct?

     10         A.    Correct.

     11                       MS. CILIA:   Objection.
     12                       THE COURT:   Sustained.

     13         Q.    Detective -- I'm sorry.        Officer, can you explain to

     14    us how you become a detective on NYPD?

     15                       MS. CILIA:   Objection.

     16                       THE COURT:   Sustained.
     17         Q.    Did you get a commendation in connection with this

     18    case?
     19         A.    No.
     20         Q.    Did you put in for a commendation?
     21         A.    No.
     22         Q.    At some point you ask him for his ID?
     23         A.    Yes.
     24         Q.    And he refuses to give you his identification?
     25         A.    Yes, ma'am.


                                               MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 210 of 1061 PageID #: 405
  000208                                                                              47
                                People - P.O. Anderson - Cross

      1         Q.    And at that point that 1 s when you cuffed him, correct?

      2         A.    Yes.
      3                      MS. GUASTELLA:     Nothing further, Judge.

      4                      THE COURT:     Counsel?   Counsel, any more

      5         questions?

      6                      MS. CILIA:     I just have one clarification.
      7                      You just said to Ms. Guastella that you cuffed

      8         the defendant.     Was it you or your partner?
      9                      THE WITNESS:     My partner handcuffed him.
     10                      MS. CILIA:     I just needed that clarification.
     11         Thank you.
     12                      THE COURT:     Counsel?
     13                      MS. GUASTELLA:     She cuffed him while you still
     14         had the gun on him, correct?
     15                      THE WITNESS:     Correct, my gun was out of my
     16         holster.     Correct.
     17                      MS. GUASTELLA:     In your hands?
     18                      THE WITNESS:     Yes.
     19                      MS. GUASTELLA:     Nothing further.
     20                      THE COURT:     Counsel?
     21                      MS. CILIA:     No further questions.
     22                      THE COURT:     Thank you, Officer.     You're excused.
     23                      (Witness excused.)
     24                      THE COURT:     Call your next witness.
     25                      MS. CILIA:     The People call Detective Patterson.


                                                MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 211 of 1061 PageID #: 406
  000209                                                                               48
                           People - Det. Patterson - Direct/Cilia

      1                      THE COURT:     Come on up while we're waiting for

      2         Detective Patterson.

      3                      (Whereupon, a discussion is held at the bench off

      4         the record. )

      5                      THE COURT OFFICER:          Are you ready for the

      6         witness?
      7                      THE COURT:     Yes, please.

      8    DE T.      E D WA R D      T.      PATTERSON, bearing shield

      9         number 6786, assigned to the 120 Precinct Detective Squad,

     10         having been called as a witness on behalf of the People,

     11         having been first duly sworn by the clerk of the court, was

     12         examined and testified as follows:
     13                      THE COURT CLERK:       Please state your full name and
     14         title for the record.

     15                      THE WITNESS:     Yes, sir.       Detective Edward T.

     16         Patterson, shield number 6786, of the 120 Precinct
     17         Detective Squad.
     18                      THE COURT CLERK:       Thank you.     Detective, please

     19         be seated.

     20                      THE WITNESS:     Thank you.
     21                      MS. CILIA:     May I inquire?
     22                      THE COURT:     Yes.
     23    DIRECT EXAMINATION
     24    BY MS. CILIA:
     25         Q.    Detective, approximately how long have you been with


                                                   MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 212 of 1061 PageID #: 407
 000210                                                                             49
                          People - Det. Patterson - Direct/Cilia

      1    NYPD?

      2         A.    Approximately 21 and 1/2 years.

      3         Q.    And about how many arrests have you made in your

      4    career?
      5         A.    Approximately 350.

      6         Q.    Were you assigned to investigate a homicide that

      7    occurred on December 8, 2011?
      8         A.    Yes, ma'am, I was.

      9         Q.    Did you arrest anyone
     10                       THE COURT:   Slow down just a little.

     11         Q.    Did you arrest anyone in connection with that case?
     12         A.    Yes, ma'am, I did.
     13         Q.    Who did you arrest?
     14         A.    I arrested Armand Skrine.
    15          Q.    Do you see that person in court?
    16          A.    I do.

     17         Q.    Can you please point to that person and indicate an
     18    article of clothing that that person is wearing?
     19         A.    I certainly will.     He's the gentleman, the
    20     African-American gentleman, seated at the table next to you in
     21    the brown shirt.
     22                       THE COURT:   Indicating the defendant.
    23          Q.    Now, did there come a time when you met the defendant?
    24          A.    There did.
    25          Q.    When was that?


                                               MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 213 of 1061 PageID #: 408
  000211                                                                            50
                            People - Det. Patterson - Direct/Cilia

      1          A.     Approximately 1400 hours on the 8th of December, 2011.

      2          Q.     And where was that?

      3          A.     At the 120 Precinct Detective Squad.

      4          Q.     When you met the defendant, were you alone or were you

      5    with someone?

      6          A.     I was with two partners, ma'am.

      7          Q.     And who were those partners?

      8          A.     Detectives Hoti and Cosenza, H-0-T-I, C-0-S-C-Z --

      9    C-E        C-0-S-E-N-Z-A.
     10          Q.     Where specifically in the precinct did you meet the

     11    defendant?
     12          A.     In the Detective Squad interview room.
     13          Q.     Can you just describe briefly that room?
     14          A.     Yes, ma'am.    It's a room approximately eight by ten
     15    with no windows, one door, a table --

     16                      THE COURT:     I'm sorry.   Did you say the Detective
     17          Squad interview room?
     18                      THE WITNESS:     Yes, your Honor.   I'm sorry.
     19                      THE COURT:     Thank you.   Go ahead.
     20          A.     Has a table in the middle of the room with a singular
     21    chair on one side and two or three chairs on the other.
     22          Q.     When you entered that room, tell us what happened.
     23          A.     I entered the room to speak with Mr. Skrine.        I was
     24    discussing with Det. Hoti the counterfeit money, and as we sat
     25    down, Mr. Skrine said, I picked that money up.


                                                MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 214 of 1061 PageID #: 409
  000212                                                                            51
                              People - Det. Patterson - Direct/Cilia

      1         Q.     Now, when you say that you were talking to Det. Hoti,

      2    tell us what specifically you said.

      3         A.     To Det. Hoti?

      4         Q.     Yes.

      5         A.     I said that the counterfeit money is a very

      6    interesting detail.
      7         Q.     And who did you direct that comment to?

      8         A.     To Det. Hoti.

      9         Q.     And then what's the next thing that happened?

     10         A.     Mr. Skrine made the statement I just said, that he

     11    picked up the money.

     12         Q.     What's the next thing that happens?

     13         A.     I attempted to read Mr. Skrine his Constitutional

     14    rights, commonly referred to as Miranda warnings.
     15         Q.     And what happened?
     16         A.     He had absolutely no reaction whatsoever.
     17         Q.     When you say that he had no reaction, did he say
     18    anything?
     19         A.     He was completely unresponsive.      He neither said
     20    anything nor had any facial expression.
     21         Q.     And when you said that you attempted to Mirandize him,
     22    did you attempt once or more than once?
     23         A.     I attempted eight times.
     24         Q.     With a similar response?
     25         A.     Each time, yes.


                                               MMS
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 215 of 1061 PageID #: 410
      000213                                                                            52
                              People - Oet. Patterson - Direct/Cilia

          1         Q.    Now, Detective, I am going to direct your attention to

          2    January 6th of 2012, at approximately 1:45 p.m.           Did you

          3    conduct an identification procedure at that time?

          4         A.    I did.

          5         Q.    Was that inside the precinct or at another location?

          6         A.    At another location.

          7         Q.    What type of identification procedure was that?

          8         A.    I conducted a photo array.

          9         Q.    What is a photo array?

         10         A.    A photo array is an identification procedure

         11    consisting of six computer-generated photographs that are

         12    shown -- with individuals of similar description to the subject

~        13    that is shown to a witness.
         14         Q.    And how many photos are in a photo array?
         15         A.    There are six.
         16         Q.    Was there a subject in this photo array?

         17         A.    There was.

         18         Q.    Who was it?
         19         A.    Armand Skrine.
         20                     MS. CILIA:    I would like to have this deemed
         21         marked People's Exhibit Number 4 for ID.
         22                     THE COURT:    Before we do that, let me see.
         23                     Do you have a different one than this?
         24                     MS. CILIA:    This is the original.
         25                     THE COURT:    I understand that.     But for reasons


                                                   MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 216 of 1061 PageID #: 411
  000214                                                                            53
                          People - Det. Patterson - Direct/Cilia

      1         that I'd rather not go into on the record at this point, do

      2         we have a different one?

      3                      MS. CILIA:   Sure.   I have a black-and-white one.

      4                      THE COURT:   No, we'll use this then.

      5                      Just so the record is clear, what's on

      6                      MS. CILIA:   I'm sorry, your Honor.      I do have a

      7         color one.     It's completely blank.

      8                      THE COURT:   Just so the record is clear, there

      9         is -- the issue the Court has with this is there are --

     10                      MS. CILIA:   Redactions?
     11                      THE COURT:   -- stickies on this one that has what

    12          looks like a black Crayon mark on it.         That's covering what

     13         the Court knows is a signature.         In light of other things

     14         involved in this case, I'd rather not use this document,

     15         because I'm going to have to give this to defense counsel
     16         and defendant's going to have an opportunity to scrutinize
     17         this during the hearing to see whether or not it meets the

     18         foundational requirements that you're going to want to try
     19         to put forward.
     20                      There is a sticky on the back and there is a
    21          sticky on the front.      If there is no objection, Counsel,
    22          I'd     there is a copy of this that has no writing on it.
     23         The one that was presented has where it says, Photo
    24          Selected, it says, Number One.       That is not on this copy.
    25          And where it says, Identification Made, there is a


                                               MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 217 of 1061 PageID #: 412
  000215                                                                            54
                          People - Det. Patterson - Direct/Cilia

      1         checkmark on -- in the box, Yes.         And also there is a date,

      2         1/6/12.

      3                     With those stipulations, Counsel, just for

      4         purposes of the hearing, can we utilize the copy?

      5                     MS. GUASTELLA:       That's fine, Judge.

      6                     THE COURT:    No objection?

      7                     MS. GUASTELLA:       No.

      8                     THE COURT:    Hand this back.

      9                     Counsel, utilize the copy for purposes of the

     10         hearing at this point.

     11                     MS. CILIA:    That's fine, your Honor.

     12                     THE COURT:    With those stipulations that the

     13         items that are written --

     14                     There is also, just so we're clear, there's a

     15         signature on that document that's been redacted.

     16                     MS. CILIA:    Yes.
     17                     THE COURT:    Which is why I've proposed to use the

     18         other copy.

     19                     With no objection, let's go forward.

     20                     (Whereupon, People's Exhibit 4 is deemed marked
     21         for identification.)
     22         Q.    Detective, taking a look at what's been deemed marked
     23    People's 4 for ID, can you take a look at that
     24                     THE COURT:    Just so we're clear, did you get a
     25         copy of this photo?


                                                 MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 218 of 1061 PageID #: 413
  000216                                                                            55
                          People - Det. Patterson - Direct/Cilia

      1                    MS. GUASTELLA:        I may have.

      2                    MS. CILIA:     There is a copy.

      3                    THE COURT:     In color or in black-and-white?

      4                     MS. CILIA:    No, it was black-and-white.

      5                     THE COURT:    Show counsel the color copy, please.

      6                    And the black-and-white copy has those markings

      7         that I indicated were on the original?         Counsel, so we're

      8         clear?
      9                     MS. CILIA:    Yes.

     10                     MS. GUASTELLA:       Just for the record, I did

     11         actually see the original, so I know it's the same.
     12                     THE COURT:    Right, with the redaction I would

     13         assume.
     14                     MS. GUASTELLA:       Yes.
     15                     THE COURT:    But you saw the 1, the date, the

    16          identification made checkmark?
     17                     MS. GUASTELLA:       Yes.
     18                     MS. CILIA:    Yes.     And what I turned over to

     19         defense counsel was the exact copy.
    20                      THE COURT:    I just want the record to be clear
     21         that counsel has all that information
     22                     MS. CILIA:    Yes.
    23                      THE COURT:    -- and we're simply using this
    24          non-black-and-white -- color reproduction of the purported
    25          photo array simply because we don't want to have that


                                                 MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 219 of 1061 PageID #: 414
 000217                                                                             56
                          People - Det. Patterson - Direct/Cilia

      1         redaction involved.

      2                       MS. CILIA:     Thank you.

      3                       THE   COURT:   Counsel?

      4         Q.    Taking a look at People's 4 for ID, do you recognize

      5    this?

      6         A.    Yes, ma'am, I do.

      7         Q.    What do you recognize it to be?

      8         A.    I recognize it to be a color photocopy of a photo

      9    array that I conducted on 6, January, 2012.

     10         Q.    When you say a copy of the photo array, is it an exact

     11    copy?
     12         A.    It is.

     13         Q.    Okay.     And was this the exact copy of the photo array
     14    that you showed to the witness on January 6th of 2012?
     15         A.    It is.

     16         Q.    Has it been altered in any way?
     17         A.    It has not.
     18                       MS. CILIA:     I'd ask that this be moved into

     19         evidence as People's 4.
     20                       MS. GUASTELLA:     No objection, Judge.
     21                       THE COURT:     So moved.    Deemed marked for purposes
     22         of the hearing.
     23                       (Whereupon, People's Exhibit 4 is deemed marked
     24         into evidence.)
    25          Q.    Detective, did you create this photo array?


                                                 MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 220 of 1061 PageID #: 415
  000218                                                                            57
                          People - Det. Patterson - Direct/Cilia

      1         A.    I did.

      2         Q.    How did you do that?

      3         A.    I utilized the Photo Manager database.         I entered

      4    Mr. Skrine's NYSID number into the computer.          The computer

      5    takes the information it knows regarding descriptives from that

      6    NYSID number and it locates five similarly descriptive

      7    individuals and places them in the photo array.

      8         Q.    Now, in what position is the defendant?

      9         A.    Mr. Skrine is in position number 1.

     10         Q.    Did you choose this spot?

     11         A.    I did not.    There is a feature in the computer program

     12    that allows you to select insert subject random.

     13         Q.    Do you have a formal procedure with respect to showing
     14    photo arrays?

     15         A.    We do, in fact.

     16         Q.    Can you explain what that is?
     17         A.    Yes, ma'am.    There is a preprinted instruction form
     18    that we read to the witnesses prior to the showing of the photo

     19    array.

     20         Q.    And is that committed to writing?
     21         A.    It is, yes.
     22                     MS. CILIA:    I'm now holding in my hand a copy of
     23         an original that I'd ask to be deemed marked People's 5 for
     24         ID.
     25                     THE COURT:    Can I see it?


                                               MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 221 of 1061 PageID #: 416
  000219                                                                            58
                             People - Det. Patterson - Direct/Cilia

      1                       MS. CILIA:   Sure.   I also have the original if

      2         the Court would like to take a look at it.

      3                       THE COURT:   No, this is fine.    Show that to

      4         defense counsel.

      5                       MS. GUASTELLA:   Let me see this one, I can't find

      6         mine now.

      7                       (Whereupon, People's Exhibit 5 is deemed marked

      8         for identification.)
      9                       THE COURT:   Counsel.
     10         Q.    Detective, taking a look at what's been premarked --
     11    I'm sorry -- deemed marked People's 5 for ID, do you recognize

     12    this?
     13         A.    I do.
     14         Q.    What is it?
     15         A.    It is a copy of the Photo Array Preview of the
     16    Instructions Report.
     17         Q.    Specific to any particular identification procedure?
     18         A.    Yes.     Specific to the one I had conducted on 6,
     19    January, 2012.
     20         Q.    When you say it's a copy, is it an exact copy?
     21         A.    It is, except for some redaction marks.
     22         Q.    And what specifically is redacted out?
     23         A.    The location of the photo array and the witness's
     24    signature and name.
     25         Q.    And besides those redactions, does this, People's


                                               MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 222 of 1061 PageID #: 417
  000220                                                                            59
                          People - Det. Patterson - Direct/Cilia

      1    Exhibit Number 5 for ID, fairly and accurately depict the

      2    instructions that you used on January 6th of 2012?

      3         A.    It does.

      4                     MS. CILIA:    I'd ask that this be moved into

      5         evidence as People's Exhibit Number 5.

      6                     MS. GUASTELLA:    No objection.

      7                     THE COURT:    So moved.    Deemed marked 5 in

      8         evidence for purposes of the hearing.

      9                     (Whereupon, People's Exhibit 5 is deemed marked

     10         into evidence.)
     11         Q.    Taking a look at People 1 s 5, can you please

     12    demonstrate to the Court the way in which you showed the photo

     13    array to the witness?
     14         A.    Yes, ma'am.    I read the instructions on the report.

     15         Q.    Why don't you read those for the Court.

     16         A.    Yes, I will.

     17               As part of an ongoing investigation into a crime that

     18    occurred at 195 Steuben Street on December the 8th, 2011 --
     19    Although I didn't write that, I read that aloud at the time
     20    you are about to view a photo array.         It consists of six
     21    photographs of individuals.       Each photograph has a number
     22    underneath the photograph
     23                     THE COURT:    Just so that we're clear, the
     24         195 Steuben Street is not part of any particular form.
     25         It's actually blank on the form.        You correlated that form


                                               MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 223 of 1061 PageID #: 418
  000221                                                                             60
                          People - Det. Patterson - Direct/Cilia

      1         to the case you were actually investigating?

      2                     THE WITNESS:     I did, your Honor, yes.

      3                     THE COURT:     That's where that comes from?

      4                     THE WITNESS:    That's correct.

      5                     THE COURT:     And it's blank on what you're

      6         actually reading?
      7                     THE WITNESS:     That is correct.

      8                     THE COURT:     Go ahead.

      9         A.    Take whatever time you want to view the photo array.

     10    The perpetrator may or may not be among the pictures.            Do not

     11    assume that I know who the perpetrator may be.

     12               Do not ask me or anyone else in the room for guidance

     13    during the procedure.      Individuals presented in the photo array

     14    may not appear exactly as they did on the date of the incident

     15    because features such as head and facial hair are subject to
     16    change.
     17               Photographs may not always depict the true complexion

     18    of a person; it may be lighter or darker than shown in the

     19    photo.
     20               Pay no attention to any markings that may appear on
     21    the photos or any difference in the type or style of the
     22    photographs.
     23               Do not discuss with other witnesses what you see, say,
     24    or do during this procedure.
     25               After you have had an opportunity to view the photo


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 224 of 1061 PageID #: 419
  000222                                                                             61
                            People - Det. Patterson - Direct/Cilia

      1    array, I will ask you the following three questions:

      2                1.   Do you recognize anyone?

      3                2.   If you do, what is the number of the person you

      4    recognize?

      5                And, 3, from where do you recognize the person?

      6                I may ask you follow-up questions.

      7           Q.   Okay.     And then what happened next?

      8           A.   I placed the photo array in a manila folder and I slid

      9    it across the table to the witness.

     10           Q.   And what did the witness do?

     11           A.   The witness opened the manila folder, looked at the

     12    photo array, and pointed his index finger at position number 1.

     13           Q.   And did the witness say anything?

     14           A.   He did.     He said, That's the man I met at David's

     15    after Thanksgiving.
     16           Q.   Did the witness mark the photo array in evidence as
     17    People's 4 or --
     18                Did the witness mark the actual photo array in any

     19    way?
     20           A.   He did.     He signed underneath photograph number 1.
     21           Q.   I want to go back just for a moment to when the
     22    defendant made this statement about the counterfeit money.               You
     23    said that you were talking to Det. Hoti at that time?
     24           A.   That is correct.
     25           Q.   Where specifically were you?


                                               MMS
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 225 of 1061 PageID #: 420
      000223                                                                              62
                            People - Det. Patterson - Direct/Cilia-Cross

          1         A.    We were entering the room.

          2         Q.    You were entering the room.          So, were you in the

          3    process of opening the door at that time?
          4         A.    Detectives Hoti and Cosenza were corning through the

          5    door behind me.          I was stepping past the chair to pick a chair

          6    to sit in.
          7         Q.    Where was the defendant?
          8         A.    He was seated in the interview room.
          9         Q.    Okay.     And so, were you standing or seated when you

         10    made this conversation with Det. Hoti?

         11                       THE COURT:     I think we can just move on.
         12                       MS. CILIA:     Okay.    Thank you, Detective.   I have
         13         no further questions.
         14    CROSS-EXAMINATION

         15    BY MS. GUASTELLA:

         16         Q.    Detective, the photo array was conducted January 6,
         17    2012?

         18         A.    That is correct.
         19         Q.    And the person viewing the photo array, the purpose of
         20    that -- Withdrawn.         This person was not a eyewitness to the
         21    homicide, correct?
         22                       MS. CILIA:     Objection.
         23                       THE COURT:     Is that an objection?
         24                       MS.   CILIA:   Yes.
~        25                       THE COURT:     I thought that might be.    Sustained.


                                                        MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 226 of 1061 PageID #: 421
 000224                                                                             63
                              People - Det. Patterson - Cross

      1         Q.     This witness told you that he met Mr. Skrine after

      2    Thanksgiving?

      3         A.     That is correct.

      4         Q.     What time did you get to the precinct on 12/8?

      5         A.     I was performing a day tour that day.

      6         Q.     Do you recall what time you first met Mr. Skrine?

      7         A.     Around 1400 hours, ma'am.

      8         Q.     That's about 2:00?

      9         A.     Yes, ma'am.

    10          Q.     And he had been placed in a room, correct?

    11          A.     That is correct.
    12          Q.     And the door was closed?
    13          A.     It was, yes.
    14          Q.     Do you know how long he was in the room prior to you

    15     arriving?

    16          A.     I do not.
    17          Q.     And you had the opportunity to speak to other
    18     detectives prior to speaking to Mr. Skrine, correct?
    19          A.     Yes.
    20          Q.     And that was Det. Hoti and Cosenza?
    21          A.     Correct.
    22          Q.     And did they tell you that they heard noises coming
    23     out of the squad room -- I'm sorry -- out of the room that
    24     Mr. Skrine was sitting in?
    25          A.     Not that I recall.


                                               MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 227 of 1061 PageID #: 422
  000225                                                                            64
                               People - Det. Patterson - Cross

      1         Q.    And when you entered the room, was he talking to

      2    himself?

      3         A.    I do not believe so.

      4         Q.    You stated that he was -- Withdrawn.

      5               Approximately how long were you in the room before you

      6    attempted to read him Miranda?
      7         A.    Less than 30 seconds.

      8         Q.    And then you said you tried eight more times, correct?

      9         A.    That is correct.

     10         Q.    And about how long of a period of time was this?

     11         A.    Over a period of approximately eight to ten hours.

     12         Q.    And during those eight to ten hours, he maintained

     13    he was always unresponsive, correct?
     14         A.    That is correct.
     15         Q.    He seemed kind of out of it?
    16                       MS. CILIA:   Objection.    That's very vague.
     17                      THE COURT:   Rephrase the question.

     18         Q.    Did he seem to know what was going on?
     19                      THE COURT:   Did he appear to know?

     20         A.    Yes.
     21         Q.    And at any time between the eight to ten hours, did
    22     you ever hear him talking to himself or anyone else that was
    23     clearly not in the room?
    24          A.    I did not.
    25          Q.    What did you mean by he had no facial expressions?


                                               MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 228 of 1061 PageID #: 423
  000226                                                                            65
                                People - Det. Patterson - Cross

      1         A.    When I read the Miranda warnings, he, again, did not

      2    answer, and his expression was, I believe, deadpan.

      3         Q.    And at that point -- At some point you told him he was

      4    being arrested for a homicide, correct?

      5         A.    Yes, we did.

      6         Q.    And he continued to remain deadpan, as you said?

      7         A.    That is correct.

      8         Q.    Just one other question:       Going back to the oral

      9    statement, you said as you're walking into the room he just

    10     blurted out, I picked that money up?
    11          A.    That's correct.
    12          Q.    Was it directed at you?

    13          A.    I don't know whom it was directed at.

    14          Q.    Was he facing you when he said that?
    15          A.    He was sitting in the chair facing the table.          We were

     16    entering through the doorway.       So, roughly.
     17         Q.    He was sitting at the table.       The table doesn't face

     18    the door, correct?
    19          A.    No, it does not.
    20          Q.    So, when you walked in, was he looking straight at the
     21    wall?
     22         A.    He was.
     23         Q.    And that's when he made that statement, correct?
    24          A.    That is correct.
    25                      MS. GUASTELLA:    Judge, I have nothing further.


                                               MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 229 of 1061 PageID #: 424
  000227                                                                            66
                                           Proceedings

      1                     THE COURT:     Counsel?
      2                     MS. CILIA:     Nothing further.
      3                     THE COURT:     Thank you, Detective.     You're

      4         excused.
      5                     Call your next witness, please.

      6                     THE WITNESS:     Thank you, your Honor.
      7                     (Witness excused.)
      8                     MS. CILIA:     The People rest at this time.

      9                     THE COURT:     Call your first witness, please.

     10                     MS. GUASTELLA:     Defense rests, Judge.
     11                     THE COURT:     Come on up.
     12                     (Whereupon, a discussion is held at the bench off
     13         the record. )

     14                     THE COURT:     Court's ordering the minutes.
     15                     Counsel, do you want the minutes pursuant to
     16         18-B?
     17                     MS. GUASTELLA:     Yes.
     18                     THE COURT:     So ordered.
     19                     We just had a conference at which case defense
     20         counsel indicated they want to adjourn this case till the
     21         17th of July.     Is that correct?
     22                     MS. GUASTELLA:     Yes, Judge.
     23                     THE COURT:     Because you have vacation, et cetera?
     24                     MS. GUASTELLA:     Right.
     25                     THE COURT:     And you want to have whatever


                                               MMS
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 230 of 1061 PageID #: 425
      000228                                                                            67
                                              Proceedings

          1         submissions in support of your position with respect to the

          2         hearing in by the 12th of July; is that correct?

          3                    MS. CILIA:     Yes.
          4                     THE COURT:    Counsel, you'll have whatever

          5         memorandum you want to submit to the Court also in by the

          6         12th?
          7                    MS. CILIA:     Yes.
          8                    THE COURT:     And I'll render a decision on the

          9         17th.

        10                      Sarne bail conditions.     July 17th.

        11                     MS. CILIA:     Thank you.

        12                     THE COURT CLERK:       Take charge.
        13                      (Defendant remanded.}
        14     *     *     *     *     *      *    *     *     *     *     *
                     I hereby certify that the foregoing is a true and
        15     accurate transcript of the above proceedings to the best of my
               knowledge, skill, and ability.
        16
                      (Certification valid when signed in blue ink.}
         17
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                                                     MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 231 of 1061 PageID #: 426
  000229



           SUPREME COURT OF THE STATE OF NEW YORK
           RICHMOND COUNTY - CRIMINAL TERM-PART 5
           ---------------------------------------x
           THE PEOPLE OF THE STATE OF NEW YORK,

                       - against -                      :Indict. No.
                                                        :454/2011

           ARMAND SKRINE,
                                      Defendant.
           ---------------------------------------x
           VOIR DIRE
                                      County Courthouse
                                      18 Richmond Terrace
                                      Staten Island, New York
                                      February 26, 27, 2014



           B E F O R E :

                       HONORABLE STEPHEN ROONEY
                                      Justice, Supreme Court.




           A P P E A R A N C E S :

                       MICHAELE. MC MAHON, ESQ.,
                           District Attorney - Richmond County
                           Appearing for the People
                       BY: JENNIFER CILIA and
                           KYLE REEVES, ESQS.
                           Assistant District Attorneys


                       MARIA GUASTELLA, ESQ.,
                            For the Defendant




                                                      SUSAN MAYDAN
                                                 OFFICIAL COURT REPORTER
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 232 of 1061 PageID #: 427
  000230
                                                                         2
                                 Proceedings

     1                     THE CLERK:    Calendar Number 1, Armand Skrine from

     2         the back, Indictment 454 of 2011.

     3                     Appearances, counsel.

     4                     MS. CILIA:    Jennifer Cilia and Kyle Reeves for

     5         the People.

     6                     MS. GUASTELLA:    Maria Guastella on behalf of

     7        Mr. Skrine.

     8                     Good morning, your Honor.

     9                     THE COURT:    Good morning.

    10                     All right, Mr. Skrine is present.        Anything for

    11        the record?

    12                     MS. GUASTELLA:    Judge, just a couple of quick

    13         issues.

    14                     I am asking at this point, since we are about to

    15        pick a jury, for the unredacted DD-S's.          I received

    16        numerous amounts of DD-S's which are redacted.            I know I

    17         received a witness list with civilian names on them.            I am

    18         not sure which civilian witnesses pertain to which DD-S's,

    19         and if all the witnesses in the DD-S's are going to be

    20         called at this trial I may want to call one two of those

    21        witnesses.

    22                     MS. CILIA:    I spoke to Ms. Guastella this morning

    23         about this when she asked me.       What I can do is turn over

    24         the index sheet which has the names of each of the

    25        witnesses.     She already has the DD-5.       So it would indicate
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 233 of 1061 PageID #: 428
      000231
                                                                             3
                                      Proceedings


         l        which witness goes with which particular DD-5.

         2                    THE COURT:     Is that all right?

         3                    MS. GUASTELLA:        Yeah.   Or they can just give me

         4        the redacted DD-S's.       I don't see what the big deal is.          We

         5        can photocopy them; take me five minutes.

         6                    THE COURT:    Whatever you want.

         7                    MS. CILIA:     The only things that are redacted

         8        from the DD-S's are the names, the addresses and the phone

         9        numbers of each witness.          But the index has the name of

        10        the -- the number of the DD-5 and the name of the witness.

        11                    THE COURT:     So you are saying in effect the names


-       12

        13
                  are unredacted.

                              MS. CILIA:     Yes.     And obviously I will continue

        14        to redact the address and the phone number from the DD-5

        15        itself, so it would just be easier, unless the Court wants

        16        us to do it the other way.          But it would be easier for --

        17                    THE COURT:     I have no preference.      I think the

        18        defense is entitled to the names but apparently they have

        19        it.   Why don't you look over whatever they have given you.

        20                    MS. GUASTELLA:        What I have is I don't have the

        21         names that pertain -- she is going to give me an index I

        22        guess of names and I am going to match them up to a DD-5.

        23         I think it would be a lot easier if I just have the DD-S's.

        24                    THE COURT:     Take a look at what they give you.

        25         Either way is good for me.         I will make sure you get back
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 234 of 1061 PageID #: 429
      000232
                                                                              4
                                      Proceedings


-        1        on the record, or you make sure we get back on the record

         2        before you open.      I don't think that should slow us down in

         3        terms of jury selection.

         4                    MS. CILIA:     The index though does have a number

         5        of the DD-5 right next to it.           So number one would say

         6        interview with witness so and so, and then the number.

         7                    MS. GUASTELLA:        Of the DD-5.

         8                    MS. CILIA:     Yes.

         9                    MS. GUASTELLA:        I will try it that way.

        10                    MS. CILIA:     Just also for the record -- I am

        11        sorry.

        12                    MS. GUASTELLA:        No,   I just -- Judge, also

        13        throughout my packet I do not see an E-Justice search for

        14        the deceased.

        15                    THE COURT:     I don't know what that means.

        16                    MS. GUASTELLA:        A rap sheet or a search.

        17        Criminal justice search.

        18                    MS. CILIA:     We wouldn't turn over an E-Justice or

        19        rap sheet for the deceased.

        20                    MS. GUASTELLA:        I am entitled to know if the

        21        victim has been convicted.

        22                    MS. CILIA:     No, she is not.

                              THE COURT:     I am not sure you are.       May I ask

-
        23

        24        of course, you don't necessarily have to answer this.

        25        What's your defense here?
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 235 of 1061 PageID #: 430
      000233
                                                                             5
                                      Proceedings


         1                     MS. GUASTELLA:    Judge, at this time I am not

         2         going to answer that.

         3                     THE COURT:    Pardon?

         4                     MS. GUASTELLA:    I am not going to answer that at

         5        this time.

         6                     THE COURT:    Okay.     I can't see at this point

         7        anyway what the relevance of the defendant's NYSID history,

         8        if he had one, would be, but I will certainly hear you

         9        further if that becomes an issue.

        10                     MS. GUASTELLA:    Okay.

        11                     The other issue I have is I did get to look over


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        13
                  the photos that were given to me.

                  photos.    Photos of the deceased.
                                                             They are black and white

                                                           Some of them are very,       I

        14        guess for lack of a better term, gruesome in nature, and I

        15        would ask that the People be precluded from displaying them

        16        to the jury.

        17                     THE COURT:    I don't know which ones you intend to

        18        use.    What are you talking about; autopsy photos?

        19                     MS. CILIA:    First of all,    just for clarification,

        20        we did turn over a disc of the color photos, so we turn

        21        over hard copies of black and white photos, one per page.

        22        We also turned over the color photos onto a disc is what

        23        Miss Guastella

        24                     THE COURT:    Do you know which ones you intend to

        25        use at trial?
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 236 of 1061 PageID #: 431
      000234
                                                                             6
                                      Proceedings


         1                     MR. REEVES:    We don't right now, but if

         2        Miss Guastella wants to tell us which ones she objects to.

         3                    MS. GUASTELLA:     Maybe we could have a motion in

         4         limine or side bar before they introduce the photos.            There

         5        are photos of the deceased with his -- unfortunately, his

         6        brains hanging out.        I don't know if the People plan on

         7        not       they are not relevant and are only going to inflame

         8        the jury.     I don't know if they plan on introducing those.

         9         I don't see how they are relevant.        But we could address it

        10        as they are about to put them in.

        11                     THE COURT:    After?

        12                    MS. GUASTELLA:     After we pick a jury they could

        13        tell us which ones they plan on using.

        14                     THE COURT:    That is fine.    We can do it.

        15                    What is our plan?       I think I might have committed

        16        myself.     Did I say we would pick a jury this week and start

        17        testimony Monday?      Did I say that?

        18                     MR. REEVES:    Yes.

        19                     THE COURT:    Everybody agreed to that.

        20                     MS. GUASTELLA:    Yes.

        21                     THE COURT:    All right.    Then we will have ample

        22         time after jury selection before openings to address

        23         evidentiary issues.       If you want to talk about photos at

-       24         that point, that's fine.       If you wanted to wait until they

        25         are offered and have a side bar, we can do it this way.
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 237 of 1061 PageID #: 432
      000235
                                                                             7
                                      Proceedings


         1                    There is ample case law on photos, gruesome or

         2        otherwise, so we should have sufficient guidance.

         3                    Anything else?

         4                    MS. GUASTELLA:     Not at this time, Judge.

         5                    THE COURT:     People?

         6                    MS. CILIA:    We turned over to defense counsel a

         7        copy of a 911 call, also Kodachrome from the autopsy and

         8        also color photos from the DNA report I believe that we

         9         just received.

        10                    THE COURT:    Kodachrome.     What is that?

        11                    MR. REEVES:     Pictures taken during the autopsy.


-       12

        13
                              THE COURT:    Okay.      I had reserved decision on the

                  last application by the People in terms of Sandoval.             Do

        14        you want to discuss that now or do you want me to continue

        15        to reserve decision?

        16                    MS. GUASTELLA:     Judge, I inquired as to my client

        17        what the situation was with that.         He tells me he was in a

        18        dorm-like setting with 50 or 60 other inmates playing chess

        19        with other individuals.       The chess piece that Mr. Skrine

        20        was in possession of is what I believe the item was

        21        recovered from.      So that item was recovered from a dorm

        22        area belonging to a chess set that 50 or 60 people at any

        23        given time have access to.

-       24                    THE COURT:    Was he arrested in connection with

        25        that?
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 238 of 1061 PageID #: 433
  000236
                                                                         8
                                   Proceedings

     1                    MS. GUASTELLA:      No, Judge, not even -- he tells

     2        me not even a ticket was issued.

     3                    THE COURT:     My inclination is to Sandoval that

     4        out at this point, so that is what I will do.           If things

     5        change I will let you know.          Sandoval is not carved in

     6        stone; things can change during the course of trial.             But

     7         for now I will rule it out.

     8                    Anything else?

     9                    Okay.    Anthony, shall we get a panel over here?

    10                    I am sticking with March 14th as the outside

    11        date.

    12                    MR. REEVES:     Yes, your Honor.

    13                    THE COURT:     Did either of you or any of you hear

    14        about a snowstorm this weekend?

    15                    MS. GUASTELLA:      Flurries.

    16                    I am sorry, I do have one other name for the

    17        witness list.       Carmen Skrine.

    18                    THE COURT:     First name?

    19                    MS. GUASTELLA:      Carmen, C-A-R-M-E-N.

    20                    THE COURT:     C-A-R-M-E-N.

    21                    MS. GUASTELLA:      Uh-Hurn.

    22                    THE COURT:     And last name Skrine.

    23                    MS. GUASTELLA:      Yes.

    24                     (Short pause in proceedings.)

    25                                  o0o
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 239 of 1061 PageID #: 434
      000237
                                                                             9
                                    Jury Selection


-        1                     (Prospective jurors enter courtroom.)

         2                    THE CLERK:     Will everyone seated please stand,

         3        raise your right hand.

         4                     (Prospective jury panel sworn.)

         5                    THE COURT:     Good morning.    Welcome to Supreme

         6        Court Richmond County.       I am sorry some of you are standing

         7        at the moment.      I anticipate seats will open up shortly.

         8                    We are about to begin jury selection in a

         9        criminal case.     This case is entitled the People of the

        10        State of New York against Armand Skrine.          Mr. Skrine is

        11         known as the defendant in the case.


-       12

        13
                              The indictment in this matter involves charges of

                  murder in the second degree, criminal possession of a

        14        weapon in the second degree and third degrees, and criminal

        15        possession of a forged instrument in the first degree, and

        16        the trial is the process by which we will determine if any

        17        of those charges are proven by sufficient evidence.            And I

        18        will talk to you about that shortly.

        19                    The first thing I want to do is give you an idea

        20        of our schedule.      We anticipate picking a jury this week.

        21        The process takes a little bit of time; I anticipate today

        22        and tomorrow.     After that we will go over until Monday.

        23        This upcoming Monday.       We will begin the trial on Monday.

-       24        That would be Monday, the 3rd of March.          And we will

        25        continue from that point until we are finished.
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 240 of 1061 PageID #: 435
      000238
                                                                            10
                                    Jury Selection


         1                    The lawyers and I have discussed this, and we

         2         think it's about a week and-a-half trial after we get

         3        started.    So that would mean the case would go to the

         4         jury -- that is, the proof would be finished, the case

         5        would go to the jury so the jury could begin deliberating

         6        in an effort to reach a final unanimous verdict or

         7        verdict -- by March 12th.       That would be a week from this

         8        upcoming Wednesday.      I am going to add a couple of days

         9        into the schedule in case something unforeseen delays us,

        10        so what I am going to say to you is the case will go to the

        11         jury -- that is, the proof will be closed, the jury will

        12        begin deliberating -- no later than March 14.           That would

        13        involve next week and the week after, probably March 12,

        14        but it could be as late as March 14.          So keep that in mind.

        15        That is the anticipated duration of this trial.

        16                     In terms of our day-to-day operations, we

        17        generally work from 9:30 to 4:30 with our jurors.              We take

        18        an hour off for lunch, usually between 1:00 and 2:00.              I

        19         try to avoid going past 4:30.       Occasionally we do.        If that

        20        happens, it won't be long past 4:30, and if that happens I

        21        will give the jury as much advance notice of that as I can.

        22        But generally during the trial itself you can count on

        23        being out of the courthouse by 4:30.

-       24                    So that is the anticipated day-to-day schedule of

        25         this and every trial that is conducted in this courtroom.
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 241 of 1061 PageID #: 436
      000239
                                                                            11
                                    Jury Selection


-        1         I appreciate the fact all of you have come down here in

         2         response to the Commissioner of Jurors' summons.           We cannot

         3         try cases without citizens who are willing to sit as

         4         jurors, but I recognize the schedule I have outlined may

         5        pose problems for some of you.

         6                    At this point, when it comes to excusing people

         7        immediately,    I am permitted to consider three categories.

         8        The first category is health problems, the second category

         9        is pressing business obligations.         I emphasize the word

        10         "pressing."    And I have to say that if you work for a large

        11        entity, a large corporation, the City, the State, something


-       12

        13
                  of that sort, it's difficult for me to let you go

                  immediately on that basis.        Not to say I won't listen to

        14        you, but keep that in mind.

        15                    The third category is pressing personal reasons.

        16        Obviously you will be the judge of what they are or if you

        17        have any such reasons.

        18                    So I hope you can stay with us through the

        19        selection process during which I and the lawyers will be

        20        asking questions of you in an effort to determine if you

        21        can be fair, but if you think you fit into one of those

        22         three categories I just mentioned and you would like to

        23        speak to me and the lawyers immediately about being excused

        24         from this case, would you raise your hands, please.

        25                     ... Okay.   I am going to ask those of you who have
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 242 of 1061 PageID #: 437
      000240
                                                                            12
                                    Jury Selection


-        1         raised your hands to form a line at the corner of the rail

         2        where the officer is, and we will speak to you one at a

         3        time.

         4                     (The following take place at side bar, outside

         5        the presence of the jurors.)

         6                     THE COURT:    For the record, we are at a side bar

         7        in the courtroom.      We can start.

         8                     (A prospective juror approaches side bar.)

         9                     THE CLERK:    State your name for the record.

        10                     A PROSPECTIVE JUROR:      John Grasso, G-R-A-S-S-O.

        11                     THE COURT:    What's the problem, sir?


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        13
                               A PROSPECTIVE JUROR:      The issue that I have is we

                   just have some long-awaited doctors appointments coming up

        14        to determine whether my son -- the degree of autism that he

        15        has.    We have been waiting awhile for these appointments. I

        16        have one scheduled for tomorrow and I have another one

        17        scheduled for next week which would involve myself, my wife

        18        and my son.

        19                     THE COURT:    That would take you out of commission

        20         for the day?

        21                     A PROSPECTIVE JUROR:      We have four-hour sessions

        22        set aside.

        23                     THE COURT:    Counsel?

        24                     MS. GUASTELLA:    No objection.

        25                     MS. CILIA:    Consent.
         Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 243 of 1061 PageID #: 438
           000241
                                                                                 13
                                         Jury Selection

--   -        1                     THE COURT:    Consent.

              2                     MR. REEVES:    Yes.

              3                     THE COURT:    You are excused.     Thank you.     I think

              4         you go back to Central Jury.

              5                     (Mr. Grasso leaves and the next prospective juror

              6        approaches sidebar.)

              7                     THE CLERK:    State your name for the record.

              8                     A PROSPECTIVE JUROR:      William Romero,

              9        R-O-M-E-R-O.

             10                     THE COURT:    Yes, sir.

             11                     A PROSPECTIVE JUROR:      Yes.   I have a heart

             12        condition.     I have a monitor placed on my heart.          I may be
--

             13        going for an operation maybe the next couple of weeks

             14        probably.

             15                     THE COURT:    Is this the kind of thing that would

             16        make it difficult for you to sit as a juror?

             17                     A PROSPECTIVE JUROR:      It might, yes, because I

             18        have an irregular heartbeat.

             19                     THE COURT:    Counsel?

             20                     MS. CILIA:    Consent.

             21                     MS. GUASTELLA:    Okay.

             22                     THE COURT:    You are excused.     Thank you.

             23                     (Mr. Romero leaves and the next prospective juror

             24        approaches side bar.)

             25                     THE CLERK:    State your name for the record.
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 244 of 1061 PageID #: 439
      000242
                                                                            14
                                    Jury Selection

         1                    A PROSPECTIVE JUROR:        Margaret Aulletti,

         2        A-U-L-L-E-T-T-I.

         3                    I have a vacation scheduled for March 15th.

         4                    THE COURT:    March 15.

         5                    A PROSPECTIVE JUROR:        Until the 19th.

         6                    THE COURT:     You begin a vacation.       And you are

         7        leaving town.

         8                    A PROSPECTIVE JUROR:        Yes.

         9                    THE COURT:     I don't know.       What do you think?

        10        March 15.

        11                    MS. CILIA:     Yes.     I would consent on that.

        12                    MS. GUASTELLA:        Consent.

        13                    THE COURT:    Okay, you are excused.        Thank you.

        14                    Next, please.

        15                     (Ms. Aulletti leaves and the next prospective

        16         juror approaches side bar.)

        17                    THE CLERK:     This is N-E-N-N-A, Alan, A-L-L-E-N.

        18                    A PROSPECTIVE JUROR:        I am not sure but I think I

        19        recognize the ...

        20                    THE COURT:     Defendant?

        21                    A PROSPECTIVE JUROR:        Yes.    And I think the

        22        person who he is accused of may be my best friend's

        23        fiancee.
-       24                    THE COURT:     What's the name of the deceased?

        25                    MS. CILIA:     David Williams.
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 245 of 1061 PageID #: 440
      000243
                                                                            15
                                    Jury Selection

         1                    A PROSPECTIVE JUROR:         I think that's him.    I am

         2        nervous.

         3                    THE COURT:     You think but you are not sure.

         4                    A PROSPECTIVE JUROR:         I am not sure.   I can call

         5        her.    But I know his street name, Beans.

         6                    MS. CILIA:     Yes.

         7                    MS. GUASTELLA:        That is right.

         8                    THE COURT:     So that's consent, counsel?

         9                    MS. GUASTELLA:        Yes.

        10                    MS. CILIA:    Consent.

        11                    THE COURT:     You are excused.


-       12

        13
                               (Ms. Allen leaves and the next prospective juror

                  approaches side bar.)

        14                    THE CLERK:     This is I-L-L-A-N-T-A, G-O-R-D-O-N.

        15                    THE COURT:     Yes.

        16                    A PROSPECTIVE JUROR:         I went through very bad

        17        domestic violence abuse with custody and I have been like

        18         living in fear for years.         I really don't want to be here.

        19                    THE COURT:     Could you be fair?

        20                    A PROSPECTIVE JUROR:         I don't think I will be.

        21                    THE COURT:     Counsel?

        22                    MS. GUASTELLA:        Consent.

        23                    MS. CILIA:     Consent.

        24                    THE COURT:     Okay.     You are excused.

        25                    Next, please.
     Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 246 of 1061 PageID #: 441
       000244
                                                                             16
                                      Jury Selection


--        1                      (Ms. Gordon leaves and the next prospective juror

          2         approaches side bar.)

          3                      THE CLERK:   L-E-N-A, last name Y-O-O-N.

          4                      A PROSPECTIVE JUROR:      So I am applying to dental

          5         schools and I have to take the dental admission test on the

          6         20th.     And I am going up to Binghamton to take it.         So I am

          7        going this Friday to Binghamton and I am staying there for

          8         about two weeks to take the exam.

          9                      THE COURT:   Counsel?

         10                      MS. GUASTELLA:   Consent.

         11                      MS. CILIA:   Consent.


-        12

         13
                                 THE COURT:

                                 Next, please.
                                              You are excused.



         14                      (Ms. Yoon leaves and the next prospective juror

         15         approaches side bar.)

         16                      THE CLERK:   This is Megan Ernst, E-R-N-S-T.

         17                      A PROSPECTIVE JUROR:      Good morning.   I have three

         18         things.     My boss requested because I am a new hire and I am

         19         the only person to open up the operation every morning, and

         20         I have an eye doctor appointment for an eye infection

         21         today, tomorrow, and my mother just had hand surgery this

         22        morning so she needs me.        I have to leave my job and go



-        23

         24
                    help her out.

                                 THE COURT:   Counselor?

         25                      MS. GUASTELLA:   Consent.
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 247 of 1061 PageID #: 442
      000245
                                                                            17
                                    Jury Selection


-        1

         2
                              MS. CILIA:

                              THE COURT:
                                             Consent.

                                             Okay, you are excused.

         3                    Next, please.

         4                     (Ms. Ernst leaves and the next prospective juror

         5        approaches side bar.)

         6                    THE CLERK:     This is Frank O-R-O-U-R-K-E.

         7                    A PROSPECTIVE JUROR:      Yeah.    I am the only one,

         8         sole supporter of my family and I don't get paid for the

         9        days, and I am supposed to be in Texas on a shoot next

        10        Tuesday.

        11                    THE COURT:     What do you do?


-       12

        13
                              A PROSPECTIVE JUROR:      Mobile video, videotape.

                  am working for National Geographic on a shoot in Texas next
                                                                                        I



        14        week.

        15                    THE COURT:     You don't get paid while you are

        16        here?

        17                    A PROSPECTIVE JUROR:       I don't.

        18                    MS. CILIA:     Consent.

        19                    MS. GUASTELLA:     Consent.

        20                    THE COURT:     You are excused.

        21                    Next, please.

        22                     (Mr. O'Rourke leaves and the next prospective

                   juror approaches side bar.)

-
        23

        24                    THE CLERK:     This is Raquel, R-A-Q-U-E-L,

        25         Donofrio, D-O-N-O-F-R-I-O.
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 248 of 1061 PageID #: 443
      000246
                                                                              18
                                    Jury Selection


         1                    A PROSPECTIVE JUROR:        Hi.     I pick up my son every

         2        day from school, Pre-K, at 3:00 o'clock.

         3                    THE COURT:     3:00 o'clock.        How old is he?

         4                    A PROSPECTIVE JUROR:        Four.     Five.   He just

         5        turned five.

         6                    THE COURT:     Is there anybody else who could pick

         7        him up?

         8                    A PROSPECTIVE JUROR:        Not really, no.      I go

         9        straight after work.       I am a teacher.

        10                    THE COURT:     Counselor?

        11                    You pick him up after school.

        12                    A PROSPECTIVE JUROR:        Yes.

        13                    THE COURT:     Counselor?

        14                    MS. CILIA:     Consent.

        15                    MS. GUASTELLA:     Consent.

        16                    THE COURT:     You are excused.

        17                    Next, please.

        18                     (Ms. Donofrio leaves and the next prospective

        19         juror approaches side bar.)

        20                    THE CLERK:     Joseph Barry, B-A-R-R-Y.

        21                    A PROSPECTIVE JUROR:        I am self-employed.         I have

        22         a little hardware store and I work by myself.             The store's

        23        closed today.     This is my busy time.

-       24                    THE COURT:     Counselor?

        25                    MS. GUASTELLA:     Consent.
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 249 of 1061 PageID #: 444
      000247                                                               19
                                   Jury Selection


         1                    MS. CILIA:     Consent.

         2                    THE COURT:     You are excused.

         3                    Next, please.

         4                     (Mr. Barry leaves and the next prospective juror

         5        approaches side bar.)

         6                    THE CLERK:     This is Carmine L-A-C-E-R-T-O-S-A.

         7                    A PROSPECTIVE JUROR:      Your Honor, good morning.

         8                    THE COURT:     Good morning.

         9                    A PROSPECTIVE JUROR:       I am in the process of

        10        moving.     I am supposed to move on the 28th.        And also my

        11        house is for sale.       I am supposed to be closing within


-       12

        13
                  between March 1 to the 15th, and I don't want to go through

                   a hardship.

        14                    THE COURT:     You don't have a specific closing

        15        date yet?

        16                    A PROSPECTIVE JUROR:      The closing date is set for

        17        March 1st, but they are doing title work now and ...

        18                    THE COURT:     March 1 is this weekend; right?

        19                    A PROSPECTIVE JUROR:      Yeah.

        20                    THE COURT:     I don't know.      I mean we don't work

        21        on Saturdays, so if you could do the closing while we are

        22        not in session ...

        23                    A PROSPECTIVE JUROR:       It is projected for

        24        March 1.     It could be from March 1 to the 15th.

        25                    THE COURT:     They haven't given you a specific
     Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 250 of 1061 PageID #: 445
       000248
                                                                             20
                                     Jury Selection


          1        date, in other words.

          2                    A PROSPECTIVE JUROR:       We have a contract for

          3        March 15 which was canceled, supposed to be back to March 1

          4        because of the buyer wants to move in right away.              The

          5        house is upside-down.       I got to move.

          6                    THE COURT:     I don't know real estate.

          7                    MS. CILIA:     Consent.

          8                    MS. GUASTELLA:     Consent, Judge.

          9                    MR. REEVES:     Are you moving to another house on

         10        Staten Island?

         11                    A PROSPECTIVE JUROR:       Another house.    The thing


-        12

         13
                   is, I move from a big house into a smaller house.

                    years of furniture in there.         It's a mess.
                                                                                  I got 35



         14                    THE COURT:     People?

         15                    MS. CILIA:     Consent.

         16                    THE COURT:     You are excused.

         17                    Next, please.

         18                    A PROSPECTIVE JUROR:        Thank you.

         19                     (Mr. Lacertosa leaves and the next prospective

         20         juror approaches side bar.)

         21                    THE CLERK:     This is C-H-A-N-D-R-A-N-I, last name

         22         S-U-R-A-W-E-E-R-A.

         23                    A PROSPECTIVE JUROR:        Your Honor, this is a
--       24        criminal case because I know this.          I don't even watch TV,

         25         any violations, any gun, anything.         I can't watch.      And I
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 251 of 1061 PageID #: 446
      000249
                                                                            21
                                    Jury Selection


         1        would love to serve the other case because criminal, I

         2        can't do it.

         3                    MS. CILIA:    Consent.

         4                    MS. GUASTELLA:       Consent.

         5                    THE COURT:     You are excused.

         6                    Next, please.

         7                     (Mr. Suraweera leaves and the next prospective

         8         juror approaches side bar.)

         9                    THE CLERK:     This is Ashraf, A-S-H-R-A-F, last

        10        name S-A-R-H-A-N.

        11                    A PROSPECTIVE JUROR:        I own a store, I work seven


-       12

        13
                  days a week and I have nobody to cover me in the morning.

                              THE COURT:     Counselor?

        14                    A PROSPECTIVE JUROR:        I ask my neighbor to cover

        15        me.   I am worried if she going to sell cigarette, not

        16        asking for ID.

        17                    MS. CILIA:     Consent.

        18                    MS. GUASTELLA:       Consent.

        19                    THE COURT:     You are excused.

        20                     (Mr. Sarhan leaves and the next prospective juror

        21        approaches side bar.)

        22                    THE CLERK:     This is Melinda Haskell,



-       23        H-A-S-K-E-L-L.

        24                    THE COURT:     Hi.

        25                    A PROSPECT I VE JUROR:      I don't mind serving, but
     Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 252 of 1061 PageID #: 447
       000250                                                               22
                                    Jury Selection


-         1        we get out at 4:30.      My son gets out at 2:30.

          2                    THE COURT:     How old?     You have to pick him up?

          3                    A PROSPECTIVE JUROR:        I work at night so I am

          4        home during the day.       I pick him up.

          5                    THE COURT:     How old is he?

          6                    A PROSPECTIVE JUROR:        Nine.   He goes to P.S.11.

          7                    THE COURT:     Counselor?

          8                    MS. CILIA:     Consent.

          9                    MS. GUASTELLA:     Consent.

         10                    THE COURT:     Okay.   You are excused.

         11                    Next, please.

         12                     (Ms. Haskell leaves and the next prospective

         13         juror approaches side bar.)

         14                    THE CLERK:     This is Kevin Quinn.

         15                    A PROSPECTIVE J UROR:       I manage a restaurant with

         16        only a couple of employees.        I am the only one who has

         17         Department of Health certification for that restaurant, and

         18        we are expecting the Health Department in any day now

         19        because

         20                    THE COURT:     What restaurant?

         21                    A PROSPECTIVE JUROR:        J ustino's Pizzeria in

         22        Manhattan, West 57th Street.

         23                    THE COURT:     Do they pay you while you are here?
--
         24                    A PROSPECTIVE J UROR:       No.

         25                    THE COURT:     Counsel?
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 253 of 1061 PageID #: 448
      000251
                                                                           23
                                   Jury Selection


-        1                    MS. GUASTELLA:       Consent.

         2                    MS. CILIA:     Consent.

         3                    THE COURT:     You are excused.

         4                    Next, please.

         5                     (Mr. Quinn leaves and the next prospective juror

         6        approaches side bar.)

         7                    THE CLERK:     This is Esther Piccarillo Capone.

         8                    A PROSPECTIVE JUROR:        I work for two law offices.

         9         I am the only paralegal secretary in the office.           I also

        10        have chronic lymphocytic leukemia, so I think the time -- I

        11        can't promise to be here every day because every day that I


-       12

        13
                  get up I am incapable of getting out of bed.

                              THE COURT:     Counselor?

        14                    MS. CILIA:     Consent.

        15                    MS. GUASTELLA:       Consent.

        16                    THE COURT:     You are excused.

        17                    Next, please.

        18                     (Ms. Capone leaves and the next prospective juror

        19        approaches side bar.)

        20                    THE CLERK:     This is Jim Ng, N-G last name.

        21                    THE COURT:     Hi.

        22                    A PROSPECTIVE JUROR:        You talk, I can't



-
        23        understand.

        24                    THE COURT:     English?

        25                    A PROSPECTIVE JUROR:        Yes.
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 254 of 1061 PageID #: 449
      000252
                                                                            24
                                     Jury Selection


-        1

         2
                              THE COURT:

                              MS. CILIA:
                                             Counselor?

                                             Consent.

         3                    MS. GUASTELLA:       Consent.

         4                    THE COURT:     You are excused.

         5                    A PROSPECTIVE JUROR:        Thank you.    We go home?

         6                    THE COURT:     You go back across the street.

         7                     (Mr. Ng leaves and the next prospective juror

         8        approaches side bar.)

         9                    THE CLERK:     This is Amelia Mattera,

        10        M-A-T-T-E-R-A.

        11                    A PROSPECTIVE JUROR:        Hi, Judge.

        12                    THE COURT:     Hi.

        13                    A PROSPECTIVE JUROR:        I may not be able to hear

        14         every word you are going to say.           I have a -- I have a

        15        hearing aid.      But I am just scared that I won't be able to

        16        hear well all the words that they are going to say.

        17                    THE COURT:     Counsel?

        18                    MS. GUASTELLA:       Consent.

        19                    MS. CILIA:     Consent.

        20                    THE COURT:     Okay.    You are excused.

        21                     (Ms. Mattera leaves and the next prospective

        22         juror approaches side bar.)

        23                    THE CLERK:     This is Andrea Bernard,
-       24         B-E-R-N-A-R-D.

        25                    A PROSPECTIVE JUROR:        I have a health issue;
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 255 of 1061 PageID #: 450
      000253                                                               25
                                   ,Jury Selection


-        1         however,   I am scheduled to have a surgical procedure

         2        tomorrow so I won't be able to attend tomorrow's jury.

         3                    THE COURT:     Surgical procedure tomorrow.       I don't

         4         know if we could reach her today.         I don't know.    What do

         5         you want to do?

         6                    MS. CILIA:     Would you be available next week or

         7         is it a one-day thing?

         8                    A PROSPECTIVE JUROR:        It is just in and out.        In

         9         and out of the hospital tomorrow.

        10                    THE COURT:     Well, we could ask the lady to stay

        11        with us, but if we are still selecting tomorrow and her

        12         name is called and she is not here we will know why.

        13                    MS. CILIA:     Right.

        14                    THE COURT:     So what I am going to do is ask you

        15        to stay with us.      We might talk to you today.

        16                    A PROSPECTIVE JUROR:        Okay.

        17                    THE COURT:     If it's tomorrow, we don't want to

        18         interfere with your surgical procedure; go ahead and have

        19         it done.    If it is still early enough, come on back here

        20         after that.    Is that all right?

        21                    A PROSPECTIVE JUROR:        That is fine.

        22                    THE COURT:     Thank you.     You could have a seat.

        23                     (The next prospective juror approaches side bar.)
-       24                    THE CLERK:     This is L-Y-U-D-M-I-L-A, last name

        25         Z-A-G-A-R-O-V-A.
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 256 of 1061 PageID #: 451
  000254
                                                                        26
                                Jury Selection


     1                    A PROSPECTIVE JUROR:        I am afraid I don't have

     2        enough English to --

     3                    THE COURT:    English?

     4                    A PROSPECTIVE JUROR:        Yes.

     5                    THE COURT:     Counsel?

     6                    MS. GUASTELLA:        Consent.

     7                    A PROSPECTIVE JUROR:        I understand everything

     8        but ...

     9                    MS. CILIA:     Consent.

    10                    THE COURT:    Consent on both sides.

    11                    MS. CILIA:     Yes.

    12                    THE COURT:     You are excused.

    13                     (Ms. Zagarova leaves and the next prospective

    14         juror approaches side bar.)

    15                    THE CLERK:     This is Aiman Khan, A-I-M-A-N

    16        K-H-A-N.

    17                    A PROSPECTIVE JUROR:        I am a businessman.     I

    18        recently bought a diner.          Nobody over there right now.

    19        That is why.

    20                    THE COURT:     You run the whole place yourself?

    21                    A PROSPECTIVE JUROR:        Yes.

    22                    THE COURT:     You are the whole.     You are it.

    23                    A PROSPECTIVE JUROR:        Two partners.   The other

    24        one is not feeling good.

    25                    THE COURT:     What do you want to do?
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 257 of 1061 PageID #: 452
      000255                                                               27
                                   Jury Selection


-        1

         2
                              A PROSPECTIVE JUROR:

                  don't know show up today.
                                                         They texted me before I



         3                    MS. GUASTELLA:     Consent.

         4                    MS. CILIA:    Consent.

         5                    THE COURT:     You are excused.

         6                    Next, please.

         7                     (Mr. Khan leaves and the next prospective juror

         8        approaches side bar.)

         9                    THE CLERK:     This is Matthew Wong, W-O-N-G.

        10                    THE COURT:     Yes, sir.

        11                    A PROSPECTIVE JUROR:       Hi.   So I just start my

        12        first job little bit less than a month ago and I am not

        13        sure how this will affect me if I take two weeks.

        14                    THE COURT:     What do you do?

        15                    A PROSPECTIVE JUROR:       Software engineer.

        16                    THE COURT:    And you just started.

        17                    A PROSPECTIVE JUROR:       Yeah, little bit less than

        18        a month ago.

        19                    MS. GUASTELLA:     Consent.

        20                    MS. CILIA:     Consent.

        21                    THE COURT:     Okay.   You are excused.

        22                     (Mr. Wong leaves and the next prospective juror

        23        approaches side bar.)

        24                    THE CLERK:     This is Carl Colombo, C-O-L-O-M-B-O.

        25                    A PROSPECTIVE JUROR:       I work for the School
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 258 of 1061 PageID #: 453
      000256
                                                                            28
                                    Jury Selection


-        1

         2
                  Construction Authority, New York City.           I have a group of

                  85 people and I think the duration is going to be a little

         3        too long for me. I don't have any problem serving but it is

         4         just two weeks duration.

         5                    THE COURT:     I understand.      You work for the City.

         6                    A PROSPECTIVE JUROR:      For the schools.         I do

         7        construction in the schools.

         8                    THE COURT:     I can't let you go at this point.

         9         Doesn't mean you are on the jury, but I am going to have to

        10        ask you to stay with us and answer some questions if your

        11        name is called.


-       12

        13
                              A PROSPECTIVE JUROR:

                              THE COURT:
                                                        Okay.

                                             Thank you very much.

        14                     (The next prospective juror approaches side bar.)

        15                    THE CLERK:     This is Tommy Lim, L-I-M.

        16                    A PROSPECTIVE JUROR:      Yes, sir.     I work for an

        17        insurance company in the finance area.           There is only four

        18        of us in our group and our manager broke his leg so he is

        19        out, and if I am out I think that would reduce the staff to

        20        half.    And I don't think -- I would like to be able to help

        21        them, if possible.

        22                    THE COURT:     What do you think?

        23                    MS. GUASTELLA:     I will consent.

        24                    MS. CILIA:     Consent.

        25                    THE COURT:     Okay.   You are excused.
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 259 of 1061 PageID #: 454
      000257
                                                                            29
                                    Jury Selection


         1                    Next, please.

         2                     (Mr. Lim leaves and the next prospective juror

         3        approaches side bar.)

         4                    THE CLERK:     This is Michael Suo, S-U-O.

         5                    A PROSPECTIVE JUROR:        So I am an only supporting

         6        analyst of CFO that runs a communications company, and I

         7        will have to be make up all the work while I am out of the

         8        office for two weeks.       So they are paying me but this is --

         9        it is just going to add a lot of pressure.

        10                    THE COURT:     There is nobody who can do your work

        11         for you while you are here?


-       12

        13
                              A PROSPECTIVE JUROR:

                              THE COURT:
                                                          I am his only analyst.

                                             In other words, when you get back you

        14        are going to have to back makeup two weeks.

        15                    A PROSPECTIVE JUROR:        After I leave here at night

        16         I will be working.

        17                    THE COURT:     You will be working at night.

        18                    A PROSPECTIVE JUROR:        Yes.

        19                    THE COURT:     Counselor?

        20                    MS. GUASTELLA:     Consent.

        21                    MS. CILIA:     Consent.

        22                    THE COURT:     Okay.   You are excused.

        23                    Next, please.

-       24                     (Mr. Suo leaves and the next prospective juror

        25        approaches side bar.)
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 260 of 1061 PageID #: 455
      000258
                                                                            30
                                    Jury Selection


         1                    THE CLERK:     This is Ashley L-A-G-Z-I-A-L.

         2                    A PROSPECTIVE JUROR:        Hi.   I actually have a

         3        client trade show to go to the second week of March, the

         4         second weekend from Friday to Monday, and I am supposed to

         5        be representing a client there.          And I also have a --

         6                    THE COURT:     We are talking about from?

         7                    A PROSPECTIVE JUROR:        The 8th to the 10th.      I am

         8         sorry, the 17th.     That long weekend.      Friday to Monday.

         9                    THE COURT:     Is it out of town somewhere?

        10                    A PROSPECTIVE JUROR:        Boston.

        11                    THE COURT:     Counselor?


-       12

        13
                              MS. GUASTELLA:

                              MS. CILIA:
                                                 Consent.

                                             Consent.

        14                    THE COURT:     Okay.   You are excused.

        15                     (Ms. Lagzial is excused.)

        16                    THE COURT:     How many do we have left?

        17                    THE CLERK:     Sixty-eight.

        18                    THE COURT:     Hopefully that works.

        19                     (The following takes place in open court.)

        20                    THE COURT:     Thank you for staying with us.         I am

        21         going to give you some preliminary remarks and then we are

        22         going to fill the jury box and begin questioning people.

        23                    As I said, the trial is the process by which we

        24        will determine if any of the charges are proven by

        25         sufficient evidence, and in that process those of you
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 261 of 1061 PageID #: 456
  000259
                                                                        31
                                Jury Selection


     1        selected as jurors and I as the judge in the case perform

     2        separate functions.

     3                     Jurors are called upon to determine whether or

     4        not the evidence they hear and see in this case establishes

     5        the defendant's guilt of the charges.          In order to do this

     6        the jury will have to evaluate all the evidence at the end

     7        of the trial in order to determine whether what they have

     8        heard from witnesses and seen as exhibits is true and, if

     9        so, what it all means.       This is called finding of facts.

    10        That is the jury's job alone.        The judge finds no facts at

    11        a jury trial.

    12                    The jury's ultimate decision is called the

    13        verdict.    The verdict will be either guilty or not guilty,

    14        or after hearing all the evidence the jury may find the

    15        defendant guilty of some charges and not guilty of others.

    16                    The attorneys present the evidence.         They usually

    17        do this by calling witnesses, and they may suggest that the

    18         jury draw certain conclusions from the evidence.           But only

    19         the jury can decide what really happened and the verdict as

    20         to each of the counts will remain the jury's determination

    21         alone.    The judge makes no determination of guilt or lack

    22        of guilt at a jury trial.       My role at the trial is simply

    23         to insure that the jury reaches its verdict in accordance

    24        with the law.      I will explain the law as to all the issues

    25         at this trial.     You are not required to know any law in
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 262 of 1061 PageID #: 457
      000260
                                                                            32
                                    Jury Selection


         1        order to be a juror.

         2                     In order for both sides to receive a fair trial I

         3        may have to rule on questions concerning the conduct of the

         4         trial.    Those rulings have nothing to do with whether this

         5        defendant is guilty or not guilty.         I may also rule on

         6        questions concerning what evidence may be considered and,

         7         if so, for what purpose.

         8                    When I do make a ruling concerning whether the

         9         jury may hear some testimony or see an exhibit which is

        10        offered as evidence I will be ruling on whether or not the

        11         jury's permitted to hear or see this as a matter of law.

        12        Likewise, should the jury be instructed to disregard

        13         something they may have heard, it will be because that's

        14        the law.

        15                    None of my rulings during the trial or during

        16        this jury selection process, if I have to make any, should

        17        be taken by you as indicating whether all or part of what's

        18        eventually offered as evidence should be believed or

        19        whether the defendant is guilty or not guilty.           Again,

        20        that's solely the jury's job to determine.           You do,

        21        however, have to agree to accept the law as given to you if

        22        both sides are to have a fair trial, and I will be

        23        discussing some fundamental legal issues with you shortly.

-       24                     In Richmond County the People of the State of New

        25         York are represented by the District Attorney, Daniel
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 263 of 1061 PageID #: 458
      000261
                                                                            33
                                     Jury Selection


         1         Donovan.    Mr. Donovan is represented at this trial by

         2        Assistant District Attorneys Jennifer Cilia and Kyle

         3         Reeves.     They are seated at this table.

         4                     MS. CILIA:    Good morning, everyone.

         5                     MR. REEVES:    Good morning, ladies and gentlemen.

         6                      THE COURT:   The defendant, as I have already

         7         said, is Armand Skrine, and Mr. Skrine is represented by

         8        his attorney, Maria Guastella.        They are seated at this

         9         table.

        10                      MS. GUASTELLA:   Good morning, everyone.         Welcome.

        11                      THE COURT:   The fact that this action is brought


-       12

        13
                   in the name of the People or that the evidence is presented

                  by public officials does not in any way indicate that the

        14         public wants a specific verdict.        The people of this state

        15         are served by whatever verdict is justified by the

        16         evidence.

        17                      Serving on a jury is a vital function for

        18         citizens under our system of law.        It is also a great

        19         responsibility, which is to accord both sides a fair trial.

        20         In order t o do this the jury must be free from any

        21         preconceived notions or any sympathies or prejudices which

        22        might prevent them from returning a fair and a just verdict

        23         based solely on the evidence or lack of evidence, and to
-       24         help insure this our first order of business is to conduct

        25         an examination of prospective jurors.
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 264 of 1061 PageID #: 459
      000262
                                                                            34
                                    Jury Selection


-        1                     I will be asking some questions when I am

         2         finished.    The lawyers will ask some questions.         The

         3        purpose of this questioning is simply to determine whether

         4        or not you are qualified to sit as a juror in this

         5        particular case.      A number of you will not be selected.

         6         Some of you will be excused because you are not qualified

         7         to sit in this case as a matter of law.         Others amongst you

         8        will be excused peremptorily, which means by one of the

         9        attorneys without any cause being given.

        10                     I want to stress at this point that if you are

        11         excused it is not a reflection on you as a citizen, it has


-       12

        13
                  nothing to do with your honesty or your integrity.

                  don't feel insulted if you are excused.          If you are
                                                                                   Please



        14        excused, it is simply the result of a decision by one or

        15        more of the lawyers or by me that you are not to sit as a

        16         juror in this particular case.

        17                     Should I or the lawyers ask you any questions you

        18        would rather not answer in open court,         just tell us and we

        19        will step to the side and discuss it at a side bar.

        20                     So, with that, the clerk is going to call or pull

        21         16 names at random from the drum.        If you hear your name

        22        called,   just step up and have a seat in the jury box where

        23        the officer directs you.

        24                     THE CLERK:    M. Pascarella, P-A-S-C-A-R-E-L-L-A,

        25        Seat Number l; Mary Ogofa, O-G-O-F-A, Seat Number 2; Barney
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 265 of 1061 PageID #: 460
      000263                                                               35
                                   Jury Selection


-        1

         2
                  Chen, C-H-E-N, Seat Number 3; Daniel Conniff,

                  C-O-N-N-I-F-F, Seat Number 4; Tabitha Gronock,

         3        G-R-O-N-O-C-K, Seat Number 5; Maria Trimboli,

         4        T-R-I-M-B-O-L-I, Seat Number 6; Andrea Bernard, Seat

         5        Number 7, B-E-R-N-A-R-D; Richard Taber, T-A-B-E-R, Seat

         6        Number 8; Jane Gentile, G-E-N-T-I-L-E, Seat Number 9; Jerit

         7        George, G-E-O-R-G-E, first name J-E-R-I-T, Seat Number 10;

         8        Michael Minogue, M-I-N-O-G-U-E, Seat Number 11; Ryan

         9        Connolly, C-O-N-N-O-L-L-Y, Seat Number 12; Mary Cummings,

        10        C-U-M-M-I-N-G-S, Seat Number 13; Danielle Diez, D-I-E-Z,

        11        Seat Number 14; Jennifer Hamilton, H-A-M-I-L-T-O-N, Seat

        12        Number 15; Damaris Yonko, Y-O-N-K-O, first name

        13         D-A-M-A-R-I-S, Seat Number 16.

        14                    THE COURT:     Okay.   I will be addressing my

        15        questions to the people in the jury box.           It would help if

        16        everybody listened.      We will probably speak to more of you

        17        before this process is finished, and it helps if you know

        18        what the questions are that are coming at you.           But for now

        19         I am speaking to the people in the jury box.

        20                    The allegations        and I stress allegations at

        21         this point -- allege that on or about December 8, 2011,

        22        with intent to cause the death of a person named David

        23        Williams, the defendant shot and killed David Williams.

-       24        That's the nature of the allegation or allegations in the

        25        case.    I know that's not a lot of information, but my
        Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 266 of 1061 PageID #: 461
          000264
                                                                                36
                                        Jury Selection


-            1         question is, based on that little bit of information, do

             2         any of you think you know anything about this case?

             3                     ... Do you think you have heard anything about it,

             4         read anything about it?        I don't know if the Advance wrote

             5        anything about this case or not.

             6                     ... No. okay.

             7                     I have introduced the lawyers and the defendant

             8        to you.     Do any of you know any of them?

             9                     ... Nobody.     Good.

            10                     Let me read to you a list of potential witnesses

            11         and the names of people that may come up during the course

            12        of the trial, and I would like to know if you recognize any
-   -

            13        of those names.      I will read them all and then you can tell

            14        me.

            15                    As I said, the deceased in the case is David

            16        Williams.     Was David Williams.

            17                     Other names:      Jaclyn Hunt; Loney Walker; Michael

            18        Ambrose; Gloria Fields; Janet Smith; Saheed Babatunde.

            19        That's B-A-B-A-T-U-N-D-E.

            20                     Jean or John Loiseau, L-O-I-S-E-A-U; Michael

            21        Casiano; Police Officers Vincent Aguilo, Stephen DiMassa,

            22        Anthony Jacobs, Jonathan Kane; Detectives Jeff Anderson,

            23        Edward Patterson, Daniel Guariano, Patricia Angst, Robin
-           24        Steneck, James Clontz, Beverly Des Vignes.           That's two

            25        words,    D-E-S and V-I-G-N-E-S.      I am not pronouncing that
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 267 of 1061 PageID #: 462
  000265                                                               37
                               Jury Selection


     1        right.

     2                    Also, Sgt. Trzcinski, T-R-Z-C-I-N-S-K-I.

     3                    Dr. Stephen deRoux from the Medical Examiner's

     4        Office; Patricia Zippo; Irene Wong; and an emergency

     5        medical technician, last name Schenker, S-C-H-E-N-K-E-R.

     6        Natalia Diaz and Carmine Skrine.

     7                    Do any of you recognize any of those names?

     8                    This is Mr. Taber; right?

     9                    A PROSPECTIVE JUROR:      Ambrose?     I don't know if

    10        it is the same Ambrose you are talking about from

    11        Tottenville?      Michael Ambrose.

    12                    THE COURT:     Is it somebody you know?

    13                    A PROSPECTIVE JUROR:       I don't know if it is the

    14        same Ambrose.      We call him Ambrose.     Tottenville.     He is

    15         from Tottenville?

    16                    THE COURT:     I don't know.

    17                    No?    Apparently not from Tottenville.

    18                    A PROSPECTIVE JUROR:      All right.

    19                    THE COURT:    Anybody else?

    20                     ... Okay.   Let me press on.     My next series of

    21        questions I will direct to all of you.           If you have an

    22        affirmative answer,      just raise your hand.      I will get to

    23        you probably in no particular order.

    24                    First question:     Are any of you or anyone close

    25        to you -- and by that I mean close friends or relatives --
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 268 of 1061 PageID #: 463
  000266
                                                                        38
                                Jury Selection


     1        involved in law enforcement in any capacity, or have you --

     2        have they been so involved?

     3                    I will just jump around here.

     4                    Mr. Minogue?

     5                    A PROSPECTIVE JUROR:        Yes.

     6                    THE COURT:     Who do you know in law enforcement?

     7                    A PROSPECTIVE JUROR:        My brother.

     8                    THE COURT:     A police officer?

     9                    A PROSPECTIVE JUROR:        Yes.

    10                    THE COURT:     N.Y.P.D.?

    11                    A PROSPECTIVE JUROR:        Yes.

    12                    THE COURT:     Anything about his job that would

    13        prevent you from being fair in your mind?

    14                    A PROSPECTIVE JUROR:        No.

    15                    THE COURT:     Thank you.

    16                    Mr. Connolly?

    17                    A PROSPECTIVE JUROR:        My cousin George Ricker is

    18        a cop.

    19                    THE COURT:     N.Y.P.D.

    20                    A PROSPECTIVE JUROR:        Yes.

    21                    THE COURT:     Sarne question:     Anything about that

    22        that would prevent you from being fair?

    23                    A PROSPECTIVE JUROR:        No, sir.

    24                    THE COURT:     Thank you.

    25                    Mr. Conniff.
      Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 269 of 1061 PageID #: 464
        000267
                                                                              39
                                      Jury Selection


           1                     A PROSPECTIVE JUROR:      Father, sergeant, retired

           2         sergeant, and brother sergeant.

           3                     THE COURT:    Your brother's still working?

           4                     A PROSPECTIVE JUROR:     Negative.     He was hurt in a

           5         criminal act.    He has been in a coma for 16 years.

           6                     THE COURT:    Sorry to hear that.

           7                     Well, the question is would either or both of

           8        these relationships, considering what they did for a

           9         living, would that prevent you from being a fair juror?

          10                     A PROSPECTIVE JUROR:      Possibly.

          11                     THE COURT:    This is because of discussions you

---
          12         had with them.

          13                     A PROSPECTIVE JUROR:     Because of the criminal

          14         act, yes.

          15                     THE COURT:    Beg pardon?

          16                     A PROSPECTIVE JUROR:     Because of the criminal

          17         act, yes.

          18                     THE COURT:    Okay.   I will leave you alone for

          19         now.   The lawyers might want to follow up on that. I will

          20         leave it up to them.

          21                     A PROSPECTIVE JUROR:     Thank you.

          22                     THE COURT:    Other hands.

          23                     Miss Gronock.

          24                     A PROSPECTIVE JUROR:     Brother.

          25                     THE COURT:    N.Y.P.D.
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 270 of 1061 PageID #: 465
      000268
                                                                             40
                                    Jury Selection


         1                    A PROSPECTIVE JUROR:        Yes.

         2                    THE COURT:     Same question:        Would that affect

         3         your ability to be fair?

         4                    A PROSPECTIVE JUROR:        No.

         5                    THE COURT:     Thank you.

         6                    Anyone else?

         7                    Miss Ogofa.

         8                    A PROSPECTIVE JUROR:        Brother retired mounted

         9        N.Y.P.D. officer.      Retired in April.

        10                    THE COURT:     How long ago did he retire?

        11                    A PROSPECTIVE JUROR:        April.


-       12

        13
                              THE COURT:     You think his former occupation would

                   have any effect on your ability to be fair?

        14                    A PROSPECTIVE JUROR:        No.

        15                    THE COURT:     Thank you.

        16                    Miss Gentile?

        17                    A PROSPECTIVE JUROR:        My husband's retired

        18        N.Y.P.D.

        19                    THE COURT:     Would that have any bearing here in

        20         terms of your ability to be a fair juror?

        21                    A PROSPECTIVE JUROR:        I don't think so.

        22                    THE COURT:     Thank you.

                              Anyone else?     Again,   I am just jumping around.
-       23

        24                    Miss Yonko?

        25                    A PROSPECTIVE JUROR:        Father, detective.
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 271 of 1061 PageID #: 466
      000269
                                                                                41
                                    Jury Selection


-        1

         2
                              THE COURT:     Still working?

                              A PROSPECTIVE JUROR:        Yes.

         3                    THE COURT:     Anything about his job that would

         4        prevent you from being a fair juror?

         5                    A PROSPECTIVE JUROR:        No.

         6                    THE COURT:     Thank you.

         7                    Miss Diez?

         8                    A PROSPECTIVE JUROR:        Yes.     My grandfather's

         9         retired.

        10                    THE COURT:     Grandfather.

        11                    A PROSPECTIVE JUROR:        Yes.     My cousin.


-       12

        13
                              THE COURT:     Cousin still working?

                              A PROSPECTIVE JUROR:        No.     Retired.

        14                    THE COURT:     Both retired from the N.Y.P.D.

        15                    A PROSPECTIVE JUROR:        Yes.

        16                    THE COURT:     Anything about their former

        17         occupations that would prevent you in your mind from being

        18         a fair juror?

        19                    A PROSPECTIVE JUROR:        No.

        20                    THE COURT:     Thank you.

        21                     Did I get everybody?

        22                     ... Okay.   Next question.        Are any of you or

                   anyone close to you involved in the legal field in any way

-
        23

        24         as a lawyer or paralegal, an employee of a law firm,

        25        prosecutor's office, anything of that sort?
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 272 of 1061 PageID #: 467
      000270
                                                                            42
                                   Jury Selection


         1                    Miss Ogofa.

         2                    A PROSPECTIVE JUROR:        Yes, pro bono coordinator,

         3         Shepard Mullen.

         4                    THE COURT:     Okay.   You are.       I am guessing that

         5        doesn't involve any criminal law.             Am I right?

         6                    A PROSPECTIVE JUROR:        Not that I am involved in,

         7        no.

         8                    THE COURT:     Okay.   Anything about your job that

         9        would prevent you from being fair?

        10                    A PROSPECTIVE JUROR:        No.

        11                    THE COURT:     Thank you.


-       12

        13
                              Anyone else?

                              Mr. Chen.

        14                    A PROSPECTIVE JUROR:        I work for the New York

        15        City Law Department.

        16                    THE COURT:     What do you do there?

        17                    A PROSPECTIVE JUROR:        I am an examiner.     Benefits

        18        examiner.

        19                    THE COURT:     Do you get involved in any criminal

        20        law?

        21                    A PROSPECTIVE JUROR:        No.

        22                    THE COURT:     Anything about your job that would

                  prevent you from being fair?
-       23

        24                    A PROSPECTIVE JUROR:        No.

        25                    THE COURT:     Thank you.
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 273 of 1061 PageID #: 468
      000271                                                               43
                                   Jury Selection


         1                     Anyone else?

         2                     ... Have you or anyone close to you, to your

         3         knowledge, ever been the victim of a crime?

         4                     ... Nobody.    Okay.

         5                     Mr. Conniff.

         6                     A PROSPECTIVE JUROR:        Same thing.   My brother was

         7        assaulted.

         8                     THE COURT:     Thank you.     Anyone else?

         9                     ... Have any of you been a witness in any kind of

        10        a courtroom proceeding or Grand Jury proceeding or anything

        11        of that sort?


-       12

        13
                               ... Have any of you ever been a litigant in a

                   civil lawsuit or action?       That is, a plaintiff or defendant

        14         in any kind of a civil lawsuit or civil action.

        15                     Let me remind you we can discuss anything

        16        privately if you wish.        And having said that, my next

        17        question is have any of you or anyone close to you, to your

        18         knowledge, ever been a defendant in any kind of a criminal

        19        proceeding?

        20                     ... Nobody.

        21                     Have any of you ever served on a jury before?

        22                     This is a very easy group to examine.

        23                     Mr. Chen?

        24                     A PROSPECTIVE JUROR:        Jury.

        25                     THE COURT:     Jury.
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 274 of 1061 PageID #: 469
      000272
                                                                             44
                                    Jury Selection


         1                    A PROSPECTIVE JUROR:        Like a long time ago.

         2                    THE COURT:     Pardon?

         3                    A PROSPECTIVE JUROR:        A long time ago.

         4                    THE COURT:     About how long?      Approximately.

         5                    A PROSPECTIVE JUROR:        Eight years.

         6                    THE COURT:     Eight years.

         7                    A PROSPECTIVE JUROR:        It was a traffic accident.

         8                    THE COURT:     Traffic accident.      Civil case?

         9                    A PROSPECTIVE JUROR:        Yes.

        10                    THE COURT:     Did the jury reach a verdict?

        11                    A PROSPECTIVE JUROR:        Yes.


-       12

        13
                              THE COURT:     Was there anything about that

                   experience that would prevent you from being able to serve

        14         in this case?

        15                    A PROSPECTIVE JUROR:        No.

        16                    THE COURT:     Thank you.

        17                    Anyone else, jury experience?

        18                     ... Have any of you ever served on a Grand Jury

        19         before?

        20                     ... Okay.   What I would like to do now is just go

        21         down the list here from 1 through 16 and ask you if you are

        22         employed, what type of work you do.           I don't necessarily

        23         need to know for whom you work, but I am interested in the

        24         type of work you do if you are employed.          Sometimes

        25         occupations help us in jury selection.           If you are not
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 275 of 1061 PageID #: 470
      000273                                                               45
                                   Jury Selection


-        1        employed, just tell me that.

         2                    Mr. Pascarella, working?

         3                    A PROSPECTIVE JUROR:        Yes.

         4                    THE COURT:     What do you do?

         5                    A PROSPECTIVE JUROR:        Pizzeria.

         6                    THE COURT:     Thank you.

         7                    Miss Ogofa, you have told us what you do.          What

         8        does that involve actually, coordinator?

         9                    A PROSPECTIVE JUROR:        So I support three partners

        10         in my law firm, as well as the office administrator, and I

        11         run the entire pro bono         I work with -- one of the

        12        partners I work for is the pro bono chair, so I assist him

        13         in the coordinator position and just basically getting all

        14        pro bono cases into the firm.        Process, paperwork.      There

        15         are so many facets to my job.

        16                    THE COURT:     Thank you.

        17                    Mr. Chen, employed?

        18                    A PROSPECTIVE JUROR:        Yes.

        19                    THE COURT:     What do you do?

        20                    A PROSPECTIVE JUROR:        Benefits examiner.    Just I

        21        deal with disability benefits.

        22                    THE COURT:     Thank you.

        23                    Mr. Conniff.

        24                    A PROSPECTIVE JUROR:        Firefighter.

        25                    THE COURT:     Thank you.
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 276 of 1061 PageID #: 471
      000274
                                                                           46
                                   Jury Selection


         1                     Miss Gronock.

         2                     A PROSPECTIVE JUROR:       Social worker.

         3                     THE COURT:    Thank you.

         4                     Miss Trimboli.

         5                     A PROSPECTIVE JUROR:       Laboratory technologist.

         6                     THE COURT:    Thank you.

         7                     Miss Bernard.

         8                     A PROSPECTIVE JUROR:       Retail store manager.

         9                     THE COURT:    Thank you.

        10                     Mr. Taber.

        11                     A PROSPECTIVE JUROR:       Mechanic.

        12                     THE COURT:    Miss Yonko.

        13                     A PROSPECTIVE JUROR:       Jet Blue Airways flight

        14        attendant.

        15                     THE COURT:    Ms. Hamilton.

        16                     A PROSPECTIVE JUROR:       A chef.

        17                     THE COURT:    Thank you.

        18                     Miss Diez.

        19                     A PROSPECTIVE JUROR:       Not employed.

        20                     THE COURT:    Miss Cummings.

        21                     A PROSPECTIVE JUROR:       Substitute teacher for

        22        children with special needs.

        23                     THE COURT:   Thank you.
-       24                     Mr. Connolly.

        25                     A PROSPECTIVE JUROR:       I transport patients in a
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 277 of 1061 PageID #: 472
  000275
                                                                          47
                                Jury Selection


     1        hospital.

     2                     THE COURT:     Thank you.

     3                     Mr. Minogue.

     4                     A PROSPECTIVE JUROR:        Fire Department.

     5                     THE COURT:     Okay, thank you.

     6                     Mr. George.

     7                     A PROSPECTIVE JUROR:        Financial analyst.

     8                     THE COURT:     Thank you.

     9                     And Miss Gentile.

    10                     A PROSPECTIVE JUROR:        Teacher's aide.

    11                     THE COURT:     Thank you.     Is it Gentile or Gentile?

    12                     A PROSPECTIVE JUROR:        Gentile.

    13                     THE COURT:     Thank you all for that information.

    14                     What I am going to do at this point is go over

    15        several fundamental principles of law that apply in all

    16        criminal trials.      As I said before, you don't have to know

    17        any law in order to be a juror.           It is my job to explain

    18        the law to the jury.        But you do have agree to accept the

    19         law if both sides are to have a fair trial.

    20                     So I am going to go through some of these

    21         fundamental principles that apply in all criminal trials

    22        and ask collectively probably whether you can promise us

    23         you will abide by them.       If you cannot accept any of these

    24        propositions, please tell me.        It is important we know how

    25         you feel.
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 278 of 1061 PageID #: 473
      000276
                                                                            48
                                    Jury Selection


-        1                    First of all, you heard me mention a little while

         2         ago the indictment.     The indictment is the instrument that

         3        contains the charges.       The mere fact that a defendant has

         4        been indicted is not evidence of anything, and in

         5        particular it's not evidence of guilt.          Should you be

         6        chosen to serve as a trial juror, our law requires that you

         7        decide the case wholly and solely on the evidence, and

         8         since it is our rule of law that an indictment is evidence

         9        of nothing,    I ask if you will promise us that you will

        10         follow and accept that rule in our law.

        11                    Is there anybody who cannot make us that promise?


-       12

        13
                               ... If selected as a juror here you would be

                  called upon at the end of the trial to deliberate with 11

        14        other people in the jury room in an effort to reason

        15        together and arrive at a final unanimous verdict or

        16        verdicts.     Do any of you feel you could not deliberate with

        17        11 other people if called upon to do so?

        18                     ... Under our law everyone accused of a crime or

        19        brought to trial is presumed innocent unless or until he is

        20        proved guilty beyond a reasonable doubt.          The defendant in

        21        this case is presumed innocent and, to put this another

        22        way, a defendant is never required to prove his innocence.

                  On the contrary; the People, represented by the District

-
        23

        24        Attorney, having accused the defendant of the crimes

        25        charged, have the burden of proving him guilty beyond a
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 279 of 1061 PageID #: 474
      000277
                                                                            49
                                     Jury Selection


         1        reasonable doubt.         The People carry this burden of proof

         2        throughout the trial.         It never shifts.   It always remains

         3        on the People, and the presumption of innocence remains

         4        with every defendant throughout every criminal trial.

         5                      Is there anyone amongst you who cannot now in

         6        your own mind grant the defendant this presumption of

         7         innocence?

         8                      ... On the burden of proof issue, again, as I

         9         said, in a criminal case the burden of proof is entirely on

        10         the People and remains on them throughout the trial.            A

        11        defendant is not required to prove anything, nor is a



-       12

        13
                  defendant required to disprove anything.          As I say, the

                  entire burden of proof is on the People and remains on them

        14         throughout the trial.

        15                      Is there anyone amongst you who will be unable

        16        to, in your judgment, to follow and accept that rule in our

        17         law?

        18                      ... If a defendant does not testify in a criminal

        19         trial, that is not a factor from which any inference

        20        unfavorable to such defendant may be drawn.           Is there

        21         anybody who cannot accept that rule in our criminal law?

        22                      ... Okay.   What I am going to do now is define for

        23         you the standard of proof required for conviction in every

-       24        criminal case.       That standard of proof is called proof of

        25        guilt beyond a reasonable doubt.         That standard does not
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 280 of 1061 PageID #: 475
  000278
                                                                        50
                                Jury Selection


     1        require the People to prove the defendant guilty beyond all

     2        possibility of doubt or beyond a shadow of a doubt.            It

     3        does require the People to establish the defendant's guilt

     4        beyond a reasonable doubt.

     5                     Our law therefore requires that before a jury may

     6        convict a defendant, each juror must be satisfied that the

     7        credible evidence is sufficient to convince him or her

     8        beyond a reasonable doubt that the defendant is, in fact,

     9        guilty.     The evidence must satisfy the jury beyond a

    10        reasonable doubt that the defendant is, in fact,           the person

    11        who committed the crime or crimes charged, and the evidence

    12        must also establish beyond a reasonable doubt each and

    13        every essential element of a charged crime.           I will define

    14        the elements at the end of the trial.

    15                    Now, what does our law mean when it requires

    16        proof of guilt beyond a reasonable doubt?

    17                    A doubt of a defendant's guilt, to be a

    18        reasonable doubt, must be a doubt for which some reason can

    19        be given.     The doubt, to be reasonable, must therefore

    20        arise because of the nature and quality of the evidence in

    21        the case or from the lack or insufficiency of the evidence

    22         in the case.    The doubt, to be a reasonable doubt, should

    23        be one which a reasonable person acting in a matter of this

    24        importance would be likely to entertain because of the

    25        evidence or because of the lack or insufficiency of the
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 281 of 1061 PageID #: 476
      000279
                                                                            51
                                    Jury Selection


         1        evidence.

         2                    A doubt of guilt is not reasonable if, instead of

         3        being based on the nature and quality of the evidence or

         4        insufficiency of the evidence, it's based on some guess, or

         5        whim, or speculation unrelated to the evidence.            Also, a

         6        doubt of guilt is not a reasonable doubt if it's based

         7        merely on sympathy for a defendant or from a mere desire by

         8        a juror to avoid a disagreeable duty.

         9                    I repeat, a doubt of a defendant's guilt, to be a

        10        reasonable doubt, must arise either from the nature and

        11        quality of the evidence or from the lack or insufficiency


-       12

        13
                  of the evidence.      Therefore, the first duty of each juror

                  is to consider and weigh all the evidence and decide what

        14        evidence you believe is credible and worthy of your

        15        consideration.

        16                    The next duty of each juror is to determine

        17        whether that juror has, in fact, a reasonable doubt of the

        18        defendant's guilt as that term is defined in our law.

        19                    A reasonable doubt, our law says, is an actual

        20        doubt, one which you are conscious of having in your mind

        21        after you have considered all the evidence.           If after doing

        22        so you then feel uncertain and not fully convinced of the

        23        defendant's guilt and you are also satisfied that in

        24        entertaining such a doubt you are acting as a reasonable

        25        person should act in a matter of this importance, then
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 282 of 1061 PageID #: 477
      000280
                                                                            52
                                    Jury Selection


         1        that's a reasonable doubt of which every defendant is

         2        entitled to the benefit.

         3                     I repeat, it is the duty of each juror carefully

         4        to review, weigh and consider all the evidence.            If after

         5        doing so you find that the People have not proved the

         6        defendant's guilt beyond a reasonable doubt as I have

         7        defined the term for you, then you must find the defendant

         8        not guilty.     On the other hand, if you are satisfied that

         9        the People have proved the defendant's guilt beyond a

        10        reasonable doubt as I have defined the term, then you must

        11        find the defendant guilty.


-       12

        13
                               And the question is, will you promise us now that

                  if selected here you will in your final deliberations

        14        follow and apply the standard of proof -- that is, proof

        15        beyond a reasonable doubt -- that I have defined for you?

        16         Is there anybody amongst you who cannot make us that

        17        promise?

        18                     ... Thanks.   I am required to advise prospective

        19         jurors that if selected you may not during deliberations

        20        consider the subject of punishment.         Sentencing, if there

        21        is to be any, lies solely within the exclusive province of

        22        the Court.     The jury has no role to play in that.           The jury

        23        is not permitted to consider the possibility of punishment

        24        or penalty in their deliberations, and the jury may not

        25        include any sentencing recommendation in their verdict.
         Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 283 of 1061 PageID #: 478
           000281
                                                                                 53
                                         Jury Selection


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              2
                       The trial jury is the sole and exclusive judge of the facts

                       and the facts only.      The Court is the sole and exclusive

              3         judge of the law and of any sentence to be imposed

              4         following a verdict.

              5                    Will you promise us now that if selected here you

              6        will render your verdict free from fear,         favor or sympathy

              7        and without considering any possibility of sentence or

              8        punishment?     Is there anybody who could not ma ke us that

              9        promise?

             10                     ... And my last question has to do with police

             11        officer testimony.      As you know from the list of

             12        prospective witnesses I read, it's likely that the jury in
-    -

             13        this case will hear from police officers and detectives and

             14        possibly a sergeant.       Police officers take the same oath as

             15        anyone else.     The mere fact that a witness is a police

             16        officer does not make that witness any more or any less

             17        credible.

             18                    Is there anyone amongst you who has any feelings

             19        about the police or who has had any experiences with the

             20        police which would lead you in your mind to give a police

             21        officer's testimony greater or lesser weight than anyone

             22        else's merely because of the officer's occupation?

             23                    Does anybody have that feeling one way or the
--
             24        other?

             25                    Mr. Pascarella.
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 284 of 1061 PageID #: 479
      000282
                                                                             54
                                     Jury Selection


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         2
                               A PROSPECTIVE JUROR:

                               THE COURT:      Which?
                                                           Yeah.



         3                     A PROSPECTIVE JUROR:        Less, I guess.

         4                     THE COURT:      Less?    This is because of personal

         5        experiences?

         6                     A PROSPECTIVE JUROR:        Yeah.

         7                     THE COURT:      Would that apply even if you didn't

         8         know the officer?

         9                     A PROSPECTIVE JUROR:        I guess so.   Yeah.

        10                     THE COURT:      Okay.    Again, I will let the People

        11        follow up on that if they want.           I will leave that up to


-       12

        13
                  them.

                               Anyone else?

        14                     ... Okay.     Thanks very much.     And I will let the

        15        lawyers talk to you now, starting with the District

        16        Attorney.

        17                     MR. REEVES:      Thank you, your Honor.

        18                     Good afternoon, ladies and gentlemen.

        19                     Miss Cummings, let me ask you a question.          Are

        20        you tired of it?         Winter?

        21                     A PROSPECTIVE JUROR:       Of course.     I am from the

        22        south so ...

        23                     MR. REEVES:      There is supposed to be a little bit
-       24        more snow.     Have you had enough?

        25                     A PROSPECTIVE JUROR:        I have had enough, yes.
     Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 285 of 1061 PageID #: 480
       000283                                                                55
                                     Jury Selection


          1                    MR. REEVES:     Okay.   Rather have the sun come out.

          2                    A PROSPECTIVE JUROR:      The sun is out.

          3                    MR. REEVES:     All right.      Anybody here a winter

          4        person?    Exactly.

          5                    Mr. Conniff.     Let me just change gears a minute

          6         and ask how many Yankee fans are here.          Anybody Yankee

          7         fans?

          8                    All right, Mr. George, I am going to pick on you.

          9        Are the Yankees better or worse off with A-Rod gone?

         10                    A PROSPECTIVE JUROR:      They are better.

         11                    MR. REEVES:     Mr. Conniff, what do you think?

         12                    A PROSPECTIVE JUROR:       I guess better.
--       13                    MR. REEVES:     Anybody disagree?      All right.

         14        Here's why I just did two minutes of silliness.            You are

         15        not used to talking,      I presume, in a big room, and what we

         16        wanted to do here during this part of the trial is to get

         17        your opinions on things.       So if Miss Cummings is sick of

         18        winter, that's your opinion.        Tell us.     Mr. Conniff thinks

         19        the Yankees are better off without A-Rod.           Tell us.    Okay?

         20                    At this point we are not trying to convince you

         21        of anything.     We want to hear what you have to say about

         22        things, okay?

         23                    Mr. Taber, does that sound like something we can

         24        do for about 15 minutes?

         25                    A PROSPECTIVE JUROR:      No.
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 286 of 1061 PageID #: 481
  000284
                                                                         56
                                Jury Selection


     1                    MR. REEVES:     No?     I am not going to pick on you.

     2        The reason I wanted to get you guys talking is because

     3        Miss Cilia and I know what kind of evidence we are going to

     4        use in this trial and you may, through your life

     5        experience, have an idea in your head of how criminal cases

     6        are supposed to be conducted, okay?

     7                    How many people have that kind of opinion?            How

     8        many people think they know the type of evidence that

     9        should be used or what's going to come?

    10                    Miss Gentile, what do you think?           Do you have an

    11        idea of what's corning in a criminal trial?

    12                    A PROSPECTIVE JUROR:       No.      I have no idea.

    13                    MR. REEVES:     Okay.    Anybody at all?

    14                    Miss Gronock, what do you think?

    15                    A PROSPECTIVE JUROR:       No.

    16                    MR. REEVES:     You all know what evidence is;

    17        right?    That's what we are going to use.           In this

    18        particular trial I am not allowed to tell you at this point

    19        what my evidence will prove, but what I want to talk to you

    20        a little bit about is the type of evidence we are going to

    21        use to prove that this man shot and killed another human

    22        being.

    23                    Mr. Chen, have you heard of testimony?

    24                    A PROSPECTIVE JUROR:        Yeah.

    25                    MR. REEVES:     You know what testimonial evidence
     Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 287 of 1061 PageID #: 482
       000285
                                                                             57
                                     Jury Selection


          1        is?

          2                    A PROSPECTIVE JUROR:      No.

          3                    MR. REEVES:     Okay.   It is real simple.      The Court

          4        is always going to be the source of the law, but

          5        testimonial evidence is when people come into court, take

          6        an oath, they sit in that chair and they tell you what they

          7        saw, what they heard, what they did, and you listen to it.

          8                    Mr. Minogue, you think you could do that?

          9                    A PROSPECTIVE JUROR:      Yes.

         10                    MR. REEVES:     It's not that hard; right?

         11                    Anybody think they couldn't do that; sit and

         12        listen to what people saw and heard back on December 8,
·-

         13         2011?

         14                    Mr. Pascarella, what do you think?         Could you do

         15        it?

         16                    A PROSPECTIVE JUROR:      Yes.

         17                    MR. REEVES:     Okay.   You don't sound too

         18        convincing.

         19                    A PROSPECTIVE JUROR:       I guess not.

         20                    MR. REEVES:     I am just asking you.      If you don't

         21        think you could, let me know.

         22                    Now, you have had an experience with the police,

         23         you have heard about experiences where you don't think you
-        24        would listen to them?

         25                    A PROSPECTIVE JUROR:       Yeah.
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 288 of 1061 PageID #: 483
      000286
                                                                            58
                                    Jury Selection


-        1                    MR. REEVES:     Do you think you would be able to

         2        put that out of your mind for this trial?

         3                    A PROSPECTIVE JUROR:      No.

         4                    MR. REEVES:     Okay.

         5                    Does anyone else have similar experiences?

         6                    Mr. Taber.

         7                    A PROSPECTIVE JUROR:      Rather not talk.

         8                    MR. REEVES:     You don't have to talk about it.           I

         9        am just asking overall your experiences in life.

        10                    You think you might be inclined not to believe

        11        what a police officer has to say?

        12                    A PROSPECTIVE JUROR:      Maybe.    It's private.

        13                    MR. REEVES:     The same question I just asked

        14        Mr. Pascarella.      You don't think you would be able to put

        15        those feelings out of your mind for this trial?

        16                    A PROSPECTIVE JUROR:       I don't know.

        17                    MR. REEVES:     You don't know.

        18                    A PROSPECTIVE JUROR:       I never did this before

        19        so ...

        20                    MR. REEVES:     Okay.   I think only Mr. Chen was on

        21         jury service before, so this is new for everybody.            So if

        22        you could just think about it, and at the end if you don't

                  think you could put it out of your mind,         just let us know.
-
        23

        24        Okay?    Does that sound fair?

        25                    A PROSPECTIVE JUROR:      Sure.
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 289 of 1061 PageID #: 484
      000287
                                                                            59
                                    Jury Selection


         1                    MR. REEVES:     Good.

         2                    So does everybody think they could sit and listen

         3        to witnesses that come in and tell you what they saw and

         4        they heard?

         5                    Miss Yonko, what do you think?        Could you do it?

         6                    A PROSPECTIVE JUROR:      Yes.

         7                    MR. REEVES:     And in addition to testimonial

         8        evidence, you are going to get physical evidence.              In other

         9        words, there will be pictures of the scene, there wil l be

        10        pictures of other things that are connected to the case.

        11        You will see the rifle the defendant used.           There is a


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        13
                  whole host of physical evidence.

                              And it sounds silly, Mr. George, but do you think

        14        you could use physical evidence when you are trying to make

        15        a decision in a case like this?

        16                    A PROSPECTIVE JUROR:      Yes.

        17                    MR. REEVES:     Okay.   Is there anyone who thinks

        18        they couldn't use physical evidence?

        19                     ... Okay, good.

        20                    The third part or the third type of evidence that

        21         I expect Miss Cilia and I wi l l use in this case will be

        22        some scientific evidence.       There wi l l be two major types of

        23        scientific evidence.       You are going to hear from a doctor

-       24        who did an autopsy on David Williams' body, and he will

        25        tell you scientifically or medically what the cause of
     Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 290 of 1061 PageID #: 485
       000288
                                                                             60
                                     Jury Selection


--        1        death was.     And then you are going to hear from someone --

          2         you will hear from two laboratory people.           One will come in

          3        and talk to you about DNA and another one will come in and

          4         talk to you about another area of specialty and counterfeit

          5        money.

          6                     Does anybody think they would have trouble

          7        listening to that type of evidence?

          8                     Mr. Conniff, what do you think?         Could you sit

          9        and listen?

         10                     A PROSPECTIVE JUROR:     Sure.

         11                     MR. REEVES:    They are not going to try to turn

         12        you into experts themselves, they will just come in and

         13        explain to you the type of tests they did and what their

         14        results were, and you would listen and accept or reject it.

         15         Does that sound fair?

         16                     Miss Trimboli, you think that is something you

         17        could do?

         18                     A PROSPECTIVE JUROR:      I guess so.

         19                     MR. REEVES:    Okay.   So far is everyone okay with

         20        the type of evidence that is going to be used?            Okay?

         21        Doesn't sound too hard; right?

         22                     And as Justice Rooney has already told you, what

         23         jurors do is they sit and they listen, they evaluate, and
-        24        at the end of the trial you discuss among the 12 of you

         25        whether or not Miss Cilia and I have proved beyond a
     Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 291 of 1061 PageID #: 486
       000289
                                                                            61
                                    Jury Selection


-         1        reasonable doubt the defendant's guilty.          Okay?

          2                     Does that sound like something everybody could do

          3        so far?

          4                     ... Okay.   Now, here's where I just wanted to add

          5        something.

          6                     Mr. Connolly, do you know what circumstantial

          7        evidence is?

          8                     A PROSPECTIVE JUROR:     No.

          9                     MR. REEVES:    Never heard the term before?

         10                     A PROSPECTIVE JUROR:     No.

         11                     MR. REEVES:    Has anyone heard that term,


--       12

         13
                   circumstantial evidence?       What do you think it is?

                                A PROSPECTIVE JUROR:     Evidence that it's -- you

         14        are not sure if the person did it or not, because it is

         15        circumstantial.

         16                     MR. REEVES:    Okay.   Do you think you could listen

         17        to Justice Rooney when he gives the technical legal

         18        definition of it?

         19                     A PROSPECTIVE JUROR:     Yes.

         20                     MR. REEVES:    Okay?   And in this trial, even

         21        though it is a murder case, I don't expect you are ever

         22        going to have a witness come in, take that stand and point

         23        at that man and say I saw him shoot David Williams.            It is

         24        not going to happen in this case.

         25                     Miss Gronock, instead, what we are going to do is
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 292 of 1061 PageID #: 487
  000290
                                                                        62
                                Jury Selection


     1         there will be a series of witnesses.         They will come and

     2         tell you about what they saw and they heard.          You will see

     3         some videotape, you will see some physical evidence.            And

     4         the type of evidence we are using is circumstantial, okay?

     5         In other words, it's a series of circumstances that when

     6         you put them together they prove beyond a reasonable doubt

     7         the defendant committed this murder.         Okay?

     8                    Now, the Court will tell you at the appropriate

     9         time direct evidence, which is when someone sees something

    10         or they hear it, and circumstantial evidence -- there is

    11         no -- one is not better than the other, okay?          Do you

    12         understand me so far?

    13                     Do you have any opinion about what I have just

    14         said?

    15                    A PROSPECTIVE JUROR:       Not really.

    16                    MR. REEVES:     Okay, because there are some people

    17         who might feel, well, you know, what if you don't have an

    18         eyewitness?    If you don't have five eyewitnesses, the way I

    19         was raised I couldn't convict.

    20                    Miss Yonko, what do you think?         If the law allows

    21        me to present circumstantial evidence, do you think you

    22         could use that to reach a verdict in a case?

    23                    A PROSPECTIVE JUROR:      Most likely.

    24                    MR. REEVES:     Okay.   Is there anything that you

    25         think would prevent you?
      Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 293 of 1061 PageID #: 488
        000291
                                                                              63
                                      Jury Selection

---        1                    A PROSPECTIVE JUROR:      No.

           2                    MR. REEVES:     Miss Cummings, what do you think?

           3                    A PROSPECTIVE JUROR:       I am fine with it.

           4                    MR. REEVES:     Okay.   The reason I ask,

           5        Mr. Connolly -- and I didn't mean to put you on the spot --

           6         is that sometimes people think, well, there is no

           7         eyewitness, how are you going to prove it?           But the law

           8        doesn't tell Miss Cilia and I how to prove our case, just

           9         to what level we have to prove.        Okay?

          10                    Do you think you could use, Mr. Connolly -- you

          11         could use circumstantial evidence?


-         12

          13
                                A PROSPECTIVE JUROR:

                                MR. REEVES:
                                                           Yes, sir.

                                                Mr. Minogue, do you think you could

          14         do it?

          15                    A PROSPECTIVE JUROR:       Yes.

          16                    MR. REEVES:     Is there anyone who thinks, you know

          17         what, it is a murder case, I couldn't do it?

          18                    Miss Gentile, what do you think in the back?

          19                    A PROSPECTIVE JUROR:       I think

          20                    MR. REEVES:     You are actually in a really good

          21         spot because I have trouble seeing you, and generally if I

          22         don't see you I don't ask questions.           I know you can go

          23         right around the wall and I will leave you alone.

          24                    What do you think though?

          25                    A PROSPECTIVE JUROR:       No,    I think I could.
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 294 of 1061 PageID #: 489
      000292
                                                                            64
                                    Jury Selection


         1                     MR. REEVES:    Is there anyone who just heard what

         2         I said that feels, you know, deep down, oh, I am not

         3        comfortable?

         4                     Miss Diez, what do you think?

         5                     A PROSPECTIVE JUROR:     No, I am comfortable.

         6                     MR. REEVES:    Miss Hamilton, do you think you

         7        could use it?

         8                     A PROSPECTIVE JUROR:     Yes.

         9                     MR. REEVES:    The one thing I do want to tell you,

        10         kind of be up front with you about, the physical evidence

        11         is -- well, before I start that.


-       12

        13
                               Anyone here affected by Hurricane Sandy in a

                   sense that you lost your house or anything or anybody that

        14         you know?

        15                     Miss Gentile, you did.

        16                     A PROSPECTIVE JUROR:     Yes.

        17                     MR. REEVES:    Have you recovered from it?

        18                     A PROSPECTIVE JUROR:      Yes.

        19                     MR. REEVES:    Okay.   Now, in this case I talked a

        20         little bit about the physical evidence.         Some of the

        21         evidence we had was stored in a warehouse that was

        22        destroyed in Hurricane Sandy.        So we will be able to



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        24
                  present pictures of the evidence to you but you are not

                   going to see or touch the physical evidence.          And the Court

        25         again will give you an instruction on that if it is
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 295 of 1061 PageID #: 490
      000293
                                                                               65
                                      Jury Selection


-        1         appropriate.

         2                    But do you think that would affect,

         3        Miss Trimboli, the way you -- if you could see pictures of

         4         it and not the actual physical evidence, do you think that

         5         would --

         6                    A PROSPECTIVE JUROR:       I guess it is the same

         7        thing,   I guess.     If you have pi c tures.

         8                    MR. REEVES:     Okay.    Anybody feel differently?

         9                    Mr. George, what do you think?

        10                    A PROSPECTIVE J UROR:      I don't think it would be a

        11        problem.

        12                    MR. REEVES:     Okay.    Now, with that out of the

        13        way, the next thing I wanted to talk to you about -- so far

        14         everybody's okay with the type of evidence and the

        15        circumstantial evidence stuff; right?            No one has any

        16         serious concerns about that?

        17                    Mr. Chen?

        18                    A PROSPECTIVE JUROR:       No.

        19                    MR. REEVES:     You will sit and listen.

        20                    A PROSPECTIVE JUROR:       Yes.

        21                    MR. REEVES:     Let me just talk briefly about your

        22         job as jurors.

                              Mr. Minogue, what do you have to do as a juror?
-
        23

        24                    A PROSPECTIVE JUROR:       Listen?     Decide.

        25                    MR. REEVES:     That's it.       Those are the only two
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 296 of 1061 PageID #: 491
      000294
                                                                            66
                                      Jury Selection


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         2
                   things.   What do I have to do as a prosecutor in this case?

                   I have to do two things.      Miss Cilia has to do the same two

         3         things.   We have to prove beyond a reasonable doubt the

         4         following two things:      The defendant caused the death of

         5         David Williams and he did it on purpose.         That's all we

         6         have to do.     Okay?   We are going to do it with the type of

         7         evidence I told you about.       We are going to use

         8         circumstantial evidence to prove it.

         9                     Is everybody with me so far?

        10                    Miss Hamilton, any questions?

        11                    A PROSPECTIVE JUROR:      No.


-       12

        13
                              MR. REEVES:

                   you could do?
                                              Does it sound like it is something



        14                    A PROSPECTIVE JUROR:       Yes.

        15                    MR. REEVES:     Now, you as jurors -- Mr. Minogue

        16        was right on the money:       You have got to listen and decide.

        17        When you listen you also have to evaluate.           In other words,

        18         you have to pay attention to what's being said and figure

        19        out does it make sense, does it sound logical, does it

        20         sound implausible.

        21                    Okay.    Ms. Ogofa, do you think that is something

        22         you could do?

                              A PROSPECTIVE JUROR:      Yes.

-
        23

        24                    MR. REEVES:     Do you have any children?

        25                    A PROSPECTIVE JUROR:       I do.
        Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 297 of 1061 PageID #: 492
          000295
                                                                                67
                                        Jury Selection


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             2
                                  MR. REEVES:     How many kids do you have?

                                  A PROSPECTIVE JUROR:      Two daughters.

             3                    MR. REEVES:     If you don't mind me asking their

             4        ages.

             5                    A PROSPECTIVE JUROR:      Six and four.

             6                    MR. REEVES:     So they are a little young.        I have

             7        teenagers so I am like a referee.

             8                    Do your children have any situations where you

             9        have to decide when the six-year old or the four-year old

            10        was telling you an accurate version of events?

            11                    A PROSPECTIVE JUROR:      Yes.

            12                    THE CLERK:     Okay.   What kind of things do you use
-   -

            13        to figure out who's telling you the accurate version?

            14                    A PROSPECTIVE JUROR:      First and foremost,      I don't

            15        take sides of either one of them; try to call them down and

            16        ask what happened.

            17                    MR. REEVES:     Could you just keep your voice up.

            18                    A PROSPECTIVE JUROR:      That I just never take

            19         sides with my daughters.      I always just explain to them

            20        that they have to be kind to each other and find out what

            21        went wrong.     And then I ask them to just unconditionally

            22         love and be kind and, you know, whatever.

            23                    MR. REEVES:     So you give them a listen.
--
            24                    A PROSPECTIVE JUROR:      Absolutely.

            25                    MR. REEVES:     Do you think it would be any
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 298 of 1061 PageID #: 493
  000296
                                                                        68
                                 Jury Selection


     1        different if you came in here to listen to our witnesses in

     2         this case?

     3                      A PROSPECTIVE JUROR:     No.

     4                      MR. REEVES:   Everybody understand what I just

     5        asked?    You know, what you do outside of court you would do

     6        here.    You sit and you listen, and if something makes sense

     7        and it's logical, it's accurate.         If it doesn't make sense,

     8        maybe it's not accurate.

     9                      Mr. Connolly, does that make sense to you?

    10                      A PROSPECTIVE JUROR:     Yes, sir.

    11                      MR. REEVES:   You think you could come in and sit

    12        and listen?

    13                      A PROSPECTIVE JUROR:     Yes, sir.

    14                      MR. REEVES:   Make a decision later on?

    15                      A PROSPECTIVE JUROR:     Yes, sir.

    16                      MR. REEVES:   Okay.    Now, the one thing the Court

    17        will never tell you that a prosecutor has to prove in the

    18        State of New York is motive.

    19                      Miss Hamilton, do you know what motive is?

    20                      A PROSPECTIVE JUROR:     The reason why the person

    21        committed a crime.

    22                      MR. REEVES:   There you go.    That is exactly it.

    23        We only have to prove the two things I told you about, and

    24        the Court will tell you what those are:            The defendant did

    25        it and he did it on purpose.         You may not hear during the
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 299 of 1061 PageID #: 494
      000297
                                                                            69
                                     Jury Selection


-        1

         2
                  course of this entire trial why he did it, okay?

                                Do you think that would affect your ability to

         3        make a decision, Miss Hamilton?

         4                      A PROSPECTIVE JUROR:     No.

         5                      MR. REEVES:   Why is that?

         6                      A PROSPECTIVE J UROR:    Because the crime is a

         7         crime proven for any reason.         It doesn't matter why it was

         8         committed.

         9                      MR. REEVES:   Okay.

        10                      And, Mr. George, what Miss Hamilton just said is

        11        accurate?


-       12

        13
                                A PROSPECTIVE JUROR:

                                MR. REEVES:
                                                         Yeah.

                                              I have to prove two things, the

        14        defendant did it and he did it on purpose.           If you as a

        15         juror figured out, oh, we did that, you know, he proved

        16        beyond a reasonable doubt the defendant shot the victim and

        17        he did it on purpose, but in the back of your mind you

        18         think but they never told me why it happened, therefore I

        19        am not going to convict, do you understand that that would

        20        be holding me to a higher standard than the law itself?

        21                      Do you think you would do that, Mr. George?

        22                      A PROSPECTIVE JUROR:      I don't think it would be a

        23        problem.

-       24                      MR. REEVES:   It may be that during the course of

        25        the trial it comes out on why this happened, but that's not
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 300 of 1061 PageID #: 495
      000298
                                                                            70
                                    Jury Selection


         1        one of the things that we have to prove.

         2                    Mr. Chen, do you understand

         3                    A PROSPECTIVE JUROR:      Yes.

         4                    MR. REEVES:     -- what I am getting at?

         5                    A PROSPECTIVE JUROR:      Yes.

         6                    MR. REEVES:     Is there anyone here that if you

         7        didn't hear why the defendant did this would be so troubled

         8        that you couldn't follow the law and convict if everything

         9        else, the two elements we have to prove, are proven beyond

        10        a reasonable doubt?

        11                    Mr. Minogue, did you follow that?         What do you

        12        think about that?

        13                    A PROSPECTIVE JUROR:      No.     It wouldn't bother me.

        14         I wouldn't have to know that.

        15                    MR. REEVES:     The last thing I want to talk to you

        16        about -- and in the beginning there was a little silliness

        17        with the Yankees and the weather.           I want you to understand

        18         that I take this very seriously, and the crime the

        19        defendant is charged with is probably the most serious

        20        charge you could have in the State of New York, okay?

        21                    With that being said, I want you to look at the

        22        defendant, okay?      And I want you to ask yourself this

                  question:     If it's proven with evidence beyond a reasonable

-
        23

        24        doubt that that defendant shot and killed David Williams on

        25         December 8, 2011, could you follow the law and convict him?
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 301 of 1061 PageID #: 496
      000299
                                                                            71
                                    Jury Selection


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         2
                              Miss Diez, what do you think?

                              A PROSPECTIVE JUROR:      If the evidence showed it.

         3                    MR. REEVES:     Yes.   If the evidence doesn't show

         4        it, what do you have to do?

         5                    Mr. Chen, if I can't prove it, what must your

         6        verdict be as a juror?

         7                    A PROSPECTIVE JUROR:      Not guilty.

         8                    MR. REEVES:     Not guilty.      You see, that is the

         9        easy one.    My question is if it's proven -- you heard the

        10        Court tell you you must convict.

        11                    Ma'am, could you do it?


-       12

        13
                              A PROSPECTIVE JUROR:

                              MR. REEVES:
                                                        Absolutely.

                                              Miss Trimboli, what do you think?

        14                    A PROSPECTIVE JUROR:       I think so.

        15                    MR. REEVES:     If it is not proven, that is easy;

        16        he is not guilty.      If it's proven, could you do it?

        17                    A PROSPECTIVE JUROR:      Beyond a reasonable doubt?

        18                    MR. REEVES:     Absolutely.      That's the standard.

        19                    A PROSPECTIVE JUROR:      Yes.

        20                    MR. REEVES:     Miss Gronock, could you do it?

        21                    A PROSPECTIVE JUROR:      Yes.

        22                    MR. REEVES:     Is there anyone here who thinks, you

                   know what, based on the way I was raised, you know, my

-
        23

        24        teachings in the church, my life experience, I couldn't do

        25        it no matter how much proof you give me?           I couldn't vote
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 302 of 1061 PageID #: 497
      000300                                                               72
                                   Jury Selection


         1        guilty on a murder case?       Is there anyone here who feels

         2        that way?

         3                    Miss Yonko, how do you feel about it?

         4                    A PROSPECTIVE JUROR:      If the evidence showed,

         5        then yes; otherwise, if not, then not guilty.

         6                    MR. REEVES:     That's it.

         7                    Miss Gentile, what do you think?

         8                    A PROSPECTIVE JUROR:       I believe given the

         9        evidence I could find him guilty or not guilty.

        10                    MR. REEVES:     If it's beyond a reasonable doubt,

        11        could you vote guilty?       That would be my question.       It is


-       12

        13
                  not a trick question, it's just that.

                              A PROSPECTIVE JUROR:      Yes.

        14                    MR. REEVES:     I wanted to make it real for you on

        15        what the jury

        16                    A PROSPECTIVE JUROR:      Yes.

        17                    MR. REEVES:     At the end of the trial Miss Cilia

        18         is going to make an argument to you that based on the

        19        evidence you must convict this defendant and, Miss

        20        Cummings, I want to know if you can do it.

        21                    A PROSPECTIVE JUROR:      Yes.

        22                    MR. REEVES:     If the evidence is there.

        23                    A PROSPECTIVE JUROR:      As far as I know I could.
-       24                    MR. REEVES:     Last chance.     Anyone who thinks they

        25        couldn't do it?      Even if the evidence is there I still
     Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 303 of 1061 PageID #: 498
       000301
                                                                             73
                                     Jury Selection


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          2
                   won't do it?

                               Miss Diez?     You still okay with it?

          3                    A PROSPECTIVE JUROR:      Yes.

          4                    MR. REEVES:     Thank you, ladies and gentlemen.

          5        Thank you, your Honor.

          6                    THE COURT:     Miss Guastella.

          7                    MS. GUASTELLA:     Thank you.

          8                    Well, I guess the only good thing about jury duty

          9        is there are no right or wrong answers,         just very honest

         10        answers.    I appreciate your taking your time.         I apologize

         11         for talking fast and mispronouncing anybody's names.

         12                    Mr. Min ogue, you said your brother is a police
--

         13        officer?

         14                    A PROSPECTIVE JUROR:      Yes.

         15                    MS. GUASTELLA:     Does he work on Staten Island?

         16                    A PROSPECTIVE JUROR:      No.

         17                    MS. GUASTELLA:     Where does he work?

         18                    A PROSPECTIVE JUROR:      He is the commanding

         19        officer, Brooklyn South Homicide.

         20                    MS. GUASTELLA:     Do you have an occasion to speak

         21        to him about his cases?

         22                    A PROSPECTIVE JUROR:      No, not really.

         23                    MS. GUASTELLA:     How often do you talk to your
-        24        brother?

         25                    A PROSPECTIVE JUROR:      Every couple of weeks, I
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 304 of 1061 PageID #: 499
      000302
                                                                            74
                                    Jury Selection


         1        guess.

         2                     MS. GUASTELLA:    How long has he been in homicide?

         3                     A PROSPECTIVE JUROR:     Going to say about three

         4        years he has been there.

         5                     MS. GUASTELLA:    Do you know if he has testified

         6        at trials?

         7                     A PROSPECTIVE JUROR:     I am sure he has.        I don't

         8        really ask him.

         9                     MS. GUASTELLA:    How long have you been a

        10        firefighter?

        11                     A PROSPECTIVE JUROR:     16 years.


-       12

        13
                               MS. GUASTELLA:    On Staten Island?

                               A PROSPECTIVE JUROR:     No, Brooklyn.

        14                     MS. GUASTELLA:    Have you ever had occasions to

        15        deal with fire marshals on an investigation?

        16                     A PROSPECTIVE JUROR:     Yes.

        17                     MS. GUASTELLA:    Have you assisted them in putting

        18        together cases for a trial?

        19                     A PROSPECTIVE JUROR:     No.

        20                     MS. GUASTELLA:    Have you ever attended a trial --

        21                     A PROSPECTIVE JUROR:     No.

        22                     MS. GUASTELLA:    -- with them?      No.

        23                     A PROSPECTIVE JUROR:     No.
-       24                     MS. GUASTELLA:    Now, we are here because the

        25        prosecution is accusing Armand of committing a crime.
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 305 of 1061 PageID #: 500
      000303                                                               75
                                   Jury Selection


-        1        Murder.    Anybody here offended by the fact that he is

         2        accused of committing a murder?

         3                     How about you?     Does it bother you that it's a

         4        murder; that you might hear from someone from his family

         5        explain how they loved him and he is no longer here because

         6        of Armand?

         7                     A PROSPECTIVE JUROR:     No.

         8                     MS. GUASTELLA:     And you understand that it is an

         9        accusation; right?        Miss Gentile?     We are here because an

        10        accusation is made?

        11                     A PROSPECTIVE JUROR:     Excuse me?


-       12

        13        is made.
                               MS. GUASTELLA:     We are here because an accusation



        14                     A PROSPECTIVE JUROR:     Right.

        15                     MS. GUASTELLA:     Does that make it more true

        16        because the prosecution is accusing him of a crime?

        17                     A PROSPECTIVE JUROR:     No.

        18                     MS. GUASTELLA:     Does anybody here think because

        19        we have come this far he must have done something wrong?

        20                     What about you?

        21                     A PROSPECTIVE JUROR:     No.

        22                     MS. GUASTELLA:     I am sorry.     I am bad with names.

        23        Not as great as obviously the other attorney.

-       24                     Miss Diez.

        25                     A PROSPECTIVE JUROR:     Diez.
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 306 of 1061 PageID #: 501
      000304
                                                                            76
                                    Jury Selection


         1                     MS. GUASTELLA:     I apologize.

         2                     A PROSPECTIVE JUROR:     That is okay.

         3                     MS. GUASTELLA:     Do you think because we have come

         4        this far he must have done something wrong?

         5                     A PROSPECTIVE JUROR:     Not necessarily.         It has to

         6        be based on evidence and hearing, listening to -- that's

         7        how I would be able to judge guilty or not guilty.

         8                     MS. GUASTELLA:     Can you think of any reasons why

         9        we would be here this far?

        10                     MR. REEVES:    Objection, your Honor.

        11                     THE COURT:    I think I will sustain that


-       12

        13
                  objection.

                               MS. GUASTELLA:     Miss Trimboli, how about you?         Do

        14        you think because we came this far he must have done

        15        something wrong?

        16                     A PROSPECTIVE JUROR:      I kind of tend to think

        17        that.    I do.

        18                     MS. GUASTELLA:     Now, the prosecution has the

        19        burden of proving the case beyond a reasonable doubt, but

        20        it is not that simple.        As the judge will explain to you,

        21        each crime has elements, and they have to prove each

        22        element beyond a reasonable doubt, not just in general the



-       23

        24
                  actual crime.

                               Miss Cummings, do you understand that?

        25                     A PROSPECTIVE JUROR:      I think so.
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 307 of 1061 PageID #: 502
      000305
                                                                            77
                                       Jury Selection


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                               MS. GUASTELLA:     You said you are a social worker.

                               A PROSPECTIVE JUROR:     No.

         3                     MS. ROBIN:     I am sorry, teacher with special

         4        needs.

         5                     A PROSPECTIVE JUROR:     Yes.

         6                     MS. GUASTELLA:     What level of special needs?

         7                     A PROSPECTIVE JUROR:     Severe autism.

         8                     MS. GUASTELLA:     Some children speak and some

         9        don't; correct?

        10                     A PROSPECTIVE JUROR:     Right.

        11                     MS. GUASTELLA:     Did you ever have occasion where


-       12

        13
                   you had to decide what happened with an incident in the

                  classroom?

        14                     A PROSPECTIVE JUROR:     Not so far.     I am a

        15        substitute so ...

        16                     MS. GUASTELLA:     How long have you been doing

        17        that?

        18                     A PROSPECTIVE JUROR:     This is my first year.

        19                     MS. GUASTELLA:     Oh.   I commend you for that.         It

        20        is difficult work.

        21                     Miss Gronock, you're a social worker.

        22                     A PROSPECTIVE JUROR:     Yes.

        23                     MS. GUASTELLA:     I was close.

-       24                     Okay.    And where do you work?

        25                     A PROSPECTIVE JUROR:     East New York.
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 308 of 1061 PageID #: 503
      000306
                                                                            78
                                    Jury Selection


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         2
                              MS. GUASTELLA:     What do you do?

                              A PROSPECTIVE JUROR:      Work for a preventive

         3        agency.

         4                    MS. GUASTELLA:     What is that exactly?

         5                    A PROSPECTIVE JUROR:      So basically we work with

         6        families and children referred to us through ACS to prevent

         7        their removal from the parents.

         8                    MS. GUASTELLA:     Have you ever attended or

         9        testified at hearings?

        10                    A PROSPECTIVE JUROR:      Not in this job, but I used

        11        to work in foster care, so I have.


-       12

        13
                              MS. GUASTELLA:     Foster care on Staten Island.

                              A PROSPECTIVE JUROR:       In Harlem.

        14                    MS. GUASTELLA:     How long have you been doing

        15        this?

        16                    A PROSPECTIVE JUROR:      Eight years?

        17                    MS. GUASTELLA:     Miss Gentile, you said your

        18        husband is a police officer?

        19                    A PROSPECTIVE JUROR:      Retired.

        20                    MS. GUASTELLA:     Where did he retire from?

        21                    A PROSPECTIVE JUROR:      Brooklyn.

        22                    MS. GUASTELLA:     Do you know what he did?        Did he



-
        23        work in a special unit?       Was he uniformed?

        24                    A PROSPECTIVE JUROR:      NSU.

        25                    MS. GUASTELLA:     Did you ever talk to him about
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 309 of 1061 PageID #: 504
      000307                                                                79
                                    Jury Selection


-        1        any of the incidents that he had to report to?

         2                     A PROSPECTIVE JUROR:     Sure.

         3                     MS. GUASTELLA:    Miss Yonko, your husband is

         4        retired.

         5                     A PROSPECTIVE JUROR:     Father.

         6                     MS. ROBIN:    I am sorry.      Where is he a detective?

         7                     A PROSPECTIVE JUROR:     He is on Staten Island.

         8                     MS. GUASTELLA:    Do you know where?

         9                     A PROSPECTIVE JUROR:     He is actually in a special

        10        unit now, ESU.

        11                     MS. GUASTELLA:    Do you speak to your dad about


-       12

        13
                  his cases?

                               A PROSPECTIVE JUROR:     Sometimes.

        14                     MS. GUASTELLA:    Miss Ogofa, you said you work at

        15        a law firm; correct?

        16                     A PROSPECTIVE JUROR:     Yes.

        17                     MS. GUASTELLA:    And you organize the pro bono

        18        cases that come in.

        19                     A PROSPECTIVE JUROR:     Yes.

        20                     MS. GUASTELLA:    Are some of those criminal cases?

        21                     A PROSPECTIVE JUROR:     No.

        22                     MS. GUASTELLA:    Do you take the ferry to work

        23        every day?

        24                     A PROSPECTIVE JUROR:      I don't.

        25                     MS. GUASTELLA:    Does anybody here take the ferry
     Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 310 of 1061 PageID #: 505
       000308
                                                                             80
                                     Jury Selection


          1        back and forth to work?       Take the ferry every day?

          2                     A PROSPECTIVE JUROR:     Yes.

          3                     MS. GUASTELLA:    Travel back and forth?

          4                     A PROSPECTIVE JUROR:     Yes.

          5                     MS. GUASTELLA:    Anybody else take the ferry back

          6        and forth every day?

          7                     A PROSPECTIVE JUROR:     Yes.

          8                     MS. GUASTELLA:    Anyone here a member of the PTA?

          9                     Anybody a member of a community board on Staten

         10         Island?

         11                     Anybody a member of the NRA?

         12                     Anyone here like to go hunting and fishing?

         13        Anybody hunt?     No?

         14                     Mr. Minogue.

         15                     A PROSPECTIVE JUROR:     No.

         16                     MS. GUASTELLA:    Do you have a gun license?

         17                     A PROSPECTIVE JUROR:     No.

         18                     MS. GUASTELLA:    Anybody here have a gun license

         19        or permit?

         20                     Mr. Pascarella, if you are selected in this case,

         21        can you be fair to Armand, give him a fair shake?

         22                     A PROSPECTIVE JUROR:     I feel like it is not

         23        really my business so I mean I would be fair with the
--
         24        evidence given, so ...

         25                     MS. GUASTELLA:    Thank you.
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 311 of 1061 PageID #: 506
      000309
                                                                            81
                                    Jury Selection


         1                    Mr. George, how about you?         Can you give my

         2        client a fair shake?

         3                    A PROSPECTIVE JUROR:      I would give him a fair

         4        shake.

         5                    MS. GUASTELLA:     Does everybody understand as he

         6        sits here he is presumed innocent, and by sitting here he

         7        has already testified, in effect telling

         8                    MR. REEVES:     Objection.

         9                    THE COURT:     I will sustain that.      The presumption

        10        of innocence is defined.       I think I went over it pretty

        11        thoroughly.


-       12

        13
                              MS. GUASTELLA:     We are here because he pled not

                  guilty, so as we sit here he is presumed innocent.             So if

        14        we had to vote -- go into the jury room right now and

        15        deliberate, the only verdict you could come back with is

        16        not guilty.     The judge will explain it to you a little bit

        17        more.    That is just basically the presumption of innocence.

        18                    And they have to do all the work.

        19                    Mr. Minogue, do you think it is unfair that they

        20        have all the work?

        21                    A PROSPECTIVE JUROR:      No.   You said you have to

        22        prove it       you know, he is innocent until proven guilty.

                              MS. GUASTELLA:     They have to prove that.        We have
-
        23

        24        to do nothing.

        25                    A PROSPECTIVE JUROR:      Right.
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 312 of 1061 PageID #: 507
      000310
                                                                            82
                                    Jury Selection


-        1                    MS. GUASTELLA:     But at the end of the trial if

                   they don't prove a motive to you, are you going to look to
         2

         3        Armand to solve the case for you or to tell you what

         4        happened in this case?

         5                    MR. REEVES:     Objection, your Honor.

         6                    MS. GUASTELLA:     Miss Bernard

         7                    THE COURT:     You mixed motive with something else.

         8         I didn't quite follow it.      Why don't you rephrase it.

         9                    MS. GUASTELLA:     I will withdraw it.

        10                    At the end of the case, Miss Bernard, are you

        11        going to look for Armand to answer any unresolved questions


-       12

        13
                  that the prosecution left you with?

                              A PROSPECTIVE JUROR:      No.

        14                    MS. GUASTELLA:     Anybody going to want to hear

        15         from Armand in this case?

        16                    MR. REEVES:     Objection, your Honor.

        17                    THE COURT:     Want to hear, and that's one concept.

        18         I will let you pursue it.       I might jump in.

        19                    MS. GUASTELLA:     Mr. Connolly, are you going to

        20        expect to hear from Armand in this case?

        21                    A PROSPECTIVE JUROR:      I am sure he will be

        22        questioned at some point.

        23                    MS. GUASTELLA:     What if he is not?

-       24                    A PROSPECTIVE JUROR:       It is their job to convince

        25        me that he is guilty.
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 313 of 1061 PageID #: 508
      000311                                                               83
                                   Jury Selection


-        1

                  at Armand?
                               MS. GUASTELLA:     Thank you.    Can you take a look

                                 Anything about him, his hair, his clothes,
         2

         3        anything about him makes him look guilty?

         4                     MR. REEVES:     Objection, your Honor.

         5                     THE COURT:     Anything about him makes him look

         6        guilty?

         7                     MS. GUASTELLA:     Sitting at the defense table.

         8                     THE COURT:     Are you asking if any of them think

         9        he is guilty right now?

        10                     MS. GUASTELLA:     I guess so, Judge.     Thank you.

        11                     THE COURT:     Okay.


-       12

        13
                               MS. GUASTELLA:     Anybody feel that way?

                               It is a tough question to answer but I need an
                                                                              No?



        14        honest answer, so does Armand.          Does anybody really feel

        15        that way?

        16                     ... Okay.    Thank you.

        17                     I am sorry, one more thing.

        18                     Mr. Taber, do you still want to talk privately?

        19                     A PROSPECTIVE JUROR:       Yeah, sure.

        20                     MS. GUASTELLA:     Judge, could we have a side bar?

        21        He wanted -- before he had told Mr. Reeves he would like to

        22        speak privately.

        23                     THE COURT:     Oh, okay.   Why don't we do this.         I

-       24

        25
                  will let everybody go for lunch.

                  Mr. Taber.     Stay with us, Mr. Taber.
                                                           We will speak to
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 314 of 1061 PageID #: 509
      000312
                                                                            84
                                    Jury Selection


-        1                     It's 10 to 1:00.     It is too late really to get

         2        into the next round.      We are going to break for lunch.

         3        What we would like all of you to do, those in the audience,

         4        those in the jury box, is please be back in Central Jury

         5        where you were this morning at 2:00.          Don't come here.        Go

         6        there.     We will send an officer over or two to bring you

         7        back here.

         8                     Don't discuss the case, please, with each other

         9        or anyone else.

        10                     (Prospective jurors leave courtroom, with the

        11        exception of Mr. Taber.)

        12                     THE CLERK:    State your name for the record.

        13                     A PROSPECTIVE JUROR:     Rich Taber.

        14                     THE COURT:    I don't know if Mr. Taber wanted to

        15        say something or if you wanted to ask him some questions.

        16                     A PROSPECTIVE JUROR:     You asked me about a

        17        problem with the Police Department.           I just don't trust

        18        lawyers.

        19                     THE COURT:    You don't trust lawyers.

        20                     A PROSPECTIVE JUROR:     Nope.     I don't believe

        21        everything.     I have a feeling they twist things around.

        22                     THE COURT:   Okay.



-       23                     A PROSPECTIVE JUROR:     Because I am going through

        24        a custody and a support case now and there is a lot of

        25        stuff that I am hearing from my ex-'s lawyer that don't
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 315 of 1061 PageID #: 510
      000313                                                               85
                                   Jury Selection


         1        make sense, and I don't believe a word they say sometimes.

         2                      THE COURT:    Obviously the trial is conducted by

         3        lawyers.

         4                      A PROSPECTIVE JUROR:    I know, but you asked me

         5        about if I believe cops.

         6                      THE COURT:    Is that feeling, Mr. Taber, the kind

         7        of thing you think would prevent you from being fair and

         8         impartial?

         9                      A PROSPECTIVE JUROR:    Absolutely.

        10                      THE COURT:    Counsel, any questions?

        11                      MR. REEVES:    None from the People, your Honor.


-       12

        13
                                MS. GUASTELLA:    No, Judge.

                                A PROSPECTIVE JUROR:     I am not saying all of you

        14         lawyers.     I just have a bad feeling right now with the

        15         lawyer I am working with.

        16                      MS. GUASTELLA:    Like I said, I appreciate your

        17        honest answer.

        18                      A PROSPECTIVE JUROR:    Nobody asked me about

        19         lawyers.     Everybody asked me about everybody else but

        20         lawyers so ...

        21                      THE COURT:    Okay.   I will let you go to lunch.

        22         Don't discuss this with anyone else.

        23                      A PROSPECTIVE JUROR:    Not a problem.     All right,

-       24        take care.

        25                      (Mr. Taber leaves courtroom.)
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 316 of 1061 PageID #: 511
      000314
                                                                             86
                                     Jury Selection


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         2
                               (Mr. Conniff enters courtroom.)

                               THE CLERK:     State your name for the record.

         3                     A PROSPECTIVE JUROR:        Daniel Conniff.

         4                     THE COURT:     Mr. Conniff, you wanted to speak to

         5        us, I understand?

         6                     A PROSPECTIVE JUROR:        Yes.   I apologize but I

         7        don't believe I could be fair to the defendant because of

         8        my personal experience with my brother's assault.               I don't.

         9                     THE COURT:     I think I got that impression

        10        earlier.     I don't know if the lawyers did.

        11                     Counselor, do you want to ask Mr. Conniff any


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        13
                  questions?

                               MR. REEVES:     No, your Honor.

        14                     A PROSPECTIVE JUROR:        I apologize.   I don't want

        15        to waste everybody's time.

        16                     MS. GUASTELLA:      I appreciate your honesty.

        17                     THE COURT:     Thanks.     I am going to let you go to

        18        lunch.     Don't discuss this with anyone else.

        19                     (Mr. Conniff leaves courtroom.)

        20                     THE COURT:     Okay.     Mr. Conniff has left.

        21        2:00 o'clock?      I guess we can go right into challenges

        22        then.    There is nothing left, is there?

        23                     No.   Okay.    I will see you at 2:00.

        24                     (Luncheon recess taken.)

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    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 317 of 1061 PageID #: 512
      000315
                                                                             87
                                    Jury Selection


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         2
                              A F T E R N O O N

                              THE COURT:
                                                        S E S S I O N

                                            Where do you want to do the

         3        challenges, counsel?       In the courtroom?

         4                    MS. CILIA:     Sure.

         5                    MS. GUASTELLA:     That's fine.

         6                    THE COURT:    Wherever you like.       We could do it at

         7        the side-bar as we did --

         8                    MS. CILIA:    Are the jurors coming in now?

         9                    MS. GUASTELLA:     We are bringing them in?

        10                    THE COURT:     I assume you want them in the box

        11        when you exercise challenges.          I don't know.     I don't care.

        12                    MR. REEVES:     We are ready to do it now if the

        13        Court wants.     It is totally up to you.

        14                    MS. GUASTELLA:     We are ready too, Judge.

        15                    THE COURT:     You want to do that?

        16                    MS. GUASTELLA:     Yes.     Fine.

        17                    THE COURT:    Why don't we do challenges then.            The

        18        defendant's present.      We are in open court but the jury is

        19        not here.

        20                    What I would like to do, if it is acceptable, is

        21        1 through 12 since we need 12.          Is that all right?

        22                    MR. REEVES:     Yes.

        23                    THE COURT:    Okay.    1 through 12.       That is up to

-       24        and including Number 12, Mr. Connolly.

        25                    Cause, People?
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 318 of 1061 PageID #: 513
  000316
                                                                        88
                                Jury Selection


     1                    MR. REEVES:     Mr. Pascarella.

     2                    THE COURT:     Is that a consent?

     3                    MS. GUASTELLA:     Judge, I did ask him if he could

     4        be fair.    He said he would listen to the evidence, he could

     5        be fair.

     6                    THE COURT:     That is why we need the jury in the

     7        box.    I am going to talk to him.

     8                    You know what, actually -- are you bringing them

     9        over?

    10                    THE COURT OFFICER:      Yes.

    11                    THE COURT:     Bring them over.     I would like to

    12        speak to Mr. Pascarella in the courtroom, just him.              He is

    13        in Seat Number 1.

    14                    The issue with Number 1, as I understand it, is

    15        can he evaluate police testimony fairly.          The People's

    16        position is no.

    17                    MR. REEVES:     Correct.

    18                    THE COURT:     I assume.   And I gather,

    19        Ms. Guastella, you think you might have rehabilitated him

    20        in terms of his ability to do what?

    21                    MS. GUASTELLA:     He would be fair.      He would

    22        listen to the evidence.       He could be fair.

    23                    THE COURT:     I am not sure he has been

    24        rehabilitated in terms of police testimony, but what I will

    25        do is bring him in and ask him a couple of questions.              If
     Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 319 of 1061 PageID #: 514
       000317
                                                                             89
                                     Jury Selection


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          2
                   either side wants to ask him further questions, go right

                   ahead.

          3                     (Short pause in proceedings.)

          4                     (Mr. Pascarella enters courtroom.)

          5                    THE COURT:     Mr. Pascarella, right?       I just wanted

          6        to ask you a question or two.

          7                    If you were selected as a juror in this case, do

          8        you think you could be fair and impartial to both sides?

          9                    A PROSPECTIVE JUROR:       Fair and -- yeah.        Yes.

         10                    THE COURT:     Let me ask you again about police

         11        officer testimony.       As you know from the witness list I

         12        read, the jury in this case is going to hear from police
·-

         13        officers and detectives.

         14                    A PROSPECTIVE JUROR:       Yeah.

         15                    THE COURT:     What do you think about that?          Could

         16        you evaluate a police witness' testimony fairly and

         17        impartially as would you any other witness or not?

         18                    Be honest.     I know I don't have to tell you that,

         19        but we want to know how you feel.            It is important.

         20                    A PROSPECTIVE JUROR:       No.

         21                    THE COURT:     No?

         22                    A PROSPECTIVE JUROR:       No.

                               THE COURT:    Any questions, counsel?
-
         23

         24                    MS. GUASTELLA:       No.

         25                    MS. CILIA:     No, your Honor.
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 320 of 1061 PageID #: 515
      000318
                                                                            90
                                    Jury Selection


         1                    THE COURT:     What I am going to do,

         2        Mr. Pascarella, is let you step out.          The lawyers and I are

         3        going to talk for another couple of minutes and then we are

         4        going to bring everybody back in.         So you can step out and

         5         I will see you shortly.      Thank you very much.

         6                    A PROSPECTIVE JUROR:       No problem.

         7                     (Mr. Pascarella leaves courtroom. )

         8                    THE COURT:    Okay.    He has left.      Any further

         9        discussion on this cause challenge?

        10                    MS. GUASTELLA:     No, Judge.

        11                    THE COURT:    All right.     I will grant the People's


-       12

        13
                  cause challenge as to Mr. Pascarella.

                              People, any other cause challenges up to and

        14        including Seat 12?

        15                    MR. REEVES:     Number 4, Mr. Conniff, your Honor.

        16                    MS. GUASTELLA:     No objection.

        17                    THE COURT:     Okay.   May I mark that as cause on

        18        consent?

        19                    MS . GUASTELLA:    Yes.

        20                    THE COURT:     For cause on consent, Number 4,

        21        Mr. Conniff.

        22                    MR. REEVES:     And Number 8, Mr. Taber.



-       23

        24
                              MS. GUASTELLA:

                              THE COURT:
                                                 On consent, Judge.

                                             Number 8 on consent, Mr. Taber, for

        25        cause.
       Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 321 of 1061 PageID #: 516
         000319
                                                                               91
                                       Jury Selection

.- -        1                    MR. REEVES:     The People have no further

            2        challenges for cause.

            3                    THE COURT:     Defense, any cause challenges up

            4        through and including Seat 12?

            5                    MS. GUASTELLA:     Miss Trimboli.     I asked her the

            6         fact we got this far, does that mean that

            7                    THE COURT:     I am sorry?

            8                    MS. GUASTELLA:     The fact we got this far, does

            9        that mean Mr. Skrine must have did something wrong, and she

           10        said that she does tend to think he must have done

           11        something wrong.

           12                    THE COURT:     People?

           13                    MR. REEVES:     I would oppose that, your Honor.          I

           14        don't think it rises to the level of a challenge for cause.

           15                    THE COURT:     Shall I bring her in?      Let's bring in

           16        Miss Trimboli, Seat Number 6.

           17                     (Ms. Trimboli enters courtroom.)

           18                    THE COURT:    Miss Trimboli, I just wanted to ask

           19        you a question.

           20                    Is it or is it not your feeling that since we

           21        have gotten to this stage of the proceeding, as we are

           22        beginning jury selection in a criminal trial, is it or is

           23        it not your feeling that Mr. Skrine, the defendant, must

-          24        have done something wrong?        Answer me truthfully, please.

           25                    A PROSPECTIVE JUROR:      I d id say that before that
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 322 of 1061 PageID #: 517
      000320
                                                                            92
                                    Jury Selection


         1        you would think that.       You would think that.      But he is

         2        entitled to a fair trial.

         3                    THE COURT:     It is important.

         4                    A PROSPECTIVE JUROR:      Like everybody else.

         5                    THE COURT:     It is important I know what, if any,

         6        effect, if you were selected here, this would have on your

         7        ability to be fair and impartial.         If you are feeling as

         8        you think he must have done something wrong, maybe your

         9        mindset is wrong for this case.         On the other hand, if you

        10        can accept the law in terms of presumption of innocence and

        11        wash that feeling out of your mind and be completely open,


-       12

        13
                  that's another story.

                               I want you to tell me how you feel because it's

        14        very important that we know that.         So don't hold back.

        15                    A PROSPECTIVE JUROR:      Well, it is the first thing

        16         that came out of my mouth so I don't know.          I guess it's

        17        how I feel.     It's the first thing that came out of my

        18        mouth, but at the same time I didn't finish it by saying

        19        but everyone's entitled to a fair trial.

        20                    THE COURT:     Okay.

        21                    A PROSPECTIVE JUROR:      You know?

        22                    THE COURT:     Counsel, any questions?



-       23

        24
                              A PROSPECTIVE JUROR:

                              MR. REEVES:
                                                        That's how I feel.

                                              Miss Trimboli, remember before when

        25         I said if we don't prove beyond a reasonable doubt the
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 323 of 1061 PageID #: 518
      000321
                                                                            93
                                    Jury Selection


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                  defendant's guilt what would you have to do as a juror?

                              A PROSPECTIVE JUROR:      Could you repeat that?

         3                    MR. REEVES:     Sure.   When I was talking to the

         4        group before I said if the prosecution, Miss Cilia and I,

         5        don't prove beyond a reasonable doubt with evidence the

         6        defendant was guilty, what would a juror have to vote?

         7                    A PROSPECTIVE JUROR:      Not guilty.

         8                    MR. REEVES:     And could you do that?

         9                    A PROSPECTIVE JUROR:      Of course.     If it's -- if I

        10         feel that, you know, you didn't prove that.          Of course.

        11                    MR. REEVES:     Conversely, if it is proven with


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        13
                  evidence you would have to vote guilty.

                              A PROSPECTIVE JUROR:      Yes.

        14                    MR. REEVES:     Would you have any problem putting

        15        aside -- you know, when you were asked the question since

        16        we have gotten to a trial do you think he must have done

        17         something wrong, when you answered yes

        18                    A PROSPECTIVE JUROR:       It sounded kind of harsh

        19        but I think it is the first thing that would pop into

        20        anyone's mind but

        21                    MR. REEVES:     Does the defendant start this trial

        22        presumed innocent?      That is, the standard that is --



-       23                    A PROSPECTIVE JUROR:       It has to be, of course.

        24                    MR. REEVES:     Thank you, Miss Trimboli.

        25                    I have no further questions, your Honor.
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 324 of 1061 PageID #: 519
      000322
                                                                            94
                                    Jury Selection


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         2
                               THE COURT:    Okay.   I will let you step out.

                  are going to bring everybody back in a minute or two.
                                                                                       We



         3                     (Miss Trimboli leaves courtroom.)

         4                     THE COURT:    Okay.   She has stepped out.        Any

         5         argument?

         6                     MR. REEVES:    I would rest on the record, your

         7        Honor.

         8                     MS. GUASTELLA:    No argument.

         9                     THE COURT:    You are maintaining your challenge.

        10                     MS. GUASTELLA:    Yes.

        11                     THE COURT:    I am going to grant the cause


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                  challenge.     I think she is equivocal, and the Court of

                  Appeals has made it clear that equivocation should be

        14         cleared up.    So I will grant that cause challenge.

        15                     Any other cause challenges?       That's Number 6,

        16        Anthony.

        17                     THE CLERK:    Yes, sir.

        18                     THE COURT:    Any other, defense?

        19                     MS. GUASTELLA:    To Number 12, no.

        20                     THE COURT:    People, peremptory challenges up to

        21         and including Seat 12.

        22                     MR. REEVES:    Number 2, Miss Ogofa.      That is it,



-       23

        24
                   your Honor.

                               THE COURT:    Defense?    Peremptory challenge up

        25        through and including Seat 12.
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 325 of 1061 PageID #: 520
      000323
                                                                             95
                                    Jury Selection


         1                     MS. GUASTELLA:       Mr. Chen, Miss Gentile,

         2        Mr.   Minogue.    That's it.

         3                     THE COURT:    That's it?      Okay.    So stay with me,

         4        everybody.     Seat Number 5, Miss Gronock, becomes Juror 1;

         5        Seat Number 7, Miss Bernard, becomes Juror 2; Seat

         6        Number 10, Mr. George, becomes Juror 3; and Seat Number 12,

         7        Mr. Connolly, becomes Juror 4.           Agreed?

         8                     MS. GUASTELLA:       Yes, Judge.

         9                     MS. CILIA:    Yes.

        10                     THE COURT:    Let's do the remaining four, 13, 14,

        11        15 and 16.


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        13
                               Cause, People?

                               MR. REEVES:    No challenges for cause, your Honor.

        14                     MS. GUASTELLA:       None for cause.

        15                     THE COURT:    Peremptory, People?

        16                     MR. REEVES:    Number 14, Miss Diez.        I have no

        17        further challenges.

        18                     THE COURT:    Peremptory, defense?

        19                     MS. GUASTELLA:       Miss Cummings and Miss Yonko.

        20                     THE COURT:    So Seat Number 15, Miss Hamilton,

        21        becomes Juror Number 5.        Agreed?

        22                     MS. GUASTELLA:       Yes.



-
        23                     MR. REEVES:    Yes.

        24                     THE COURT:    Okay.     We could bring them in.     We

        25        are going to swear in those five people and we agreed I am
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 326 of 1061 PageID #: 521
      000324
                                                                             96
                                     Jury Selection


-        1        going to tell them to come back Monday for the commencement

         2        of the trial?

         3                     MS. GUASTELLA:       Yes.

         4                     THE COURT:    You think there is any point in

         5         talking about sooner?      I mean I am not going to fight you

         6        on this because I agreed to it yesterday, I think, or some

         7         time ago.

         8                     MR. REEVES:    We have been planning for Monday for

         9        witnesses so ...

        10                     THE COURT:    All right.     Of course, that means

        11        these people are going to be leaving, if you agree, on

        12        Wednesday afternoon, we won't see them again until Monday

        13        morning, which is fine with me, as long as you all agree.

        14                     MS. GUASTELLA:       That is okay.

        15                     THE COURT:    So both sides agree I will swear them

        16         in at least until Monday morning.         Is that right?

        17                     MS. GUASTELLA:       Yes, Judge.

        18                     MS. CILIA:    Yes.

        19                     THE COURT:    All right, fine.

        20                     MS. GUASTELLA:       At some point you will instruct

        21        them that if they see us on the street, if we don't say

        22        hello we are not being rude.

        23                     THE COURT:    I usually do that if the lawyers want

        24        me to in my preliminary instructions.             Is that all right?

        25                     MS. GUASTELLA:       That's fine.
     Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 327 of 1061 PageID #: 522
       000325
                                                                             97
                                     Jury Selection


--        1                     THE COURT:    We could bring them in, Vito.

          2                     (Prospective jurors enter courtroom.)

          3                     THE CLERK:    When I say your name,     just remain

          4         seated.   The people in the box, the rest of the people in

          5         the box just step to the court officer.

          6                     Tabitha Gronock, Andrea Bernard, Jerit George,

          7        Ryan Connolly and Jennifer Hamilton, please remain seated.

          8        Everyone else, please rise and step out of the box.

          9                     (Challenged jurors leave courtroom.)

         10                     THE COURT:    Thank you.

         11                     THE CLERK:    Are the jurors satisfactory to the

         12         People?
--

         13                     MS. CILIA:    Yes.

         14                     THE CLERK:    Are the jurors satisfactory to the

         15        defendant?

         16                     MS. GUASTELLA:       Yes.

         17                     (Five jurors sworn.)

         18                     THE COURT:    Thank you.    You could have a seat.       I

         19        am going to give you some instructions and let you go.

         20                     As I said earlier, our plan is to start the trial

         21        proper -- that is, with opening statements, preliminary

         22         instructions and testimony -- Monday morning.          So we are

         23        going to excuse you until Monday morning.          We would like

         24        you to be back at 9:30 Monday morning in the jury room.

         25        The jury room is right across the hall.          The officers will
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 328 of 1061 PageID #: 523
  000326
                                                                        98
                                Jury Selection


     1        show you where it is on your way out.          And we should be

     2        ready to go by then.       Let me, as I am required to, give you

     3        some instructions before you go.

     4                    First of all, do not converse amongst yourselves

     5        or with anyone else about anything related to this case.

     6                    Secondly, prior to being discharged, don't speak

     7        to anyone about taking anything, any payment or benefit, in

     8        return for supplying information concerning this trial.

     9                    Third, you must promptly report directly to me

    10        any incident within your knowledge involving an attempt by

    11        any person to improperly influence you or any member of the

    12         jury.

    13                    Fourth, do not visit or view the premises or

    14        place where any charged crime was allegedly committed or

    15        any other premises or place involved in the case.              I don't

    16        think you have heard any locations yet.          You will.

    17                    Fifth, don't read through or listen to any media

    18        accounts of this case, should there be any.           And that

    19         includes the internet.

    20                    And, finally, don't attempt to research any facts

    21        at issue or law related to this case, whether by discussion

    22        with others, by researching in the library, on the internet

    23        or by any other means or source.

    24                    Thank you very much.      Have a good day and

    25        weekend, and we will see you Monday morning,          9:30.    They
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 329 of 1061 PageID #: 524
      000327
                                                                            99
                                    Jury Selection


-        1        will show you the jury room on the way out.

         2                     (Five sworn jurors leave courtroom.)

         3                    THE COURT:    Counselor, do you want to stay with

         4        16 or 20?

         5                    MR. REEVES:     Sixteen is fine.

         6                    MS. GUASTELLA:     Yes.

         7                    THE COURT:     Both of you agree?     Okay, 16.

         8                    THE CLERK:     When you hear your name, please step

         9        up to the box.

        10                    Carmela, C-A-R-M-E-L-A, last name

        11        B-A-L-E-S-T-R-I-E-R-I, Seat Number 1; Rosemary Runer,

        12        R-U-N-E-R, Seat Number 2; Lisa Podeszwa, P-O-O-E-S-Z-W-A,

        13        Seat Number 3; William Smith, S-M-I-T-H, Seat Number 4;

        14        Maureen Finegan Silvestri, F-I-N-E-G-A-N,

        15        S-I-L-V-E-S-T-R-I, Seat Number 5; Susan Sparacio,

        16        S-P-A-R-A-C-I-O, Seat Number 6; Gerald Hart, H-A-R-T, Seat

        17        Number 7; Denise Moran, M-O-R-A-N, Seat Number 8; Paul

        18        Gottlieb, G-O-T-T-L-I-E-B, Seat Number 9; Edward

        19        P-R-A-Z-O-N-I-K, Seat Number 10; Pratap Pakala, P-A-K-A-L-A

        20         is the last name, first name P-R-A-T-A-P, Seat Number 11;

        21        Jennifer Roman, R-O-M-A-N, Seat Number 12; Joel Rubin,

        22        R-U-B-I-N, Seat Number 13; Tyrone Walker, W-A-L-K-ER, Seat

        23        Number 14; Rawan Husein, H-U-S-E-I-N, first name R-A-W-A-N,

-       24        Seat Number 15; Annessa Freesmith, A-N-N-E-S-S-A first

        25        name, last name F-R-E-E-S-M-I-T-H, Seat Number 16.
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 330 of 1061 PageID #: 525
      000328
                                                                           100
                                    Jury Selection


-        1                    THE COURT:     My questions don't change so things

         2        usually go a little quicker the second time through.

         3                    Do any of you think you know anything about this

         4        case apart from what you heard here in court today?

         5                     ... Ms. Balestrieri, you think you heard something

         6        about it?

         7                    A PROSPECTIVE JUROR:       I read about it, I think.

         8                    THE COURT:     Hold that thought.      I am going to

         9         talk to you privately in a minute.          In the Advance, you

        10         think?

        11                    A PROSPECTIVE JUROR:      Yes.

        12                    THE COURT:     Okay.   I saw another hand.

        13                    Mr. Smith?     Same thing?

        14                    A PROSPECTIVE JUROR:      Same thing.

        15                    THE COURT:     Okay.   We are going to talk to you

        16        both at the side-bar shortly.

        17                    Anyone else?

        18                     .. . I read a list of potential witnesses and names

        19        that may come up during the course of the trial this

        20        morning.    Did you all hear me when I read those names?

        21                    The question is do any of you recognize any of

        22        those names?



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        24
                               .. . I have introduced the lawyers and the

                  defendant to you.      Do any of you know any of them?

        25                     ... Have any of you or anyone close to you ever
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 331 of 1061 PageID #: 526
      000329
                                                                           101
                                     Jury Selection


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         2
                  worked for or do you now work for law enforcement in any

                  capacity?

         3                      Ms. Balestrieri.

         4                      A PROSPECTIVE JUROR:    My nephew is a police

         5        officer.      He was on Staten Island, now he is in Manhattan.

         6                      THE COURT:   N.Y.P.D.

         7                      A PROSPECTIVE JUROR:    Yes.

         8                      THE COURT:   Anything about his job that would

         9        prevent you from being fair?

        10                      A PROSPECTIVE JUROR:    No.

        11                      THE COURT:   Other hands?      I will stay with the


-       12

        13
                   first row.

                                Miss Sparacio.

        14                      A PROSPECTIVE JUROR:    Sparacio.

        15                      THE COURT:   Beg your pardon.     Who do you know in

        16        law enforcement?

        17                      A PROSPECTIVE JUROR:    My husband's retired NYPD,

        18         father-in-law is retired, my husband's retired, my cousin

        19        and brother-in-law are active.

        20                      THE COURT:   All New York City Police Department.

        21                      A PROSPECTIVE JUROR:    Yes.

        22                      THE COURT:   Same question:     Anything about these



-
        23        relationships individually, collectively, whatever, that

        24        would prevent you from being a fair juror in a criminal

        25        trial?
     Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 332 of 1061 PageID #: 527
       000330
                                                                              102
                                      Jury Selection


--        1                      A PROSPECTIVE JUROR:     Potentially.

          2                      THE COURT:     Beg your pardon?

          3                      A PROSPECTIVE JUROR:     Potentially.       Potentially.

          4                      THE COURT:     Is this based on perhaps discussions

          5         you have had with your relatives?

          6                      A PROSPECTIVE JUROR:     Yes.

          7                      THE COURT:     Okay.   I will let the lawyers follow

          8         up on that if they want to.

          9                      Mr. Hart, did you raise your hand?

         10                      A PROSPECTIVE JUROR:     Yes.     Brother-in-law,

         11         sister and godson.

         12                      THE COURT:     What do you think?       Same question.
--

         13        Would it have any bearing on your ability to be fair?

         14                      A PROSPECTIVE JUROR:     No.

         15                      THE COURT:     Let me go to the second row.

         16        Anybody?

         17                      Miss Husein.

         18                      A PROSPECTIVE JUROR:     Yes.     No.   My cousin, but

         19         no.     It wouldn't.

         20                      THE COURT:     Wouldn't affect your ability to be

         21         fair.    Thank you.

         22                      Anyone else?

         23                      ... Any of you, anyone close to you, involved in
-        24         the legal field in any way as a lawyer, paralegal, employee

         25        of a law firm,     a D.A. 's office, anything of that sort?
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 333 of 1061 PageID #: 528
      000331
                                                                           103
                                     Jury Selection


-        1                      Ms. Finegan Silvestri.

                                A PROSPECTIVE JUROR:     I am a freelance court
         2

         3         reporter.

         4                      THE COURT:   You are.    Okay.   What county are you

         5        working in?

         6                      A PROSPECTIVE JUROR:     I freelance for various

         7         companies.

         8                      THE COURT:   All over.

         9                      A PROSPECTIVE JUROR:     Yes.

        10                      THE COURT:   Have you ever worked on criminal

        11         trials?


-       12

        13
                                A PROSPECTIVE JUROR:

                                THE COURT:   Grand Jury?
                                                         No.



        14                      A PROSPECTIVE JUROR:     No.

        15                      THE COURT:   Anything about your occupation,

        16        background, training, experience that would prevent you

        17         from being a fair juror?

        18                      A PROSPECTIVE JUROR:     I think so.

        19                      THE COURT:   Based on your experiences.

        20                      A PROSPECTIVE JUROR:     Yes.

        21                      THE COURT:   In, what, civil trials?

        22                      A PROSPECTIVE JUROR:     Just freelancing,       just

        23        hearing different things, different cases.

        24                      THE COURT:   Are you talking about EBTs?

        25                      A PROSPECTIVE JUROR:     Yes, EBTs depositions.
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 334 of 1061 PageID #: 529
      000332
                                                                           104
                                    Jury Selection


         1                    THE COURT:     EBT's depositions.

         2                    A PROSPECTIVE JUROR:        Yes.

         3                    THE COURT:     That would prevent you from being a

         4        fair juror.

         5                    A PROSPECTIVE JUROR:        I think it would.

         6                    THE COURT:     Okay.

         7                    Anyone else?     On this question?

         8                     ... Have any of you or anyone close to you, to

         9        your knowledge, ever been the victim of a crime?

        10                    Miss Balestrieri, can you tell me about it.

        11                    A PROSPECTIVE JUROR:        My nephew was mugged for



-       12

        13
                  his IPhone about eight months ago.

                              THE COURT:     Was anybody arrested?

        14                    A PROSPECTIVE JUROR:        No.    No, because he was

        15        afraid to testify.

        16                    THE COURT:     So there were no court proceedings.

        17                    A PROSPECTIVE JUROR:        No.

        18                    THE COURT:     Anything about that event that would

        19        prevent you from being fair in this case?

        20                    A PROSPECTIVE JUROR:        No.

        21                    THE COURT:     Thank you.

        22                    Anyone else on this question?



-       23                     ... Have any of you ever been a litigant -- that

        24        is, a plaintiff or defendant -- in any kind of a civil

        25        action or civil lawsuit?
     Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 335 of 1061 PageID #: 530
       000333                                                              105
                                    Jury Selection


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          2
                                ... Have any of you ever been a witness in any

                   kind of a courtroom proceeding or Grand Jury proceeding?

          3                     ... Have any of you or anyone close to you, to

          4        your knowledge, ev~r been a defendant in any kind of a

          5        criminal proceeding?

          6                     We could speak privately.

          7                     Ms. Roman; right?

          8                     A PROSPECTIVE JUROR:      Yeah.

          9                     THE COURT:     Do you want to talk privately about

         10        that?

         11                     A PROSPECTIVE JUROR:      Yeah.


-        12

         13
                                THE COURT:

                                Anyone else?
                                               Okay.   We will get to you shortly.



         14                     ... Have any of you ever served on a jury before?

         15                     Mr. Prazdnik.

         16                     A PROSPECTIVE JUROR:      Yes.

         17                     THE COURT:     Can you tell me when, sir,

         18        approximately?

         19                     A PROSPECTIVE JUROR:      Nine years ago?

         20                     THE COURT:     Was it a criminal or civil case?

         21                     A PROSPECTIVE JUROR:      Criminal.

         22                     THE COURT:     Just yes or no, please:      Did the jury

         23        reach a verdict?
--
         24                     A PROSPECTIVE JUROR:      I don't know.     I was an

         25        alternate.
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 336 of 1061 PageID #: 531
      000334
                                                                          106
                                   Jury Selection


         1                     THE COURT:   Okay.    Was there anything about that

         2        experience as an alternate nine years ago that would

         3        prevent you from serving as a juror in this case?

         4                     A PROSPECTIVE JUROR:       No.

         5                     THE COURT:    Thank you.     Anyone else?

         6                     Mr. Runer.

         7                     A PROSPECTIVE JUROR:       Runer.   It was as an

         8        alternate.

         9                     THE COURT:    How long ago?

        10                     A PROSPECTIVE JUROR:       About two years ago.

        11                     THE COURT:   Was it a criminal or civil case?


-       12

        13
                               A PROSPECTIVE JUROR:

                  the Federal Court in Brooklyn.
                                                          It was criminal.    It was



        14                     THE COURT:    Federal Court in Brooklyn.       Are you

        15        sure it was two years ago?

        16                     A PROSPECTIVE JUROR:       It was about two.

        17                     THE COURT:    Okay.   And you didn't deliberate, I

        18        guess.    You were an alternate.

        19                     A PROSPECTIVE JUROR:       No, we were dismissed

        20        before they decided.

        21                     THE COURT:    Okay.   Anyone else?

        22                     A PROSPECTIVE JUROR:       I was.

                               THE COURT:    Okay.   I will stay with Ms. -- I am

-
        23

        24        sorry.

        25                     A PROSPECTIVE JUROR:       Don't.   Just say my first
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 337 of 1061 PageID #: 532
      000335
                                                                          107
                                   Jury Selection


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         2
                  name.

                              THE COURT:    What's your first name?

         3                    A PROSPECTIVE JUROR:      Lisa.

         4                    THE COURT:     I didn't write it down.

         5                    A PROSPECTIVE JUROR:      Lisa.

         6                    THE COURT:     Thank you very much, Lisa.

         7                    When were you a juror?       How long ago?

         8                    A PROSPECTIVE JUROR:      About eight years ago.

         9                    THE COURT:     Do you remember if it was a criminal

        10        or civil case?

        11                    A PROSPECTIVE JUROR:      Criminal.


-       12

        13
                              THE COURT:

                  reach a verdict?
                                             Just yes or no, please:       Did the jury



        14                    A PROSPECTIVE JUROR:      Yes.

        15                    THE COURT:    Was there anything about that

        16        experience that would prevent you from being able to serve

        17        in this case?

        18                    A PROSPECTIVE JUROR:      No.

        19                    THE COURT:    Anyone else?

        20                    Mr. Hart.    When?

        21                    A PROSPECTIVE JUROR:      Six years ago.

        22                    THE COURT:     Criminal or civil?

        23                    A PROSPECTIVE JUROR:       I am not sure.
-       24                    THE COURT:     You are not sure.      Didn't leave much

        25        of an impression.
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 338 of 1061 PageID #: 533
      000336
                                                                          108
                                   Jury Selection


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         2
                               A PROSPECTIVE JUROR:

                  a family matter.         It was a dispute.
                                                            It has been awhile.   It was



         3                     THE COURT:      Okay.   Was there anything about that

         4        jury experience that would prevent you from serving here?

         5                     A PROSPECTIVE JUROR:         No.

         6                     THE COURT:      Thank you.

         7                     Anyone else?

         8                     ... Have any of you ever served on a Grand Jury

         9        before?

        10                     ... Okay.    What I am going to do now is, as I did

        11        before, go down the list here from 1 through 16 and I am


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        13
                  going to ask you if you are employed, what you do for a

                  living.    If you are not employed, just tell me that.

        14                     Miss Balestrieri, are you employed?

        15                     A PROSPECTIVE JUROR:         Yes.   Manager of a book

        16        store.

        17                     THE COURT:      Thank you.

        18                     Miss Runer.

        19                     A PROSPECTIVE JUROR:         Employed; work as a

        20        secretary.

        21                     THE COURT:      Thank you.

        22                     Lisa.



-       23

        24
                               A PROSPECTIVE JUROR:

                               THE COURT:      Thank you.
                                                            Unemployed.



        25                     Mr. Smith.
     Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 339 of 1061 PageID #: 534
       000337
                                                                             109
                                     Jury Selection


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          2        district.
                               A PROSPECTIVE JUROR:        Employed for the financial



          3                    THE COURT:    Thank you.

          4                    Miss Finegan Silvestri.

          5                    A PROSPECTIVE JUROR:        Court reporter.

          6                    THE COURT:    Right.    You told me.       Thanks.

          7                    Miss Sparacio.

          8                    A PROSPECTIVE JUROR:        Human resources

          9        coordinator.

         10                    THE COURT:    Thank you.

         11                    Mr. Hart.

         12                    A PROSPECTIVE JUROR:        Retired.
-·


         13                    THE COURT:     From what, please?

         14                    A PROSPECTIVE JUROR:        Post office.

         15                    THE COURT:     Thank you.

         16                    Miss Moran.

         17                    A PROSPECTIVE JUROR:        Financial institution.

         18                    THE COURT:     Thank you.

         19                    Mr. Gottlieb.

         20                    A PROSPECTIVE JUROR:        Fire and life safety

         21        director.

         22                    THE COURT:    Mr. Prazdnik.

         23                    A PROSPECTIVE JUROR:        Employed, New York City

         24        Transit.

         25                    THE COURT:     Thank you.
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 340 of 1061 PageID #: 535
      000338
                                                                           110
                                    Jury Selection


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         2
                              Mr. Pakala.

                              A PROSPECTIVE JUROR:        Pakala

         3                    THE COURT:     I beg your pardon.     Are you employed?

         4                    A PROSPECTIVE JUROR:        Self-employed.

         5                    THE COURT:     What type of work?

         6                    A PROSPECTIVE JUROR:        We do on-line sales.

         7                    THE COURT:     Thank you.

         8                    Miss Roman.

         9                    A PROSPECTIVE JUROR:        City employee's union.

        10                    THE COURT:     Thank you.

        11                    Mr. Rubin.


-       12

        13
                              A PROSPECTIVE JUROR:

                              THE COURT:     Thank you.
                                                          Factory manager.



        14                    Mr. Walker.

        15                    A PROSPECTIVE JUROR:        I do floors in the

        16        hospital.

        17                    THE COURT:     Thank you.

        18                    Miss Husein.

        19                    A PROSPECTIVE JUROR:        Tutor in an after-school

        20        program.

        21                    THE COURT:     Thank you.

        22                    Miss Freesmith.

        23                    A PROSPECTIVE JUROR:        Station agent for New York

        24        City Transit.

        25                    THE COURT:     Okay.   Thank you all for that
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 341 of 1061 PageID #: 536
      000339                                                              111
                                   Jury Selection


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         2
                  information.

                              Let me go through these principles of law again.

         3        You have heard them once already so I am going to

         4        paraphrase where I can.       But just keep in mind the idea

         5        here is to find out if you can all assure us you will

         6        follow and accept these rules.        If you cannot, please tell

         7        us.   It is important we know.

         8                    As you now know, if you didn't before, an

         9        indictment is evidence of nothing.         The mere fact that a

        10        defendant has been indicted is, as I say, evidence of

        11        nothing.    In particular, it is not evidence of guilt.


-       12

        13
                              Is there anyone here who cannot accept this

                  proposition in our criminal law?

        14                    If selected as a juror here you would be called

        15        upon to deliberate at the end of the trial with 11 other

        16        people in the jury room in an effort to reason together and

        17        arrive at a unanimous verdict or verdict.

        18                    Do any of you feel you could not deliberate with

        19        11 other people if called upon to do so?

        20                     ... Under our law everyone accused of a crime and

        21        brought to trial is presumed innocent unless or until he is

        22        proved guilty beyond a reasonable doubt.          The defendant in

        23        this case is presumed innocent and, to put this another

-       24        way, a defendant is never required to prove his innocence.

        25        On the contrary; the People, represented by the District
      Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 342 of 1061 PageID #: 537
        000340                                                              112
                                     Jury Selection

---        1        Attorney, having accused the defendant of the crimes

           2        charged, have the burden of proving him guilty beyond a

           3         reasonable doubt.     The People carry this burden of proof

           4        throughout the trial.       It never shifts.     It always remains

           5        on the People, and the presumption of innocence remains

           6        with every defendant throughout every criminal trial.

           7                      Is there anyone amongst you who cannot now in

           8         your own mind grant the defendant this presumption of

           9         innocence?

          10                      ... On the burden of proof issue.      Again, as I

          11         said, in the criminal case the burden of proof is entirely


-         12

          13
                     on the People and remains on them throughout the trial.

                     defendant is not required to prove anything, nor is a
                                                                                          A



          14         defendant required to disprove anything.         As I say, the

          15         entire burden of proof is on the People and remains on them

          16         throughout the trial.

          17                      Is there anyone amongst you who cannot accept and

          18         follow this fundamental rule in our criminal law?

          19                      ... If a defendant does not testify in a criminal

          20         trial, that is not a factor from which any inference

          21         unfavorable to such defendant may be drawn.          Is there

          22         anybody who cannot accept this rule in our criminal law?

          23                      ... I defined earlier today the standard of proof

-         24         required for conviction in every criminal case.           That

          25         standard, as you now know, if you didn't before, is called
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 343 of 1061 PageID #: 538
      000341                                                              113
                                   Jury Selection


         1        proof of guilt beyond a reasonable doubt.             Did all of you

         2        hear that definition when I read it earlier today?

         3                     I am getting nods.     Would anybody like me to read

         4        it again?     I am happy to if anybody wants me to.

         5                     ... I am getting no takers.      Okay.     Keep that

         6        definition in mind.

         7                     Let me remind you, it is the duty of each juror

         8        carefully to review, weigh and consider all the evidence in

         9         the case.    If after doing so you find that the People have

        10         not proved the defendant's guilt beyond a reasonable doubt

        11         as I defined the term earlier, then you must find the


-       12

        13
                   defendant not guilty.

                               On the other hand, if you are satisfied that the

        14         People have proved the defendant's guilt beyond a

        15         reasonable doubt as I defined that term earlier, then you

        16        must find the defendant guilty.

        17                     Will you promise us now that, if selected as a

        18         juror in this case, you will in your final deliberations

        19         follow and apply the standard of proof that I have defined

        20         for you; that is, proof beyond a reasonable doubt?            Is

        21         there anyone amongst you who cannot make us that promise?

        22                     ... Thank you.

                               I will remind you if you didn't know before that

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        23

        24         a deliberating jury is not permitted to consider the

        25         subject of punishment.       If there is to be any sentencing
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 344 of 1061 PageID #: 539
      000342
                                                                           114
                                    Jury Selection


         1        following a verdict, that's for the Court and the Court

         2        alone to deal with.      The jury has no role to play in that.

         3                    Will you promise us now that if you are selected

         4         as a juror here you will render your verdict free from

         5         fear,   favor or sympathy and without considering any

         6        possibility of sentence or punishment?          Is there anybody

         7        who cannot make us that promise?

         8                     ... And, lastly, that police officer issue.

         9         Police officers will testify in this case.          They take the

        10        same oath as anyone else.        The mere fact that a witness is

        11        a police officer does not make that witness any more or any


-       12

        13
                   less credible.

                               Is there anyone amongst you who has any feelings

        14        about the police or who has had any experiences with the

        15        police which would lead you to give a police officer's

        16        testimony greater or lesser weight than anyone else's

        17        merely because of the officer's occupation?

        18                    Anybody have that feeling one way or the other?

        19                    Mr. Gottlieb, what do you think?

        20                    A PROSPECTIVE JUROR:      Yes.    I am a retired

        21        captain in the Fire Department.         I have a lot of policeman

        22        under my control.      I am more apt to agree with what they

        23        say as a witness.
-       24                    THE COURT:     Would this be the case even if you

        25        didn't know the individual officer?
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 345 of 1061 PageID #: 540
      000343                                                              115
                                   Jury Selection


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         2
                              A PROSPECTIVE JUROR:      As a general statement I

                  would say I would still go along with what they say.

         3                    THE COURT:    Okay.    I think I saw another hand.

         4                    Miss Roman?

         5                    A PROSPECTIVE JUROR:      I have never had anything

         6        directly, but my family has had run-ins with the police and

         7         I just feel like I would feel less.

         8                    THE COURT:     Less.   Would this be the case, Miss

         9        Roman, even if you didn't personally know the officer?

        10                    A PROSPECTIVE JUROR:      Yes.

        11                    THE COURT:     Just because of the occupation.


-       12

        13
                  Okay.

                              Anyone else on this question?

        14                    Mr. Smith.

        15                    A PROSPECTIVE JUROR:      Yes.    I know you are going

        16        to ask this question later.        I run all the soccer here on

        17        Staten Island and I have a lot of friends who are police

        18        officers, and they are in my league, and I

        19                    THE COURT:     Is that good or bad?

        20                    A PROSPECTIVE JUROR:      Could be bad sometimes.

        21                    THE COURT:     Sometimes bad, sometimes good.

        22                    A PROSPECTIVE JUROR:      Sometimes good.      You know

        23        what --

        24                    THE COURT:     That sounds like a balanced thing.

        25                    A PROSPECTIVE JUROR:       I don't know,   I don't know,
     Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 346 of 1061 PageID #: 541
       000344                                                              116
                                    Jury Selection

·-
          1         you know?    I don't know how I would feel about being --

          2        some are friends and some are enemies but ...

          3                     THE COURT:     Okay.   You didn't recognize the names

          4        of any of the officers I read.

          5                     A PROSPECTIVE JUROR:      I don't think so.

          6                     THE COURT:     What I am supposed to do if I can is

          7        to try to get an unequivocal response on various issues.              I

          8        don't know if I can get an unequivocal response from you,

          9        but what I would like you to be able to say, if you can --

         10        and if you can't you can't -- is, yes,           I will evaluate a

         11        police witness' testimony as I would anyone else's or, no,

         12         I could not evaluate a police witness as I would anyone

         13        else.

         14                     Can you give me an answer one way or the other or

         15        not?    If you can't, you can't.

         16                     A PROSPECTIVE JUROR:      No.

         17                     THE COURT:     Okay.   That is no,    I can't give you

         18        an answer.

         19                     A PROSPECTIVE JUROR:      Can't give you an answer.

         20                     THE COURT:     Okay, fine.      I will let the lawyers

         21        talk to you further if they want to.

         22                     Anybody else on this question?

         23                     ... Okay.    We are going to step to the side and
-        24        talk to a couple of people and then I will let the lawyers

         25        get back to you.
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 347 of 1061 PageID #: 542
      000345
                                                                           117
                                    Jury Selection


         1                     (The following takes place at side bar, outside

         2         the presence of the jurors.)

         3                     (Miss Balestrieri approaches the side-bar.)

         4                    THE CLERK:     Carmela Balestrieri,

         5        B-A-L-E-S-T-R-I-E-R-I.

         6                    THE COURT:     What do you think you remember

         7         reading in the Advance?

         8                    A PROSPECTIVE JUROR:      About the shooting.

         9                    THE COURT:     Can you give me any details?

        10                    A PROSPECTIVE JUROR:       Just like a cold-blooded

        11         on-the-street type of thing?


-       12

        13
                              THE COURT:

                   same matter?
                                             Are you sure we are talking about the



        14                    A PROSPECTIVE JUROR:       I am not sure but I

        15         remember the name Williams.

        16                    THE COURT:     How long ago do you recall reading

        17         this?

        18                    A PROSPECTIVE JUROR:      Oh, it was awhile ago.

        19                    THE COURT:     If you were selected as a juror in

        20         this case, could you put aside whatever little bit

        21         apparently you remember from the Advance?

        22                    A PROSPECTIVE JUROR:      Oh, yeah.

        23                    THE COURT:     And decide the case only on what you

        24         hear in the courtroom?

        25                    A PROSPECTIVE JUROR:       Yeah.
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 348 of 1061 PageID #: 543
      000346
                                                                           118
                                     Jury Selection


-        1                      THE COURT:    You can assure us of that.

         2                      A PROSPECTIVE JUROR:    Yeah, I think so.

         3                      THE COURT:    That is how people speak, I

         4        understand, but what we are looking for,         if you can give

         5        it, is an unequivocal assurance.         Put whatever

         6                      A PROSPECTIVE JUROR:     I don't know.    The answer

         7        is I don't know.      I don't know.

         8                      THE COURT:    Counselor, any questions?

         9                      ... Okay, thank you, ma'am.     I will let you resume

        10         your seat.

        11                      (Miss Balestrieri returns to her seat.)


-       12

        13
                                MR. REEVES:    I did want to bring to the Court's

                  attention when Miss Cilia and I were walking back during

        14        the lunch break Mr. Hart, Number 7, approached us and we

        15        didn't talk with him, but he asked if I was Dan Donovan.

        16                      THE COURT:    He thought you were Dan Donovan?

        17                      MR. REEVES:    Yes.   I just wanted to put that on

        18        the record.

        19                      (Mr. Smith approaches the side-bar.)

        20                      THE CLERK:     William Smith, your Honor.

        21                      THE COURT:    Do you remember what you read in

        22        the -- was it the Advance?

                                A PROSPECTIVE JUROR:     I remember the victim's
-       23

        24        name in the Advance.        I remember the name clear as day as

        25        soon as you said it this morning.         Correct.
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 349 of 1061 PageID #: 544
      000347
                                                                           119
                                    Jury Selection


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         2         the article?
                               THE COURT:    Do you remember anything else about



         3                     A PROSPECTIVE JUROR:         Just it was a dispute

         4        between the two of them and he ended up shooting him.              I do

         5         remember that.

         6                     THE COURT:    If you were selected here as a juror,

         7         could you keep the Advance out of your mind and just

         8                     A PROSPECTIVE JUROR:         I could keep the Advance

         9         out of my mind but I don't feel comfortable, your Honor,

        10         honestly.

        11                     THE COURT:    Based on the other thing we talked


-       12

        13
                   about.

                               A PROSPECTIVE JUROR:         The other thing being I am

        14         so active in the borough here.           I have five children.    He

        15         is writing names down all day and everything.           I don't feel

        16        comfortable right now sitting here.

        17                     THE COURT:    Okay.       Counselor, any questions?

        18                     MS. GUASTELLA:      No.

        19                     MS. CILIA:    No.

        20                     THE COURT:   All right.        Thank you, sir.    I will

        21         let you resume your seat.

        22                     (Mr. Smith resumes his seat and Miss Roman

        23        approaches the side-bar.)

        24                     THE CLERK:    This is Jennifer Roman, R-O-M-A-N.

        25                     THE COURT:    You know somebody who is a defendant.
     Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 350 of 1061 PageID #: 545
       000348
                                                                               120
                                     Jury Selection


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          2
                               A PROSPECTIVE JUROR:         My sister's husband just

                   got sentenced for 16 years in federal prison.

          3                    THE COURT:     This is your sister.

          4                    A PROSPECTIVE JUROR:          Sister's husband.

          5                    THE COURT:     Oh, I see.       Okay.    Was it here in New

          6        York City Federal Court?

          7                    A PROSPECTIVE JUROR:          Yes.

          8                    THE COURT:     Did you go to any court proceedings?

          9                    A PROSPECTIVE JUROR:          I was at the whole trial.

         10                    THE COURT:     You were.

         11                    A PROSPECTIVE JUROR:          Yes.

         12                    THE COURT:     Is there anything about that trial

         13        experience that would prevent you from being fair in this

         14         case?

         15                    A PROSPECTIVE JUROR:          Yeah.     I don't feel like it

         16        was -- his sentencing was fair.

         17                    THE COURT:     You think that would affect your

         18        ability to be fair in this case.

         19                    A PROSPECTIVE JUROR:          Yeah.

         20                    THE COURT:     Counselor, any questions?

         21                    MS. GUASTELLA:       No.

         22                    MS. CILIA:     No.

         23                    THE COURT:     Okay.       Thank you, ma'am.     I will let
--
         24         you resume your seat.

         25                     (Miss Roman resumes her seat.)
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 351 of 1061 PageID #: 546
      000349                                                              121
                                   Jury Selection


-        1                      THE COURT:   I would never tell a trial lawyer not

         2         to try to rehabilitate anyone, but some of these people are

         3        probably beyond that.       I am just saying you don't have to

         4        voir dire everyone.

         5                      (The following takes place in open court.)

         6                      THE COURT:   Okay.   I will let the lawyers speak

         7         to you now.     If they ask you anything you want to talk

         8         about privately, just let them know.

         9                      MS. CILIA:   Good afternoon, everyone.       As you

        10         have already heard, my name is Jennifer Cilia.          With me is

        11        ADA Kyle Reeves, and together we are representing the


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        13
                   People of the State of New York in this case against the

                   defendant.     And a lot of the things that Mr. Reeves talked

        14         about I am going to be reiterating with you.          I am going to

        15        be talking with you about them again.

        16                      One of the things he was talking about was the

        17         jury selection and how important it is, so I just wanted to

        18        bring that up for a second and tell you that if you are

        19         chosen as a juror in this case you are going to be doing a

        20         lot of listening.     You are going to be listening to the

        21         lawyers, you are going to be listening to the judge, you

        22        are going to be listening obviously to the witnesses who

        23         take the stand.     This is the only time in the entire case

        24        that we actually get to speak to you and you get to talk to

        25        us, so I really invite you to please talk to us, you know?
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 352 of 1061 PageID #: 547
  000350
                                                                       122
                                 Jury Selection


     1         If there is something you would rather say at the side-bar,

     2         that's fine.     We can do that.    But I am just inviting you

     3         to please speak your mind.       That is all that we are asking

     4         for.     There are no right or wrong answers in this.

     5                      So Mr. Reeves talked a little bit about the types

     6        of evidence that you are going to hear in this case.             I

     7         just wanted to expand on that also.

     8                      He used the word circumstantial evidence.

     9         Circumstantial evidence as opposed to direct evidence.               So

    10         what exactly does that mean?

    11                      Direct evidence might be in a purse snatching

    12         case somebody gets on the stand, points out and says that's

    13         the person who did it.       I saw that person, he stole my

    14         purse.     That's different than a circumstantial case.         There

    15         is going to be no one in this case that we expect who is

    16         going to take the stand, point to the defendant and say

    17         that's the person who I saw shoot David Williams to death.

    18                      Mr. Prazdnik.

    19                      A PROSPECTIVE JUROR:     Yes.

    20                     MS. CILIA:    We are going to be using other types

    21         of evidence.     We are going to be using witnesses who talk

    22         about what they saw before the crime happened, we are going

    23         to be bringing in experts who are going to talk about

    24         evidence -- ballistic evidence from the murder weapon that

    25         is linked to the defendant, we are going to talk about DNA
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 353 of 1061 PageID #: 548
      000351
                                                                           123
                                    Jury Selection


-        1        evidence.     If we prove circumstantially -- after you hear

         2         all the evidence in this case, if we prove to your

         3         satisfaction beyond a reasonable doubt the evidence in this

         4         case through circumstantial evidence without anybody taking

         5         the stand saying that's the man who did it, would you be

         6        able to vote guilty in this case?

         7                    A PROSPECTIVE JUROR:       Yes.

         8                    MS. CILIA:     Mr. Rubin, do you agree with that?

         9        Would you be able to do that, as well, or do you need

        10         somebody to take that witness stand?

        11                    A PROSPECTIVE JUROR:      Being that it is murder,        I


-       12

        13
                  might need someone to take the stand, point it out.

                              MS. CILIA:     And point out the defendant as that

        14        person.

        15                    If the evidence that we show you -- the weapon,

        16        the DNA, the ballistics -- if those types of things point

        17        to the defendant beyond a reasonable doubt as the person

        18        who murdered David Williams, would you still hold us to a

        19        higher standard and say I need somebody?

        20                    A PROSPECTIVE JUROR:      Being that it is murder,        I

        21        might.

        22                    MS. CILIA:    And does anybody else agree with

        23        Mr. Rubin; that they would still need, even if we proved

        24        the case beyond a reasonable doubt with what's called

        25        circumstantial evidence -- and Judge Rooney is going to
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 354 of 1061 PageID #: 549
      000352
                                                                           124
                                    Jury Selection


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         2
                   tell you there is no one type of evidence that we need in

                   order to prove a case.      If we prove it circumstantially

         3         beyond a reasonable doubt, then at that point it's your

         4         duty to vote guilty.      If we don't prove beyond a reasonable

         5         doubt, then obviously it is your duty to vote not guilty.

         6                     Is there anybody who agrees with Mr. Rubin that

         7         they would require the prosecution to have a direct

         8         evidence case here; somebody who takes that witness stand,

         9         points to the defendant and says I saw that man shoot to

        10         death David Williams?

        11                    Mr. Moran?     What do you think?


-       12

        13
                              A PROSPECTIVE JUROR:

                              MS. CILIA:
                                                         I could do it.

                                             Sorry, I couldn't hear you.

        14                    A PROSPECTIVE JUROR:       I could vote guilty if that

        15         were the case, yes.

        16                    MS. CILIA:     So if we prove our case beyond a

        17         reasonable doubt without somebody taking that stand,

        18         pointing out the defendant as the person who shot to death

        19         David Williams, you would be able to convict?

        20                    A PROSPECTIVE JUROR:       Yes.

        21                    MS. CILIA:     You wouldn't require anything else?

        22                    A PROSPECTIVE JUROR:      No.



-       23

        24
                              MS. CILIA:     Ms. Freesmith, what do you think?

                              A PROSPECTIVE JUROR:       Same.

        25                    MS. CILIA:     Same?
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 355 of 1061 PageID #: 550
      000353
                                                                           125
                                    Jury Selection


         1                     A PROSPECTIVE JUROR:     Uh-Hum.

         2                     MS. CILIA:    Miss Husein.

         3                     A PROSPECTIVE JUROR:      The same.

         4                     MS. CILIA:    Mr. Walker?

         5                     A PROSPECTIVE JUROR:      The same.

         6                     MS. CILIA:    Does anybody else here agree with

         7        Mr. Rubin; they would need somebody to take that stand and

         8        point out the defendant?

         9                     A PROSPECTIVE JUROR:      I might agree with him.

        10                     MS. CILIA:    Miss Roman.    Okay.

        11                     Something else that Mr. Reeves touched upon was


-       12

        13
                   this issue of motive.      Everybody knows from TV, from just

                   general life, what motive is.        It is the reason why people

        14        do things.

        15                     Under our law we are not required as the

        16        prosecution to prove why.         We have to prove in this case

        17         that the defendant killed to death David Williams on

        18        purpose, but not why.       If we do that, if we prove beyond a

        19         reasonable doubt that that defendant committed that crime

        20        but we never talk about why, you never hear evidence about

        21         that, will you still be able to vote guilty in this case?

        22                     Mr. Pakala?

        23                     A PROSPECTIVE JUROR:      Yes.

-       24                     MS. CILIA:    Yes.    You might be wondering why this

        25        might happen -- might have happened, but is anybody going
     Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 356 of 1061 PageID #: 551
       000354
                                                                            126
                                       Jury Selection

--        1        to require us to prove that before they are satisfied to

          2        vote guilty in this case?

          3                    Miss Podeszwa?

          4                    A PROSPECTIVE JUROR:        Yes.

          5                    MS. CILIA:     How did I pronounce your name?

          6                    A PROSPECTIVE JUROR:        Close.

          7                    MS. CILIA:    Miss Lisa.      Okay.

          8                    Anyone who disagrees?

          9                    Miss Runer.

         10                    A PROSPECTIVE JUROR:        No.

         11                    MS. CILIA:    What do you think?

         12                    A PROSPECTIVE JUROR:        I don't think you need to

         13        show a motive.

         14                    MS. CILIA:     Okay.     Ms. Finegan Silvestri.

         15                    A PROSPECTIVE JUROR:        I think I would like to

         16        hear why.

         17                    MS. CILIA:     You would like to hear why.

         18                    A PROSPECTIVE JUROR:        Yes.

         19                    MS. CILIA:     Ms. Sparacio?

         20                    A PROSPECTIVE JUROR:        Uh-Hum.

         21                    MS. CILIA:    What do you think?

         22                    A PROSPECTIVE JUROR:        No motive is necessary.

         23                    MS. CILIA:     Is there anyone who would require
-        24        that on this panel right now?

         25                    Okay.     I have a really talkative group here, I
     Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 357 of 1061 PageID #: 552
       000355
                                                                            127
                                        Jury Selection


--        1        can tell.

          2                     Let's talk about the type of case that this is

          3        for a second.        This is a murder case, as you have heard.

          4        You haven't heard all the facts, obviously, about the case,

          5        and we are not going to go through that right now, but the

          6         fact this is that level type of case, a murder, okay?            Very

          7        serious crime.        Is there anything about that that makes

          8        somebody feel like they wouldn't be able to sit and vote in

          9        this case?     Just raise your hands if you feel that way.

         10                     Okay.    Mr. Smith.

         11                     Anybody else who feels like, based on the type of


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         13
                   case that this is, they wouldn't be able to sit and hear

                   evidence and evaluate in this case?

         14                     Mr. Gottlieb.

         15                     A PROSPECTIVE JUROR:        I would say the burden

         16        would have to be a little higher just because of the nature

         17        of the crime.

         18                     MS. CILIA:     Okay.     So in this case the judge is

         19        going to talk to you about the prosecution's burden, about

         20        proof beyond a reasonable doubt.          Are you saying that you

         21        would still hold us to a higher standard, or would you hold

         22        us to what the judge -- what the law requires of us?

         23                     A PROSPECTIVE JUROR:        I understand what the law
--
         24        requires, but I think human nature says, well, this is

         25        based on severity of the consequences.           It would be an
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 358 of 1061 PageID #: 553
      000356
                                                                           128
                                     Jury Selection


         1        issue.

         2                    MS. CILIA:     Does anybody else agree with

         3        Mr. Gottlieb, that they would require something higher than

         4        what the law requires?

         5                    Yes.   Mr. Rubin.

         6                    A PROSPECTIVE JUROR:        I agree with him.

         7                    MS. CILIA:     You agree.

         8                    Anyone else?

         9                    No right or wrong answers here, so if anybody

        10        else feels that way, please let us know.

        11                     Is there anything else about this case that you


-       12

        13
                   feel, whether it be personal feeling, political, religious,

                  anything whatsoever that makes you feel that you would not

        14        be able to sit and deliberate, listen to the evidence and

        15        vote in this case?

        16                    Yes.

        17                    A PROSPECTIVE JUROR:        I like religious, yeah.       I

        18        don't think I would be able to do a murder case.

        19                    MS. CILIA:     So you wouldn't be able to listen to

        20         the evidence, evaluate it and then come to a decision?

        21                    A PROSPECTIVE JUROR:        Yeah.

        22                    MS. CILIA:     As to whether this person is guilty

        23         or not guilty.

-       24                    A PROSPECTIVE JUROR:        Yeah.

        25                    MS. CILIA:     Thank you, Miss Husein.
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 359 of 1061 PageID #: 554
      000357
                                                                           129
                                     Jury Selection


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         2
                              Does anyone else agree with Miss Husein for

                  whatever reason it may be?

         3                    Yes.

         4                    A PROSPECTIVE JUROR:       I think I might feel

         5        uncomfortable.      I really have to be shown thoroughly.

         6                    MS. CILIA:     Okay.    Now, you are sort of

         7        Mr. Gottlieb was talking a little bit about this, and I

         8         just want to explore whether it is a similar thing for you.

         9                    We have a particular burden in this case.          Would

        10         you hold us to a higher burden than what the law requires

        11        of us to prove because it's a murder case?


-       12

        13
                              A PROSPECTIVE JUROR:       You would have to

                   thoroughly convince me that you had all the proof that he

        14        did it.

        15                    MS. CILIA:     Would you be able to listen to the

        16         judge's instruction as to what he says the law requires of

        17         us, or would you say I am not going to be able to listen to

        18         that instruction, I have my own instruction in my head

        19        because of the type of case it is?

        20                    A PROSPECTIVE JUROR:       I would listen to the

        21         instructions.     It is just I am not sure deep down if, you

        22         know, if I feel that you didn't prove it thoroughly whether

        23         I could, you know, commit him.

        24                    MS. CILIA:     And I appreciate that, Miss Runer.

        25                     Does anyone else feel the way Mr. Gottlieb or
     Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 360 of 1061 PageID #: 555
       000358
                                                                            130
                                     Jury Selection


-         1        Miss Runer feels?

          2                    No?   Okay.   All right.     Thank you very much.

          3                    MS. GUASTELLA:     Miss Runer, do you have any

          4        children?

          5                    A PROSPECTIVE JUROR:       No.

          6                    MS. GUASTELLA:     And you are a secretary.        Where

          7        do you work?

          8                    A PROSPECTIVE JUROR:       Not-for-profit community

          9        agency for senior citizens right on Bay Street.

         10                    MS. GUASTELLA:     How long have you been there?

         11                    A PROSPECTIVE JUROR:       13 and-a-half years.

         12                    MS. GUASTELLA:     And Lisa -- I am sorry, I
--

         13        couldn't pronounce your name.

         14                    A PROSPECTIVE JUROR:       That is okay.

         15                    MS. GUASTELLA:     What did you do when you were

         16        working?

         17                    A PROSPECTIVE JUROR:       I worked for health care.

         18                    MS. GUASTELLA:     How long have you been

         19        unemployed?

         20                    A PROSPECTIVE JUROR:       About two years.

         21                    MS. GUASTELLA:     Where was the health care?

         22        Health care for the City.



-        23                    A PROSPECTIVE JUROR:       Staten Island.

         24                    MS. GUASTELLA:     You had stated that you were a

         25         juror on a criminal case eight years ago.
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 361 of 1061 PageID #: 556
      000359
                                                                           131
                                    Jury Selection


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         2
                              A PROSPECTIVE JUROR:

                              MS. GUASTELLA:
                                                        Yes.

                                                 Did that go to verdict?

         3                    A PROSPECTIVE JUROR:      Yes.

         4                    MS. GUASTELLA:     Approximately how long did that

         5         last?

         6                    A PROSPECTIVE JUROR:      Couple of days.

         7                    MS. GUASTELLA:     Anything about the length of this

         8         trial     the judge I believe instructed the jury that it

         9        would go probably until the 14th.           Anything about the

        10         length of this trial that would prohibit you from sitting?

        11                    A PROSPECTIVE JUROR:      No.


-       12

        13
                              MS. GUASTELLA:

                   for a living.
                                                 Miss Moran, I missed what you did



        14                    A PROSPECTIVE JUROR:      Executive assistant in the

        15         financial industry.

        16                    MS. GUASTELLA:     In the city.

        17                    A PROSPECTIVE JUROR:      Yeah.

        18                    MS. GUASTELLA:     How do you get to work?

        19                    A PROSPECTIVE JUROR:       I take the ferry when I go

        20         to New York and drive to Jersey when I am in Jersey.

        21                    MS. GUASTELLA:     Do you have any children?

        22                    A PROSPECTIVE JUROR:      No.



-       23

        24
                              MS. GUASTELLA:

                   sister's a police officer.
                                                 Mr. Hart, you stated your



        25                    A PROSPECTIVE JUROR:      Sister, brother-in-law and
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 362 of 1061 PageID #: 557
      000360
                                                                           132
                                    Jury Selection


         1        nephew.

         2                    MS. GUASTELLA:     And all of them are currently

         3        working.

         4                    A PROSPECTIVE JUROR:      No, just my nephew now.

         5                    MS. GUASTELLA:     Where does your nephew work?

         6                    A PROSPECTIVE JUROR:      Brooklyn.

         7                    MS. GUASTELLA:     Do you know what unit he works

         8        out of?

         9                    A PROSPECTIVE JUROR:       I think it is the

        10         78th precinct.

        11                    MS. GUASTELLA:     Uniform or detective?


-       12

        13
                              A PROSPECTIVE JUROR:

                              MS. GUASTELLA:
                                                        Undercover.

                                                 Undercover.     Do you talk to him

        14        about the cases that he works on?

        15                    A PROSPECTIVE JUROR:      No.

        16                    MS. GUASTELLA:     Miss Freesmith, you stated you

        17        work fork the Transit Authority?

        18                    A PROSPECTIVE JUROR:      Yes.

        19                    MS. GUASTELLA:     What do you do for them?

        20                    A PROSPECTIVE JUROR:       Station agent.

        21                    MS. GUASTELLA:     Is that actually in the subway

        22        terminal?



-
        23                    A PROSPECTIVE JUROR:      Yes, in the booth.

        24                    MS. GUASTELLA:     Do you work overnight, do you

        25        work during the day?
     Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 363 of 1061 PageID #: 558
       000361
                                                                            133
                                     Jury Selection


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          2
                                A PROSPECTIVE JUROR:

                                MS. GUASTELLA:
                                                         Daytime.

                                                  Nighttime?

          3                     A PROSPECTIVE JUROR:     Daytime.

          4                     MS. GUASTELLA:    Have you ever had any occasion to

          5        witness anybody fighting?

          6                     A PROSPECTIVE JUROR:     No.

          7                     MS. GUASTELLA:    Witness anybody jumping the

          8        turnstile?

          9                     A PROSPECTIVE JUROR:     Yes.

         10                     MS. GUASTELLA:    As part of your duties, did you

         11        ever have to testify at a hearing or in court?

         12                     A PROSPECTIVE JUROR:     No.
--

         13                     MS. GUASTELLA:    And did you ever have to be

         14         interviewed by a police officer?

         15                     A PROSPECTIVE JUROR:     No.

         16                     MS. GUASTELLA:    Do you have any children?

         17                     A PROSPECTIVE JUROR:     Yes.

         18                     MS. GUASTELLA:    How many children?

         19                     A PROSPECTIVE JUROR:     Two.

         20                     MS. GUASTELLA:    How old are they?

         21                     A PROSPECTIVE JUROR:     27 and 12.

         22                     MS. GUASTELLA:    Mr. Walker, you stated you clean

         23         floors.
-        24                     A PROSPECTIVE JUROR:     Yes.

         25                     MS. GUASTELLA:    Are you self-employed or you work
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 364 of 1061 PageID #: 559
      000362                                                              134
                                   Jury Selection


         1        for a company?

         2                    A PROSPECTIVE JUROR:      I work in the hospital.

         3                    MS. GUASTELLA:     On Staten Island.

         4                    A PROSPECTIVE JUROR:      Uh-Hum.

         5                    MS. GUASTELLA:     How long have you been doing

         6        that?

         7                    A PROSPECTIVE JUROR:      Going on five years.

         8                    MS. GUASTELLA:     Mr. Pakala, is that how you

         9        pronounce it?

        10                    A PROSPECTIVE JUROR:       Pakala.

        11                    MS. GUASTELLA:     You are self-employed.


-       12

        13
                              A PROSPECTIVE JUROR:

                              MS. GUASTELLA:
                                                        Yes.

                                                 I missed what you did for a

        14         living though.

        15                    A PROSPECTIVE JUROR:      Right now I do on-line

        16         sales.

        17                    MS. GUASTELLA:     Being here during this trial for

        18         the length of the trial, is that going to affect your

        19        earning a living and being fair to the defendant?

        20                    A PROSPECTIVE JUROR:       I suppose.

        21                    MS. GUASTELLA:     It will affect.

        22                    A PROSPECTIVE JUROR:      Yes.

        23                    MS. GUASTELLA:     Mr. Prazdnik.

        24                    A PROSPECTIVE JUROR:      Yes.

        25                    MS. GUASTELLA:     You have prior criminal jury
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 365 of 1061 PageID #: 560
      000363
                                                                           135
                                     Jury Selection


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                  experience; correct?       And you were an alternate?

                                A PROSPECTIVE JUROR:    Yes.

         3                      MS. GUASTELLA:   How long did that trial last?

         4                      A PROSPECTIVE JUROR:    Six days.

         5                      MS. GUASTELLA:   Six days?     And when did they

         6         release you?

         7                      A PROSPECTIVE JUROR:    At the end of the trial

         8        before deliberation.

         9                      MS. GUASTELLA:   Before deliberations, okay.

        10                      And did you stay around for the verdict?

        11                      A PROSPECTIVE JUROR:    No.


-       12

        13
                                MS. GUASTELLA:

                   jurors after that?
                                                 Did you ever speak to any of the



        14                      A PROSPECTIVE JUROR:    No, they didn't go out.

        15                      MS. GUASTELLA:   I think I covered everything.

        16        Thank you.

        17                      THE COURT:   I am going to give the lawyers a few

        18        minutes to go over their notes and then they and I will

        19         step to the side of the courtroom and discuss jury

        20         selection.     You are all free to step out for a little while

        21         if you want to, or you can stay here.         Just don't discuss

        22        the case, please, with each other or anyone else.              Thanks



-       23

        24
                   for your patience.

                                If you do step out, come back, please.

        25                      (The following takes place at side-bar, outside
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 366 of 1061 PageID #: 561
      000364
                                                                            136
                                     Jury Selection


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         2
                  the presence of the jurors.)

                              THE COURT:     Just for the record, we are at a side

         3        bar in the courtroom on the record.            The defendant's about

         4         nine feet away.     Is this all right with him?

         5                    MS. GUASTELLA:        Yes.

         6                    THE COURT:     So you are okay to exercise

         7        challenges here.

         8                    MS. GUASTELLA:        Yes.

         9                    THE COURT:     If you need to consult with him at

        10         any point, you are free to do that.

        11                    MS. GUASTELLA:        Thank you, Judge.


-       12

        13
                              THE COURT:

                   go one at a time.
                                             I think for a minute or two I want to

                                         Let's do Number 1, Miss Balestrieri.

        14                    Cause, People?

        15                    MS. CILIA:     Yes.

        16                    THE COURT:     Is that consent or not?

        17                    MS. GUASTELLA:        Consent.

        18                    THE COURT:     For cause on consent.

        19                    We come to Number 2, Miss Runer.           She says she

        20         served as a juror in a federal case two years ago.             The

        21         judiciary law Section 524 says              I have it right here, you

        22        can read it if you want            anyone who served on a grand or

        23        petty jury in any court or in federal court shall not be

        24         competent to serve again for four years.            They talk about a

        25        waiver further on.       And if the woman stayed on the jury it
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 367 of 1061 PageID #: 562
      000365
                                                                          137
                                   Jury Selection


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         2
                  probably wouldn't affect the verdict, although we now know

                   about this law ahead of time.         So I don't know how you feel

         3         about it.

         4                     MS. CILIA:    I actually thought there might be a

         5         cause challenge.

         6                     THE COURT:    What?

         7                     MS. CILIA:    There might be a cause challenge for

         8         her, as well.

         9                     THE COURT:    I think there might be based on your

        10         questioning of her, but I mean if you consent I let her go

        11        pursuant to the judiciary law.          I don't know how you feel.

        12                     MS. GUASTELLA:       Let her go for that.

        13                     THE COURT:    Okay.     People?

        14                     MS. CILIA:    Yes.     That's fine.

        15                     THE COURT:    So I will on consent of both sides

        16         excuse this lady, citing Section 524 of the Judiciary Law.

        17         That's Miss Runer.

        18                     I think we will keep going one at a time.

        19        Number 3 is Lisa.

        20                     Cause, People?

        21                     MS. CILIA:    No cause for Number 3.

        22                     THE COURT:    Defense?

        23                     MS. GUASTELLA:       Not for cause.

-       24                     THE COURT:    Peremptory, People?

        25                     MS. CILIA:    Yes.
     Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 368 of 1061 PageID #: 563
       000366
                                                                            138
                                     Jury Selection


--        1                    THE COURT:     Next is Mr. Smith.

          2                    Cause, People?

          3                    MS. CILIA:     Yes.

          4                    MS. GUASTELLA:        Consent.

          5                    THE COURT:     For cause on consent.

          6                    Next is Miss Finega Silvestri.

          7                    Cause, People?

          8                    MS. CILIA:     Yes.

          9                    MS. GUASTELLA:        Consent.

         10                    THE COURT:     For cause on consent.

         11                    Next is Miss Sparacio.

         12                    Cause, People?

         13                    MS. CILIA:     No.

         14                    THE COURT:     Defense?

         15                    MS. GUASTELLA:        Yes, Judge.   She said she

         16        potentially could not be fair.

         17                    THE COURT:     People?     Do you want to respond or

         18         not?

         19                    MS. CILIA:     Should we bring her over?

         20                    THE COURT:     I don't think there is any need.           She

         21         clearly said, based on her relatives who were police

         22         officers, she didn't think she could be fair.

                               MS. CILIA:     Okay.

-
         23

         24                    THE COURT:     Okay.     I will grant that challenge.

         25         That is a cause challenge as to Number 6.
     Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 369 of 1061 PageID #: 564
       000367
                                                                               139
                                      Jury Selection


-·        1                    Next is Mr. Hart.

          2                    Cause, People?

          3                    MS. CILIA:     Not for cause.

          4                    THE COURT:      Defense?

          5                    MS. GUASTELLA:         No.

          6                    THE COURT:      Peremptory, People?

          7                    MS. CILIA:      Yes.

          8                    THE COURT:     Next is Miss Moran.

          9                    Cause, People?

         10                    MS. CILIA:     No.

         11                    THE COURT:      Defense?


-        12

         13
                               MS. GUASTELLA:

                               THE COURT:
                                                      No.

                                               Peremptory, People?

         14                    MS. CILIA:     No.

         15                    THE COURT:      Defense?

         16                    MS. GUASTELLA:         Yes.

         17                    THE COURT:      Next is Mr. Gottlieb.

         18                    Cause, People?

         19                    MS. CILIA:     Yes.

         20                    MS. GUASTELLA:         Consent.

         21                    THE COURT:      For cause on consent.

         22                    Next   --   I don't know how      --   Prazdnik, if is that

         23        right.

-        24                    MS. CILIA:     Yes.

         25                    THE COURT:     Cause, People?
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 370 of 1061 PageID #: 565
  000368
                                                                       140
                                Jury Selection


     1                    MS. CILIA:     No.

     2                    THE COURT:     Defense?

     3                    MS. GUASTELLA:        No.

     4                    THE COURT:     Peremptory, People?

     5                    MS. CILIA:     No.

     6                    THE COURT:     Defense?

     7                    MS. GUASTELLA:        Yes.

     8                    THE COURT:     Next is Mr. Pakala?

     9                    Cause, People?

    10                    MS. CILIA:     No.

    11                    THE COURT:     Defense?

    12                    MS. GUASTELLA:        Yes, Judge.   He said that the

    13         fact he was self-employed and the length of the trial would

    14        affect him being fair.

    15                    THE COURT:     People, do you want to be heard?

    16                    MS. CILIA:     No.

    17                    THE COURT:     He did say that.      I will grant it.

    18                    Next is Miss Roman.

    19                    Cause, People?

    20                    MS. CILIA:     Yes.

    21                    MS. GUASTELLA:        Consent.

    22                    THE COURT:     For cause on consent.

    23                    Next is Mr. Rubin.

    24                    Cause, People?

    25                    MS. CILIA:     Yes.
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 371 of 1061 PageID #: 566
      000369
                                                                           141
                                    Jury Selection


-        1                    MS. GUASTELLA:        Consent.

         2                    THE COURT:     For cause on consent.

         3                    Next is Mr. Walker.

         4                    Cause, People?

         5                    MS. CILIA:     No.

         6                    THE COURT:     Defense?

         7                    MS. GUASTELLA:        No.

         8                    THE COURT:     Peremptory, People?

         9                    MS. CILIA:     Yes.

        10                    THE COURT:     Next is Miss Husein.

        11                    Cause, People?


-       12

        13
                              MS. CILIA:

                              MS. GUASTELLA:
                                             Yes.

                                                    Consent.

        14                    THE COURT:     For cause on consent.

        15                    The last is Miss Freesmith.

        16                    Cause, People?

        17                    MS. CILIA:     No.

        18                    THE COURT:     Defense?

        19                    MS. GUASTELLA:        No.

        20                    THE COURT:     Peremptory, People?

        21                    MS. CILIA:     No.

        22                    THE COURT:     Defense?



-       23

        24
                              MS. GUASTELLA:

                              THE COURT:
                                                    No.

                                             That is Number 6.

        25                    Where do we stand on peremptories?
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 372 of 1061 PageID #: 567
      000370
                                                                           142
                                    Jury Selection


-        1

         2
                              THE CLERK:

                  defense has used seven.
                                             The People have used five, the



         3                     (The following takes place in open court.)

         4                    THE CLERK:     If I state your name, please remain

         5         seated.   The rest of the people, please step up and step

         6        out of the box.

         7                    Annessa Freesmith.

         8                    The rest of you please rise, step out.

         9                    THE COURT:     Thank you.

        10                     (Challenged jurors leave courtroom.)

        11                    THE CLERK:     Is the juror satisfactory to the


-       12

        13
                   People?

                              MR. REEVES:     Yes.

        14                    THE CLERK:     To the defendant?

        15                    Ms. Guastella?     Is the juror satisfactory?

        16                    MS. GUASTELLA:     Yes.

        17                    THE CLERK:     Ma'am, please rise.

        18                     (Ms. Freesmith is sworn.)

        19                    THE COURT:     Miss Freesmith, I will give you some

        20        instructions and then let you go.

        21                    I am going to ask you to come back Monday morning

        22        and join the other sworn jurors.         We anticipate you get the

                  trial then.     That will be Monday.      We would like you to be

-
        23

        24        in the jury room.      It is right across the hall.        The

        25        officers will show you where it is on the way out.
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 373 of 1061 PageID #: 568
      000371
                                                                           143
                                    Jury Selection



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         2        follows:
                              Permit me to instruct you as I am required to as

                              First, don't converse with anyone, including

         3        other jurors, about anything re l ated to this case.

         4                    Secondly, prior to being discharged don't speak

         5        with anyone about taking anything, any payment or benefit,

         6        in return for supplying information concerning this trial.

         7                    Third, you must promptly report directly to me

         8        any incident within your knowledge involving an attempt by

         9        anyone to improperly influence you or any member of the

        10         jury.

        11                    Fourth, do not visit or view the premises or


-       12

        13
                  place where any charged crime was allegedly committed or

                  any other premises or p l ace involved in the case.

        14                    Fifth, don't read, view or listen to any media

        15        accounts involving this case should there be any.

        16                    And, finally, don't attempt to research any fact,

        17        issue or law related to this case, whether by discussion

        18        with others, by research in the library or on the internet

        19        or by any other means or source.

        20                    Thank you very much.      Have a good day.      And we

        21        wil l see you Monday morning.

        22                     (Ms. Freesmith leaves courtroom.)



-
        23                    THE CLERK:     Mohamed Z-A-M-A-N, Seat Number 1;

        24        Alena Rubinshteyn, R-U-B-I-N-S-H-T-E-Y-N, Seat Number 2;

        25        Carl Columbo, Seat Number 3; Christina Greco, G-R-E-C-O,
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 374 of 1061 PageID #: 569
      000372
                                                                          144
                                   Jury Selection


         1        Seat Number 4; Nicole Ierardi, I-E-R-A-R-D-I, Seat

         2        Number 5; Eric Roman, R-O-M-A-N, Seat Number 6; Jason

         3        Rivera, R-I-V-E-R-A, Seat Number 7; Nancy Lyons, L-Y-O-N-S,

         4         Seat Number 8; Joseph Gilman, Seat Number 9; Rita Martin,

         5         Seat Number 10, M-A-R-T-I-N; Italia Connor, first name

         6         I-T-A-L-I-A, last name C-O-N-N-O-R, Seat Number 11; Henry

         7        Mino, M-I-N-O, Seat Number 12; Leonard Postiglione

         8         P-O-S-T-I-G-L-I-O-N-E, Seat Number 13; Lynn Simone,

         9         S-I-M-O-N-E, Seat Number 14; Anthony Tampa, T-A-M-P-A, Seat

        10         Number 15; and Anthony Polo, P-O-L-O, Seat Number 16.

        11                      THE COURT:    Okay.   Do any of you think you know


-       12

        13
                   anything about this case apart from what you have heard in

                   court today?

        14                      ... Do any of you know the lawyers or the

        15         defendant?

        16                      ... Did any of you recognize the names that I read

        17         earlier today regarding potential witnesses and people

        18         whose names might come up during the course of the trial?

        19                      Mr. Mino?    Who do you know?

        20                      A PROSPECTIVE JUROR:     I think he said Joanne

        21         Smith?

        22                      THE COURT:    Janet Smith, I think.

        23                      A PROSPECTIVE JUROR:     Then it is not her.

        24                      THE COURT:    Let me just make sure there is no

        25         Joanne.
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 375 of 1061 PageID #: 570
      000373
                                                                           145
                                    Jury Selection


         1                     ... I read Janet Smith.

         2                    A PROSPECTIVE JUROR:       All right.

         3                    THE COURT:    Anybody else?

         4                     ... Have any of you or anyone close to you ever

         5        worked for or do you or they work for law enforcement in

         6        any capacity?

         7                    Mr. Tampa, who do you know in law enforcement?

         8                    A PROSPECTIVE JUROR:       I am a former New York City

         9        police officer.      I stopped for about four years.

        10                    THE COURT:     You left four years ago.

        11                    A PROSPECTIVE JUROR:       No,    I left in 2000.


-       12

        13
                              THE COURT:     You served for four years.

                              A PROSPECTIVE JUROR:       Yes,    I served for four

        14         years.   My father is a former federal investigator,

        15         Treasury Department, and he also worked for the Manhattan

        16         District Attorney as an investigator.          And my mother is a

        17         former Supreme Court clerk.

        18                    THE COURT:     Did your mother work in criminal

        19         term, or do you know?      Criminal, civil or both?

        20                    A PROSPECTIVE JUROR:       Both.

        21                    THE COURT:     Anything about any of this that would

        22        prevent you from being a fair juror in a criminal trial?

        23                    A PROSPECTIVE JUROR:       Being a former police

-       24        officer, based on --

        25                    THE COURT:     Doesn't disqualify you.
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 376 of 1061 PageID #: 571
      000374
                                                                           146
                                    Jury Selection


         1                    A PROSPECTIVE JUROR:      No.

         2                    THE COURT:     Nobody is exempt.      I have been called

         3        three or four times.       Nobody ever choose me; I don't know

         4        why.    But everybody gets called.

         5                    A PROSPECTIVE JUROR:      No, no, I understand that.

         6         Just based on the investigative background and to me the

         7        preliminary hearings going up, up to the event, I don't

         8        think in my personal opinion           I don't think it would go

         9        past Grand Jury if it wasn't

        10                    THE COURT:     Don't say anymore.

        11                    Have you testified at hearings during the course


-       12

        13
                  of your four years?

                              A PROSPECTIVE JUROR:      Yes.

        14                    THE COURT:     What do you do now?

        15                    A PROSPECTIVE JUROR:       I am a firefighter.

        16                    THE COURT:     Firefighter.      That is not uncommon

        17         for police officer to move over.         Well, okay.   I am going

        18        to leave it alone.       The lawyers might wanted to talk to you

        19         further, and I will leave that up to them.

        20                    Anyone else, law enforcement?

        21                    I am just jumping around here.        Miss Martin?

        22                    A PROSPECTIVE JUROR:      My husband's retired eight

        23        years, N.Y.P.D.

        24                    THE COURT:    Anything about his former job that

        25        would prevent you from being fair?
     Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 377 of 1061 PageID #: 572
       000375
                                                                              147
                                     Jury Selection


-         1                     A PROSPECTIVE JUROR:        Potentially.     We still have

                   a lot of friends that are on the job and very close friends
          2

          3        to us that are retired, as well.

          4                     THE COURT:     That is all right, but the question

          5        is

          6                     A PROSPECTIVE JUROR:        Potentially, yes.

          7                     THE COURT:     Potentially.

          8                     A PROSPECTIVE JUROR:        Yes.

          9                     THE COURT:     Yes, what?

         10                     A PROSPECTIVE JUROR:        That it might sway, you

         11         know.   It might sway my decision.

         12                     THE COURT:     Other hands on this?

         13                     Miss Connor.

         14                     A PROSPECTIVE JUROR:        My brother and

         15        sister-in-law and close family friends.

         16                     THE COURT:     Is that going to have any effect on

         17        your ability to be fair?

         18                     A PROSPECTIVE JUROR:        I would assume not, but I

         19        don't know for sure.

         20                     THE COURT:     Anyone else?

         21                     Mr. Mino.

         22                     A PROSPECTIVE JUROR:        My brother-in-law's retired

         23        N.Y.P.D. and a close friend is a homicide detective.
--       24                     THE COURT:     Currently.     Currently a homicide

         25        detective.
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 378 of 1061 PageID #: 573
      000376
                                                                           148
                                    Jury Selection


-        1                    A PROSPECTIVE JUROR:      Yes, on Staten Island.

         2                    THE COURT:     Anything about this that would

         3        prevent you from being fair?

         4                    A PROSPECTIVE JUROR:       It may.

         5                    THE COURT:     Anyone else?

         6                    Mr. Roman?

         7                    A PROSPECTIVE JUROR:      Yes.    I am retired New York

         8        City Corrections Officer.

         9                    THE COURT:     How long ago did you retire?

        10                    A PROSPECTIVE JUROR:      Eleven years ago.

        11                    THE COURT:     How long were you on that job?


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        13
                              A PROSPECTIVE JUROR:

                              THE COURT:
                                                        Twenty years.

                                             Is there anything about your

        14        background, training and experience in that regard that

        15        wore prevent you from being fair?

        16                    A PROSPECTIVE JUROR:       It will prevent me from

        17        being fair, yes.

        18                    THE COURT:     It will.

        19                    A PROSPECTIVE JUROR:      Yes.

        20                    THE COURT:     That is a definite from you, I guess;

        21        right?

        22                    A PROSPECTIVE JUROR:      Yes, sir.

        23                    THE COURT:    Anyone else, law enforcement?

        24                    Mr. Rivera.

        25                    A PROSPECTIVE JUROR:      My cousin is a homicide
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 379 of 1061 PageID #: 574
      000377
                                                                           149
                                    Jury Selection


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         2
                  detective in Brooklyn.

                              THE COURT:     In Brooklyn.

         3                    A PROSPECTIVE JUROR:        Yes.

         4                    THE COURT:     Anything about that that would

         5        prevent you from being a fair juror?

         6                    A PROSPECTIVE JUROR:        Yes.

         7                    THE COURT:     Anyone else?

         8                    Miss Simone.

         9                    A PROSPECTIVE JUROR:        Yes.   My daughter's

        10         currently a sergeant in Brooklyn South.

        11                    THE COURT:     Is that going to have any effect on


-       12

        13
                   your ability to be fair?

                              A PROSPECTIVE JUROR:        No.

        14                    THE COURT:     Thank you.

        15                    Mr. Postiglione.

        16                    A PROSPECTIVE JUROR:        That is correct.    Many

        17         years ago while working as a lawyer for the MTA I

        18         represented the Transit Police Force before it was absorbed

        19         into the N.Y.P.D., and more recently in the private sector

        20         I represented the PBA in grievance arbitrations and

        21         contract negotiations.

        22                    THE COURT:     Is that what you do now?



-       23

        24
                              A PROSPECTIVE JUROR:

                              THE COURT:     Retired.
                                                          I am retired.



        25                    A PROSPECTIVE JUROR:        I retired from the job with
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 380 of 1061 PageID #: 575
      000378
                                                                           150
                                    Jury Selection


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         2
                  the MTA.

                              THE COURT:     Okay.   Well, what do you think?       Is

         3        this background going to affect your ability to be fair and

         4         impartial or not?

         5                    A PROSPECTIVE JUROR:       I would hope not, your

         6        Honor.

         7                    THE COURT:     Can you do better than that?

         8                    A PROSPECTIVE JUROR:       I think not, your Honor.

         9                    THE COURT:     Okay.   Thank you.

        10                    Other hands.     Law enforcement.

        11                    Mr. Columbo.


-       12

        13
                              A PROSPECTIVE JUROR:

                   is a retired narcotics detective.
                                                        My brother-in-law's brother



        14                    THE COURT:     Your brother in law's

        15                    A PROSPECTIVE JUROR:      Brother.

        16                    THE COURT:     Your brother-in-law's brother.

        17                    A PROSPECTIVE JUROR:       Yes.

        18                    THE COURT:     Anything about that that is going to

        19         have any bearing here?

        20                    A PROSPECTIVE JUROR:      No.

        21                    THE COURT:     Anyone else?

        22                     ... Have any of you or anyone close to you, to



-       23

        24
                   your knowledge, ever worked in the legal field, or do you

                   or they work in the legal field?

        25                     I guess Mr. Postiglione already answered this.
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 381 of 1061 PageID #: 576
      000379
                                                                           151
                                    Jury Selection


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         2
                  Anyone else on that?       Lawyer, paralegal, employee of a law

                   firm, prosecutor's office, anything like that?

         3                     ... Have any of you or anyone close to you, to

         4        your knowledge, ever been the victim of a crime?

         5                     Miss Ierardi.

         6                     A PROSPECTIVE JUROR:     Yes.

         7                     THE COURT:    Can you tell me about it?

         8                     A PROSPECTIVE JUROR:     My cousin was murdered.

         9                     THE COURT:    How long ago was this?

        10                     A PROSPECTIVE JUROR:     2008.

        11                     THE COURT:    Was anybody arrested?

        12                     A PROSPECTIVE JUROR:     Yes.

        13                     THE COURT:    Did you go to any court proceeding?

        14                     A PROSPECTIVE JUROR:      I was not allowed, no.

        15                     THE COURT:    Keeping in mind the nature of the

        16        charge in this case, do you think there is anything about

        17        that event that would have an effect on your ability to be

        18         fair?   Fair to both sides?

        19                     A PROSPECTIVE JUROR:      I would like to speak in

        20        private with the lawyers.

        21                     THE COURT:    Okay.   We will do that shortly.

        22        Thank you.

        23                     A PROSPECTIVE JUROR:     Thank you.

        24                     THE COURT:   Anyone else on this question?

        25                     Mr. Postiglione?
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 382 of 1061 PageID #: 577
      000380
                                                                           152
                                    Jury Selection


-        1                    A PROSPECTIVE JUROR:      Many years ago, your Honor,

         2         in Jamaica, Queens my mother was the victim of a push-in

         3         robbery.   Her house was ransacked and she was injured.              I

         4        ended up testifying in the criminal case.

         5                    THE COURT:     You did as a

         6                    A PROSPECTIVE JUROR:      As a background witness

         7        about the area, the location.

         8                    THE COURT:     Let's talk about that event.        Is

         9        there anything about that event -- I am not talking about

        10        the other matter we discussed -- that would prevent you

        11         from being fair in a criminal case?

        12                    A PROSPECTIVE JUROR:       I don't think so.

        13                    THE COURT:     Okay. Mr. Roman.

        14                    A PROSPECTIVE JUROR:      Yes.    My wife was also a

        15        Correction Officer.      She got assaulted by a male inmate and

        16        they had to retire her on disability.

        17                    THE COURT:     How long ago was this?

        18                    A PROSPECTIVE JUROR:      About five years ago.

        19                    THE COURT:     Five years ago.     That was a city

        20        facility?

        21                    A PROSPECTIVE JUROR:      City, yes.

        22                    THE COURT:    Anything about that event that would

        23        affect you in terms of being fair?

        24                    A PROSPECTIVE JUROR:      Won't be fair.

        25                    THE COURT:     Pardon?
     Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 383 of 1061 PageID #: 578
       000381
                                                                            153
                                     Jury Selection


-         1                    A PROSPECTIVE JUROR:      Won't be fair.

          2                    THE COURT:    Okay.    I got two stars next to your

          3        name.

          4                    Anyone else on this question?         Crime victims.

          5                    Mr. Tampa?

          6                    A PROSPECTIVE JUROR:      I was once a victim of an

          7        assault when I was in high school.           It was basically, you

          8         know, about 20 kids against me.         And then another time when

          9         I was working in Manhattan I was a victim of a robbery

         10        walking into my office building.

         11                    THE COURT:    Was anybody arrested in either of

         12        these events?
--

         13                    A PROSPECTIVE JUROR:      No.

         14                    THE COURT:     Would these experiences have any

         15        effect on your ability to be a fair juror in a criminal

         16        trial?

         17                    A PROSPECTIVE JUROR:       I really don't know.

         18                    THE COURT:     Okay.   Anyone else?

         19                    Mr. Rivera.

         20                    A PROSPECTIVE JUROR:      My father was murdered.

         21                    THE COURT:     I am sorry.      How long ago?

         22                    A PROSPECTIVE JUROR:      Before I was one years old.

         23                    THE COURT:     Do you know if anybody was arrested
--
         24        and prosecuted?

         25                    A PROSPECTIVE JUROR:      No.
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 384 of 1061 PageID #: 579
      000382
                                                                           154
                                    Jury Selection


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                               THE COURT:   Anything about that that would

                   keeping in mind the charge here, anything about that that

         3        would keep you from being fair?

         4                     A PROSPECTIVE JUROR:      I wouldn't be fair.

         5                     THE COURT:    Okay.    Did I get everybody on that?

         6                     ... Have any of you or anyone close to you ever

         7        been a defendant in any kind of a criminal proceeding?                We

         8        will talk privately if you want.

         9                     ... Have any of you,    I guess outside of

        10        Mr. Postiglione, ever been a witness -- and Mr. Tampa

        11        ever been a witness in any kind of courtroom proceeding?


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        13
                               ... Have you ever been a litigant, plaintiff or

                  defendant, in any kind of civil lawsuit or civil action?

        14                     Mr. Mino, can you tell me the nature of the

        15         action?

        16                     A PROSPECTIVE JUROR:      It was a motorcycle

        17         accident.

        18                     THE COURT:    How long ago?

        19                     A PROSPECTIVE JUROR:      25, 30 years ago?

        20                     THE COURT:    I assume it is over now.

        21                     A PROSPECTIVE JUROR:      Yes.

        22                     THE COURT:    Anything about that experience that

                  would have any bearing here in terms of being fair?
-       23

        24                     A PROSPECTIVE JUROR:      Yeah.   Yes.

        25                     THE COURT:    You did not have a good experience, I
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 385 of 1061 PageID #: 580
      000383
                                                                           155
                                    Jury Selection


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                  gather.

                               A PROSPECTIVE JUROR:     Exactly.

         3                     THE COURT:    Okay.

         4                     Mr. Gilman.

         5                     A PROSPECTIVE JUROR:      Yes.    Construction

         6         accident.

         7                     THE COURT:    How long ago, sir?

         8                     A PROSPECTIVE JUROR:     Over 20 years.

         9                     THE COURT:    It is over now?

        10                     A PROSPECTIVE JUROR:     Over, yes.

        11                     THE COURT:    Anything about that experience as a


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        13
                   litigant that would prevent you from being a fair juror?

                               A PROSPECTIVE JUROR:     No.

        14                     THE COURT:    Anyone else?

        15                     ... Have any of you ever served on a jury before?

        16                     Mr. Mino, when, approximately?

        17                     A PROSPECTIVE JUROR:     Six years ago?

        18                     THE COURT:    Criminal or civil, if you remember?

        19                     A PROSPECTIVE JUROR:     Civil.

        20                     THE COURT:    Did the jury reach a verdict?

        21                     A PROSPECTIVE JUROR:     Yes.

        22                     THE COURT:    Was there anything about that



-       23

        24
                  experience that would prevent you from being able to serve

                  here?

        25                     A PROSPECTIVE JUROR:     Just the way we voted.          The
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 386 of 1061 PageID #: 581
      000384
                                                                            156
                                    Jury Selection


         1         judge asked us how we voted.       I didn't feel comfo r table

         2        with it.

         3                    THE COURT:     Okay.   Thank you.

         4                    Mr. Gilman, when, please, approximately?

         5                    A PROSPECTIVE JUROR:        Oh, approximately 30 years

         6         ago.

         7                    THE COURT:     Do you remember if it was a civil or

         8        criminal?

         9                    A PROSPECTIVE JUROR:        Civil.

        10                    THE COURT:     Did the jury reach a verdict?

        11                    A PROSPECTIVE JUROR: ·      Yes.


-       12

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                              THE COURT:     Anything about that experience or

                  what you recall of it that would prevent you from being

        14        able to se r ve in this case?

        15                    A PROSPECTIVE JUROR:        No.

        16                    THE COURT:     Thank you.

        17                    Other hands?

        18                    Mr. Columbo.     When, please?

        19                    A PROSPECTIVE JUROR:        About eight years ago.        I

        20        was an alternate on a civil case.

        21                    THE COURT:     Did you get to deliberate o r not?

        22                    A PROSPECTIVE JUROR:        No, we did not.

        23                    THE COURT:     Anything about that experience

        24                    A PROSPECTIVE J UROR:       No.

        25                    THE COURT:     -- as far as it went that would have
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 387 of 1061 PageID #: 582
      000385
                                                                            157
                                    Jury Selection


-        1        any effect on your ability to serve here?

                              A PROSPECTIVE JUROR:        No.
         2

         3                    THE COURT:     Thank you.

         4                    Other hands?

         5                     ... Have any of you ever served on a Grand Jury?

         6                    Mr. Zaman.

         7                    A PROSPECTIVE JUROR:        Yes, sir.

         8                    THE COURT:     Are you employed, sir?

         9                    A PROSPECTIVE JUROR:        Yes.

        10                    THE COURT:     What do you do?

        11                    A PROSPECTIVE JUROR:        Construction work.


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        13
                              THE COURT:     Thank you.

                              Miss, is it, Rubinshteyn, are you employed?

        14                    A PROSPECTIVE JUROR:        Yes.

        15                    THE COURT:     What do you do?

        16                    A PROSPECTIVE JUROR:        Pharmacist.

        17                    THE COURT:     Thank you.

        18                    Mr. Columbo.

        19                    A PROSPECTIVE JUROR:        School construction.

        20                    THE COURT:     Thank you.

        21                    Ms. Greco.

        22                    A PROSPECTIVE JUROR:        Office manager.

        23                    THE COURT:     Thank you.
-       24                    Ms. Ierardi.

        25                    A PROSPECTIVE JUROR:        Waitress at a restaurant.
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 388 of 1061 PageID #: 583
      000386
                                                                           158
                                    Jury Selection


-        1                    THE COURT:     Thank you.

         2                    Mr. Roman, are you retired?

         3                    A PROSPECTIVE JUROR:        Yes.

         4                    THE COURT:     Mr. Rivera.

         5                    A PROSPECTIVE JUROR:        Project manager.

         6                    THE COURT:     Thank you.

         7                    Ms. Lyons.

         8                    A PROSPECTIVE JUROR:        I am a housewife starting

         9        my own party decorating business.

        10                    THE COURT:     Okay.

        11                    Mr. Polo.


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        13
                              A PROSPECTIVE JUROR:

                              THE COURT:     Thank you.
                                                          Mailman.



        14                    Mr. Tampa, you are firefighter.

        15                    A PROSPECTIVE JUROR:        Yes.

        16                    THE COURT:    Miss Simone.

        17                    A PROSPECTIVE JUROR:        Retired pharmacy

        18        technician.

        19                    THE COURT:     Mr. Postiglione, are you retired?

        20                    A PROSPECTIVE JUROR:        I am now not practicing but

        21         I am still licensed.

        22                    THE COURT:    Mr. Mino.

        23                    A PROSPECTIVE JUROR:        Bus operator.
-       24                    THE COURT:     Thank you.

        25                    Ms. Connor.
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 389 of 1061 PageID #: 584
      000387
                                                                           159
                                    Jury Selection


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                              A PROSPECTIVE JUROR:

                              THE COURT:     Thank you.
                                                          Welfare Department.



         3                    Ms. Martin?

         4                    A PROSPECTIVE JUROR:        Preschool teacher.

         5                    THE COURT:     Thank you.

         6                    And Mr. Gilman.

         7                    A PROSPECTIVE JUROR:        Retired.

         8                    THE COURT:     From what?

         9                    A PROSPECTIVE JUROR:        Electrical construction.

        10                    THE COURT:     Thank you.     Thank you all for that

        11         information.


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        13
                              Let me give these principles of law again and

                  then I will let the lawyers finish up.

        14                    As you now know if you didn't before, an

        15         indictment is evidence of nothing in particular.            It is not

        16        evidence of guilt.       Can you all accept this?      Is there

        17        anybody here who could not accept this proposition in our

        18         law?

        19                     If selected here you would be called upon at the

        20        end of the trial to deliberate with 11 other people in an

        21        effort to reason together and arrive at a final unanimous

        22        verdict or verdict.       Do any of you feel you could not



-       23        deliberate with 11 other people if called upon to do so?

        24                    Under our law everyone accused of a crime or

        25        brought to trial is presumed innocent unless or until he is
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 390 of 1061 PageID #: 585
      000388
                                                                           160
                                     Jury Selection


-        1        proved guilty beyond a reasonable doubt.          The defendant in

         2        this case is presumed innocent.         And to put this another

         3        way, a defendant is never required to prove his innocence.

         4        On the contrary; the People, having accused the defendant

         5        of the crimes charged, have the burden of proving him

         6        guilty beyond a reasonable doubt.         The People carry this

         7        burden of proof throughout the trial.          It never shifts, it

         8         always remains on the People, and the presumption of

         9         innocence remains with every defendant throughout every

        10         criminal trial.

        11                      Is there anyone amongst you who cannot now in


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                   your own mind grant the defendant this presumption of

                   innocence?

        14                      Again, in a criminal trial the burden of proof is

        15         entirely on the People, on the District Attorney, and

        16         remains on them throughout the trial.         A defendant is not

        17         required to prove anything, nor is a defendant required to

        18        disprove anything.      As I said, the entire burden of proof

        19         is on the People and remains on them throughout the trial.

        20                      Is there anyone here who cannot accept and follow

        21         this rule in our criminal law?

        22                      If a defendant does not testify in a criminal



-
        23         trial, that's not a factor from which any inference

        24         unfavorable to such defendant may be drawn.          Is there

        25         anybody who could not accept this rule in our law?
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 391 of 1061 PageID #: 586
      000389
                                                                           161
                                    Jury Selection


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                              I defined earlier today the standard of proof

                   required for conviction in every criminal trial.            That

         3         standard, of course, is called proof of guilt beyond a

         4         reasonable doubt.     Did you all hear that definition when I

         5         read it earlier?

         6                    I am getting nods, for the record.

         7                    Would anybody like me to read it again?            I am

         8        happy to do that if you want me to.

         9                     ... Nobody wants me to.     Okay.   Keep that

        10        definition in mind.

        11                    Let me remind you it is the duty of each juror


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                  carefully to review, weigh and consider all the evidence.

                   If after doing this you find that the People have not

        14        proved the defendant's guilt beyond a reasonable doubt as I

        15         have defined the term, then you must find the defendant not

        16        guilty.    On the other hand, if you are satisfied that the

        17         People have proved the defendant's guilt beyond a

        18         reasonable doubt as I have defined the term, then you must

        19         find the defendant guilty.

        20                    Will you promise us now that, if selected here,

        21         you will in your final deliberations follow and apply the

        22         standard of proof that I have defined, proof beyond a



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                   reasonable doubt?

                  promise?
                                         Is there anybody who cannot make us that



        25                    A deliberating jury, as you now know, is not
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 392 of 1061 PageID #: 587
      000390
                                                                           162
                                    Jury Selection


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                  permitted to consider the subject of punishment.

                   is to be any sentencing following a verdict, that is for
                                                                                 If there



         3         the Court and the Court alone to deal with.          The jury has

         4         no role to play in that.

         5                    Will you promise us now that, if selected here,

         6         you will render your verdict free from fear,         favor or

         7         sympathy and without considering any possibility of

         8         sentence or punishment?      Can you all make us that promise?

         9                    And, lastly, police officers will testify in this

        10        case.    They take the same oath as anyone else.          The mere

        11         fact that a witness is a police officer does not make that


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                  witness any more or any less credible.          Is there anyone

                  here who has had any experiences with the police or who has

        14         any feelings about the police which would lead you in your

        15         judgment to give a police officer's testimony greater or

        16         lesser weight than anyone else's merely because o f the

        17        officer's occupation?

        18                     I think some of you feel that way.        Am I right?

        19         I made notes.    And if you think you have already answered

        20         that question, that's fine.

        21                    Anybody else?

        22                     ... No. okay.

        23                    Let's step to the side.       We are going to talk to

-       24        one lady and then I will let the lawyers finish up.

        25                     (The following takes place at side bar.)
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 393 of 1061 PageID #: 588
      000391                                                              163
                                   Jury Selection


         1                    THE COURT:     Miss Ierardi.

         2                    THE CLERK:     Nicole Ierardi, I-E-R-A-R-D-I.

         3                     (Ms. Ierardi approaches side bar.)

         4                    THE COURT:     What did you mean to talk about?            I

         5        don't remember.

         6                    A PROSPECTIVE JUROR:          I don't feel comfortable

         7        with this case.      I mean it is 2008, the same year as my

         8        cousin, as well, so ...

         9                    THE COURT:     Can you say that again?

        10                    A PROSPECTIVE JUROR:          My cousin was murdered in

        11         2008, as well.     I don't feel comfortable with this case.


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                              THE COURT:     That was how long ago?

                              A PROSPECTIVE JUROR:          Yes.
                                                                             2008?



        14                    THE COURT:     So you think the nature of the charge

        15        here, considering that experience --

        16                    A PROSPECTIVE JUROR:          Yes.

        17                    THE COURT:     -- you couldn't be fair?

        18                    A PROSPECTIVE JUROR:          I don't think so, no.

        19                    THE COURT:     Counselor, any questions?

        20                    MS. GUASTELLA:       No.

        21                    MS. CILIA:     No.

        22                    THE COURT:     Okay.       Thank you.     I will let you

        23         take your seat.

-       24                     (The following takes place in open court.)

        25                    MS. CILIA:     Hello again.          I am going to be
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 394 of 1061 PageID #: 589
      000392
                                                                           164
                                     Jury Selection


-        1         talking about a lot of the same issues as last time.            I am

         2         sorry that it's the same questions that you have been here

         3         for over and over again.

         4                      Again,   I just want to point out that this is the

         5         only time that we get to talk to you, so please feel free

         6         to speak, okay?       I know it is very difficult being here on

         7         this side.     I have imagined it, being on that side in jury

         8         selection.     It's not fun to talk in public with people who

         9         you have never met before, but this is the only time we get

        10         to speak to you and actually get a response from you.            So I

        11         just ask that you please give us your opinions.           Even if I


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                   am talking to somebody else.

                                THE COURT:   They know that already.      It is five

        14         to 4:00.

        15                      MS. CILIA:   All right.    Fair enough.

        16                      Let's talk about circumstantial evidence.        That's

        17         something that you have heard round after round after

        18         round.

        19                      No one's going to be taking the stand, pointing

        20        to the defendant and saying that's the man who shot and

        21         killed David Williams.      Is there anyone here who is going

        22        to require that of us?

        23                      If we can prove beyond a reasonable doubt through

-       24        circumstantial evidence, which we have talked about before,

        25        is anyone still going to require that direct evidence in
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 395 of 1061 PageID #: 590
      000393
                                                                           165
                                    Jury Selection


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         2
                  the case?

                               Mr. Zaman, why don't I start with you.

         3                     A PROSPECTIVE JUROR:     Yes.

         4                     MS. CILIA:    What do you think about that?       Are

         5         you going to require someone to take that witness stand,

         6        point to the defendant and say that's the man, I saw him

         7        shoot and kill David Williams?        Or if we can prove the case

         8        beyond a reasonable doubt using circumstantial evidence,

         9        using DNA evidence, using what witnesses saw beforehand and

        10        afterwards, using forensic evidence, would that be enough?

        11         If we prove beyond a reasonable doubt in that way, would


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        13
                  you be satisfied and vote guilty in this case?

                               A PROSPECTIVE JUROR:     After hearing both sides,

        14         you know, then maybe we make decision which side was wrong.

        15                     MS. CILIA:    Well, in this case this is          the

        16        burden is on the prosecution.        We have got to prove our

        17        case beyond a reasonable doubt.         There is no burden for the

        18        defense.

        19                     A PROSPECTIVE JUROR:     Okay.

        20                     MS. CILIA:    Let me just talk about that for a

        21        second.     No burden for the defense whatsoever, so it's our

        22        burden to prove beyond a reasonable doubt the guilt of the



-
        23        defendant.     If we are able to do that with forensic

        24        evidence and DNA, would you still require somebody to take

        25        that stand and point to the defendant and say that's the
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 396 of 1061 PageID #: 591
      000394
                                                                            166
                                    Jury Selection


         1        person who did it?

         2                    A PROSPECTIVE JUROR:       No.

         3                    MS. CILIA:     Miss Rubinshteyn, what do you think?

         4                    A PROSPECTIVE JUROR:       Not if there is definitive

         5         evidence supporting.

         6                    MS. CILIA:     Would you listen to the law and what

         7         the law says and what the judge says is our burden in

         8        proving the case, or would you require something more, the

         9        witness to take the stand and point to the defendant?

        10                    A PROSPECTIVE JUROR:       Not a witness, but it

        11         depends how strong the evidence is.


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                              MS. CILIA:     Okay.    Would you be willing to follow

                   the law when it comes to what that burden is?

        14                    A PROSPECTIVE JUROR:        Uh-Hum.

        15                    MS. CILIA:     Proof beyond a reasonable doubt.

        16                    A PROSPECTIVE JUROR:        Yes.

        17                    MS. CILIA:     Mr. Columbo?        What do you think?

        18                    A PROSPECTIVE JUROR:       As long as the evidence is

        19         there,   I have no problem.       I will follow the law.

        20                    MS. CILIA:     And, Miss Greco, do you agree or

        21        disagree with that?

        22                    A PROSPECTIVE JUROR:       No,     I could convict if it



-       23         is proven beyond a reasonable doubt.

        24                    MS. CILIA:     What about the fact of what we talked

        25        about earlier about motive?         Motive is not an element of
     Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 397 of 1061 PageID #: 592
       000395                                                              167
                                    Jury Selection

--        1        this crime.      We don't need to prove why somebody did what

          2        they did.     In this case we have to prove that the defendant

          3        purposely killed David Williams.          You may never know the

          4        motive, the reason why.       Would you still be able to convict

          5         in that case?

          6                     A PROSPECTIVE JUROR:     Yes.

          7                     MS. CILIA:    Okay.    Does everybody feel that way

          8        or does somebody feel like -- yes?

          9                     A PROSPECTIVE JUROR:     No.     I would want to know

         10        why.

         11                     MS. CILIA:    Miss Simone.


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         13
                                A PROSPECTIVE JUROR:

                                MS. CILIA:
                                                          Yes.

                                              You would require the prosecution to

         14        prove the element -- an element of motive even though that

         15         is not --

         16                     THE COURT:    Motive is not an element.

         17                     MS. CILIA:    Right.    You would require

         18                     A PROSPECTIVE JUROR:      I would want to know why;

         19        what would make him want to kill somebody.

         20                     THE COURT:    Would you require it I think is her

         21         question.    It is a little different.

         22                     A PROSPECTIVE JUROR:     Yes.

         23                     MS. CILIA:    Thank you for that.
-        24                     Does anybody feel the same way as Miss Simone?

         25                     A PROSPECTIVE JUROR:     Yes, I do too.
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 398 of 1061 PageID #: 593
      000396
                                                                            168
                                      Jury Selection


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                              MS. CILIA:     Okay.     You would require that we

                  prove motive even though it is not an element of the crime.

         3                    A PROSPECTIVE JUROR:        Yes.     I would want to know

         4        why this happened.

         5                    MS. CILIA:     Anyone else who feels that way?

         6                    Okay.     I got a couple of hands.        Mr. Polo?

         7                    A PROSPECTIVE JUROR:        Yes.

         8                    MS. CILIA:     You would.

         9                    A PROSPECTIVE JUROR:        Only because it's the

        10         severity of the murder.      If only because it is murder I

        11         would want a little more of why, if it was self-defense.

        12        Or just because it is murder, you know,            I want to know

        13         everything.

        14                    MS. CILIA:     The judge is going to instruct you

        15         that motive is not an element of the crime that we need to

        16         prove.

        17                    A PROSPECTIVE JUROR:        No,    I understand.    Just in

        18        my mind.

        19                    MS. CILIA:     But you would still require that.

        20                    A PROSPECTIVE JUROR:        I mean, yeah, I guess when

        21         it comes down to it.

        22                    MS. CILIA:     And I also saw, Mr. Rivera, that you



-       23         raised your hand.

        24                    A PROSPECTIVE JUROR:        The same reasons.

        25                    MS. CILIA:     Anyone else who feels that way?
      Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 399 of 1061 PageID #: 594
        000397                                                              169
                                     Jury Selection


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           2
                                 ... Okay.

                                 Miss Martin, you said you were a school teacher?

           3                     A PROSPECTIVE JUROR:       Preschool.

           4                     MS. CILIA:    Preschool.     Okay.     So you are working

           5        with the little ones.       And your husband is a former police

           6        officer; is that right?

           7                     A PROSPECTIVE JUROR:       Yes.     Retired homicide

           8        detective.

           9                     MS. CILIA:    I am sorry.        Retired detective.

          10                     And you gave -- when the judge asked you about

          11         that you said that you may -- your opinion may be swayed.

          12                     A PROSPECTIVE JUROR:       Potentially, yes.       Just
- ·
          13         from,   you know, we talk.    You know, he tells me stories.

          14                     MS. CILIA:    Did you recognize any of the names of

          15         the police officers or detectives in this case?

          16                     A PROSPECTIVE JUROR:       No.     He was out of

          17        Brooklyn.

          18                     MS. CILIA:    Would you be able to give us an

          19         assurance that you would listen to the police officers' and

          20        detectives' testimony in this case like any other witness?

          21        You wouldn't give it more or less weight than any other

          22         type of witness?

                                 A PROSPECTIVE JUROR:       I would listen, yeah.          I

-
          23

          24         have no problem listening.

          25                     THE COURT:    Listening's fine, but the second part
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 400 of 1061 PageID #: 595
      000398
                                                                           170
                                    Jury Selection


-        1        of the question is the crucial one.

         2                    MS. CILIA:     Would you be able to assure us that

         3        you would not give those witnesses more or less weight than

         4        any other type of witness who takes the stand?

         5                    A PROSPECTIVE JUROR:      No.    I am going to be

         6        honest.

         7                    MS. CILIA:     Mr. Mino, same question to you.

         8        Would you be able to give us an assurance?

         9                    A PROSPECTIVE JUROR:      No, I wouldn't .

        10                    MS. CILIA:     What about you, Mr. Tampa?

        11                    A PROSPECTIVE JUROR:      Being a former police


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                  officer, I tend to believe that the cops are here to tell

                   the truth and I would definitely lean more towards their

        14         opinion on the matter.

        15                    MS. CILIA:     There is nothing wrong with

        16         appreciating the Police Department and what they do, but

        17         the question here is would you be able to listen to their

        18         testimony like any other witness, or would you

        19         automatically believe them, for instance?

        20                    A PROSPECTIVE JUROR :      I would believe them.

        21                    MS. CILIA:     Okay.   Mr. Postiglione, I think that

        22         you also gave an answer "I would hope not'' when the judge



-       23         asked you a similar question.       Could you give a definitive

        24        answer one way or the other?

        25                    A PROSPECTIVE JUROR:       I told the judge I think
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 401 of 1061 PageID #: 596
      000399                                                              171
                                   Jury Selection


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                  not definitively.

                                MS. CILIA:   I think not.    Would you be able to

         3        give us a definitive answer one way or the other?

         4                      A PROSPECTIVE JUROR:    Restate the question,

         5        counselor.

         6                      MS. CILIA:   I believe that when Judge Rooney was

         7         asking you about your experiences that you said,          "I would

         8         think not,    I would hope not," in terms of would that have

         9         an effect on your ability to be fair in this case.

        10                      A PROSPECTIVE JUROR:     It would not.

        11                      MS. CILIA:   It would not.     Okay.


-       12

        13
                                Now, regarding the type of case this is.

                   have heard that it is a murder.
                                                                                You

                                                          These are obviously very

        14         serious charges, some of the most serious charges that we

        15         have.   Is there anything about the type of case that this

        16         is or any other personal, political or religious reason

        17         that makes anyone here feel like they would not be able to

        18         sit, listen to the testimony, deliberate and reach a

        19        verdict in this case?

        20                      Ms. Lyons?   What do you think?

        21                      A PROSPECTIVE JUROR:     I am fine.    I would take

        22        the evidence that you have and listen to it.

        23                      MS. CILIA:   And, Ms. Greco?     What do you think?

-       24                      A PROSPECTIVE JUROR:     I could listen to the

        25        evidence.
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 402 of 1061 PageID #: 597
      000400                                                              172
                                   Jury Selection


-        1                    MS. CILIA:    Mr. Gilman?

                              A PROSPECTIVE JUROR:        Yes, I can listen to
         2

         3        evidence and make a decision.        Sure.

         4                    MS. CILIA:     This is the first time that I have

         5         talked to you, Mr. Gilman.

         6                    A PROSPECTIVE JUROR:        First time, yes.

         7                    MS. CILIA:     You said that you are in

         8         construction.

         9                    A PROSPECTIVE JUROR:        I was.

        10                    MS. CILIA:     Oh, retired construction.       Okay.      And

        11         you were a civil juror awhile ago.

        12                    A PROSPECTIVE JUROR:        Quite awhile ago, yes.

        13                    MS. CILIA:     Anything about that experience

        14         that     did that leave with you a positive, negative or

        15         sort of no feeling toward the justice system?

        16                    A PROSPECTIVE JUROR:        No, it was positive.

        17                    MS. CILIA:     All right.     Thank you very much.

        18                    MS. GUASTELLA:     Mr. Zaman,      I think I heard you

        19         say you are a construction worker?

        20                    A PROSPECTIVE JUROR:        Yes.

        21                    MS. GUASTELLA:     Where do you work?

        22                    A PROSPECTIVE JUROR:        In Brooklyn.



-       23

        24
                              MS. GUASTELLA:

                   for a private company?
                                                 Are you in a union?       Do you work



        25                    A PROSPECTIVE JUROR:        No, no, private.
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 403 of 1061 PageID #: 598
      000401                                                              173
                                   Jury Selection


-        1

         2
                              MS. GUASTELLA:     Private company.      Okay.

                              Now, if at the end of the case the People have

         3         not proven their case beyond a reasonable doubt I may

         4        decide that Armand does not have to take the stand on his

         5         own behalf.    Are you going to want to hear from him anyway?

         6                    THE COURT:     The question is

         7                    MR. REEVES:     Objection.

         8                    THE COURT:     Sustained.

         9                    MS. GUASTELLA:     Are you going to expect

        10        Mr. Skrine to take the stand on his own behalf?

        11                    MR. REEVES:     There is an objection.


-       12

        13
                              A PROSPECTIVE JUROR:

                              THE COURT:
                                                          I don't know.

                                             The answer is I don't know.       I have

        14         already voir dired these people on the issue.          If the

        15        defendant does not testify in a criminal trial, that's not

        16         a factor from which any inference unfavorable to such

        17        defendant may be drawn.

        18                     Is there anybody who cannot accept and abide by

        19        this fundamental principle in our criminal law?

        20                     ... Nobody is raising their hand.       Okay.

        21                    MS. GUASTELLA:     Mr. Gilman, do you have any

        22        children?



-
        23                    A PROSPECTIVE JUROR:        No.

        24                    MS. GUASTELLA:     You have been out of work

        25        approximately how long?
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 404 of 1061 PageID #: 599
      000402
                                                                          174
                                   Jury Selection


-        1

         2
                              A PROSPECTIVE JUROR:

                              MS. GUASTELLA:
                                                        Retired.

                                                 Retired.    I am sorry.

         3                    A PROSPECTIVE JUROR:      Two years.

         4                    MS. GUASTELLA:     And, Miss Rubinshteyn, you are a

         5        pharmacist?     Here on Staten Island?

         6                    A PROSPECTIVE JUROR:      Brooklyn.

         7                    MS. GUASTELLA:     In like a CVS or a private

         8        pharmacy?

         9                    A PROSPECTIVE JUROR:      Retail chain.      Duane Reade.

        10                    MS. GUASTELLA:     Do you have -- well, does the

        11        pharmacy Duane Reade have any problems with people trying

        12         to steal prescription pills?

        13                    A PROSPECTIVE JUROR:      No, not pills.

        14                    MS. GUASTELLA:     But you were shaking your head.

        15         You have had problems.

        16                    A PROSPECTIVE JUROR:       Like front stuff, yeah,

        17         they steal.

        18                    MS. GUASTELLA:     Mr. Columbo, your brother-in-law

        19         is a retired homicide detective?

        20                    A PROSPECTIVE JUROR:      My brother-in-law's

        21        brother.

        22                    MS. GUASTELLA:     Are you in contact with him?

        23                    A PROSPECTIVE JUROR:       I see him once in a while.

        24                    MS. GUASTELLA:     What's once in a while?

        25                    A PROSPECTIVE JUROR:      Every couple of months.
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 405 of 1061 PageID #: 600
      000403
                                                                           175
                                     Jury Selection


-        1

         2
                              MS. GUASTELLA:     Do you talk about his cases?

                              A PROSPECTIVE JUROR:      No.

         3                    MS. GUASTELLA:     Do you have children?

         4                    A PROSPECTIVE JUROR:       Yes, I do.

         5                    MS. GUASTELLA:     How old are they?

         6                    A PROSPECTIVE JUROR:      28 and 22.

         7                    MS. GUASTELLA:     Boys or girl?

         8                    A PROSPECTIVE JUROR:      One and one.

         9                    MS. GUASTELLA:     Have you ever overheard them

        10         having a fight?

        11                    A PROSPECTIVE JUROR:      Of course.


-       12

        13
                              MS. GUASTELLA:     And have you ever maybe blamed

                   one child where the other one was wrong?

        14                    A PROSPECTIVE JUROR:       Sometimes.

        15                    MS. GUASTELLA:     How do you determine who is

        16         actually telling you the truth?

        17                    A PROSPECTIVE JUROR:      Ask them to explain what

        18        the situation was and then go through the issues and figure

        19        out who was at fault.

        20                    MS. GUASTELLA:     Did you have to apologize to the

        21        other child?

        22                    A PROSPECTIVE JUROR:      Yeah.    I would say

        23        reluctantly.

        24                    MS. GUASTELLA:     I know I do.

        25                    Miss Greco, you are an office manager?
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 406 of 1061 PageID #: 601
      000404                                                              176
                                   Jury Selection


-        1

         2
                              A PROSPECTIVE JUROR:

                              MS. GUASTELLA:     Where?
                                                          Uh-Hum.



         3                    A PROSPECTIVE JUROR:        I work for an advocacy firm

         4         for children with special needs.

         5                    MS. GUASTELLA:     Are there attorneys in this firm?

         6                    A PROSPECTIVE JUROR:        No.

         7                    MS. GUASTELLA:     Do you go to court?

         8                    A PROSPECTIVE JUROR:        No.

         9                    MS. GUASTELLA:     Do you get to interview any of

        10        the people that come in?

        11                    A PROSPECTIVE JUROR:        The parents, yes.


-       12

        13        them?
                              MS. GUASTELLA:     What is your role in interviewing



        14                    A PROSPECTIVE JUROR:        Asking mostly information

        15        about their child.

        16                    MS. GUASTELLA:     Not in an accusatory manner, just

        17         for information.

        18                    A PROSPECTIVE JUROR:        No.

        19                    MS. GUASTELLA:     For case files.

        20                    A PROSPECTIVE JUROR:        Uh-Hum.

        21                    MS. GUASTELLA:     Miss Lyons, you are doing

        22        decorating.

        23                    A PROSPECTIVE JUROR:        Yes.
-       24                    MS. GUASTELLA:     What is it, private parties?

        25                    A PROSPECTIVE JUROR:        Yes.
     Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 407 of 1061 PageID #: 602
       000405                                                              177
                                    Jury Selection


--        1                    MS. GUASTELLA:     Sweet 16's and things like that.

          2                    A PROSPECTIVE JUROR:      Lollipops.

          3                    MS. GUASTELLA:     Do you have children?

          4                    A PROSPECTIVE JUROR:      Yes.

          5                    MS. GUASTELLA:     How old?

          6                    A PROSPECTIVE JUROR:      Two girls and a boy.      Mary

          7        is 27, Laura 26 and Charles is 23.           They don't live with me

          8        anymore.

          9                    MS. GUASTELLA:     Have you ever had an occasion to

         10        overhear an argument or a fight or witness a fist fight

         11        between them?


-        12

         13
                               A PROSPECTIVE JUROR:

                               MS. GUASTELLA:
                                                         The three of them, yes.

                                                  Did you ever blame the wrong

         14         child for something?

         15                    A PROSPECTIVE JUROR:      Not that I recall.

         16                    MS. GUASTELLA:     Mr. Gilman, I am sorry, you said

         17         you were in a civil trial.

         18                    A PROSPECTIVE JUROR:       I was a juror in a civil

         19        trial.

         20                    MS. GUASTELLA:     How long did that last?

         21                    A PROSPECTIVE JUROR:      A day or two.

         22                    MS. GUASTELLA:     And, Mr. Postiglione, you stated



-        23

         24
                    you represented the PBA?

                   officers at GO-15 hearings?
                                                  Did you represent the police



         25                    A PROSPECTIVE JUROR:      No.
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 408 of 1061 PageID #: 603
      000406
                                                                          178
                                   Jury Selection


         1                    MS. GUASTELLA:     Did you ever have the occasion to

         2        interview those police officers and prepare them for the

         3        hearings?

         4                    A PROSPECTIVE JUROR:      No.

         5                    MS. GUASTELLA:     What did you do for the PBA?

         6                    A PROSPECTIVE JUROR:      Grievance arbitrations;

         7        what the contract means.

         8                    MS. GUASTELLA:     Not disciplinary hearings.

         9                    A PROSPECTIVE JUROR:      Not discipline.      I did

        10        disciplinary matters involving Transit police officers.

        11                    MS. GUASTELLA:     So tell me a little bit about


-       12

        13
                   that.   What was your role in that?

                              A PROSPECTIVE JUROR:      Any form of misconduct,

        14        people draft charges and bring cases before the office, and

        15         administrative trials and hearings.

        16                    MS. GUASTELLA:     You were sort of like the

        17        prosecutor.

        18                    A PROSPECTIVE JUROR:       Prosecutor.

        19                    MS. GUASTELLA:     Miss Simone, your daughter's a

        20        police officer in Brooklyn South?

        21                    A PROSPECTIVE JUROR:       Yes.

        22                    MS. GUASTELLA:     How long has she been a police



-
        23        officer?

        24                    A PROSPECTIVE JUROR:      Seventeen years.

        25                    MS. GUASTELLA:     Does she live with you?
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 409 of 1061 PageID #: 604
      000407                                                              179
                                   Jury Selection


-        1

         2
                              A PROSPECTIVE JUROR:

                              MS. GUASTELLA:
                                                          No.

                                                 When's the last time she lived

         3        with you; about how long ago?

         4                    A PROSPECTIVE JUROR:        Twelve years ago?

         5                    MS. GUASTELLA:     Sorry.

         6                    A PROSPECTIVE JUROR:        Twelve years ago.

         7                    MS. GUASTELLA:     Do you talk to her every day?

         8                    A PROSPECTIVE JUROR:        Yes.

         9                    MS. GUASTELLA:     Does she share with you what

        10        happens at work?

        11                    A PROSPECTIVE JUROR:        Yes.


-       12

        13        her arrests?
                              MS. GUASTELLA:     And does she talk to you about



        14                    A PROSPECTIVE JUROR:        Yes.

        15                    MS. GUASTELLA:     And does she ever tell you the

        16        outcome of those arrests?

        17                    A PROSPECTIVE JUROR:        Sometimes.     Yes.

        18                    MS. GUASTELLA:     Thank you.

        19                    THE COURT:     Okay.   I will give the lawyers a few

        20        minutes and we will be right back.             If you need to step out

        21        for a moment, go ahead.       Don't discuss the case.         Thank you

        22        all.



-       23

        24
                               (The following takes place at side bar.)

                              THE COURT:     Okay.   Again, we are at a side bar in

        25        the courtroom on the record.
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 410 of 1061 PageID #: 605
      000408
                                                                           180
                                    Jury Selection


-        1                     What do we have, six sworn?

         2                     THE CLERK:    Six sworn.

         3                     THE COURT:    We will go one at a time.       Number 1,

         4        Mr. Zaman.

         5                     Cause, People?

         6                     MS. CILIA:    No.

         7                     THE COURT:    Defense?

         8                     MS. GUASTELLA:      No.

         9                     THE COURT:    Peremptory, People?

        10                     MS. CILIA:    No.

        11                     THE COURT:    Defense?


-       12

        13
                               MS. GUASTELLA:

                               THE COURT:
                                                   Yes.

                                             Next, Miss Rubinshteyn.

        14                     Cause, People?

        15                     MS. CILIA:    No.

        16                     THE COURT:    Defense?

        17                     MS. GUASTELLA:      Oh, no.   I am sorry.

        18                     THE COURT:    Peremptory, People?

        19                     MS. CILIA:    No.

        20                     THE COURT:    Defense?

        21                     MS. GUASTELLA:      No.

        22                     THE COURT:    So Rubinshteyn becomes Juror 7.

        23                     THE CLERK:    Yes, sir.

        24                     THE COURT:    Next is Mr. Columbo.

        25                     Cause, People?
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 411 of 1061 PageID #: 606
      000409
                                                                          181
                                   Jury Selection


-        1

         2
                              MS. CILIA:

                              THE COURT:
                                            No.

                                             Defense?

         3                    MS. GUASTELLA:        No.

         4                    THE COURT:     Peremptory, People?

         5                    MS. CILIA:     No.

         6                    THE COURT:     Defense?

         7                    MS. GUASTELLA:        Yes.

         8                    THE COURT:     Next is Mr. Greco.

         9                    Cause, People?

        10                    MS. CILIA:     Miss Greco?

        11                    THE COURT:     I beg your pardon.     Miss Greco.


-       12

        13
                              MS. CILIA:

                              THE COURT:
                                             No.

                                             Defense?

        14                    MS. GUASTELLA:        No.

        15                    THE COURT:     Peremptory, People?

        16                    MS. CILIA:     No.

        17                    THE COURT:     Defense?

        18                    MS. GUASTELLA:        Yes.

        19                    THE COURT:     Next is Miss Ierardi.

        20                    Cause, People?

        21                    MS. CILIA:     Yes.

        22                    MS. GUASTELLA:        Consent.

        23                    THE COURT:     For cause on consent.
-       24                    Next is Mr. Roman.

        25                    Cause, People?
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 412 of 1061 PageID #: 607
      000410                                                              182
                                   Jury Selection


-        1

         2
                              MS. CILIA:

                              MS. GUASTELLA:
                                             Yes.

                                                    Consent.

         3                    THE COURT:     Cause on consent.

         4                    Next is Mr. Rivera.

         5                    Cause, People?

         6                    MS. CILIA:     Yes.

         7                    MS. GUASTELLA:        Consent.

         8                    THE COURT:     Cause on consent.

         9                    Next is Miss Lyons.

        10                    Cause, People?

        11                    MS. CILIA:     No.


-       12

        13
                              THE COURT:

                              MS. GUASTELLA:
                                             Defense?

                                                    No.

        14                    THE COURT:     Peremptory, People?

        15                    MS. CILIA:     No.

        16                    THE COURT:     Defense?

        17                    MS. GUASTELLA:        Yes.

        18                    THE COURT:     Next is Mr. Gilman.

        19                    Cause, People?

        20                    MS. CILIA:     No.

        21                    THE COURT:     Defense?

        22                    MS. GUASTELLA:        No.

        23                    THE COURT:     Peremptory, People?

-       24                    MS. CILIA:     No.

        25                    THE COURT:     Defense?
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 413 of 1061 PageID #: 608
      000411
                                                                          183
                                   Jury Selection


-        1                     MS. GUASTELLA:

                               THE COURT:
                                                   Yes.

                                             Next is Miss Martin.
         2

         3                     Cause, People?

         4                     MS. CILIA:    No.

         5                     THE COURT:    Defense?

         6                     MS. GUASTELLA:      Yes.

         7                     MR. REEVES:    I worked with her husband for 15

         8         years in Brooklyn South Homicide.           I don't know if she

         9         knows me, and I do know him.

        10                     THE COURT:    Okay.

        11                     MR. REEVES:    Mike Martin's retired now, but I


-       12

        13
                   just put that on the record.

                  anything we are doing but ...
                                                          Maybe it doesn't impact



        14                     MS. GUASTELLA:      If she goes home and then tells

        15        her husband --

        16                     THE COURT:    The defense is making a cause

        17        challenge.

        18                     MR. REEVES:    We are not objecting to it.

        19                     THE COURT:    I will mark it for cause on consent.

        20                     MR. REEVES:    Yes.

        21                     THE CLERK:    I lost that.

        22                     THE COURT:    Number 10.



-       23

        24
                               Next is Miss Connor.

                               Cause, People?

        25                     MS. CILIA:    No.
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 414 of 1061 PageID #: 609
      000412
                                                                          184
                                   Jury Selection


-        1

         2
                              THE COURT:

                              MS. GUASTELLA:
                                             Defense?

                                                    Yes.   She said she wouldn't be

         3         sure.   She assumed not, but I don't know for sure.

         4                    THE COURT:     I think that is right.      That is what

         5         I wrote down.    I will grant that challenge.

         6                    Next is Mr. Mino.

         7                    Cause, People?

         8                    MS. CILIA:     Yes.

         9                    MS. GUASTELLA:        Consent.

        10                    THE COURT:     Cause on consent.

        11                    Next is Mr. Postiglione.


-       12

        13
                              Cause, People?

                              MS. CILIA:     No.

        14                    THE COURT:     Defense?

        15                    MS. GUASTELLA:        No.

        16                    THE COURT:     Peremptory, People?

        17                    MS. CILIA:     Yes.

        18                    THE COURT:     That was a yes.

        19                    MS. CILIA:     Yes.

        20                    THE COURT:     Next is Miss Simone.

        21                    Cause, People?

        22                    MS. CILIA:     Yes.

        23                    MS. GUASTELLA:        Consent.
-       24                    THE COURT:     Cause on consent.

        25                    Mr. Tampa.
     Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 415 of 1061 PageID #: 610
       000413
                                                                             185
                                     Jury Selection

--        1                     Cause, People?

          2                     MS. CILIA:    Yes.

          3                     MS. GUASTELLA:       Consent.

          4                     THE COURT:    For cause on consent.

          5                     Mr. Polo.

          6                     Cause, People?

          7                     MS. CILIA:    Yes.

          8                     MS. GUASTELLA:       Yes.

          9                     THE COURT:    That is consent.

         10                     MS. GUASTELLA:       Consent, yes.

         11                     THE COURT:    All right.        We got 18, 19 people


-        12

         13
                    left.

                    tomorrow.
                             They are going to try to get us some more jurors

                                 I don't know if they are going to be successful.

         14                     Where do we stand on challenges?

         15                     THE CLERK:    The People have used six, the defense

         16        has used 12.

         17                     (The following takes place in open court.)

         18                     THE CLERK:    If you hear your name, remain seated.

         19        Everyone else, please rise, step out of the box.

         20                     Alena Rubinshteyn.

         21                     Everyone else stand up.

         22                     (Challenged jurors leave courtroom.)



-
         23                     THE CLERK:    Is the juror satisfactory to the

         24        People?

         25                     MS. CILIA:    Yes.
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 416 of 1061 PageID #: 611
      000414
                                                                          186
                                   Jury Selection


         1                     THE CLERK:    Is the juror satisfactory to the

         2        defendant?

         3                     MS. GUASTELLA:    Yes.

         4                     THE CLERK:   Ma'am, please rise.

         5                     (Ms. Rubinshteyn sworn.)

         6                     THE COURT:    You can have a seat.      I will just

         7         give you the same instruction you heard me give other sworn

         8         jurors.

         9                     Don't discuss the case with other jurors or with

        10         anyone else prior to being discharged.

        11                     Don't speak with anyone about taking any payment

        12        or benefit in return for supplying information about this

        13         trial.

        14                     Promptly report directly to me any incident

        15        within your knowledge involving an attempt by anyone to

        16         improperly influence you or any member of the jury.

        17                     Don't visit or view the premises or place where

        18         any charged crime was allegedly committed or any other

        19        premises or place involved in the case.

        20                     Don't listen to any media accounts regarding this

        21        case should there be any.        That includes the internet.

        22                     And, finally, don't attempt to research any fact,

                   issue or law related to this case, whether by discussion
-       23

        24        with others, by research in the library or on the internet

        25        or by any other means or source.
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 417 of 1061 PageID #: 612
      000415                                                              187
                                   Jury Selection


-        1                                 Thank you very much.       Have a good evening.

                   will see you Monday morning at 9:30 in the jury room.
                                                                                              We

                                                                                                 The
         2

         3         officers will show you where that is.

         4                                     (Sworn juror leaves courtroom.)

         5                                 THE COURT:     To everyone else in the audience, it

         6         is too late for us to do another round today.                       I am

         7         supposed to close by about 4:30.                     Those are my rules these

         8         days.

         9                                 We are going to ask you to come back tomorrow

        10         morning.                There are about 18 or 19 of you left.        We are

        11         going to do everybody in one round.                     I am going to make it

        12         9:45.             If we get started at about 9:45 you should learn

        13         your fate by 10:45 or 11:00, something like that.

        14                                 Thank you very much for your patience.         The same

        15         rules apply to you, but primarily just don't talk to

        16         anybody about the case.                     That shouldn't be hard; you don't

        17         know much about it.

        18                                     (Prospective jurors leave courtroom.)

        19                                 THE COURT:     Okay, 9:45.

        20                                     (Whereupon, court was recessed and this matter

        21         adjourned to February 27, 2014 at 9:45 a.m.)

        22                                               o0o



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        23    Certified to be a true and accurate
              transcription of the above-captioned
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              Official Court Reporter
     Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 418 of 1061 PageID #: 613
       000416
                                                                           188



-              SUPREME COURT OF THE STATE OF NEW YORK
               RICHMOND COUNTY - CRIMINAL TERM-PART 12
               ---------------------------------------x
               THE PEOPLE OF THE STATE OF NEW YORK,

                           - against -                       :Indict. No.
                                                             :454/2011

               ARMAND SKRINE,
                                           Defendant.
               ---------------------------------------x
               VOIR DIRE
                                           County Courthouse
                                           18 Richmond Terrace
                                           Staten Island, New York
                                           February 27, 2014



               B E F O R E :

                           HONORABLE STEPHEN ROONEY
                                          Justice, Supreme Court.
--




               A P P E A R A N C E S :

                           MICHAELE. MC MAHON, ESQ.,
                               District Attorney - Richmond County
                               Appearing for the People
                           BY: JENNIFER CILIA and
                               KYLE REEVES, ESQS.,
                               Assistant District Attorneys


                           MARIA GUASTELLA, ESQ.,
                                For the Defendant




--



                                                           SUSAN MAYDAN
                                                      OFFICIAL COURT REPORTER
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 419 of 1061 PageID #: 614
      000417
                                                                           189
                                    Jury Selection


         1                    THE CLERK:    Calendar Number 4, Armand Skrine.

         2        Case on trial continues, Indictment 454 of 2011.

         3                    Appearance, counsel.

         4                    MS. CILIA:     Jennifer Cilia and Kyle Reeves for

         5        the People.

         6                    MS. GUASTELLA:     Maria Guastella on behalf of

         7        Mr. Skrine.

         8                    Good morning, your Honor.

         9                     (Defendant present.)

        10                    THE COURT:     Good morning.    Let's get the

        11        remainder over here and get through that.           I think there


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        13
                  are 18 or 19 people.       We will do them in one round.

                  sit the extra two or three in the front row.
                                                                                 I will



        14                     (Prospective jurors enter courtroom.)

        15                    THE CLERK:     If you hear your name, please take a

        16        seat in the box.      Paul DeGregorio, D-E-G-R-E-G-O-R-I-O,

        17        Seat Number 1; Lori Guastavino, G-U-A-S-T-A-V-I-N-O, Seat

        18        Number 2; Margaret Tito, T-I-T-O, Seat Number 3; Nicole

        19        Arce, A-R-C-E, Seat Number 4; Joanne Budnick, Seat

        20        Number 5; Rhonda Eleazer, E-L-E-A-Z-E-R, Seat Number 6;

        21        Frank Filocamo, Seat Number 7, F-I-L-O-C-A-M-O; Robert

        22        Mistretta, M-I-S-T-R-E-T-T-A, Seat Number 8; Cynthia



-       23

        24
                  Yalartai, Y-A-L-A-R-T-A-I, Seat Number 9; Christine

                  Griffiths, G-R-I-F-F-I-T-H-S, Seat Number 10; Issam

        25        Morawed, M-O-R-A-W-E-D, first name I-S-S-A-M, Seat
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 420 of 1061 PageID #: 615
      000418
                                                                           190
                                    Jury Selection


         1        Number 11; Paige Prudente, P-R-0-D-E-N-T-E, Seat Number 12;

         2        Carmine Tropepe, T-R-0-P-E-P-E, Seat Number 13; Patricia

         3        Mezzacappa, M-E-Z-Z-A-C-A-P-P-A, Seat Number 14; Iris

         4        Munoz, M-0-N-0-Z, Seat Number 15; Bonnie Rogers,

         5        R-0-G-E-R-S, Seat Number 16; Philip Ma, M-A, Seat

         6        Number 17; Jeganathan Kumaresu, J-E-G-A-N-A-T-H-A-N first

         7        name, last name K-0-M-A-R-E-S-O, Seat Number 18; and James

         8        McHugh, M-C-H-0-G-H, Seat Number 19.

         9                     THE COURT:    Good morning.    I am sorry to bring

        10        you over here so late.       We ran into an unavoidable delay.

        11         It had nothing to do with the parties in this case.           It is


-       12

        13
                  not their fault, so don't hold it against them.

                  apologize to you.      It was simply unavoidable.
                                                                            And I



        14                     So let me launch into this.       Do any of you think

        15        you know anything about this case apart from what you heard

        16        here in court yesterday?

        17                     ... Do any of you know the lawyers or the

        18        defendant?

        19                     ... Did any of you recognize the names of any of

        20        those potential witnesses or names of people that may come

        21        up during the trial?

        22                     Anybody want to hear me read those names again?



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        24
                   I am happy to do it if you want me to.

                               ... Are any of you or anyone close to you involved

        25        or have you or they been involved in law enforcement in any
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 421 of 1061 PageID #: 616
  000419
                                                                       191
                                Jury Selection


     1        way?

     2                    Ms. Arce?

     3                    A PROSPECTIVE JUROR:        Arce.

     4                    THE COURT:     Okay.

     5                    A PROSPECTIVE JUROR:        My father's a police

     6        officer.    He is active.     He works in Brooklyn.      My uncle is

     7        a retired N.Y.P.D. officer.        Both my boyfriends' parents

     8        are officers, as well.

     9                    THE COURT:     Both of your boyfriends?

    10                    A PROSPECTIVE JUROR:        His mother and his

    11        stepfather.

    12                    THE COURT:     Your boyfriend's parents.

    13                    A PROSPECTIVE JUROR:        Yes.

    14                    THE COURT:    Are in law enforcement.

    15                    A PROSPECTIVE JUROR:        One of them used to work

    16        for the N.Y.P.D; now he works for the MTA.

    17                    THE COURT:     The MTA.     Okay.

    18                    You know the question, Ms. Arce.          Is there

    19        anything about these relationships that would have any

    20        effect on your ability to be fair?

    21                    A PROSPECTIVE JUROR:        No, sir.

    22                    THE COURT:     Thank you.

    23                    Anyone else in the first row?          I will stick with

    24        the first row.

    25                    Miss Budnick.
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 422 of 1061 PageID #: 617
      000420
                                                                             192
                                     Jury Selection


-        1                      A PROSPECTIVE JUROR:       My brother's a retired cop.

         2                      THE COURT:    Retired N.Y.P.D.

         3                      A PROSPECTIVE JUROR:       Yes.

         4                      THE COURT:    Is it going to have any effect on

         5         your ability to be fair?

         6                      A PROSPECTIVE JUROR:       No, not at all.

         7                      THE COURT:    Anyone in the back row?        Still in the

         8         first row.

         9                      Mr. Filocamo.

        10                      A PROSPECTIVE JUROR:       My two cousins,

        11        brother-in-law.


-       12

        13
                                THE COURT:    N.Y.P.D.?

                                A PROSPECTIVE JUROR:       Yes.

        14                      THE COURT:    What do you think?       Is that going to

        15         have any bearing on your ability to be fair?

        16                      A PROSPECTIVE JUROR:       No.    Just some stories, but

        17         I think I will be okay.

        18                      THE COURT:    Okay.   Mr. Mistretta.

        19                      A PROSPECTIVE JUROR:       My nephew is second year on

        20         the force.

        21                      THE COURT:    Two years.     What do you think?

        22        Anything about that that would prevent you from being fair?



-       23

        24
                                A PROSPECTIVE JUROR:

                                THE COURT:    Thank you.
                                                           No.



        25                      Mr. McHugh.
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 423 of 1061 PageID #: 618
      000421
                                                                            193
                                    Jury Selection


-        1

         2        uncle.
                              A PROSPECTIVE JUROR:        Yeah.   My father-in-law and



         3                    THE COURT:    Are they still on the job?

         4                    A PROSPECTIVE JUROR:        No.

         5                    THE COURT:     Retired?

         6                    A PROSPECTIVE JUROR:        Yes.

         7                    THE COURT:     Is that going to have any effect on

         8        your ability to be a fair juror?

         9                    A PROSPECTIVE JUROR:        No.

        10                    THE COURT:     Thank you.

        11                    Anyone else in the front row?


-       12

        13
                              Anyone else in the jury box?

                               ... Okay.    Are any of you or anyone close to you

        14         involved in the legal field in any way?

        15                    Mr. McHugh.

        16                    A PROSPECTIVE JUROR:        I have friends.    I am okay.

        17                    THE COURT:     You have friends who are lawyers.

        18                    A PROSPECTIVE JUROR:        Yeah, for the Assistant

        19         District Attorney in the Bronx.

        20                    THE COURT:     They are assistant D.A. 'sin the

        21        Bronx.

        22                    A PROSPECTIVE JUROR:        Yes.

        23                    THE COURT:     Anything about these friendships that

-       24        would prevent you from being fair and impartial?

        25                    A PROSPECTIVE JUROR:        No.
       Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 424 of 1061 PageID #: 619
         000422
                                                                              194
                                       Jury Selection

- -·        1                    THE COURT:     I say the legal field.      I don't just

            2        mean lawyers, I mean anybody working in the legal field in

            3        any capacity.

            4                         Okay.   Have any of you or anyone close to

            5        you, to your knowledge, ever been the victim of a crime?

            6                    Mr. Filocamo, could you tell me about it?

            7                    A PROSPECTIVE JUROR:        Yeah.   My mom was.

            8                    THE COURT:     Can you give me a little -- I don't

            9        need everything.      We will talk privately if you prefer.

           10                    A PROSPECTIVE JUROR:        Yes.

           11                    THE COURT:     Okay.    Talk to you shortly.


-          12

           13
                                 Anyone else?

                                  ... Have any of you ever been a witness in any

           14        kind of a courtroom proceeding or Grand Jury proceeding?

           15                     ... Have any of you ever been a litigant -- that

           16        is, a plaintiff or a defendant -- in any kind of a civil

           17        action, civil lawsuit, civil trial?

           18                     ... Have any of you or anyone close to you ever

           19        been a defendant in any kind of a criminal proceeding?                And

           20        we can talk privately.

           21                     ... Have any of you ever served on a jury before?

           22                    Ms. Guastavino.        Is that right?

                                 A PROSPECTIVE JUROR:        Yes.

-
           23

           24                    THE COURT:     When were you on a jury,

           25        approximately?
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 425 of 1061 PageID #: 620
      000423
                                                                           195
                                    Jury Selection


         1                    A PROSPECTIVE JUROR:        It was 25 to 30 years ago.

         2                    THE COURT:     Do you remember if it was a criminal

         3        or a civil case?

         4                    A PROSPECTIVE JUROR:        Civil.

         5                    THE COURT:     Did the jury reach a verdict?

         6                    A PROSPECTIVE JUROR:        Yes, they did.

         7                    THE COURT:     Was there anything about that jury

         8        experience that would affect your ability to sit here?

         9                    A PROSPECTIVE JUROR:        Not at all.

        10                    THE COURT:     Thank you.

        11                    Other hands.     Mr. Mistretta.      When, please?


-       12

        13
                              A PROSPECTIVE JUROR:

                  and once six years ago.
                                                          Twice; once 12 years ago



        14                    THE COURT:     Do you remember if they were civil or

        15        criminal cases?

        16                    A PROSPECTIVE JUROR:        Both civil cases.

        17                    THE COURT:     Did the jury reach a verdict?

        18                    A PROSPECTIVE JUROR:        Yes.

        19                    THE COURT:     Was there anything about those

        20        experiences that would prevent you from being able to sit

        21        in this case?

        22                    A PROSPECTIVE JUROR:        No.

                              THE COURT:     Thank you.
-
        23

        24                    Miss Rogers?     Did you have your hand up?

        25                    A PROSPECTIVE JUROR:        Yes.
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 426 of 1061 PageID #: 621
      000424
                                                                           196
                                    Jury Selection


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         2
                              THE COURT:    When were you on a jury?

                              A PROSPECTIVE J UROR:      A long time ago.

         3                    THE COURT:    More than four years ago?

         4                    A PROSPECTIVE JUROR:       More.

         5                    THE COURT:     Do you remember what kind -- was it a

         6        civil --

         7                    A PROSPECTIVE JUROR:       Both civil cases.

         8                    THE COURT:     Beg pardon?

         9                    A PROSPECTIVE JUROR:       Civil.

        10                    THE COURT:     Did you reach a verdict?

        11                    A PROSPECTIVE JUROR:       Yes.


-       12

        13
                              THE COURT:    Was there anything about that jury

                  experience that would affect your ability to be able to sit

        14        here?

        15                    A PROSPECTIVE JUROR:       No.

        16                    THE COURT:    Thank you.

        17                    Anyone else in the jury box?

        18                    Miss Mezzacappa, when were you on a jury?

        19                    A PROSPECTIVE JUROR:       20 to 30 years ago.     It was

        20        a civil suit but they settled.         After the openings it

        21        settled.

        22                    THE COURT:    Okay.    Was there anything about that

        23        experience that would prevent you from sitting here?

-       24

        25
                              A PROSPECTIVE JUROR:

                              THE COURT:    Thank you.
                                                         No.
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 427 of 1061 PageID #: 622
      000425
                                                                             197
                                    Jury Selection


         1                     Anyone else?

         2                     Mr. Tropepe?

         3                     A PROSPECTIVE JUROR:        Tropepe, yes.     I was on two

         4        about eight years ago in Brooklyn, civil and criminal.

         5                     THE COURT:     In the criminal case,       just yes or no,

         6        did the jury reach a v erdict?

         7                     A PROSPECTIVE JUROR:        Yes.

         8                     THE COURT:     In the civil case, did you reach a

         9        verdict?

        10                     A PROSPECTI VE JUROR:       Never got to court.

        11                     THE COURT:     Never got to it.     Okay.     Anything


-       12

        13
                  about those experiences that would prevent you from being

                  able to sit in this case?

        14                     A PROSPECTIVE JUROR:        No.

        15                     THE COURT:     Thank you.

        16                     Anybody else in the jury box?           Anybody in the

        17        front row?

        18                     ... Have any of you ever served on a Grand Jury?

        19                     Nobody.   Okay.

        20                     Mr. DeGregorio, are you employed, sir?

        21                     A PROSPECTIVE JUROR:        Yes, sir.

        22                     THE COURT:     What type of work do you do?

        23                     A PROSPECTIVE JUROR:        Electrical.

        24                     THE COURT:     Thank you.

        25                     Ms. Guastavino, are you employed?
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 428 of 1061 PageID #: 623
      000426
                                                                             198
                                    Jury Selection


-        1                    A PROSPECTIVE JUROR:        Yes,   I am.

         2                    THE COURT:     What do you do?

         3                    A PROSPECTIVE JUROR:        I am a nurse.

         4                    THE COURT:     Thank you.

         5                    Ms. Tito, are you employed?

         6                    A PROSPECTIVE JUROR:        No.

         7                    THE COURT:     Ms. Arce?

         8                    A PROSPECTIVE JUROR:        Yes.   Actually, I have

         9        three different jobs.       I am a receptionist at a tax office,

        10        and I also work with kids with disabilities.

        11                    THE COURT:     Okay.   Thank you.

        12                    Ms. Budnick.

        13                    A PROSPECTIVE JUROR:        Laboratory technologist.

        14                    THE COURT:     What kind of field?         Are we talking

        15        medical?

        16                    A PROSPECTIVE JUROR:        Yes, medical.

        17                    THE COURT:     Okay.

        18                    Miss Eleazer.

        19                    A PROSPECTIVE JUROR:        Unit clerk at Staten Island

        20        University North.

        21                    THE COURT:     Thank you.

        22                    Mr. Filocamo.

                              A PROSPECTIVE JUROR:        Yes.   Operating engineer.

-
        23

        24                    THE COURT:     Thank you.

        25                    Mr. Mistretta.
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 429 of 1061 PageID #: 624
      000427
                                                                           199
                                    Jury Selection


-        1                    A PROSPECTIVE JUROR:        Retired science teacher.

         2                    THE COURT:     Thank you.

         3                    Mr. McHugh.

         4                    A PROSPECTIVE JUROR:        I am a banker.

         5                    THE COURT:     Thank you.

         6                    Mr. Morawed.

         7                    A PROSPECTIVE JUROR:        In a bank.

         8                    THE COURT:     Thank you.

         9                    Mr. Ma.

        10                    A PROSPECTIVE JUROR:        Nursing.

        11                    THE COURT:     Nursing?     Thank you.


-       12

        13
                              Miss Rogers?

                              A PROSPECTIVE JUROR:        Retired telecommunications.

        14                    THE COURT:     Thank you.

        15                    Miss Munoz.

        16                    A PROSPECTIVE JUROR:        I work for the Finance

        17        Department.

        18                    THE COURT:     Thank you.

        19                    Ms. Mezzacappa.

        20                    A PROSPECTIVE JUROR:        I am an English teacher.

        21                    THE COURT:     Thank you.

        22                    Mr. Tropepe.

                              A PROSPECTIVE JUROR:        Retired.

-
        23

        24                    THE COURT:     From what, please?

        25                    A PROSPECTIVE JUROR:        National Grid.   Keyspan.
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 430 of 1061 PageID #: 625
      000428
                                                                           200
                                    Jury Selection


-        1        National Grid.

         2                    THE COURT:     Thanks.

         3                    Miss Prudente.

         4                    A PROSPECTIVE JUROR:        A waitress.

         5                    THE COURT:     Thank you.

         6                    Mr. Morawed.

         7                    A PROSPECTIVE JUROR:        Manage a dispatch limo

         8        company.

         9                    THE COURT:     Miss Griffiths.

        10                    A PROSPECTIVE JUROR :       Nurse and hospital

        11        administrator.


-       12

        13
                              THE COURT:     Thank you.

                              And Miss Yalartai.

        14                    A PROSPECTIVE JUROR :       PCA for hospice and mental

        15        patients.

        16                    THE COURT:     Thank you.     Thank you all for that

        17         information.

        18                     I will get to the principles of law now. I am

        19        going to paraphrase because you heard them several times

        20        already.

        21                    As you now know, an indictment is evidence of

        22        nothing.     In particular, it is not evidence of guilt.          Can

        23        everybody accept this proposition in our criminal law?
-       24                    Anybody who cannot accept this proposition?

        25                     ... If selected as a juror here you would be
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 431 of 1061 PageID #: 626
      000429
                                                                           201
                                     Jury Selection


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         2
                  called upon at the end of the trial to deliberate with 11

                  other people in the jury room in an effort to reason

         3        together and arrive at a final unanimous verdict or

         4        verdicts.     Those of you who served on juries before know

         5        what this is all about.       The question is, do any of you

         6        feel you could not deliberate with 11 other people if

         7        called upon to do so?

         8                      ... Onder our law everyone accused of a crime or

         9        brought to trial is presumed innocent unless or until he is

        10        proved guilty beyond a reasonable doubt.          The defendant in

        11        this case is presumed innocent.        And to put this another


-       12

        13
                  way, a defendant is never required to prove his innocence.

                  On the contrary; the People, having accused the defendant

        14        of the crimes charged, have the burden of proving him

        15        guilty beyond a reasonable doubt.         The People carry this

        16        burden of proof throughout the trial.          It never shifts, it

        17         always remains on the People, and a presumption of

        18         innocence remains with every defendant throughout every

        19        criminal trial.

        20                      Is there anyone amongst you who cannot now in

        21         your own mind grant the defendant this presumption of

        22         innocence?

                                ... In a criminal trial the burden of proof is

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        23

        24         entirely on the People and remains on them throughout the

        25         trial.   The defendant's not required to prove anything, nor
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 432 of 1061 PageID #: 627
      000430
                                                                           202
                                    Jury Selection


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         2
                  is the defendant required to disprove anything.

                   the entire burden of proof is on the People and remains on
                                                                             As I say,



         3        them throughout the trial.        Is there anyone here who would

         4        have difficulty following this rule in our law?

         5                     ... If a defendant does not testify in a criminal

         6         trial, that is not a factor from which any inference

         7        unfavorable to such defendant may be drawn.           Is there

         8        anybody amongst you who cannot accept this fundamental rule

         9         in our criminal law?

        10                     ... I defined yesterday the standard of proof

        11         required for conviction in every criminal case.           That


-       12

        13
                   standard, of course, is called proof of guilt beyond a

                   reasonable doubt.     Did all of you hear that definition when

        14         I read it to the panel yesterday?        Would anybody -- I am

        15         getting nods,   for the record.

        16                    Would anybody like me to read it again?            I am

        17        happy to do it if anybody would like me to.

        18                     ... Nobody does.    Okay.   Keep that definition in

        19        mind.

        20                    Let me remind you it is the duty of each juror

        21         carefully to review, weigh and consider all the evidence.

        22         If after doing this you find that the People have not

                  proved the defendant's guilt beyond a reasonable doubt as I

-
        23

        24         have defined the term, then you must find the defendant not

        25         guilty.
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 433 of 1061 PageID #: 628
      000431                                                              203
                                   Jury Selection


-        1                    On the other hand, if you are satisfied that the

         2        People have proved the defendant's guilt beyond a

         3        reasonable doubt as I have defined the term, then you must

         4         find the defendant guilty.

         5                    Will you promise us now that if you are selected

         6        here you will in your final deliberations follow and apply

         7        the standard of proof that I have defined; that is, proof

         8        beyond a reasonable doubt?        Is there anyone amongst you who

         9        cannot make us that promise?

        10                     ... I will remind you that a deliberating jury is

        11        not permitted to consider the subject of punishment.             If


-       12

        13
                  there is to be any sentencing following a verdict, that is

                  for the Court and the Court alone to deal with.            The jury

        14        has no role to play in that.

        15                    Will you promise us now that if selected here you

        16        will render your verdict free from fear,         favor or sympathy

        17        and without considering any possibility of sentence or

        18        punishment?     Is there anybody who cannot make us that

        19        promise?

        20                     ... And my last question.     The jury in this case

        21        will likely hear from police officers and detectives.             They

        22        take the same oath as anyone else.         The mere fact that a

        23        witness is a police officer does not make that witness any

-       24        more or any less credible.

        25                    Is there anyone amongst you who has any feelings
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 434 of 1061 PageID #: 629
      000432                                                              204
                                   Jury Selection


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         2
                  about the police or who has had any experiences with the

                  police which would lead you in your judgment to give a

         3        police officer's testimony greater or lesser weight than

         4        anyone else's merely because of the officer's occupation?

         5                    Somebody have a feeling one way or the other?

         6                     ... Okay.   Thanks very much.      We are going to step

         7        to the side and speak to one potential juror and then I

         8        will let the lawyers talk to you.

         9                     (The following takes place at side bar.)

        10                    THE COURT:    Mr. Filocamo.

        11                     (Mr. Filocamo approaches side bar.)


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        13
                              THE CLERK:

                  right up, sir.
                                             This is Frank F-I-L-O-C-A-M-O.

                                      Stand right here.
                                                                                   Step



        14                    THE COURT:     I think the question was do you know

        15        anybody who was a victim of a crime.

        16                    A PROSPECTIVE JUROR:      My mother was.      She was

        17        carjacked and she was sexually assaulted and almost raped

        18        by the man.

        19                    THE COURT:    How long ago was this?

        20                    A PROSPECTIVE JUROR:       '96?

        21                    THE COURT:    Was anybody arrested?

        22                    A PROSPECTIVE JUROR:      No.     They let him go.      But,



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        25
                  honestly, I don't know how fair I can be because he looks a

                  little bit like the defendant and I don't want that to, you

                  know, hinder my decision.
     Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 435 of 1061 PageID #: 630
       000433
                                                                             205
                                     Jury Selection


-         1                    THE COURT:    Okay.

          2                    A PROSPECTIVE JUROR:        Just to let you know that.

          3                    THE COURT:     Sure.     Thank you.

          4                    Counselor, any questions?

          5                    MS. GUASTELLA:     No.     Thank you for your honesty.

          6                    MS. CILIA:    Thank you.

          7                    THE COURT:    Thank you, sir.         I will let you

          8        resume your seat.

          9                     (Mr. Filocamo resumes his seat.)

         10                    THE COURT:     Incidentally, we are at a side bar on

         11        the record in court.


-        12

         13        med lab.
                               We got a couple of nurses and somebody works in a

                               I doubt very much that their expertise would be

         14        involved.    We got a gunshot wound and an ME testifying;

         15        right?

         16                    MR. REEVES:     Right.

         17                    THE COURT:     But I do have an expert juror charge

         18        which I give occasionally when say nurses are involved or

         19        there is a question of whether we have physical injury or

         20        serious physical injury.       The Court of Appeals

         21                    MR. REEVES:     I am not asking for it.        I don't

         22        think we will ask for it at this point.

         23                    THE COURT:     Personally, I don't think it is
--
         24        necessary given the fact, as I understand it, we are

         25        dealing with a gunshot wound to the head?             Or the chest?
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 436 of 1061 PageID #: 631
      000434
                                                                            206
                                    Jury Selection


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         2
                              MR. REEVES:

                              THE COURT:
                                              Both.

                                             So I can't imagine that a nurse's

         3        expertise would be implicated here by you.             I just throw

         4        that out to you.      I have a charge if anybody wants me to

         5         right now, for example, I could run it by the jurors with

         6        medical backgrounds and see if they could promise to abide

         7        by it, although I don't think it is necessary.

         8                    MS. GUASTELLA:        I don't think so either.

         9                    THE COURT:    And the People don't either,

        10        apparently.

        11                    MR. REEVES:     No.


-       12

        13
                              THE COURT:     Okay.

                               (The following takes place in open court.)

        14                    MS. CILIA:     Good morning, everyone.       Thank you

        15         for joining us this morning.        Was it cold outside this

        16        morning?

        17                    A PROSPECTIVE JUROR:        Just a little bit.

        18                    MS. CILIA:     Colder yesterday?

        19                    A PROSPECTIVE JUROR:        Warmer today.

        20                    MS. CILIA:     It was truly actually freezing in

        21        this room until about 10 minutes ago.

        22                    A PROSPECTIVE JUROR:        It still is.

        23                    THE COURT:     The officers are tough on the heat.

        24        They like it cold.

        25                    MS. CILIA:     You all sat through jury selection
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 437 of 1061 PageID #: 632
      000435
                                                                           207
                                     Jury Selection


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         2
                   yesterday.

                  about.
                                  You heard the questions that we were talking

                             Does anyone here want to take a stab at what they

         3         think circumstantial evidence is, having heard it quite a

         4         few times yesterday?        Does anybody feel comfortable with

         5        that?

         6                      I don't want to forget about you guys too on the

         7        side here.      I am going to pick on Mr. DeGregorio.

         8                      A PROSPECTIVE JUROR:       Yes.

         9                      MS. CILIA:     Do you think that you could tell us?

        10                      THE COURT:     You are asking the potential juror to

        11        define circumstantial evidence?           I am not going to let you


-       12

        13
                  do that.

                                MS. CILIA:    All right.

        14                      You heard us talking about the types of evidence

        15        that we were going to be using in this particular trial.

        16                      A PROSPECTIVE JUROR:       Yes.

        17                      MS. CILIA:     There are basically two different

        18         types of evidence.        There is direct evidence and then there

        19         is circumstantial evidence, which are just legal terms you

        20        don't really need to think about, but, most importantly,

        21        what I would ask all of you to consider is if we are able

        22         to prove this case through witnesses who are going to talk



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        24
                  about what they saw before the crime happened, what

                  happened after the crime, where the defendant was after

        25         this crime occurred, DNA evidence, ballistic evidence that
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 438 of 1061 PageID #: 633
      000436
                                                                           208
                                    Jury Selection


         1         is going to point toward the defendant, is anyone here

         2        going to require somebody to take that stand and point to

         3        the defendant and say I saw that man right there shoot and

         4         kill David Williams?

         5                    Is there anyone who is going to require that

         6        particular type of evidence before they can convict in this

         7        case?

         8                    I see a nodding head over here.

         9                    Miss Prudente.

        10                    A PROSPECTIVE JUROR:       No,    I am not nodding.

        11                    MS. CILIA:     Oh, okay.    What do you think about


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        13
                  that?    Would you require that type of evidence?

                              A PROSPECTIVE JUROR:       No.

        14                    MS. CILIA:    Okay.    I am going to come back to

        15        you, Mr. DeGregorio.      What do you think?

        16                    A PROSPECTIVE JUROR:       No,    I wouldn't need

        17        somebody to point.

        18                    MS. CILIA:     Okay.   If we were able to prove this

        19        case through circumstantial evidence, through ballistics

        20        and DNA, forensic evidence, as well as some other

        21        information that you are going to hear from witnesses,

        22        would that be -- if we proved that beyond a reasonable



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                  doubt, would you be able to vote guilty in this case?

                              A PROSPECTIVE JUROR:       Yes.

        25                    MS. CILIA:    What do you think, Miss Guastavino?
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 439 of 1061 PageID #: 634
      000437
                                                                          209
                                   Jury Selection


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         2
                              A PROSPECTIVE JUROR:

                              MS. CILIA:     Guastavino.
                                                        Guastavino.



         3                    A PROSPECTIVE JUROR:       If the evidence,

         4        circumstantial or direct, proved beyond a reasonable doubt

         5        then I would be able to say guilty.

         6                    MS. CILIA:    Okay.

         7                    Ms. Tito, how do you feel about that?

         8                    A PROSPECTIVE JUROR:      Same thing.     If it was

         9        proved that he was guilty, then I would vote guilty.              If

        10        not, not guilty.

        11                    MS. CILIA:    Ms. Mezzacappa.


-       12

        13
                              A PROSPECTIVE JUROR:

                              MS. CILIA:
                                                        Yes.

                                             Is there anyone who feels

        14        differently; who feels like this is a serious case, this is

        15        a murder case, we can't think of many other types of crimes

        16        that are more serious than this one?          Is there anyone who

        17        feels like, based on the charges in this case, that they

        18        would need something more than circumstantial evidence?

        19                    Miss Eleazer, what do you think?

        20                    A PROSPECTIVE JUROR:      Eleazer.

        21                    MS. CILIA:     I am sorry.    What do you think?

        22                    A PROSPECTIVE JUROR:      Solid evidence.      It would



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        25
                  have to be solid evidence.

                              MS. CILIA:     Okay.   Our burden in this case is

                  going to be proof beyond a reasonable doubt.           That's what
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 440 of 1061 PageID #: 635
      000438                                                              210
                                   Jury Selection


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         2
                  the judge is going to talk to you about, about the standard

                  in law.     Would you be able to follow that standard or would

         3        you hold us to a higher standard?

         4                     A PROSPECTIVE JUROR:     No,    I would be able to

         5        follow it.

         6                     MS. CILIA:    Okay, thank you.

         7                     And Miss Griffiths?

         8                     A PROSPECTIVE JUROR:     Yes.     I guess it would -- I

         9        am a little concerned because in my present position we do

        10        a lot of different investigations on different outcomes,

        11        incidents, and we really require the facts.           That's what


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        13
                  has been my practice for many years.

                               MS. CILIA:    Tell us your job.
                                                                 It depends on

                                                                   What types of

        14         investigations are you talking about?

        15                     A PROSPECTIVE JUROR:      It could be patient

        16        outcomes, it could be staff behavioral incidents.              Whole

        17        range.

        18                     MS. CILI A:   So do you deal with victims that come

        19         into the hospital with injuries?

        20                     A PROSPECTIVE J UROR:    Could.    We don't do our own

        21        obviously police investigation there.           It is more of

        22        employee.



-       23                     MS. CILIA:    Are there ever times when, based on

        24         the types and natures of the injuries, they are able to

        25        draw certain conclusions?
        Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 441 of 1061 PageID #: 636
          000439
                                                                                 211
                                         Jury Selection


             1                    A PROSPECTIVE JUROR:       I don't know if injury is

             2        the correct thing to use in my workplace.

             3                    MS. CILIA:    Okay.     Is there anyone here -- we had

             4        some other people who dealt with hospitals, as well.

             5                    Mr. McHugh, you said nursing; right?

             6                    A PROSPECTIVE JUROR:      No,    I am a banker.

             7                    MS. CILIA:    Oh, banker.

             8                    A PROSPECTIVE JUROR:      This gentleman here

             9         ( Indicating) .

            10                    MS. CILIA:     I am sorry.      Mr. Ma?

            11                    A PROSPECTIVE JUROR:      Yes.


-           12

            13
                                  MS. CILIA:     Nursing.

                                  A PROSPECTIVE JUROR:      Yes.

            14                    MS. CILIA:     Do you ever deal with victims that

            15        come in who have different injuries?

            16                    A PROSPECTIVE JUROR:      Rarely, but they do appear

            17        once in a while.

            18                    MS. CILIA:     Do you sometimes draw conclusions

            19        based on the types of injuries that you see on a particular

            20        patient?

            21                    A PROSPECTIVE JUROR:       I can assume certain things

            22        but I wouldn't make an exact conclusion.              But based on if

            23         they had injuries on a hand or something like that, I would
-   -
            24        question whether it was domestic abuse.

            25                    MS. CILIA:     I want to talk to you also about
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 442 of 1061 PageID #: 637
      000440
                                                                            212
                                    Jury Selection


         1        motive, which is another thing that we touched upon

         2        yesterday.

         3                     Does anybody want to talk about what they

         4        think -- what do you think motive is?

         5                     Miss Rogers, what do you think motive is?

         6                     A PROSPECTIVE JUROR:       What made somebody do

         7        something.

         8                     MS. CILIA:    That sounds pretty much what I would

         9        say too:     What makes somebody do something.          In your mind,

        10        you know, what's the reason why somebody does something.

        11        Under our law we don't need to prove that.             We just need to

        12        prove in this case the intentional killing of David

        13        Williams, not why David Williams was killed.

        14                     Would you require that before you were able to

        15        convict in this case?

        16                     A PROSPECTIVE JUROR:       No.

        17                     MS. CILIA:   Ms. Munoz, what do you think?

        18                     A PROSPECTIVE JUROR:       I would not.

        19                     MS. CILIA:    Over here.     Mr. Kumaresu, what do you

        20        think?     Would you require that from us?

        21                     A PROSPECTIVE JUROR:       No.

        22                     MS. CILIA:    You wouldn't require a motive in this



-
        23        case?

        24                     A PROSPECTIVE JUROR:       I don't know.

        25                     MS. CILIA:   Okay.    What the judge is going to
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 443 of 1061 PageID #: 638
      000441
                                                                           213
                                    Jury Selection


-        1        tell you at the end of the case is that we don't need to

         2        prove motive.     We don't need to prove why the defendant did

         3        what he did, we have to prove that he, in fact,           killed on

         4        purpose David Williams.       Knowing that, would you be able to

         5        follow the law that the judge tells you?

         6                    A PROSPECTIVE JUROR:       Yes.

         7                    MS. CILIA:     Or would you still -- would you

         8        require that you need to know why?

         9                    A PROSPECTIVE JUROR:      No,     I will follow the

        10        judge.

        11                    MS. CILIA:     Okay.   Mr. McHugh, what about you?


-       12

        13
                              A PROSPECTIVE JUROR:

                  wouldn't need it.
                                                         I agree with him.       I



        14                    MS. CILIA:     Does anyone disagree?       Does anybody

        15        say,   "You know what, this is a murder,         I need to know why?"

        16                    Mis Yalarfai, what about you?

        17                    A PROSPECTIVE JUROR:       Yes.

        18                    MS. CILIA:     Would you need to know why?

        19                    A PROSPECTIVE JUROR:      Not really.      I can't answer

        20        for sure's the reason,      I will just look at the facts and

        21        evidence.

        22                    MS. CILIA:     So if we prove beyond a reasonable

        23        doubt that the defendant shot and killed on purpose David

        24        Williams, would you be able to convict?

        25                    A PROSPECTIVE JUROR:       Based on the evidence, yes.
     Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 444 of 1061 PageID #: 639
       000442
                                                                           214
                                    Jury Selection

--        1                    MS. CILIA:     Okay.    And does anybody feel

          2        differently?     Does anybody feel like because of this kind

          3        of case -- Ms. Arce?

          4                    A PROSPECTIVE JUROR:       Arce.    It's okay.   It's all

          5        right.

          6                    I mean I would like to know why he did it if he

          7        did do it, but obviously he is saying he didn't do it so

          8        motive wouldn't really matter.

          9                    MS. CILIA:    And I can understand why people would

         10        want to know these things.         Of course it is a natural

         11        reaction.    You want to know why people do things.          But


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                   under the law the judge is going to tell you that we are

                   not required to prove that.

         14                    A PROSPECTIVE JUROR:       Right.

         15                    MS. CILIA:    Would you be able to follow the law?

         16                    A PROSPECTIVE JUROR:       I mean of course.     Anybody

         17        would like to know, but under the law we don't have to know

         18        and so we would have to be able to decide without knowing

         19        what the motive was.

         20                    MS. CILIA:     You think you would be able to do

         21        that?

         22                    A PROSPECTIVE JUROR:       Yes.

                               MS. CILIA:     Is there anybody here who feels
-
         23

         24        differently; who feels like they would just need to know

         25        that before they voted in this case?
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 445 of 1061 PageID #: 640
      000443
                                                                           215
                                    Jury Selection


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                               Mr. Mistretta.

                               A PROSPECTIVE JUROR:     No.   I agree with what she

         3        said.

         4                     MS. CILIA:   We have talked about this a few times

         5        now.     This is an extremely serious case.        The charges are

         6        murder in the second degree.        I want to ask all of you

         7        whether you believe that after hearing all the evidence in

         8        the case and seeing all the evidence in the case, whether

         9        if we prove this case beyond a reasonable doubt you will be

        10        able to convict and vote guilty in this case.

        11                     I see Ms. Budnick?     I don't mean to pick on you.


-       12

        13
                               A PROSPECTIVE JUROR:

                               MS. CILIA:
                                                        Go ahead.

                                             But for any particular reason.        It

        14        could be personal, it could be religious, it could be

        15        political.

        16                     A PROSPECTIVE JUROR:     No, no.     You are just

        17        handing us a really big responsibility.

        18                     MS. CILIA:    It is a big responsibility, and

        19        that's why I am asking you, because --

        20                     A PROSPECTIVE JUROR:      It is nerve-wracking.

        21                     MS. CILIA:    -- because whatever the answer is

        22        there is no right or wrong here.         But we need to know

                               we need to know at this stage now.        So if the
-       23        before

        24        answer is no, let us know.        If you don't feel like --

        25                     THE COURT:   What's the question?
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 446 of 1061 PageID #: 641
      000444
                                                                           216
                                     Jury Selection


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         2
                              A PROSPECTIVE JUROR:

                  question too.
                                                          Yes.   You lost me on the



         3                    MS. CILIA:     At the end of this case if you

         4        believe beyond a reasonable doubt that we have proven that

         5        the defendant in this courtroom shot and killed David

         6        Williams on purpose, are you going to be able to vote

         7        guilty?

         8                    A PROSPECTIVE JUROR:        Yes.

         9                    MS. CILIA:     Okay.    And if the answer's no

        10                    A PROSPECTIVE JUROR:        Yes.    I said yes.

        11                    MS. CILIA:     Okay.    I am bringing that


-       12

        13
                              THE COURT:

                              MS. CILIA:
                                             Move it along, please.

                                             I am opening up to the entire panel.

        14                    Does anybody else feel differently?

        15                    A PROSPECTIVE JUROR:        I feel I wouldn't be able

        16        to.

        17                    MS. CILIA:     You would not be able to.

        18                    A PROSPECTIVE JUROR:        Yes.

        19                    MS. CILIA:     Thank you for that.

        20                    Is there anybody else who,         like Ms. Munoz, feels

        21        like they wouldn't be able to do that?

        22                    Yes.    You also feel, Miss Prudente?

                              A PROSPECTIVE JUROR:        Yes.

-
        23

        24                    MS. CILIA:     Thank you.

        25                    Anyone else?
     Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 447 of 1061 PageID #: 642
       000445
                                                                            217
                                     Jury Selection


--        1                     ... Thank you very much.       Appreciate it.

          2                    MS. GUASTELLA:     Miss Mistretta, where did you

          3        teach science?

          4                    A PROSPECTIVE JUROR:      Catholic high school in

          5        Brooklyn.

          6                    MS. GUASTELLA:     How long were you there for?

          7                    A PROSPECTIVE JUROR:      Thirty-seven years.

          8                    MS. GUASTELLA:     Did you ever act as an assistant

          9        dean or dean in the school?

         10                    A PROSPECTIVE JUROR:      No.

         11                    MS. GUASTELLA:     Guidance counselor?

         12                    A PROSPECTIVE JUROR:      No.

         13                    MS. GUASTELLA:     Just strictly a science teacher.

         14                    A PROSPECTIVE JUROR:      Right.

         15                    MS. GUASTELLA:     Mr. McHugh, you said your friend

         16        was an Assistant District Attorney in the Bronx?

         17                    A PROSPECTIVE JUROR:      Yes.

         18                    MS. GUASTELLA:     How long has that friend been

         19        there?    Do you know?

         20                    A PROSPECTIVE JUROR:      Over 10 years.

         21                    MS. GUASTELLA:     How friendly are you with this

         22        person?

         23                    A PROSPECTIVE JUROR:      Pretty friendly.         She

-        24        married one of my closest friends.           I get together with

         25        them often and I have known her since high school.
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 448 of 1061 PageID #: 643
      000446
                                                                           218
                                    Jury Selection


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         2
                              MS. GUASTELLA:

                  D.A. 's office she works in?
                                                 Do you know what unit in the



         3                    A PROSPECTIVE JUROR:      I know she was -- she did

         4        criminal cases.

         5                    MS. GUASTELLA:     Did she try cases?      Did she go to

         6        trial a lot?

         7                    A PROSPECTIVE JUROR:      I believe so.     But then she

         8        had twins so now she still works there, but I don't know in

         9        what capacity.

        10                    MS. GUASTELLA:     While she was doing the trials,

        11        did you guys ever talk about her cases at dinner?

        12                    A PROSPECTIVE JUROR:      No.

        13                    MS. GUASTELLA:     Mr. DeGregorio, you said you were

        14        an electrician.

        15                    A PROSPECTIVE JUROR:      Yes.

        16                    MS. GUASTELLA:     Are you self-employed or do you

        17        work for a company?

        18                    A PROSPECTIVE JUROR:      I work for a company.

        19                    MS. GUASTELLA:     Are you going to be paid

        20        throughout this trial?       Are you going to be getting paid

        21        while you are here?

        22                    A PROSPECTIVE JUROR:      Yes.

        23                    MS. GUASTELLA:     Anybody here self-employed?
-       24        Anybody with a job the length of trial -- the judge told

        25        you guys yesterday it ends approximately March 14.             Will
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 449 of 1061 PageID #: 644
      000447
                                                                             219
                                    Jury Selection


         1        that affect anybody's ability to be fair in terms of their

         2         job duties?

         3                    You kind of nodded a little.

         4                    THE COURT:     Will that affect your job at all,

         5        being here?     Miss Eleazer.

         6                    A PROSPECTIVE JUROR:         No, not at all.    Eleazer.

         7                    MS. GUASTELLA:      I am sorry.

         8                    A PROSPECTIVE JUROR:         It is okay.

         9                    MS. GUASTELLA:      Anyone here for religious beliefs

        10        or moral beliefs cannot sit as a fair juror?

        11                    Miss Diaz?    Okay.


-       12

        13
                              A PROSPECTIVE JUROR:

                              MS. GUASTELLA:
                                                           Munoz.

                                                  Any medical reasons a person

        14        can't sit until March 14th on this jury?

        15                    Miss Tito, before you were unemployed, what did

        16        you do for a living?

        17                    A PROSPECTIVE JUROR:         I didn't work.    I get

        18        s. s. I.
        19                    MS. GUASTELLA:      Sorry.

        20                    A PROSPECTIVE JUROR:         I didn't work, I get S.S.I.

        21                    MS. GUASTELLA:      Okay.     That is for a disability;

        22        correct?    Disability?

        23                    A PROSPECTIVE JUROR:         Just S.S.I.
-       24                    MS. GUASTELLA:      Miss Eleazer -- I said it wrong

        25        again.
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 450 of 1061 PageID #: 645
      000448                                                               220
                                    Jury Selection


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         2
                               A PROSPECTIVE JUROR:

                               MS. GUASTELLA:
                                                         That is okay.

                                                 You stated before you would need

         3         some solid evidence.      What did you mean by solid evidence?

         4                     A PROSPECTIVE JUROR:      In my mind not a doubt that

         5        he did it.     Like I wouldn't want to think -- I would have

         6        to know that he did not commit this crime.

         7                     MS. GUASTELLA:    So you are starting off with the

         8        premise that he is presumed innocent.

         9                     A PROSPECTIVE JUROR:      I wouldn't say that.       I

        10        wouldn't say that -- I don't know.           You know what,    I am

        11        saying I don't know.       I would have to hear and see the


-       12

        13
                  evidence.

                               MS. GUASTELLA:    Okay.    Do you think because we

        14        are at this point of the stage of the game, we are on

        15        trial, that he must have done something wrong to be here?

        16                     A PROSPECTIVE JUROR:      No.

        17                     MS. GUASTELLA:    Miss Arce, you shook your head

        18        yes.

        19                     A PROSPECTIVE JUROR:      I mean obviously he got

        20        here so there was something that led to it.            He could have

        21        been in the wrong place at the wrong time but something

        22        about him being around, whether it was the neighborhood or

        23        something led people to believe this.

-       24                     Do I think he is guilty because he is here?              No.

        25        But whether he has fingerprints on the doorknob of the
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 451 of 1061 PageID #: 646
      000449
                                                                           221
                                    Jury Selection


-        1        guy's house or a car, something led them to think it was

         2        him.

         3                    MS. GUASTELLA:     Okay.    Thank you.

         4                    Anybody else feel the same way?

         5                    You do too?     Okay.

         6                    Miss Prudente, you feel the same way?          You say

         7        you are a waitress; correct?        On Staten Island?

         8                    A PROSPECTIVE JUROR:       Yes.

         9                    MS. GUASTELLA:     How long have you been a

        10        waitress?

        11                    A PROSPECTIVE JUROR:       Three years?


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        13
                              MS. GUASTELLA:     What did you do prior to that?

                              A PROSPECTIVE JUROR:       Same like mediocre jobs:

        14        Pizzeria, paper route, stuff like that.

        15                    MS. GUASTELLA:     Mr. Morawed?     Is that how you

        16        pronounce it?     You said you dispatch, manage a limo

        17        company?

        18                    A PROSPECTIVE JUROR:       In a limo company, yes.

        19                    MS. GUASTELLA:     How long have you been a

        20        dispatcher?

        21                    A PROSPECTIVE JUROR:       Sixteen years.

        22                    MS. GUASTELLA:     Has your company ever been the



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        24
                  victim of a robbery?

                              A PROSPECTIVE JUROR:       Not really.

        25                    MS. GUASTELLA:     Anybody here members of their
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 452 of 1061 PageID #: 647
      000450
                                                                           222
                                      Jury Selection


-        1        like local community boards?         Anybody here members of the

         2        PTA at their kids' school?

         3                     PTA?

         4                     A PROSPECTIVE JUROR:      I am chairman of a Catholic

         5        academy.

         6                     MS. GUASTELLA:    On Staten Island.

         7                     A PROSPECTIVE JUROR:      In Brooklyn.

         8                     MS. GUASTELLA:    What is your role as a chairman

         9        there?

        10                     A PROSPECTIVE JUROR:      Pretty much oversee

        11        everything at the school:       Hiring, firing, making sure we


-       12

        13
                  have the right principal, fundraising.

                               MS. GUASTELLA:    What about disciplinary hearings?

        14                     A PROSPECTIVE JUROR:       I get involved with certain

        15        things,    yes.

        16                     MS. GUASTELLA:    I don't mean to like I am

        17        cross-examining you, but when you say "involved," do you

        18        actually investigate those cases before they go to hearing?

        19                     A PROSPECTIVE JUROR:      The investigation would be

        20        done by the principal and then ultimately the board makes

        21         final decisions on certain issues.

        22                     MS. GUASTELLA:    And you being the chairman of the

        23        board, do you have a higher,         I guess, opinion?

        24                     A PROSPECTIVE JUROR:      No.   It's equal on the

        25        board.
        Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 453 of 1061 PageID #: 648
          000451
                                                                               223
                                        Jury Selection


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             2
                                  MS. GUASTELLA:     How many people are on the board?

                                  A PROSPECTIVE JUROR:       Seven.

             3                    MS. GUASTELLA:     Anyone a member of the NRA?

             4                    Ms. Guastavino, you are a nurse on Staten Island.

             5                    A PROSPECTIVE JUROR:       Yes.

             6                    MS. GUASTELLA:     At a hospital.

             7                    A PROSPECTIVE JUROR:       No, I am not.     I work with

             8        dementia residents in an assisted living facility.

             9                    MS. GUASTELLA:     And have you ever had the

            10        occasion of having anyone have an argument in the assisted

            11        living that you work in; two patients or two workers?


-           12

            13
                                  A PROSPECTIVE JUROR:       At this point I kind of can

                      anticipate and we kind of manage before, so rarely.

            14                    MS. GUASTELLA:     So basically let's say somebody's

            15        had fights before or had troubles before, arguments before,

            16        and something would come up; you don't automatically assume

            17        that person was involved or is wrong.

            18                    A PROSPECTIVE JUROR:       No, not at all.

            19                    MS. GUASTELLA:     How do you determine if one of

            20        the patients or the two pat i ents -- who is telling the

            21        truth?

            22                    A PROSPECTIVE JUROR:       Most of my residents are

            23        severely demented and they are kind of non-verbal at this
-   -
            24        point.

            25                    MS. GUASTELLA:     Okay.
     Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 454 of 1061 PageID #: 649
       000452
                                                                            224
                                     Jury Selection


          1                     A PROSPECTIVE JUROR:      And it is more like getting

          2        too close to somebody or           it could be anybody.        It's not

          3        that it's, you know, two of the same residents all the

          4        time.    It's just trying to keep people out of other

          5        people's space.

          6                     MS. GUASTELLA:    Okay.    Thank you.

          7                     Thank you.

          8                     THE COURT:    I have one question.      Oh, Mr. McHugh,

          9        are you a resident of Richmond County?

         10                     A PROSPECTIVE JUROR:      Yes, sir.

         11                     THE COURT:    I just wondered if your Brooklyn ties


--       12

         13
                   indicated you lived somewhere else.

                   Thank you.
                                                               I wanted to be sure.



         14                     All right, the lawyers are going to take a few

         15        minutes to go over their notes and we will get back you

         16        with you.     If you want to go out for a minute, go right

         17        ahead.    Just don't discuss the case.

         18                     (The following takes place at side bar.)

         19                     THE COURT:    We are at a side bar on the record

         20        and in the courtroom.       What do we have, Anthony; seven?

         21                     THE CLERK:    Seven chosen.

         22                     THE COURT:    Why don't we do the first five.          Is

         23        that all right?

         24                     MS. CILIA:    Sure.

         25                     THE COURT:    One through five.
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 455 of 1061 PageID #: 650
      000453
                                                                               225
                                    Jury Selection


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         2
                              Cause, People?

                              MS. CILIA:     No.

         3                    THE COURT:     Defense?

         4                    MS. GUASTELLA:        No.

         5                    THE COURT:     Peremptory,       People?

         6                    MS. CILIA:     Number 4 .

         7                    THE COURT:     Peremptory, defense?

         8                    MS. GUASTELLA:        Number 1.     That's it.

         9                    THE COURT:     So, Anthony, Seat Number 2, Miss

        10        Guastavino, becomes Juror 8; right?

        11                    THE CLERK:     Yes, sir.


-       12

        13        Juror 9.
                              THE COURT:     Seat Number 3, Miss Tito, becomes



        14                    THE CLERK:     Yes, sir.

        15                    THE COURT:     Seat Number 5, Miss Budnick, becomes

        16        Juror 10.

        17                    THE CLERK:     Yes, sir.

        18                    THE COURT:     Let's do the next two,       6 and 7 .

        19                    Cause,   People?

        20                    MS. CILIA:     Number 6.

        21                    THE COURT:     Number 6.

        22                    MS. CILIA:     Yes.

        23                    THE COURT:    Why?

-       24                    MS. GUASTELLA:        Consent.

        25                    THE COURT:     That is consent?
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 456 of 1061 PageID #: 651
      000454
                                                                           226
                                    Jury Selection


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         2
                              MS. GUASTELLA:

                              THE COURT:
                                                    Yes.

                                             She must have said something that got

         3        by me but I will grant it for cause on consent.

         4                    Number 7.

         5                    MS. CILIA:     That is also for cause.

         6                    MS. GUASTELLA:        Consent.

         7                    THE COURT:     That is a consent.     He was at a side

         8        bar, so granted.

         9                    All right, let's do the next two, Seats 8 and 9.

        10                    Cause, People?

        11                    MS. CILIA:     No.


-       12

        13
                              THE COURT:

                              MS. GUASTELLA:
                                             Defense?

                                                    No.

        14                    THE COURT:     Peremptory, People?

        15                    MS. CILIA:     No.

        16                    THE COURT:     Defense?

        17                    MS. GUASTELLA:        Number 8.

        18                    THE COURT:     So 9 is acceptable to both sides.

        19                    MS. GUASTELLA:        Yes.

        20                    MS. CILIA:     Yes.

        21                    THE COURT:     So, Anthony, Mr. or Ms. Yalarfai

        22        becomes Juror 11; right?



-       23                    THE CLERK:     Yes.

        24                    THE COURT:     All right, we will go one at a time

        25         now.   Seat 10 is Miss Griffiths.
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 457 of 1061 PageID #: 652
      000455
                                                                           227
                                    Jury Selection


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         2
                               Cause, People?

                               MS. CILIA:    No.

         3                     THE COURT:    Defense?

         4                     MS. GUASTELLA:      Judge, I have in my notes that

         5        initially she had said she would be concerned about being

         6        able to be fair but I kind of ...

         7                     THE COURT:    Do the People have that?

         8                     MS. GUASTELLA:      Usually I have more information

         9        than that.

        10                     MS. CILIA:    I didn't write it down.

        11                     THE COURT:    I didn't either.     You want me to


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        13
                  bring her over?

                               MS. GUASTELLA:      Yes.   I don't know why I wrote

        14        that.    It was early on though.

        15                     THE COURT:    Can we bring Miss Griffiths over,

        16        Seat 10.

        17                     (Ms. Griffiths approaches side bar.)

        18                     THE CLERK:   Christine Griffiths,

        19        G-R-I-F-F-I-T-H-S.

        20                     THE COURT:    Sometimes we forget what people said.

        21        Did you ever express any reservations about the ability to

        22        be fair and impartial?

        23                     A PROSPECTIVE JUROR:       My concern is because for
-       24        my years in administration when we do investigations we go

        25        on fact, okay?     Not loose hearsay.       We don't use -- so not
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 458 of 1061 PageID #: 653
      000456
                                                                           228
                                    Jury Selection


-        1         knowing what the circumstantial might be?          I don't know if

         2         that would affect my decision, quite frankly, because

         3        that's what we are used to do.

         4                     THE COURT:    You know, it is funny you say that.

         5        That's what juries do.       They decide what the facts are.

         6        The juries are the fact-finders.         Then they take the law as

         7        the Court gives it to them, apply the law and hopefully

         8        render a unanimous verdict.

         9                     I mean if you are telling us what you do is go by

        10         facts,   I don't know that there is anything wrong with that.

        11        On the other hand, if you are expressing some kind of


-       12

        13
                  reservations about the ability to be fair and impartial,

                  that's another story.       I don't know, what do you think?

        14                    A PROSPECTIVE JUROR:       I guess my concern is I

        15        have to be absolutely -- that is a serious crime, okay,

        16        obviously, so I have to be very comfortable with making

        17        that decision based on the evidence that's presented.

        18                    THE COURT:     If you determined after listening to

        19        the evidence and deliberating that the case had not been

        20        proved to your satisfaction beyond a reasonable doubt,

        21        would you vote not guilty?

        22                    A PROSPECTIVE JUROR:      Uh-Hum.

                              THE COURT:    And, conversely, if you are satisfied

-
        23

        24        that the case had been proved to your satisfaction beyond a

        25        reasonable doubt, would you vote guilty?
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 459 of 1061 PageID #: 654
      000457
                                                                              229
                                    Jury Selection


         1                    A PROSPECTIVE JUROR:           Clearly, yes.

         2                    THE COURT:     Beg your pardon?

         3                    A PROSPECTIVE JUROR:           Yes, clearly.

         4                    THE COURT:     Counselor, if you have any questions,

         5        go right ahead.

         6                    MS. GUASTELLA:        No.

         7                    MS. CILIA:    No.      Thank you.

         8                    THE COURT:    Okay.         Thank you, ma'am.

         9                     (Miss Griffiths resumes her seat.)

        10                    THE COURT:     Do you want to be heard?

        11                    MS. GUASTELLA:        No, Judge.


-       12

        13
                              THE COURT:     You are withdrawing your challenge?

                  You really didn't make it, you just brought it -- so you

        14        are not making a cause challenge.

        15                    MS. GUASTELLA:        Not at this time.

        16                    THE COURT:    And you are not making one.

        17                    MR. REEVES:     Not a cause challenge.

        18                    THE COURT:     So nobody is making a cause challenge

        19        for Seat 10, Miss Griffiths.            Arn I right?

        20                    MS. GUASTELLA:        That is correct.

        21                    THE COURT:     Peremptory, People?

        22                    MS. CILIA:     Yes.

        23                    THE COURT:    We go to Seat 11, Mr. Morawed.

-       24                    Cause, People?

        25                    MS. CILIA:     No.
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 460 of 1061 PageID #: 655
      000458
                                                                           230
                                    Jury Selection


-        1                    THE COURT:     Defense?

         2                    MS. GUASTELLA:       No.

         3                    THE COURT:     Peremptory, People?

         4                    MS. CILIA:    No.

         5                    THE COURT:     Defense?

         6                    MS. GUASTELLA:       Yes.

         7                    THE COURT:    Next is Miss Prudente.

         8                    Cause, People?       That is Seat 12.

         9                    MS. CILIA:     That's a cause, yes.
                                                                  .
        10                    THE COURT:     Is there a consent or not?

        11                    MS. GUASTELLA:       Consent.


-       12

        13
                              THE COURT:     For cause on consent.

                              Next is Mr. Tropepe.

        14                    Cause, People?

        15                    MS. CILIA:     No.

        16                    THE COURT:     Defense?

        17                    MS. GUASTELLA:       No.

        18                    THE COURT:     Peremptory, People?

        19                    MS. CILIA:     No.

        20                    THE COURT:     Defense?

        21                    MS. GUASTELLA:       No.

        22                    THE COURT:     So Tropepe becomes Juror 12.        Am I



-       23

        24
                  right, Anthony?

                              THE CLERK:     Yes, sir.

        25                    THE COURT:    All right.        You get two peremptories
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 461 of 1061 PageID #: 656
      000459                                                              231
                                   Jury Selection


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         2
                  for each alternate seat, so let's see if we can get some

                  alternates.     Next is Mr. or Ms. Mezzacappa.

         3                    Cause, People?

         4                    MS. CILIA:    No.

         5                    THE COURT:     Defense?

         6                    MS. GUASTELLA:        No.

         7                    THE COURT:     Peremptory, People?

         8                    MS. CILIA:    No.

         9                    THE COURT:     Defense?

        10                    MS. GUASTELLA:        Yes.

        11                    THE COURT:     That is your first peremptory for the

        12        first alternate seat.

        13                    Next is Miss Munoz.

        14                    Cause, People?

        15                    MS. CILIA:     Yes.

        16                    MS. GUASTELLA:        On consent.

        17                    THE COURT:     For cause on consent.

        18                    Next is Miss Rogers.

        19                    Cause, People?

        20                    MS. CILIA:     No.

        21                    THE COURT:     Defense?

        22                    MS. GUASTELLA:        No.

        23                    THE COURT:     Peremptory, People?
-       24                    MS. CILIA:     No.

        25                    THE COURT:     Defense?
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 462 of 1061 PageID #: 657
      000460
                                                                          232
                                   Jury Selection


-        1                    MS. GUASTELLA:       Yes.

         2                    THE COURT:     That is your second challenge for the

         3        first alternate seat.

         4                    Next is Mr. Ma.

         5                    Cause, People?

         6                    MS. CILIA:    No.

         7                    THE COURT:     Defense?

         8                    MS. GUASTELLA:       No.

         9                    THE COURT:     Peremptory, People?

        10                    MS. CILIA:     No.

        11                    THE COURT:    Okay.        So the defense having used


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        13
                  their two peremptories for the first alternate seat, Mr. Ma

                  becomes Alternate 1.

        14                    Next is Mr. Kumaresu.

        15                    Cause, People?

        16                    MS. CILIA:    No.

        17                    THE COURT:     Defense?

        18                    MS. GUASTELLA:       No.

        19                    THE COURT:     Peremptory, People?

        20                    MS. CILIA:    No.

        21                    THE COURT:     Defense?

        22                    MS. GUASTELLA:       No.



-       23

        24
                              THE COURT:

                              MS. GUASTELLA:
                                             So he is Alternate 2.

                                                   I have two left?     I am sorry.     I

        25        do have two left?      That's fine.       That's fine.
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 463 of 1061 PageID #: 658
      000461
                                                                               233
                                    Jury Selection


-        1                    THE COURT:     You have two for the next seat.

         2                    MS. GUASTELLA:        That's fine.

         3                    THE COURT:     So you are not exercising your

         4        peremptory.

         5                    MS. GUASTELLA:        No.     So we are agreed

         6        Mr. Kumaresu becomes Alternate 2.

         7                    MS. CILIA:     Yes.

         8                    THE COURT:    We might as well deal with the last

         9        man.

        10                    Cause, People?

        11                    MS. CILIA:    No.


-       12

        13
                              THE COURT:

                              MS. GUASTELLA:
                                             Defense?

                                                    No.

        14                    THE COURT:     Peremptory, People?

        15                    MS. CILIA:    No.

        16                    THE COURT:     Defense?

        17                    MS. GUASTELLA:        Yes.

        18                    THE COURT:     Okay.        That is your first challenge

        19        for the third seat.       What do you think?        Is two enough?

        20                    MS. CILIA:     No.     I don't think two is enough.

        21                    THE COURT:     Do you want me to see if I can get

        22        more people over here to pick a third alternate?

        23                    MS. CILIA:    And fourth.         That is what I would
-       24        want.    Am I correct?

        25                    MR. REEVES:     Unless there is any way we can agree
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 464 of 1061 PageID #: 659
      000462
                                                                           234
                                     Jury Selection


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         2
                  on the people we struck.

                               THE COURT:    That is an idea.     If you want to go

         3        back and see if you can agree on a third or even a fourth

         4        alternate from people who have been peremptorily struck,

         5         that's fine.     The law says you can do that.

         6                     MR. REEVES:     I would agree to reseat Miss

         7        Griffiths.      That's one of the

         8                     MS. GUASTELLA:    Are we comfortable with three?         I

         9         am okay with three.       Do we need to do four?

        10                     THE COURT:     I will go with whatever you agree on.

        11                     MR. REEVES:     I would like four alternates.


-       12

        13
                               THE COURT:

                  somebody he struck.
                                             He is suggesting Miss Griffiths,



        14                     MS. GUASTELLA:     Yes.   That's fine.

        15                     THE COURT:     I want you to check with your client

        16        before we do that.

        17                     Hang on one second.

        18                     MR. REEVES:     I would need her to give someone

        19        back, as well.      I only struck two people.

        20                     MS. GUASTELLA:     I am fine with three alternates.

        21        We don't need to do four.

        22                     THE COURT:     Three is okay, isn't it?     No?

        23                     MR. REEVES:    Well, I am not going to give back
-       24         somebody when I exercised two perempts in the last round.

        25        That's not going to happen.
     Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 465 of 1061 PageID #: 660
       000463
                                                                            235
                                     Jury Selection


--        1                    THE COURT:     I am perfectly willing to go with

          2        two.   This is not that long of a trial.         We are not talking

          3        about a month.

          4                    MR. REEVES:     Go with two then.

          5                    THE COURT:    What about his suggestion?        He says

          6        he will seat Miss Griffiths as Alternate Number 3, they

          7        struck her, but what he is suggesting is can you give up

          8        one that you struck to be Alternate Number 4?

          9                    MS. GUASTELLA:     I don't like any of the ones I

         10        struck.    That is the problem.

         11                    MR. REEVES:     We will go with two alternates then.


-        12

         13
                   That's fine.

                               THE COURT:     Go with two.

         14                    MS. GUASTELLA:     That's fine.

         15                    THE COURT:    Okay.

         16                     (The following takes place in open court.)

         17                    THE CLERK:    When you hear your name, please

         18        remain seated:     Lori Guastavino, Margaret Tito, Joanne

         19        Budnick, Cynthia Yalartai, Carmine Tropepe, Philip Ma,

         20        Jeganathan Kumaresu.       Everyone else please rise.       You can

         21        step out of the box.

         22                    THE COURT:     Thank you all.

         23                     (Challenged jurors leave courtroom.)

         24                    THE CLERK:    Are the jurors satisfactory to the

         25        People?
         Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 466 of 1061 PageID #: 661
           000464
                                                                                236
                                         Jury Selection

·-            1                     MS. CILIA:    Yes.

              2                     THE CLERK:    Are the jurors satisfactory to the

              3        defendant?

              4                     MS. GUASTELLA:       Yes.

              5                     THE CLERK:    Everybody please stand.

              6                     (Six jurors sworn.)

              7                     THE COURT:    Thank you.    You can have a seat.

              8                     Well, we have completed our jury selection so we

              9        are going to break now and, as I told the people who were

             10        sworn yesterday, we are going to adjourn until Monday

             11        morning at 9:30.      That would be Monday, March 3.        Next


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             13
                       Monday at 9:30.      We would like you to be back then.

                       would like you to report to the jury room.
                                                                                      We

                                                                            The officers

             14        will show you where the jury room is on your way out.               It

             15        is right across the hall.

             16                     I want to thank you all for your patience

             17        throughout the last two days, and permit me to instruct you

             18        before you leave as follows:

             19                     Do not discuss this case with each other or with

             20        anyone else.

             21                     Prior to being discharged you must not speak with

             22        anyone about taking anything, any payment or benefit, in

             23        return for supplying information concerning this trial.
-    -
             24                     You must promptly report directly to me any

             25        incident within your knowledge involving an attempt by
     Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 467 of 1061 PageID #: 662
       000465                                                              237
                                    Jury Selection


          1        anyone to improperly influence you or any member of the

          2         jury.

          3                     Do not visit or view the premises or place where

          4        any charged crime was allegedly committed or any other

          5        premises or place involved in the case.          You haven't heard

          6        any locations yet.        I don't think you will.

          7                     Don't read, view or listen to any media accounts

          8        involved in this case should there be any, and that

          9        includes the internet.

         10                     And, finally, don't attempt to research any fact,

         11        issue or law related to this case, whether by discussion


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         13
                   with others, by research in the library or on the internet

                   or by any other means or source.

         14                     Again, thank you very much for your patience.

         15        Have a good weekend.       We will see you Monday morning at

         16         9:30.   The officers will show you the jury room on your way

         17        out.

         18                     (Jurors leave courtroom.)

         19                     THE COURT:    All right.    The jury has left.      Do

         20        you want to do something with the remainder of the day?

         21        You were talking about photographs.         I haven't seen them.

         22         If you want, we could review them now.         I might not

         23        necessarily be able to give you a ruling until I hear some
--       24        testimony.

         25                     The law, as I am sure both sides know, says
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 468 of 1061 PageID #: 663
      000466
                                                                           238
                                    Jury Selection


         1        photographs are admissible for the sole purpose if they do

         2        not inflame the jury and if they have some legitimate

         3        purpose; for example, illustrating or corroborating

         4        testimony.

         5                     Typically with these kinds of photos -- I think

         6        the kind of photos we are talking about, they do or do not

         7        become relevant when the ME testifies.          I don't know what

         8        your feelings are.

         9                     You know what we could do if you like.         You have

        10        all seen them.      I will ask the D.A. to send them over to me

        11        so I can look at them and we can pick it up Monday morning


-       12

        13
                  or during the trial when we get to that point.

                  easier?
                                                                           Is that



        14                     MS. GUASTELLA:    That is fine.

        15                     THE COURT:    I am not going to keep them.        I just

        16        want to look at them.       I will send them right back to you.

        17                     MR. REEVES:    There are some photos -- there are

        18        160 crime scene photos.       Some of them are duplicitous, some

        19        of them are not necessary for what we are going to prove.

        20        So what I can do is Miss Cilia and I will send over to the

        21        Court all the photographs and we will have a list of which

        22        ones we intend to move into evidence.



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                               There is one photograph which shows the victim

                  with the top of his skull and his brains spilling out as a

        25        result of the gunshot wound fired by the defendant.             I
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 469 of 1061 PageID #: 664
      000467
                                                                          239
                                   Jury Selection


         1        don't see any reason that we need to show that.            It is

         2        somewhat irrelevant to what we have to prove.           However,

         3        there are some pictures from the crime scene which will

         4        illustrate points that we are going to make relating to the

         5        defendant's intent and that would, if it is raised, tend to

         6        rebut the defense of justification.

         7                    THE COURT:     I don't know if that is the defense

         8        here.

         9                    MR. REEVES:     I don't know what the defense is but

        10        that doesn't preclude me from -- I don't have to -- the way

        11         I understand it, I can prove my case.


-       12

        13
                              THE COURT:     Yes.    You all know what the law is.

                  People against Poblin(ph) or People against Woods.            It is

        14        all in Richardsons.       We just got a Second Department

        15        case      it was decided yesterday -- which I will give you a

        16        copy of if you want it.       I mean it's one day old.       On that

        17        point.

        18                    Are you planning on introducing any autopsy

        19        photos?

        20                    MR. REEVES:     Yes.

        21                    THE COURT:     So they will be -- so as I understand

        22        it, the one photo that you just talked about with brains in



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        24
                  the picture is a crime scene photo.

                              MR. REEVES:     Yes.

        25                    THE COURT:    And you are not necessarily offering
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 470 of 1061 PageID #: 665
      000468
                                                                           240
                                      Jury Selection


-        1        that.

         2                    MR. REEVES:     No.

         3                    THE COURT:    Okay.      All right.   Well, if that's

         4        acceptable to both sides, send it over.           I won't hear any

         5        argument in chambers; I will just look at them and I will

         6        send them right back.       Just so I know what I am dealing

         7        with.    And we will pick it up later.        Is that okay?

         8                    MS. GUASTELLA:        Yes.

         9                    MR. REEVES:     The autopsy photos ironically are

        10        somewhat less gruesome than the crime scene photos because

        11        they don't have the attendant blood.          But there are


-       12

        13
                  pictures from the crime scene that show blood spatter,

                  skull fragments and brain fragments which are things that

        14        we need in evidence to prove the defendant's intent and to

        15        disprove, if it is ever raised, the defense of

        16         justification.

        17                    THE COURT:     Okay.     I am not giving you a ruling.

        18                    MR. REEVES:     I understand.

        19                    THE COURT:     I just would like to get a little bit

        20        of a heads-up so I don't have to take a lot of time out

        21        during the trial.

        22                    Anything else?

                              Okay.     You want your client produced tomorrow?
-       23

        24        Sometimes lawyers on trial do it for conference purposes.

        25         I don't know how he feels about it.
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 471 of 1061 PageID #: 666
      000469                                                              241
                                   Jury Selection


         1                    MS. GUASTELLA:      Not tomorrow, Judge.     Thank you.

         2        I appreciate the thought, but not tomorrow.

         3                    THE COURT:     Not tomorrow.    Okay.    Then we are

         4        adjourned until Monday the 3rd at 9:30.          Thank you.

         5                    MR. REEVES:     Thank you, your Honor.

         6                     (Whereupon, court was recessed and this matter

         7        adjourned to Monday, March 3, 2014 at 9:30 a.m.)

         8

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              Certified to be a true and accurate
        11    transcription o f the above-captioned
              proceedings.

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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 472 of 1061 PageID #: 667
  000470



           SUPREME COURT OF THE STATE OF NEW YORK
           COUNTY OF RICHMOND - CRIMINAL TERM - PART 5
           ----------- ----------- ----------- -----x
           THE PEOPLE OF THE STATE OF NEW YORK                 INDICTMENT NO.
                                                               454/2011

                         -against-


           ARMAND SKRINE,                                      JURY TRIAL


                                             Defendant.
           ----------- ----------- ----------- -----x
           (Det.   Steneck)                  18 Richmond Terrace
                                             Staten Island, New York
                                             March 3, 2014


           BEFORE :

                HONORABLE STEPHEN J.        ROONEY,    Justice.




           APPEAR ANCES:                                          -
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                DANIEL DONOVAN, ESQ.                              c:::    :z:t:u
                District Attorney - Richmond County
                     130 Stuyvesant Place
                     Staten Island, N. Y. 10301
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                BY:  KYLE REEVES, ESQ.,
                     JENNIFER CILIA, ESQ.,                        Ll
                                                                  a
                     Assistant District Attorneys

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                    88 New Dorp Plaza
                    Staten Island, N. Y. 10306




                                                      MAURIZIA M. SELLECK
                                                      TAMMY RODRIGUEZ
                                                      SENIOR COURT REPORTERS

                                            MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 473 of 1061 PageID #: 668
  000471                                                                            2
                                          Proceedings

      1                    THE COURT CLERK:      Calendar number 1, Indictment

      2         454/2011: Armand Skrine.       Case on trial continues.

      3                     Counsel, please, appearances on the record.

      4                     MS. CILIA:    Jennifer Cilia and Kyle Reeves for

      5         the People.    Good morning.

      6                     MS. GUASTELLA:     Maria Guastella on behalf of

      7         Mr. Skrine.    Good morning, your Honor.

      8                     THE COURT:    Good morning.

      9                     The jury is here, so we can start up.

     10                     I understand you might want to make a record,

     11         Ms. Guastella?

     12                     MS. GUASTELLA:     Judge, at this time I had

     13         indicated in chambers that I would like the opportunity to

     14         reserve my opening for after the People rest.          I know I'm

     15         permissible pursuant to case law, I understand it is the

     16         Court's discretion, but, as I indicated, I'm not sure

     17         which -- what defense I am going to be using.          I don't want

     18         to promise the jury something I can't deliver.

     19                     THE COURT:    All right.    Well, you certainly don't

     20         have to open at the outset; that's your choice.          In terms

     21         of reserving it, I'll entertain that application if we

     22         reach that point.     I'm not promising you anything.        I'm not

    23          suggesting to you I'll permit you to open at the close of

    24          the People's case, but I'm not denying it either.           I'll

    25          entertain your application then.        I've never granted that


                                               MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 474 of 1061 PageID #: 669
  000472                                                                             3
                                           Proceedings

      1         application before.       You know that.

      2                     MS. GUASTELLA:     I know that.     The other issue is

      3         the photographs that Mr. Reeves provided the Court.            I

      4         understand it's your intention to allow the photos that he

      5         intends on introducing to be introduced, and my objection

      6         is still on the record.

      7                     THE COURT:     All right.     Well, that's not

      8         necessarily my intention.          It depends, of course, on a

      9         sufficient foundation.       And if you wanted to make any

     10         specific argument as to any specific photo, we can do that

     11         on the record or at a sidebar on the record.          I've been

     12         through them.    Mr. Reeves sent them over.        I think there

     13         are 160 that have been marked for ID, but he doesn't intend

     14         to introduce them all.       According to Mr. Reeves's memo, he

     15         doesn't intend at this point anyway to introduce numbers

     16         11, 18 through 20, 22, 24, and 26 through 31.          Is that

     17         correct?

     18                     MR. REEVES:     That is correct, your Honor.

     19                     THE COURT:     One of those is a fairly graphic

     20         photo indicating a head injury to the deceased, and brain

     21         matter is prominently displayed.         And that's one of the

     22         ones you don't intend to introduce.

     23                     MR. REEVES:     I am not introducing that into

     24         evidence, your Honor.

     25                     THE COURT:     Okay.    The others -- and I went


                                               MMS
        Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 475 of 1061 PageID #: 670
          000473                                                                                  4
                                             Preliminary Instructions

              1         through them all on Friday -- don't strike me as

              2         particularly graphic or gruesome, and if a proper

              3         foundation is laid and there is a relevant purpose for

              4         them,    I will probably let them in, but I'll reserve

              5         judgment unless and until I get a specific objection.                I

              6         understand you're making a general objection.

              7                      Okay.    Anything else?

              8                     MR. REEVES:     No, your Honor.

              9                      THE COURT:    All right.        Why don't we bring the

             10         jury in.     I'll give them preliminary instructions, the

             11         People can open, and, depending on what time it is, we'll

             12         start up.

             13                      THE COURT OFFICER:          Ready for the jury?

             14                      THE COURT:    Yes.

             15                      THE COURT OFFICER:          Jury entering.

             16                      (Whereupon, the clerk takes roll-call of the

             17         jury.)

             18                      THE COURT CLERK:       Are the jurors satisfactory to

             19         the People?

             20                     MS. CILIA:     Yes.

             21                      THE COURT CLERK:       Are the jurors satisfactory to

             22         the defendant?

             23                     MS. GUASTELLA:        Yes.

             24                     THE COURT:     Okay.     Good morning.        Welcome back.
-   -
             25                     Now that you've all been sworn, I'll give you


                                                          MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 476 of 1061 PageID #: 671
  000474                                                                             5
                                  Preliminary Instructions

      1         some preliminary instructions to guide you in your

      2         participation in this trial.

      3                      It will be your duty to find from the evidence

      4         what the facts are.     You and you alone are the judges of

      5         the facts.    You'll then have to apply those facts to the

      6         law as I will give it to you.        You must follow that law

      7         whether you agree with it or not.        But nothing that I may

      8         say or do during the course of this trial should be taken

      9         by you as indicating what your verdict should be.

     10                      The evidence from which you will find the facts

     11         will consist of the testimony of witnesses, documents, and

     12         other things received into the record as exhibits, and any

     13         facts the lawyers agree or stipulate to or that the Court

     14         may instruct you to find.

     15                      Certain things are not evidence and must not be

     16         considered by you and I'll list those for you now.

     17                      First of all, statements, arguments and questions

     18         by lawyers are not evidence.

     19                      Secondly, objections to questions are not

     20         evidence.    Lawyers have an obligation to their clients to

     21         make an objection when they believe evidence being offered

     22         is improper under our rules of evidence.         You should not be

     23         influenced by the objection or by the Court's ruling on it.

     24         If the objection is sustained, ignore the question.

     25         Questions are never evidence.        If the objection is


                                               MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 477 of 1061 PageID #: 672
  000475                                                                             6
                                  Preliminary Instructions

      1         overruled, treat the answer like any other.          And if you're

      2         instructed that some item of evidence is received for a

      3         limited purpose only, you must follow that instruction.

      4                     Third, testimony that the Court has excluded or

      5         told you to disregard is not evidence and must not be

      6         considered.

      7                     Finally, anything you may have seen or heard

      8         outside the courtroom is not evidence and must be

      9         disregarded.    You are to decide the case solely on the

    10          evidence presented here in this courtroom.          It will be up

     11         to you to decide which witnesses to believe, which

     12         witnesses not to believe, and how much of any witness's

     13         testimony to accept or reject.       I'll give you some

     14         guidelines for that purpose at the end of the trial.

     15                     As you know, this is a criminal case, and there

     16         are three basic rules about a criminal case that you must

     17         keep in mind.     First of all, the defendant is presumed

     18         innocent unless and until proved guilty.         The indictment

     19         against the defendant is only an accusation, nothing more.

     20         It's not proof of guilt or anything else.         The defendant,

     21         therefore, starts out with a clean slate.

     22                     Second, the burden of proof is on the People.

     23         The defendant has no burden to prove his innocence.

     24                     And, third, the People must prove the defendant's

     25         guilt beyond a reasonable doubt.        We discussed that during


                                               MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 478 of 1061 PageID #: 673
  000476                                                                            7
                                  Preliminary Instructions


      1         jury selection.     I'll give you some further instructions on

      2         that point later.

      3                      In this case, the defendant is charged with

      4         Murder in the Second Degree, two counts of Criminal

      5         Possession of a Weapon in the Second Degree, two counts of

      6         Criminal Possession of a Weapon in the Third Degree, and

      7         one count of Criminal Possession of a Forged Instrument in

      8         the First Degree.     I'll give you detailed instructions on

      9         the law at the end of the trial and those instructions will

     10         control your deliberations and decision.

     11                      Our law requires jurors to follow certain

     12         instructions in order to help assure a fair and a just

     13         trial.   I alluded to them last week, but I'll give them to

     14         you in detail now.

     15                      First of all, do not converse either amongst

     16         yourselves or with anyone else about anything related to

     17         this case.    You may tell the people with whom you live and

     18         your employers that you are a juror and give them

    19          information about when you'll be required to be in court,

    20          but you may not speak with them or anyone else about

    21          anything related to the case.

    22                       Second, do not at any time during the trial

    23          request, accept, agree to accept, or discuss with any

    24          person the receipt or acceptance of any payment or benefit

    25          in return for supplying any information concerning the


                                               MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 479 of 1061 PageID #: 674
  000477                                                                              8
                                  Preliminary Instructions

      1         trial.

      2                     Third, you must promptly report directly to me

      3         any incident within your knowledge involving an attempt by

      4         any person improperly to influence you or any member of the

      5         jury.

      6                     Fourth, do not visit or view the premises or

      7         place where any charged crime was allegedly committed or

      8         any other premises or place involved in the case.           And you

      9         must not use internet maps or Google Earth or any other

     10         program or device to search for and view any location

     11         discussed in the testimony.

     12                     Now, fifth, do not read, view, or listen to any

     13         accounts or discussions of the case reported by newspapers,

     14         television, radio, the internet, or any other news media.

     15                     And, sixth, do not attempt to research any fact,

     16         issue or law related to this case, whether by discussion

     17         with others, by research in the library or on the internet,

     18         or by any other means or source.

     19                     In this age of instant electronic communication

     20         and research, I'm required to emphasize that in addition to

     21         not conversing face-to-face with anyone about the case, you

     22         must not communicate with anyone about the case by any

     23         other means, including by telephone, text message, e-mail,

    24          internet, chat rooms, blogs, or social websites such as

     25         Facebook, My Space or Twitter.       You must not provide any


                                               MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 480 of 1061 PageID #: 675
  000478                                                                             9
                                  Preliminary Instructions

      1         information about the case to anyone by any means

      2         whatsoever, and that includes the posting of information

      3         about the case or what you're doing in the case, on any

      4         device or internet site, again, including blogs, chat

      5         rooms, social websites or by any other means.          You must

      6         also not google or otherwise search for any information

      7         about the case or the law which applies to the case, or the

      8         people involved in the case, including the defendant, the

      9         witnesses, the lawyers, and the judge.

     10                     Our law does not permit jurors to converse with

     11         anyone else about the case or to permit anyone to speak

     12         with them about the case, because only jurors are

     13         authorized to render a verdict.       Only you have been found

     14         to be fair and only you have promised to be fair.           No one

    15          else has been qualified in that way.

     16                     Our law also doesn't permit jurors to converse

     17         amongst themselves about the case until the Court tells

    18          them to begin deliberations, because premature discussions

    19          can lead to a premature final decision.

    20                      Our law also does not permit you to visit a place

    21          discussed in the testimony.       First, you cannot always be

    22          sure that the place is in the same condition as it was on

    23          the day in question.      Second, even if it were in the same

    24          condition, once you go to a place discussed in the

    25          testimony to evaluate the evidence in light of what you


                                               MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 481 of 1061 PageID #: 676
  000479                                                                            10
                                  Preliminary Instructions

      1         see, you become a witness, not a juror; and, as a witness,

      2         you may now have an erroneous view of the scene that may

      3         not be subject to correction by either party, and that's

      4         not fair.    And, finally, our law requires that you not read

      5         or listen to any news accounts of the case and that you not

      6         attempt to research any fact,        issue, or law related to the

      7         case.

      8                     Your decision must be based solely on the

      9         testimony and other evidence presented in this courtroom.

     10         It would not be fair to the parties for you to base your

     11         decision on some reporter's view or opinion or upon

     12         information you acquire outside the courtroom.

     13                     These rules are designed to help guarantee a fair

     14         trial, and our law, accordingly, sets forth serious

     15         consequences if the rules are not followed.          I'm sure you

     16         understand and appreciate the importance of following these

     17         rules and I'm sure you will do so.

     18                     Let me say a few words about note-taking.         You

     19         may, but you are not required to, take notes during this

     20         trial.   If you wish to take notes, we have provided

     21         material to you for that purpose.         If you decide to take

     22         notes, you must follow these rules:

     23                     First, remember, every word of each witness is

     24         recorded by the court reporter, and during deliberations,

     25         upon your request, the testimony will be read back to you


                                               MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 482 of 1061 PageID #: 677
  000480                                                                            11
                                  Preliminary Instructions

      1         in whole or in part, and, so, there is no need to take

      2         verbatim notes of a witness's testimony.         Notes by

      3         definition are a brief written record of something to

      4         assist the memory.     A note should not take precedence over

      5         your own independent recollection.

      6                      Second, remember also, you are the finders of

      7         fact, you are responsible for evaluating the believability

      8         and accuracy of a witness's testimony, and so it's

      9         important that you be able to fully comprehend what a

     10         witness is saying and how a witness is saying it.

     11         Accordingly, you must not permit note-taking to distract

     12         you from the proceedings .      If you make a note, it should be

     13         brief and not distract you from what the next question and

     14         answer is.

     15                      Any notes a juror takes are only for that juror's

     16         own personal use in refreshing his or her recollection,

     17         and, so, jurors who choose not to take notes must rely on

     18         your own independent recollection and must not be

     19         influenced by any notes that another juror may take.

     20                      Also, a juror's notes are not a substitute for

     21         the recorded transcript of the testimony or for any exhibit

     22         received in evidence.      If during your deliberations there

     23         is a discrepancy between a juror's recollection and his or

     24         her notes regarding the evidence, you should ask to have

     25         the relevant testimony read back or the exhibit produced


                                               MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 483 of 1061 PageID #: 678
  000481                                                                            12
                                  Preliminary Instructions

      1         for your inspection.

      2                    Additionally, a juror's notes are not a

      3         substitute for the detailed explanation I will give you of

      4         the principles of law that govern this case.          If there is a

      5         discrepancy between a juror's recollection and his or her

      6         notes regarding those principles, you should ask me to

      7         explain those legal principles again.         I will, of course,

      8         do so.

      9                     At the end of each trial day, until the jury

     10         retires to deliberate, any notes taken will be collected

     11         from each juror who takes notes.        A juror may only refer to

     12         his or her notes during the proceedings and during

     13         deliberations.     Any notes taken are confidential and shall

     14         not be available for examination or review by any party or

     15         any other person, and after the jury has rendered its

     16         verdict or verdicts, we will collect the notes and destroy

     17         them.

     18                     Let me also say at this point, this is a

     19         relatively small courthouse as compared to some of the

     20         bigger courthouses around the city.        As a result, you're

     21         liable to find yourself passing the lawyers in the hallways

     22         or out on the street.      You'll find they won't talk to you.

     23         They probably won't even acknowledge you.         It's not because

     24         they're rude; they're not.       It's because I'm sure you can

     25         understand a trial lawyer must have no contact with a juror


                                               MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 484 of 1061 PageID #: 679
  000482                                                                             13
                                  Preliminary Instructions

      1         outside of the courtroom during a trial.         So, if that

      2         happens, that's what that's all about.

      3                      We're going to start the trial now and I want to

      4         give you the idea of the course that a criminal trial

      5         takes.

      6                      First of all, the People, represented by an

      7         assistant district attorney, will make an opening statement

      8         which is simply an outline to help you understand the

      9         evidence as it comes in.      Next, the defense attorney may,

     10         but does not have to, make an opening statement.          Opening

     11         statements are not evidence.

     12                      Following this, the People will present witnesses

     13         and counsel for the defendant may cross-examine those

     14         witnesses.     Following the People's case, the defendant may

     15         present witnesses whom the People may cross-examine.           And

     16         after all the evidence is in, the attorneys will present

     17         their closing arguments to summarize and interpret the

     18         evidence for you, and then I will instruct you on the law.

     19         After that you'll retire to deliberate on your verdict.

     20                      Please bear in mind, nothing the lawyers say in

     21         their opening statements or in their closing arguments or,

     22         for that matter, nothing the lawyers say at any time during

     23         the trial will constitute evidence in this case.

     24                      So, we'll commence the trial now, and I'll

     25         recognize the prosecution for its opening statement.


                                               MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 485 of 1061 PageID #: 680
  000483                                                                             14
                                   Opening - People/Cilia

      1                     MS. CILIA:     It is horrific the level of

      2         destruction that two small pieces of metal can do in the

      3         hands of a killer.       Two small pieces of metal, smaller than

      4         my pinky, pressed into a magazine.        That magazine filled to

      5         the brim placed into an assault rifle.         That loaded rifle

      6         hidden in a duffel bag, carried across boroughs, through

      7         subways, onto the ferry, onto a bus, to David Williams'

      8         home in Staten Island.       That duffel bag opened in David's

      9         apartment by his killer, outside of view from all and the

     10         intended victim, revealing the murder weapon inside.           And

     11         then in the hands of this killer two squeezes of the

     12         trigger pointed directly at David's heart and David's head.

     13                     The first pull of the trigger literally pulpified

     14         David's heart, and the second left David's head in pieces

     15         strewn across the hallway of his apartment.          Just two small

     16         pieces of metal, but in the hands of his killer David

     17         didn't stand a chance.

     18                     What the evidence will prove to you during the

     19         course of this trial, beyond all reasonable doubt, is that

    20          the man who stood behind the barrel of that gun, who placed

    21          those devastating bullets inside of that magazine, who

    22          pressed that magazine into the murder weapon, who traveled

    23          through boroughs on the subway, on the ferry, on the bus,

    24          to the doorstep of David Williams' apartment, and who

    25          purposefully ended David's life with two squeezes of the


                                               MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 486 of 1061 PageID #: 681
  000484                                                                            15
                                   Opening - People/Cilia

      1         trigger on December 8th of 2011 was none other than the

      2         defendant.

      3                      Now, let's talk about the evidence that will

      4         prove that the defendant murdered David Williams.

      5                      You are going to hear and you are going to learn

      6         that David and the defendant met in college where they were

      7         roommates at a small school in Connecticut.          You are going

      8         to hear that David and the defendant stayed in touch after

      9         college so much so that you are going to hear that even

     10         years after college David maintained the relationship and

     11         the defendant would travel to Staten Island to visit David

     12         and his family in his apartment on Steuben Street, here on

     13         Staten Island.

     14                      And then came December 8th of 2011.       It was a

     15         Thursday.     It was cool out.    It was also the last day of

     16         David Williams' life.      You are going to hear that the day

     17         started like any other day:       David and his partner, Jaclyn,

     18         they followed their normal routine.        They got up early,

     19         they got their five-year-old daughter ready for school.

     20         Everyone piled into the car and David drove Jaclyn, his

     21         partner, to work and the baby to school.         But David never

     22         got to pick up his daughter from school that day.           Instead,

     23         Jaclyn got a call from work saying she needed to get home

     24         immediately.     What Jaclyn learned and what you are going to

     25         learn is that David was shot to death at point-blank range


                                               MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 487 of 1061 PageID #: 682
  000485                                                                            16
                                   Opening - People/Cilia

      1         with a high-powered rifle, found dead in the common hallway

      2         right outside of his apartment door.

      3                    You are going to hear from Det. Robin Steneck who

      4         processed the crime scene where David's lifeless body was

      5         found, and you are going to hear from Dr. Stephen deRoux

      6         who did the autopsy -- conducted the autopsy of David's

      7         body.

      8                     Det. Robin Steneck is the one who went to the

      9         crime scene.    She checked all the evidence.        She documented

    10          everything; she photographed everything, where the shell

     11         casings were recovered, forensic evidence.         And Dr. Stephen

    12          deRoux, he's the one who looked at the body, looked at

    13          where these shots came from, what the cause and the manner

    14          of David's death was.

    15                      They are going to tell you about the injuries

    16          that David sustained when he was shot to death; that the

    17          first shot went through David's arm and into his heart, and

    18          then, when David was laying face down on the ground, on the

    19          hallway floor, that he was shot in the back of the head a

    20          second time.

    21                     You will hear that the shot in the back of

    22          David's head was so powerful that pieces of David's brain

    23          were found in the hallway approximately 80 feet away.

    24                     You are also going to trace the steps of the

    25          defendant prior to and after the massacre of David


                                               MMS
      Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 488 of 1061 PageID #: 683
        000486                                                                            17
                                         Opening - People/Cilia

            1         Williams.     You are going to see Ferry video from the

            2         morning of December 8th of 2011 showing a man, strapped

            3         with a large black and gray duffel bag, taking the ferry to

            4         Staten Island.     You are going to learn that just prior to

            5         the purposeful killing of David Williams that an extremely

            6         tall man, wearing a dark face mask, was seen walking into

            7         David's building strapped with a large black and gray

            8         duffel bag.     You are going to hear that less than ten

            9         minutes after the police received the call of shots fired

           10         and while they were on their way to Steuben Street, that

           11         the defendant was stopped walking on a service road where

           12         no pedestrians were walking, between the crime scene at

---        13         195 Steuben Street and a wooded path, and that wooded path

           14         abutted Steuben Street.      He was found just minutes away.

           15         And you are going to hear that a large black and gray

           16         duffel bag was recovered from within that wooded area

           17         between Steuben Street and where the defendant was stopped;

           18         that's where the duffel bag was found.

           19                     What was in this gray and black duffel bag?         Some

           20         small items: clothing, sweatshirts, gloves, towels, a small

           21         shovel, some rope, some counterfeit money; and then there

           22         was one large item that wouldn't be able to fit into a

           23         smaller bag.     You are going to learn that a defaced assault

           24         rifle, which is an extremely large rifle, and magazines

           25         with additional ammunition were inside of that duffel bag.


                                                     MMS
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 489 of 1061 PageID #: 684
      000487                                                                             18
                                       Opening - People/Cilia

          1         It was defaced.     It was defaced because the serial number

          2         on that rifle had been scratched out, meaning that it

          3         couldn't be traced, it was an untraceable rifle.          And

          4         you'll hear that the ballistics at the scene of the crime

          5         was compared to the assault rifle in that duffel bag and

          6         that they were a match.      The assault rifle in that gray

          7         duffel bag was identified as the murder weapon.          You are

          8         going to get to see that weapon.

          9                     You heard Mr. Reeves tell you during jury

         10         selection that some of the property -- actually, most of

         11         the property in this case was in a facility that was

         12         affected by Sandy.     The facility is contaminated, the

-        13         property is not available.       We are going to be showing you

         14         pictures of that property rather than the property itself.

         15         However, you are going to hear that the assault rifle was

         16         sent to the ballistics lab where it was tested, and then it

         17         was brought to another facility that was not affected by

         18         Sandy.   So, you are actually going to see the assault rifle

         19         during the course of this trial.

         20                     But that's not the only thing the duffel bag was

         21         carrying.    Also inside was a black face mask.        This face

         22         mask you are going to hear was tested for DNA.          And you'll

        23          learn that DNA was identified as belonging to the

        24          defendant, the defendant found less than ten minutes from

-       25          the time of the 911 call, in close proximity to the crime


                                                   MMS
     Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 490 of 1061 PageID #: 685
       000488                                                                            19
                                         Opening - People/Cilia

           1         scene; the large black and gray duffel bag found in the

           2         woods in between where the defendant was stopped and

           3         David's apartment; the ballistics evidence from that weapon

           4         matching the ballistics evidence left at the scene of the

           5         crime; the Defendant's DNA all over a mask in the same bag

           6         as the murder weapon; witness testimony that an extremely

           7         tall man wearing a face mask, carrying a large black and

           8         gray duffel bag, entered the defendant's building moments

           9         before David was shot and killed.        Which brings us back to

          10         the beginning: the horrific level of devastation that two

          11         small pieces of metal caused in the hands of that

          12         defendant.

          13                      At the end of this case, after you've heard from

          14         all of the witnesses, you've listened to all of the

          15         testimony, and you've seen all the evidence, I submit that

          16         each and every one of you will be satisfied that the

          17         evidence has proven the defendant's guilt beyond a

          18         reasonable doubt.     And at that time I am going to come back

          19         before you,    I am going to ask you to do one thing,       just one

          20         thing, and that's follow the law, vote to convict this

          21         defendant for the purposeful killing of David Williams.

          22                      Thank you.

          23                      THE COURT:   Ms. Guastella, do you wish to open?

          24                      MS. GUASTELLA:   Not at this time, Judge.
--
          25                      THE COURT:   Very good.    People, call your first


                                                    MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 491 of 1061 PageID #: 686
  000489                                                                              20
                           People - Det. Steneck - Direct/Reeves

      1         witness, please.

      2                     MR. REEVES:     Thank you, your Honor.          People call

      3         Det. Robin Steneck from the Crime Scene Unit.

      4                     THE COURT OFFICER:          Your Honor, ready for the

      5         witness?

      6                     THE COURT:     Yes.

      7                     THE COURT OFFICER:          Witness entering.

      8    DE T.      R O B I N     STENE CK, bearing shield number 882,

      9         assigned to the NYPD Crime Scene Unit, having been called

     10         as a witness on behalf of the People, having been duly

     11         sworn by the clerk of the court, was examined and testified

     12         as follows:

     13                     THE COURT CLERK:       State your name, shield number,

     14         and command for the record.

     15                     THE WITNESS:     Det. Robin Steneck, assigned to the

     16         NYPD Crime Scene Unit, shield 882.

     17                     MR. REEVES:     May I inquire, your Honor?

     18                     THE COURT:     Yes.

     19                     MR. REEVES:     Thank you.

     20    DIRECT EXAMINATION

     21    BY MR. REEVES:

     22         Q.    Good morning, Detective.           How are you?   Actually, good

     23    afternoon.

     24         A.    Good afternoon.

     25         Q.    How are you today?


                                                  MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 492 of 1061 PageID #: 687
  000490                                                                            21
                           People - Det. Steneck - Direct/Reeves

      1         A.    Good.    You?

      2         Q.    I'm good.       Thank you.

      3               What I'd like you to do, start off telling the jury

      4    how long you've been with the New York City Police Department.

      5         A.    I came on the Police Department in 1999.         I did patrol

      6    for a few years.       I then was assigned to the Queens North

      7    Evidence Collection Team, where I processed low-level crimes,

      8    like burglaries and robberies.           From there I went to the

      9    Forensic Investigation Division in 2007, where I was assigned

     10    to the latent print section, where I more or less identified

     11    fingerprints that were collected from crime scenes.           And then

     12    in 2009 I was then transferred to the Crime Scene Unit where

     13    I've been ever since.

     14         Q.    Would you explain to the jury what the Crime Scene

     15    Unit is responsible for doing within the New York City Police

     16    Department.

     17         A.    In the Crime Scene Unit we're -- I was a detective

     18    when I got there, but most people get promoted to detectives.

     19    We then are requested by precinct detective squads throughout

     20    the City, it's a citywide unit.           They request us for any major

     21    crimes: homicide, rape, felony assault cases where the victim

     22    is likely to die.      We arrive at the scene, they give us a

     23    walk-through.      We'll photograph the scene, we'll sketch a

    24     diagram of the scene, and then we'll recover any evidence

     25    that's left behind, document it, and then hand it off to an


                                                   MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 493 of 1061 PageID #: 688
  000491                                                                              22
                              People - Det. Steneck - Direct/Reeves

      1    invoicing officer.

      2         Q.     And, Det. Steneck, is what you've just described, is

      3    that called processing a crime scene?

      4         A.     Yes.

      5         Q.     Have you had any training while you were either a

      6    member of ECT, or the Evidence Collection Team, or the Crime

      7    Scene Unit on how to handle and process crime scenes?

      8         A.     Yes.

      9         Q.     Would you briefly describe for the jury what your

     10    training is.

     11         A.     While I was in ECT we do a week-long crime scene

     12    course with the detectives from the Crime Scene Unit that are

    13     in charge of the training unit.        They teach us how to process

    14     crime scenes, do the walk-throughs, what to look for, how to

    15     measure the evidence, where to measure it from, and things like

     16    that.     And then, once you get to the Crime Scene Unit, you go

     17    through another training period of a couple of months.            You're

    18     assigned to a veteran detective and respond to crime scenes.

    19     You go out with other teams that have been there for a while

    20     and they teach you.       And there is also a lot of in-house

     21    training; they'll bring outside people from other agencies to

    22     train us.

    23          Q.     And, Det. Steneck, since you've been with the Crime

    24     Scene Unit, can you estimate for us the number of crime scenes

    25     that you've either processed yourself or been with a partner


                                               MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 494 of 1061 PageID #: 689
  000492                                                                            23
                             People - Det. Steneck - Direct/Reeves

      1    who's processed?

      2         A.    We handle on a team and I handle approximately 70, 80

      3    jobs a year on a team, either assisting or handling it myself.

      4         Q.    And if you could, I'd like to talk to you about

      5    something specific that you did on December 8, 2011, if we can

      6    just shift gears for that.       Okay?

      7         A.    Yes.

      8         Q.    Do you remember if you were working on that day?

      9         A.    Yes, I was.

     10         Q.    And what tour or tours of duty do the Crime Scene

     11    detectives do?

     12         A.    We do rotating tours.      Our first two are actually day

     13    tours, unless a day tour changes for what's called a double;

     14    and third or fourth is a double, where we come in at two in the

     15    afternoon and work until eight in the morning, unless you're

     16    stuck on a job you would work later.

     17         Q.    Det. Steneck, on December 8, 2011, were you working

     18    with a steady partner?

     19         A.    Yes.

     20         Q.    What was your partner's name?

     21         A.    Det. Patty Angst.

    22          Q.    Does Det. Angst still work with the Crime Scene Unit?

    23          A.    Yes.

    24          Q.    Now, what I'd like to do is ask you if you received a

    25     notification from within the New York Police Department on


                                               MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 495 of 1061 PageID #: 690
  000493                                                                              24
                              People - Det. Steneck - Direct/Reeves

      1    December 8, 2011, to respond from your headquarters to Staten

      2    Island to process a job?

      3         A.     Yes.

      4         Q.     Where is your headquarters located?

      5         A.     Jamaica Queens, 150 Street and Jamaica Avenue.

      6         Q.     And do you recall approximately what time you were

      7    asked to provide services to the New York City Police

      8    Department's 120 squad?

      9                       THE WITNESS:     May I look at my notes?

     10                       THE COURT:     Sure.

     11         A.     We were requested sometime before 2 o'clock, because

     12    we were on route at 1415 hours, 2 in the afternoon.

     13         Q.     Now, did you and Det. Angst arrive on Staten Island

     14    after receiving the notification?

     15         A.     Yes.

     16         Q.     And approximately what time did you arrive and what

     17    location did you arrive at?

     18         A.     We arrived at approximately 3:10 in the afternoon at

     19    195 Steuben Street in Staten Island.

     20         Q.     And can you tell us what's located at 195 Steuben

     21    Street here in Staten Island?             Is it residential, commercial,

     22    or mixed?

     23         A.     It looked like a residential building.

     24         Q.     Now, did you and Det. Angst have an opportunity to

     25    process a scene at 195 Steuben Street?


                                                 MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 496 of 1061 PageID #: 691
  000494                                                                            25
                             People - Det. Steneck - Direct/Reeves

      1         A.    Yes.

      2         Q.    And was the scene inside or outside?

      3         A.    The scene was inside at that location.

      4         Q.    As part of processing the scene, did you and

      5    Det. Angst take photographs of the scene as you saw it when you

      6    arrived at around 3 o'clock in the afternoon?

      7         A.    Yes.

      8         Q.    Approximately how many photographs did you take?

      9         A.    I think it was approximately 100 -- 160 photos.

     10         Q.    Okay.    Now, in addition to processing an indoor scene,

     11    did you also lend services to process an outdoor scene near 195

     12    Steuben Street?

     13         A.    Yes.

     14         Q.    And when that was finished, did you respond to the 120

     15    to finish your job and process some evidence at the 120?

     16         A.    Yes.

     17         Q.    Det. Steneck, I'm going to hand up what's been

     18    premarked as People's 1 through 160.         Detective, just so we're

     19    clear, I have removed photograph 11, 18, 19 and 20, 22, 24, and

     20    26 through 31.      With that understanding, I'd like you to take a

     21    look at what's been premarked as People's 1 through 160 and

     22    tell me generally if you recognize those photographs.

     23         A.    They look like photographs from the crime scene.

     24         Q.    Now, Detective, photographs 1 through 89, do you

     25    recognize those as photographs taken on the 7th floor hallway


                                               MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 497 of 1061 PageID #: 692
  000495                                                                            26
                             People - Det. Steneck - Direct/Reeves

      1    of 195 Steuben Street on December 8, 2011, 1 through 89?

      2         A.    Yes, it looks like the hallway and the apartment at

      3    Steuben Street.

      4         Q.    Now, People's 1 through 89 for identification, do

      5    those photos fairly and accurately depict the scene as you

      6    observed it when you arrived at around 3 o'clock on December 8,

      7    2011?

      8         A.    Yes.

      9                      MR. REEVES:    Your Honor, I'd offer People's 1

     10         through 89 in evidence at this time.

     11                      MS. GUASTELLA:    No objection.

     12                      THE COURT:    All right.   1 through 89 are marked

     13         in evidence.     Mr. Reeves, just bear with me.       I believe you

     14         said except for 11, 18, 19, 20, 22, 24, and 26 through 31.

     15         Is that right?

     16                      MR. REEVES:    That's correct, your Honor, those

     17         have been removed.

     18                      THE COURT:    Okay.   Except for those then,

     19         Exhibits 1 through 89 previously marked for ID are now in

     20         evidence.

     21                       (Whereupon, People's Exhibits 1 through 89 with

     22         the exceptions of 11, 18, 19, 20, 22, 24, 26 through 31, as

     23         previously listed, are deemed marked in evidence.)

     24         Q.    Det. Steneck, if you look at People's 90 through 106,

     25    that series of photos in 90 through 106 for identification, do


                                               MMS
       Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 498 of 1061 PageID #: 693
         000496                                                                            27
                                    People - Det. Steneck - Direct/Reeves

             1    those fairly and accurately depict the scene outside that you

             2    assisted in processing on December 8, 2011, and that would be

             3    the wooded area?

             4         A.    You said through 96?

             5         Q.    90 through 106.

             6         A.    Okay.     Yes.

             7                       MR. REEVES:     Your Honor, I'd offer People's 90

             8         through 106 in evidence at this time.

             9                       MS. GUASTELLA:     No objection.

            10                       THE COURT:     All right.   Exhibits 90 through 106

            11         are now marked in evidence.

            12                       (Whereupon, People's Exhibits 90 through 106 are
- -·
            13         deemed marked in evidence.)

            14         Q.    The remaining photographs, 107 through 160, do those

            15    photographs fairly and accurately depict the items that you saw

            16    at the 120 Precinct on December 8, 2011, related to the

            17    services you provided in this case?

            18         A.    You said the remaining through 160?

            19         Q.    Yes.

            20         A.    Yes.

            21                       MR. REEVES:     Your Honor, I'd offer People's 107

            22         through 160 in evidence at this time.

            23                       MS. GUASTELLA:     No objection, Judge.

           24                        THE   COURT:   All right.   Exhibits 107 through 160

-           25         are marked in evidence.


                                                        MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 499 of 1061 PageID #: 694
  000497                                                                            28
                             People - Det. Steneck - Direct/Reeves

      1                       (Whereupon, People ' s Exhibits 107 through 160 are

      2         deemed marked in evidence.)

      3         Q.    Det. Steneck, I think one of the things that you and I

      4    talked about when you were processing the scene, you indicated

      5    to the jury that, in addition to photographing the scene, that

      6    on occasion you would do sketch or diagrams of the scene as it

      7    appeared to you.       Did you do that in this case?

      8         A.    Yes.

      9         Q.    I am going to hand up to you what's been premarked as

     10    People's 161, 162, and 163 for identification.

     11               Det. Steneck, if you can take a look at 161 for

     12    identification.       It should have a little red sticker on it .        Do

     13    you recognize that?

     14         A.    Yes.

     15         Q.    What do you recognize that to be?

     16         A.    That was a diagram I sketched of the hallway at

     17    Steuben.

     18         Q.    And does that diagram fairly and accurately depict the

     19    hallway and items in the hallway that you observed when you

     20    arrived on December 8, 2011?

     21         A.    Yes.

     22         Q.    Now, that diagram is not drawn to scale, correct,

     23    Detective?

     24         A.    Correct.

     25                      MR. REEVES:   Your Honor, with the understanding


                                               MMS
         Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 500 of 1061 PageID #: 695
           000498                                                                            29
                                      People - Det. Steneck - Direct/Reeves

-    ·         1         it is not drawn to scale, the People would offer 161 in

               2         evidence.

               3                      MS. GUASTELLA:   No objection.

               4                      THE COURT:    161 is marked in evidence.

               5                       (Whereupon, People's Exhibit 161 is received in

               6         evidence.)

               7                      THE COURT OFFICER:      So marked.

               8         Q.    Detective, if you could be kind enough to post that

               9    next to you on the easel.       Thank you.

              10               Detective, before we talk about that, what I'd like to

              11    do is just show you the next two sketches, which would be

             12     People's 162 and 163 for identification.

- -           13               Do you recognize 162 for identification?

             14          A.    Yes.

              15         Q.    What do you recognize that to be?

             16          A.    The basic layout of the Apartment 7L at Steuben

              17    Street.

              18         Q.    And does that fairly and accurately depict Apartment

              19    7L at 195 Steuben Street the way you saw it when you arrived on

             20     December 8, 2011?

             21          A.    Yes.

             22          Q.    And, again, that's not drawn to scale, correct?

             23          A.    Correct.

             24                       MR. REEVES:   With that understanding,     People
.-
             25          offer 162, your Honor.


                                                        MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 501 of 1061 PageID #: 696
  000499                                                                            30
                             People - Det. Steneck - Direct/Reeves

      1                      MS. GUASTELLA:     No objection.

      2                      THE COURT:    Okay .   This is, I'm sorry, 162,

      3         right?

      4                      MR. REEVES:    162.

      5                      THE COURT:    In evidence.

      6                       (Whereupon, People's Exhibit 162 is received in

      7         evidence.)

      8                      THE COURT OFFICER:       So marked.

      9                      MR. REEVES:    If we can show the detective the

     10         last sketch.

     11         Q.    Det. Steneck, do you recognize that diagram, 163 for

     12    identification?

     13         A.    Yes.

     14         Q.    What is that?

     15         A.    This was a layout of the wooded area that I responded

     16    to after responding to Steuben Street.

     17         Q.    And does that diagram fairly and accurately depict the

     18    wooded area outside of 195 Steuben as you observed it when you

     19    arrived?

     20         A.    Yes.

     21         Q.    It's not drawn to scale, correct?

     22         A.    Not to scale.

     23                      MR. REEVES:    Your Honor, with that understanding,

    24          People would offer 163 in evidence at this time.

    25                       MS. GUASTELLA:     No objection, Judge.


                                                MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 502 of 1061 PageID #: 697
  000500                                                                              31
                             People - Det. Steneck - Direct/Reeves

      1                       THE COURT:     163 is marked in evidence.

      2                       (Whereupon, People's Exhibit 163 is received in

      3         evidence.)

      4                       THE COURT OFFICER:       So marked.

      5         Q.    Detective, what I'm going to do is ask you to take the

      6    photos and I'm going to display them on the monitor.           And if

      7    you could, just describe to the jury what they're looking at in

      8    People's 1.       What is this?

      9         A.    That's just a photograph of my case folder.          We do

     10    that on every job, take a photo of the case folder in case

     11    there is a mix-up with the photographs.

     12         Q.    Now, what I'd like to do is show you People's 2.             What

     13    is that a picture of?

     14         A.    That's the front of 195 Steuben Street.

     15         Q.    And, Det. Steneck, when you and Det. Angst arrived on

     16    December 8, 2011, did you take note of the air temperature

     17    outside?

     18         A.    Yes.

     19         Q.    What was the air temperature when you and Det. Angst

     20    arrived around 3:00 in the afternoon?

     21         A.    It was approximately 45 degrees.

     22         Q.    That's 45 Fahrenheit?

     23         A.    Yes.

     24         Q.    Thank you.

     25               People's 3, what are we looking at in People's 3?


                                                 MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 503 of 1061 PageID #: 698
  000501                                                                            32
                           People - Det. Steneck - Direct/Reeves

      1         A.    That's the 7th floor hallway of that Steuben Street,

      2    195 Steuben Street.

      3         Q.    Now, I'm going to ask you some questions about each of

      4    the photos.

      5               In People's 3, can you tell us what is in the

      6    foreground to the left side of the photo?

      7         A.    Those were pieces of skull fragment.        The victim was

      8    at the far end of the hallway.

      9         Q.    When you say "the far end," that would be at the

     10    opposite end of the hallway?

     11         A.    Yes, sir.

     12         Q.    Now, you have the diagram next to you.         Could you

     13    just, if you don't mind -- and I hate to have people like a

     14    tennis match       but just show us where on the diagram People's

     15    161, where were you standing when you took this photo.

     16         A.    I was standing down here.

     17         Q.    Okay.   And the camera was pointed in what direction?

     18         A.    This direction.

     19         Q.    Thank you.

     20               People's 4, what is this a picture of?

     21         A.    I'm sorry?

     22         Q.    This is People's 4.     What is this a picture of?

     23         A.    This was the same picture.       I just stepped forward

     24    down the hallway, a little closer to the victim.

     25         Q.    People's 5, what is that a picture of?


                                               MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 504 of 1061 PageID #: 699
  000502                                                                            33
                             People - Det. Steneck - Direct/Reeves

      1         A.    This is an opposite view .     That was me standing down

      2    towards where the victim was, back towards the other end of the

      3    hallway.

      4         Q.    So, in this picture, what apartment are you standing

      5    in front of when you take it?

      6         A.    I'm standing in front of 71.

      7         Q.    This is People's 6 .     What is this a picture of?

      8         A.    I'm standing in front of Apartment 71 with the victim

      9    pointing back down the hallway.

    10          Q.    Now, to the right side of the photo there appears to

    11     be a white piece of paper.        Can you tell me what that is?

    12          A.    That's an evidence marker.

    13          Q.    And there appear to be in the middle of the photograph

    14     several cups.      Can you tell me what those are?

    15          A.    Those are more pieces of the skull fragment.

    16          Q.    Did you ever learn the name of the victim?

    17          A.    I did get the pedigree on the victim, yes.

    18          Q.    What was his name?

    19          A.    I got David Williams.

    20          Q.    The next photo, People's 6 -- I'm sorry, People's 7,

    21     what is this a picture of?

    22          A.    That's looking north towards 71, an overview.

    23          Q.    So now we're back at the other end of the hallway?

    24          A.    Yes.

    25          Q.    Incidentally, how do you get on or off the floors in


                                               MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 505 of 1061 PageID #: 700
  000503                                                                            34
                             People - Det. Steneck - Direct/Reeves

      1    this apartment building?      Are there stairs or elevators or

      2    both?

      3          A.   Elevators and stairs.

      4          Q.   Where were the stairs located?

      5          A.   The stairs are near where the cups were placed on the

      6    floor, in that photograph.

      7          Q.   Did you also mark the stairs on your sketch?

      8          A.   Yes.

      9          Q.   And are they clearly labeled?

     10          A.   Yes.

     11          Q.   Thank you.    Could you just use the pointer.        You don't

     12    have to get up.      Just use the pointer and show us where the

     13    stairs are.

     14          A.   (Indicating.)

     15          Q.   Where is the elevator located?

     16          A.   You have to go back through these doors.         The elevator

     17    isn't in the sketch.

     18          Q.   Thank you.

     19               The next photo, People's 8, can you tell us what this

     20    is?

     21          A.   Those are pieces of skull fragment on the ground.

     22          Q.   Now, did you have an opportunity to measure the

     23    distance that the skull fragments were from the body of David

    24     Williams which was in front of Apartment 7L?

     25          A.   Yes.    The skull fragments in front of the stairwell,


                                               MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 506 of 1061 PageID #: 701
  000504                                                                            35
                             People - Det. Steneck - Direct/Reeves

      1    7B door, the furthest I marked as 76'8'' south of the

      2    complainant victim's head.

      3         Q.    People's 9, can you tell us what that's a picture of?

      4    You can use the photos in front of you, too, if you need to.

      5         A.    That's the 7th floor hallway from where I was

      6    standing, in front of the Apartment 7H showing evidence 1 --

      7    evidence marker 1.

      8         Q.    And can you tell us what evidence marker 1 was?

      9         A.    Evidence marker 1 was a deformed bullet.

    10          Q.    I am going to switch photos.       This is People's 10.

     11    What is that a photo of?

     12         A.    Let me see.    That's back towards the elevator door,

     13    from marker 1.

     14         Q.    Okay.    So, where on -- if we use the diagrams as a

     15    reference point, where would you be standing when you take this

     16    photo?

    17          A.    About here.    Going back that way.

     18         Q.    Indicating the center of the photo, towards the bottom

    19     of the photo, Detective?

    20          A.    Yes.

    21          Q.    Thank you.

    22                Now, we've removed People's 11.

    23                This is now People's 12.       What does this show?

    24          A.    This is a photo of the victim showing marker 2.

    25          Q.    Now, Detective, when you arrived at the scene, was the


                                               MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 507 of 1061 PageID #: 702
  000505                                                                            36
                              People - Det. Steneck - Direct/Reeves

      1    scene safeguarded or secured in any way?

      2         A.     Yes.

      3         Q.     How was it safeguarded or secured?

      4         A.     By uniform police officer.

      5         Q.     And were there any other other than -- Were there any

      6    uniformed police officers present on the 7th floor when you and

      7    Det. Angst arrived?

      8         A.     Yes.

      9         Q.     Were there any civilians walking through the crime

     10    scene, either from Apartment 7L to the end of the hallway where

     11    the elevators were?

     12         A.     No.

     13         Q.     Did you have an opportunity to examine Mr. Williams'

     14    body at any point in time when you and Det. Angst were present?

     15         A.     Yes.

     16         Q.     Did he appear to have any recent injuries to his body?

     17         A.     Yes.

     18         Q.     Where were his injuries, best you can recall?

     19         A.     The best I recall was through the arm, through the

    20     upper torso, and also through the head.

     21         Q.     This is People's 13.    Can you tell us what you're

     22    looking at in People's 13?

    23          A.     That's a close-up of the evidence that was present at

    24     marker 1.     I t 's a deformed bullet with copper jacketing.

    25          Q.     And, Detect i ve, on your sketch, which is in evidence


                                               MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 508 of 1061 PageID #: 703
  000506                                                                            37
                             People - Det. Steneck - Direct/Reeves

      1    as 161, where on your sketch is that piece of evidence located?

      2         A.    Right there.

      3         Q.    So, that's in the middle of the hallway towards the

      4    middle of the sketch, Detective?

      5         A.    Yeah, approximately.

      6         Q.    Now, when you label        when you collect evidence, do

      7    you label it in any specific way?

      8         A.    I label it with a marker with a scale and I throw it

      9    in a package and I'll label that package.

     10         Q.    Now, in this particular case, the bullet that you

     11    found in the middle of the hallway, the deformed bullet you

     12    found in the middle of the hallway, did you give that a

     13    designation so you can refer to it later on?

     14         A.    I marked it RSl.

     15         Q.    What does "RS" stand for?

     16         A.    My initials.

     17         Q.    Now, when you mark it "l," do you give any

     18    significance to what that piece of evidence means in the

     19    overall context of your investigation, or is there a reason you

     20    marked it l?

     21         A.    No.    It was the first piece of evidence I collected.

     22         Q.    And the item in the photograph, there seems to be an

     23    item on top of or next to it.        The lower one is a scale that

     24    we've been talking about, correct?

     25         A.    Yes.


                                               MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 509 of 1061 PageID #: 704
  000507                                                                             38
                           People - Det. Steneck - Direct/Reeves

      1         Q.     And what is the upper item in that photograph?

      2         A.     That's just a marker.

      3         Q.     Now, did you have an opportunity to measure from

      4    Mr. Williams' body where this bullet was?

      5         A.     I did measure the bullet.      I don't believe it was from

      6    his body.     I usually use two fixed points at a location,

      7    because his body will be removed.         So, measuring evidence is

      8    more for reconstruction purposes at a later date, so we usually

      9    use two fixed points, so I didn't measure from his body that

     10    piece of evidence.

     11         Q.     That's fine.   Can you tell us where you measured from

     12    and how far the bullet that was marked as RSl was found?

     13         A.     I measured it south of the north hallway wall, and I

     14    measured it east of the west hallway wall.

     15         Q.     Can you use the sketch to show us where those two

     16    reference points were.

     17         A.     I measured it from south of the north hallway wall,

     18    which would be approximately where Apartment 7L is.           That was

     19    approximately 36'2".

     20         Q.     Okay.

     21         A.     And east of the west wall, so I went in this

     22    direction, from here to here.        It was approximately 2'5".

     23         Q.     Thank you, Detective.

     24                Can you move on to the next photo, People's 14.         Can

     25    you tell us what we're looking at in People's 14?


                                               MMS
     Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 510 of 1061 PageID #: 705
       000508                                                                             39
                                People - Det. Steneck - Direct/Reeves


--         1         A.    I have written down possible skull fragments south of

           2    Apartment 7N entry door with scales.

           3         Q.    Approximately how far or where were these located, and

           4    what did use for reference points?

           5         A.    These I just measured from furthest to closest to the

           6    victim, because I didn't collect these.         These will be taken by

           7    other authorities from the OME office.         I measured these.

           8    These two were approximately in front of the 7B stairwell door.

           9    So, these I measured from the complainant victim's head.            Like

          10    I said, they were just approximate measurements.           They are not

          11    evidence that I collected, so they're not from fixed points.

          12         Q.    How far from David's head were these skull fragments

-         13

          14
                found?

                     A.    These two pieces approximately 76'8" and one was 75'1"

          15    from his head.

          16         Q.    And the next photo, what is this a picture of?

          17         A.    Those are three more pieces of possible skull

          18    fragments.

          19                     THE COURT:    I'm sorry.    What number is this?

          20                     MR. REEVES:    This is People's I believe it's 15,

          21         your Honor.

          22         Q.    How close to Mr. Williams' body did you find these

          23    skull fragments?

          24         A.    The furthest I have down is 13'10" from his head, and

--        25    I have approximately 12'2", and approximately 7 feet.


                                                    MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 511 of 1061 PageID #: 706
  000509                                                                             40
                           People - Det. Steneck - Direct/Reeves

      1         Q.    Thank you.

      2               Peop l e's 16, what is this a picture of?

      3         A.    That's another piece of skull fragment.

      4         Q.    Approximately how far from Mr. Williams' head was this

      5    found?

      6         A.    Approximately 3'11".

      7         Q.    People's 17, what is that a picture of?

      8         A.    That's a picture of RS2, a shell casing that I

      9    recovered at the location.

     10         Q.    Now, what is the difference between a shell casing and

     11    a deformed bullet?

     12         A.    A shell casing is what the bullet is ejected from in a

     13    firearm.    When somebody fires a firearm, the pin actually hits

     14    the primer in the shell casing, the gun powder inside that

     15    shell casing will force that bullet to explode out of the shell

     16    casing.    The bullet is what ejects out of the barrel and the

     17    shell casing will eject out of the slide of the firearm.            The

     18    shell casing doesn't actually fire towards the person, the

     19    bullet does.

     20         Q.    Can you show us on the diagram where you recovered the

     21    shell casing that you marked as RS2.

     22         A.    Right there.

     23         Q.    And that's closest to Apartment 7L?

    24          A.    Yeah, between 7L and 7M.

     25         Q.    Thank you.


                                               MMS
        Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 512 of 1061 PageID #: 707
          000510                                                                            41
                                   People - Det. Steneck - Direct/Reeves

              1               The next photo, I believe, is People's 21.         What's

              2    that a picture of?

              3          A.   That's the lower portion of the victim's body.

              4          Q.   Now, in the lower left-hand corner there seems to be a

              5    blue scale.    Can you tell us what piece of evidence that

              6    related to?

              7          A.   That related to RS2, the shell casing.

              8          Q.   Now, next photo is People's 23.       What is that a

              9    picture of?

             10          A.   That's a wound to the victim's inner left arm with a

             11    scale.

             12          Q.   People's 25, what's that a pi c ture of?
-   -        13          A.   That's a wound to the victim's left side of his -- of

             14    the body portion, not the arm, the one on the body.

             15          Q.   We will skip to People's 32.       What's that a picture

             16    of?

             17          A.   That's just a photograph of the victim's right hand

             18    with the tattoo.

             19          Q.   People's 33, what's that a picture of?

             20          A.   That's showing a wound to the victim's right arm on

             21    the inside.

             22          Q.   People's 34?

             23          A.   That's a wound to the victim's right arm, the outside

            24     of the arm.

-            25          Q.   People's 35, what's that a picture of?


                                                       MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 513 of 1061 PageID #: 708
  000511                                                                            42
                             People - Det. Steneck - Direct/Reeves

      1         A.     That's a wound to the victim's l e ft arm on the inside.

      2         Q.     People's 36?

      3         A.     That's a wound to the victim's left arm on the

      4    outside .

      5         Q.     People's 37 , what's that a picture of?

      6         A.     That's a wound to the victim's left side of his body,

      7    on the side.

      8         Q.     Now, before we talk about People's 38, what I'd like

      9    to do is ask you, how many weapons did you find by

    10     Mr. Williams' body?

     11         A.     No weapons .

     12         Q.     Now, People's 38, can you tell us what this is a

     13    picture of?

     14         A.     This is jus t a photograph of some blood spatter on the

     15    wall.

     16         Q.     Can you explain to the ladies and gentlemen what the

    17     term "blood spatter" means?

     18         A.     It's just when you -- when a bullet hits somebody, the

    19     blood shoots out, pretty much flies all over the place.

     20         Q.     Now, is there a difference -- Withdrawn.        Do you know

    21     what high velocity spatter is?

     22         A.     No.

    23          Q.     Can you tell us, did you have an opportunity to

    24     measure the spatter on the wall?

    25          A.     I just took approximate heights and lengths of it,


                                               MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 514 of 1061 PageID #: 709
  000512                                                                                43
                           People - Det. Steneck - Direct/Reeves

      1    very basic.

      2         Q.     Now, can you tell us in People's 38, the picture that

      3    we're looking at, can you tell us where Mr. Williams' head

      4    would have been located in that photo?

      5         A.     The blood spatter would have been in this area here

      6    between Apartment 7N and 7M.          So, the blood spatter was in this

      7    location.

      8         Q.     Okay.     The next series of photos --

      9                        THE COURT:    Perhaps before we get to the next

     10         series we should break for lunch.           Is that all right?

     11                        MR. REEVES:    If I can just finish three related

     12         photos.

     13                        THE COURT:    That's fine.   My orders these days

     14         are break as close to five to one as possible, so I'll give

     15         you a minute or two.

     16         Q.     Det. Steneck, what is this photo a picture of?            This

     17    is People's 39.

     18         A.     This is an additional photo of the west wall of the

     19    7th floor hallway north of Apartment 7N, south of Apartment 7M.

     20         Q.     That's just measuring the height of the spatter?

     21         A.     Yes, it's just the other side of that spatter that was

     22    in the People's photo.

     23         Q.     People's 40?

     24         A.     Again, just an additional photo with the scale.

     25         Q.     And 41?


                                                 MMS
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 515 of 1061 PageID #: 710
      000513                                                                               44
                                   People - Det. Steneck - Direct/Reeves


-         1

          2
                    A.      An additional photo, but this time there's another --

               a ruler going across the top.

          3         Q.      And those rulers are in inches?

          4         A.      Yes.

          5         Q.      And, finally,   People's 42, what is that a picture of?

          6         A.      Again, additional of the spatter, just the rulers

          7    brought down to the center of the -- the height ruler.

          8         Q.      And the spatter was found on the wall which would be

          9    to the right of Mr. Williams' head?

         10         A.      Yes, the west wall.

         11                        MR. REEVES:    Your Honor, we can stop at People's

         12         43 and break for lunch if that's good for the Court.

         13                        THE COURT:    I couldn't hear you.

         14                        MR. REEVES:    We can stop now.

         15                        THE COURT:    Good.    Okay.   We'll break for lunch.

         16                        Members of the jury, we will ask you to be back

         17         in the jury room at 2 p.m.           We'll bring you back and resume

         18         then.

         19                        Remember the rules, I won't repeat them.       You

         20         just heard them earlier:         Don't discuss the case, and so

         21         on.

         22                        Just leave your notebooks.       We'll lock them up,

         23         nobody reads them, and we'll give them back to you at 2:00.

         24                        Thank you.    Have a good lunch.

         25                         (Whereupon, the jury exits the courtroom.)


                                                     MMS
        Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 516 of 1061 PageID #: 711
          000514                                                                            45
                                   People - Det. Steneck - Direct/Reeves

              1                    THE COURT:    All right.     The jury has left.

              2         2 p.m.?

              3                    MR. REEVES:     Yes, your Honor.

              4                    THE COURT:     Thank you.

              5                     (Witness excused.)

              6                     (Whereupon, a luncheon recess is taken, after

              7         which Tammy Rodriguez replaces Maurizia Selleck as the

              8         official court reporter.)

              9                     (Continued on next page.)

            10

             11

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-           13

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-   -
            25



                                                       MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 517 of 1061 PageID #: 712
  000515                                                                              46
                              Detecti ve Steneck - Di rect - Reeves

       1                      THE COURT OFFICER :      Jury entering .

       2                        (At t h i s time the j ury enters the courtroom.)

       3                      THE COURT OFFICER:       Both sides stipulate to the

       4         presence o f a compl ete jury panel, properly seated?

       5                      MR. REEVES:     Gentleman.

       6                      MS. GUAS TELLA:    So st i pulated.

       7                      THE COURT:    Th i s i s continued direct examination

       8         of Detective Steneck.

       9   DIRECT EXAM I NATI ON

     10    BY   MR. REEVES:

      11         Q.   Good a f ternoon Detective Steneck?

      12         A.   Good a f ternoon.

      13         Q.   I be li eve we were about to talk about People's 43 .

      14   Tel l the j ury what they're looking at in this photo?

     15          A.   That's the front of the apartment 7 L.

     16          Q.   And Peop l e's 44, what is this a picture of?

     17          A.   That's from the front entrance of apartment 7 L.

     18    looking i ns i de.

     19          Q.   People's 45, what 's that a picture of?

      20         A.   A pho t ograph of the door jam of apartment 7 L .

      21         Q.   We're going to talk about that in a little bit.           Is

     22    there anyth i ng un i que or unusual about the door jam inside the

     23    apartment when you observed i t on December 8 , 2011?

     24          A.   In th i s particular picture?

     25          Q.   No, in general?


                                                  TR
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 518 of 1061 PageID #: 713
  000516                                                                            47
                              Detective Steneck - Direct - Reeves

       1        A.    In general, I usually photograph because if I didn't

       2   see any damage or any evidence of forced entry, I usually look

       3   for damage in the door jam that's why I photographed it.

       4        Q.    You didn't see any damage from the door jam?

       5        A.    No.

       6        Q.    Thank you, Detective .

       7              People's 46, what is that a picture of?

       8        A.    The door lock assembly on apartment 7 L.

       9        Q.    No visible damage when you got there?

      10        A.    It was in tact.     It wasn't damaged.

      11        Q.    47, what is that a picture of?

      12        A.    That is from the inside of the apartment looking back

      13   at the apartment entry door, apartment 7 L .

      14        Q.    That child's toys just the opposite view of the

      15   photographs that we saw earlier?

      16        A.    Yes .

      17        Q.    Tell me what 48 is?

      18        A.    That's an overview of the kitchen area.

     19         Q.    49?

     20         A.    That's from inside the kitchen looking back out.

     21         Q.    Now just to help us with that, if you could, I would

     22    like you to take down the sketch that's 161.

     23               If we can put up 162 in evidence.        For the next series

     24    of photos, I would like you to refer to the sketch that's in

     25    evidence as 162 when you talk about the photos.


                                                TR
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 519 of 1061 PageID #: 714
  000517                                                                            48
                              Detective Steneck - Direct - Reeves

       1              While you're standing, can you just show us on that

       2   diagram where the entrance to the apartment is?

       3        A.    Right here.

       4        Q.    The child 's play things, toys that we were talking

       5   about, where is that in the sketch?

       6        A.    About here.

       7        Q.    Indicating the center to the left side of that

       8   diagram.    Thank you, Detective .        Take a seat.

       9              This is now People 's 50, what's that a picture of?

     10         A.    That's from when he came into the apartment, the entry

     11    area looking into the living room.

     12         Q.    The living room area is depicted in your sketch on the

     13    lower right hand corner?

     14         A.    Yes .

     15         Q.    51, what does that show?

     16         A.    That 's an opposite view of the photograph that I took

     17    deeper inside the living room back to wards the entry door.

     18         Q.    People's 52, what is that a picture of?

     19         A.    Additional view of the living room.

     20         Q.    53?

     21         A.    Again, another additional view of the living room.

     22         Q.    Detective Steneck, when you are processing a crime

     23    scene why do you take all these pictures?

     24         A.    It 's part of procedure when you go to a crime scene.

     25         Q.    Now once the scene has been released to the public,


                                                TR
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 520 of 1061 PageID #: 715
  000518                                                                            49
                              Detective Steneck - Direct - Reeves

      1    would it be significant for to you go back in and take more

       2   pictures, or is it best to take all the pictures while you're at

      3    the scene?

       4        A.    We only photograph when the crime scene is secure.

       5   Once we leave it's up to the detective's squad to determine when

       6   they're going to release the crime scene.

       7        Q.    When you're processing the scene, when you talked

       8   about earlier doing a wa lkthrough , do you also talk to the case

       9   detective to get a feel from them of why or what you're

     10    assisting with?

     11         A.    They ' ll give us preliminary information that they have

     12    as far as why they requested us.

     13         Q.    Sometimes early on in the investigation the detectives

     14    themselves don't know what they have, correct?

     15         A.    Correct.

     16         Q.    So you would take more pictures rather than less?

     17         A.    Yes .

     18         Q.    Okay.    In the pictures that you're taking in the

     19    living room you as the crime scene detective have no idea what

     20    is or is not of any significance in these photos, correct?

     21         A.    Things that are pointed out like bullets I know are

     22    significant, but there could be other things that arise in the

     23    investigat i on that may become significant.

     24         Q.    Now People's 54, can you tell the jury what a misfire

     25    is when you're taking a photo?


                                               TR
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 521 of 1061 PageID #: 716
  000519                                                                            50
                               Detective Steneck - Direct - Reeves

       1        A.     A blurry picture.    Sometimes I shut the flash off when

       2   I'm in the middle of something, and then I forget to turn it

       3   back on the shutter s l ows down so I take another photo.

       4        Q.     People 's 54 is an example of a misfire?

       5        A.     Yes .

       6        Q.     People's 55 what's that a picture of?

       7        A.     An additional picture of that misfire.

       8        Q.     Now again, as you're taking the photos on December 8,

       9   2011, you don't have any idea whether or not anything in this

      10   photo would be relevant later on, correct?

      11        A.     Correct.

      12        Q.     People's 56, what is that I a picture of?

      13        A.     That's just the additional        the back corner of the

      14   living room.

      15        Q.     People's 57?

      16        A.     That 's j ust the hallway leading to the bathroom.

      17        Q.     58, what's that a picture of?

      18        A.     That 's an opposite view of that hallway from the

      19   bathroom.     Now going back towards -- looks like the kitchen

      20   area.

      21        Q.     Tell me what People's 59 is?

      22        A.     Just an overview of the bathroom.

      23        Q.     People 's 60?

      24        A.     An additional view of the bathroom.

      25        Q.     People's 61?


                                                TR
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 522 of 1061 PageID #: 717
  000520                                                                            51
                            Detective Steneck - Direct - Reeves

       1        A.    That's from the hallway into the bedroom.

       2        Q.    62, what is that a picture of?

       3        A.    Just an additional view of the bedroom.

       4        Q.    63?

       5        A.    Another additional view of the bedroom.

       6        Q.    64?

       7        A.    Again, an additional view of the bedroom.

       8        Q.    65?

       9        A.    Additional view of the bedroom.

      10        Q.    Show us on the diagram that's in evidence as People's

      11   162, where the bedroom was located?

      12              The upper right hand corner?

      13        A.    The northeast corner of the diagram.

      14        Q.    What's People's 66?

      15        A.    Just another view of the bedroom that I couldn't get

      16   in the other overall, so I took an additional.

      17        Q.    67?

      18        A.    Again an additional of the bedroom.

      19        Q.    68, wha t 's that a picture of?

      20        A.    Towards the floor in the entry area of the apartment

      21   just outside the kitchen and just east of the entry door into

      22   the apartment.

      23        Q.    Now on the floor you can see by the left shoe there

      24   appears to be a glass or a cup, can you explain to the jury what

      25   that glass or cup was doing on the floor by the shoes?


                                                TR
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 523 of 1061 PageID #: 718
  000521                                                                            52
                             Detective Steneck - Direct - Reeves

       1        A.    Originally i t was placed over a deformed bullet to

       2   protect it from being kicked around.

       3        Q.    What's People's 69?

       4        A.    That's an additional view of that area with now marker

       5   label 3, and blue scale.

       6        Q.    The blue scale is something that you placed?

       7        A.    Yes.    I placed the marker on the blue scale.

       8        Q.    People's 70, what is that a picture of?

       9        A.    It's j ust another view, an additional view of that

      10   area with marker 3 towards the front entry of apartment 7 L.

      11        Q.    Now,   I want to talk to you about People 's 71, if I

      12   could.

      13              Can you tell us what we're looking at in that photo?

      14        A.    That 's deformed bullet with copper jacketing.

      15        Q.    Now we earlier talked about a deformed copper jacket

      16   bullet in the hallway, is this the same or different bullet?

      17        A.    Different .

      18        Q.    Can you tell us what you did with People's 71 the

      19   bullet that's shown in that photo what did you do with that?

      20        A.    I photographed it.      I measured it , packaged it , and

      21   handed it over to the invoicing officer.

      22        Q.    What's People's 72?

     23         A.    That is in the hallway again.       Possible blood swab, an

     24    area that I swabbed.

     25         Q.    Now, is that photograph, People 's 72 in evidence, if


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 524 of 1061 PageID #: 719
  000522                                                                            53
                            Detective Steneck - Direct - Reeves

       1   you're facing apartment 7 L., is that on the right or the left?

       2   If you need we can put 161 back up for you.

       3        A.    No that's fine.

       4              If I'm looking at RS 41, would be facing westbound.

       5   So apartment 7 L . wou l d be to my right.

       6        Q.    Now you indicated that you took a swab, what does that

       7   mean?

       8        A.    It just means that I took a sample of it .        Take a

       9   swab, put a little distilled water on it, take a sample, put it

     10    into an envelope, and forward it.

      11        Q.    Where does it get forwarded to?

      12        A.    In thi s case -- it's a case by case basis.         In this

      13   case it was to the Property Clerk.

      14        Q.    Detective, take a look at People's 73, what is that a

     15    picture o f ?

      16        A.    A close up view of that same area.

     17         Q.    I s this on the hallway outside of the apartment?

     18         A.    Yes, the west wall.

     19         Q.    Where i s this in relationship -- before when we talked

     20    about the b l ood spatter and we had the rulers or the tape

     21    measures, do you recall where in relationship to that blood

     22    spatter was RS 41?

     23         A.    That was just south of the spatter.        The spatter was

     24    closer to the apartment 7 L.

     25         Q.    So thi s is a little further away from where David


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 525 of 1061 PageID #: 720
  000523                                                                            54
                             Detective Steneck - Direct - Reeves

       1   Williams was?

       2        A.    Yes.

       3        Q.    People's 74 what is that?

       4        A.    A misfire.

       5        Q.    We' ll show you People's 75, what is that a picture of?

       6        A.    Towards a bin mark on apartment 7 M. on the door frame

       7   door jam area.

       8        Q.    Would you take a moment and explain to the jury what a

       9   bullet impact mark is or BIM mark?

     10         A.    A BIM mark is -- it's just an indentation in a wall or

     11    any kind of surface, concrete , depending where the bullet hit

     12    and leaves a mark.

     13         Q.    Now, the previous photos where we showed have what

     14    appeared to be biologi cal matter on the wall, is that in this

     15    picture as well?

     16         A.    Yes.

     17         Q.    On the right hand side of this photograph is the

     18    biological maternal you took a swab of?

     19         A.    Yes.

     20         Q.    Where the b lue ruler is or scale is in this photo is

      21   that where the bullet impact mark is?

      22        A.    This is apartment 7 M. I believe that area there

     23    wasn't the area that I swabbed.           I believe the area was south of

     24    apartment 7 M. so I don't believe that was the area that I

      25   swabbed.


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 526 of 1061 PageID #: 721
  000524                                                                            55
                              Detective Steneck - Direct - Reeves

      1         Q.    So this is a different

      2         A.    That was a part of the blood spatter area showed

      3    earlier.

       4        Q.    Thank you.

       5              Where the blue scale is shown on this photo is

       6   something that you designated as a bullet impact mark?

       7        A.    Yes .

       8        Q.    We'll talk about that.

       9              People's 76 the scale has written on it BIM 1, can you

     10    explain to the jury what that is?

     11         A.    That's again just a ballistic impact mark that I

     12    marked number one on the door frame area of apartment 7 M.

     13         Q.    Now where in relationship was RS 1, the round that you

     14    recovered, relative to the bullet impact mark that you

     15    designated on the door jam here?

     16         A.    It was further south down the hallway further away

     17    from the victim , the bullet RS 1.

     18         Q.    Can we put 161, the diagram of the hallway up.

     19               What I would like to you do is, if we can hand you a

     20    red marker, I would like you to circle bullet impact 1, and then

     21    circle RS 1 the deformed copper jacket.         Thank you.

     22               People's 77, what is that a photograph of?

     23         A.    Inside of apartment 7 L. looking inside the entry

     24    door.

     25         Q.    You ' ve take a photograph of bullet impact 1 in the


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 527 of 1061 PageID #: 722
  000525                                                                            56
                              Detective Steneck - Direct - Reeves

       1   hallway and going back int o the apartment 7 L?

       2        A.    Yes .

       3        Q.    Did you find a second bullet impact mark in s ide the

       4   apartment 7 L . at 195 Steuben Street on December 8, 2011?

       5        A.    Yes .

       6        Q.    I wou ld like to talk to you about that.

       7              Does this photo show that bullet impact mark that you

       8   designated number 2?

       9        A.    Yes .

     10         Q.    By cal ling them 1 and 2, you don't mean to infer that

     11    they occurred in that order or sequence?

     12         A.    Correct .

     13         Q.    That's j ust the order that you labeled them?

     14         A.    Ye s.

     15         Q.    How do you know that's a bullet impact mark?

     16         A.    Just from experience it was fresh paint that was

      17   chipped in the wa ll and the location of the deformed bullet on

     18    the ground.

     19         Q.    The same question for bullet impact 1 , how did you

     20    know?

     21         A.    It was a fre sh mark in the door and the location of it

     22    in regards to the victim and the deformed bullet that was found

     23    on the ground.

     24         Q.    Did you have an opportunity to measure the height off

     25    the floor of bullet impact 1 in the hallway?


                                                TR
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 528 of 1061 PageID #: 723
  000526                                                                            57
                             Detective Steneck - Direct - Reeves

       1        A.    Yes.

       2        Q.    What was the height off the ground of bullet impact

       3   mark 1?

       4        A.    Approximately 4 feet 6 inches up from the ground.

       5        Q.    The same question , this bullet impact mark that's

       6   being displayed to the jury number 2, what was the height off

       7   the ground of bullet impact mark 2?

       8        A.    Approximately 4 feet 1 inch up from the ground.

       9        Q.    I show you People 's 79, what is that a picture of?

     10         A.    Th a t 's a picture of the wall in the hallway just

     11    opposite the entry door of the apartment 7 L.

     12         Q.    People's 80, what is that a picture of?

     13         A.    That's just an area I swabbed that could possibly have

     14    been blood on that same wall that was shown in the prior

     15    picture.

     16         Q.    That's inside of the apartment, correct?

     17         A.    Yes.

     18         Q.    People 's 81, what does that show?

     19         A.    That 's a cell phone that was in the living room of

     20    apartment 7 L . on the couch.

     21         Q.    Now the next ser i es of photos, can you tell me what is

     22    shown in People's 82?

     23         A.    This was something that I designated as going to be RS

     24    6, a possible latent print on the wall, on the west wall of the

     25    hallway just south of the stairwell 7 B. the door, the exit door


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 529 of 1061 PageID #: 724
  000527                                                                            58
                              Detective Steneck - Direct - Reeves

      1    sta irwell 7 B.

       2        Q.    Would you explain to the jury what a latent print is?

       3        A.    Would be something, a fingerprint that possibly

       4   somebody had their hands in oil or blood and touched that

       5   substance that substance leaves an image of their fingerprint of

       6   their fingers.

       7        Q.    Now , when you take a photograph you don't know it's a

       8   latent print as you take the photo?

       9        A.    No , I take examination quality photos to enhance the

     10    ridge detail if there is any.

     11         Q.    The next series 83, is that the same photo?

     12         A.    Just additional photos with additional lighting from

      13   the camera.

     14         Q.    84 is the same with the scale?

     15         A.    Yes .

     16         Q.    85 is over exp osed picture?

     17         A.    Yes .

     18         Q.    86 picture?

     19         A.    Additional.

     20         Q.    Finally 87, we got the lighting right we took a good

     21    photo of the scale?

     22         A.    Yes .

     23         Q.    86, what is that a picture of?

     24         A.    That 's a picture of the hallway floor just in front of

     25    the apartment 7 L .


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 530 of 1061 PageID #: 725
  000528                                                                            59
                              Detective Steneck - Direct - Reeves

       1        Q.    Now, Detective Steneck, the period of time that you

       2   spend processing the scene did anything happen with Mr.

       3   Williams' body in the hallway whi le you were photographing

       4   inside the apartment 7 L?

       5        A.    The ME's office came and removed the body.

       6        Q.    In addition to removing the body was permission given

       7   to the super intendent or a member of the staff of the building

       8   to clean the hallway floor?

       9        A.    Yes.

     10         Q.    When you left the apartment after finishing did you

      11   learn where David Williams lived in that building?

     12         A.    I believe it was apartment 7 L.

     13         Q.    When you finished processing 7 L. and came out, was

      14   the hallway floor cleaned?

     15         A.    Yes .

     16         Q.    Did you have an opportunity to look for bullet impact

     17    marks on the floor?

     18         A.    Yes.

     19         Q.    People 's 88, do see in the hallway, is that where Mr.

     20    William's body had previously been?

     21         A.    Yes .

     22         Q.    When the body was removed, and the hallway was clean,

     23    did you see any bullet impact on the floor?

     24         A.    Yes .

     25         Q.    The impact marks displayed or impact mark displayed


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 531 of 1061 PageID #: 726
  000529                                                                            60
                             Detective Steneck - Direct - Reeves

       1   with the scale in this photo?

       2        A.    Yes.

       3        Q.    I show you People's 89, what is that a picture of?

       4        A.    Close up of the same location .

       5        Q.    What's depicted in that photo?

       6        A.    It 's marked ballistic impact mark 3.

       7        Q.    Again you don't imply any sequence of events, this i s

       8   just a clear bullet impact mark that you found on December 8,

       9   2011?

     10         A.    Yes.

     11         Q.    Again, how do you know that's a bullet impact mark?

     12         A.    Just from responding t o hundreds of shootings over

     13    time you get expertise in it.        I've taken numerous advanced

     14    shooting courses.      I 've been trained.

     15         Q.    Where was this mark, Mr. Williams body relative to the

     16    impact mark that you labeled number 3?

     17         A.    His body was on top .

     18         Q.    What part of his body was on top?

     19         A.    Approximately where his head was laying.

     20         Q.    Now, what I would like to do if I could shift gears to

     21    talk to you about the second part of the job that you did on

     22    December 8, 2011, what we've talked about so far, all happened

     23    inside of 195 Steuben?

     24         A.    Yes.

     25         Q.    Did you have an opportunity to leave 195 Steuben later


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 532 of 1061 PageID #: 727
  000530                                                                            61
                               Detective Steneck - Direct - Reeves

      1    on in the evening of December 8, 2011 to assist in processing

       2   the scene outside?

       3        A.     Yes.

       4        Q.     What I would like if you could is post 163 that

       5   diagram .

       6               While you were processing inside of 195 Steuben up on

       7   the 7th floor , did you become aware of things that had happened

       8   outside of the building by speaking to other members of the New

       9   York City Police Department?

     10         A.     Yes.

     11         Q.     As a result of those conversations, were you asked to

     12    help process a scene outside of the building?

     13         A.     Ye s.

     14         Q.     Can you tell us in People's 163 in evidence what that

     15    sketch is meant to represent?

     16         A.     That sketch I was requested to go to Pierce Street and

     17    Mosel Avenue that sketch represents a wooded area at that

     18    intersection along the Staten Island Expressway and Narrows Road

     19    North.

     20         Q.     I think I asked you, that's not drawn to scale?

     21         A.     Correct.

     22         Q.     Where would 195 Steuben be the top or bottom of that

     23    chart that you've drawn?

     24         A.     I was up towards the top.

     25         Q.     Now, I 'm go i ng to show you the next series of photos


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 533 of 1061 PageID #: 728
  000531                                                                            62
                             Detective Steneck - Direct - Reeves

       1   People's 90, what is that the intersection of what two streets?

       2        A.    Pierce Street and Mosel Avenue .

       3        Q.    People's 91 , what is that a picture of?

       4        A.    That is looking down Pierce Street from Mosel Avenue.

       5        Q.    Now by the time you had finished processing the inside

       6   of 195 Steuben on the 7th floor it had gotten dark out?

       7        A.    Yes.

       8        Q.    The second photo that I showed you was taken during

       9   the daytime of the . outside of the building?

     10         A.    The very first after the case folder, yes.

     11         Q.    Approximately how long did it take you to process the

     12    inside of the building?

     13         A.    I would say we responded to the second location

     14    approxima tely 11 o ' clock at night.

     15         Q.    People 's 92, what is that a picture of?

     16         A.    That's looking back at the intersection, the first

     17    picture that was taken at the scene.

     18         Q.    People's 93?

     19         A.    That's now going towards the wooded area along the

     20    retaining wall.

     21         Q.    Now when you went outside to process the second scene

     22    were any other units from the New York City Police Department

     23    there to assist you in aiding with artificial light or anything

     24    of that nature?

     25         A.    Yes the Emergency Service Unit .


                                                TR
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 534 of 1061 PageID #: 729
  000532                                                                            63
                            Detective Steneck - Direct - Reeves

       1        Q.    What services did Emergency Service Unit provide to

       2   assist you to do your job?

       3        A.    They provided additional lighting in the wooded area.

       4        Q.    People 's 94, what is that a picture of?

       5        A.    Again the wooded area.         It's opposite view of the last

       6   photo.

       7        Q.    95, what does that show?

       8        A.    That 's the wooded area again headed closer towards the

       9   ESU li ght .

      10        Q.    Now the object that's on the left hand side of the

      11   photo, cart you tell us what that object is?

      12        A.    I just document it as a retaining wall, the wall

      13   between the wooded area and the highway.

      14        Q.    People's 96, what does that show?

      15        A.    Opposite view of the previous photo.

      16        Q.    97?

      17        A.    It's further down the wooded path towards the light.

      18        Q.    98 wha t 's that?

      19        A.    That's a misfire .

      20        Q.    We'll go to 99, what does that show?

      21        A.    That's an opposite view of the two photographs before

      22   this.

      23        Q.    People's 100 , can you tell us what's shown in People's

      24   100 in evidence?

      25        A.    That 's the wooded area.       It shows a duffel bag that's


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 535 of 1061 PageID #: 730
  000533                                                                            64
                              Detective Steneck - Direct - Reeves

       1   in that wooded area.

       2        Q.    Now, is the duffel bag also shown on the diagram

       3   that's in evidence as People's 163?

       4        A.    Yes.

       5        Q.    If you could just take that red marker we gave you,

       6   and circle approximately where on People's 163 where the gray

       7   and black duffel bag was found.

       8              Thank you.

       9              People 's 101 what is that a picture of?

     10         A.    An additional view of the duffel bag in the wooded

      11   area.

     12         Q.    102 , what is that a picture of?

     13         A.    Opposite view showing that same duffel bag.

     14         Q.    103?

     15         A.    That 's just -- I went further down the path and took

     16    another additional view of the wooded path.

     17         Q.    People 's 104 another misfire?

     18         A.    Yeah , that's misfire.

     19         Q.    People's 105, what is that a picture of?

     20         A.    Close up v i ew of the duffel back that was found.

     21         Q.    That 's the duffel bag that appeared when you arrived

     22    at 11 o'c l ock in the evening on December 8, 2011?

     23         A.    Yes .

     24         Q.    People 's 106 , what is does that show?

     25         A.    It 's just a photograph looking into the duffel bag.


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 536 of 1061 PageID #: 731
  000534                                                                            65
                              Detective Steneck - Direct - Reeves

       1          Q.   Now was the duffel bag that was recovered brought

       2   anywhere to your knowledge?

       3          A.   Prior to me getting there?

       4          Q.   No.    After you took pictures of it, was it taken

       5   anywhere?

       6          A.   I recovered it .

       7          Q.   Where did you go with it?

       8          A.   I went to my crime scene truck.

       9          Q.   What was the purpose of bringing the duffel bag to

      10   the truck?

      11          A.   To itemize it carefully and go through it.

      12          Q.   Now, prior to you t aking it from the scene was it

      13   secured by any other police officers?

      14          A.   Yes.

      15          Q.   How was it secured?

      16          A.   Uniformed police officer that was there.

      17          Q.   Now, did you have an opportunity to go to the 120

      18   Precinct or to your truck to process the contents of the duffel

      19   bag?

      20          A.   Yes.    I processed it in my truck?

      21          Q.   We'll talk about that in a few minutes.

      22               First of all could you describe for the jury how large

      23   a bag are you talking about?

      24          A.   It was -- I can only give an approximation it was like

      25   a normal size duffel bag, pretty big.


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 537 of 1061 PageID #: 732
  000535                                                                            66
                              Detective Steneck - Direct - Reeves

       1         Q.   You had your hands apart three or four feet?

       2         A.   Four feet wide, by two feet high, by three or four

       3   feet long , approximately.

       4         Q.   In People's 107 you had an opportunity to take the

       5   contents of the bag out?

       6         A.   Yes .

       7         Q.   Let 's talk about that for a moment.       What's been shown

       8   in People's 107?

       9         A.   107 is a long black jacket that I marked RS 7.

     10          Q.   People's 108, what does that show?

      11         A.   That 's just the jacket turned over to the backside of

      12   it.

     13          Q.   People 's 109 , what does that show?

     14          A.   That 's a gray hooded zip up sweatshirt that I marked

     15    RS 8 .

     16          Q.   People 's 110?

     17          A.   That's that same RS 8 hooded sweatshirt.

     18          Q.   Did you have an opportunity to examine the hooded

     19    sweatshirt and the jacket that we just showed?

     20          A.   Whenever I photograph and document evidence I take

     21    information off of it.

     22          Q.   Do you recall what the size of the brown jacket was?

     23          A.   RS 7?

     24          Q.   Yes .

     25          A.   The brown long coat    I documented it as a 46 XL.


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 538 of 1061 PageID #: 733
 000536                                                                             67
                              Detective Steneck - Direct - Reeves

      1         Q.    Wha t about the sweatshirt?

      2         A.    RS 8 the gray hooded sweatshirt, 3 XL.

      3         Q.    People's 111 , what is that a picture of?

      4         A.    That is RS 9, which was a pink towel from inside the

      5    duffel bag.

       6        Q.    112 , what is that a picture of?

      7         A.    RS 10, a smaller pink hand towel recovered from inside

       8   the duffel bag.

       9        Q.    113 , wha t i s that a picture of?

     10         A.    That i s a black hooded sweatshirt that I marked RS 11

     11    that was recovered inside the duffel bag.

     12         Q.    Do you recall what the size of that sweatshirt was?

     13         A.    RS 11 I documented as 3 XL, written on the tag.

     14         Q.    114 , i s it just the back of the black sweatshirt?

     15         A.    Yes .

     16         Q.    What 's 115?

     17         A.    That i s an item that I marked RS 12, one black mask

     18    with eye ho l es that was recovered from inside the duffel bag.

     19         Q.    116 , what is that a picture of?

     20         A.    That was a black sock containing numerous bills inside

     21    that I marked RS 13.

     22         Q.    117, what does that show?

     23         A.    That i s evi dence marked RS 14, one black spade with

     24    yellow handle recovered from inside the duffel bag.

     25         Q.    118 , what does that show?


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       Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 539 of 1061 PageID #: 734
         000537                                                                            68
                                     Detective Steneck - Direct - Reeves

              1        A.    That is a black umbrella that I recovered inside the

              2   duffel bag marked, RS 15.

              3        Q.    119, what does that show?

              4        A.    Additional black umbrella that I marked RS 16.

              5        Q.    120?

              6        A.    That was on e white rope approximately 9 feet in length

              7   that I marked RS 1 7.

              8        Q.    121?

              9        A.    That i s a black glove with yellow trim, RS 18 that I

            10    recovered from inside the duffel back.

            11         Q.    How many black gloves with yellow trim did you

            12    recover?

-           13

            14
                       A.

                       Q.
                             I ~ust hav e one.

                             122, what is that a picture of?

            15         A.    122 is a CD player marked RS 19, a disk from inside

            16    that CD pJayer marked RS 19A, and head phones, RS 20 recovered

            17    from inside the duffle bag.

            18         Q.    123, what does that show?

            19         A.    That shows two white latex gloves marked RS 121 and

            20    122 that I recover e d from inside the duffel bag.

            21         Q.    Final l y People 's 124, what does that show?

            22         A.    That Js the actual duffel bag that I marked RS 23

            23    after all the cont e nts were removed.

            24         Q.    And 125, wha t is th at a picture of?
- --
            25         A.    Tha t   i s a Gatorade bottle inside the duffel back,


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 540 of 1061 PageID #: 735
  000538                                                                            69
                               Detective Steneck - Direct - Reeves

       1   marked RS 24.

       2          Q.   12 6, what does that show?

       3          A.   That i s the rifle that I recovered from inside the

       4   duffle bag marked RS 25.

       5          Q.   Now when you recovered the riffle from inside of the ·

       6   black and gray du ffel bag, was the rifle loaded?

       7          A.   Yes .

       8          Q.   Can you tell us, if you can recall, how it was loaded?

       9          A.   It had a magazine in the chamber and I'm sorry a

     10    maga zine in the firearm , and the live cartridge in the chamber.

     11           Q.   Did you or any other members of the New York City

     12    Police Department make the weapon safe?

     13           A.   Yes .

     14           Q.   Do you recall who did that?

     15           A.   That was ESU on the scene made it safe for me.

     16           Q.   That 's one of the specialties that emergency services

     17    has?

     18           A.   Yes.

     19           Q.   Find weapons and make them safe for other officers to

     20    handle?

     21           A.   Yes.

     22           Q.   People's 127, what is that a picture of?

     23           A.   That's ju st an additional photo of the other side of

     24    the rifle .

     25           Q.   Detective Steneck, I would like to ask you some


                                               TR
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 541 of 1061 PageID #: 736
  000539                                                                            70
                              Detective Steneck - Direct - Reeves

      1    questions about this picture, can you tell us what the grayish

       2   interior is on the middle part of the weapon in this photo?

      3         A.     On this rifle the black bag was duct taped to the

       4   actual assembly part of the rifle .

       5        Q.     Is that a standard feature on this type of weapon?

       6        A.     I'm not a gun expert I would say no .

       7        Q.     Now, in addition to finding the loaded rifle in the

       8   bag , did you find any discharged shell casings in the bag?

       9        A.     Yes.

     10         Q.     On the top of this photo underneath is the blue scale

     11    and there's an object, can you tell us what that is?

     12         A.     That is the cartridge that was removed from the

     13    chamber.

     14         Q.     We talked about the weapon being loaded with a

     15    magazine, how many magazines did you find in that duff e l bag on

     16    December 8 , 2011?

     17         A.     There was one magazine in the firearm and then an

     18    additional magazine inside the duffel bag .

     19         Q.     Do you recall which magazine is being displayed in

     20    People's 128?

     21         A.     RS 27, with the shell casing RS 26 the additional

     22    magazine.

     23         Q.     Now, from underneath the magazine in this photo is a

     24    discharged shell casing?

     25         A.     That's RS 26.


                                               TR
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 542 of 1061 PageID #: 737
 000540                                                                             71
                               Detective Steneck - Direct - Reeves

       1         Q.    So the previous photo was shown a live cartridge, the

       2   bullet, and the casing together?

       3         A.    Yes .

       4         Q.    That came from the chamber of the weapon, correct?

       5         A.    Yes .

       6         Q.    I n People's 128 there's a discharged shell casing

       7   only, correct?

       8         A.    Yes.

       9         Q.    People 's 129 , what do we see in that picture?

     10          A.    That 's the same discharge shell casing without the

     11    magazine.

     12          Q.    Did you give that any designation with an RS number?

     13          A.    RS 26 .

     14          Q.    People's 130, what does that show?

     15          A.    That shows that magazine from the previous photo with

     16    RS 26 in one now marked RS 27 , the magazine.

     17          Q.    Now the magazine that was in the weapon when it was

     18    recovered had ammunition in it?

     19          A.    Yes , with loaded magazine.

     20          Q.    Do you recall how many rounds, if you can remember?

     21          A.    I don't have it documented.      I don't believe I emptied

     22    it.    I bel ie ve I left in a loaded magazine to not disturb any

     23    potential DNA evidence or fingerprints on it .

     24          Q.    The second magazine, do you recall if that was loaded

     25    or unloaded?


                                                TR
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 543 of 1061 PageID #: 738
  000541                                                                            72
                              Detective Steneck - Direct - Reeves

       1        A.    It was loaded .

       2        Q.    Again did you have an opportunity to unl oad that

       3   magazine or did you leave that in ballistics?

       4        A.    No, I left that for ballistics.

       5        Q.    People 's 131 , what does that show?

       6        A.    It 's just an additional view of that same magazine the

       7   other side, RS 27 .

       8        Q.    Now did you have an opportunity after you finished

       9   processing the items from the duffel bag, and the duffel bag in

     10    your truck to go to the 120 Precinct to do additional work?

     11         A.    Yes .

     12         Q.    What did you do at the 120?

     13         A.    I took a photo of the suspect.

     14         Q.    People's 132 in evidence, what is that a picture of?

     15         A.    The front of the suspect.

     16         Q.    Do you recall what his name was?

     17         A.    Armand Skrine.

     18         Q.    Now, the next series of photos, can you explain what

     19    133 is?

     20         A.    That 's the left side of Mr . Skrine.

     21         Q.    134?

     22         A.    That 's the back of Mr. Skrine.

     23         Q.    135?

     24         A.    That 's the right side of Mr. Skrine.

     25         Q.    Did you have an opportunity to observe Mr. Skrine's


                                               TR
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 544 of 1061 PageID #: 739
  000542                                                                            73
                               Dete ctive Steneck - Direct - Reeves

       1   demeanor during the taking of these photos?

       2         A.    I was in the room with him for a few minutes.

       3         Q.    Can you describe the demeanor while you were with him?

       4         A.    Just very stoic, passive, quiet, didn't say anything.

       5         Q.    Did you note any injuries to the face or body of Mr.

       6   Skr i ne wh ile were you taking photos on December 8, 2011?

       7         A.    No.

       8         Q.    People's 136 , can you tell us what that's a picture

       9   of?

     10          A.    A photo of the topside of his hands, Mr . Skrine's

     11    hands .

     12          Q.    137?

     13          A.    The palm side of Mr. Skrine's hands.

     14          Q.    The band aid on his left hand, were there any

     15    injuries, fresh oar recent injuries to the hand that you

     16    noticed?

     17          A.    I noticed that band aid.      I didn't see any other

     18    injuries.

     19          Q.    People's 138, what is that a picture of?

     20          A.    Mr. Skr ine 's face.

     21          Q.    13 9?

     22          A.    Just an additional.

     23          Q.    The first one was a bit of a misfire?

     24          A.    A little bit.

     25          Q.    Did you have an opportunity after photograph the


                                                TR
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 545 of 1061 PageID #: 740
  000543                                                                              74
                              Detective Steneck - Direct - Reeves

      1    defendant, to photograph the clothing that he was wearing when

       2   you saw him at the 120 Precinct?

       3          A.   Yes.

       4          Q.   Before you did that did you take a picture of the

       5   manufacture's name of the weapon that was recovered from the

       6   bag?

       7          A.   Yes.

       8          Q.   What is in People's 140, what does that show?

       9          A.   It shows the inscription on the metal portion of the

     10    rifle.

     11           Q.   Did you have an opportunity to take pictures of the

     12    money that was found in the sock that we talked about?

     13           A.   Yes.

     14           Q.   People's 141, is was does that show?

     15           A.   It shows a series of $10 bills that were removed from

     16    the sock.

     17           Q.   There seem to be two columns of $10 bills.         Was there

     18    anything unique or unusual about serial numbers on those $10

     19    bills?

     20           A.   Yeah, they all matched.       They all had the same serial

     21    number.

     22           Q.   People 's 142 , what is that picture of?

     23           A.   A close up just showing the serial number.

     24           Q.   143 , what does that show?

     25           A.   The reverse side of the bill marked 13 A.


                                                TR
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 546 of 1061 PageID #: 741
  000544                                                                            75
                             Detective Steneck - Direct - Reeves

       1        Q.    144, what is that a picture of?

       2        A.    These are additional $10 bills with different serial

       3   numbers than 13 A. had, so these were marked 13 AB.

       4        Q.    Were you ab le to compare the serial numbers on B 13 AB

       5   to one another?

       6        A.    Yes.

       7        Q.    What did you find?

       8        A.    They were the same.

       9        Q.    So they were different than 13 A., but all these bills

      10   were the same?

      11        A.    Yes.

      12        Q.    People's 145, what does that show?

      13        A.    It 's a close up of 13 AB showing the serial number on

      14   the front.

      15        Q.    People's 146?

      16        A.    Just the reverse side of the bill 13 AB.

     17         Q.    And finally 147, what does that show?

     18         A.    Those were additional $10 bills removed from the sock

     19    with different ser i a l numbers than the previous, and I marked

      20   these RS 13 AC.

      21        Q.    So you grouped all is the bills that had the same

     22    ser ial number in 13 A, 13 AB, and 13 AC?

     23         A.    Yes.

     24         Q.    148, what does that show?

     25         A.    That's a close up of 13 AC serial number.


                                                TR
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 547 of 1061 PageID #: 742
  000545                                                                            76
                              Detective Steneck - Direct - Reeves

       1        Q.    149 , what does that show?

       2        A.    That 's the reverse side of that bill RS 13 A.

       3        Q.    150 , what does that show?

       4        A.    These were $5 bills that were removed from the sock

       5   marked 13 RS 13 B .

       6        Q.    151 , what is that a picture of?

       7        A.    A close up of the $5 bill showing the serial number.

       8        Q.    152, what does that show?

       9        A.    The reverse side of the bill, the backside of the bill

      10   of 13B.

      11        Q.    Detective Steneck, what I would like to do is talk to

      12   you about the cl o thing of the defendant on December 8, 2011.

      13              Did you have an opportunity top photograph the

      14   clothing that the defendant was wearing when you saw him on

      15   December 8, 2011?

      16        A.    Yes .

      17        Q.    What i s People 's 153, what is that a picture of?

      18        A.    RS 28 that 's a black jacket.

      19        Q.    154 , what is that a picture of?

      20        A.    Th ose are     that 's RS 29 , two black sneakers.

      21        Q.    155 , what is that a picture of?

      22        A.    That 's an item marked RS 30, one pair of jeans.

      23        Q.    Now, in the first three items, were you able to tell

      24   or determine the s iz e of those, the jacket the shoes and the

      25   pants?


                                                TR
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 548 of 1061 PageID #: 743
  000546                                                                            77
                             Detective Steneck - Direct - Reeves

       1        A.    Yes.

       2        Q.    What was the size of the jackets?

       3        A.    The jacket tag was marked 4 XL.

       4        Q.    The shoes?

       5        A.    The shoes were marked US 13 .

       6        Q.    And finally the pants, did they have a size on them?

       7        A.    The pants were marked on the tag W38.

       8        Q.    15 6, wha t i s t hat a picture of?

       9        A.    That's a pair of black shorts marked RS 31.

      10        Q.    Taken from the defendant as well?

      11        A.    Yes.    On the suspect at the 120 Precinct detective ' s

      12   squad.

      13        Q.    157 , wha t i s that a picture of?

      14        A.    That ' s item marked RS 32 a gray sleeveless T- shirt .

      15        Q.    Was there a s iz e on the gray sleeveless T-shirt?

     16         A.    Double XL.

     17         Q.    Can you see the person who you photographed at the 120

     18    Prec i nct here in court today?

     19         A.    Yes.

     20         Q.    Can you tell me what he's wearing today?

     21         A.    He's wearing a suit and blue shirt.

     22         Q.    Can you point to him?

     23                      MR. REEVES:    Indicating the defendant.

     24                      THE COURT :   Very well.

     25         Q.    15 8 , Detective Steneck, what is that a picture of?


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 549 of 1061 PageID #: 744
  000547                                                                            78
                            Detective Steneck - Direct - Reeves

       1        A.    That's a misfire .

       2        Q.    So we'll go to 159?

       3        A.    That's black long sleeve shirt marked RS 33.

       4        Q.    The s i de?

       5        A.    The tag was marked 6 XL

       6        Q.    Finally People's 160, what does that show?

       7        A.    That's shows two additional bills that were found in

       8   the clothing of the suspect.

       9        Q.    Now , what are the two items above the bills found in

      10   the clothing of the defendant?

      11        A.    That 's an OBTI test .

      12        Q.    Expla i n to the jury what that is?

      13        A.    Just a test we do to test to see if something has

     14    blood.

     15         Q.    What were the results of testing these two bills?

     16                     THE COURT:     Step up a moment please.

     17                     (Off the record discussion held at the Bench.)

     18                     We had a brief bench conference.

     19                     Go ahead.

     20         Q.    Detect i ve Steneck, what were the results of testing

     21    these two bills for the presence of blood?

     22         A.    Negative.

     23         Q.    Detect i ve, I'm going to shift focus now.       I'm going to

     24    show you some physical .      I would like you to tell me if you

     25    recognize these items.


                                               TR
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 550 of 1061 PageID #: 745
  000548                                                                            79
                               Detective Steneck - Direct - Reeves

      1                First I ' ll hand up to you People's 164 for

      2    identification.

       3               With the Court 's permission unseal that white envelope

       4   and look at the contents.       I want to ask you some questions

       5   about that.

       6               Do you recognize the contents of People's 164 for

       7   identification?

       8        A.     I identify them as ballistics recovered from the scene

       9   o f 195 Steuben Street.

     10         Q.     Now were they packaged in the original packaging that

     11    you placed them in on December 8, 2011?

     12         A.     No .

     13         Q.     That original packaging in that the larger white

     14    envelope?

     15         A.     Yes .

     16         Q.     Do the four items -- can you tell us what the four

     17    items inside the bal li stics items are?

     18         A.     Two items are deformed bullets previously marked RS 1

     19    and RS 3.

     20                The deformed bullets one from the hallway, one from

     21    inside the apartment 7 L ., then there's two shell casings one

     22    was marked RS 3 -- I 'm sorry RS 2 from the hallway at the

     23    location and the other one is a shell casing from inside the

     24    duffel bag marked RS 26.

     25         Q.     Do those four pieces of ball i stics evidence , are they


                                               TR
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 551 of 1061 PageID #: 746
  000549                                                                            80
                               Detective Steneck - Direct - Reeves

      1    in the same or substantially the same condition as when you

       2   observed them in the duffel bag or in the 195 Steuben, 7th floor

       3   buil ding?

       4        A.      Yes.

       5                       MR . REEVES:    Your Honor , I offer People's 164 in

       6        evidence at this time.

       7                       MS. GUASTELLA:      No objection.

       8                       THE COURT:      164 is in evidence.

       9                       (So marked.

     10                        This exhibit i s two deformed bullets and two

     11         shell casings?

     12                        MR . REEVES :    That's right.

     13         Q.      Detect i ve, were you able to determine the caliber of

     14    the shel l casings , both the shell casing recovered from the

     15    du ff e l bag and the shell casing recovered from the hallway at

     16    195 Steuben on the 7th floor?

     17         A.      When I collect the shell casings I mark the stamping

     18    on the bottom o f them.          I leave it to the ballistics guys to

     19    determine the ca l iber.         This was deemed 7.62 by 39 at the bottom

     20    o f the she ll cas i ng.

     21         Q.      7.62 would be the caliber?

     22         A.      Yes.

     23         Q.      If we can clear those.

     24                 I have a series of questions about another piece of

     25    evidence.      I 'm going to show you what's been premarked 165?


                                                   TR
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 552 of 1061 PageID #: 747
  000550                                                                              81
                              Detective Steneck - Direct - Reeves

       1                      MR. REEVES:    With the Court's permission I'm not

       2         asking to open it , but I would ask the Court's for

       3         permission to unfasten the tape, so that the whole bag can

       4         be lai d out.    Not opened.

       5                      THE COURT:    Okay.        I'm not sure I understand.

       6                      MR. REEVES:    The bag is folded over so the

       7         wr itings can't be seen.       There's some crime scene tape or

       8         evidence tape that 's wrapped around it.

       9                      THE COURT:    You can cut the tape, Detective.

      10         Q.   Without unsealing the weapon at this time.

      11              As you ' re doing that, Detective, after you

      12   photographed the weapon that you showed us in the picture, did

      13   you box or sea l it in any containers to be sent to the

      14   ballistics lab for testing?

      15         A.   Yes, I put it in a box.

      16         Q.   Tell us if you recognize the contents of that plastic

      17   bag at this time?

     18          A.   Yes.

     19          Q.   What do you recognize the contents to be?

     20          A.   To be the b la ck rifle from the duffel bag marked RS

     21    25.

     22          Q.   In addition to that, do you see the magazine and the

     23    ammunition that we talke d about earlier?

     24          A.   Ye s.

     25          Q.   Does the weapon and magazine that was with the weapon,


                                                    TR
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 553 of 1061 PageID #: 748
  000551                                                                              82
                              Detective Steneck - Direct - Reeves

       1   is it all contained in that plastic bag?

       2        A.    Yes .

       3        Q.    What about the plastic bag that had been ducked tape

       4   to the ejection part of the weapon that was on December 8, 2011

       5   does that appear to be in there as well?

       6        A.    Yes .

       7        Q.    It 's not in the same physical form, but does appear to

       8   be in the same condition as when you observed it on December 8,

       9   2011 after you removed it from the duffel bag?

     10         A.    Well, the black bag and the duct tape were left on the

      11   firearm when I packaged it .

     12         Q.    Other than that being removed?

      13        A.    Yes , i t looks the same.

     14                       MR . REEVES :    I offer People's 165 in evidence.

      15                      MS. GUASTELLA :     No objection.

     16                       THE COURT :     No objection.    All right 165 marked

     17         in evidence .

     18                       Again, this is a rifle, two magazines, and

     19         ammunition.

     20                       MR . REEVES :    One magazine.    I'm going to hand you

     21         up the second in a minute.

     22                       THE COURT:      All right.

     23                       THE COURT OFFICER:        Some marked.

     24         Q.    Detect i ve Steneck, after you boxed the weapon and the

     25    ammunition and the magazine that was with the weapon, what did


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 554 of 1061 PageID #: 749
  000552                                                                                     83
                                Detective Steneck - Direct - Reeves

       1   you do with it?

       2        A.       I boxed it up, taped it up to secure it, and then I

       3   gave it to the i nvo i cing officer for vouchering.

       4        Q.       Did you give the invoicing officer any instructions on

       5   where the weapon and ammun i tion were to go?

       6        A.       I forwarded it to the NYPD lab for the ballistics

       7   analysis.

       8        Q.       The same ev i dence that has been received as 164, the

       9   two discharged shell casing and deformed bullets, did you give

      10   the officer any in structions as to what was to be done?

      11        A.       Yes.    I told him as well to forward it to the NYPD

      12   ballistics lab for analysis.

      13        Q.       Do you know if that was done to the best of your

      14   knowledge?

      15        A.       I don't know what he does after I hand him the

      16   evidence .

      17        Q.       The last thing I have for you is People's 166 for

      18   identification .

     19                         MR. REEVES :     With the Court's permission I would

     20         ask Detective Steneck to show the jury what the riffle

     21         lo oked like and then we can put it to the side.

     22                         THE COURT:      Sure.        So we're back to 165 you want

     23         her to hold it up?

     24                         MR . REEVES :    However she could display it to the

     25         jury .


                                                        TR
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 555 of 1061 PageID #: 750
      000553                                                                              84
                                  ])c;tect i_ ve Steneck - Direct - Reeves


          1         Q.     Do you recognize that box?

          2         A.     Yes.

           3        Q.     What do you recognize that to be?

           4        A.     That's the box that I packaged RS 27, which was one

           5   black loaded magazine.

           6        Q.     With Lhe Court's permission if we can open that box so

           7   that Lhe detective can remove the contents?

           8                      THE COURT:   That's all right.

           9                      It's no t in evidence, so don't take it out.          You

         10         can open it and look into it.

         11         Q.     Foe the record the box is sealed?

         12         A.     Yes.

         13         Q.     Now,   that it's opened do you recognize the content of

         14    the box?

         15         A.     Yes, it 's one magazine.

         16         Q.     Ts Lhc re-:: any ammunition in there?

         17         A.     Not in the magazine itself, no.

         18         Q.     Is there-:: ammunition in the box?

         19         A.     Yes.

         20         Q.     Now the co ntents of the box are they in the same,

         21    substantially the same condition as when it was processed by you

         22    on December 8, 2011?

         23         A.     l::xcep L [or t he fact that I boxed it when it was



-
         24    loaded,    now iL's unloaded.

         25         Q.     Now the magazine is unloaded?


                                                     TR
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 556 of 1061 PageID #: 751
  000554                                                                            85
                              Detective Steneck - Direct - Reeves

      1         A.    Yes .

      2         Q.    That ammun i tion is separated from the magazine?

       3        A.    Yes .

       4        Q.    Other than that is it in the same condition?

       5        A.    Yes.

       6                      MR. REEVES :   I would offer People's 166.

       7                      MS. GUASTELLA:    The detective testified herself

       8        that she did not unload the magazine.

       9                      THE COURT:     Do you want to ask a few more

     10         foundation questions.        I 'll permit it .

     11         Q.    Detective , when you received the magazine that we're

     12    talking about that's in the box marked as 166 for

     13    identification , where was that for?

     14         A.    Where?

     15         Q.    Where did the magazine come from?

     16         A.    RS 27 came from inside the duffel bag.

     17         Q.    When you packaged it in the box was the ammunition

     18    inside the magazine?

     19         A.    Yes.

     20         Q.    You didn't remove the ammunition, correct?

     21         A.    No.

     22         Q.    Now the magazine is empty and the ammunition is in a

     23    separate bag?

     24         A.    In two separate bags.

     25                       MR. REEVES :   I offer it subject to connection to


                                                 TR
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 557 of 1061 PageID #: 752
  000555                                                                            86
                             Detective Steneck - Direct - Reeves

      1           the testimony o f t he bal li s tics expert?

      2                      THE COURT:      Subject to connection.

      3                      MS. GUASTELLA:      No objection.

      4                      THE COURT :     I'll mark 166 in evidence subject to

      5           connection.

       6                     I didn't hear any questions as to whether these

      7           it ems were forward to ballistics.

       8                     MR . REEVES :    We're getting there.    Thank you,

       9          your Ho nor.

     10                      THE COURT OFFICER:       So marked.

     11           Q.   After you packaged it , what was done with People's

     12    166?

     13           A.   After I packaged it , I handed it over to the invoicing

     14    of ficer for f orwarding to the NYPD.

     15           Q.   Do you recall who the invoicing officer for all this

     16    evidence was?

     17           A.   Officer Kane.

     18           Q.   Now when Off i cer Kane received, in particular, 166 he

     19    wou ld have gotten a wh it e box?

     20           A.   He would have gotten a sealed white box.

     21           Q.   Did you g ive him any instructions relative to 166, the

     22    maga zin e that you put ·inside the box?

     23           A.   I tol d him to forward it to DNA, to the lab for DNA

     24    latent , and ballistics lab .

     25           Q.   Finally , Detective , I'm going to hand you People's 167


                                                 TR
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 558 of 1061 PageID #: 753
  000556                                                                            87
                               De t ect i ve Steneck - Direct - Reeves

       1   for i den tifi ca ti on.

       2                I 'm go i ng t o ask the Court's permission to unseal that

       3   envelope, and Detect i ve Steneck I ask you to look, with the

       4   Court's permiss i on, if you can do that, tell me if you recognize

       5   the con t ents o f t ha t brown envelope?

       6        A.      Yes.

       7        Q.      What are the contents of the brown envelope?

       8        A.      The contents is the bills removed from the black sock

       9   that I marked RS 13.

     10         Q.      Those were the ones that we had pictures of before?

     11         A.      RS 13A and 1 3AB, and RS 13AC.

     12         Q.      Di d the b ill s appear to be in the same, substantially

     13    the same condit i on as when you had photos of them December 8,

     14    2011?

     15         A.      Yes.

     16         Q.      I offer People's 167 in evidence.

     17    VOIR DI RE

     18    BY MS. GUASTELLA:

     19         Q.      Al l those bi l ls, they were recovered from the sock?

     20         A.      In s i de the sock .

     21                        MS. GUASTELLA:      No further questions.

     22                        THE COURT:      Any objection?

     23                        MS. GUASTELLA :     No.

     24                        THE COURT:      167 is marked in evidence.

     25                        THE COURT OFFICER:        So marked.


                                                   TR
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 559 of 1061 PageID #: 754
  000557                                                                            88
                             Detective Steneck - Direct - Reeves

      1    CONTINUED DIRECT EXAMINATION

       2   BY MR. REEVES :

       3        Q.    Can you tell us what was done with the bills that were

       4   received in evidence as People's 167?

       5        A.    Again, I l a id them out.     I compared the serial

       6   numbers.    I photographed them .      I placed them in this brown bag,

       7   sealed it up, and gave it to Officer Kane for invoicing.

       8        Q.    Were any instructions given to Officer Kane on what to

       9   do with the bills after they were vouchered?

     10         A.    I believe I tol d him to forward them to the Property

     11    Clerk.

     12         Q.    Thank you.

     13               Other than what you've discussed with me today, did

     14    you perform any other services related to the investigation into

     15    the death of David Williams on December 8 , 2011?

     16         A.    No .

     17         Q.    Thank you, Detective Steneck.

     18               MR. REEVES :    I have no further questions, your Honor.

     19                      MS. GUASTELLA :   I don't have any questions.

     20                      THE COURT :   No questions.

     21                      Can you step up one moment?

     22                      (Off the record discussion held at the Bench.)

     23                      That concludes the detective's testimony , members

     24         of the jury .

     25                      We were jus t discussing scheduling.      That's as


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 560 of 1061 PageID #: 755
  000558                                                                            89
                             Detective Steneck - Direct - Reeves

       1        far as we can go today.       We're going to break.      We'll resume

       2        at 9:30 tomorrow.      Let me give you a heads up.

       3                     Tomorrow we cannot work on the case in the

       4        afternoon.

       5                     I have another matter that I have to handle.

       6        It's simply unavoidable .       The bottom line is we'll work

       7        unt il noon t omorrow and break at noon on this case and

       8        resume Wednesday at 9:30.

       9                     After tomorrow we anticipate uninterrupted

     10         testimony, so hopefully tomorrow is the only short date that

     11         we'll face .

     12                      Thank you for your patience.

     13                      Keep in mind the rules.      Don't discuss the case

     14         and so on.

     15                      Leave your notebooks.     We'll lock them up.

     16         Nobody reads them.

     17                      We'll see you tomorrow at 9:30.        Thanks again.

     18                      (At this time the jury is excused from the

     19         courtroom .)

     20                      The jury has left .     Did the detective take any

     21         evidence with her?

     22                      MR . REEVES:    I believe I have all the evidence

     23         except for the weapon.

     24                      THE COURT:     We have it over here.

     25                      Who do you anticipate tomorrow.


                                                TR
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 561 of 1061 PageID #: 756
  000559                                                                               90
                            Detective Steneck - Direct - Reeves

      1                     MS. CILIA:      We have Sergeant Trzcinski.     We also

       2        have Police Officer Aguilo and Officer Jacobs.           We don't

       3        know whether we ' ll get to them or not.

       4                    We have the officer from the ferry Casiano.             He's

       5        notified, as well as Jean Loiseau.

       6                    THE COURT:      I s that a police officer?

       7                    MS. CILIA :     No.

       8                    THE COURT :     So five people for tomorrow?

       9                    MR. REEVES:      We also notified the EMT who would

     10         be very quick .    She's five months pregnant.       We told her we

     11         would try to accommodate her.

     12                     THE COURT:      If we start at or about 9:30 we're

     13         good until noon.     Hopefully we can knock out a few of these

     14         people.

     15                     MS. GUASTELLA:        Sergeant John Trzcinski, he's the

     16         Property Clerk that 's going to testify that the property

     17         that was vouchered was destroyed in storm Sandy.           I'm going

     18         to ask for an adverse inference at some point.

     19                     THE COURT :     I 'm not sure what is the People's

     20         position?

     21                     MR . REEVES :    People would oppose that, your

     22         Honor .

     23                     THE COURT:      I'm not sure you get it.     I have a

     24         couple of cases that deal with situations in which property

     25         i s lost not intentionall y, essentially through no fault of


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 562 of 1061 PageID #: 757
  000560                                                                            91
                            Detective Steneck - Direct - Reeves

      1         anybody.

      2                     Of course , here we have a hurricane or super

       3        storm.

       4                    Let me put a couple cases on the record.         You can

      5         look into this and I ' ll hear you more.       People against

       6        Seignious, this is a second department case from last week

       7        February 19, 2014 .

       8                    I don't have an official cite.       It's at 2014 West

       9        Law,   6266746.   The lose or destruction of evidence prior to

     10         trial does not necessarily require imposition of a sanction.

     11         It goes on to say t hat the evidence was not destroyed in bad

     12         faith and under the circumstances of the case the Court

     13         providently exercised it 's discretion in denying the

     14         defense's request for an adverse inference charge with

     15         respect to the lost evidence.

     16                     Another case called People against Hernandez.

     17         This i s 207 Appellate Division 2d, page 719 a First

     18         Department case from 1994 standing for the same.           The

     19         Property Clerk inadvertently destroyed evidence.

     20                     The trial court conducted an appropriate inquiry,

     21         which revealed that the evidence was destroyed without

     22         participation or knowledge of the prosecution and these

     23         circumstances the defendant was not prejudiced by denial of

     24         the request for an adverse inference charge.

     25                     Can you tell me a little bit about the nature and


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 563 of 1061 PageID #: 758
  000561                                                                            92
                            Detective Steneck - Direct - Reeves

      1         circumstance surrounding this issue we're talking about?

      2                     MR. REEVES:    Certainly.    As the Court knows

      3         October 29, 2012 hurricane Sandy came.

      4                     The property in this case, specifically the

      5         defendant's clothing and duffel bag and contents of the

       6        duffel bag, except for the counterfeit money, magazine, and

      7         the riffle it se lf had been tested and sent to the Kingsland

      8         Avenue warehouse that was flooded by the Newtown Creek.

       9                    The Newtown Creek to my understanding contains a

     10         lot of toxic sludge including PCP and other contaminants

     11         such as heavy metals.

     12                     The Kingsland facility was flooded.        Barrels in

     13         this facility were destroyed.        As part of the destruction

     14         those barrels disintegrated, so in addition to the heavy

     15         metals and PCP Kingsland was contaminated withe-coli

     16         bacteria.

     17                     The OSHA people shut down Kingsland and my

     18         understanding is Sergeant Trzcinski will testify that

     19         Kingsland is s till not open nor is there any plan in the

     20         future to open it because it has been condemned by the OSHA

     21         people.

     22                     Sergeant Trzcin ski expected tomorrow will testify

     23         that because the facility was shut down they cannot retrieve

     24         any of the items from that facility .

     25                     THE COURT :   All r i ght.   I guess we'll hear from


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 564 of 1061 PageID #: 759
  000562                                                                             93
                             Detect i ve Steneck - Direct - Reeves

      1         the sergeant tomorrow , and of course you're free to cross

      2         examine him.     I don't need to tell you that.

      3                      At this point I don't think an adverse inference

      4         charge would be appropriate.        If you want to renew that

      5         applicat i on that's fine.    Of course, we can discuss that

       6        again in a charge conference ultimately, but I'll keep an

      7         open mind.

      8                      At this point, based on what I heard, it doesn't

       9        sound li ke an adverse inference charge is appropriate.             I'll

     10         wait until we're finished with the sergeant and we can talk

     11         about it again.

     12                      Of course , if anyone wants to research this

     13         further I'm happy to read cases.        I'll see you at 9:30.

     14                      THE CLERK:   I returned all the evidence to the

     15         DA.

     16                      Cert i f i ed to be true and accurate.

     17

     18

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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 565 of 1061 PageID #: 760
  000563



           SUPREME COURT OF THE STATE OF NEW YORK
           COUNTY OF RICHMOND - CRIMINAL TERM - PART 5
           --------------------------------------x
           THE PEOPLE OF THE STATE OF NEW YORK                 INDICTMENT NO.
                                                               454/2011

                         -against-


           ARMAND SKRINE,
                                                               JURY TRIAL
                                             Defendant.
           ------------- . ------------------------x
           (J. Diniso)                       18 Richmond Terrace
           (J. Loiseau)                      Staten Island, New York
           (P.O.  Aguilo)                    March 4, 2014
           (Sgt.  Trzcinski)



           BEFORE:

                HONORABLE STEPHEN J.       ROONEY,    Justice.




           APPEARANCES:

                DANIEL DONOVAN, ESQ.
                District Attorney - Richmond County
                     130 Stuyvesant Place
                     Staten Island, N.Y. 10301
                BY:  KYLE REEVES, ESQ.,
                     JENNIFER CILIA, ESQ.,
                     Assistant District Attorneys

               MARIA GUASTELLA, ESQ.
               Attorney for the Defendant
                    88 New Dorp Plaza
                    Staten Island, N.Y. 10306




                                                     MAURIZIA M. SELLECK
                                                     SENIOR COURT REPORTER

                                            MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 566 of 1061 PageID #: 761
  000564                                                                            95
                                          Proceedings


     1                     THE COURT CLERK:     Calendar number 2, case on

     2         trial continues: Armand Skrine, Indictment 454/2001.

     3                     Appearances, Counsel.

      4                    MR. REEVES:     On behalf of the People, Kyle Reeves

      5         and Jennifer Cilia.

      6                    Good morning, your Honor.

      7                    MS. GUASTELLA:     Maria Guastella on behalf of

      8         Mr. Skrine.

      9                     (Defendant present.)

    10                     MS. GUASTELLA:     Judge,    I have an issue.

    11                     THE COURT:     Go ahead.

    12                     MS. GUASTELLA:     Judge, the $120 photo, the

    13          photograph that was shown to the jury of that 120 being

    14          tested, that $100 bill and the $20 bill.         I'm questioning

    15          where they got that $120 from.         I know they claim they

    16          recovered it from my client, but I'm going to ask where and

    17          why 120 out of the -- He had more than 120 on his person.

    18          And I think I know where the prosecution is going with

    19          this; I just would like them to answer that.

    20                     THE COURT:     You're talking about the end of

    21          Det. Steneck's testimony when he asked her about two bills

    22          and whether she tested them for the presence of blood, and

    23          she said she did and that it was negative?

    24                     MS. GUASTELLA:     That's correct.

    25                     THE COURT:    Let me make a record in that regard.


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 567 of 1061 PageID #: 762
  000565                                                                                 96
                                            Proceedings

      1                      When that started up, I called a bench

      2         conference.     I reminded the parties of Judge Collini's

      3         suppression decision, and, as I recall, the DA said this

      4         was not counterfeit currency and that the tests for blood

      5         were negative.     I then asked you your position.           This is at

      6         a bench conference.        You said you had no objection, so we

      7         continued.

      8                      MS. GUASTELLA:     Right.

      9                      THE COURT:     Now, if you want to revisit that,

     10         that's fine with me.        I don't know.     You say you think you

     11         know where they're going with it.           I don't.

     12                      MS. GUASTELLA:     When I went over the DD5s, I came

     13         across last night the victim's girlfriend testified that

     14         she -- the deceased withdrew the $120 on the morning of the

     15         incident, and I believe that they are going to link that

     16         120 up to the 120 that they showed the jury, which puts my

     17         client in a predicament forced to testify to explain that

     18         he had other monies on his person.

    19                       THE COURT:     So, are you objecting now?

     20                      MS. GUASTELLA:     Yes.

    21                       THE COURT:     People?

    22                       MR. REEVES:     I don't quite know what to say, your

    23          Honor.   There was no objection yesterday.             I don't believe

    24          that Ms. Cilia nor I were going anywhere else other than to

    25          be complete with what Det. Steneck had performed.              I don't


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     Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 568 of 1061 PageID #: 763
       000566                                                                              97
                                                Proceedings


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           2
                     know of any way to link that money to the defendant.

                                  THE COURT:    Where was it recovered?     She said

           3         from his person, right?

           4                      MR. REEVES:    I believe it was, yes.

           5                      THE COURT:    And it was a $100 bill and a $20

           6         bill?

           7                      MR. REEVES:    Correct.

           8                      MS. GUASTELLA:    But he did have other monies on

           9         him in his pocket: fives,      singles, not just the 120, which

          10         just so happens that the victim may have withdrew 120 out

          11         of the bank that morning.

          12                      THE COURT:    And that 120 was not counterfeit, am

-         13

          14
                     I correct?

                                  MS. GUASTELLA:    Right.

          15                      MR. REEVES:    No, it was not.

          16                      THE COURT:    There were counterfeit bills

          17         allegedly recovered from your client.         They were suppressed

          18         along with identification cards.

          19                      MS. GUASTELLA:    Those were for safekeeping.          I'm

         20          not sure why, but, anyhow, that's not what I'm questioning

         21          now.    What I'm questioning now is the link of the 120.

         22          Then I am going to say that they instruct the witness no t

         23          to say how much he withdrew from the bank.

         24                       THE COURT:    I have another suggestion, if you

         25          want.    I'm reading Judge Collini's decision.        I'll read it,


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 569 of 1061 PageID #: 764
  000567                                                                            98
                                          Proceedings

      1         two lines that bear on this issue.        This is from page 5 of

      2         his decision:    Based on the foregoing, the recovery of

      3         physical evidence from defendant's person, and in

      4         parentheses, i.e., the counterfeit currency and

      5         identification cards, must be suppressed.

      6                     He found the stop to be bad, therefore, it seems

      7         to me everything recovered, including a subsequent

      8         statement, is suppressible and is suppressed.

      9                     Now, I got no objection yesterday, but if you

     10         want me to, I'll instruct the jury to disregard that line

     11         of testimony, I'll strike it.

     12                     MR. REEVES:    That's fine.

     13                     THE COURT:    On the other hand, if you don't want

     14         me to do anything about it, I won't.         The DA says they're

     15         not going to link it up in any way.        Is that right?

    16                     MR. REEVES:     That's correct.

    17                      MS. GUASTELLA:    When she testifies that she took

    18          120, although you are going to instruct the jury to strike

    19          that testimony, they've heard it already.         Now they're

    20          going to hear Ms. Hunt testify that he withdrew $120 from

    21          her bank account.

    22                     THE COURT:     What would the relevance of that be,

    23          withdrawing the $120?

    24                     MS. GUASTELLA:     Their theory is that he went and

    25          executed the victim and that he is recovering -- from his


                                               MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 570 of 1061 PageID #: 765
  000568                                                                            99
                                          Proceedings

     1         person $120 is recovered.         Without the defendant

     2          testifying, it's going to lead the jury to believe he only

      3         had the 120 on his person which is the 120 that the victim

      4         had in his apartment.

      5                    THE COURT:     Is that true, is that part of your

      6         proof?

      7                    MS. CILIA:     No.

      8                    MS. GUASTELLA:        Then I'm going to ask that they

      9         not ask her how much she took out of the bank.

    10                      THE COURT:    What about that?

    11                     MS. CILIA:     We were never planning on asking

    12          that.

    13                     MS. GUASTELLA:       Well, it was in the 005, I just

    14          wanted to make sure.

    15                      THE COURT:    So, apparently they're not going to

    16          ask.

    17                     MS. GUASTELLA:        Okay.

    18                     THE COURT:     So what do you want me to do?       I'm

    19          happy to strike it.      On the other hand, at this point, if

    20          there is no harm or no prejudice in your view, maybe you

    21          want to leave it alone.         I'll leave it up to you.

    22                     MS. GUASTELLA:       Well, I'm going to rely on the

    23          People stating that they are not going to elicit from her,

    24          and I'd ask that they tell her ahead of time that she not

    25          volunteer the amount she withdrew from the bank that


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 571 of 1061 PageID #: 766
  000569                                                                            100
                                          Proceedings


     1         morning.

      2                    THE COURT:    That's fine me.

      3                     Is that all right with the DA?

      4                    MS. CILIA:     Fine.

      5                    THE COURT:     If you change your mind, let me know.

      6         If I am going to strike it, it's probably better I do it

      7         sooner rather than later.         If I go back to it later in the

      8         trial, well, it might make it a little more complex.

      9                     (Whereupon, a discussion is held off the record.)

     10                     THE COURT:    Does that end this inquiry?       Once

     11         again, I'll offer you        I'll strike it and tell the jury

     12         to disregard it.     On the other hand, based on what the DA

     13         said, maybe you prefer to leave it alone.         I'll really

    14          leave it up to you.

     15                    MS. GUASTELLA:     I would like if you'll indulge me

     16         some time to think about that, Judge.

    17                      THE COURT:    Okay, think about it.      I'd prefer, as

     18         I said, to deal with it sooner rather than later, but I'll

    19          deal with it whenever you want to get back to it, if you

    20          want to get back to it.

    21                     Who's next?

    22                     MR. REEVES:     The next witness is going to be

    23          Jessica Diniso.     And just for the record, this morning I

    24          was able to obtain the ACR, Ambulance Call Report, which I

    25          provided to counsel together with one of the other


                                               MMS
         Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 572 of 1061 PageID #: 767
           000570                                                                            101
                                                   Proceedings


--             1         witness's memo book entries, Officer Aguila; and counsel

               2         had asked for another copy of the DDS, which I also

               3         provided this morning.

               4                     THE COURT:    I'm sorry, I didn't get the name of

               5         the next witness.

               6                     MR. REEVES:    Jessica Diniso, D-I-N-I-S-O.       I

               7         think she was Schenker.      Her maiden name was on the witness

               8         list.   She's since gotten married.

               9                     MS. GUASTELLA:    She's the EMT person?

             10                      MR. REEVES:    Correct.

             11                      THE COURT:    Okay.   Well, first name Jessica, last

             12          name Diniso.

-    -       13                      MR. REEVES:    Yes.

             14                      THE COURT:    I guess I better ask the jury if they

             15          know that name.

             16                      MR. REEVES:    Her maiden name was Schenker.

             17          That's what the paperwork was under.

             18                      THE COURT:    Okay.   We can bring them in if

             19          they're here.

             20                      Is your witness in the courtroom?

             21                      MS. CILIA:    She's upstairs.

             22                      MR. REEVES:    No, your Honor.

             23                      THE COURT:    Witness first,    Jessica Diniso.

             24                      THE COURT OFFICER:       Your Honor, are you ready for

-            25          the jury?


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 573 of 1061 PageID #: 768
 000571                                                                              102
                                          Proceedings

     1                     THE COURT:     Yes.

     2                     THE COURT OFFICER:          Jury entering.

     3                      (Whereupon, the jury enters the courtroom.)

     4                     THE COURT CLERK:       Do both sides stipulate the

     5          presence of a complete jury panel, properly seated?

      6         People?

     7                     MS. CILIA:     Yes.

      8                    THE COURT CLERK:       Defense?

      9                    MS. CILIA:     So stipulated.

    10                     THE COURT:     Good morning.       Welcome back.

    11                     Next witness, please.

    12                     MR. REEVES:     Thank you, your Honor.       People call

    13          Jessica Diniso.

    14     JESS IC A          DIN ISO, having been called as a witness on

    15          behalf of the People, having been duly sworn by the clerk

    16          of the court, was examined and testified as follows:

    17                     THE COURT CLERK:       State your name.

    18                     THE WITNESS:     Jessica Diniso.

    19                     THE COURT CLERK:       And your county of residence.

    20                     THE WITNESS:     Staten Island, Richmond.

    21                     THE COURT CLERK:       Thank you.

    22                     THE COURT:     Members of the jury, when we selected

    23          you and I read you a list of potential witnesses, I think

    24         we had Ms. Diniso's maiden name on there.            Her full name,

    25         as you've heard, is Jessica Diniso.            Do any of you know


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 574 of 1061 PageID #: 769
  000572                                                                            103
                                 People - Diniso - Direct/Reeves


      1         her?    Nobody does, good.

      2                        Ms. Diniso, keep your voice up, please.      That

      3         microphone works, you can speak right into it.

      4                        MR. REEVES:    May I inquire, your Honor?

      5                        THE COURT:    Yes.

      6                        MR. REEVES:    Thank you.

      7    DIRECT EXAMINATION

      8    BY MR. REEVES:

      9         Q.     Hi, Ms. Diniso.       Good morning.

     10         A.     Good morning.

     11         Q.     How are you doing today?

    12          A.     I'm all right.

     13         Q.     Okay.     What I'd like to do is, if you could, just tell

    14     the jury what you do for a living.

     15         A.     I work for the Fire Department.       I'm an emergency

    16     medical technician.

    17          Q.     And can you tell us how long you worked for the Fire

    18     Department as an emergency medical technician?

    19          A.     Five and a half years.

    20          Q.     Can you tell us a little bit about the training you

    21     receive to be an EMT with the Fire Department?

    22          A.     I went to the academy with the Fire Department for

    23     about two and a half months to learn how to do blood pressures,

    24     bandage patients, and take care of patients, and write

    25     paperwork.


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    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 575 of 1061 PageID #: 770
      000573                                                                            104
                                   People - Diniso - Direct/Reeves


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          2
                    Q.     Okay.   Now, as an EMT with the Fire Department, are

               there two different types, a basic life support and an advanced

          3    life support?

          4         A.     Yes.

          5         Q.     And what type are you?

          6         A.     I'm basic.    I'm basic -- I do basic training.       I

          7    don't -- I don't have -- I don't start IVs and stuff.

          8         Q.     Okay.   So, that would be something that an advanced

          9    life support tech would do, correct?

         10         A.     Yes.

         11         Q.     Now, what I'd like to do, if I could, is talk to you

         12    about a job that you did back in December of 2011.

-        13

         14         A.
                           On December 8th of 2011, were you working?

                           Yes, I was.

         15         Q.     Now, EMTs, do they work alone or do they work with

         16    partners?

        17          A.     We have partners.

         18         Q.     And on December 8, 2011, did you have a steady

        19     partner?

        20          A.     Yes, I did.

        21          Q.     What was your partner's name?

        22          A.     Debbie Melon (phonetic).

        23          Q.     Now, did you and EMT Melon receive an assignment on

        24     December 8, 2011, that caused you or made you go to 195 Steuben

-       25     Avenue -- Steuben Street, here in Staten Island?


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       Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 576 of 1061 PageID #: 771
         000574                                                                            105
                                       People -    Diniso - Direct/Reeves


- -.         1         A.    Yes.

             2         Q.    Now, back in December of 2011, do you remember what

             3    station you were working at?

             4         A.    Station 22.

             5         Q.    And where is station 22 located?

             6         A.    It's on    --   I'm sorry.

             7         Q.    Are you nervous?

             8         A.    A little bit.

             9         Q.    Just take a deep breath, you'll be fine.

           10          A.    It's in Seaview.

           11          Q.    Okay.     Now, do you remember what time you and EMT

            12    Melon received this job to go to Steuben Street?

-          13

           14
                       A.    May I refer to my ACR?

                                     MR. REEVES:     Your Honor, with the Court's

           15          permission.

            16                       THE COURT:     Yes.

           17          Q.    If you need something to refresh your recollection,

           18     just let the judge know and he'll tell you if it's okay.

           19                        THE WITNESS:     Am   I allowed to?

           20                        THE COURT:     Yes.

           21          A.    Can you    --


           22          Q.    What time did you get the job?

           23          A.    11:53.

           24          Q.    Now, do you recall or would paperwork help refresh

-          25     your recollection on how long it took from the time you got the


                                                           MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 577 of 1061 PageID #: 772
  000575                                                                            106
                               People - Diniso - Direct/Reeves

      1    call to when you arrived at Steuben Street?

      2         A.    Yes.

      3         Q.    How long did it take you to arrive?

      4         A.    Ten minutes.

      5         Q.    What I am going to do is I am going to hand you up

      6    something that's been received in evidence.

      7               When you got to Steuben, did you have a chance with

      8    EMT Melon to go up to the 7th floor of that building?

      9         A.    Yes.

     10         Q.    When you got to the 7th floor, do you recognize the

     11    person in the picture that I'm handing up to you?           This is

     12    People's 6.

     13         A.    Yes.

     14         Q.    You can turn that over.

     15               When you got to the scene, did you notice if the

     16    person in that photo had any injuries?

     17         A.    Yes.

     18         Q.    And where do you remember his injuries being?

    19          A.    Can I refer?

    20          Q.    Sure, if you need to refresh your recollection.

    21          A.    Would you like me to read the - -

    22          Q.    No.    I just want you to read it if it helps you

    23     remember and then tell me what you remember.

    24          A.    Fatal gunshot wound to the head.

    25          Q.    Now, Ms. Diniso, when you and Ms. Melon arrived, was


                                               MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 578 of 1061 PageID #: 773
  000576                                                                            107
                               People - Diniso - Direct/Reeves

      1    there anything that you could do to save or help this person

      2    medically?

      3         A.    No.

      4         Q.    Why is that?

      5         A.    Because we pronounced.

      6         Q.    Can you tell the ladies and gentlemen of the jury what

      7    it means to pronounce?

      8         A.    Um, patient was lying prone and -- He was dead at

      9    12: 0 6.

     10         Q.    That's one of the things that you're allowed to do as

     11    a Fire Department EMT is pronounce people dead?

     12         A.    Yes.

     13         Q.    And the people -- And the time that you pronounced

    14     this person dead was December 8, 2011, around 12:06 in the

     15    afternoon?

    16          A.    Yes.

    17          Q.    Ms. Diniso, other than what you and I have talked

    18     about, did you have any other involvement in this case?

    19          A.    No, I did not.

    20                       MR. REEVES:    Thank you, ma'am.

    21                       I have no further questions for the EMT.        Thank

    22          you, your Honor.

    23                       MS. GUASTELLA:    I have no questions.

    24                       THE COURT:    Okay, Ms. Diniso, you're excused.

    25          You're free to step out.


                                               MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 579 of 1061 PageID #: 774
  000577                                                                            108
                               People - Loiseau - Direct/Cilia

     1                       (Witness excused.)

     2                       MS. CILIA:     People are going to call Jean

      3         Loiseau.

      4                      THE COURT OFFICER:          Ready for the witness?

      5                      THE COURT:     Yes.

      6    JEAN        LO IS EAU, having been called as a witness on

      7         behalf of the People, having been duly sworn by the clerk

      8         of the court, was examined and testified as follows:

      9                      THE COURT CLERK:       State your name.

    10                       THE WITNESS:     My name is Jean Loiseau,

    11          L-O-I-S-E-A-U.

    12                       MS. CILIA:     May I inquire?

    13                       THE COURT:     Yes.

    14     DIRECT EXAMINATION

    15     BY MS. CILIA:

    16          Q.    Sir, do you live here on Staten Island?

    17          A.    Yes.

    18          Q.    For about how long have you lived here?

    19          A.    Like seven years.

    20          Q.   And are you employed?

    21         A.     Yes.

    22          Q.   What do you do?

    23         A.    Maintenance.

    24          Q.   Where do you work doing maintenance?

    25         A.    On Steuben, 231, 195.


                                                   MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 580 of 1061 PageID #: 775
  000578                                                                            109
                                People - Loiseau - Direct/Cilia

      1         Q.    That's here in Staten Island?

      2         A.    Yes.

      3         Q.    And you said two buildings.       You said 195 Steuben

      4    Street and --

      5         A.    And 231.

      6         Q.    -- 231?

      7         A.    231.

      8         Q.    Where are these two buildings in relation to one

      9    another?

    10          A.    Yes, because they are the same owner.         I'm working for

     11    both.

    12          Q.    Okay.     And, physically, where do they sit one to the

     13    next?

    14          A.    One side of each other.

    15          Q.    So they're on --

    16          A.    One is one.     Street in the middle.

    17          Q.    So, next to each other with the street in the middle?

    18          A.    Yes.

    19          Q.    Regarding 195 Steuben Street, what type of building is

    20     this?

    21          A.    It's like 100 apartment each one.        The entrance, the

    22     lock is broken, but they don't fix it.

    23          Q.    So, the type of building is a residential building?

    24          A.    Yes.

    25          Q.    Okay.     And what types of responsibilities do you have


                                              MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 581 of 1061 PageID #: 776
  000579                                                                            110
                                 People - Loiseau - Direct/C i lia

     1     working doing maintenance at those two buildings?           What kind of

     2     jobs do you do?

     3           A.   I do everything, like painting, floor, plumbing;

      4    everything.

      5          Q.   Now, tell us, you were just mentioning the door going

      6    in.    How does one enter into 195 Steuben Street?

      7          A.   The door wasn't locked.

      8          Q.   Is there a front door?

      9          A.   Yes.

    10           Q.   Okay .     And you're saying that that door doesn't lock.

    11     Is that right?

    12           A.   No.

    13           Q.   So you don ' t need a key to get in?

    14           A.   No.      Anybody could get in.

    15           Q.   Now, once you get into the building of 195 Steuben

    16     Street, can you tell us about the layout of the lobby that's

    17     there?

    18           A.   Nine by sixteen feet.      The lobby is big.

    19           Q.   And is there an elevator in the lobby?

    20           A.   Elevator in front of in the lobby, yes.

    21           Q.   And is there a staircase also?

    22           A.   Two side, two, A and B.

    23           Q.   Now, as of December 8th of 2011, were there any

    24     working surveillance cameras in the building?

    25           A.   No.


                                               MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 582 of 1061 PageID #: 777
  000580                                                                            111
                              People - Loiseau - Direct/Cilia

     1         Q.    What about nonworking surveillance cameras?

     2         A.    No.

     3         Q.    Were there any cameras that were not working?

     4         A.    None of them working.

     5         Q.    Okay.    So, none of them were working, meaning that

     6     there was a camera that was not working?

     7         A.    They have a camera in front of the elevator in the

     8     lobby.

      9         Q.   Now, you just mentioned that there was a nonworking

    10     surveillance camera in the lobby.

    11         A.    Yes.

    12          Q.   Was there a sign or something indicating that the

    13     camera was not working?

    14         A.    Nobody know it not working, only us, workers.

    15          Q.   Now, I want to talk to you about December 8th of 2011.

    16     Do you remember that day?

    17         A.    Yes.

    18          Q.   Was that a weekday or a weekend?

    19         A.    Weekday.

    20          Q.   Were you working on that day?

    21         A.    Yeah, I was working that day.

    22         Q.     I want to draw your attention to that morning,

    23     December 8th, before noon.       What were you doing at that time?

    24         A.     I was working at 231.     My shop is in 195.      Whenever I

    25     need something I have to cross the street to get it and go to


                                              MMS
      Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 583 of 1061 PageID #: 778
        000581                                                                            112
                                     People - Loiseau - Direct/Cilia


--         1     do it at 231.

                     Q.    So you were working in 231.        Is that right?
           2

           3         A.    Yes.

            4         Q.   And then you needed to go to your shop in 195?

            5        A.    To get something to come back in 231.

            6         Q.   And did you do that, did you go into your shop?

            7         A.    Yes.

            8         Q.   When you go into your shop in 195, do you pass through

            9    the lobby?

          10          A.    Yes, I have to pass through the lobby.

          11          Q.    When you pass through the lobby to go to your shop,

          12     was there anybody in the lobby?

---       13          A.    No.

          14          Q.   And then at some point did you leave the shop?

          15         A.     Like three or five minute after.

          16          Q.   When you left, did you also go through the lobby?

          17         A.     Yes.

          18          Q.   When you went through the lobby to go back to the

          19     other building, was there anyone in the lobby?

          20         A.    One person I see standing in the lobby.

          21                       MS. GUASTELLA:   What was that?

          22         Q.    Can you repeat that?

          23         A.     It was one person standing in the lobby.

          24         Q.    Okay.     Did you recognize this person?

-         25         A.    No.     He is covered.   I can't tell you if it's black or


                                                    MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 584 of 1061 PageID #: 779
  000582                                                                            113
                               People - Loiseau - Direct/Cilia


     1     if it's white because he covered completely: mask, glove, bag,

     2     and everything.      But I'm tall, I see that person is so tall, I

      3    turn and look at him and I go.

      4         Q.     Well, I'm just going to go back a little bit.         This

      5    person who you saw in the lobby, what was this person doing?

      6        A.      Standing.   Doing nothing.

      7         Q.     And where was this person standing in relation to the

      8    nonworking camera?

      9         A.     He was underneath of the camera.

    10          Q.     And if the camera had been working, would it have

    11     captured this person?

    12         A.      No.

    13          Q.     Now, you said that this person was covered, but can

    14     you give a physical description of the person?

    15         A.      He was all covered.    I can't tell you if he is white

    16     or black.

    17          Q.     Could you tell whether it was a man or a woman?

    18         A.      It was a man, but at the end, one of the police

    19     officer call me

    20                       MS. GUASTELLA:   I am going to object.

    21                       THE COURT:   Sustained.

    22                       Next question.

    23          Q.     So, you could tell this was a man.       Can you describe

    24     the body type of this person?

    25         A.      Yeah, he is taller than me.      I am 6' 4".


                                              MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 585 of 1061 PageID #: 780
  000583                                                                            114
                              People - Loiseau - Direct/Cilia

      1         Q.    You're 6'4"?

      2        A.     Yes.

      3         Q.   And you're saying that the person who you saw --

      4         A.    That's why I'm turn and look at him, because he is

      5    taller than me.

      6         Q.    And can you give a clothing description of what this

      7    man was wearing?

      8         A.    He was a long coat, that kind, black; and a bag; and

      9    he covered.

    10          Q.    Okay.   Now, you mentioned there was a coat, a long

    11     dark coat.    And what about his -- the hands, was anything

    12     covering the hands?

    13          A.    He had glove, mask, and a bag.

    14          Q.    You mentioned a mask.      Was that a face mask?

    15          A.    Yeah.

    16          Q.    Can you describe the face mask?

    17          A.    He got - - He can see because he got that on his head.

    18     I can't tell you who the person is.        The only thing I can tell

    19     you is height.     Because of his height I turn, but I see he is

    20     covered completely and a bag hanging.

    21          Q.    So, you're saying that the face mask was a full face

    22     mask?

    23          A.    Yes.

    24          Q.   And that only the eyes you could see?

    25          A.    Yes.


                                               MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 586 of 1061 PageID #: 781
  000584                                                                            115
                                  People - Loiseau - Direct/Cilia


      1           Q.     You ment i oned a bag.   Was this person carrying a bag?

      2           A.      Yes, on the shoulder, hanging on the shoulder.

      3           Q.      Can you describe that bag?

      4           A.      It's a sport bag.   It's a black sports bag.     It got

      5    two round thing on the side and you open on top.

      6           Q.      Can you tell the jurors approximately the size of that

      7    bag?        You can even show us with your hands, if it helps.

      8           A.      (Indicating.)

      9           Q.      So, indicating to the jurors approximately four feet.

     10    Is that right?

     11           A.      No, not that big.   Like 16 inches.

     12           Q.      Okay.   I'd like to show you some pictures that are in

     13    evidence.        I am going to show them to you on this board over

     14    here, at the same time I am going to hand you the pictures

     15    which are in evidence.

     16                   The first one is People's 107.    Taking a look at this

    17     photograph I want to ask you how the coat depicted in People's

     18    Exhibit 107 compares to the coat that you saw the masked man

    19     wearing on that day.

     20           A.      Yes.

    21            Q.      How does it compare?

     22           A.      It look like it.

    23            Q.      I want to talk to you about People's 115, which the

    24     officer is going to show you now and is also on the screen.

    25                    I want to ask you, how does the face mask that you see


                                                  MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 587 of 1061 PageID #: 782
  000585                                                                            116
                               People - Loiseau - Direct/Cilia

      1    in People's 115, how does that compare to the face mask that

      2    you saw the man wearing on December 8th?

      3         A.    That kind.

      4                      THE COURT:   I didn't hear the answer.      Did you

      5         get it?

      6                      (Whereupon, the previous answer is read back by

      7         the court reporter.)

      8         Q.    And now moving on to People's 124, showing you

      9    People's 124 in Evidence, how does the black and gray duffel

    10     bag that you see in this exhibit, how does that compare to the

    11     duffel bag that you saw on December 8th of 2011?

    12          A.    Like I tell you, I was passing.        I was passing.    I see

    13     the bag, but is this kind, you know.

    14          Q.    It's this kind of bag?

    15          A.    This size.

    16          Q.    Now, I'm going to go back to your day of December 8th

    17     of 2011.    After you saw the masked man in the lobby, where did

    18     you go?

    19          A.    I'm going to 231.

    20          Q.    And did there come a time when you heard that

    21     something had happened in the building of 195 Steuben Street?

    22          A.    Like

    23          Q.    About how soon after?

    24          A.    -- five to ten minutes after, some -- a tenant came

    25     and asked me what happened in the lobby -- what happened in the


                                               MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 588 of 1061 PageID #: 783
  000586                                                                             117
                                 People - Loiseau - Direct/Cross


     1     building.

     2         Q.      And did the police arr i ve?

      3        A.      Right away everywhere I saw police, were everywhere.

      4         Q.     Did there come a time when you had occasion to go to

      5    the 7th floor of 195 Steuben Street later on that evening?

      6         A.     Okay.     It was two police officer came.      They call me

      7    and they tell me to send somebody to clean the 7th floor,

      8    because there are people living on the 7th floor.            Since the

      9    start those people are outside, they want to go home.             No, I

    10     don't have nobody.        I have to go upstairs and clean everything,

    11     the blood.

    12          Q.     So, did you go up to the 7th floor and --

    13          A.     At night.

    14          Q.     Okay.     And when you went up to the 7th floor, can you

    15     tell us the condition of the hallway at that time?

    16          A.     Full of blood.       I'm doing cleaning that night.

    17                         MS. CILIA:   Thank you, sir.     I have no further

    18          questions.

    19                         MS. GUASTELLA:      May I inquire, your Honor?

    20                         THE COURT:   Yes.

    21     CROSS-EXAMINATION

    22     BY MS. GUASTELLA:

    23          Q.     I'm sorry, how do you pronounce your last name?

    24         A.      Loiseau.

    25         Q.      Loiseau?


                                                   MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 589 of 1061 PageID #: 784
  000587                                                                            118
                                   People - Loiseau - Cross

     1         A.    Yes.

     2         Q.    195 Steuben is a pretty busy area, correct?

     3         A.    No.

      4         Q.    It's not busy?

      5        A.    No.

      6         Q.   You said there's about 100 apartments between both

      7    buildings?

      8        A.     Yes, in that time.     In that time most of the people at

      9    work, at school, kids at school, thing like that.           You don't

    10     see that much.

    11          Q.    It's in the morning?

    12         A.     Yes.

    13          Q.   What time do you start in the morning?

    14         A.    Eight.

    15          Q.   Eight.

    16               Eight o'clock, that's when there is a lot of children

    17     in both buildings, correct?

    18         A.    Yes.

    19          Q.   And the school is right down the block?

    20         A.    No.     Most of them attend school otherwhere (sic).

    21          Q.   There is a school down the block on Steuben?

    22         A.    Yeah.

    23         Q.    And there is a lot of activity in the morning around

    24     8:00, 7:30,     8:00?

    25         A.    Yeah.


                                              MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 590 of 1061 PageID #: 785
  000588                                                                            119
                                    People - Loiseau - Cross


     1         Q.     And people are going to work, right?

     2         A.     Yeah.

     3         Q.     Residential area?

      4        A.     Yeah.

      5         Q.    In addition to the two buildings, adjacent to the two

      6    buildings there's all residential homes, correct?

      7        A.     Across.

      8         Q.    Across the street from the building?

      9        A.     Yeah.

    10          Q.    And you say you start working at about 8 o'clock in

    11     the morning?

    12         A.     I start at 8 o'clock in the morning.

    13          Q.    Do you live at 195 Steuben?

    14         A.     No, in 231.

    15          Q.    You live in 231.

    16                And you've been there about seven years?

    17         A.     Yeah.

    18          Q.    So you know some of the residents in both buildings,

    19     correct?

    20         A.     Yeah.

    21          Q.    Get to know them, fix the things in their apartment,

    22     right?

    23         A.     Yeah.

    24         Q.     Now, on this particular morning, do you remember what

    25     you were doing at 235 -- I'm sorry, at 231 Steuben Street?


                                              MMS
        Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 591 of 1061 PageID #: 786
          000589                                                                            120
                                            People - Loiseau - Cross

-   .        1         A.      I was doing the floor because I got two apartment

             2     empty.     There I was doing a floor.     I got -- I tried to fix the

             3     floor 2G, and 2G was empty.        When the management call me they

             4     say they need that apartment next week.         I try to work on them

             5     to be done.

              6        Q.      So you were working on the empty apartment floors?

              7        A.      Yes.

              8         Q.     And what were you doing to those floors; were you

              9    sanding them?

            10         A.      No.

            11         Q.      What were you doing?

            12         A.      It was vinyl tile.     I went across street to get a

            13     bucket of glue to put glue on the floor and after to put the

            14     tile.

            15         Q.      Do you remember what time you started working that

            16     morning?

            17         A.      8 o'clock.

            18         Q.      And approximately what time was the first time you

            19     went back over to 195 to get some supplies?

            20         A.      Before -- It was before 12, because the guy after me,

            21     he went to the management to take out a check.          That's payday.

            22     It was payday.

            23         Q.      I'm going to stop you there.

            24                 Let's go back to 8 o'clock in the morning.        You go to

-           25     work, right?


                                                       MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 592 of 1061 PageID #: 787
 000590                                                                             121
                                      People - Loiseau - Cross

     1         A.    Yeah.

     2         Q.    You go to 231?

     3         A.    Yeah.

     4         Q.    And what did you do in the apartment?

     5         A.    Okay.     The first thing I do at 8 o'clock, I have to go

     6     to the top, walking downstairs.         Whatever I miss, I fix.

     7         Q.    So, you didn't start the day off by fixing the floors

     8     of the apartment, right?

      9        A.     I start fixing after inspection.

    10          Q.    In those two apartments, in 231?

    11         A.    No,    no, no.

    12          Q.    Just the building in general?

    13         A.    Yes.

    14          Q.   Okay.     Do you recall the first time you went back over

    15     to 195?

    16         A.    Only at that time.

    17         Q.     In the morning?

    18         A.    Yeah.     At that time I went to pick up the glue to come

    19     back because is empty.         All the tools is already in the

    20     apartment, I finish plumbing, I finish everything.           Now I have

    21     to do the floor and send somebody to clean it.

    22         Q.    But you don't remember what time you went over to 195?

    23         A.     It was almost 12 o'clock.

    24          Q.    It was almost 12, okay.

    25               And when you went back into 195, where is your shop in


                                                MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 593 of 1061 PageID #: 788
  000591                                                                            122
                                  People - Loiseau - Cross

     1     comparison to the lobby?

     2         A.      It's in the back of the -- inside the building, was in

      3    the back.     I have to cross the lobby to go to my shop.

      4         Q.     You didn't go through the back way, you went through

      5    the front way?

      6        A.      Out the front way.

      7         Q.     There is a back door, right, to the building?

      8         A.     Yes.

      9         Q.     And that door is unlocked as well, right?

    10          A.     Yes.

    11          Q.     And your shop is in the back, by the back door, right?

    12          A.     After the laundry.    You have to get inside the

    13     building, pass by the mailbox, the laundry, my shop.

    14          Q.     Okay.   But you went in through the front, you said,

    15     right?

    16          A.     Yes.

    17          Q.     And when you went in, you actually went to the shop,

    18     got your glue, and came back out?

    19          A.     Yes.

    20          Q.     And that's when you first saw the gentleman in the

    21     lobby?

    22          A.     Yes.

    23          Q.     Okay.   And he was waiting for the elevator?

    24          A.     No, I'm going across the street.       I'm not waiting for

    25     the elevator.


                                               MMS
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 594 of 1061 PageID #: 789
      000592                                                                            123
                                       People - Loiseau - Cross

         1         Q.     No.     Was the person you saw in the lobby waiting for

         2     the elevator?

         3         A.     Yes.

          4        Q.     He was just standing there, right?

          5        A.     Yes, just standing.

          6         Q.    So, you sort of walked past him and he saw you looking

          7    at him, correct?

          8        A.     Like I tell you, I'm curious, because I saw somebody

          9    who's --

        10          Q.    -- tall, okay.

        11                And he stayed at the elevators, correct?         He stayed at

        12     the elevator, correct?

-       13

        14
                    A.

                    Q.
                          In front of the elevator.

                          Waiting for the elevator to open?

        15         A.     Yeah.

        16          Q.    Okay.     And then you left 195 and you went back over to

        17     231, right?

        18         A.     Yeah.

        19          Q.    And that's when you started working on the floor?

        20         A.     Yeah.

        21          Q.    Okay --

        22          A.    I don't even start, because a tenant call me, tell me

        23     what happened in the building.

        24          Q.    Not even how many minutes later?

-       25         A.     Not even ten minutes later.


                                                  MMS
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 595 of 1061 PageID #: 790
      000593                                                                            124
                                         People - Loiseau - Cross


-         1

          2
                      Q.

                      A.
                           Do you recall speaking to a Det. Buscanera that day?

                           By 4:00 I'm finished working.

          3           Q.   What time?

          4           A.   By four

          5           Q.   Okay.

          6           A.   -- I'm finish working.     I'm going across the street.

          7           Q.   Back to 195?

          8           A.   231.

          9           Q.   Okay.

        10            A.   An officer call me, I don't know his name.

        11            Q.   I missed what you said.

        12            A.   He call me.

        13            Q.   You went back to 195 after you finished working,

        14     right?

        15            A.   After that happen, everybody, but I'm finish working.

        16            Q.   Fair enough.     Okay.

        17            A.   When I'm going across the street, an officer on the

        18     sidewalk, he call me.

        19            Q.   Uniformed?

        20            A.   No.

        21            Q.   Was he in jeans, in a suit?

        22            A.   Yeah,   jean, and he call me.

        23            Q.   How do you know it was an officer?

        24            A.   The whole block is only those people there after, that

        25     day.


                                                    MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 596 of 1061 PageID #: 791
  000594                                                                            125
                                   People - Loiseau - Cross


     1         Q.     No residents were outside?

     2         A.     A lot.     They ask a lot of people question.      But what I

     3     tell you, um, when I finish to take the thing in the shop, when

      4    I come back, it was only me in the lobby and that person

      5    standing, doing nothing, standing in front of the elevator.

      6         Q.    Okay.     So you remember speaking to a police officer,

      7    you just don't remember who it was, correct?

      8        A.     No, I don't remember.

      9         Q.    And you remember that person wearing jeans?

    10         A.     Yes, light-skinned, Spanish complexion.

    11          Q.    Spanish?

    12         A.     He call me and tell me, You the super, why you can't

    13     help us?

    14          Q.    I am going to stop you there again.        I'm sorry.

    15                Could you describe his height?       Was he shorter than

    16     you, taller than you?

    17         A.     No, he not taller than me.

    18         Q.     He was shorter?

    19         A.     Yes.

    20         Q.     Was he wearing an NYPD jacket?

    21         A.     No.     Regular clothes.

    22         Q.     And he asked you if you saw an individual, correct?

    23     This police officer asked you if you saw an individual in the

    24     lobby?

    25         A.     No, no, he wasn't in the lobby.       He was in the


                                                 MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 597 of 1061 PageID #: 792
  000595                                                                            126
                                    People - Loiseau - Cross

     1     sidewalk, that police officer.

     2         Q.      The police officer was, okay.

     3                 Do you remember telling this police officer that you

      4    observed an individual outside and eventually that person

      5    walked into 195?

      6        A.      Say it again.

      7         Q.     Do you recall telling a police officer that you --

      8    that you saw a tall black male walking outside and eventually

      9    entered Steuben Street?       Do you recall that?

    10          A.     No, I can't tell black male, because I don't see the

    11     person.     He is all covered.

    12          Q.     I apologize.    Tall male.    Not black male, tall male.

    13          A.     Yes, I tell him, because he call me and ask me

    14     question.

    15          Q.     That's fine.    That's understandable.     But do you

    16     recall telling him that, that you saw him outside and

    17     eventually he went into 195?        Do you recall telling him that?

    18         A.      The police officer?

    19          Q.     Did you tell him that?

    20         A.      No.     I tell him I saw a guy, a tall male, covered, all

    21     covered, stand in the lobby.

    22          Q.     Okay.

    23         A.      Not walking in the --

    24          Q.     Thank you.

    25                 The black jacket you saw, can you describe it?          Did it


                                               MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 598 of 1061 PageID #: 793
  000596                                                                            127
                                    People - Loiseau - Cross

     1     have a zipper, did it have snaps?

     2            A.   No.

      3           Q.   You can't describe it?      The one you saw in the lobby.

      4           A.   Yes.    Is this kind of jacket.      I can't tell you

      5    exactly, because I don't stand and talking and looking.             I

      6    just, you know.

      7           Q.   Can you describe the mask, the type of material it

      8    was?

      9           A.   That was.

    10            Q.   Was it a ski mask that you would wear if you were

    11     skiing?     Would you wear it skiing or if it was very cold out,

    12     that type of a mask?

    13            A.   Mm-hmm, what happened?

    14                        MS. GUASTELLA:   I'm going to withdraw the

    15            question.

    16                        Just one moment, your Honor.

    17                        (Whereupon, there is a pause in the proceedings.)

    18                        MS. GUASTELLA:   Nothing further.

    19                        THE COURT:   Anything else?

    20                        MS. CILIA:   No, your Honor.

    21                        THE COURT:   Mr. Loiseau, you're excused, you're

    22            free to step out.

    23                        (Witness excused.)

    24                        THE COURT:   Next witness, please.

    25                        MS. CILIA:   People call Police Officer Vincent


                                               MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 599 of 1061 PageID #: 794
 000597                                                                             128
                            People - P.O. Aguilo - Direct/Cilia

     1         Aguilo.

     2                      THE COURT OFFICER:          Your Honor, ready for the

     3         witness?

     4                      THE COURT:     Yes.

     5                      THE COURT OFFICER:          Witness entering.

     6     p. 0.    V I N C E N T        AG U IL O, bearing shield number 382,

     7         assigned to the 120 Precinct, having been called as a

     8         witness on behalf of the People, having been duly sworn by

     9         the clerk of the court, was examined and testified as

    10         follows:

    11                      THE COURT CLERK:       State your name, shield number,

    12         and command for the record.

    13                      THE WITNESS:     Officer Vincent Aguilo, shield 382,

    14         from the 120 Precinct.

    15                      MS. CILIA:     May I i nquire?

    16                      THE COURT:     Yes.

    17     DIRECT EXAMINATION

    18     BY MS. CILIA:

    19         Q.      Officer, approximately how long have you been with the

    20     NYPD?

    21         A.      Almost ten years.

    22         Q.      And about how long have you been with the 120

    23     Precinct?

    24         A.      Same time.

    25         Q.      Can you tell the jury about your duties and


                                                  MMS
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 600 of 1061 PageID #: 795
      000598                                                                            129
                                   People - P.O. Aguila - Direct/Cilia



-         1

          2
               responsibilities that you hold as a police officer?

                    A.     Right now I'm in the Anti-Crime team, so we pretty

          3    much address crime, serious offenses on the street, radio runs.

          4         Q.     Can you tell the jurors, what is a radio run?

          5         A.     It's a 911 call from a civilian that calls the 911

          6    dispatcher and relays the message to the police officers.

          7         Q.     So, it starts with a 911 call?

          8         A.     Yes.

          9         Q.     Okay.    And then there is an operator who gives that

        10     information to the dispatcher?

         11         A.     Yes.

        12          Q.     And then the dispatcher gives it to the police?

-        13

        14
                    A.

                    Q.
                           Yes.

                           Over the radio?

        15          A.     Yes.

         16         Q.     And I want to direct your attention now to

        17     December 8th of 2011.       Were you working on that day?

        18          A.     Yes.

        19          Q.     What were your hours that day?

        20          A.     I was working 9:30 a.m. to about 6:05 p.m.

        21          Q.     Were you working alone or did you have a partner or

        22     partners?

        23          A.     I had one police officer partner and a sergeant.

        24          Q.     What are their names?

-       25          A.     Officer DiMassa, Steve DiMassa, and Sgt. Parquette.


                                                   MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 601 of 1061 PageID #: 796
  000599                                                                            130
                              People - P.O. Aguilo - Direct/Cilia

     1         Q.     What was your assignment that day?

     2         A.      I was doing my Anti-Crime Unit.

     3         Q.     Can you explain to the jurors, when you're assigned to

      4    Anti-Crime, tell us what you do.

     5         A.     We pretty much listen to the 911 calls, serious

      6    offenses, weapons possession, you know,        just observe jobs on

     7     the street.

      8         Q.     Do you respond to those jobs as well?

      9        A.      Yes.

    10          Q.     I want to direct your attention to shortly before

    11     noon.     Did you receive a radio run at that time?

    12         A.      Yes.

    13          Q.    What was that call regarding?

    14         A.      It came over as a -- Over police radio it was a 1034,

    15     shots fired.

    16          Q.    And was there a location?

    17         A.     At 195 Steuben.

    18          Q.    Was there an apartment number?

    19         A.      It was given a floor.     It was the 7th floor.

    20          Q.    And where were you when you received this particular

    21     call?

    22         A.     We were in the neighborhood, we were in the area,

    23     driving around.

    24         Q.     What did you and your partners do?

    25         A.     We responded immediately to the location.


                                               MMS
     Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 602 of 1061 PageID #: 797
       000600                                                                            131
                                   People - P.O. Aguila - Direct/Cilia


--         1           Q.   About what time did you arrive to 195 Steuben Street?

           2           A.   It was about, I'd say, like 11:56, shortly before

           3    12:00.

           4           Q.   Were any other police officers already there?

           5           A.   Yes.

           6           Q.   And where were those police officers?

           7           A.   They were outside of the apartment building.

           8           Q.   Were there any police officers inside the building?

           9           A.   No.

         10            Q.   So, you -- where did you go?

         11            A.   We went directly to the building to take the stairway.

         12            Q.   So, you were the first police officers to enter that

         13     building?

         14            A.   Yes.

         15            Q.   Once you got to the building, tell us how you got to

         16     the 7th floor.

         17            A.   We took the stairs to the 7th floor and we exited out

         18     the staircase.

         19            Q.   Now, when you got to the 7th floor,      tell us what you

         20     saw.

         21            A.   It was a long hallway and -- There was pretty much

         22     nobody in the hallway at the time, but at the very end you

         23     could see somebody was laying on the ground.

         24            Q.   When you say,   "There was pretty much nobody in the

         25     hallway," can you just explain what you mean?


                                                   MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 603 of 1061 PageID #: 798
  000601                                                                            132
                              People - P.O. Aguilo - Direct/Cilia

      1        A.      As we were walking towards where there appeared to be

      2    a body, somebody opened up an apartment and they were on 911,

      3    they were on the phone .     And they were telling us that they

      4    heard a loud noise and they think somebody is hurt down the

      5    hallway.

      6         Q.     And you said the "body."

      7         A.     Yes.

      8         Q.     Can you explain to the jurors where specifically you

      9    saw that body.

    10          A.     It was in front of Apartment 7L on the 7th floor of

    11     195 Steuben.

    12          Q.     And what condition was this person in?

    13          A.     Unresponsive, laying flat on his face.

    14          Q.     What did you do when you saw this?

    15          A.     My sergeant, who was with me, immediately went on the

    16     radio, the police radio, and notified saying that there was a

    17     confirmed male shot.

    18          Q.     Now, can you explain to the jury what it means to

    19     secure a crime scene?

    20          A.     Pretty much try not to disturb anything, don't touch

    21     anything.     Prevent any other people from entering the crime

    22     scene besides police officers so nothing is altered.

    23          Q.     And what i s the significance of securing a crime

    24     scene?

    25          A.     To do the investigation.


                                               MMS
        Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 604 of 1061 PageID #: 799
          000602                                                                            133
                                      People - P.O. Aguila - Direct/Cilia

-   .         1         Q.    Was this particular crime scene secured?

              2         A.    Yes.

              3         Q.    By whom?

              4         A.    Us.

              5         Q.    "Us," meaning you and your --

              6         A.    Yes, myself, my partner, and the sergeant.

              7         Q.    And how did you and your partner and your sergeant do

              8    that?

              9         A.    We just made sure nobody else entered the hallway.

             10    Went over the radio advising our location and just prevented

             11    anybody from walking or touching anything.

             12         Q.    Talking about civilians?

-            13

             14
                        A.

                        Q.
                              Yes.

                              Did there come a time when you entered Apartment 7L?

             15         A.    Yes.

             16         Q.    Why did you do that?

             17         A.    We had some information saying that he might have a

             18    child inside the apartment.

             19         Q.    Okay.    And by the time that you entered the apartment,

             20    were there other police officers on scene?

             21         A.    Yes.

             22         Q.    Did those officers stay in the hallway while you went

            23     into the apartment to look for the child?

            24          A.    Yeah.    We were the first ones to enter into the

-            25    apartment and the officers were arriving at the scene.


                                                       MMS
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 605 of 1061 PageID #: 800
      000603                                                                            134
                                 People - P.O. Aguilo - Direct/Cilia

          1         Q.   Okay, so at no point was the crime scene left

          2    unattended; is that correct?

          3         A.    Yes.

          4         Q.    Did you go through all the rooms of the apartment or

          5    just some of them?

          6         A.    No, we went through all the rooms.

          7         Q.    Describe what you saw when you went into the

          8    apartment.

          9         A.    The radio -- A radio was actually playing really loud,

        10     music was still on.      We checked every apartment -- every area

        11     of the apartment to see if there was anybody else in there.

         12    There was nobody else in there, but there was, like, papers on

-       13

        14
               the ground, looked like maybe like children's toys were thrown

               on the ground, and a few things looked like they were knocked

        15     over.

        16          Q.    Did you find a child in the apartment?

        17          A.    No.

        18          Q.    Did you notice any ballistic evidence while inside the

        19     apartment?

        20          A.    Yes.

        21          Q.    Where was that?

        22          A.   As soon as we opened the door, on the ground there was

        23     a shell casing.

        24          Q.    Did you move or did you rearrange anything in the

-       25     apartment while you were there?


                                                   MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 606 of 1061 PageID #: 801
  000604                                                                            135
                              People - P.O. Aguilo - Direct/Cilia

      1         A.    No.

      2         Q.    Similarly, from the time you got to the 7th floor and

      3    secured the location, did you move or rearrange anything in the

      4    hallway?

      5         A.    No.

      6         Q.    After you were done sweeping the apartment, what did

      7    you do next?

      8         A.    We just advised the other officers coming to the scene

      9    that there was nobody else in the apartment.

    10          Q.    I'd like to show you some photos now that are already

    11     in evidence.       We're going to turn over the photos themselves

    12     and we are going to also play them on this board.

    13                Officer, looking at People's Exhibit Number 4, I want

    14     to ask you about the body that's depicted in that photo.            And

    15     can you tell us how this compares to the way that you saw the

    16     body on December 8th of 2011?

    17          A.    It's pretty much exactly the same but without the

    18     cups.

    19          Q.    Without the cups?

    20          A.    Yeah.

    21          Q.    Okay.     So, when you got there, there were no cups on

    22     the floor?

    23          A.    Yes.

    24          Q.    And when you left, had Crime Scene arrived yet?

    25         A.     They were -- They were responding to the scene, but I


                                              MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 607 of 1061 PageID #: 802
  000605                                                                            136
                              People - P.O. Aguilo - Direct/Cilia

     1     didn't observe them, I didn't see them.

     2         Q.    By the time that you left, were the cups there yet?

      3        A.    They were there, still there, yes.         Somebody was still

      4    there.

      5         Q.    So, when you left for the day, were the cups there?

      6        A.     Yes.

      7         Q.    But not when you got there?

      8         A.    Yeah.

      9         Q.    I now want to direct your attention to People's 12.

    10     Now, I want to ask you regarding the body that you see in this

    11     photo, is this how the body was positioned when you arrived on

    12     the 7th floor of 195 Steuben Street on December 8th?

    13          A.    Yes.

    14          Q.    Did you ever move the body?

    15          A.    No.

    16          Q.   And then the same question regarding the cups and the

    17     markers that you saw there, were those there when you got

    18     there?

    19         A.     No.

    20          Q.   Moving on now to People's Exhibit Number 13, I am

    21     going to direct your attention to the deformed bullet in this

    22     photo.    Did you notice this, this particular deformed bullet,

    23     on December 8th of 2011?

    24         A.     I don't recall this deformed bullet.

    25          Q.    Did you ever touch or did you ever move this


                                              MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 608 of 1061 PageID #: 803
  000606                                                                            137
                              People - P.O. Aguilo - Direct/Cilia

      1    particular item?

      2         A.    No.

      3         Q.    Now moving on to People's Exhibit Number 17.

      4    Directing your attention to the shell casing in this photo, did

      5    you ever -- did you notice this particular shell casing on

      6    December 8th of 2011?

      7         A.    Yes.

      8         Q.    And did you ever touch or move this item?

      9         A.    No.

    10          Q.    Where specifically did you notice this item?

    11          A.    As soon as you walk -- As soon as          Right by the

    12     entrance of the apartment, behind the door.

    13          Q.    I'd like to show you some pictures of the inside of

    14     the apartment now.      So, we're going to move on to People's

    15     Exhibit Number 44.

    16                I want to ask you, when you entered as the first

    17     police officer Apartment 7L, was this the condition of the

    18     apartment when you entered?

    19         A.     Yes.

    20          Q.    Now, if you can see a glass on the floor next to the

    21     two shoes, I just want to ask you if that was there when you

    22     arrived.

    23         A.     I think that was put after.

    24          Q.    Okay.    So, besides the glass tha t 's on the floor,

    25     everything else is the way that you saw it when you arrived on


                                              MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 609 of 1061 PageID #: 804
  000607                                                                            138
                             People - P.O. Aguilo - Direct/Cilia

      1    December 8th?

      2         A.    Yes.

      3         Q.    Now moving on to People's Exhibit Number 71.          This is

      4    from inside of the apartment.        Did you notice this ballistic

      5    evidence when you entered the apartment?

      6         A.    Yeah, I think this -- I remember the shell casing.

      7    I'm not really a hundred percent sure on this, but I remember

      8    there was a few -- there was a shell casing, there might have

      9    been a bullet right inside the apartment.

     10         Q.    My question to you is, did you ever touch or move this

     11    i t em?

     12         A.    No.

     13         Q.    Now moving on to People's Exhibit Number 52, the

     14    living room.      Was this the condition of the living room when

     15    you entered the apartment on December 8th?

     16         A.    Yes.

     17         Q.    Did you disturb anything in this room?

     18         A.    No.

     19         Q.    And, finally,   People's Exhibit Number 55.       Taking a

     20    look at the fish tank, there is some things floating in there.

     21    Was this the condition in and around the f i sh tank when you

     22    entered?

     23         A.    Yes.

     24         Q.    Again, did you disturb anything in this area?

     25         A.    No.


                                               MMS
     Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 610 of 1061 PageID #: 805
       000608                                                                            139
                                   People - P.O. Aguilo - Direct/Cross


-          1

           2
                     Q.    Officer, besides what we've already gone over today,

                was there anything else that you did with respect to this

           3    homicide investigation?

           4         A.    No.

           5                       MS. CILIA:   Thank you, Officer.

           6    CROSS-EXAMINATION

           7    BY MS. GUASTELLA:

           8         Q.    Officer, a couple of hours after you left the

           9    apartment you wrote a statement for one of the assigned

          10    detectives in the case, correct?

          11         A.    Yes.

          12         Q.    And in the statement you wrote that it appeared that

-         13

          14
                there was a struggle or a fight inside the apartment, right?

                     A.    Yes.

          15         Q.    And when you got to the apartment, you didn't have a

          16    description of the alleged perpetrator, right?

          17         A.    No.

          18         Q.    And when you and your partner went upstairs, is that

          19    when you first found out -- you thought maybe there was a child

          20    inside?

          21         A.    Yes.

          22         Q.    Okay.     So, with urgency you went in to try to find

          23    this child, correct?

          24         A.    Yes.

--        25         Q.    And you had to step around things and move around


                                                    MMS
     Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 611 of 1061 PageID #: 806
       000609                                                                            140
                                      People - P.O. Aguila - Cross


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           2
                things to go look into the different rooms for this child?

                     A.    Yes.

           3         Q.    And were you wearing protective covering on your

           4    shoes?

           5         A.    I had just my regular shoes of the day, my boots.

           6         Q.    And you found        you didn't want to wait because you

           7    wanted to make sure there was nobody in danger, correct?

           8         A.    Exactly.

           9         Q.    When you got there, was the door opened or closed?

          10         A.    It was --

          11                       THE COURT:   Which do o r?

          12         Q.    The door to Apartment 7L.

-         13

          14
                     A.    It wasn't fully closed.

                not shut completely.
                                                             It was open, but it was like



          15         Q.    Did you have to open it to get in?

          16         A.    Yeah.

          17                       MS. GUASTELLA:      Nothing further.    Thank you.

          18                       THE COURT:   Anything else?

          19                       MS. CILIA:   Nothing further,      thank you.

          20                       THE COURT:   Officer, you're excused, you're free

          21         to step out.

          22                       (Witness excused.)

          23                       MS. CILIA:   Judge, can we approach for one

          24         second?
·-
          25                       THE COURT:   Yes.


                                                       MMS
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 612 of 1061 PageID #: 807
      000610                                                                               141
                                              Proceedings


-         1

          2
                                (Whereupon, a discussion is held at the bench off

                    the record. )

          3                     THE COURT:    We have one more witness, members of

          4         the jury, and I understand he's across the street, so we

          5         are going to take a short break, then we'll bring you back

          6         in and finish up with that last witness.           Why don't we say

          7         ten minutes and I'll let you step out.

          8                     Don't discuss the case.         Thanks for your

          9         patience.     Just leave your notebooks on your chairs; nobody

         10         reads them.

         11                     (Whereupon, the jury exits the courtroom.)

         12                     THE COURT:    All right, the jury's left.         Second

         13         call.

         14                     (Whereupon, a brief recess is taken.)

         15                     THE COURT OFFICER:         Your Honor, ready for the

         16         jury?

         17                     THE COURT:    Yes.

         18                     THE COURT OFFICER:         Jury entering.

         19                     THE COURT CLERK:       Do both sides stipulate to a

         20         complete jury panel, properly seated?           People?

         21                     MS. CILIA:    Yes.

         22                     THE COURT CLERK:       Defense?

         23                     MS. GUASTELLA:       So stipulated.

         24                     THE COURT:    Next witness.

-        25                     MR. REEVES:    People call Sgt. John Trzcinski,


                                                     MMS
        Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 613 of 1061 PageID #: 808
          000611                                                                            142
                                  People - Sgt. Trzcinski - Direct/Reeves


-             1

              2    SGT.
                        your Honor.

                               J O H N    TR Z CI NSK I, bearing shield number

              3         3499, assigned to the Property Clerk Division, having been

              4         called as a witness on behalf of the People, having been

              5         duly sworn by the clerk of the court, was examined and

              6         testified as follows:

              7                     THE COURT CLERK:       State your name, shield number,

              8         and command for the record.

              9                     THE WITNESS:     Sergeant John Trzcinski,

             10         T-R-Z-C-I-N-S-K-I.       My command is the Property Clerk

             11         Division.     My shield is 3499.

             12                     MR. REEVES:     May I inquire, your Honor?
-   .
             13                     THE COURT:     Yes.

             14    DIRECT EXAMINATION

             15    BY MR. REEVES:

             16         Q.     Good morning, Sergeant.          How are you today?

             17         A.     Good morning.     Fine.

             18         Q.     What I'd like for you to do is just start off telling

             19    the jury how long you've been with the New York City Police

             20    Department.

             21         A.     Actually, it's 20 years and 4 days.

             22         Q.     And how many years have you spent with the Property

             23    Division?

             24         A.     I was a police officer from the Property Clerk

-            25    Division from 2006 until 2009.          I was promoted to sergeant and


                                                          MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 614 of 1061 PageID #: 809
  000612                                                                            143
                          People - Sgt. Trzcinski - Direct/Reeves

      1    I came back to the Property Clerk Division in August of 2012 .

      2         Q.    And, Sergeant, would you explain to the jury what the

      3    Property Division is responsible for within the New York City

      4    Police Department.

      5         A.    Okay.    Essentially, the main function of the Property

      6    Clerk Division is to safeguard and secure property that comes

      7    within the Police Department ' s possession.

      8         Q.    Would you explain to the jury what a voucher is?

      9         A.    Okay.    A voucher is also known as a Property Clerk

     10    Invoice.    What happens is that when we obtain a piece of

     11    property, for us to identify it, we tie it into a Property

     12    Clerk Invoice.

     13         Q.    And does every invoice or voucher have a unique or

     14    specific number?

     15         A.    Yes, it does.

     16         Q.    And can multiple items be vouchered under one invoice

     17    number?

     18         A.    Yes.    As long as they're related, yes, they would be .

     19         Q.    What I'd like to do is just ask you, where physically

     20    is evidence stored once it's received by the Property Clerk's

     21    Office or the Property Division of the Police Department?

     22         A.    We have storage facility warehouses throughout all

     23    five boroughs in New York City that we store property.

     24         Q.    Sergeant, what I'd like to do is speak to you about

     25    three specific vouchers.


                                               MMS
     Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 615 of 1061 PageID #: 810
      000613
                                                                                         144
                               People - Sgt. Trzcinski - Direct/Reeves

           1               First I'd like to talk to you about a voucher that
~-

           2    ends with the number 9541.         Can we talk about that for a few

           3    minutes?

           4         A.    Yes, we can.

           5         Q.    Did the Property Clerk's Office receive from the 120

           6    Precinct property under that voucher number in 2011?

           7                      THE WITNESS:     Can I refer to my notes, your

           8         Honor?

           9                      THE COURT:     Yes.

          10         A.    Actually, it did originate from the 120 Precinct.             The

          11    120 Precinct had forwarded it to the police lab.           The police

          12    lab had forwarded it to the Office of the Chief Medical

          13    Examiner's office, also known as OCME.         And also then the

          14    officer at Chief Medical Examiner had brought it to one of our

          15    facilities, which was the Kingsland Avenue warehouse.

          16         Q.    Now, on that voucher, do you have any indication of

          17    what type of property was contained under 9541?

          18         A.    Yes.    There was a total of eight different -- seven

          19    different items.

          20         Q.    And did those items include brown coat, a black mask,

          21    a black sock

          22         A.    I could -- If you wish, I could read the items that's

          23    on the invoice number.

          24                      MR. REEVES:     With the Court's permission, your


-         25         Honor?


                                                        MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 616 of 1061 PageID #: 811
  000614                                                                            144
                          People - Sgt. Trzcinski - Direct/Reeves

      1               First I'd like to talk to you about a voucher that

      2    ends with the number 9541.         Can we talk about that for a few

      3    minutes?

      4         A.    Yes, we can.

      5         Q.    Did the Property Clerk's Office receive from the 120

      6    Precinct property under that voucher number in 2011?

      7                      THE WITNESS:     Can I refer to my notes, your

      8         Honor?

      9                      THE COURT:     Yes.

     10         A.    Actually, it did originate from the 120 Precinct.             The

     11    120 Precinct had forwarded it to the police lab.           The police

     12    lab had forwarded it to the Office of the Chief Medical

     13    Examiner's office, also known as OCME.         And also then the

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     15    facilities, which was the Kingsland Avenue warehouse.

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     17    what type of property was contained under 9541?

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     19    different items.

     20         Q.    And did those items include brown coat, a black mask,

     21    a black sock

     22         A.    I could -- If you wish, I could read the items that's

     23    on the invoice number.

     24                      MR. REEVES:     With the Court's permission, your

     25         Honor?


                                                   MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 617 of 1061 PageID #: 812
  000615                                                                            145
                          People - Sgt. Trzcinski - Direct/Reeves

      1                       THE COURT:   It's all right with me.

      2                       Any objection?

      3                       MS. GUASTELLA:   No.

      4                       THE COURT:   Okay.

      5         A.     Item number 1, quantity one, was a brown long coat.

      6    Item 2 was a -- quantity one, was a black mask with eye holes.

      7    Item number 3, quantity one, was black sock.          Item number 4,

      8    quantity one, was a black glove, yellow trim.           Item number 5,

      9    quantity one, is a black waist -- I mean -- yeah, black

     10    waist-length jacket .      Item number 6, quantity one, is a black

     11    long-sleeve shirt .      And item number 7, quantity one, is a black

     12    duffel bag with gray trim.

     13         Q.     Now, each of those items also had an RS number,

     14    correct?

     15         A.     Yes.

     16         Q.     And that has nothing to do with you; that would be the

     17    person who physically recovered or marked the evidence?

     18         A.     I believe it would be.

     19         Q.     Now, do you know or is there anything that would

     20    tell you what date that property came back from the Office of

     21    Chief Medical Examiner and was stored at the Kingsland

     22    facility?

     23         A.     Well, what happened with that particular invoice, the

     24    Office of the Chief Medical Examiner brought it to Pearson

     25    Place warehouse back on 4/27/11.          What happens at Pearson Place


                                               MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 618 of 1061 PageID #: 813
  000616                                                                             146
                          People - Sgt. Trzcinski - Direct/Reeves

      1    warehouse, which is in Long Island City, Queens, is that we

      2    intake some property over there, but there is space

      3    limitations, so then they transferred it over to Kingsland

      4    Avenue warehouse, which is at 520 Kingsland Avenue, in

      5    Brooklyn, on 5/11 of 2012.

      6         Q.    And to your knowledge, that's where the property was

      7    finally stored, correct?

      8         A.    That's where it -- the last known location where that

      9    property was brought to, according to our records.

     10         Q.    Sgt. Trzcinski, I'd like to turn your attention to a

     11    property voucher that ends in 9542.

     12         A.    Yes.

     13         Q.    And if you can tell me the histories as you know it to

     14    be for that particular voucher.

     15         A.    It originated back in the 120 Precinct where it went

     16    to Pearson Place on 12/23 of 2011, and went from Pearson Place

     17    to the lab -- When I'm saying the "lab," I mean the police lab.

     18    And then it went on 12/30, 2011, it went from the police lab to

     19    the Office of the Chief Medical Examiner.          On 4/30 of 2012 it

     20    went from the Office of the Chief Medical Examiner to the

     21    Kingsland Avenue warehouse.

     22         Q.    What items were vouchered under 4 -- I'm sorry, 9542?

     23         A.    Okay.   There's nine items.      Item number 1, quantity

     24    one, is a gray hoodie zip-up sweatshirt, marked RS8.            Item

     25    number 2, quantity one, is a pink bath towel, marked RS9.                Item


                                               MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 619 of 1061 PageID #: 814
 000617                                                                             147
                          People - Sgt. Trzcinski - Direct/Reeves

      1    number 3, quantity one, is a pink hand towel, marked RSl0.

      2    Item number 4, quantity one, is a black hoodie sweatshirt

      3    pullover, marked RSll.       Item number 5, quantity one, it says

      4    black ankle sneaker boot, marked RS29.          Item number 6, quantity

      5    one, is a black ankle sneaker boot, marked RS29A.           Item number

      6    7, quantity one, is blue jeans, marked RS30.          Item number 8,

      7    quantity one, black shorts with white trim, marked RS31.             Item

      8    number 9, quantity one, is gray sleeveless T-shirt, marked

      9    RS32.

     10         Q.     Sgt. Trzcinski, where is the last known location for

     11    the items on this voucher?

     12         A.     520 Kingsland Avenue, which is one of our warehouses.

     13         Q.     And, Sergeant, the last voucher I want to talk to you

     14    about ends with the number 9543.          If you can tell us what the

     15    history of that voucher was.

     16         A.     On 12/16, 2011, it went from the 120 Precinct to

     17    Pearson Place.     On 12/23, 2011, it went from Pearson Place to

     18    the police lab.     On 1/5, 2012, it went from the police lab to

     19    the OCME.    And on 6/8/2012, OCME had transferred it to the

     20    Kingsland Avenue facility.

     21         Q.     And, Sgt. Trzcinski, what was under that voucher

     22    number that ends 9543?      What items were received?

     23         A.     There is a total of nine items that were listed on the

     24    invoice.     Item 1, quantity one, it says black spade with yellow

     25    handle, marked RS14.      Item number 2, quantity one, black


                                               MMS
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 620 of 1061 PageID #: 815
      000618                                                                            148
                              People - Sgt. Trzcinski - Direct/Reeves

          1    umbrella, marked RS15.        Item number 3, quantity one, is a black

          2    umbrella, marked RS16.        Item number 4, quantity one, it says

          3    white robe, marked RS17.

          4                     THE COURT:     White what, Sergeant?

          5                     THE WITNESS:    A white robe.

          6                     THE COURT:     White robe.

          7                     THE WITNESS:     I'm sorry.

          8         A.     Item number 5, quantity one, gray CD player, marked

          9    RS19.     Item number 6, quantity one, it says CD-ROM, marked

         10    RS19A.    Item number 7, quantity one, black headphones, marked

         11    RS20.     Item number 8, quantity one, white glove, marked RS21.

         12    Item number 9, quantity one, white glove, marked RS22.

-        13

         14
                    Q.     Sgt. Trzcinski, what date were the items under 9543

               received at the Kingsland facility?

         15         A.     6/8, 2012.

         16         Q.     Sgt. Trzcinski, would it be a fair statement to say

         17    that as of October 29, 2012, all three of these vouchers were

         18    secured at the Kingsland Avenue warehouse?

         19         A.    Yes, according to our records, that's the location

         20    they were stored at on that date.

         21         Q.    Can you tell us if anything happened to the Kingsland

         22    warehouse on October 29, 2012?

         23         A.    Unfortunately, we have all heard of the effects of

         24    Superstorm Sandy which hit us on that date.          We didn't have

-        25    time to relocate all the barrels that were inside of the


                                                   MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 621 of 1061 PageID #: 816
  000619                                                                            149
                          People - Sgt. Trzcinski - Direct/Reeves

      1    warehouse.    What they did was that they stored up some of

      2    the -- well, the roll-up gates and the doorways they had

      3    sandbagged, because on the northern end of the property there

      4    is the Newtown Creek, which is a waterway, which is only

      5    several feet away from the back of the warehouse.

      6               On that night, we had a storm surge that hit the

      7    New York City area from Superstorm Sandy.          Eight to ten feet of

      8    water had entered into the warehouse itself from the Newtown

      9    Creek.    That waterway is designated as a Superfund site by the

     10    Federal government.

     11               We also have a sewage treatment plant that is right

     12    next to the facility called Metro Fuel Oil.          And after the

     13    flood waters had receded from the warehouse, we had a

     14    representative from OSHA, which is Occupational Safety and

     15    Health Administration, inspect the warehouse to see what the

     16    conditions were.

     17               The warehouse itself is something like a Costco or a

     18    BJ's the way this particular property is stored.           It's due to

     19    be stored inside of a paper bag or a cardboard box.

     20               The flood waters had entered inside of the warehouse,

     21    had came in about 8 to 10 feet.        The barrel itself is like a

     22    55-gallon drum container made out of cardboard and wax.            All

     23    the barrels were submerged underneath this storm water that

     24    had entered the warehouse and compromised all of the property

     25    that would have been stored inside of these cardboard-wax


                                               MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 622 of 1061 PageID #: 817
 000620                                                                             150
                          People - Sgt. Trzcinski - Direct/Reeves

      1    barrels.     So, we were concerned about the levels of -- if there

      2    was any kind of contamination that could be led inside the

      3    warehouse.

      4                The tests came back that there were high levels of

      5    PCBs, heavy metals, and E. Coli that was present inside of the

      6    warehouse, thus contaminating any property that would have been

      7    inside of the warehouse, or at least compromising them.

      8           Q.   Sgt. Trzcinski, to the present date, is the Kingsland

      9    Avenue warehouse still closed?

     10           A.   As of this date it is.

     11           Q.   And is there any projected date for, either, reopening

     12    or doing anything with the evidence that is inside of Kingsland

     13    now?

     14           A.   Unfortunately, they have not come up with a date.            If

     15    they had come up with a date, there is a possibility I wouldn't

     16    have had to come here today.

     17                     MR. REEVES:     Thank you, Sgt. Trzcinski.

     18                     I have no further questions, your Honor.

     19                     MS. GUASTELLA:     I have no questions.

    20                      THE COURT:     Sergeant, you're excused.      You're

    21            free to step out.

    22                      THE WITNESS:     Thank you, your Honor.

    23                      (Witness excused.)

    24                      THE COURT:     Counsel, is that it?

    25                      MR. REEVES:     For today.


                                               MMS
        Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 623 of 1061 PageID #: 818
          000621                                                                                  151
                                                   Proceedings

-   -         1                      THE COURT:    For today, okay.          All right.

              2                      Members of the jury, we'll break for the day.

              3         We'll resume tomorrow.       I think I'll make it 10 a.m.

              4         tomorrow.     I'll see if I can get my calendar done before

              5         you get here, which could cut on the downtime, which I

              6         apologize for.     This is an all-purpose part.            We do all

              7         other cases in addition to a trial, that's the reason for

              8         the delay.

              9                      In any event, thanks for your patience and

             10         attention.     Have a good day.         Remember the rules:       Don't

             11         discuss the case, and so on.            Thank you.

             12                      (Whereupon, the jury exits the courtroom.)

             13                      THE COURT:    The jury has left.          Who do you

             14         anticipate tomorrow?

             15                      MS. CILIA:    Just one second.

             16                      Officer Jacobs from K9; Det. Guariano.

             17                      THE COURT:    Hang on one second.          Detective

             18                      MS. CILIA:    -- Daniel Guariano.

             19                      Det. Jeff Anderson; Det. Edward Patterson;

             20         P.O. Casiano from the Ferry.

             21                      THE COURT:    P.O. Casiano?

             22                      MS. CILIA:    Yes.

             23                      Janet Smith, and, potentially, Michael Ambrose.

             24                      THE COURT:    Okay.    I'll see you 10 a.rn.

-            25                      MR. REEVES:    Yes, your Honor.


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 624 of 1061 PageID #: 819
  000622                                                                                152
                                              Proceedings

      1                      THE COURT:       Thank you.

      2                      (Defendant remanded.)

      3                      (Whereupon, court stands in recess and this

      4         matter is adjourned to March 5, 2014, at 10 a.m.)

      5    *      *      *       *        *       *        *   *    *      *        *
                 I hereby certify that the foregoing is a true and
      6    accurate transcript of the above proceedings to the best of my
           knowledge, skill, and ability.
      7

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      Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 625 of 1061 PageID #: 820
        000623                                                                                          153




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           10    Indictment #434-2011

           11                                                   18 Richmond T errace

           12                                        Slaten Island,         New York,   10301

           13                                                      March   5, 2014

           14                      '~ ..    ;.   C   1{   E::   HONORABLE STE:PJ!F,N ROONEY,    Judge

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           25                              Ma~r zia Selleck,               Senior Court Reporter
                                           Tammy Rodriguez, Senior Court Reporter

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    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 626 of 1061 PageID #: 821
      000624                                                                                             154
                                                                 Proceedings

          1                             ''!ii<        CLERK:     Case on trial continues, indictment

          2         031! cf :?01:,                   People v. Armand Skrine.

          3                             fV1S. CILIA:             Jennifer Celia and Kyle Reeves for

          4

          5                             :VS.          GUASTELLA:     Maria Guastella for Mr. Skrine.

           6                            1
                                            'ii-'. COURT:       Are we.

          7                             ""iS.         CILIA:     We have a couple of preliminary

          8         :_hi nqs,     yet; r             Jlonor.    The first being Detective Anderson's

           9        :_cs t_ i mor: y.

         10                             We intend to offer into evidence a hat that the

         11         dcfcndanL was wearing, however this hat was vouchered in the

         12         same voucher as other items that were suppressed at the

         13         suporcssic~ hearing.

         14                             We can either present the entire voucher to

         15         Jc Lee:_ i vc /\ndc rson, and only put into evidence the hat or we

         16         car~ ()as : ca . : y,              Lf Ms. Guastella t1as anothe:c suggest ion a hat

         17

         18                             VIS.          GUASTELLA:     Which is what?

         19                             VIS.          CILIA:     Black baseball cap.

         20                             .111',        c:OURT:    When?

         21                             YS. CILIA:               When he was stopped.    It was not on

         22                    IL was net in his pockets.                      It was on top of his head.

         23         : le   was wca: i nq it.

         24                             ! ; ! i''.    COURT:     Do you have a position on this?    I'll

-        25



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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 627 of 1061 PageID #: 822
  000625                                                                                      155
                                                        Proceedings

      1                            v,s.        GUASTELLA:   I'm trying to relive the hearing.

      2                                                 I'm reading from Judge Collini's

      3            ewe, s 1.on,    :~a sed on the foregoing recovered the physical

      4            evidence from Lhe defendant's person i.e. the counterfeit

      5            currency and identification cards must be suppressed.

       6                           ~S. GUASTELLA:           When do you plan on putting him

      7            on Lhis a[lernoon or this morning?

      8                            MS. CILIA:           Our third witness.

       9                           XS. GUASTELLA:           May be we can break after the

     10            second w:~ness.                At this point I'm asking not to allow that

     11            ,n s1.nce      !L     could be part --

     12                                ill< COURT:      If he was wearing it at the time that

     13            ne was sLooped, and if you're asking me to keep it out based

     141           on Judge Col I ini's decision I'll grant that application.                  I

     15!           read his oecision.

     16i                           MS. GUASTELLA:           That's what I'm asking.

     17    1
                                   :'Ill< COURT:        All right.
           !
           I

     18!                           ,Jeop le do you want to be heard?
           i
           I

     19!                           :vis.       CILIA:   Well, your Ilonor I would note that
           I
     20!I          :.he def encia      y' :.   's clothes that he was wearing are already

     21            cnlered in~o evidence.

     22
           1


                                       , ·.. COURT:     No kidding.     I know that, but I

     23:           ~aven'L heard an objection.                    I'm getting an objection now to

     24            :.he ha L.

     25                           As             read his decision the hat is suppressible,
           '1
           ,1
               I
                                                             TR
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 628 of 1061 PageID #: 823
  000626                                                                               156
                                                 Proceedings

      1         he was wear i.n g it .

      2                          MS . CILIA :    My next question is am I allowed to

      3         ask Detective Anderson what the defendant was wearing?

      4                          TI-IE COURT :   Who is Detective Anderson now?

      5                          MS . CILIA :    The off ice r who stopped the

      6         c:kcf endant .

      7                          THF. COURT:     You can ask him what he was wearing,

      8         hi s observat l ons aren ' t suppressed.

      9                          Ile-) saw the man allegedl y on the street.

     10                          MS . CILIA :    Yes.

     11                          THE COURT:      So I don't thi nk that it 's

     12         ob j ectionab le t o ask him to describe the defendant and what

     13         he was wear ing at the time, but I think the hat is out over

     14         objection , a p i cture of the hat I guess you don't have the

     15         hat?

                                 MS . CI LIA :   We have the hat.

                                 TIIE COURT:     That surv i ved Sandy?

     18                          MS . CI LIA :   Yes.

     19                          'J'IIE COURT:   That doesn't matter to me if I have

     20         an objectJon , and I do to the ha t , if he was wearing it at

     21         the tlmc that he was stopped as I read Judge Co lli ni's

     22         decision Lhe hat i s suppressed.

     23                          So anything else?

     24                          MR . REEVES :    The only other thing, your Honor

     25         Lhere wi] I be an additional wi t ness from the f erry terminal,


                                                        TR
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 629 of 1061 PageID #: 824
      000627                                                                                               157
                                                                  Proceedings


-          1

           2
                    c,   w i u1css ::)y t he name of James Vi tally .

                                       \f:chacl Casiano who I was under the impression

           3        haci ciown: oacied the videos from Whitehall and this ferry

           4        :_c rm: na • o~;: y           Lhc-: Staten Island Ferry termina l.

           5                           v,,.       Vitally , we reacl'H,c d out to him and should be

           6        a va: ; at)'. c; :. ~:: s afternoon.

           7                           'i'!I i•: COURT :          You ' re not call ing Casiano?

                                       Ml~.       REEVES :         He's our first witness.        He did the

                    SLalen     Island side of the ferry.
               ''
         10 1                          !!;J,:     COU RT:         You have another witness for the

                    Wh i u,r1a;        s ;    c:ic .

                                       \f:~ .     REE VES:         Vi tally.

-        14 ,                  '   I
                                       ··,:r:,t   c:C)lJI"<.T :   Well,    .if and when he's called to the

                                              ask the jury if any of them know him.

         15 :                          'he y haven't heard his name.                      Nothing else?

         16                            W~y don't you get your first witness in the front

         17         row and we' : l get the jury in.

         18                            M!~ .      RF'.EV ES:       Michael Casiano.

         19                            ';'! !i·: COURT OFFICER:                Jury entering.

         20                            (AL Lhi s time the jury enters the co u rtroom.

         21                                                       Bot h sid es stipulate the presence of

         22         a corc1qlct. e        ::~r y panel properly seated ,                People?

         23                            v;s.       CILIA:          Yes.



-
         24                            V:S . CUASTELLA :                 So stipulated.

         25                              .... COURT:              Good morn ing welcome back.       Next



                                                                          TR
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 630 of 1061 PageID #: 825
      000628                                                                                                             158
                                                            ;"\I; ch a c .L   Casia no - D:t re ct - Reeves


          1                      wil.ncss             O IC d S C .


          2 :                                                                     Peopl e c al l Michael Casiano.

          3 1          ]VT '.Cll/\1-: : .    C/\ S : /\ NC ,    !{ i chmond,      the witness herein, having been first

          4:           duly sworn , wa s e xami n e d and t e stified as follows:
               i
               I
          5 ,          J; LREC'!'           l•:X/\M ! ;\JN : ON

                       BY MF .              1n:1,:v,-:s :

                                 Q.             Cocci ~o rni nq , Mr. Casiano.               How ar e you?

                                 I\ .           C~oo c:i.

           9                     Q.             Wo~ l ci you s t ar t           off by tel l ing the jury what you do

                       for a                :v:nq?

         11 :                    I\ .           Sec:~..: r: ~, y   i ns pec tor with the I)OT.

         12                      Q.             !! o w '. o~' q have y ou been working for the Department of

         13            Tran s po rt.al. ; on ,                 ')OT ?

         14 '                    I\ .           /\poroxima LcJy seven years.

         15                      Q.             Mr . ~asiano , cou l d y ou t e l l me some of the things th at

         16            yo u' re rcspons: b:c fo r doing with th e De partment of

         17

         18                      I\.            Ovc rs cc : ~q t h e se c u rit y operati o ns and camera

         19            opc~ra l. ions as we i ' .

         20                      Q.             Wr~a ,_ a rca or wha t            f ac ility wi thin the Department of

         21        1
                       T r:-an spo r :.a:.: o~: a , c yo u r esponsible for ov e rs e eing the

         22 ,          sur vc i I l a n ee came r a s ystem?

         23                      I\.            i{cpca :_ :.hat .

         24                                     W~crc cio y o u wo r k o ut o f ?

-        25                      I\ .               wor~ ouL of St. Geor ge.


                                                                                      TR
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 631 of 1061 PageID #: 826
  000629                                                                            159
                                   Michael Casiano - Direct - Reeves

      1           Q.      ls your office based on the ferry terminal?

      2           l\. .   Yes.

      3           Q.      Arc you responsible for security cameras that are both

       4    in the terminal and on the ferry boats themselves?

      5           A.      Co erect.

       6          Q.      Now, what I would like to do is talk to you about the

            secur ity syst em in the ferry terminal here Staten Island .

                          Can you tell us are there cameras in and around the

            ferry tcrmina J that record?

                  A.      Yes .

     11           Q.      Approximately how many cameras are you aware of?

     12           A.      About BO.

     13           Q.      Now, on December 9th of 2011 did you get a request

     14     from the New York City Police Department to download certain

     15     cameras f or December 8, 2011, between 9:45 a.m. to 10:00 a.m?

     16           A.      Yes,    ; did .

     17           Q.      Were you ab l e to download six camera angles?

     18           A.      Yes .

     19           Q.      [ 'm going to hand up to you what's been premarked as

     20 1   Peop l e's 1 6B for identifi cation?

     21                           MS . GUASTELLA :   Fine.

     22           Q.      l ' m going to show you this disk, and ask you if you

     23     recogn:LzE-:c :it ?

     24           A.      Yes.

     25           Q.      What do you recognize that to be?


                                                     TR
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 632 of 1061 PageID #: 827
 000630                                                                                      160
                                     Michael Casiano - Direct - Reeves

      1           A.     Vi deo Lhat I have archived .

      2           Q.     Mr . Cas i ano , this morning in my office across the

      3     street, did you have an opportunity to view the contents of the

      4     d i sk?

      5           A.

      6           Q.     Afler you viewed the contents of the disk, did you

      7     mark the d i sk wil h your initials and the date?

                  A.     Yc:s ,    ; d i d.

                  Q.     The content s that you saw on the disk is the same that

     10     you down l oaded on December 89 , 2011?

     11                  That i s correct .

     12 1                         MR . REEVE S :          Your Honor , I offer People's 168 in

     13           C;V i dencc;.


     14                           MS. GUASTELLA :            No objection .

     15                           Tl! E COURT :          All right.   Exhibit 168 is marked in

     16           ev idc~ncc .

     17                            ( So marked. )

     18                           MR. REEVES:             With the Court ' s permission I would

     19           li ke to pu L 1 68 on display .

     20                           ·:' !! !•:   COURT :   Sure.

     21           Q.     Mr. Cas i ano , what I'm going t o do is I ' m going to play

     22     the camera ang . cs .                What I woul d like you to do the camera

     23 1   angles arc play i ng , just tell the jury what camera angle they ' re

     24     looking a t on Lh e scre en okay .

     25                  Now Lh c first camera angle will be camera 46 .                If you


                                                                 TR
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 633 of 1061 PageID #: 828
  000631                                                                              161
                                      Michael Casiano - Di rect - Reeves

       1       can tell us --

      2            A.     That ' s in the corridor right outside where they

       3       d i sembark Lhe ferr y.

       4           Q.     No w,   I 'm going to change -- that was camera 46 ,

       5       correct?

       6           A.     Yes .

      71           Q.     I ' m going to change to camera 47.
           I
       8                  The same question.        If you can tell me what area of

       9       the ferry Lerminal i s covered by camera 47?

     10            A.     That's a rotating camera.        That's in the main corridor

     11        area.

     12            Q.     What ju st happened now the camera rotated?

     13            A.     Ye s.

     14            Q.     ls LhaL done manually or by machine?

     15            A.     l~y machin8 .

     16            Q.     So camer a 47 wi ll rotate at it ' s own at a fixed period

     17        o f bme?

     18            A.     Yes .

     19            Q.     Okay.       Tha nk you.

     20                   Now ,   l   ' m going to show you camera 60 and ask you what

     21        camera 60 covers ?

     22            A.     That 's inside the corridor.

     23            Q.     Now would thi s be the opposite view of the first

     24        camera thaL    l   showed you, 46?

     25            A.     R:qh:. where~ the passengers disembark .


                                                     TR
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 634 of 1061 PageID #: 829
      000632                                                                                                     162
                                                      :V'ichaeL Casiano -          Direct - Reeves

           1                        :'~'. • s oa, t_; cular area that's being displayed,               is that

           2    open Lo Lhc                             !C     area or is that secured?

           3           I\.

           4                        vr        Casano,                I'm going to switch to camera 65.    I'm

           5    qoinq Lo as< ycL w~,a L is camera 65 focused on?

           6           /\.          iLs ,a'.":".p i).,               lower level.

           7           Q.           Now            s camera 65 a fixed or a rotating camera?

           8           /\.

           9           Q.               •~ qo.nq Lo switch to camera 70.

         10                                                                              What is that focused

         11     on?

         12 I          I\.          :3u s     ,a:,m ]) . i.t' s like the mid-camera in the middle.

         13            o.           So      CL'.     :.:ic far end of the picture, what area of the

         14     Lcrmjna; wou.o ~~aL be?

         15            I\.          ·:·r,c 'a, end would be bus ramp D., upper level.

         16            Q.           :.·::'.a .. y,            I 'm   going to show you the last camera, which

         17     : s c,c'.":"'.c,a       h,         w"'.d'._    arc we looking at with camera 75?

         18            /\.          ,    u_         .s ~he upper level camera bus ramp D.

         19            Q.           When you come out of the last camera?

         20            /\.

         2]                         M,.       Cas:a~o, other than downloading the images from

         22     those s•x c:amcras Lhat cover December 8, 2011 between 9:45 in

         23     Lhe morning-~•-:,                             10 o'clock in the morning,      did you have any



-
         24     other invo:vc~cn~                             in this case?

         25            /\.          Ne.


                                                                              TR
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 635 of 1061 PageID #: 830
  000633                                                                            163
                              Michael Casiano - Cross - Guastella

       1        Q.     Thank you, sir.    No further questions.

       2   CROSS-EXAMINATION

       3   BY MS. GUASTELLA:

       4        Q.     Just a couple of questions.

       5               How long have you been working out of the ferry

       6   terminal area?

       7        A.     I would say approximately seven years.

       8        Q.     What are your hours?

       9        A.     6:00 to 2:00 or 2:00 to 10:00.

     10         Q.     So you're familiar with the ferry terminal, correct?

     11         A.     Yes.

     12         Q.     There's a little mini police station in the ferry

     13    terminal?

     14         A.     Yes.

     15         Q.     How many officers would you say work on each shift?

     16         A.     I couldn't tell you that.

     17         Q.     More than six?

     18         A.     More than six.

     19         Q.     How many of those officers actually ride the ferry

     20    back and forth?

     21         A.     Two usually assigned to the boats.

     22         Q.     The K-9 Unit, how many units, how many teams work at

     23    the same time?

     24         A.     Upstairs in the terminal waiting area?

     25         Q.     Yes.


                                                TR
       Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 636 of 1061 PageID #: 831
         000634                                                                            164
                                       Janet Smith - Direct - Cilia


- -.
             1         A.    Two.

             2         Q.    Do they s ometime s travel the ferry as well?

             3         A.    No.

              4        Q.    Never?

             5         A.    They don't.

              6        Q.    Nothing further.

             7                      THE COURT:    Anything else?

             8                      MR. REEVES:    No, thank you.

              9                     THE COURT:    Mr. Casiano, you're excused.

            10                      You're free to step out.

            11                      Next witness please.

            12                      MS. CILIA:    The People call Janet Smith.

            13    JANET SMITH, Richmond, the witness herein, having been first

            14    duly sworn, was examined and testified as follows:

            15    DIRECT EXAMINATION

            16    BY MS. CILIA:

            17         Q.    I'd like to ask you where do you live?

            18         A.    I live 195 Steuben Street.

            19         Q.    What apartment do you live in?

            20         A.    Apartment 7 M.

            21         Q.    What floor is apartment 7 M. on?

            22         A.    The 7th floor.

            23         Q.    For about how long have you lived there for?

            24         A.    Over eight years.

            25         Q.    Do you work?


                                                      TR
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 637 of 1061 PageID #: 832
  000635                                                                            165
                                Janet Smith - Direct - Cilia

      1         A.     Yes.

      2         Q.     What type of work do you do?

      3         A.     I'm a nurse.

      4         Q.     I'd like to direct your attention to December 8th of

      5    2011, do you remember that day?

       6        A.     Yes.

      7         Q.     On December 8 of 2011, did you know your next door

       8   neighbor?

       9        A.     Yes.

     10         Q.     Or your neighbor?

     11         A.     Yes.

     12         Q.     Who were they?

     13         A.     David and Nicole and they had a little daughter.

     14         Q.     What apartment did they live in?

     15         A.     7 L.

     16         Q.     That's the apartment right next to yours?

     17         A.     Yes.

     18         Q.     I'd like to show you the chart that's in evidence

     19    People's 161.

     20                Taking a look at that, Ms. Smith, do you see where

     21    your apartment is?

     22         A.     Yes.

     23         Q.     Can you point that out to the jury and also I'd like

     24    to bring up a pen to the witness.

     25                Can you point out where your apartment is?


                                               TR
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 638 of 1061 PageID #: 833
  000636                                                                            166
                                  Janet Smith - Di rect - Cilia

       1        A.    Here.

       2        Q.    Can you circle that also for the jury with your pen.

       3              Can you point -- you don't have to circle it, point

       4   out where David was living?

       5        A.    Here.

       6        Q.    Indicating t he very top of the exhibit.

      7               Now, the morning of December 8th shortly before noon

       8   were you home?

       9        A.    Yes.

     10         Q.    Can you tell the jurors what you were doing at that

     11    time?

     12         A.    I was cleaning up, cleaning my stove.

     13         Q.    What happened at that point?

     14         A.    I realized that I had turned the lighter off on the

     15    stove, so I decided to go out and borrow a lighter because I

     16    don't have a lighter at home.

     17         Q.    Your stove wasn't lighting properly?

     18         A.    Yes.

     19         Q.    When you left your apartment to look for somebody who

     20    had a lighter, where did you go?

     21         A.    I initially wanted to go to 7 L.        When I opened my

     22    door, when I got out there, I heard people talking in the

     23    apartment.     I didn't hear a women's voice, so I assumed Nicole

     24    wasn't home.       So I walked down the stairs, went to the fourth

     25    floor to another person that I knew there, and I missed the door


                                               TR
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 639 of 1061 PageID #: 834
  000637                                                                            167
                                 Janet Smith - Direct - Cilia

       1   actually and rang another neighbor, another girl, and she opened

       2   the door and I asked her for her lighter.         She gave it to me.

       3        Q.     I'm going to take you back to when you went towards

       4   David's door, you said you heard voices?

       5        A.     Yes.

       6        Q.     Can you describe what those voices sounded like?

       7        A.     They were males just talking like having normal

       8   conversation.       Don't know what they was talking, but it was

       9   normal.

     10         Q.     Normal tones, these were male voices?

     11         A.     Yes.

     12         Q.     Now, you said that you went downstairs to the fourth

     13    floor and you borrowed a lighter down there?

     14         A.     Yeah.

     15         Q.     Where did you go after you borrowed the lighter?

     16         A.     I came back upstairs to my apartment.

     17         Q.     What did you do in your apartment?

     18         A.     I light the stove, and I put my food on the stove.           I

     19    came back out.

     20         Q.     What was your intention at that time?

     21         A.     To return the lighter.

     22         Q.     When you walked out of the your apartment, which

     23    direction did you go?

     24         A.     I got out of my apartment, make a right going towards

     25    the exit.


                                                TR
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 640 of 1061 PageID #: 835
  000638                                                                            168
                                Janet Smith - Direct - Cilia

       1        Q.    What happened at that time?
                                               '\
      2         A.    I walked like the first apartment, the next one and I

       3   heard things being moved around shuffling in 7 L., so I turned

       4   and the next thing I heard was a bang, sounds like a shot, so I

       5   started running.

       6        Q.    So let's, if you could, just point out to the jury

       7   where you were when you heard that shot and turned around?

       8        A.    Right there.

       9        Q.    You're indicating there's actually a red circle in

     10    that vicinity?

     11         A.    Yes.

     12         Q.    Is that about where you were when you heard the shot?

     13         A.    Yes.

     14         Q.    I wanted to go back to when you heard things shuffled

     15    around in the apartment, can you explain that to the jury what

     16    you heard?

     17         A.    I heard like furniture moving around, people fighting.

     18    That's what I heard.      It wasn't yelling, loud noise or

     19    screaming, but I heard people moving things, heavy things being

     20    moved around.

     21         Q.    And you're saying that you didn't hear any voices at

     22    that point?

     23         A.    At that point I didn't hear no voices.         I just heard

     24    heavy tumbling, things being thrown over.

     25         Q.    When you heard these noises, what did you do?


                                               TR
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 641 of 1061 PageID #: 836
  000639                                                                            169
                                Janet Smith - Direct - Cilia

      1         A.     I turned around actually to see, so I turned around

      2    and I when I turned that's when I heard the sounds like a shot.

      3         Q.     After you heard the shot what happened next?

       4        A.     I started running, so I ran maybe like somewhere here

      5    around this end and the apartment door opened and I saw my

       6   neighbor.

      7         Q.     Now I'm going to note for the record you pointed out a

      8    red circle that was in the middle of the exhibit, is that right?

       9        A.     Yes.

     10         Q.     Then you said that you saw a door open and you

     11    indicated that, that was door 7 L?

     12         A.     Yes.

     13         Q.     Which way were you facing when you saw that door being

     14    opened?

     15         A.     I was facing this way coming down this way.         Actually,

     16    when the door opened I was facing this way.          When I heard the

     17    door open I turned around to see who was coming out.

     18         Q.     When you saw -- prior to seeing the door open was the

     19    door shut at that point?

     20         A.     Yes, it was shut.

     21         Q.     Tell us what you saw when you saw the door open?

     22         A.     The door opened, and I saw my neighbor.        He came out.

     23    He was wearing like a white T-shirt and gray pants.            I noticed

     24    that he had his hands on his stomach.         I was running.

     25                I was running you know, and he walked a few doors


                                               TR
         Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 642 of 1061 PageID #: 837
           000640                                                                            170
                                         Janet Smith - Direct - Cilia


--             1

               2
                    almost to my door and he fell to the floor.

                    Oh, God help me.
                                                                         He said, Help me.



               3               I was not looking anymore.       I could only hear his

               4    voice at the time.     I was already to the exit door.

               5         Q.    Now, Ms. Smith after you said your neighbor, can you

               6    indicate who that was?

               7         A.    David.

               8         Q.    When you saw David come out of his apartment and he

               9    was yelling, Help me and Oh God, what did the door do

              10    afterwards?

              11         A.    Shut behind him.

              12         Q.    So David was the only person that you saw leave the

-             13

              14
                    apartment?

                         A.    Yes.

              15         Q.    Tell us again you saw him do what after he got into

              16    the hallway?

              17         A.    He stopped and fell.

              18         Q.    At that point approximately where are you in your

              19    hallway?

              20         A.    At that point I was at the exit door, the door.          When

              21    he fell I was already to the staircase door.

              22         Q.    After you saw and you heard that, where did you go

              23    next?

              24         A.    I opened the staircase door,      I put my foot down.     I
-    ·
              25    took the first and second stairs.        I heard another bang, a lot


                                                        TR
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 643 of 1061 PageID #: 838
  000641                                                                            171
                              Janet Smith - Cross - Guastella

       1   of bang.    I just ran right where I took the lighter from.          I

       2   went right back there.      I knock on the door.      I said call the

       3   cops my neighbor was shot.       Call the cops.     She do it.

       4        Q.    I want to talk to you a little bit about that first

       5   shot that you heard, and the second shot that you heard.

       6              Can you tell us what the first shot that you heard

       7   sounded like?

       8        A.    Sounds like a pop like that.

       9        Q.    That was from within?

     10         A.    In the apartment.

     11         Q.    7 L?

     12         A.    Yeah.

     13         Q.    Now talking about the second shot that you heard,

     14    where were you at that particular moment?

     15         A.    I was on the second stair.       Like I open the exit door,

     16    put the foot down.      Immediately I put my second foot down that's

     17    when I heard the second shot.

     18         Q.    What did that particular shot sound like?

     19         A.    Sounded like a loud bang, heavier than the first one.

     20         Q.    Now after you heard that you said that you went into

     21    your neighbor's apartment?

     22         A.    I went downstairs to where I got the lighter from.

     23         Q.    Were you able to get into that apartment?

     24         A.    Yes, she opened the door for me.

     25         Q.    You were taking the stairs at that time?


                                               TR
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 644 of 1061 PageID #: 839
 000642                                                                                 172
                                 Janet Smith - Cross - Guastella

       1        A.     Yes.

       2        Q.     When you took the stairs down, did you hear anyone

       3   behind you?

       4        A.     No.

      5         Q.     Did you hear any noises behind you?

       6        A.     No.

      7         Q.     You said that at the point when you got into your

      8    neighbor's apartment somebody called 911?

       9        A.     She did.

     10         Q.     I want to show you a picture, Ms. Smith.         I want to

     11    ask you whether or not you recognize the clothing that David was

     12    wearing inside of that picture .          You can take your time with it.

     13    It's going to be People ' s exhibit number 6 .

     14                I want to ask you if this is the way that David was

     15    dressed when you saw him?

     16         A.     I'm not sure the pants.        I remember his shirt .

     17         Q.     You remember that he was wearing that white shirt?

     18         A.     Yes.

     19                        MS. CILIA:   Thank you very much, Ms. Smith .        I

     20         have no further questions .

     21    CROSS - EXAMINATION

     22    BY MS . GUASTELLA:

     23         Q.     Ms. Smith, you said that you lived in the apartment

     24    building.     You still live there?

     25         A.     Yeah.


                                                TR
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 645 of 1061 PageID #: 840
  000643                                                                            173
                              Janet Smith - Cross - Guastella

      1         Q.    You've been there for about eight years?

      2         A.    Over eight years.

      3         Q.    You David's neighbor for about seven years?

       4        A.    No, I think about five.

       5        Q.    About five?

       6        A.    Yeah.

      7         Q.    Now, on this particular morning were you getting --

       8   were you working that morning?

       9        A.    I worked 3:00 to 11:00.

     10         Q.    Then you got some sleep, and then you got up to clean

     11    your stove?

     12         A.    Yeah.

     13         Q.    Now, you went down to the -- withdrawn.

     14               Your intention was to borrow someone's lighter?

     15         A.    Yeah.

     16         Q.    You took the stairs down to the fourth floor?

     17         A.    Yeah.

     18         Q.    The stairs are basically where the elevator is?

     19         A.    The elevator -- there's a door then the elevator.

     20         Q.    Steel door?

     21         A.    Yeah.   Not really steel door, regular door.

     22         Q.    Was it your intention to go down to four?

     23         A.    No, my intention was to go to David's apartment or ask

     24    if his girlfriend was home, but I heard male voices.

     25         Q.    They were talking loudly?


                                               TR
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 646 of 1061 PageID #: 841
  000644                                                                            174
                                Janet Smith - Cross - Guastella

      1         A.     No, just having normal conversation.

      2         Q.     Did you hear music playing?

      3         A.     I can't remember.

       4        Q.     Do you recall speaking to a detective in connection

      5    with this case?

       6        A.     Yes.

      7         Q.     Do you recall telling the detective that you heard

       8   people fighting inside the apartment?

       9        A.     Yeah, that's what I said.       I said it sounds like

     10    fighting,   like people tossing things around.

     11         Q.     I thought you said on direct that there was screaming

     12    or yelling?

     13         A.     No.    I didn't hear yelling.     I heard, I assume it was

     14    fighting because the way the things were moved around in the

     15    apartment throwing things around.

     16         Q.     So you were afraid to knock on the door?

     17         A.     No, it wasn't the time that I heard the fighting

     18    that's the reason I didn't knock on the door.

     19         Q.     I apologize when you left you heard talking?

     20         A.     Yes.

     21         Q.     You didn't want to knock because you thought it was

     22    men in the apartment?

     23         A.     Yes.

     24         Q.     You went down to your friend's apartment?

     25         A.     Yes.


                                               TR
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 647 of 1061 PageID #: 842
  000645                                                                            175
                              Janet Smith - Cross - Guastella

      1         Q.    You walked down the three flights?

      2         A.    Yes.

      3         Q.    And then when you got there your friend was in the

      4    apartment?

      5         A.    She's not my friend.     Actually she lives on the fourth

       6   floor.    My intention was going to my aunt's apartment, but I

      7    missed the apartment and rang her doorbell next door to my aunt.

      8    So she got out of the apartment.         I said, I'm sorry.    She said

       9   what happened.     I said I'm looking for a lighter.        They said

     10    I'll borrow you one.      I said okay.

     11         Q.    How long has your aunt been living in the building?

     12         A.    For many years.

     13         Q.    You missed her apartment, you missed her apartment

     14    door?

     15         A.    Yes just next door to each other.

     16         Q.    They're far apart, the doors aren't next to each

     17    other.    They're a little bit -- there 's space between?

     18         A.    Yes.

     19         Q.    Each door is labeled with the apartment on it?

     20         A.    Yes.

     21         Q.    Yes?

     22         A.    Yes.

     23         Q.    You borrowed the lighter.       Can you describe the

     24    lighter that you borrowed?

     25         A.    Not sure.    It's cigarette lighter, not a stove.


                                               TR
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 648 of 1061 PageID #: 843
  000646                                                                            176
                              Janet Smith - Cross - Guastella

      1         Q.    Not the long one, it's a cigarette lighter that's the

      2    lighter you were going to light the pilot with?

      3         A.    Yes.

      4         Q.    When you got back into your apartment you said you put

      5    the food on the stove?

      6         A.    The rice.    I light the stove, put the rice on.

      7         Q.    Getting back to when you left the apartment on the

      8    fourth floor you took the stairwell back up?

      9         A.    Yes.

     10         Q.    As you were going back to your apartment that's when

     11    you started hearing the fighting and the furniture banging all

     12    around?

     13         A.    No.

     14         Q.    When did you hear that?

     15         A.    When I came back out to return the lighter.

     16         Q.    Okay.   You cooked your food.      How long did it take you

     17    to cook your food?

     18         A.    Actually I didn't cook the food.        I light the stove.

     19    After I light the stove, I washed the rice, put the rice on, and

     20    walked back out to return her lighter .

     21         Q.    How long were you in the apartment?

     22         A.    Three or four minutes the most.

     23         Q.    Then you went back down to return the lighter?

     24         A.    Yeah.

     25         Q.    Then you came back up taking the stairwell?


                                               TR
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 649 of 1061 PageID #: 844
      000647                                                                            177
                                  Janet Smith - Cross - Guastella

           1        A.    Yes.

           2        Q.    That's when you hear the fighting?

           3        A.    No -- yes.     When I came back out to return the lighter

           4   is when I heard the fighting.

           5        Q.    I apologize.     That's when you hear the arguing and

           6   yelling and fighting?

           7        A.    They didn't yell, the men.       I hear furniture toss

           8   around.    I wasn't hearing loud talking.       I was hearing furniture

           9   being moved around.

         10         Q.    Two people fighting?

         11         A.    I don't know if there were two people.         I don't know

         12    who was in the apartment.

         13         Q.    It was much louder when you first heard them inside

         14    the apartment, right?

         15         A.    When I first heard they was talking.

         16         Q.    They were talking.

         17               You walked normal pace to the stairwell, correct?

         18         A.    During what time?

         19         Q.    When you went to return the lighter?

         20         A.    At that time I wasn't walking,      I was running.

         21         Q.    So at what point did you start running?

         22         A.    When I heard the first shot.

         23         Q.    Where were you exactly when you heard the first shot?



-        24

         25
                    A.

                    Q.
                          Somewhere here.

                          So there's a third apartment right where you're


                                                    TR
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 650 of 1061 PageID #: 845
  000648                                                                            178
                                Janet Smith - Cross - Guastella

      1    pointing?

      2           A.   Right here.

      3           Q.   That's when you start running?

      4           A.   That's where I heard the shot that's when I started

      5    running.

      6           Q.   You didn't look back you just ran, you're scared?

      7           A.   I started running.    When I got there, I heard someone

      8    at the door open, so once this opened then I turned around to

      9    see who was coming out.

     10           Q.   How fast were you running?

     11           A.   I don't know.    I was running.    I don't know how fast,

     12    but I know I wasn't walking.

     13           Q.   You were scared?

     14           A.   Yes.

     15           Q.   You ran?

     16           A.   Yes.

     17           Q.   You're saying at some point you hear the gunshot and

     18    you stopped in your tracks?

     19           A.   No, I was walking from here.      When I got here I heard

     20    the gunshot.       When I heard the gunshot that's when I started

     21    running.    When I got to this point I heard this door open, so

     22    when this door opened I have turned I'm still running, but I

     23    turn to look and see, that is he when I saw my neighbor coming

     24    out.

     25           Q.   How long do you think it took you to run between the


                                               TR
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 651 of 1061 PageID #: 846
  000649                                                                            179
                              Janet Smith - Cross - Guastella

      1    first shot and second shot?

      2         A.    I don't know the first shot and second shot depending

      3    on the distance because after I heard the first shot from here I

      4       this door opened.      I was already here .    When he fell to the

      5    floor I was already at the exit door, so when I opened the door,

       6   put my foot down on first, second stair I heard the second shot.

      7    I was not in the hallway at that time.

      8         Q.    Then I'm confused.     You hear the first shot and you

       9   start running?

     10         A.    Yes.

     11         Q.    Your intention was to go to the elevator or the

     12    stairwell?

     13         A.    My intention I don't know, whichever way come first .

     14    The stairway was first.

     15         Q.    As you're running you're scared to death?

     16         A.    Yes.

     17         Q.    You're saying that you hear a door open?

     18         A.    Yes.

     19         Q.    That means you turn around?

     20         A.    Yeah.

     21         Q.    Were you still running as you turned around?

     22         A.    I was turned , you know like this moving back.

     23         Q.    By then you ' re almost at the stairwell, correct?

     24         A.    I heard the door open when I was here .

     25         Q.    Right almost by the door to the stairs?


                                               TR
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 652 of 1061 PageID #: 847
  000650                                                                             180
                              Janet Smith - Cross - Guastella

      1         A.    The door to the stairs is all the way here.

      2         Q.    Okay.   You're right.     Okay.   So you turned around, but

      3    you're not looking back, you're still running forward?

       4        A.    I turned around and I saw the door open, but I'm

      5    running.    As I'm turning because the hallway is small, I'm

       6   running and looking, you know, turning to see.

      7         Q.    The door to the elevator is always closed, right that

       8   door doesn't stay open right?

       9        A.    Yeah.

     10         Q.    In other words is it closed, that door to go to the

     11    elevator always remains closed?

     12         A.    But I didn't take the elevator.

     13         Q.    I understand that, but the door is also by the

     14    stairwell, correct?

     15         A.    No, it's a distance away from the stairs.         The

     16    elevator is somewhere here the exit.

     17         Q.    You're running right?

     18         A.    Yes.

     19         Q.    You want to make sure you don't bang into the door,

     20    you're looking forward?

     21         A.    The door is on the side.      It's not ahead of me.

     22         Q.    The doorway to the elevator is ahead of you?

     23         A.    Ahead of me.    But I wasn't taking the elevator.        The

     24    direction I came from was the direction that I went back to the

     25    stairs.


                                               TR
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 653 of 1061 PageID #: 848
  000651                                                                            181
                              Janet Smith - Cross - Guastella

      1         Q.    I thought you were going to take whichever one you got

      2    there?

      3         A.    The stairs was the first place next to me.

      4         Q.    You're concentrating on running off that floor?

      5         A.    Yes.

      6         Q.    You're saying as you ran, you turned around and you

      7    looked back because you heard the door open?

      8         A.    Yes.

      9         Q.    Were you screaming or yelling?

     10         A.    No.

     11         Q.    How long would you say that you looked at that door?

     12         A.    Well, a few seconds when I saw him come up and tumble.

     13         Q.    Did you stop and look at him?

     14         A.    No, I was --

     15         Q.    You were running?

     16         A.    Yeah.

     17         Q.    You went into the stairwell?

     18         A.    Yeah.

     19         Q.    Then so you have to open that door there's a little

     20    platform and then the stairs going down?

     21         A.    Yes.

     22         Q.    So you were still running at that point, right?

     23         A.    Yes.

     24         Q.    You're saying that -- it's your testimony at what

     25    point do you hear the door close?


                                               TR
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 654 of 1061 PageID #: 849
      000652                                                                            182
                                    Ja n et Smith - Cross - Guastella


-         1

          2
                    A.

                    Q.
                          Which door?

                          The 7 L?

          3         A.    7 L?

          4         Q.    Right.

          5         A.    I didn't say I hear the door close.        I closed the exit

          6    door behind me.      As I put my foot down first and second stairs

          7    the door closed.      When my neighbor got out of the apartment the

          8    door immediately closed behind him.

          9         Q.    Did you see that?

         10         A.    Yes,    I saw it because I see the door shut.      The door

         11    it shut right behind you.

         12         Q.    As you're running you're seeing this?

         13         A.    Yes.

         14         Q.    At some point you're in the stairwell, it's a steel

         15    door in the stairwell?

         16         A.    It's a regular door.

         17         Q.    Not a wood door?

         18         A.    It's a wood door.

         19         Q.    Okay.    Ba c k in 2011 your testimony is that it was a

         20    wood door?

         21         A.    I think it's a wood door that's what the apartment

         22    have not a steel door.

         23         Q.    Not a steel door?

         24         A.    No.

         25         Q.    You've been there eight years?


                                                   TR
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 655 of 1061 PageID #: 850
  000653                                                                            183
                               Janet Smith - Redirect - Cilia

       1         A.   Yes.

      2          Q.   The door closes behind you?

       3         A.   Yes.

       4         Q.   And you almost two steps down, at that point you hear

       5   the door open again?

       6         A.   No, I heard a shot.

       7         Q.   You heard a shot?

      8          A.   Yes.

       9         Q.   As the person is falling down you say you hear him

     10    scream, Oh my God?

     11          A.   He said Oh God help me.       He had his hands like this,

     12    Oh God help me.

     13          Q.   His hand was like what?

     14          A.   I don't know.    Seems like he was holding on to his

     15    stomach.    I'm not sure.    He said Oh God help me.       Oh my God help

     16    me.

     17          Q.   You saw this as you were running to the stairwell?

     18          A.   Yes.

     19          Q.   Do you recall telling the detective when you were in

     20    the stairwell you heard the door open again?

     21          A.   I can't recall saying that.

     22          Q.   So it's not until you're in the stairwell that you

     23    claim you hear a second shot?

     24          A.   Yes.

     25          Q.   You ran down to the fourth floor, right?


                                               TR
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 656 of 1061 PageID #: 851
  000654                                                                              184
                                    Janet Smith - Redirect - Cilia

      1           A.      Yeah.

      2           Q.      Nobody was behind you running?

      3           A.      Didn't hear nobody behind me.

      4           Q.      You didn't see anybody coming out of the apartment?

      5           A.      No.

       6                          MS. GUASTELLA:   Nothing further, Judge.

      7    REDIRECT EXAMINATION

      8    BY MS. CILIA:

       9          Q.      Ms. Smith, if you can estimate the time that it took

     10    between the first gunshot that you heard and the second gunshot

     11    you heard, if you can?

     12           A.      I'm not too sure from here to here like a minute or

     13    two.        I'm not too sure how long.        Depends how long is the

     14    hallway, and I'm running.           I'm not too sure.     If I can estimate

     15    the minute or the two not too sure.

     16           Q.      Okay.     The person who fell down, you saw fall into the

     17    ground clutching himself and saying Oh, my God help me, did you

     18    know who that was?

     19           A.      Yes.

     20           Q.      And who was that?

     21           A.      It was David.

     22           Q.      Thank you.

     23                           THE COURT:   Anything else?

     24                           MS. GUASTELLA:   No.

     25                           THE COURT:   Ms. Smith, you're excused.    You're


                                                   TR
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 657 of 1061 PageID #: 852
 000655                                                                             185
                                Det. Anderson - Direct - Cilia

      1         free to step out.

      2                       Next witness please.

      3                       MS. CILIA:   Can we approach?

      4                       THE COURT:   Sure.

      5                       (Off the record discussion held at the Bench.}

      6                       Next witness.

      7                       MS. CILIA:   Detective Jeffrey Anderson.

      8    DETECTIVE JEFFREY ANDERSON, 759, 120 Detective Squad, the

      9    witness herein, having been first duly sworn, was examined and

     10    testified as follows:

     11    DIRECT EXAMINATION

     12    BY MS. CILIA:

     13         Q.     Approximately how long have you been with the NYPD?

     14         A.     Approximately seven years.

     15         Q.     Can you tell the jury with your service experience?

     16         A.     I started my career at the 70 Precinct Flatbush,

     17    Brooklyn.    There I did foot patrol for seven months.

     18                I was transferred to the 120 Precinct that's where I

     19    did patrol, housing unit, and anticrime unit, currently in the

     20    detective's squad.

     21         Q.     I want to draw your attention to December 8, 2011,

     22    what was your command at that time?

     23         A.     The 120 Precinct housing unit.

     24         Q.     Were you working that day?

     25         A.     Yes.


                                                   TR
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 658 of 1061 PageID #: 853
  000656                                                                            186
                               Det. Anderson - Direct - Cilia

       1        Q.    What hours were you working on that particular day?

       2        A.    7:05 in the morning to 3:40 in the afternoon.

       3        Q.    At approximately 11:50 that morning, did you receive a

       4   radio run?

       5        A.    Yes.

       6        Q.    What was that radio run referring to?

       7        A.    A male shot at 195 Steuben Street.

       8        Q.    Did you proceed to this location?

       9        A.    Yes.

     10         Q.    Where were you when you received this radio run

     11    approximately?

     12         A.    I was on the roadway heading towards the Verrazano

     13    Bridge.

     14         Q.    Can you explain to the jurors the route that you

     15    traveled to proceed to Steuben Street?

     16         A.    I drove over the Verrazano Bridge towards Narrows Road

     17    North heading towards the location of the crime.

     18         Q.    Did you reach Steuben Street?

     19         A.    No.

     20         Q.    Why not?

     21         A.    I engaged an individual that looked suspicious on the

     22    roadway on Narrows Road North .

     23         Q.    I want to show you what's been premarked People's

     24    exhibit 169 A, B, and C for identification.

     25               Starting wi t h 169 A. for identification, do you


                                               TR
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 659 of 1061 PageID #: 854
      000657                                                                            187
                                   Det. Anderson - Direct - Cilia


-         1

          2
               recognize this?

                    A.    Yes.

          3         Q.    What is it?

          4         A.    This is a map overview of the location of the crime

          5    and the location where I stopped the individual.

           6        Q.    Moving on to People's 169 B. for identification what

          7    is that?

          8         A.    This is a general area of where I stopped the

          9    individual.

         10         Q.    Then moving on to 169 C., do you recognize that?

         11         A.    Yes.

         12         Q.    What is that?

-        13         A.    It's the area where the weapon was recovered.

         14         Q.    Is 169 C. a larger picture encompassed within 169 B?

         15         A.    Yes.

         16         Q.    What angle are these maps from?

         17         A.    These are aerial photos.

         18         Q.    Are you familiar with this particular area?

         19         A.    Yes.

         20         Q.    Is this a fair and accurate representation of the

         21    aerial views of this area?

         22         A.    Yes.

         23         Q.    I'd ask that these be moved into evidence as People's

         24    exhibit 169 A, B, and C?

-        25                      MS. GUASTELLA:   No objection.


                                                   TR
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 660 of 1061 PageID #: 855
  000658                                                                              188
                                Det . Anderson - Direct - Cilia

      1                      THE COURT:    Okay.        Are these premarked?

      2                      MS. CILIA :   Yes .

      3                      THE COURT :   All right .       They ' re in evidence.

      4                      (So marked.

      5         Q.    Taking a look now at People's 169 A. in evidence ,

       6   we're going to display that on the board here.              Can you exp l ain

      7    to the jurors what this area is?

      8         A.    195 Steuben Street is where the crime occurred.

       9   Pierce Street that wooded area is where the weapon was found,

     10    and the overpass of Mosel Avenue in that wooded area where I

     11    stopped the individual .

     12         Q.    Are there arrows on 169 A?

     13         A.    Yes.

     14         Q.    Looking now at the arrow on the top, can you tell us

     15    what that is?

     16         A.    The crime location.

     17         Q.    And then you said that there was another arrow that

     18    indicates Mosel Avenue and Pierce Street?

     19         A.    Yes.

     20         Q.    Now, can you explain to the jurors where you stopped

     21    this individual that you saw?

     22         A.    I stopped the individual on the overpass of Mosel

     23    Avenue, the wooded area.

     24         Q.    On the paper in front of you that's marked 169 A, can

     25    you mark with a marker where you stopped this individual?


                                                   TR
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 661 of 1061 PageID #: 856
  000659                                                                            189
                               Det. Anderson - Direct - Cilia

       1        A.    Yes.

      2         Q.    We're going to turn that marker up to you?

       3        A.    You said X?

       4        Q.    Yes.    Can you show that to the jurors?

       5        A.    Sure.

       6        Q.    Can you point to it also for the jurors?         Okay.

       7   That's going to be approximately in this area here, is that

       8   correct?

       9        A.    Yes.

     10         Q.    I'd like you to also indicate on People's exhibit 169

     11    B. the same location if you can see it on there, where you

     12    stopped this individual.

     13               Can you describe this location where you were driving?

     14         A.    Sure it's Narrows Road North.       It's a desolate

     15    location with no sidewalks .      It's a wooded area .

     16         Q.    Now you were driving on a road, is that correct?

     17         A.    Yes.

     18         Q.    Were there any sidewalks on that road?

     19         A.    No.

     20         Q.    Now besides this one individual that you saw, did you

     21    see any other pedestrian traffic?

     22         A.    No.

     23         Q.    The individual that you saw on the service road on

     24    December 8, 2011, do you see this person in court?

     25         A.    Yes .


                                               TR
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 662 of 1061 PageID #: 857
  000660                                                                            190
                                Det. Anderson - Direct - Cilia

      1         Q.    Can you please point to this person and indicate an

      2    article of clothing?

      3         A.    Sure.

       4                      MS. CILIA:     Indicating the defendant.

      5                       THE COURT:     You saw him point.   I didn't hear

       6        anything.      You asked him --

      7                       THE WITNESS:     Right here.   In the gray suit.

      8                       THE COURT:     Indicating the defendant.

       9                      MS. GUASTELLA:     It's a gray suit?

     10                       THE COURT:     I'm not real good at this.     Do it

     11         again please, Detective.

     12                       THE WITNESS:     The individual right here.

     13                       THE COURT:     At the table?

     14                       THE WITNESS:     Yes with the glasses on.

     15                       THE COURT:     Indicating the defendant.

     16         Q.    Now, Detect i ve, are you familiar with the area between

     17    Steuben Street and where you stopped the defendant?

     18         A.    Yes.

     19         Q.    From where you saw the defendant about how close is

     20    195 Steuben Street?

     21         A.    It's approximately three blocks.

     22         Q.    Is this a walkable distance?

     23         A.    Yes.

     24         Q.    And is there, in fact, a walking path that you can

     25    take between 195 Steuben Street, and where you stopped the


                                                  TR
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 663 of 1061 PageID #: 858
  000661                                                                            191
                                Det. Anderson - Direct - Cilia

      1    defendant?

      2         A.     Yes.

       3        Q.     Now, I want to go back to when you first observed the

       4   defendant, you were traveling in which direction?

       5        A.     I was traveling over the Verrazano Bridge on Narrows

       6   Road North towards 195 Steuben Street .

      7         Q.     When you were -- when you saw the defendant, can you

      8    mark with an area the direction that you were traveling on the

       9   exhibit in front of you?

     10         A.     169 B.

     11         Q.     Actually 169 A and B, if you can .

     12                Detective, which way was the defendant walking in

     13    relation to you .    Was he walking in the s ame direction or

     14    opposite?

     15         A.     He was walking the opposite direction .

     16         Q.     Can you tell the jury what you observed when you first

     17    saw the defendant?

     18         A.     When I first saw the defendant he looked at me

     19    nervously.     It was a male black , dark color clothing with a

     20    Yankee cap on.

     21                He made eye contact with me and started walking a

     22    little faster away from me.

     23         Q.     So let's go back for a second you said that he looked

     24    nervous to you?

     25         A.     Yes.


                                               TR
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 664 of 1061 PageID #: 859
  000662                                                                            192
                               Det. Anderson - Direct - Cilia

       1        Q.    What makes you say that he looked nervous?

       2        A.    He made eye contact with me, locked eyes.         He looked

       3   very sweaty, and he started walking faster away from me while I

       4   was driving.

       5        Q.    When you say that he looked very sweaty, are you

       6   talking about his face?

       7        A.    Yes.

       8        Q.    This was December of 2011?

       9        A.    Yes.

     10         Q.    What were the weather conditions like that day?

     11         A.    It was a cool day, very cool.

     12         Q.    You also mentioned something about the way that he was

     13    walking when you made eye contact?

     14         A.    Yes.    He started walking faster away from me after he

     15    made eye contact with me.

     16         Q.    Did you notice anything about the defendant's shoes?

     17         A.    Yes .

     18         Q.    What did you notice about that?

     19         A.    I noticed they were muddy.

     20         Q.    Was there mud in the area?

     21         A.    Yes.

     22         Q.    Where was this mud?

     23         A.    This mud was in the wooded area below the overpass on

     24    Pierce Street and Mosel Avenue.

     25         Q.    You're saying that you stopped the defendant, I'm


                                               TR
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 665 of 1061 PageID #: 860
  000663                                                                            193
                               Det. Anderson - Direct - Cilia

      1    pointing at the screen, it's at Mosel and Narrows Road?

      2         A.    Yes.

      3         Q.    In that vicinity?

      4         A.    Yes that vicinity above the overpass.

      5         Q.    Then right above that there's , it appears to be a

      6    wooded path on either side of the street?

      7         A.    Yes.

      8         Q.    Is that where you're talking about where the mud was?

      9         A.    Yes.

     10         Q.    There was also mud on the defendant's shoes?

     11         A.    Yes.

     12         Q.    Now you mentioned a little bit about what the

     13    defendant was wearing.      Let's go through that for a second.

     14               Can you tell us when you stopped the defendant, did

     15    you have occasion to see his clothing?

     16         A.    Yes.

     17         Q.    Tell us what he was wearing?

     18         A.    He had a Navy Yankee cap on .      He had a dark jacket on,

     19    black jacket, and black jeans.

     20         Q.    Now, the cap that he was wearing was that like a

     21    baseball cap?

     22         A.    Baseball cap, Yankee cap.

     23         Q.    Now when you stopped this defendant did you step out

     24    of your car?

     25         A.    Yes.


                                               TR
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 666 of 1061 PageID #: 861
  000664                                                                            194
                              Det. Anderson - Cross - Guastella

      1         Q.    Was the defendant standing upright?

      2         A.    Yes .

      3         Q.    Can you approximate how tall the defendant was at that

      4    time?

      5         A.    I would say approximately 6 ' 5" .

      6         Q.    And can you also describe the defendant's demeanor

      7    during your encounter?

      8         A.    He was very nervous sweating, hands in his pocket.

      9         Q.    Now, Detective, approximately how long after you

     10    received the initial call to respond to Steuben Street did you

     11    stop the defendant?

     12         A.    Approximately five minutes .

     13         Q.    Besides stopping this defendant did you provide any

     14    other assistance in regard to this case?

     15         A.    No.

     16         Q.    Thank you, Detective.

     17    CROSS EXAMINATION

     18    BY MS. GUASTELLA:

     19         Q.    Detective, congratulations are in order.         You just

     20    became a detective?

     21         A.    Yes .

     22         Q.    After your arrest in this case?

     23         A.    No.

     24         Q.    About how long after?

     25         A.    I became a detective October 2013 .


                                               TR
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 667 of 1061 PageID #: 862
  000665                                                                            195
                                 Det. Anderson - Cross - Guastella

      1         Q.       You were corning back from a training class in Brooklyn

      2    on this day?

      3         A.       No.

      4         Q.       Where were you corning from?

      5         A.       I was corning back from the outdoor gun range.

       6        Q.       You were with a partner?

      7         A.       Yes.

      8         Q.       Corning over the Verrazano Bridge?

       9        A.       Yes .

     10         Q.       At that point -- at some point you get a radio run

     11    male, someone shot at 195 Steuben?

     12         A.       Yes.

     13         Q.       You go lights and sirens, right?

     14         A.       Yes.

     15         Q.       You're trying to get to Steuben Street as fast as

     16    possib l e?

     17         A.       Yes.

     18         Q.       It's your testimony that you're passing the individual

     19    wa l king along the service road on the street, and you guys made

     20    eye contact, i s that your testimony?

     21         A.       Yes.

     22         Q.       You had no description of any perpetrator, correct?

     23         A.       No.

     24         Q.       He didn't know if he was a black male, right?

     25         A.       No .


                                                TR
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 668 of 1061 PageID #: 863
 000666                                                                             196
                                   po · Jacobs -   Direct - Cilia

      1         Q.    You didn't know if he was a white male.

      2         A.    No.

      3         Q.    You didn't know if it was female?

      4         A.    No.

      5         Q.    Lights and sirens as you're driving passed him and he

      6    looked nervous and you stopped him.

      7         A.    Yes.

      8         Q.    Can you tell me what color shirt he has on?

      9         A.    Blue.

     10         Q.    Did somebody tell you to say blue?

     11         A.    No.

     12         Q.    Can you tell me what color shirt I'm wearing?

     13         A.    A gray shirt.

     14         Q.    Thank you.     Nothing further,     Judge.

     15                       THE COURT:   Anything else?

     16                       MS. CILIA:   Nothing further.

     17                       THE COURT:   You're free to step out.

     18                       MS. CILIA:    People are calling Officer Anthony

     19         Jacobs.

     20    POLICE OFFICER ANTHONY JACOBS, 8853, ESU K-9 Unit, the witness

     21    herein, having been first duly sworn, was examined and testified

     22    as follows:

     23    DIRECT EXAMINATION

     24    BY MS. CILIA:

     25         Q.    How long have you been with the NYPD?


                                                   TR
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 669 of 1061 PageID #: 864
  000667                                                                            197
                                 PO Jacobs - Direct - Cilia

      1           A.   Almost 20 years -- 19 years.

      2           Q.   You are currently working in the K-9 Unit?

      3           A.   Yes.

      4           Q.   How long have you been working there?

      5           A.   A little more than seven years.

      6           Q.   How did you get involved with that unit?

      7           A.   I applied for it.

      8           Q.   That's a job that you wanted to take?

      9           A.   Yes.

     10           Q.   Can you explain to the jurors what the K-9 Unit does?

     11           A.   We do patrol work, which is apprehension work,

     12    tracking and evidence searches.

     13           Q.   Can you briefly describe what those different things

     14    are that you just mentioned?

     15           A.   Patrol is apprehensions where find perpetrator's stuff

     16    like that, tracking for missing people, and evidence article

     17    searches.

     18           Q.   Now, when you're assigned to the K-9 Unit, are you

     19    assigned a partner?

     20           A.   Yes.

     21           Q.   When you're in the K-9 Unit who would your partner be?

     22           A.   My K-9, Storm.

     23           Q.   You mentioned that you are ass igned to a particular

     24    K-9?

     25           A.   Yes.


                                               TR
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 670 of 1061 PageID #: 865
  000668                                                                            198
                                 PO Jacobs - Direct - Cilia

      1         Q.    That's Storm?

      2         A.    Yes.

      3         Q.    Is that the original partner that you had when you

      4    came to the unit?

      5         A.    Yes.

      6         Q.    Is that still your partner today?

      7         A.    Yes, it is .

      8         Q.    What kind of dog is Storm?

      9         A.    German Shepard.

     10         Q.    Does he have any specialized training?

     11         A.    Yes , he does.

     12         Q.    Explain?

     13         A.    Patrol tracking and evidence .

     14         Q.    Is Storm certified in any way?

     15         A.    Yes, he is .

     16         Q.    Can you explain that?

     17         A.    We take a test every three years for the state.

     18         Q.    This test is it , you said every three years?

     19         A.    Yes .

     20         Q.    Has Storm ever failed a certification?

     21         A.    No.

     22         Q.    Was Storm certified as of December 8, 2011?

     23         A.    Yes.

     24         Q.    Still certified today?

     25         A.    Yes , he is.


                                               TR
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 671 of 1061 PageID #: 866
  000669                                                                            199
                                   PO Jacobs - Direct - Cilia

      1         Q.    I want to direct your attention to December 8 of 2011 ,

      2    were you working that day?

      3         A.    Yes, I was.

      4         Q.    What hours were you scheduled to work?

      5         A.    1400 by 2235.

      6         Q.    That's the afternoon?

      7         A.    Yes, it is.

      8         Q.    Starting at?

      9         A.    2 o'clock.

     10         Q.    Okay.     That afternoon were you and your partner Storm

     11    called to a job?

     12         A.    Yes, I was.

     13         Q.    What was that job?

     14         A.    Evidence search.

     15         Q.    Was there a particular location?

     16         A.    May I refer to my memo book?

     17                       THE COURT:   Yes.

     18         A.    195 Steuben Street.

     19         Q.    Did you respond to this location?

     20         A.    Yes, I did.

     21         Q.    That ' s here in Staten Island?

     22         A.    Yes, it is.

     23         Q.    About what time did you arrive?

     24         A.    Approximately 1528, 3:28 p.m.

     25         Q.    Did you meet with any members of the NYPD when you


                                                  TR
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 672 of 1061 PageID #: 867
  000670                                                                            200
                                 PO Jacobs - Direct - Cilia

      1    arrived?

      2         A.    I did, yes.

      3         Q.    When you arrived at Steuben Street were you directed

      4    to another location?

      5         A.    Yes, I was.

      6         Q.    Where was that?

      7         A.    Corner of Mosel and Pierce.

      8         Q.    Again that's here in Staten Island?

      9         A.    Yes, it is.

     10         Q.    Why that particular location?

     11         A.    That's where somebody was arrested possible evidence

     12    may be.

     13         Q.    Did you respond to this location?

     14         A.    Yes.

     15         Q.    About what time did you arrive?

     16         A.    Approximately 1645, 3:45 p.m.

     17         Q.    I want to show you what's already in evidence as

     18    People's Exhibit 169 Band C.

     19               Starting with 169 B., do you recognize that?

     20         A.    Yes.

     21         Q.    That's also on our screen here.       What can you tell us

     22    about this particular picture?

     23         A.    This is the location where I deployed my canine.

     24         Q.    Where specifically did you deploy your canine?

     25         A.    Clearing area on both sides of the sound barrier next


                                               TR
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 673 of 1061 PageID #: 868
 000671                                                                             201
                                 PO Jacobs - Direct - Cilia

      1    to the highway .

      2         Q.    Can you circle around the exhibit in front of you?

      3               Can you show that to the jury, can you point to it

      4    also.

      5               So we're talking about, on the screen here, we're

      6    talking about these wooded areas over here?

      7         A.    The topside.

      8         Q.    This over here?

      9         A.    Yes.

     10         Q.    This is where you deployed your canine?

     11         A.    Correct.

     12         Q.    Now let's move on to 169 C., again from that what can

     13    you tell us about that particular area?

     14         A.    This is the same where I deployed my canine, both

     15    sides of the sound barrier.

     16         Q.    What else can you tell us about that particular

     17    picture?

     18         A.    My canine alerted us on a bag hidden on leaves .

     19         Q.    Can you describe the area around Pierce and Mosel and

     20    that you and your partner were searching?

     21         A.    Wooded area it was full,      so there where is leaves on

     22    the ground.

     23         Q.    Prior to searching did you know what specifically you

     24    and your partner were looking for?

     25         A.    No.


                                               TR
     Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 674 of 1061 PageID #: 869
      000672                                                                             202
                                      PO Jacobs - Direct - Cilia

           1         Q.     Did you have a description of any particular type of

           2    property?

            3        A.     No.

            4        Q.     Can you explain to the jurors how you and your partner

            5   conducted the search of this particular area?

            6        A.     I deploy my dog.    I give him a command to go look for

            7   something with human scent on it, and he goes out and alerts

            8   either by scratching or digging.

            9        Q.     Do you accompany Storm on these searches or does he go

          10    on his own?

          11         A.     A company him.

          12         Q.     Is he on leash or off leash?

          13         A.     Depends on the circumstances.      At this time he was off

          14    leash.

          15         Q.     This type of search, an evidence search, what is Storm

          16    trained for?

          17         A.     Anything with human scent on it.

          18         Q.     You mentioned that Storm indicated that he had located

          19    something?

          20         A.     Yes.

          21         Q.     How did he make this indication?

          22         A.     Digging and scratching.

          23         Q.     Where was he digging and scratching?

          24         A.     In a pile of leaves.

--        25         Q.     Looking at People's exhibit 169 C. in front of you,


                                                    TR
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 675 of 1061 PageID #: 870
  000673                                                                            203
                                 PO Jacobs - Direct - Cilia

      1    can you please circle where Storm is digging and scratching?

      2                Can you show that to the jurors.

       3               So you're indicating approximately and pointing now to

       4   what's on screen?

       5          A.   More behind the houses.

       6          Q.   Back behind here?

       7          A.   Yes.

      8           Q.   So in this vicinity over here?

       9          A.   Yes .

     10           Q.   Now, where did you go when Storm made this indication?

     11           A.   I went to my canine.

     12           Q.   When you got there, what did you see?

     13           A.   Pile of leaves with something under it.

     14           Q.   Now, I would like to show you what's in evidence .           I'm

     15    going to hand them up now, People's exhibit 100 and 105.

     16                And we're going to start with People's exhibit number

     17    100.

     18                Starting with the exhibit in front of you People ' s

     19    exhibit number 100 , can you explain what ' s depicted in this

     20    photo?

     21           A.   It's just a bag and then a pathway where the bag was

     22    located.

     23           Q.   Is this the particular bag that Storm located on

     24    December 8th of 2011?

     25           A.   Yes, it is.


                                               TR
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 676 of 1061 PageID #: 871
  000674                                                                            204
                                   PO Jacobs - Direct - Cilia

      1          Q.   Now when you first saw this bag was it -- you said

      2    something was covering it?

      3          A.   Yes, there was leaves on top of it.

      4          Q.   Now this photo it appears to be dark out, is that

      5    right?

      6          A.   Yes.

      7          Q.   When you and Storm found this duffel bag what were the

      8    lighting conditions?

      9          A.   It was daylight.

     10          Q.   Now I'd like to go on to People's exhibit number 105.

     11    Do you recogn i ze this?

     12          A.   Yes, I do.

     13          Q.   What is that?

     14          A.   That's the bag.

     15          Q.   Now, when you and Storm first found this black and

     16    gray duffel back was it open or closed?

     17          A.   Closed.

     18          Q.   Was it opened in your presence?

     19          A.   Yes, it was.

     20          Q.   Can you explain that?

     21          A.   I notified Detective Guariano of the bag and he opened

     22    it.

     23          Q.   Was Detective Guariano also at the scene?

     24          A.   Yes, he was.

     25          Q.   After Storm and you located the bag you called


                                               TR
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 677 of 1061 PageID #: 872
  000675                                                                            205
                                 PO Jacobs - Direct - Cilia

      1    Detective Guariano over?

      2         A.    Yes.

      3         Q.    So he was the one who opened the bag?

      4         A.    Yes.

      5         Q.    And did you ever see the contents of this bag?

      6         A.    Yes.

      7         Q.    To what extent did you see it?

      8         A.    I saw a firearm inside and also a towel I think was in

      9    there.

     10         Q.    Was anything removed from the bag?

     11         A.    No.

     12         Q.    In your presence?

     13         A.    Not in my presence.

     14         Q.    So Detective Guariano opened the bag and you both

     15    looked inside?

     16         A.    Yes.

     17         Q.    After recovering this bag did there come a time that

     18    you left the black and gray duffle bag?

     19         A.    Yes.

     20         Q.    At that point had the bag been removed physically?

     21         A.    No.

     22         Q.    Was it safeguarded by a member of the NYPD?

     23         A.    Yes.

     24         Q.    Over besides what we've discussed here today, did you

     25    have any other involvement with this homicide investigation?


                                               TR
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 678 of 1061 PageID #: 873
      000676                                                                            206
                                       PO Jacobs - Direct - Cilia

          1         A.    No.

          2         Q.    Thank you.

          3                     (At this time, Maurizia Selleck relieves Tammy

          4         Rodriguez as the court reporter.)

          5

           6

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                                                   TR
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 679 of 1061 PageID #: 874
  000677                                                                            207
                                  People - P.O. Jacobs - Cross

      1                      MS. GUASTELLA:     May I, your Honor?

      2                      THE COURT:     Okay.

      3    CROSS-EXAMINATION

      4    MS. GUASTELLA:

      5         Q.    Officer, are all the K9 made up of the K9 dog and

      6    partner?

      7         A.    Yes.

      8         Q.    Except the K9 .

      9         A.    Correct.

     10         Q.    And all the K9 training is at the range?

     11         A.    Correct.

     12         Q.    And you go through the training with the dog?

     13         A.    Correct.

     14         Q.    In fact, when you certify, it's pretty intense to get

     15    recertified, correct?

     16         A.    Not intense.

     17         Q.    Do you take         Well, when you first get the dog, you

     18    go through about 300 hours of training?

     19         A.    Correct .

     20         Q.    And you take the training through the Municipal Police

     21    Training Council, correct?

     22         A.    Correct.

     23         Q.    And that's over 300 hours of training?

     24         A.    A little more than that; 360 for just patrolling.

     25         Q.    And there is a lot of different areas that you and the


                                                MMS
     Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 680 of 1061 PageID #: 875
       000678                                                                            208
                                      People - P.O. Jacobs - Cross


-          1

           2
                K9 have to do before you guys would become a team, correct?

                     A.    Correct.

           3         Q.    And the K9 has to pass all the different aspects of

           4    the program, right?

           5         A.    Correct.

           6         Q.    And in addition to what you indicated, obedience,

           7    right?

           8         A.    Correct.

           9         Q.    Agility?

          10         A.    Correct.

          11         Q.    Building searches?

          12         A.    Correct.

--        13         Q.    Area searches?

          14         A.    Correct.

          15         Q.    And the dog has to be able to actually want to go do

          16    those things, c o rrect?

          17         A.    Correct.

          18         Q.    Otherwise he is unable to be part of a team, correct?

          19         A.    Correct.

          20         Q.    And part of the things that the dog -- to become part

          21    of the team to be trained is not just the unit scents, but it's

          22    also classic credit cards?

          23         A.    I'm sorry?

          24         Q.    Plastic credit cards?

-         25         A.    What's that?


                                                    MMS
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 681 of 1061 PageID #: 876
      000679                                                                                 209
                                     People - P.O. Jacobs - Cross


-         1

          2
                     Q.

                     A.
                          Credit card.

                          I don't understand the question.

          3          Q.   Could you tell us when the -- The part of the training

          4    where the dog is taught to recover different items, can you

          5    describe that?

          6          A.   We heat up an article, somebody shows the dog an

          7    article, it could be anything, and we hide it and the dog finds

          8    it.

          9          Q.   Okay.     And the dog has recovered many things, such as

         10    matchbook covers?

         11          A.   Everything.

         12          Q.   Bullets?

         13          A.   Anything, correct.

         14                       MS. GUASTELLA:       Thank you, Judge.   I have nothing

         15          further.

         16                       THE COURT:     Do you take the dog home with you

         17          after your tour?

         18                       THE WITNESS:     Yes, sir.

         19                       THE COURT:     You do?

         20                       THE WITNESS:     Yes, sir.

         21                       THE COURT:     I was just wondering.

         22                       MR. REEVES:     We wanted to bring the dog in.        We

         23          didn't know if you wanted to.

         24                       THE COURT:     Any redirect?

-        25                       MS. CILIA:     No.


                                                       MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 682 of 1061 PageID #: 877
  000680                                                                             210
                                 People - P.O. Jacobs - Cross

      1                      THE COURT:   Thank you, Officer.      You're excused,

      2         you're free to step out.

      3                      (Witness excused.)

      4                      THE COURT:   Next witness?

      5                      (Whereupon, a discussion is held at the bench off

      6         the record.)

      7                      THE COURT:   We are going to take a short break,

      8         members of the jury, while we get the next witness into the

      9         courthouse.     So, I'll try to keep it to ten minutes.

     10         You're free to step out.         Don't discuss the case.    Thanks

     11         for your attention.

     12                      (Whereupon, the jury exits the courtroom.)

     13                      THE COURT:   Okay.     The jury has left.

     14                      Det. Patterson, what is he?

     15                      MS. CILIA:   He's the case detective.

     16                      THE COURT:   He's going to be a while?

     17                      MS. CILIA:   We'd like a few minutes with him to

     18         show him the video that's now in evidence.

     19                      THE COURT:   What's a few minutes?      Which video?

     20         The Ferry?

     21                      MS. CILIA:   Yes.

     22                      THE COURT:   All right.     Well, do it as quickly as

     23         you can, I told the jury ten minutes.         I don't think that's

     24         going to work.     Keep in mind we have to break at five to

     25         one.


                                                 MMS
        Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 683 of 1061 PageID #: 878
          000681                                                                            211
                                      People - Vitale - Direct/Reeves

-   ·         1                     We'll second call the case, and do what you can

              2         as quickly as you can.       Thanks.

              3                     (Whereupon, a brief recess is taken.)

              4                     THE COURT CLERK:        The judge said tell the jury

              5         come back at 2 o'clock.

              6                     (Whereupon, a luncheon recess is taken.)

              7                     THE COURT CLERK:        Case on trial continues: Armand

              8         Skrine, 454/2011.

              9                     THE COURT OFFICER:          Your Honor, ready for the

             10         jury?

             11                     THE COURT:     Yes.

             12                     (Whereupon, the jury enters the courtroom.)

-            13

             14
                                    THE COURT CLERK:        Do both sides stipulate the

                        presence of a complete jury panel, properly seated?

             15                     People?

             16                     MR. REEVES:     Yes.

             17                     THE COURT CLERK:        Defense?

             18                     MS. GUASTELLA:        So stipulated.

             19                     THE COURT:     Next witness, please.

             20                     MR. REEVES:     People call James Vitale.

             21    JAMES         VITALE, having been called as a witness on

             22         behalf of the People, having been duly sworn by the clerk

             23         of the court, was examined and testified as follows:

             24                     THE COURT CLERK:        State your name.

-            25                     THE WITNESS:     James Vitale.


                                                          MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 684 of 1061 PageID #: 879
  000682                                                                             212
                                People - Vitale - Direct/Reeves

      1                       THE COURT CLERK:     And the county of residence.

      2                       THE WITNESS:      The county of residence, Staten

      3         Island.

      4                       THE COURT CLERK:      Thank you.

      5                       THE COURT:     Members of the jury, Mr. Vitale's

      6         name was not read to you from that witness list when you

      7         were selected.      Do any of you know him?

      8                       (No response. )

      9                       THE COURT:     Nobody does.     Good.

     10                       Proceed, please.

     11                       MR. REEVES:     Thank you, your Honor.

     12    DIRECT EXAMINATION

     13    BY MR. REEVES:

     14         Q.    Good afternoon, Mr. Vitale.           How are you?

     15         A.    Good.     Yourself?

     16         Q.    I'm good, thank you.

     17               Would you start off telling the jury who you work for.

     18         A.    New York City Department of Transportation.          I'm the

     19    director -- assistant director of security.

     20         Q.    And as assistant director of security, what kind of

     21    things are you responsible for doing?

     22         A.    Safety of the passengers and the workers at the Staten

     23    Island Ferry.

     24         Q.    Now, do you work at Staten Island or in Manhattan?

     25         A.    I work in Manhattan, sir.


                                                  MMS
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 685 of 1061 PageID #: 880
     000683                                                                             213
                                  People - Vitale - Direct/Reeves

          1         Q.    And as part of your duties and responsibilities as

          2    assistant director of security, do you also oversee the

          3    security camera system in the Whitehall station?

          4         A.    Yes, sir.

          5         Q.    Can you tell us, approximately how many cameras does

          6    Whitehall have?

          7         A.    I believe we're up to 143 now.

          8         Q.    143?

          9         A.    Yes, sir.

         10         Q.    And do those cameras record the images?

         11         A.    Yes.

         12         Q.    Now, what I'd like to do is to fast-forward to

-        13

         14
               December 9th of 2 011.     Do you recall getting, as a member of

               the Department of Transportation, a request from the New York

         15    City Police Department to download some video footage from

         16    December 8, 2011, between 9 o'clock to 10 o'clock in the

         17    morning?

         18         A.    Yes, sir.

         19         Q.    And was that done?

         20         A.    Yes, it was.

         21         Q.    What I'd like to do is hand up to you what's been

         22    premarked as People's 170.

         23               Mr. Vitale, do you recognize People's 170 for

         24    Identification?

-        25         A.    Yes, I do.


                                                   MMS
     Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 686 of 1061 PageID #: 881
       000684                                                                            214
                                    People - Vitale - Direct/Reeves


--         1         Q.

                     A.
                           What do you recognize that to be?

                           That is the CD that we provided to the Police
           2

           3    Department.

           4         Q.    Now, did you have a chance prior to coming to court

           5    today to view the contents of that disk in my office at

           6    130 Stuyvesant?

           7         A.    Yes, sir.

           8         Q.    And after you got done looking at it in my office, did

           9    you put your initials and date on that disk?

          10         A.    Yes, I did, to verify it, sir,      it was mine.

          11         Q.    The contents that are d ownloaded on that disk, do they

          12    fairly and accurately reflect what was recorded on four of the

          13    143 cameras on December 8, 2011?

          14         A.    Yes, sir.

          15                      MR. REEVES:    Your Honor, I offer in e v idence

          16         People's 170.

          17                      MS. GUASTELLA:    No objection.

          18                      THE COURT:    All right, 170 is in evidence.

          19                      (Whereupon, People's Exhibit 170 is received in

          20         evidence.)

          21                      MR. REEVES:    With the Court's permission, if I

          22         can have the disk.

          23         Q.    Mr. Vitale, I'm going to show you the four different

          24    camera angles and I'm g o ing to ask you some questions about

-         25    them, if I could.


                                                    MMS
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 687 of 1061 PageID #: 882
     000685                                                                              215
                                   People - Vitale - Direct/Reeves


-         1

          2
                      A.

                      Q.
                           Okay.

                           Mr. Vitale, can you tell us what angle is being played

          3    now?

          4           A.   Okay, you're looking at the entrance to the terminal

          5    to the escalators that head to the waiting room.

          6           Q.   And it's got a date and a time stamp on it.         Is that

          7    date and time stamp accurate, to the best of your knowledge?

          8           A.   Yes, it is.

          9           Q.   Mr. Vitale, I'm going to switch to the one that's

         10    labeled Waiting Room.      Can you tell me what angle we're looking

         11    at in this?

         12           A.   That's just after you get off the escalators and

         13    you're entering the people counters into the waiting area.

         14           Q.   Now, those people counters, are they magnetometers as

         15    well?

         16           A.   No.

         17           Q.   So, once you leave the escalator, you'd walk through

         18    the people counters and then you'd be in the general waiting

         19    room?

         20           A.   Yes, sir.

         21           Q.   Now I'm going to show you the camera from what's

         22    marked as Loading Doors.       Can you explain to us what we're

         23    looking at?

         24           A.   You're looking at slip number 1, the rear shot of

-        25    loading doors which head to the boat that was pulling into that


                                                   MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 688 of 1061 PageID #: 883
  000686                                                                            216
                                 People - Vitale - Direct/Reeves

      1    slip at that time.

      2         Q.    Now, do the boats leave on a schedule?

      3         A.    Yes, sir.

      4         Q.    So, if the date stamp is December 8, 2011, at 9:11 in

      5    the morning, what time would the next ferry be scheduled to

      6    leave on a Thursday?

      7         A.    9:15.

      8         Q.    Finally I'm going to show you the fourth image, which

      9    is marked Ferry Terminal.         And if you can tell me, Mr. Vitale,

     10    what we're looking at here.

     11         A.    Okay.      You're looking at the front side of the loading

     12    doors now from the slip headed to the boat.

     13         Q.    And, again, this would be for the 9:15 in the morning

     14    Ferry, correct?

     15         A.    That's correct.

     16         Q.    Mr. Vitale, other than providing the camera footage

     17    from those four cameras to the Police Department on December 9,

     18    2011, did you have any other involvement in this case?

     19         A.    Negative.

     20         Q.    Thank you, sir.

     21                        MR. REEVES:   I have no further questions, your

     22         Honor.

     23                        (Pause in the proceedings.)

     24                        MS. GUASTELLA:   Oh, I'm so sorry.    I have no

     25         quest i ons.


                                                MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 689 of 1061 PageID #: 884
  000687                                                                             217
                               People - Vitale - Direct/Reeves

      1                      THE COURT:     Oh.

      2                      MS. GUASTELLA:        I apologize.

      3                      THE COURT:     I thought you were working on

      4         something.

      5                      MS. GUASTELLA:        No.    I apologize.

      6                      THE COURT:     Mr. Vitale, you're excused, you're

      7         free to step out.

      8                      THE WITNESS:     Thank you, sir.

      9                      (Witness excused.)

     10                      THE COURT:     Next witness, please.

     11                      MS. CILIA:     The People call Det. Edward

     12         Patterson.

     13                      THE COURT OFFICER:          Your Honor ready for the

     14         witness?

     15                      THE COURT:     Yes.

     16    DE T.      EDWARD          T.      PATTERSON, bearing shield

     17         number 6786, assigned to the 121 Precinct Detective Squad,

     18         having been called as a witness on behalf of the People,

     19         having been duly sworn by the clerk of the court, was

     20         examined and testified as follows:

     21                      THE COURT CLERK:        State your name, shield number,

     22         and command for the record, please.

     23                      THE WITNESS:     Certainly.       Detective Edward T.

     24         Patterson, shield number 6786, of the 121 Detective Squad.

     25                      MS. CILIA:     May I inquire?


                                                   MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 690 of 1061 PageID #: 885
  000688                                                                            218
                           People - Det. Patterson - Direct/Cilia

      1                     THE COURT:     Yes.

      2    DIRECT EXAMINATION

      3    BY MS. CILIA:

      4         Q.     Detective, approximately how long have you been with

      5    the NYPD?

      6         A.     22 years and 2 months.

      7         Q.     And can you please tell the jury where you've worked

      8    throughout your career with the NYPD.

      9         A.     Certainly, ma'am.

     10                I was assigned as a police officer in the 67 Precinct

     11    in Brooklyn, the 30 Precinct in Manhattan, the Citywide Street

     12    Crime Unit.     I was promoted to detective and assigned to the 40

     13    Precinct Robbery Apprehension Module in the Bronx, the 40

     14    Precinct Detective Squad, the 41 Precinct Detective Squad, the

     15    Bronx Special Victims Squad, briefly at the Chief of

     16    Detective's Office on Detective Borough Staten Island, the 122

     17    Detective Squad, the 120 Detective Squad, and now currently the

     18    121 Detective Squad.

     19         Q.     Detective, can you tell the jury what it means to be a

     20    case detective?

     21         A.     Yes, ma'am.

     22                When you are the case detective, you are the

     23    individual investigator tasked with marshaling all of the

     24    investigatory steps: the interviews, the searches, the

     25    canvasses, the evidence; all things of that nature.


                                                  MMS
       Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 691 of 1061 PageID #: 886
         000689                                                                            219
                                 People - Det. Patterson - Direct/Cilia


-- -         1         Q.    Now, specific to a homicide investigation, what types

             2    of responsibilities does a case detective hold?

             3         A.    Pursuant to a homicide investigation, the case

             4    investigator -- the case detective from the get-go will be

             5    responding to the scene.       He'll document the notification of

             6    the incident, whether it's from the desk officer, central

             7    radio, units in the field.       He will respond to the location.

             8    If the victim remains on the scene, he will examine the victim.

             9    If the victim is removed to the hospital, he or other

            10    detectives will be delegated to go to the hospital, check on

            11    condition, confer with physicians.         He will confer with various

            12    members of supervision regarding the investigative steps that

-           13

            14
                  they want done.     He will generally ascertain which detectives

                  are performing which tasks: canvasses, obtaining of evidence,

            15    processing of crime scene, searches for evidence; things of

            16    that nature.

            17         Q.    Now, Detective, you just mentioned that more than one

            18    officer are tasked with different responsibilities; is that

            19    correct?

            20         A.    Yes, ma'am.    In the case of a homicide investigation,

            21    it's what we refer to as an all-hands event.          All detectives

            22    working in this borough particularly, all of the detectives

            23    working that day will respond to the location and assist in the

            24    investigation.

-           25         Q.    As the case detective, is it the case detective who is


                                                      MMS
     Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 692 of 1061 PageID #: 887
       000690                                                                            220
                               People - Det. Patterson - Direct/Cilia

           1    responsible for the overseeing of these tasks?

           2         A.    That is correct.

           3         Q.    On December 8th of 2011, were you assigned to

           4    investigate a homicide that occurred in Staten Island?

           5         A.    Yes, ma' am, I was.

           6         Q.    And what day of the week was that?

           7         A.    That was the Thursday.

           8         Q.    And what were the weather conditions?

           9         A.    It was clear.     The sky was clear.     It was cool for a

          10    December day; not cold, but cool.

          11         Q.    What was your role in that investigation?

          12         A.    I was assigned as the case investigator, the case

·-        13    detective.

          14         Q.    Did you learn the name of the deceased victim in this

          15    case?

          16         A.    I did, ma'am.

          17         Q.    Who was that?

          18         A.    David Williams.

          19         Q.    As part of this investigation, did you visit the crime

          20    scene?

          21         A.    I did, ma'am.

          22         Q.    Where was that?

          23         A.    195 Steuben Street.

          24         Q.    And when did you visit?
--
          25         A.    I visited immediately when the report of the incident


                                                    MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 693 of 1061 PageID #: 888
  000691                                                                            221
                          People - Det. Patterson - Direct/Cilia

      1    had been broadcast over central radio.

      2         Q.    Tell us what you observed when you got there.

      3         A.    Yes, ma'am.

      4               The victim, David Williams, was lying prone, facedown,

      5    on the hallway floor.      The door to the apartment was open.

      6    There was skull fragments and brain matter a good distance down

      7    the hallway, and there was a tremendous amount of blood around

      8    the victim .

      9         Q.    You mentioned that the door was open?

     10         A.    Yes, ma'am.    The apartment door was open.       The

     11    apartment appeared to have -- it appeared that a struggle had

     12    occurred inside the apartment.

     13         Q.    What makes you say that?

     14         A.    There were      Items were turned over: chairs, tables,

     15    things of that nature.

     16         Q.    Now, can you tell the jury what was done to

     17    investigate this particular homicide and also what the results

     18    were of those tools?

     19         A.    Yes, ma'am, I can.

     20               The crime scene was examined by myself and then

     21    processed by detectives from the Crime Scene Unit.           Forensic

     22    evidence was obtained and sent to the laboratory for analysis.

     23    A canvass of the building was conducted.          By that I mean every

     24    door in the apartment building itself was knocked on.              The

     25    route of -- What we believe the route of egress of the


                                               MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 694 of 1061 PageID #: 889
 000692                                                                             222
                           People - Det. Patterson - Direct/Cilia

      1    perpetrator we canvassed along that route between the location

      2    and where the perpetrator was apprehended knocking on doors to

      3    see if anyone had witnessed the perpetrator leaving the scene

      4    or to ascertain if there was any video surveillance footage

      5    available.

      6         Q.     Was there any video surveillance available?

      7         A.     There was not, ma'am.

      8         Q.     You mentioned the collection of some forensic

      9    evidence.    And you said that some things were sent to the lab?

     10         A.     That is correct.

     11         Q.     Including what?

     12         A.     A assault rifle, AK-47 type; shell casings; articles

     13    of clothing; a large bag.

     14         Q.     Do you know whether anything was sent to the latent

     15    print section of the lab?

     16         A.     I do, ma'am.   A latent print was recovered in the

     17    7th floor hallway area.

     18         Q.     And was this fingerprint investigated?

     19         A.     It was.

     20         Q.     Who did it belong to?

     21         A.     An individual by the name of Samuel Nelson.

     22         Q.     Was Samuel Nelson ever a suspect in this

     23    investigation?

     24         A.     He was not, ma'am.

     25         Q.     Why not?


                                               MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 695 of 1061 PageID #: 890
  000693                                                                            223
                          People - Det. Patterson - Direct/Cilia

      1         A.    Because he resides within the building.

      2         Q.    Do you have a description of this individual?

      3         A.    I do.   Samuel Nelson is a male black, 5'7" tall,

      4    approximately 170 pounds.

      5         Q.    During the course of your investigation, Detective,

      6    did you review any Ferry video from the morning of December 8th

      7    of 2011?

      8         A.    I did, ma'am.

      9         Q.    Why did you do that?

     10         A.    I did that because we believe that was how the

     11    perpetrator arrived at the crime scene.

     12         Q.    I'd like to show you what are already in evidence as

     13    People's Exhibits Number 168 and 170 and just ask you,

     14    Detective, whether you recognize these.

     15         A.    They are marked as the disks of the ferry video

     16    surveillance footage obtained that day.

     17         Q.    And have you had an opportunity to watch those videos?

     18         A.    I have had, yes, ma'am.

     19         Q.    And I'd now like to show you what's been premarked

     20    People's Exhibits Number 171-A through G.

     21               Detective, taking a look at these, do you recognize

     22    them?

     23         A.    I do, ma'am.

     24         Q.    What are they?

     25         A.    They are photographs -- They are still images taken


                                               MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 696 of 1061 PageID #: 891
  000694                                                                            224
                            People - Det. Patterson - Direct/Cilia

      1    from the video that I viewed of both sides of the ferry

      2    terminal.

      3         Q.     Okay.     So, they're exact stills from the videos that

      4    you watched?

      5         A.     They appear to be, yes, ma'am.

      6         Q.     Have they been altered in any way?

      7         A.     They do not appear to be, no.

      8                        MS. CILIA:   I would ask that these be moved into

      9         evidence as People's Exhibits Number 171-A through G.

     10                        MS. GUASTELLA:      No objection.

     11                        THE COURT:   That was A through what?

     12                        MS. CILIA:   G.

     13                        THE COURT:   G?     I just didn't hear you.

     14                        MS. CILIA:   Yes.

     15                        THE COURT:   A through G, all right, they're in

     16         evidence.

     17                        (Whereupon, People's Exhibits 171-A through Gare

     18         received in evidence.)

     19                        THE COURT OFFICER:        So marked, your Honor.

     20         Q.     Detective, before we start looking at those still

     21    photos, did you          when you watched the video from the morning

     22    of December 8th of 2011, did you watch it on one side of the

     23    ferry or both sides of the ferry?

     24         A.     Both sides, ma'am.

     25         Q.     And did you notice anything of interest to you?


                                                   MMS
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 697 of 1061 PageID #: 892
      000695
                                                                                        225
                               People - Det. Patterson - Direct/Cilia

          1           A.   I did.

          2           Q.   And what was that?

          3           A.   An individual appears in the images, a tall fellow

          4    wearing a dark jacket, gray hooded sweatshirt, carrying a large

          5    gray and black bag.

          6           Q.   Now, I'd like to start with 171-A which we are also

          7    going to put on the board here, and I'd also like to also just

          8    give a marker to the detective.

          9                Detective, is there anything of interest to you in

         10    People's 171-A?

         11           A.   Yes, ma'am.   The individual between the metal

         12    barricade entrance and the column wearing the dark colored

         13    jacket, gray hooded sweatshirt, and carrying the gray and black

         14    bag.

         15           Q.   I'd ask you to circle it on your paper version of

         16    that, and then I am going to point towards that image and ask

         17    you, is that the individual that is of interest to you?

         18           A.   It is, in fact, ma'am.

         19           Q.   And why specifically that -- what interests you about

         20    that particular individual?

         21           A.   The individual pictured is wearing the clothing that

         22    the defendant was apprehended with.

         23           Q.   Now, let's move onto 171-B.      I am going to ask you the

         24    same question:       Does anything interest you in this particular

-        25    still photo?


                                                   MMS
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 698 of 1061 PageID #: 893
      000696                                                                            226
                                People - Det. Patterson - Direct/Cilia


-         1

          2
                     A.     Yes, ma'am.     There is an individual facing away from

               the camera, toward the door, underneath the E in the word

          3    Terminal, wearing a dark colored jacket, a lighter gray hooded

          4    sweatshirt, and carrying a gray and black bag.

          5          Q.     I ask you to circle it on your exhibit and then I am

          6    going to -- I'm pointing now towards the individual on the

          7    left-hand side of the screen.         Is that the individual that is

          8    of interest to you?

          9          A.     It is.

         10          Q.     Okay.    Again, if you could just tell us why.

         11          A.     Yes, ma'am.     Again, he's wearing the clothing that the

         12    defendant was apprehended with.

-        13

         14
                     Q.

                     A.
                            Is he carrying anything?

                            He is carrying a large bag.

         15          Q.     Now, the first two photos that we've just looked at,

         16    can you tell us what side of the ferry that's from?

         17          A.     I can, ma'am.     That is the Manhattan side of the ferry

         18    terminal.

         19          Q.     Okay.    And now we're going to move on to 171-C.

         20          A.     Yes, ma'am.

         21          Q.     Where does this photo -- Where does this still come

         22    from?

         23          A.     That's the ramp between the ferry terminal and the

         24    bus        bus area where the -- How would you describe it?        The

-        25    place where the buses pick people up at the top of the ramp.


                                                    MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 699 of 1061 PageID #: 894
  000697                                                                            227
                          People - Det. Patterson - Direct/Cilia

      1         Q.    Okay, so the Staten Island side, outside the building,

      2    in the bus area?

      3         A.    That is correct .    Heading toward the bus area.

      4         Q.    And does anything interest you in this particular

      5    still?

      6         A.    Yes, ma'am.     The same individual wearing the dark

      7    colored clothing and carrying the large bag is present on the

      8    mid right side of the photograph.

      9         Q.    Moving on now to 171-D, same question:         What, if

     10    anything, interests you in this still?

     11         A.    The same individual, ma'am, appears further up the

     12    ramp, walking toward the bus area; again, you could see the

     13    large bag and the dark clothing.

     14         Q.    Can you describe what the bag looks l ike?

     15         A.    It appears to be a large hockey-type bag, a large

     16    duffle, with a shoulder strap.

     17         Q.    And you mentioned a gray sweatshirt; is that correct?

     18         A.    I did, ma'am.

     19         Q.    How is that being worn in this photo?

     20         A.    It's being worn with the hood up and apparently a

     21    baseball cap underneath.

     22         Q.    So you also see a baseball cap?        Is that another

     23    still?

     24         A.    Yes, ma'am.     In 171-C the brim of a baseball cap is

     25    clearly visible.


                                               MMS
         Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 700 of 1061 PageID #: 895
           000698                                                                            228
                                   People - Det. Patterson - Direct/Cilia

--   -         1         Q.    Okay.   And we have that up now.       What color is that

               2    brim?

               3         A.    It appears black, ma'am.

               4         Q.    We'll move on now to 171-E.       And, what, if anything,

               5    interests you in this still?

               6         A.    The same individual appears in the middle row next to

               7    the railing, again, with the dark colored clothing, the lighter

               8    sweatshirt, and the very large bag.

               9         Q.    And where does this still depict?

              10         A.    It's immediately before the bus ramp where the buses

              11    embark -- the buses embark passengers after them leaving the

              12    terminal and walking up the ramp.
 --           13         Q.    Can you describe the duffel bag that you see in this

              14    photo -- in this still, rather?

              15         A.    Yes, ma'am.    It appears to be gray and black in color,

              16    it has a large shoulder strap, and it appears that there's some

              17    object within in giving it shape.

              18         Q.    Let's move on now to 171-F.       If you can just describe

              19    that scene for us.

              20         A.    Yes, ma'am.    Again, it's the individual in dark

              21    clothing with the lighter sweatshirt.         The gray of the bag is

              22    clearly visible, as is the shoulder strap, and it seems that

              23    it's on the person's right-hand side.

              24         Q.    And is this in the same general vicinity as the last

              25    still that we just looked at?


                                                        MMS
     Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 701 of 1061 PageID #: 896
       000699                                                                             229
                               People - Det. Patterson - Direct/Cilia


--         1         A.    It's a few paces beyond where he was, yes, ma'am.             He

           2    appears to have adjusted the bag from behind him to his right

           3    side.

           4         Q.    And let's now move on to 171-G.

           5         A.    Yes, ma'am.

           6         Q.    What, if anything, interests you in this -- First of

           7    all, tell us where this is.

           8         A.    That is the bus pickup area, ramp, if you will.          The

           9    same individual from the other photos appears on the far left,

          10    again, with the bag, the lighter colored gray sweatshirt, and

          11    the dark jacket.

          12         Q.    And I'm just going to ask you -- I'm pointing now

--        13    toward the left-hand lower section of the screen.           Is that the

          14    individual who interests you?

          15         A.    That is, in fact, yes, ma'am.

          16         Q.    Okay.    Now, you mentioned that a gray sweatshirt was

          17    of interest to you.

          18         A.    Yes, ma'am.

          19         Q.    I'd like to show you what's in evidence as People's

          20    Exhibit 109.       I'll also turn up at this time People's

          21    Exhibit 124.

          22               Looking first at People's Exhibit 109.         I wanted to

          23    ask you whether you recognize this.

          24         A.    I do.
·-
          25         Q.    What is it?


                                                    MMS
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 702 of 1061 PageID #: 897
      000700                                                                             230
                               People - Det. Patterson - Direct/Cilia


-         1

          2
                      A.

               recovered.
                           It's the large gray and black duffel bag that was



          3           Q.   Is that People's 124 or People's 109?

          4           A.   Oh, I'm sorry, I misheard the numbers.        You were

          5    Yes,    I apologize.   109 is a light-gray-colored hooded

          6    sweatshirt.

          7           Q.   And where was that recovered from?

          8           A.   That was recovered with the bag, ma'am.

          9           Q.   Okay.   And now moving on to People's 124.        I want to

         10    ask you if you recognize this.

         11           A.   I do.

         12           Q.   What is it?

-        13

         14    strap.
                      A.   It's a large gray and black duffel bag with a shoulder



         15           Q.   What, if anything, can you tell us about these two

         16    items in relation to the items that we were just talking about

         17    on the stills?

         18           A.   They appear to be the same items that are carried by

         19    the individual in the still photo images taken from the Ferry

         20    video from both sides.

         21           Q.   Detective, approximately how many members of the NYPD

         22    were deployed to help investigate David's death?

         23           A.   Inclusive of supervision, ma'am, approximately 30

         24    individuals.

-        25           Q.   And did you arrest anyone in connection with this


                                                   MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 703 of 1061 PageID #: 898
  000701                                                                            231
                          People - Det. Patterson - Direct/Cilia

      1    homicide investigation?

      2         A.     I did, in fact.

      3         Q.     And who is that?

      4         A.     I arrested Armand Skrine.

      5         Q.     And do you see this person in court today?

      6         A.     Yes, ma'am, I do.

      7         Q.     Can you please point to this individual and indicate

      8    an article of clothing?

      9         A.     Yes, ma'am.

     10                He's the gentleman, the African American gentleman,

     11    seated at the defense table, wearing the olive-colored

     12    pinstripe-ish suit with a blue shirt and a yellow-and-blue

     13    striped tie.

     14                     MS. CILIA:     Indicating the defendant, your Honor.

     15                     THE COURT:     Very well.

     16         Q.     Detective, where -- at approximately what time did you

     17    arrest this defendant?

     18         A.     Approximately -- I have to refresh my recollection for

     19    the exact time, but approximately 0600 hours on the 9th of

     20    December.

     21         Q.     And during the time of the arrest, did you have an

     22    opportunity to view the defendant's demeanor?

     23         A.     I did.

     24         Q.     And what was his demeanor?

     25         A.     He was stoic.     He was emotionless.


                                               MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 704 of 1061 PageID #: 899
  000702                                                                                232
                          People - Det. Patterson - Direct/Cilia

      1         Q.    Now, Detective, can you explain to the jury what

      2    pedigree information is?

      3         A.    I can.

      4               Pedigree information is that information which

      5    describes an individual, consisting normally of name, date of

      6    birth, address, height, weight, hair color, eye color; all the

      7    things you would find on identification for the driver's

      8    license.

      9         Q.    And is this -- Is pedigree information something that

     10    you would obtain during arrest processing?

     11         A.    Yes, ma'am .

     12         Q.    Did you receive -- Did you obtain pedigree information

     13    with reference to this defendant?

     14         A.    I did.

     15         Q.    And where was the defendant living at the time of his

     16    arrest?

     17                      THE COURT:     Did you receive pedigree from the

     18         defendant?

     19                      THE WITNESS:     I don't recall, your Honor.

     20                      MS. GUASTELLA:        Can we approach at sidebar?

     21                      THE COURT:     Yes.

     22                      (Whereupon, a discussion is held at the sidebar

     23         off the record.)

     24                      THE COURT:     We've had a sidebar conference.         I

     25         think the DA is going to ask another question.


                                                   MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 705 of 1061 PageID #: 900
  000703                                                                            233
                          People - Det. Patterson - Direct/Cilia

      1         Q.    Detective, did you have an opportunity to observe the

      2    defendant while he was standing up?

      3         A.    I did.

      4         Q.    About how tall would you estimate he is?

      5         A.    I would say he's about 6'7" tall.

      6         Q.    How tall are you?

      7         A.    I'm 6'4" tall, ma'am.

      8         Q.    And could you just give an approximation between your

      9    height and the defendant's height?

     10         A.    The defendant was looking down at me.         He's taller

     11    than I am.    When I say 6'7", it's an approximation based upon

     12    my height.

     13         Q.    And can you approximate the defendant's weight?

     14         A.    Weight is a difficult thing to approximate, ma'am.            I

     15    would say approximately 260, 240, 260.

     16                     MS. CILIA:     Thank you, Detective.

     17                     THE WITNESS:     You're welcome, ma'am.

     18                     MS. GUASTELLA:     Judge, I have no questions.

     19                     THE COURT:     Okay, Detective, you're excused,

     20         you're free to step out.

     21                     THE WITNESS:     Thank you, Judge.

     22                     Thank you.

     23                     (Witness excused.)

     24                     THE COURT:     Next witness, please.

     25                     MR. REEVES:     Your Honor, that's all we have for


                                               MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 706 of 1061 PageID #: 901
  000704                                                                            234
                                           Proceedings

      1         today.

      2                     THE COURT:    Oh, okay.    Step up for a moment,

      3         please.

      4                     MR. REEVES:     Sure.

      5                      (Whereupon, a discussion is held at the bench off

      6         the record.)

      7                     THE COURT:     That's as far as we can go today,

      8         members of the jury.      The lawyers tell me we're right on

      9         schedule.

     10                     What I'm going to make it, again, for tomorrow is

     11         10 a.m., so I can handle the rest of my calendar and

     12         hopefully we'll get started at 10:00.         You probably noticed

     13         when I say 9:30, we get started at 10:15; when I say 10:00,

     14         we get started at 10:45.       There is so many things involved

     15         in getting a case up and running that sometimes it slows us

     16         down.     But we'll do our best to minimize that, so I'll say

     17         10 a.m.

     18                      Thank you very much.     Have a good evening.

     19         Remember the rules:       Don't discuss the case, and so on.

     20         Leave your notebooks, we'll lock them up.

     21                      (Whereupon, the jury exits the courtroom.)

     22                      THE COURT:    Okay, the jury has left.     We had a

     23         bench conference.     The DA laid out what they anticipated

     24         bringing out tomorrow.       I guess there's no need for me to

     25         delve into that further.


                                               MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 707 of 1061 PageID #: 902
  000705                                                                            235
                                          Proceedings

      1                     I understand Dr. deRoux is your last witness.

      2                     MS. CILIA:    Yes.

      3                     THE COURT:    And you anticipate he'll be here

      4         Friday.    He's only available Fridays?

      5                     MR. REEVES:    He was available today and I

      6         foolishly didn't schedule him.          He's not available

      7         Thursdays, and he will be here Friday.

      8                     THE COURT:    All right, I guess what --

      9                     MS. GUASTELLA:       I do have a witness.    I don't

     10         know if he is going to be available Friday, but certainly

     11         Monday morning.

     12                     THE COURT:    Okay.     Is it too soon for me to ask

     13         you what kind of case you're putting on?

     14                     MS. GUASTELLA:       Yes.

     15                     THE COURT:    Okay.     Well, let's talk about

     16         scheduling later tomorrow afternoon when we see where we

     17         are with the DA's case.      Well, we'll talk about it then.         I

     18         mean --

     19                     (Whereupon, a discussion is held off the record.)

     20                     MS. GUASTELLA:       Judge, do you want -- I'll try to

     21         see if I can get my witness for the afternoon on Friday.

     22                     THE COURT:    Okay.

     23                     MS. GUASTELLA:       But then I believe there is going

     24         to be a big gap in the morning.         Or should we just leave it

     25         for Monday morning fresh?


                                                 MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 708 of 1061 PageID #: 903
  000706                                                                            236
                                          Proceedings

      1                     THE COURT:    I mean, I don't even know for certain

      2         the DA is going to get to Dr. deRoux first thing Friday.

      3         It depends on what happens tomorrow.         There's several

      4         technical witnesses.      Why don't we discuss it tomorrow,

      5         we'll know better then.      If you can line your witness up

      6         for Friday, that will probably work.

      7                     MS. GUASTELLA:     I know I spoke to him this

      8         morning and he had said Monday.        I'll certainly mention

      9         Friday in case we can do the afternoon.

     10                     THE COURT:    See what you can do.      I think we're

     11         coming in a little ahead of schedule, so I'm not cracking

     12         the whip at this point.

     13                     MS. GUASTELLA:     I think we are.

     14                     THE COURT:    Okay.   Very good.     I'll see you

     15         tomorrow at 10:00.

     16                     (Defendant remanded.)

     17                     (Whereupon, court stands in recess and this

     18         matter is adjourned to March 6, 2014, at 10 a.m.)

     19    *     *     *     *     *      *    *     *     *     *     *
                 I hereby certify that the foregoing is a true and
     20    accurate transcript of the above proceedings to the best of my
           knowledge, skill, and ability.
     21

     22

     23

     24

     25


                                               MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 709 of 1061 PageID #: 904
  000707




           SUPREME COURT OF THE STATE OF NEW YORK
           COUNTY OF RICHMOND - CRIMINAL TERM - PART 5
           --------------------------------------x
           THE PEOPLE OF THE STATE OF NEW YORK                 INDICTMENT NO.
                                                               454/2011

                         -against-


           ARMAND SKRINE,

                                                               JURY TRIAL
                                             Defendant.        (Continued)
           --------------------------------------x
           (Jaclyn Nicole Hunt)              18 Richmond Terrace
           (Patricia Zippo)                  Staten Island, New York
           (Det. Clontz)                     March 6, 2014
           (Irene Wong)


           BEFORE:

                HONORABLE STEPHEN J.       ROONEY,    Justice.




           APPEARANCES:

                DANIEL DONOVAN, ESQ.
                District Attorney - Richmond County
                     130 Stuyvesant Place
                     Staten Island, N. Y. 10301
                BY:  KYLE REEVES, ESQ.,
                     JENNIFER CILIA, ESQ.,
                     Assistant District Attorneys

                MARIA GUASTELLA, ESQ.
                Attorney for the Defendant
                     88 New Dorp Plaza
                     Staten Island, N. Y. 10306




                                                     MAURIZIA M. SELLECK,
                                                     TAMMY RODRIGUEZ,
                                                     SENIOR COURT REPORTERS

                                            MMS
     Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 710 of 1061 PageID #: 905
      000708                                                                               238
                                                Proceedings

           1                     THE COURT CLERK:       Come to order.     Case on trial

           2         continues, Indictment 454/2011: Armand Skrine.

           3                     Appearances.

           4                     MS. CILIA:     Jennifer Cilia and Kyle Reeves.

           5                     MS. GUASTELLA:     Maria Guastella on behalf of

           6         Mr. Skrine.

           7                     Good morning, your Honor.

           8                     THE COURT:     Good morning.

           9                     MS. GUASTELLA:     I have a couple of things before

          10         we get started.     If you want us to approach now.

          11                     THE COURT:     Whatever you want.       Your client is on

          12         the way up, if you want to wait.            If you want to approach,

--        13         whatever you like.

          14                     MS. GUASTELLA:     I could approach now.

          15                     THE COURT:     Pardon?

          16                     MS. GUASTELLA:     I could approach now.

          17                     THE COURT:     Okay.

          18                     (Whereupon, a discussion is held at the bench off

          19         the record.)

          20                     (Defendant present.)

          21                     THE COURT:     We can bring the jury in, sir.

          22                     THE COURT OFFICER:       Yes.

          23                     (Pause in the proceedings.)

          24                     THE COURT OFFICER:       Your Honor ready for the

          25         jury?


                                                    MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 711 of 1061 PageID #: 906
  000709                                                                            239
                                People - Hunt - Direct/Cilia

      1                     THE COURT:     Yes.

      2                     THE COURT OFFICER:          Jury entering.

      3                     (Whereupon, the jury enters the courtroom.)

      4                     THE COURT CLERK:        Do both sides stipulate to a

      5         complete jury panel, properly seated?

      6                     People?

      7                     MS. CILIA:     Yes.

      8                     THE COURT CLERK:        Defense?

      9                     MS. GUASTELLA:        So stipulated.

     10                     THE COURT:     Good morning.       Welcome back.

     11                     Next witness, please.

     12                     MS. CILIA:     People call Jaclyn Nicole Hunt.

     13    JACLYN           N I C O L E      HUNT, having been called as a

     14         witness on behalf of the People, having been duly sworn by

     15         the clerk of the court, was examined and testified as

     16         follows:

     17                     THE COURT CLERK:        State your name and your county

     18         of residence.

     19                     THE WITNESS:     Jaclyn Nicole Hunt, 141 -- Richmond

     20         County, Staten Island, New York.

     21                     MS. CILIA:     May I inquire?

     22                     THE COURT:     Yes.

     23    DIRECT EXAMINATION

     24    BY MS. CILIA:

     25         Q.    Ms. Hunt, your name is Jaclyn Nicole?


                                                  MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 712 of 1061 PageID #: 907
  000710                                                                            240
                                People - Hunt - Direct/Cilia

      1         A.    Jaclyn Nicole, yes.

      2         Q.    And what do you go by?

      3         A.    Nicole.

      4         Q.    Ms. Hunt, could you tell the jury what you do for a

      5    living?

      6         A.    Um, I'm a preschool teacher -- assistant preschool

      7    teacher at Silver Lake Head Start, and I'm also in nursing

      8    school, and I'm a mother .

      9         Q.    I want to talk to you about December 8th of 2011, but

     10    first I want to ask you some background questions.

     11               On December 8th, who were you living with at that

     12    time?

     13         A.    David Williams and my daughter, Denae Williams.

     14         Q.    What was your relationship with David?

     15         A.    I was his fiancee.

     16         Q.    And when did the two of you first meet?

     17         A.    When I was 17.

     18         Q.    How long were you two together, approximately, in

     19    2011?

     20         A.    About 13 years.

     21         Q.    You mentioned you had a daughter.        Is that also

     22    David's daughter?

     23         A.    Yes.

     24         Q.    Where were you living back in 2011?

     25         A.    195 Steuben Street, Apartment 7L.


                                               MMS
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 713 of 1061 PageID #: 908
      000711                                                                            241
                                    People - Hunt - Direct/Cilia


-         1

          2    for?
                      Q.   About how long had you been living in that apartment



          3           A.   About seven and a half years.

          4           Q.   And that's the whole time you were living with David?

          5           A.   Yes.

          6           Q.   What was David doing for a living back in 2011?

          7           A.   He worked for Access-A-Ride.

          8           Q.   Did he also take care of your daughter?

          9           A.   Yes.   He was the person who dropped her off and picked

         10    her up from school.

         11           Q.   And in December of 2011, how old was David?

         12           A.   He was 30 -- He was a week away from his 31st

-        13

         14
               birthday.

                      Q.   About how tall was David?

         15           A.   About 5'11".

         16           Q.   And what was his body type like?

         17           A.   He was very thin, skinny.

         18           Q.   I'd like to show you what's been premarked People's

         19    Exhibit 172 for Identification.

         20                Can you tell us if you recognize what's in this

         21    picture?

         22           A.   Yes.

         23           Q.   Can you tell us what it is?



-
         24           A.   It's a picture of David, myself, and my sister; we

         25    were on vacation.


                                                   MMS
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 714 of 1061 PageID #: 909
     000712                                                                             242
                                      People - Hunt - Direct/Cilia


-         1

          2
                    Q.

               the picture?
                            And the picture of David -- There are three people in



          3         A.      Yes.

          4         Q.      Where is David in that picture?

          5         A.      He's in the picture; he would be on the right of the

          6    picture.

          7         Q.      And is that the way that David looked in 2011?

          8         A.      Yes.

          9         Q.      That's a fair and accurate representation of him?

         10         A.      Yes.

         11                        MS. CILIA:   I'd like to move this into evidence

         12         as --

-        13

         14
                                   MS. GUASTELLA:

                                   MS. CILIA:
                                                       No objection.

                                                    172.

         15                        THE COURT:   You say there is no objection.

         16                        All right.   Without objection, it's marked in.

         17                        What's the number.

         18                        MS. CILIA:   172.

         19                        (Whereupon, People's Exhibit 172 is received in

         20         evidence.)

         21                        THE COURT OFFICER:        So marked, your Honor.

         22         Q.      At this time I'd like you to take a look around the

         23    courtroom and tell us whether or not you recognize anyone.

         24         A.      Yes.

-        25         Q.      Who do you recognize?


                                                       MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 715 of 1061 PageID #: 910
  000713                                                                            243
                                 People - Hunt - Direct/Cilia

      1         A.    That person over there.

      2         Q.    Do you know the name of that person?

      3         A.    Um , I knew him as 2-5, but his name is Armand Skrine.

      4         Q.    And can you please point to that individual and

      5    indicate an article of clothing that he's wearing?

      6         A.    He's wearing a blue shirt and a striped tie.

      7                       MS. CILIA:   Indicating the defendant, your Honor.

      8                       THE COURT:   Very well.

      9         Q.    Now, do you know the defendant?

     10         A.    Yes.

     11         Q.    Okay.     How do you know him?

     12         A.    He's David's college roommate.

     13         Q.    And this was a former college roommate?

     14         A.    Former college roommate.

     15         Q.    Now, you mentioned 2-5.        What does that mean?

     16         A.    That was the nickname that -- I'm assuming that they

     17    gave him in college.       He played basketball, he was on the

     18    basketball team, and that's what Dave and his other friends

     19    called him.

     20         Q.    About how long have you known the defendant for?

     21         A.    Um, for about the same time I've known Dave.          I was

     22    introduced to him through David, so, about 13 years .

     23         Q.    About how tall would you say he is?

     24         A.    He's over 6'5"; probably about 6'9".

     25         Q.    And how did you two first meet one another?


                                               MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 716 of 1061 PageID #: 911
  000714                                                                            244
                                People - Hunt - Direct/Cilia

      1         A.    I was introduced to him by David.        He had, um, come to

      2    the house on different occasions and, um, before me and David

      3    lived together, I had met him.        Like , he'd come to David ' s

      4    house before, he's come to different family functions, he's

      5    come to visit David before.

      6         Q.    And you mentioned that the defendant and David went to

      7    school together?

      8         A.    Yes .

      9         Q.    What school was that?

     10         A.    Teikyo Post.

     11         Q.    Where is that located?

     12         A.    In Connecticut.

     13         Q.    And, so, you're saying that even though they were no

     14    longer together in school, the defendant and David kept in

     15    touch?

     16         A.    Yes.

     17         Q.    And you mentioned the defendant visited Staten Island.

     18    Is that right?

     19         A.    Mm-hmm, yes.

     20         Q.    Did he ever live in Staten Island?

     21         A.    No.

     22         Q.    Where was he living?

     23         A.    Queens or Long Island.

     24         Q.    And when the defendant and David would get together,

     25    where would that happen?


                                               MMS
     Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 717 of 1061 PageID #: 912
      000715                                                                             245
                                     People - Hunt - Direct/Cilia

           1           A.   Urn, sometimes at, urn, our house.     Other times they

           2    had, you know, went out, you know, went out to,          I guess, bars

           3    or, you know, shopping.       Just hanging out together without me,

           4    I wasn't with them.

           5           Q.   And when the defendant came to Staten Island, would he

           6    come and visit the apartment that you shared with David?

           7           A.   Yes.

           8           Q.   About how often would that happen?

           9           A.   Urn, sporadically throughout the years, every, urn, few

          10    months or so.

          11           Q.   And would you and Denae, your daughter, would you be

          12    home at that time?

          13           A.   There were times when we were home, yes.

          14           Q.   Now, how did David's height compare with the

          15    defendant's height?

          16           A.   David was much shorter than him.

          17           Q.   And how did David's body type compare to the

          18    defendant's body type?

          19           A.   He was a lot thinner than him.

          20           Q.   David was a lot thinner than the defendant?

          21           A.   Yes.

          22           Q.   Now, did the defendant ever bring anything with him

          23    when he visited?

          24           A.   The last time that, urn,   I saw him, he had a bag with
·-
          25    him.


                                                    MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 718 of 1061 PageID #: 913
  000716                                                                            246
                                  People - Hunt - Direct/Cilia

      1         Q.    About when was that?

      2         A.    It was, um, the - - It was after Thanksgiving.         It was

      3    a Friday or Saturday after Thanksgiving .

      4         Q.    You said he brought a bag with him?

      5         A.    He had a bag with him, yes.

      6         Q.    I'd like to show you what's already in evidence as

      7    People ' s Exhibit Number 124 .      We're going to put that on the

      8    screen as well.

      9               Do you recognize that bag?

     10         A.    Yes .

     11         Q.    What is it?

     12         A.    Um, it's the bag that, um, he had with him the last

     13    time he cam~ to our house .

     14         Q.    The defendant had that bag?

     15         A.    Yes.

     16         Q.    About how big is that bag?

     17         A.    (Indicating.)

     18                        MS. CILIA:   Okay.   Indicating with her hands,

     19         your Honor, all the way stretched out.

     20         Q.    Is that right?

     21         A.    Yes.

     22         Q.    Okay .     And did you notice anything about that bag when
                                                      I
     23    the defendant brought it in?

     24         A.    Yes.     When he, um -- When he came into the apartment

     25    and put the bag down, it made a loud sound.          It was heavy.


                                                MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 719 of 1061 PageID #: 914
  000717                                                                               247
                                People - Hunt - Direct/Cilia

      1         Q.    Now I want to talk to you about December 8th of 2011.

      2    That was a weekday?

      3         A.    Yes, I was at work.      Y~s.

      4         Q.    Can you just tell us how that day started for you?

      5         A.    I got up in the morning around 6:30, 7:00.          I got

      6    myself ready for work, um.       Woke my daughter up, got her ready.

      7    David got ready, um, warmed up the car, went downstairs.               He

      8    dropped me off to work and he dropped my daughter off to

      9    school.

     10         Q.    Was that the normal routine that you and David would

     11    follow?

     12         A.    Yes.

     13         Q.    So, he was the person who would drive you to work,

     14    drive Denae to school, pick her up?

     15         A.    Yes.

     16         Q.    And when you got to work, can you tell us what, if

     17    anything, happened at work?

     18         A.    Yes.   Um, I was at work in the morning.        Um, I

     19    normally, you know, get the children from the bus, greet them

     20    as they walk in and get breakfast, and then the children sit

     21    down, they have breakfast.       When they're done with breakfast,

     22    they go to the bathroom, they play.

     23               While I was in the classroom, my director had came

     24    downstairs and, um, came into the room.         She looked upset, and,

     25    um, she told me that I needed to go home.          She didn't say why


                                               MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 720 of 1061 PageID #: 915
  000718                                                                            248
                                People - Hunt - Direct/Cilia

      1    at first; she just said that I needed to go home.           And, so, I

      2    was asking her, you know, Something okay, Something happen?

      3    And she just said David's name and she just said, You need to

      4    go home.     And, um, the girl that I work with, she drove me to

      5    my house.     I don't live far from my job, so.

      6                When I got to the front of the building, there was a

      7    lot of different police cars, large units; I saw an ambulance

      8    driving away.     There was a fire truck, I believe, which is

      9    different.     Cars, different people.      A lot of people outside of

     10    the building in front of the building.

     11                When I got out of the car, I was looking around,

     12    looking into       for David, looking for our car, because I

     13    thought that he got into a car accident.          I started looking

     14    around for him, which I didn't see him.         Um, I saw people from

     15    our building that I knew, some of our neighbors.

     16                And then, um, I tried to go into my building and I was

     17    stopped by police officers.       And one of the police officers

     18    that I spoke to was Det. Patterson who he asked me some

     19    questions.     He asked me David's name, my name, how I knew

     20    David, the apartment that we lived in.         And then, um, I started

     21    to get upset with Det. Patterson, because he was asking me a

     22    lot of questions, but he wasn't telling me where David was or

     23    what happened.     And then, um, he told me that I had to wait and

     24    he came back after a while.       And he told me that he was sorry

     25    for my loss.


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 721 of 1061 PageID #: 916
  000719                                                                                 249
                                     People - Hunt - Direct/Cilia

      1                           THE COURT:   Next question, please.

      2           Q.      Now, Ms. Hunt, I want to talk to you about David's

      3    body for a second, okay.            Was there a time that came the next

      4    day when you saw -- when you went somewhere and you saw David's

      5    body?

      6           A.      The next day I had to go to the City morgue.

      7           Q.      Okay.     When you went to that morgue, did you recognize

      8    someone?

      9           A.      Yes.

     10           Q.      Who did you recognize?

     11           A.      David.

     12           Q.      What I'm going to do now is I want to show you some

     13    photographs of your apartment, okay?                  So, I'm going to turn

     14    those up to you now and we're going to go through them one by

     15    one.        These are all in evidence at this point.

     16                           MS. GUASTELLA:      Judge, can we approach?

     17                           THE COURT:   Yes.

     18                           MS. GUASTELLA:      Sidebar.

     19                           (Whereupon, a discussion is held at the side bar

     20           off the record.)

     21           Q.      Now, on the back of each one of those pictures there's

     22    a number, okay, and the first number is People's Exhibit Number

     23    44.     We are going to put that up on the screen also.

     24                   What I want to ask you is, when you left the apartment

     25    on December 8th of 2011, what was the condition of your


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 722 of 1061 PageID #: 917
  000720                                                                             250
                                 People - Hunt - Direct/Cilia

      1    apartment?

      2         A.     Um, it wasn't like this.      I didn't leave it like this.

      3    Everything was together.       It wasn't disheveled as it looks in

      4    this picture.

      5         Q.     Okay.    So, tell us in People's Exhibit Number 44 what

      6    wasn't like this when you left in the morning.

      7         A.     My daughter's easel was in the corner, which you can't

      8    see in the picture, behind the wall.         Um, the drum set was

      9    against the wall and it was together.         Um, in this picture

     10    there's a speaker that's pushed away from the wall that was

     11    against the wall.       The green and pink toy that ' s on the floor

     12    under the sofa was behind the sofa against the wall.            And all

     13    of these different things that are on the floor, paper

     14    scattered on the floor, they were on top of the shelf.

     15         Q.     We're going to move on now to People's Exhibit 47,

     16    and, again, if you can just look at that photo and tell us

     17    what's out of order there .

     18         A.     Again, my daughter's easel, the speaker, the papers,

     19    the drum set.       One of my boots is by the door; it wasn't there,

     20    I didn't leave it like that.

     21         Q.     People's Exhibit Number 50, what can you tell us about

     22    this picture?

     23         A.     Um, the sofa is pushed away from the wall and the

     24    other section of the sofa is pushed away.          I had everything

     25    together.     The sofa was pushed against the wall and this other


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 723 of 1061 PageID #: 918
  000721                                                                                 251
                                 People - Hunt - Direct/Cilia

      1    piece was pushed against the piece that was against the wall,

      2    so it made a circle.

      3         Q.     So, normally the sofa is all one --

      4         A.     Yes, one piece.

      5         Q.     -- one piece?

      6         A.     Yeah, together.

      7         Q.     Let's move on now to People's Exhibit Number 52.             Is

      8    that another example of how the sofa was not together there?

      9         A.     Yes.

     10         Q.     Anything else in that photo that looks different than

     11    when you left in the morning?

     12         A.     Yes.    The hood on the fish tank is pushed into the

     13    fish tank.     It's inside.    It wasn't on top of the fish tank.

     14    There's some of my daughter's artwork that was on the wall

     15    that's down.       And the same thing, the sofa is pushed apart.

     16         Q.     Let's move on to People's Exhibit 52, and,

     17    specifically, let's talk about the fish tank for a minute.

     18    What, if anything, can you tell us about that?

     19         A.     The hood is pushed inside the fish tank, and there's

     20    also the scoop for the fish to clean the fish tank, it's inside

     21    the fish tank.

     22         Q.     How about People's Exhibit Number 53?

     23         A.     Again, the sofa is, um, pushed away from the rest of

     24    the sofa.     There's some stuff that's scattered on the floor.

     25         Q.     And People's Exhibit 54.


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 724 of 1061 PageID #: 919
  000722                                                                            252
                                People - Hunt - Direct/Cilia

      1         A.    Um, this whole area wasn't like this when I left home.

      2    Some of the artwork was hanging on the wall.          Um, these toys

      3    that are on the floor were stacked up.         Some of them were

      4    inside this bin and the bin wasn't turned over; it wasn't up

      5    against the wall.

      6         Q.    The next picture, People's 56.

      7         A.    This is pretty much how I left it.

      8         Q.    This looks like it was not disturbed.         Is that right?

      9         A.    Yeah.

     10         Q.    Okay.   And how about People's Exhibit Number 64, does

     11    that look like it was not disturbed?

     12         A.    No, here it doesn ' t look like it was disturbed.

     13         Q.    And how about People's Exhibit Number 60.         Is that how

     14    you left it in the morning?

     15         A.    Yes.

     16         Q.    And how about People's Exhibit Number 48, does that

     17    also look the way that it did in the morning?

     18         A.    Yes.

     19         Q.    Now, we're going to move on to the next set of

     20    pictures that you have there.       We're going to start with

     21    People's Exhibit Number 107, and I want to ask you if you

     22    recognize the coat depicted in this photo.

     23         A.    No.

     24         Q.    Was this either your coat or David's coat?

     25         A.    No.


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 725 of 1061 PageID #: 920
 000723                                                                             253
                                People - Hunt - Direct/Cilia

      1         Q.    This coat wasn't in your apartment?

      2         A.    No.

      3         Q.    I am going to ask you the same question.         People's

      4    Exhibit 121, do you recognize that?

      5         A.    No.

      6         Q.    That was not David's or yours?

      7         A.    No.

      8         Q.    How about People's Exhibit Number 115?

      9         A.    No.

     10         Q.    Okay.   Did you or David ever wear a full face mask?

     11         A.    No.

     12         Q.    How about People's Exhibit 109, was that yours or

     13    David's sweatshirt?

     14         A.    No.

     15         Q.    Have you ever seen that sweatshirt before?

     16         A.    No.

     17         Q.    People's 111, is that your towel?

     18         A.    No.

     19         Q.    Okay.   How about People's Exhibit 112, do you

     20    recognize that towel?

     21         A.    No.

     22         Q.    113, do you recognize that sweatshirt?

     23         A.    No.

     24         Q.    How about People's Exhibit Number 116, do you

     25    recognize that?


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    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 726 of 1061 PageID #: 921
      000724                                                                            254
                                      People - Hunt - Direct/Cilia


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          2
                    A.

                    Q.
                          No.

                          Did David ever -- Did you or David ever keep

          3    counterfeit money in the house?

          4         A.    No.

          5         Q.    People's Exhibit 117, does that shovel look familiar

          6    to you?

          7         A.    No.

          8         Q.    People's Exhibit 120, how about that rope, did you or

          9    David have that rope in the house?

         10         A.    No.

         11         Q.    People's 121, does this look familiar to you -- 122?

         12         A.    It's 122.     No.

         13         Q.    That's neither yours nor David's?

         14         A.    No.

         15         Q.    People's 123, do you recognize those gloves?

         16         A.    No.

         17         Q.    In 2011 did you and David keep latex gloves in your

         18    apartment?

         19         A.    No.

         20         Q.    There's one more thing that I'd like show you.

         21                     MS. CILIA:    If you can show that to the witness,

         22         please.

         23         Q.    I want you to look at People's Number 165.          I want to

         24    ask you, have you ever seen this weapon before?

-        25         A.    No.


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    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 727 of 1061 PageID #: 922
      000725                                                                             255
                                     People - Hunt - Direct/Cross


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          2
                    Q.    To your knowledge, was that weapon ever in your

               one-bedroom apartment?

          3         A.    No.

          4         Q.    And your daughter was in that apartment as well,

          5    right?

          6         A.    Yes.

          7         Q.    Would there have been any hiding places where that gun

          8    would have been able to be kept?

          9         A.    No, no.

         10                      MS. CILIA:     Thank you very much.

         11    CROSS-EXAMINATION

         12    BY MS. GUASTELLA:

         13         Q.    Ms. Hunt, do you need a minute?

         14         A.    (Indicating.)

         15         Q.    Do you need a break?

         16         A.    Yes.

         17                      THE COURT:     I didn't hear.   What happened?

         18                      MS. GUASTELLA:     She needs a break.

         19                      THE COURT:     You need a break?

         20                      THE WITNESS:     Yes.

         21                      THE COURT:     Why don't we take five minutes,

         22         members of the jury, and we will do cross-examination.              Why

         23         don't you step out.       Thank you for your patience and

         24         attention.

         25                      (Whereupon, the jury exits the courtroom.)


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 728 of 1061 PageID #: 923
  000726                                                                            256
                                    People - Hunt - Cross

      1                     THE COURT:     Okay, the jury is out.     We'll take a

      2         short break.

      3                     Ms. Hunt, please don't discuss this case with

      4         anyone during this short break.          Thank you.

      5                     (Witness excused.)

      6                     (Whereupon, a brief recess is taken.)

      7                     MR. REEVES:     Your Honor, before the jury comes

      8         in, one of our civilian witnesses is here and they have

      9         child care issues.       So, what we were hoping is, after

     10         Ms. Hunt finishes, if Ms. Cilia can just have five minutes

     11         with the witness and then we'll put her on, and then we'll

     12         call the criminalist and then the ballistics.

     13                     THE COURT:     So, we're going to take another

     14         break?

     15                     MR. REEVES:     I apologize.

     16                     THE COURT:     She's here now?

     17                     MR. REEVES:     She's outside.

     18                     THE COURT:     Why don't you do it now, so we don't

     19         have to take another break.

     20                     MR. REEVES:     Okay.

     21                     THE COURT:     Hold up the jury.

     22                     MR. REEVES:     It shouldn't take more than five

     23         minutes.

     24                     THE COURT:     Okay, let me know when you're ready.

     25                     MR. REEVES:     Thank you.


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    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 729 of 1061 PageID #: 924
     000727                                                                             257
                                          People - Hunt - Cross

          1                     (Whereupon, a brief recess is taken.)

          2                     THE COURT:     Are we all set?

          3                     MR. REEVES:     We are, your Honor.

          4                     As the jurors line up, we're not going to be

          5         calling Ms. Fields.       She has very little recollection of

          6         the incident and, as a result, we will be calling -- After

          7         Ms. Hunt we will be calling Patricia Zippo and Det. Clontz,

          8         and that should get us to the lunch hour.          And after lunch

          9         we'll have the DNA person.

         10                     THE COURT:     All right.

         11                     (Whereupon, the jury enters the courtroom.)

         12                     THE COURT CLERK:        Do both sides stipulate to a

         13         complete jury panel, properly seated?

         14                     People?

         15                     MS. CILIA:     Yes.

         16                     THE COURT CLERK:        Defense?

         17                     MS. GUASTELLA:        So stipulated.

         18                     THE COURT:     Ms. Hunt, would you resume the

         19         witness stand, please.

         20                     (Whereupon, the witness resumes the stand. )

         21                     THE COURT CLERK:        I just remind you you're still

         22         under oath.

         23                     THE WITNESS:     Yes.



-
         24                     MS. GUASTELLA:        May I?

         25                     THE COURT:     Okay.


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        Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 730 of 1061 PageID #: 925
         000728                                                                              258
                                             People - Hunt - Cross


-             1

              2
                   CROSS-EXAMINATION (Continued)

                   BY MS. GUASTELLA:

              3          Q.   Ms. Hunt, you live at 195 Steuben Place, right?

              4          A.   I lived there.

              5          Q.   You lived there for seven years?

              6          A.   About seven years, seven and a half.

              7          Q.   And did you ever have an occasion to take the stairs

              8    down to the first floor?

              9          A.   Yes.

            10           Q.   Or to another apartment?

             11          A.   Yes.

            12           Q.   And can you describe the door to the stairwell?          The

-           13

            14
                   material that it's made of, is it steel?

                         A.   Um,    I'm not sure what it's made of.

            15           Q.   Is it a heavy door?

             16          A.   Um, not heavy enough for you to push open to get down

             17    the stairs.       You can push it open.

             18          Q.   Right, there is a bar that you can just push against

             19    it?

             20          A.   It's not a bar.     It's a doorknob.

             21          Q.   Was it a doorknob in 2011?

             22          A.   I believe so.

             23          Q.   Now, you lived there for about seven, seven and a half

             24    years.
-   -
             25          A.   (Indicating.)


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        Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 731 of 1061 PageID #: 926
          000729                                                                            259
                                             People - Hunt - Cross


-             1

              2
                        Q.

                        A.
                              You got to know the residents of the building, right?

                              (Indicating.)

              3         Q.    Were you friendly with certain people?

              4         A.    They were my neighbors.

              5         Q.    Now, you said you knew Armand as 2-5 and you're saying

              6    that's his college basketball number?

              7         A.    I'm assuming, yeah.

              8         Q.    Was it his law school basketball number?

              9         A.    I don't know.

             10         Q.    And about how many times did Armand come to your

             11    apartment?

             12         A.    Um, there were a few times.

-            13

             14
                        Q.    And approximately how many times were you there when

                   he came to the apartment?

             15         A.    A few times I was there.

             16         Q.    And he often showered when he got there, right?

             17         A.    No.

             18         Q.    He never showered in your apartment?

             19         A.    He did the day that he came in November, but it wasn't

             20    every time.       Occasionally he would shower.

             21         Q.    So, he came       was it the day after Thanksgiving?

             22         A.    Yeah, a day or two after Thanksgiving.

             23         Q.    And he had his bag with him, right?

             24         A.    Yes.
-   ·
             25         Q.    And he put the bag down?


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 732 of 1061 PageID #: 927
  000730                                                                            260
                                    People - Hunt - Cross

      1         A.    Yes.

      2         Q.    And it made a noise?

      3         A.    Yes.

      4         Q.    And that bag had little pegs on the bottom of it,

      5    right?

      6         A.    I don't know.

      7         Q.    You sure the bag wasn't blue?

      8         A.    It was a dark-colored bag.

      9         Q.    Dark-colored, okay.

     10               Now, you said he knew David from college, right?

     11         A.    Yes.

     12         Q.    And David never finished college, correct?

     13         A.    Correct.

     14         Q.    In fact, he was asked to leave after one semester,

     15    right?

     16                      MS. CILIA:   Objection, Judge.

     17                      THE COURT:   Objection sustained.

     18         Q.    David was actually unemployed on 12/8, 2011, right?

     19         A.    He was still working for Access-A-Ride, but the way

     20    Access-A-Ride works is they call you and they say, okay, we

     21    have these routes; can you take this, can you take that?            It

     22    was hard for him to take certain routes because he had to drop

     23    my daughter off to school and pick her up.

     24         Q.    Ms. Hunt, you spoke to Det. Patterson, right?

     25         A.    Yes.


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    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 733 of 1061 PageID #: 928
      000731                                                                            2 61
                                        People - Hunt - Cross

          1         Q.    And you told him that he was unemployed and he quit

          2    his job, right?

          3         A.    No.

          4         Q.    You didn't tell him that?

          5         A.    No.

          6         Q.    You remember speaking to him on 12/8?

          7         A.    Yes.

          8         Q.    And it's your testimony you never told him that?

          9         A.    No, I don't remember telling him that he quit his job.

         10         Q.    All right, thank you.

         11               So, David basically didn't work, right?         You were the

         12    sole supporter of the household?

         13         A.    He was a full-time father.       Like I said, he was the

         14    person who dropped me and my daughter off

         15         Q.    Ms. Hunt, I asked you a question.

         16         A.    And I'm answering you.

         17         Q.    Your daughter is at school?

         18         A.    Yes.

         19         Q.    Do you know what David did all day long while your

         20    daughter was in school and you were at work?

         21         A.    He looked for employment if he wasn't -- He was

         22    looking for a job that would benefit our schedule.

         23         Q.    He dropped you off at work every morning?

         24         A.    Yes.

-        25         Q.    In his Lexus?


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 734 of 1061 PageID #: 929
  000732                                                                            262
                                      People - Hunt - Cross

      1         A.      In our car, yes.

      2         Q.      And he purchased that car, right?

      3         A.      No.

      4         Q.      Who purchased the car?

      5         A.      I did.

      6         Q.      It's your testimony you bought that car --

      7                        MS. CILIA:   Objection, Judge.   What is the

      8         relevance?

      9                        THE COURT:   The witness already answered, "I

     10         did."

     11                        Next question.

     12         Q.      Did you also buy the Mercedes that you had before the

     13    Lexus?

     14                        MS. CILIA:   Objection.

     15                        THE COURT:   Sustained.

     16         Q.      You also told Det. Patterson that David did not do

     17    drugs, right?

     18         A.      (Indicating.)

     19         Q.      And you also told him he never smoked marijuana

     20    either, right?

     21         A.      Yes.

     22         Q.      Now, Samuel Nelson, he lives in apartment 7-0, right?

     23         A.      He lived on the 7th floor, yes.

     24         Q.      And did you know him we l l?

     25         A.      No.


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 735 of 1061 PageID #: 930
 000733                                                                             263
                                    People - Hunt - Cross

      1         Q.    But he was friends with David, right?

      2         A.    He was our neighbor.      He wasn't someone that he hung

      3    out with or went places with or -- He lived on the same floor

      4    as us .

      5         Q.    He didn't work, right?

      6         A.    Who.

      7         Q.    Samuel.

      8         A.    I don't know what he did.

      9         Q.    Well, you were at work while David was home, right?

     10         A.    Yes.

     11         Q.    So you don't know if he hung out with Samuel every

     12    day, right?

     13                      MS. CILIA:   Objection.

     14         A.    I would know if they told me, but --

     15         Q.    If he told you.

     16               And you know from living on his floor that Samuel had

     17    numerous contacts with the police, right?

     18                      MS. CILIA:   Objection.

     19                      THE COURT:   Sustained.

     20         A.    No.

     21         Q.    Let's talk about Lonney Walker.        You know Lonney

     22    Walker, right?

     23         A.    I know who he is.

     24                      MS. CILIA:   Objection.

     25                      THE COURT:   That much is all right.      Let's see


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 736 of 1061 PageID #: 931
  000734                                                                            264
                                     People - Hunt - Cross

      1         where we're going.

      2         Q.    He's friends with David?

      3         A.    When you say "friend," what do you mean by "friend"?

      4    You need to clarify that.

      5         Q.    Over the apartment a few times?

      6         A.    He's been to our apartment before, yes.

      7         Q.    And he's about 6 1 6 11 tall, right?

      8         A.    No.

      9         Q.    He's not?

     10         A.    Not that tall.

     11         Q.    He's not as tall as Armand?

     12         A.    No.     I know he's tall.

     13         Q.    Taller than David?

     14         A.    Yes.

     15         Q.    Is he taller than Armand?

     16         A.    No.

     17         Q.    How much shorter is he than Armand?

     18         A.    A little shorter.

     19         Q.    A little bit.     An inch?

     20         A.    I don't know.

     21         Q.    Okay.    And he's also about 220 pounds, right?

     22         A.    He's a big guy.

     23         Q.    And you've actually -- He used to date somebody in

     24    your family, correct?

     25         A.    In my family, yeah.


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 737 of 1061 PageID #: 932
  000735                                                                            265
                                    People - Hunt - Cross

      1         Q.    So you know he's been arrested numerous times and went

      2    to prison for drugs, right?

      3                     MS. CILIA:    Objection.

      4                     THE COURT:    Objection sustained.

      5         Q.    Ms. Hunt, you and David had a violent relationship,

      6    right?

      7         A.    No.

      8         Q.    No?   In fact, a few years ago you stabbed him in

      9    self-defense, didn't you?

     10                     MS. CILIA:    Objection.

     11                     MR. REEVES:    Judge, may we approach?

     12                     THE COURT:    The objection is sustained.

     13                     Yeah, you can approach.

     14                     (Whereupon, a discussion is held at the bench off

     15         the record.)

     16                     (Whereupon, Maurizia Selleck is replaced by Tammy

     17         Rodriguez as the official court reporter.)

     18                     (Continued on next page.)

     19

     20

     21

     22

     23

     24

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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 738 of 1061 PageID #: 933
  000736                                                                            266
                                  P . Zippo - Direct - Cilia

       1                    MS. GUASTELLA:     I have nothing further for this

       2        witness.

       3                    THE COURT:    Any redirect?

       4                    MS. CILIA:    No, thank you.

       5                    THE COURT:    You're free to step out.

       6                    Next witness please.

      7                     MS. CILIA:    Patricia Zippo.

       8   PATRICIA ZIPPO, the witness herein, having been first duly

       9   sworn, was examined and testified as follows:

     10    DIRECT EXAMINATION

     11    BY MS. CILIA:

     12         Q.    Can you tell us where you work?

     13         A.    I'm employed by the New York City Police Department

     14    police laboratory.

     15         Q.    About how long have you been working for the New York

     16    City Police Department lab?

     17         A.    I've been with the laboratory for 29 years .

     18         Q.    What is your title there?

     19         A.    I'm criminalist.

     20         Q.    Can you explain what that means?

     21         A.    That is my civil service title, but I'm a forensic

     22    examiner to the documents unit of the police laboratory.

     23         Q.    What are your specific duties with respect to the

     24    questioned documents section of the laboratory?

     25         A.    I analyze various types of documents for authenticity,


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 739 of 1061 PageID #: 934
  000737                                                                            267
                                   P . Zippo - Direct - Cilia

       1   alteration, literation, and also primarily handwriting analysis.

       2          Q.   Approximately how many cases have you been assigne d to

       3   by the lab?

       4          A.   I don't know the exact number , but I've worked on

       5   hundreds of cases.

       6          Q.   Approximately how many documents have you examined?

      7           A.   That would entail thousands of documents.

       8          Q.   Can you tell us what your educational background is?

       9          A.   I have a bachelor in science degree in forensics and

     10    associates in science degree in chemistry.

     11           Q.   Did you undergo any training, NYPD laboratory training

     12    to questioned documents?

     13           A.   Two-year training p rogram with the New York City

     14    Police Department.      There wa s also outside training with the US

     15    postal inspection service with the secret service and also the

     16    FBI.

     17           Q.   Have you participated in proficiency training?

     18           A.   Yes .   We have quality assurance unit at the laboratory

     19    and we ' re given proficiency tests at least one per year.

     20           Q.   Have you passed all those examinations?

     21           A.   Yes , I have .

     22           Q.   Have you testified before in any courts or grand

     23    juries in New York?

     24           A.   Yes, I have .

     25           Q.   Where was that?


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 740 of 1061 PageID #: 935
 000738                                                                             268
                                  P. Zippo - Direct - Cilia

      1         A.    For questioned documents I've testified in Kings

      2    County and also Queens County.

      3         Q.    Approximately how many times in total?

      4         A.    For questioned documents approximately four times.

      5         Q.    Each of those cases have you been deemed an expert?

      6         A.    Yes, I have.

      7         Q.    Have you ever been denied qualification as an expert?

      8         A.    No.

      9                      MS. CILIA:   Your Honor, I would ask to deem this

     10         witness an expert in the area of questioned documents.

     11                      MS. GUASTELLA:      No objection.

     12                      THE COURT:   The witness is recognized as an

     13         expert in questioned documents .

     14                      MS. CILIA:   Yes.

     15         Q.    Ms. Zippo, I 'd like to show you what is already in

     16    evidence as People's exhibit 167, do you recognize this?

     17         A.    Yes, I do recognize it.

     18         Q.    You can open it up.

     19               Can you tell us what it is?

     20         A.    Well, this is a security envelope that contains the

     21    evidence in which I analyzed for this case.

     22         Q.    When you say that you analyzed this evidence, did you

     23    examine all the exhibits?

     24         A.    Yes.    Inside this case, yes, I did.

     25         Q.    Now, this case involves counterfeit bills .         Can you


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    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 741 of 1061 PageID #: 936
      000739                                                                            269
                                        P. Zippo - Direct - Cilia


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           2
               explain what a counterfeit bill is?

                    A.     Well, it's a bill that does not contain any of the

           3   security features in our US currency.

           4        Q.     Can you explain the security features that are found

          5    in genuine United States currency?

           6        A.     Well,    just in general there are different types of

          7    security features.           There is security thread, there's

          8    microprinting, and there are water marks in US currency.

           9        Q.     Can you          what was the purpose of your examination,

         10    and can you tell us what it consisted of?

         11         A.     The purpose was to determine if any of these bills

         12    were not genuine and I did, in fact,          examine all the bills in

         13    this particular case.

         14         Q.     Can you tell us how you examined those bills?

         15         A.     By visually examining them and also using a magnifier,

         16    examining them of course for the serial numbers that are present

         17    on the bills, looking for the microprinting, security threads,

         18    and the different security features that were found on US

         19    currency.

         20         Q.     As a result of your examination have you reached an

         21    opinion?

         22         A.     Yes,    I did.

         23         Q.     Can you explain that?



-
         24         A.     It was my opinion that all of the bills in this

         25    particular case, there were 64 in total, were not genuine.


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 742 of 1061 PageID #: 937
  000740                                                                            270
                                    P . Zippo - Direct - Cilia

      1         Q.    Can you tell us why?

      2         A.    Because they were missing the security features

      3    present in US currency.

      4         Q.    Do you have a demonstrative aid that you compared to

      5    demonstrate your findings?

      6         A.    Yes.

      7         Q.    Would this aid help explain your testimony?

      8         A.    Yes .

      9         Q.    Is this aid true and accurate.         I'm going to show you

     10    what's been premarked People's exhibit 173 for identification

     11    taking a look at that , Ms. Zippo, is this aid a true and

     12    accurate representation of the demonstrative aid that you

     13    created?

     14         A.    Yes .

     15                       MS . CILIA:   I ' d like to move this into evidence

     16         as People's exhibit 173?

     17                       MS . GUASTELLA:   No objection .

     18                       THE COURT:    This is 173 in evidence.

     19         Q.    We'll display it in the board as well as have it in

     20    front of you.

     21                       THE COURT OFFICER :     So marked.

     22                       (At this time, People's Exhibit 173 was marked

     23         and received in evidence.)

     24         Q.    Could you please explain this chart to the jury and

     25    state your opinion at the end?


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 743 of 1061 PageID #: 938
  000741                                                                            271
                                P. Zippo - Cross - Guastella

      1         A.    Sure for this particular case I just chose two

      2    security features on the left side of this document where it

      3    says, genuine.

      4               On the bottom there's a vertical security thread from

      5    the $5 US currency bill.      It is hard to see, but you can also

      6    visualize, like I did in this particular case, using ultraviolet

      7    light.

      8               On the bottom is the microprinting that has USA

      9    printed from the $5 bill.

     10               On the right side was one of the bills in this

     11    particular case, which was marked Q-16 where those areas are

     12    pointing there's vertical security thread present in that bill.

     13               Also down below the microprinting was not present

     14    indicating that it was not genuine.

     15         Q.    Based upon a review of all of these documents can you

     16    give us your opinion one more time?

     17         A.    Yes Q-16 there were 64 bills in total and they were

     18    all not genuine.

     19                     MS. CILIA:    Thank you, Ms. Zippo.

     20    CROSS-EXAMINATION

     21    BY MS. GUASTELLA:

     22         Q.    Did you trace or investigate the origin of these

     23    counterfeit bills?

     24         A.    No.

     25                     MS. GUASTELLA:    Nothing further.


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 744 of 1061 PageID #: 939
  000742                                                                            272
                             Det. James Clontz - Direct - Reeves

      1                      THE COURT:     Anything else?

      2                      MS. CILIA:     No, your Honor .

      3                      THE COURT:     You're excused .   You're free to step

      4         out .

      5                       (At this time, the witness i s excused . )

      6                      MR. REEVES:     People call Detective James Clontz.

      7    DETECTIVE JAMES CLONTZ, 1656, Forensic Investigation Division of

      8    the New York City Police Department, the witness herein, having

      9    been first duly sworn, was examined and testified as follows:

     10    DIRECT EXAMINATION

     11    BY MR. REEVES:

     12         Q.      Good afternoon, Detective , how are you doing today?

     13         A.      Fine, sir .    Thank you.

     14         Q.      What I would like to do is ask you a little bit about

     15    your police career, if I could starting with how long you've

     16    been with the New York City Police Department?

     17         A.      I ' ve been with the department for about 14 and a half

     18    years.

     19         Q.      And how many years have you held the rank of

     20    detective?

     21         A.      I would say about six years.

     22         Q.      How long have you been with the Forensic Investigation

     23    Division?

     24         A.      Since 2006 .

     25         Q.      Where in that unit do you specifically work?


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 745 of 1061 PageID #: 940
 000743                                                                             273
                               Det. James Clontz - Direct - Reeves

      1         A.    Firearm analysis section of the police laboratory.

      2         Q.    Can you tell us a little bit about what the firearms

      3    analysis or ballistics section of the police department is

      4    responsible for doing?

      5         A.    We examine firearms that are submitted to the

      6    laboratort for examination and we also examine any kind of

      7    ballistics evidence that's been taken into custody to try to

      8    determine a common origin.

      9         Q.    Detective Clontz, do you have any specialized training

     10    that allows you to work in that unit?

     11         A.    I do .

     12         Q.    Explain to the ladies and gentlemen of the jury what

     13    that training is?

     14         A.    Sure.     I completed a two and a half year NYPD training

     15    program in the identification and testing of firearms for

     16    operability and the identification of ballistic experts.

     17               It's based on the AFTE training program, Association

     18    of Firearms and Toolmark Examiners.

     19               This is an international organization made up of over

     20    1100 members from over 40 different countries.          They're

     21    responsible for -- they develop standards for the field of

     22    firearm and tool mark examination.        They exchange information

     23    within the field, and they also further the research in the

     24    field of firearm and tool mark identification.

     25               During my training I received and I presented formal


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 746 of 1061 PageID #: 941
  000744                                                                            274
                             Det. James Clontz - Direct - Reeves

      1    and informal lectures and presentations.

      2               I've completed numerous training exercises and

      3    practical assignments dealing with things with pistols, rifles,

       4   shotguns, semiautomatic and full automatic weapons, antique

      5    firearms, all respective cycles of fire.         Also the development

      6    of modern ammunition.

      7               I also examined hundreds of pieces of ballistic

      8    evidence in order to try to determine any common origin for any

      9    tool marks that I observe on these items.

     10               During my training I was also able to attend several

     11    armourer courses.     They're given by various firearm

     12    manufacturers.

     13               I've attended armourer schools given by Beretta,

     14    Glock, Remington, Six Hour, Smith and Wesson, and Springfield

     15    Armory.

     16               During this training I was taught how to completely

     17    disassemble and reassemble various firearms made by these

     18    manufactures.

     19               Also academically I'm currently working towards my

     20    bachelor degree.

     21         Q.    During the course of your degree with the firearms

     22    analysis section have you been trained in how to test weapons

     23    for operability?

     24         A.    Yes.

     25         Q.    Could you explain to the jury what it means to test a


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 747 of 1061 PageID #: 942
  000745                                                                            275
                              Det. James Clontz - Direct - Reeves

       1   weapon for operability?

       2         A.   When a firearm is submitted for analysis --

       3   operability basically means if it works.         I'll determine the

       4   make and caliber of the particular firearm in question.            I'll do

       5   -- make some visual observations on it to determine if there is

       6   anything physically wrong with the firearm.

      7               During the examination I'll introduce live ammunition

       8   to the firearm to see if it actually works as it was designed to

       9   do.

     10               If it does work, if it does fire a cartridge it is

     11    deemed operable.

     12          Q.   Detective Clontz, during the course of your career

     13    with firearm analysis, how many times have you tested weapons

     14    for operability?

     15          A.   Tested weapons?

     16          Q.   Yes.

     17          A.   I don't have an exact number.       I'm well over 2,000

     18    firearms tested to date.

     19          Q.   I would like to talk to you about a different section

     20    of the lab where they use comparison microscopes.

     21               Can you tell us a little bit about that?

     22          A.   Sure.    It's part of the firearms analysis section

     23    called microscopy unit.      There we test individual pieces of

     24    ballistic evidence.      There can be fired bullets, bullet

     25    fragments, or shell casings.


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 748 of 1061 PageID #: 943
  000746                                                                            276
                             Det. James Clontz - Direct - Reeves

      1               When an item is discharged in the firearm, the firearm

      2    will leave certain markings on this evidence.          The microscopy

      3    unit will use a microscope to examine two pieces of evidence

       4   side by side in an attempt to determine a common origin for all

       5   these marks.

       6              If there is enough agreement of these markings to

      7    determine if they're from a common source, they will be deemed

      8    that they were fired from the same firearm.

       9        Q.    Have you been trained to use the comparison microscope

     10    in the lab?

     11         A.    Yes.

     12         Q.    Now, is the lab itself, the firearms analysis section

     13    of the New York City Police Department lab, is it accredited or

     14    certified by an outside agency?

     15         A.    Yes.

     16         Q.    What agency is responsible for accrediting the lab?

     17         A.    Accredited by it's called ASCLD, stands for the

     18    America Society of Crime Laboratory Directors Laboratory

     19    Accreditation Board.

     20               Currently my laboratory, we hold the highest level of

     21    accreditation, the international level.

     22         Q.    Now, in addition to the lab itself being accredited

     23    are the people who work in the lab also required to take

     24    proficiency and competency exams?

     25         A.    Yes.


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 749 of 1061 PageID #: 944
  000747                                                                            277
                             Det. James Clontz - Direct - Reeves

      1         Q.    Have you yourself taken both proficiency and

      2    competency exams?

      3         A.    Yes.

      4         Q.    What areas have you taken those exams?

      5         A.    Prior to doing any case work, upon completion of your

      6    training you have to take a competency test to show that you're

      7    competent enough to do case work.

      8               I completed competency test successfully in both

      9    firearms operability.      And microscopy proficiency testing is

     10    required every year in every discipline that you do case work.

     11               I have also completed successfully firearms

     12    operability, proficiency test, and microscopy proficiency tests.

     13         Q.    Is there any way for you to quantify or give a number

     14    for the pieces of evidence that you've examined with the

     15    comparison microscope in the lab?

     16         A.    No, I can't.    It's because as of this point it

     17    literally would be thousands of individual pieces of fired

     18    bullets or fragments or casings.

     19               Many, many I examined during training and many more

     20    I've examined during case work.

     21         Q.    Have you testified in court before?

     22         A.    I have, sir.

     23         Q.    Approximately how many times have you testified?

     24         A.    I've testified 35 previous times.

     25         Q.    What areas of expertise have you been qualified those


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 750 of 1061 PageID #: 945
  000748                                                                            278
                              Det. James Clontz - Direct - Reeves

      1    35 times?

      2         A.     Both firearms operability and microscopy.

      3         Q.     Can you give us an idea of the jurisdictions?

      4         A.     I've testified in the family court of the Bronx and

      5    Queens , but I've also testified in the Supreme Court in all five

      6    counties of New York City .

      7         Q.     Has any court denied you the qualification as an

      8    expert in the field of operability o r microscopy?

      9         A.     No , sir.

     10                       MR . REEVES:    I offer Detective Clontz as an

     11         expert in the field of ballistics.

     12                       MS. GUASTELLA :    No objection .

     13                       THE COURT:     Without objection he's recognized as

     14         an expert in ballistics.

     15         Q.     Before we talk about some specific work that you did

     16    in this case, what I would like to do is ask you some questions

     17    about firearms in general.

     18                I ' d start you off with an assault rifle .     Explain to

     19    the ladies and gentlemen of the jury what makes a weapon an

     20    as s ault rifle?

     21         A.     There are certain characteristics that are needed to

     22    be in place for a rifle to be deemed an assault rifle or have

     23    assault rifle characteristics.         For example , the minimum would

     24    be, it would be a semiautomatic rifle with a detachable

     25    magazine.    With those two in place, one other characteristic


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 751 of 1061 PageID #: 946
  000749                                                                            279
                              Det. James Clontz - Direct - Reeves

      1    would be, would have a pistol grip that protrudes conspicuously

      2    from beneath the frame, the receiver of the firearm.

      3                It could have a mounting portion called a bayonet lug

      4    where an external knife or bayonet could be attached to the

      5    front end of it.

      6                You can have a collapsible or folding stock.         There 1 s

      7    one other characteristic it comes equipped with a grenade

      8    launcher.

      9                I think those characteristics would deem a

     10    semiautomatic rifle with detachable magazine would deem it an

     11    assault weapon.

     12         Q.     Can you explain to the jury when a layperson uses the

     13    word AK-47, are you familiar with what an AK-47 is?

     14         A.     Yes.

     15         Q.     Explain to the jury.

     16         A.     An AK-47 loosely translated means automatic
     17    Kalashnikov model 47.      It was a semiautomatic rifle, which can
     18    be converted to a full automatic.        Developed in 1947 by at the
     19    time a Russian commander he developed an assault rifle that tank
     20    crews can use and store in their tanks.
     21                It has a unique design.      It's arguably one of the most

     22    poplar and widely owned assault rifles in the world.
     23                The two basic ones, assault rifles in the world are
     24    our military M-16 type, it's rifle counterpart would be the
     25    AK-47 assault rifle.


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 752 of 1061 PageID #: 947
  000750                                                                            280
                            Det. James Clontz - Direct - Reeves

      1         Q.     Would it be a fair statement to say AK-47 and other

      2    models based on the AK-47 weapon was designed to be used in war?

      3         A.     It was developed as a military weapon and many of the

      4    world's armies use that weapon as a standard rifle.

      5         Q.     Detective, I would like you to describe or explain to

      6    the jury what a cartridge is, the way you would use the word in

      7    the lab?

      8         A.     A cartridge is sometimes confused with the term

      9    bullet.     A cartridge is actually one unit of ammunition

     10    sometimes called a round it has four parts.
     11                The main part is a casing.      It holds inside a

     12    propellant, which is gunpowder.        Bottom end of it there's a

     13    little cup, ignition source called a primer what sits on the
     14    top, the projectile or the bullet.

     15         Q.     Now, I'm going to hand up to you what's been received

     16    in evidence as People's 165.

     17                Do you recognize People's 165 in evidence, the two
     18    bags handed up to you?
     19         A.     Yes, I do recognize it.
     20         Q.     Now, can you tell us where you recognize those two

     21    bags from?

     22         A.     This is the packaging that I created upon completion

     23    of my firearms examination.       One has packing material or the
     24    packing container and various components and cartridges that I
     25    received.


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 753 of 1061 PageID #: 948
  000751                                                                            281
                            Det. James Clontz - Direct - Reeves

       1              The second, the larger one is a particular rifle and

       2   packaging that I tested back in December of 2011.

       3        Q.    Before we talk about that weapon, what I would like to

       4   do is show you a series of photographs.

       5              The first two photographs I'm going to show you are

       6   126 and 127 in evidence.       I want to ask you a couple of

       7   questions about that picture or those two pictures.

       8              Before we get to the pictures, can you tell us the

       9   semiautomatic assault rifle, how you would load that particular

     10    weapon and what happens when you pull the trigger?

     11         A.    This rifle that I had tested gets loaded with an

     12    external box magazine.      All that magazine is it's an ammunition

     13    holding devise it's outer housing that has a spring on the

     14    inside and a follower on top of the spring.

     15               The idea is when you load a cartridge into the top it

     16    compresses the spring.      When you let go the spring pushes the

     17    cartridge up, but the top of the magazine holds everything in

     18    place.    Once a loaded magazine is inserted into a semiautomatic

     19    rifle like this one it gets loaded in on the side there's a bolt

     20    handle that's pulled to the rear.

     21               Once it's let go the bolt slides forward.         It will

     22    strip off the top most cartridge from the magazine and load it

     23    up and into the firing chamber.        With this particular model when

     24    the bolt goes forward it locks into place.

     25               This rifle works semi-automatically in that one pull


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 754 of 1061 PageID #: 949
  000752                                                                            282
                            Det. James Clontz - Direct - Reeves

      1    of the trigger it will discharge one cartridge fire the

      2    cartridge, the bullet will travel down the barrel, and out of

      3    the rifle.

       4               Some of the energy produced will cause the bolt to

       5   slide backwards extracting and ejecting the spent cartridge from

       6   the chamber and out the ejection port.         That's one full cycle of

      7    fire.     It will load, feed, extract, and eject the cartridge.

      8         Q.     Now, when a shell casing is ejected from this

       9   particular weapon where does it go?

     10         A.     The ejection port is typically on the right hand side

     11    of the rifle.     It's meant to be ejected up and out typically

     12    away from the rifle with enough force so there's not a chance

     13    for misfeed where the cartridge casing gets stuck and are not
     14    allowing another cartridge to be loaded properly.

     15         Q.     The two photographs that I've shown you, People's 126
     16    and 127, can you see the ejection port on the rifle?
     17         A.     No, I can't.
     18         Q.     In the two photographs what's covering the ejection

     19    port?

     20         A.     Well, one photograph is of the left hand side, the
     21    other photo has like a piece of like plastic.          In this
     22    particular photo there's a piece of cardboard inserted into the
     23    ejection port.

     24         Q.     What's the purpose of the cardboard inserted in the
     25    ejection port?


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 755 of 1061 PageID #: 950
  000753                                                                            283
                            Det. James Clontz - Direct - Reeves

       1        A.    I usually see cardboard or some other material

       2   inserted in that area it's so -- that indicates that someone had

       3   checked the weapon, cleared the weapon, indicating that there's

       4   no live rounds in the chamber.

       5        Q.    When you received the weapon was the tape and the

       6   plastic bag that are in the picture 126 and 127 in evidence

       7   taped to the weapon?

       8        A.    No.   I received them in the box with the rifle, but

       9   not attached to the rifle.

     10         Q.    When you received the weapon to be tested, did it come

     11    with a magazine and live ammunition?

     12         A.    It did.
     13         Q.    But the ammunition had been removed from the weapon?

     14         A.    Correct, sir.
     15         Q.    Now, if one were to fire the weapon with that plastic
     16    bag taped over the ejection port, what would you expect happen
     17    to the discharged shell casing?

     18         A.    Well, if it was covering the ejection port it would

     19    actually catch the casing because the bag would cover the area
     20    where the spent casing is designed to come out of the rifle.
     21         Q.    Now how hot are the shell casings when they're
     22    discharged from the ejection port?
     23         A.    When any kind of cartridge is discharged it creates
     24    tremendous amount of pressure and tremendous amount of heat, so
     25    a discharge casing would be hot.


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        Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 756 of 1061 PageID #: 951
          000754                                                                            284
                                     Det. James Clontz - Direct - Reeves

,,-.,          1        Q.    Now, I 1 ve got two three more photos.       I'm going to

               2   show you, People's 128, 130 and 131.

               3              I'd like you to take a look at People's 128.          There's

               4   a blue ruler there in that picture, correct?

               5        A.    Yes.

               6        Q.    On the blue ruler there's an RS number.         Can you tell

               7   me what number it is?

               8        A.    RS 26.

               9        Q.    Now, looking in that photograph, do you see any

             10    ammunition in that particular magazine?

             11         A.    I could make out what appears to be the copper jacket

             12    of a cartridge at the top most portion of this magazine.
             13         Q.    With the Court's permission what I'm going to ask you
             14    to do with this red marker, if you could, just circle the copper

             15    jacket protruding from that magazine.
             16               I have the same question for you in the next two
             17    photos People's 130 and 131.

             18               In People's 130 and 131 there's a different number on

             19    the blue scale than is in the photo?
             20         A.    Yes.
             21         Q.    That's RS 27?
             22         A.    Yes, it is.

             23         Q.    In either of those two pictures can you tell me, do
             24    you see what appears to be a copper jacketed bullet protruding
             25    from the magazine?


                                                       TR
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 757 of 1061 PageID #: 952
      000755                                                                            285
                                 Det. James Clontz - Direct - Reeves

           1        A.    Yes, in both of those there 1 s a copper jacketing

          2    protruding from the top most portion of the magazine.

           3        Q.    With the Court's permission if you can circle those on

           4   People 1 s 130 and 131 where you see the ammunition.

           5              If you would be kind enough to hold it to the jury.

           6        A.    This was 128 and this is 130.

           7        Q.    Those are two different magazines?

           8        A.    Yes, sir.

           9        Q.    You can put all those pictures aside.

         10               What I would like to do is focus on the weapon itself.

         11               In December of 2011, did you receive this weapon for
         12    operability testing?

         13         A.    Yes.

         14         Q.    If you could, and with the Court's permission, what I
         15    would like you to do is to take the weapon only out of the large
         16    sealed plastic bag?
         17                      THE COURT:   Fine.
         18         A.    This rifle is unloaded and safe to handle.
         19         Q.    Thank you.
         20               What I would like you to do is just explain to the
         21    jury what features on this particular weapon would characterize
         22    it as an assault rifle?
         23         A.    Well, it's a semiautomatic rifle.        It has an ability
         24    to accept an external box magazine, which would fit in here.             It
~
         25    has a pistol grip that protrudes from beneath the frame.


                                                      TR
     Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 758 of 1061 PageID #: 953
       000756                                                                            286
                                 Det. James Clontz - Direct - Reeves

,~
           1                It could be argued that this position here is just a

           2    means to hold the cleaning rod in someplace, but typically the

            3   bayonet can be mounted to the forward portion of this.

            4               It's also -- this design is made after the AK-47

            5   Kalashnikov rifle made by a Romanian company, however it's based

            6   on that design.

            7        Q.     What makes it a semi-automatic as opposed to fully

            8   automatic?

            9        A.     On some models of the AK-47 type of rifle this select

          10    or switch can move back and forth from safe to semi-automatic to

          11    full automatic.     Semiautomatic is the ability to discharge one

          12    cartridge at a time with each pull of the trigger.

          13                Full automatic will discharge as many cartridges that

          14    are available on the magazine when the trigger is depressed.

          15                The only way to stop full automatic fire would be to

          16    either take your finger out of the trigger, run out of

          17    ammunition, or have a malfunction like a jam where the cartridge

          18    can no longer be loaded properly and fired.

          19         Q.     Now, Detective, you described how -- you can put that

          20    down.

          21                You described how you would load ammunition into the

          22    magazine.    When you received the weapon in December of 2011 you

          23    indicated that there was a detachable box magazine with it.              Is

          24    it in front of you?
          25         A.     Yes, it is.


                                                    TR
         Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 759 of 1061 PageID #: 954
           000757                                                                            287
                                       Det. James Clontz - Direct - Reeves

                1        Q.     If you could, I don't want you to take it out of the

                2   bag, but if you could hold the bag so that the jury can see the

                3   magazine.

                4        A.     This devise?
                5        Q.     Did it have ammunition in that magazine when you

                6   received it in December of 2011?
                7        A.     When I received it, it had no ammunition in the

                8   magazine itself.
                9        Q.     Was the magazine empty?
              10         A.     Yes.
              11         Q.     Ammunition was in the box with the magazine and the

              12    rifle, correct?

              13         A.     Yes, I received live ammunition with the magazine.
              14         Q.     How many rounds did you receive?
              15         A.     I received.
              16                Your Honor, may I refer to my inventory notes.
              17                       THE COURT:   Yes.
              18         A.     I'm looking at a copy of my inventory notes that I
              19    created.    When I receive a case I'll check the invoice and the
              20    items that I received and itemized each thing on inventory to
              21    make sure I'm receiving everything that I'm supposed to receive.
              22                With this particular case I received 19 live
              23    cartridges.
              24         Q.     What is the maximum capacity of the magazine that came
r--..,
              25    with this rifle?


                                                           TR
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 760 of 1061 PageID #: 955
  000758                                                                            288
                             Det. James Clontz - Direct - Reeves

      1         A.    This magazine that is sealed in this bag had a

      2    capacity of 27.62 by 39 millimeter caliber cartridges.

       3        Q.    The magazine has a capacity of 20.        What's the maximum

       4   amount of ammunition that can be loaded into this rifle?

       5        A.    This particular rifle and many other firearms in

       6   general can accept a fully loaded magazine.          It's called a

       7   chamber round, putting one in the chamber.          One could cycle the

       8   bolt to load one live round into the chamber.          The magazine can

       9   then be removed and topped off with another round loaded into

     10    the chamber.

     11               So with a fully loaded 20 cartridge magazine plus one

     12    in the chamber would be 21.

     13         Q.    You received it with 19 life rounds, correct?
     14         A.    Yes, I did.

     15         Q.    How many times would one have to pull the trigger in

     16    this weapon to discharge two bullets?
     17         A.    To discharge two cartridges?
     18         Q.    Yes.
     19         A.    Two.
     20         Q.    Now, when you got the weapon did you have an
     21    opportunity to check for evidence of discharge?
     22         A.    I did.
     23         Q.    Would you explain to the ladies and gentlemen what
     24    evidence of discharge is?
     25         A.    During my operability examination the first thing I'll


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 761 of 1061 PageID #: 956
  000759                                                                                289
                                  Det. James Clontz - Direct - Reeves

       1   do is check the rifle, the firearm to see if it's unloaded and

       2   make sure it's unloaded and safe to handle.

       3                  I was the last person to touch this prior to packaging

       4   it, so I'm fairly competent that it was unloaded, but it was out

       5   of my possession for just over two years.          Now I do what's

       6   called a safety check to insure that it was unloaded.

       7                  During my examination I'm going to look to see if

       8   there's any kind of broken or missing parts to the rifle.            I'll

       9   also look down the barrel looking for any kind of obstruction

     10    and look in the chamber area to see if there's any kind of

     11    defect or material in there.

     12                   While doing so I noticed what's called evidence of
               .
     13    discharge.        When a cartridge is fired the gun powder starts to
     14    burn.        When it does it creates like a soot or gunpowder residue,
     15    a soot that will cover the firing chamber of the area.            That's

     16    what I noticed, the evidence of discharge.

     17            Q.     When you got this weapon in December of 2011 did you
     18    see evidence of discharge?
     19            A.     Yes, I did.

     20            Q.     Can you show us just holding up the weapon where the
     21    ejection port is?
     22            A.     Sure.    When I examined this rifle I did clean it.       I
     23    was using the gloves, now they're inside out.          It would defeat
     24    the purpose of me putting it back on again.
     25                   The ejection, this is the bolt that slides forward,


                                                  TR
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 762 of 1061 PageID #: 957
  000760                                                                            290
                            Det. James Clontz - Direct - Reeves

      1    the magazine sits here.      When it gets loaded this bolt will

      2    cycle forward.    When it fires, the bolt will slide back and this

      3    area here, that's the ejection port, the spent casing will be

      4    pulled out of the chamber and discharge up and out of the rifle.

      5         Q.     Once the trigger is pulled?

      6         A.     Correct.   The energy produced during the discharge on

      7    the cartridge, with this particular model the cartridge will be

      8    fired in here to seal for the most part seal area.

      9                The gases produced will push the bullet at very high

     10    speed down the barrel, and out of the firearm of the rifle.

     11    This particular model like other types of rifles has a gas tube

     12    here.     What happens is some of the gases will be vented upwards
     13    back through this gas tube.       There's a pivot on that, that
     14    pushes this back again to aid in the extraction and ejection of
     15    the spent cartridge casing.       That energy will cycle the bolt

     16    back again.     It will load the next cartridge to prepare it to
     17    fire again.
     18         Q.     In December of 2011 did you check this weapon for
     19    operability?

     20         A.     Yes, I did.
     21         Q.     Can you tell us what you did and what the result was?
     22         A.     Following my initial check, my function check, I was
     23    able to determine that the firearm was most likely going to
     24    operate as designed.
     25                I then proceeded to take some test fire cartridges,


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 763 of 1061 PageID #: 958
  000761                                                                            291
                            Det. James Clontz - Direct - Reeves

      1    live cartridges to our bullet recovery system room.

      2               This room has a stainless steel tank that holds about

      3    800 gallons of water with a fire port on one end.           It 1 s designed

       4   to accommodate pistols and rifles and various firearms.

       5              One would fire into the firing port.        The projectile,

       6   the bullet, hits the water.       The water dissipates the energy and

       7   the bullet will sink down to the bottom so I can recover them.

       8              I did five test fires with this rifle and the

       9   cartridges, and the rifle worked as I thought it would.            It

     10    operated as it was designed.

     11         Q.    You tested ammunition from the ballistics supply, did

     12    you test ammunition that came with the rifle?

     13         A.    I did.
     14         Q.    What were the results of the rounds that came with the

     15    rifle, were they also operable?

     16         A.    Of the three cartridges that I tested that came with
     17    the rifle those three were operable as well.
     18         Q.    Now, after you test fire the weapon what do you do
     19    with the shell casings and bullets that you test fire?

     20         A.    Before firing the cartridges I'll mark the bullet
     21    portion and the cartridge casing portion of each cartridge.              I
     22    recovered the bullets, matched them up with the casings because
     23    of the markings.
     24               One cartridge I packaged here fired states two other
     25    cartridges from the case plus the two other cartridges from our


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 764 of 1061 PageID #: 959
  000762                                                                            292
                            Det. James Clontz - Direct - Reeves

      1    supply.    I packaged and I test fired them.

      2         Q.    r•m going to hand you what 1 s been premarked 174 for

      3    identification.

       4              I would like you to hand this to the detective.

       5              Do you recognize that envelope that I've just handed

       6   up to you?

       7        A.    Yes, I do.

       8        Q.    What do you recognize that to be?

       9        A.    This is a test fire envelope that I created.          This is

     10    my handwriting on the front.       Also my -- the abbreviation F. E.

     11    for Firearm Examination, my initials, and the date December 9,

     12    2011.

     13               This was a tamper resistant seal that has my initials
     14    and date that I created this.

     15               This is a test fire envelope that I created to put my

     16    test fire samples into.

     17         Q.    With the Court 1 s permission unseal that and tell me if

     18    you recognize the contents of that envelope.

     19         A.    These are the casings that I created.         The gray ones

     20    are case ammunition that came with the case, and the brass color
     21    ones are from the supply.       These projectiles, I'm looking at the
     22    lab number and my initials on here, these are the bullets that I
     23    could put back with each casing that's when there was a whole
     24    cartridge that I marked.

     25         Q.    Now, the contents of the envelope that's been marked


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 765 of 1061 PageID #: 960
  000763                                                                            293
                               Det. James Clontz - Direct - Reeves

      1    as People's 174 for identification, is it in the same or

      2    substantially the same condition as when you tested it on

       3   December 9, 2011?

       4        A.      Well, there are two additional stickers and initials

       5   on the back here.       One set of initials was from another

       6   microscopist who sealed this on December 10th of 2011 with this

       7   sticker and her initials.          The third sticker, third set of

       8   initials are my initials that I added to this on February 12th

       9   of this year.

     10         Q.      Other than the additional writing on the envelope is

     11    the envelope and the contents in the same or substantially the

     12    same condition from December of 2011?

     13         A.      Yes.

     14                        MR. REEVES:     I offer 174 in evidence at this

     15         time.

     16                        MS. GUASTELLA:     No objection.
     17                        THE COURT:     The test fires, did I understand you
     18         to say that they're from the test that you made from
     19         ballistic supplies as well as from three rounds received

     20         with the weapon?

     21                        THE WITNESS:     Yes.    I received -- I tested three
     22         cartridges that came with the rifle, one I packaged with the
     23         remainder of the live ammunition and the magazine, the two
     24         others that came with the case I kept along with our supply
     25         of ammunition.


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 766 of 1061 PageID #: 961
  000764                                                                            294
                             Det. James Clontz - Direct - Reeves

      1                      THE COURT:   So this is exhibit 174 in evidence.

      2                      {At this time, People's exhibit 174 was marked

      3         and received in evidence.)

      4         Q.    What's the purpose for keeping the test firearms in

       5   that yellow envelope?

       6        A.    We'll produce test fires for firearms that we receive.

       7   They get entered into what's called IBAS, Integrated Ballistic

       8   Identification System.

       9              It's a computerized database of cartridge case images.

     10    The idea is that these casings are from a known source.            I
     11    tested the firearm, I produce these test fires.           I could say
     12    that these came from this rifle.
     13               The images are loaded into the IBAS database, so if
     14    there's another crime scene somewhere or any other scene where
     15    casings are recovered, those casings will be entered into the
     16    IBAS system as well and the IBAS system does it's own internal
     17    checking to see if there's a possible match.
     18               If there is a possible match we pull the evidence from
     19    the unknown crime scene to the known test fires and compare them
     20    to see if there's a possible match.
     21         Q.    Detective, do you know someone or did you know someone
     22    by the name of Detective Beverly Des Vignes?
     23         A.    Yes.
     24         Q.    Who is Detective Des Vignes?
     25         A.    Beverly she was a microscopist in my unit.


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 767 of 1061 PageID #: 962
  000765                                                                            295
                             Det. James Clontz - Direct - Reeves

      1         Q.    In December 10, 2011 did she examine the test fired

      2    rounds compared against some evidence that was sent to the lab

       3   from the scene of the shooting?

       4        A.    Yes.

       5        Q.    Is Detective Des Vignes still with the New York City

       6   Police Department?

       7        A.    She is retired.

       8        Q.    Do you know approximately when she retired?

       9        A.    I believe it was 2012 or early 2013.

     10         Q.    In February of 2014 were you assigned to the

     11    microscopy section of the lab?

     12         A.    Yes.

     13         Q.    Did you receive a request from the Richmond County
     14    district attorney's office to reexamine some evidence that

     15    Detective Des Vignes examined because she had retired?

     16         A.    Yes, I did.

     17                      MR. REEVES:    Your Honor, I'm going to go to a
     18         different area now.

     19                      THE COURT:    We'll break for lunch.     Members of

     20         the jury we'll resume at 2 p.m. with further direct

     21         examination of the detective.

     22                      Don't discuss the case.     Have a good lunch.     See
     23         you at 2:00.
     24                      (Whereupon a luncheon recess was taken.)
     25


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 768 of 1061 PageID #: 963
  000766                                                                            296
                            People - Det. Clontz - Direct/Reeves

      1                     (AFTERNOON                  SESSION}

      2                     THE COURT CLERK:        Case on trial continues,

      3         Armand Skrine, Indictment 454/2011.

      4                     (Defendant present.}

      5                     THE COURT OFFICER:          Your Honor, ready for the

      6         jury?
      7                     THE COURT:     Yes.

      8                     THE COURT OFFICER:          Jury entering.
      9                     (Whereupon, the jury enters the courtroom.}
     10                     THE COURT CLERK:        Do both sides stipulate to a

     11         complete jury panel, properly seated?
     12                     People?
     13                     MS. CILIA:     Yes.
     14                     THE COURT CLERK:        Defense?
     15                     MS. GUASTELLA:        So stipulated.
     16                     THE COURT:     Detective, would you resume the
     17         witness stand, please.
     18                     (Whereupon, the witness resumes the stand.)
     19                     THE COURT CLERK:        Detective, I just remind you
     20         you're still under oath.          You can be seated.
     21                     THE WITNESS:     Thank you.
     22                     THE COURT:     This is continued direct examination.
     23                     MR. REEVES:     Thank you, your Honor.
     24    DIRECT EXAMINATION (Continued)
     25    BY MR. REEVES:


                                                  MMS
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 769 of 1061 PageID #: 964
      000767                                                                            297
                               People - Det. Clontz - Direct/Reeves

          1           Q.   Detective, I think we were about to start to talk

          2    about the microscopic work you did.         Before we do that, I have

          3    just a couple of more questions about the rifle that's behind

          4    you.
          5                In general, do all weapons get what's known as a

          6    serial number stamped on them?

          7           A.   Um, I believe after 1964 they were required to have a

          8    serial number stamped on them.

          9           Q.   And when you received this weapon December 9, 2011,

         10    did it have a serial number that you could see?

         11           A.   Not that I was able to find, no.
         12           Q.   And why is that?

~        13           A.   The location where the serial number would have been
         14    I -- We have a firearms reference collection at the laboratory.
         15    Sometimes if I can't identify a part, or a part is missing, or
         16    in this case a serial number, I could take one of our reference
         17    firearms, determine where something should be, and compare it
         18    to what I have.     In this particular case, I couldn't find the
         19    serial number where it would have been.
         20           Q.   Was it defaced?
         21           A.   I determined that it was defaced.
         22           Q.   And what does deface mean?
         23           A.   Defacement of a firearm is an attempt to hide its
         24    origin.     A serial number is meant to be -- it could be tracked
         25    backwards to -- back to actually the time it was manufactured


                                                   MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 770 of 1061 PageID #: 965
  000768                                                                            298
                            People - Det. Clontz - Direct/Reeves

      1    and to any owners along the way.          Without their serial number

      2    there really is no way of determining a firearm's history.

      3            Q.   Now, if a weapon is defaced and it comes into the

      4    New York City Police Department's possession, does the Police

      5    Department affix to it a lead seal?

      6            A.   Typically, yes.

      7            Q.   And what is the purpose of a lead seal?

      8            A.   A lead seal is a -- It's a piece of lead that has a

      9    wire attached to it with a six-digit number.          When that lead

     10    seal is attached to a firearm or some other piece of evidence

     11    that needs some sort of identification, that number is recorded

     12    on the invoice, or on any associated paperwork, and you could

     13    basically identify that particular evidence item, or in this
     14    case this rifle, by that lead seal number instead of a serial

     15    number.
     16            Q.   And was that done in this case?      Did this weapon have
     17    a lead seal when it came to you in December, 2011?
     18            A.   I don't believe so.    I believe I affixed one at the
     19     lab.
     20            Q.   Detective, I want to talk to you a little bit about
     21    ammunition if I could.
     22                 Before we talked about the four component parts of a
     23    cartridge.      What I'd like to do is talk to you a little bit
     24    about how those parts work in a weapon.
     25                 I'd like to start off by asking you, when you use the


                                               MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 771 of 1061 PageID #: 966
  000769                                                                            299
                           People - Det. Clontz - Direct/Reeves

      1    word "caliber" in the lab, what does that mean?

      2         A.    Caliber is a way to identify a class of firearm.

      3    Also, caliber, as it relates to ammunition, is the diameter of

      4    the base of a bullet.      That would determine a bullet's caliber.

      5         Q.    Now, how would you determine the caliber of a shell

      6    casing?
      7         A.    Typically on the bottom side of the shell casing, on

      8    the head stamp area, it would be stamped in by the

      9    manufacturer.
     10         Q.    And can you explain to the jury, what caliber is the

     11    assault rifle that's behind you?
     12         A.    This caliber rifle, it 1 s typical of this type of
     13    weapon, it's classified as a 7.62 mm x 39 mm caliber rifle.
     14         Q.    And would you explain to the jury what those numbers
     15    mean.
     16         A.    7.62 mm identifies the base diameter of the bullet.
     17    It roughly equates to .308 inches.        The 39 mm is the actual
     18    length of the shell casing itself without the bullet.            So, 7.62
     19    is the bullet diameter by 39 is the shell length.
     20         Q.    Thank you, Detective.
     21               Now, when a bullet passes through the barrel of a
     22    rifle, are there any marks left on the bullet that are
     23    significant to your work when you're looking at the evidence
     24    through the comparison microscope?
     25         A.    Well, during the manufacturing of any kind of firearm,


                                               MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 772 of 1061 PageID #: 967
  000770                                                                            300
                           People - Det. Clontz - Direct/Reeves

      1    the barrel of, either, a rifle, pistol, or any other kind of

      2    firearm just starts out as a rod of steel.          There's a drill

      3    that is passed through to start a hole.         That hole is then

      4    widened to get to the final caliber size.          But that barrel is

      5    smooth, it's a smooth board.       A cutter is inserted.      The cutter

      6    has a predetermined number of blades at a certain angle.            When

      7    this cutter is pushed through, it starts to turn, and, as it

      8    turns, it cuts into the inside of the barrel, creating what's

      9    called rifling.     It will create a series of high points, which

     10    are lands, and low paints, which are grooves.
     11                The idea behind that is that when a cartridge is

     12    discharged, the bullet is pushed into the barrel under this

     13    tremendous force and the bullet itself engages at rifling and
     14    the bullet starts to spin.       As it travels down the barrel, it
     15    starts to accelerate, the powder continues to burn, creating

     16    pressure.    The bullet accelerates, starts to spin, and when it
     17    leaves the barrel, it leaves it spinning.          The idea behind
     18    that, it's -- I always associate that with any good NFL
     19    quarterback throwing a football.          The football in a nice tight
     20    spiral will give the football speed, distance, and accuracy.
     21    Without good rifling, the bullet kind of goes like lately the
     22    way I throw a football, kind of wobbles a little bit, not much
     23    speed, not very accurate at all.
     24                Those marks made by those cutters change with every
     25    barrel as they're used.      Those marks are transferred onto the


                                               MM$
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 773 of 1061 PageID #: 968
  000771                                                                            301
                           People - Det. Clontz - Direct/Reeves

      1    bullet, so the high point in a barrel would leave a low point

      2    on a bullet, and the low point in a barrel would leave a high

      3    point on a bullet.
      4               Those are the markings that I could use to identify if

      5    two bullets were fired from the same weapon and if some unknown

      6    bullets, if they were fired from a known bull -- you know,
      7    bullets from a known source.

      8         Q.    And, Detective, I have the same question for you

      9    related to a shell casing.       When a shell casing is ejected from
     10    a semiautomatic weapon, are there any marks left on the shell
     11    casing that would be significant to your work on the comparison
     12    microscope?
     13         A.    Yes, there are.
     14               When the shell casing sits in the chamber, when the
     15    firing pin ignites -- strikes the primer, ignites the powder,
     16    there is a tremendous amount of pressure that builds.            That
     17    pressure would force the bullet down the barrel, but also that
     18    same pressure will take the casing and slam it against what's
     19    called the breech face.      That breech face is steel; it's made
     20    by different tools under different applications.           And those
     21    marks will be transferred to the shell casing itself.            When it
     22    hits, those marks will be more impressed.
     23               Also, when the casing is extracted and ejected, the
     24    extractor, it's a little hook that will pull back on the
     25    cartridge casing, that's made by different tools, that can


                                               MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 774 of 1061 PageID #: 969
  000772                                                                            302
                                  People - Det. Clontz - Direct/Reeves

      1    leave some marking.           Also, as a case is ejected out of the

      2    ejection port, sometimes it might hit the topmost portion of

      3    one side of the ejection port leaving scrape marks there.             That

      4    top portion of the ejection port, that's metal made by another

      5    process of the gun manufacturer, and that can leave identifying

      6    marks as well.
      7           Q.     Thank you, Detective.

      8                  What I'd like you to do is, you should have People's

      9    164, a white envelope, in front of you.           Do you recognize that

     10    envelope?
     11           A.      Yes, I do.

     12           Q.     What do you recognize it to be?

     13           A.     This is an evidence envelope and, going by the

     14    signatures and the initials, was produced by retired
     15    Det. Des Vignes on December 10, 2011.
     16           Q.      Now, I think we talked before lunch that after
     17    Det. Des Vignes retired in February of this year, you were
     18    assigned to reexamine the evidence, correct?
     19           A.      Yes.
     20           Q.      Did you mark that envelope in any way?
     21           A.      I did.

     22           Q.     And you recognize your handwriting?
     23           A.      I do.

     24           Q.      Now, that was unsealed here in court a couple of days
     25    ago.        I'd like you to just open it again and look at the


                                                  MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 775 of 1061 PageID #: 970
  000773                                                                            303
                             People - Det. Clontz - Direct/Reeves

      1    contents, and we•re going to talk about the contents of it in a

      2    few minutes.

      3               Det. Clontz, can you tell me, are there any deformed

      4    bullets in that white envelope that's been received in evidence

      5    as 164?

      6         A.    Yes.    Inside the envelope there are two smaller

      7    plastic bags each containing one deformed bullet each.

      8         Q.    And can you explain to the ladies and gentlemen of the

      9    jury, when you and I use the term "deformed bullet," what are

     10    we talking about?
     11         A.    Deformed in this sense means that it's not perfectly
     12    round anymore; it's been bent out of shape; it's not in good
     13    condition.     Theoretically, any bullet that comes out of a
     14    barrel is deformed, because it's got these land and groove
     15    impressions on it, but for the -- for firearms identification,
     16    that's not a deformed bullet.        It's a standard bullet with
     17    markings on it.      These, however, are, like I said, the bay has
     18    been flattened on both of them so that it's no longer round.
     19         Q.    And, Det. Clontz, are you able to determine the
     20    caliber of those two bullets?
     21         A.    Using a caliber for -- to measure the base of the
     22    bullet, you couldn't.      They're so flattened that the actual
     23    caliber could not be measured.        However, there are certain
     24    other characteristics of these that are typical of a particular
    25     specific type of ammunition.


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    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 776 of 1061 PageID #: 971
      000774                                                                            304
                                 People - Det. Clontz - Direct/Reeves

          1         Q.    And, Det. Clontz, do you have an opinion to a

          2    reasonable degree of scientific certainty what type of bullets

          3    these two are?

          4         A.    By the general shape and their weight and the kind of

          5    markings that are on here, these are typical of a 7.62 mm x

          6    39 mm caliber class of bullet.

          7         Q.    Now, Detective, can you tell the jury what a copper

          8    jacketed bullet is?

          9         A.    Well, in older times bullets were made out of lead,

         10    and what would happen is is that when they would fire and they
         11    would travel down the barrel, little bits of lead would be left
         12    inside the barrel.      During, you know, like colonial times, a

         13    barrel that was -- that could fit, say, I don't know, a
         14    .40-caliber or .4-inch diameter bore, after it got fired
         15    several, several times, that diameter could start shrinking
         16    down where a smaller caliber bullet would have to go in.            The
         17    idea about putting a harder metal around the lead, in this case
         18    a copper jacket, is to prevent that.         The copper jacket, or the
         19    copper covering, will cover the lead so that there is less lead
         20    fouling in the barrel.
         21         Q.    Thank you, Detective.
         22               In addition to the shape of those two bullets, were
         23    you able to weigh them?
         24         A.    Yes.
~        25         Q.    And what did you find the weight of those two bullets


                                                   MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 777 of 1061 PageID #: 972
  000775                                                                            305
                           People - Det. Clontz - Direct/Reeves

      1    to be?
      2           A.   Well, they were initially weighed in.        I reconfirmed

      3    them when I did them.      One bullet weighed 111.3 grains and the

      4    other bullet weighs 118.2 grains.

      5           Q.   Is that generally consistent with a 7.62 x 39 mm?

      6           A.   There is -- It is -- There is a little bit of loss in

      7    them, but they're consistent with that caliber class.

      8           Q.   Now, Det. Clontz, did you have a chance to take those

      9    two bullets from the scene of this homicide and compare them
     10    to the rounds that you test-fired to the rifle that's behind
     11    you?
     12           A.   I did.
     13           Q.   And can you explain to the jury what you did and what
     14    your results were.
     15           A.   We use a comparison microscope.       Essentially, it's
     16    two compound microscopes connected by an optical bridge.
     17    That optical bridge consists of prisms and mirrors.           What it
     18    does, it allows me to mount one piece of evidence on the
     19    left-hand stage and another piece of evidence on the right-hand
     20    stage, and when I look through the eyepieces, I could see both
     21    of them at the same time.       I could put them together, separate
     22    them by a optical line -- it's called a line of demarcation --
     23    and I could then do comparisons back and forth between them.
     24                I knew that I shot these test-fires.        I personally did
     25    them, I personally marked them.        I started my examination of


                                               MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 778 of 1061 PageID #: 973
  000776                                                                             306
                            People - Det. Clontz - Direct/Reeves

      1    the bullets with comparing my test-fires to each other.            That

      2    allowed me to get kind of in my mind like a baseline of where

      3    different marks should be, give me an idea of how deformed

      4    how that's going to affect my further examination.

      5               After I was able to examine my test-fired bullets, I

      6    then took one of the evidence bullets and tried to make a

      7    comparison to find the similarities of the markings and to see

      8    if I could determine if they came from the common source, which

      9    in this case would be this rifle.         I also did the same with the

     10    second bullet.
     11         Q.    And what were the results?
     12         A.    I came up with an inconclusive result.
     13               Inconclusive in this instance means that the bullets

     14    are of the same caliber class, so they have the same class
     15    characteristics.     However, I didn't find enough repeated marks
     16    or impressions that would give me a fair degree of certainty to
     17    conclusively say that, okay, yes, these evidence bullets came
     18    from this rifle.
     19               Inconclusive in this case means that, though it's the
     20    same type of bullet, it may or may not have been fired from
     21    this rifle.
     22         Q.    How did your opinion in February of 2014 compare to
     23    the former detective's opinion?
     24         A.    Det. Des Vignes also had an inconclusive result with
     25    these.


                                               MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 779 of 1061 PageID #: 974
  000777                                                                            307
                              People - Det. Clontz - Direct/Reeves

      1         Q.    Now, if you could, I would just like you to put the

      2    bullets away and I want to talk to you a little bit about the

      3    shell casings from the scene.       Can you put the bullet -- just

      4    put them back in the envelope.

      5               First of all, if you can show the ladies and gentlemen

      6    of the jury the two shell casings that were recovered.

      7         A.    Sure.     They are both marked and they're in this little

      8    Ziploc bag.

      9         Q.    Are you able to determine the caliber of the shell

     10    casings that were recovered?
     11         A.    Yes.
     12         Q.    And how did you do that?
     13         A.    On the head stamp it's stamped by the manufacturer.            I
     14    don't know if you could tell.        This brass-colored part, that's
     15    the primer, and the area surrounding it is a head stamp area,
     16    and that's where the manufacturer stamped the company's name
     17    and also the caliber.
     18         Q.    And can you tell us who the manufacturer of the two
     19    spent shell casings were to the jury.
     20         A.    Sure.     These are -- It's hard to see through here.
     21    These have markings on it.       It's made by a Russian
     22    manufacturer.       They have these two kind of like squiggly lines
     23    one on top of each other.       That is typical of the manufacturer
     24    that's called Silver Bear.
     25         Q.    Now, can you take a look at the live cartridges that


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 780 of 1061 PageID #: 975
 000778                                                                             308
                            People - Det. Clontz - Direct/Reeves

      1    were received with the magazine with the rifle and tell me if

     .2    you can tell who the manufacturer of the remaining live rounds

      3    in that bag was.

      4         A.    It's going to be hard to determine here.

      5                     THE WITNESS:     Your Honor, if I may look at my

      6         inventory notes again.
      7                     THE COURT:     Okay.

      8                     THE WITNESS:     Thank you.

      9         A.    These are the same inventory notes that I looked at

     10    earlier today.

     11               On my inventory notes, I had listed that all the

     12    ammunition that I received was also made by Silver Bear.
     13         Q.    Thank you, Det. Clontz.
     14               Let's talk, if we could, about the microscopic work

     15    that you did with the shell casings.

     16               Can you explain to the jury what you did with the two
     17    shell casings from the scene and the test-fired shell casings
     18    from when you fired the rifle back in December of 2011.

     19         A.    Of course.
     20               I did a similar type of examination.         I took the shell
     21    casings that I produced when I test-fired the rifle.            I had
     22    four of them and I compared them to each other.           Again, I was
     23    trying to determine any similar markings.          I wanted to be able
     24    to rotate each one properly so that I could take my markings,
     25    any markings that I did see, and line them up properly.            It's


                                               MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 781 of 1061 PageID #: 976
  000779                                                                            309
                           People - Det. Clontz - Direct/Reeves

      1    almost looking at say you wanted to examine two clock faces.

      2    You know, you would put them down and you'd probably orientate

      3    12 0 1 clock just forward or up and down so that you could be

      4    able to do a fair comparison side by side.          That's what I did

      5    with my test-fires, I looked to see if I could orientate them

      6    in such a way where I could identify certain features, certain

      7    firing pin markings, or markings on the breech face.

      8                Once I was able to get a baseline in my mind, I took

      9    one of the two evidence casings and I put it up on the

     10    microscope and I looked to see if I could see any similar

     11    markings.    When I was able to, I rotated it just right, to a

     12    point where I was looking at my known casing from the test-fire

     13    I produced with the unknown casing under my microscope, and I

     14    was able to put the pieces together to make what basically

     15    looked like one whole casing, even though I was looking at two

     16    separate pieces.     I did the same thing for the second casing as
     17    well, and I was able to do that.
     18         Q.     And, Detective, to a reasonable degree of scientific
     19    certainty, what's your opinion about which weapon fired the two
     20    discharged shell casings recovered during the course of this
     21    investigation?
     22         A.     Well, when examining cartridge casings, there's two
     23    tools acting on here: one is the firing pin, which strikes the
     24    primer; and also the breech face, which affects the rest of the
     25    casing.     In my examination I was able to determine that the


                                               MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 782 of 1061 PageID #: 977
  000780                                                                            310
                             People - Det. Clontz - Direct/Reeves

      1    markings made by the firing pin of my known test-fires to my

      2    unknown evidence casings were made by the same tool or the same

      3    firearm.    And, also, the breech face markings on my test-fires

      4    were made by the same tool that produced the breech face

      5    markings on the evidence casings.

      6         Q.    And how did your opinion compare to Det. Des Vignes

      7    when she compared it back in December of 2011?

      8         A.    Oet. Des Vignes was able to identify one of the

      9    evidence casings as a positive match to the test-fires by

     10    firing pin and the second casing by firing pin and breech face.

     11    I was able to determine that both casings, evidence casings,

     12    matched my test-fires by, both, firing pin and breech face

     13    marking.
     14         Q.    Which weapon discharged these two shell casings?

     15         A.    It was the same weapon that produced these test-fires,

     16    which is the same rifle that I had test-fired back in December
     17    of 2011.
     18         Q.    That's the weapon that's in evidence as People's 165?
     19         A.    Yes.
     20         Q.    The Romanian-made AK-47?
     21         A.    Yes, sir.    Actually, it's a -- the actual model is a
     22    WASR-10, but it's an AK-47 design, yes.
     23                      MR. REEVES:   Det. Clontz, I have no further
     24         questions for you.     Thank you, sir.
     25                      Thank you, your Honor.


                                               MMS
          Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 783 of 1061 PageID #: 978
            000781                                                                            311
                                          People - Det. Clontz - Cross

,.-..,,         1    CROSS-EXAMINATION

                2    BY MS. GUASTELLA:

                3           Q.   Good afternoon, Detective.       I just want to take you

                4    through the timeline a little bit.

                5                So, you received the weapon into evidence, right?            And

                6    you -- Do you swab it and print it first and then do your

                7    tests, or do you test it and then do you swab it and print it?

                8           A.   I don't do swabbing or any kind of other testing.            We

                9    receive what's called a request for laboratory analysis, on

               10    their end will indicate the type of testing that's required.

               11    When I received this rifle at the time I did my examination, I

               12    was requested to do operability examination.
               13           Q.   So, you didn't actually do the swabbing in this case?
               14           A.   I did not, no, ma'am.
               15           Q.   Do you know who in the lab did the swabbing of the

               16    gun?
               17                     MR. REEVES:     Objection, your Honor.     Assumes
               18           facts not in evidence.
               19                     THE COURT:     Overruled.
               20                     You can answer it if you know.
               21           A.   I don't know.
               22           Q.   And, so, it's your testimony you didn't print the gun
               23    as well?
               24           A.   That's correct.
               25           Q.   And do you know who printed the gun in this case?


                                                         MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 784 of 1061 PageID #: 979
  000782                                                                            312
                                People - Det. Clontz - Cross

      1                     MR. REEVES:    Same objection, your Honor.

      2                     THE COURT:    Overruled.    I'll let the witness

      3         answer it, if he knows.

      4         A.    I don't know the answer to that.

      5         Q.    And do you also do gun powder examinations on weapons?

      6         A.    No, ma'am, I don't.

      7         Q.    Do you know who conducted the gun powder test in this

      8    case?
      9                     MR. REEVES:    Objection.
     10                     THE COURT:    I guess the question is, Do you know

     11         if one was?

     12         Q.    Do you know if one was conducted?

     13         A.    That I don't know.
     14         Q.    Do you know a Gina Columbo (phonetic)?
     15         A.    I know of the name.      I think she might be a
     16    criminalist at the laboratory.
     17         Q.    Thank you.

     18               Now, the Romanian WASR-10, in your expertise, you
     19    wouldn't say it's the top-of-the-line AK-47, right?             It's
     20    actually one of the bottom weapons, down with Chinese?
     21         A.    It's -- It's -- The design works.        But is it
     22    top-of-the-line?     It's made by the Romanian State Arms
     23    Factories, and they are -- that's what they make.
     24         Q.    It has a lot of problems, right?
     25         A.    As compared to -- I'm kind of partial to US-made


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 785 of 1061 PageID #: 980
  000783                                                                            313
                                People - Det. Clontz - Cross

      1    rifles.    I would say it would be, yes, a lower.

      2         Q.    So, it's got a lot of problems, right?

      3         A.    It functions -- Actually, the AK-47 design is a

      4    it's a lot more robust than an American counterpart, the M-16

      5    rifle.    It's kind of bulkier, kind of heavier, but it's a

      6    design that basically can withstand a lot of dirt and just

      7    maltreatment and it is still going to work.          That's why a lot

      8    of parts are kind of oversized.

      9         Q.    But the parts that are manufactured are cheap, right;

     10    they're not the top-of-the-line parts?
     11         A.    The metal is a stamped metal.

     12         Q.    And the parts are all interchangeable, right, in the
     13    AK-47?

     14         A.    They are designed that way, yes.
     15         Q.    In this particular model, WASR-10, there is a lot of
     16    problems with trigger slap, right?
     17                     THE COURT:    With what?
     18                     MS. GUASTELLA:    Trigger slap.
     19         Q.    Right?
     20         A.    It used to be.     I had read an article about that, but
     21    I believe in the later models that they were able to identify
    22     that problem and correct that.
     23         Q.    And trigger slap is, basically, after you pull the
     24    trigger, sometimes, as the trigger is trying to reset, it
    25     catches the finger, right, it hurts?


                                               MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 786 of 1061 PageID #: 981
 000784                                                                             314
                                People - Det. Clontz - Cross

      1         A.      It's a trigger mechanism defect at the time, yes.

      2         Q.      Did you do a trigger pull test in this particular

      3    case?

      4         A.      I don't believe one was requested.

      5         Q.      But in your expertise -- and I know you have a lot of

      6    it        the AK-47s, particularly this type of a model, has a

      7    light trigger pull, correct?

      8         A.      There was nothing abnormally light about it.          A

      9    trigger pull

     10                 May I explain really?
     11         Q.      Yes.
     12         A.      It's the amount of pressure required on the trigger to

     13    cause the firearm to release the sear.         A sear is just a metal

     14    component that would hold the firing pin back.           Once that
     15    trigger is tripped by -- when the sear is tripped by the
     16    trigger, the firing pin can go forward and discharge the
     17    cartridge.
     18                 Trigger pull comes in various weights.       When I
     19    test-fired this weapon, the five times that I test-fired it, I
     20    didn't notice anything abnormal about it, but, then again, I've
     21    tested many, many firearms, and there was nothing unique about
     22    this particular trigger pull.
     23         Q.     Much different than pulling the trigger on a revolver,
     24    correct?
     25         A.      Yes, comparatively, yes.


                                                MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 787 of 1061 PageID #: 982
  000785                                                                            315
                             People - Det. Clontz - Redirect/Reeves

      1         Q.    Now, you did do some work to raise the serial number,

      2    correct, on this weapon?

      3         A.    I'm not trained in serial number restoration.

      4         Q.    You're not the one that raised the serial number?

      5         A.    That's correct.

      6                       THE COURT:     Was a serial number raised?

      7                       THE WITNESS:     I didn't see a report in the case

      8         folder.      I can't say either way if it was done or not done.

      9         Q.    Who is Antonio Colon (phonetic}?
     10         A.    Antonio Colon, he's a retired New York City detective,

     11    worked in my unit, Firearms Analysis section, as our serial
     12    number restoration person.          He retired, and the Bureau of
     13    Alcohol, Tobacco and Firearms hired him to do serial number
     14    restoration in my lab.          So, he retired and, basically, walked
     15    out and came back in.
    16          Q.    So, as far as you know, he was working in 2011?
    17          A.    Yes, he was working.

    18                        MS. GUASTELLA:     Judge, I have nothing further.
    19                        THE COURT:     Any redirect?
    20                        MR. REEVES:     Yes, I do.
    21     REDIRECT EXAMINATION
    22     BY MR. REEVES:
    23          Q.    Det. Clontz, you indicated that you fired this weapon
    24     five times, correct?
    25          A.    Yes.


                                                 MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 788 of 1061 PageID #: 983
  000786                                                                             316
                          People - Det. Clontz - Redirect/Reeves

      1         Q.    Did you hurt your finger when you fired the weapon

      2    five times?
      3         A.    No, I didn't.

      4         Q.    And you were asked about design defects.              Do you have

      5    an opinion, to a reasonable degree of scientific certainty, if

      6    you shot this rifle at a human being's head, would it kill the
      7    person?
      8         A.    It's -- The -- The bullet corning out can, yes, do

      9    something like that, yes.

     10         Q.    And when you shot the weapon, it worked?

     11         A.    It did.
     12                     MR. REEVES:     Thank you.
     13                     No further questions, your Honor.

     14                     THE COURT:     Any recross?
     15                     MS. GUASTELLA:        No.
     16                     THE COURT:     All right, Detective, you're excused.
     17         You're free to step out.
     18                     THE WITNESS:     Thank you, sir.
     19                     (Witness excused.)
     20                     THE COURT:     Next witness, please.
     21                     MR. REEVES:     People call Ms. Irene Wong.
     22                     THE COURT OFFICER:          Your Honor, are you ready for
     23         the witness?
     24                     THE COURT:     Yes.
     25                     THE COURT OFFICER:          Witness entering.


                                                  MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 789 of 1061 PageID #: 984
  000787                                                                            317
                               People - Wong - Direct/Reeves

      1    IRENE         WONG, having been called as a witness on behalf

      2         of the People, having been duly sworn by the clerk of the

      3         court, was examined and testified as follows:

      4                     THE COURT CLERK:       State your name for the record.

      5                     THE WITNESS:      Irene Wong, W-O-N-G.

      6                     THE COURT CLERK:       And your employer.

      7                     THE WITNESS:      I'm employed with the Office of the

      8         Chief Medical Examiner Forensic Biology Department.

      9                     MR. REEVES:     May I inquire, your Honor?

     10                     THE COURT:     Yes.
     11                     MR. REEVES:     Thank you.
     12    DIRECT EXAMINATION

     13    BY MR. REEVES:

     14         Q.     Good afternoon, Ms. Wong.        How are you?
     15         A.     I'm good.   And you?
     16         Q.     I'm good.   Thank you.
     17                Would you start off by telling the ladies and
     18    gentlemen of the jury how long you've worked at the Office of
     19    Chief Medical Examiner's Forensic Biology Unit?
     20         A.     I've worked there since 2001.
     21         Q.     And can you explain to the jury what your current
     22    title is?
     23         A.     My current title is a Criminalist Level IV.
     24         Q.     And in the lab, what is a Criminalist Level IV
     25    responsible for?


                                                  MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 790 of 1061 PageID #: 985
  000788                                                                            318
                                People - Wong - Direct/Reeves

      1         A.    I supervise Criminalists Levels II and Criminalists

      2    Level III on their casework, which means that I do a technical

      3    review on their work to make sure that everything is correct.

      4    I triage evidence when it comes in, so when the evidence comes

      5    in, somebody has to determine what testing needs to be done on

      6    which items.      I also write my own reports and testify in court

      7    when necessary.
      8         Q.    And what is the OCME's Forensic Biology Unit

      9    responsible for doing?
     10         A.    We're responsible for identifying any biological

     11    fluids that might be on a piece of evidence, as well as
     12    performing DNA testing on any of those evidence.
     13         Q.    And, Ms. Wong, could you explain to the ladies and
     14    gentlemen of the jury a little bit about your educational
     15    background that allows you to work as a Criminalist IV in the
     16    OCME's Forensic Biology Lab?
     17         A.    I have a Bachelor's of Science in Medical Laboratory
     18    Science from Northeastern University in Boston.
     19         Q.    Now, in addition to your educational background, when

     20    you started working at the OCME in 2001, did you receive any
     21    training from them that allowed you to do the job you do?
     22         A.    Yes.
     23               I started as a Criminalist Level I.        With a
     24    Criminalist Level I we had six months of in-house training on
     25    any of the bench work that we needed to do.          And then I was


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 791 of 1061 PageID #: 986
  000789                                                                            319
                               People - Wong - Direct/Reeves

      1    promoted to a Criminalist Level II, which is a DNA analyst; and

      2    for that, I also had six months of training for that title.

      3    And then I was promoted to a Criminalist Level III, and there

      4    was approximately one to two month of training before I was

      5    able to do the Criminalist Level III tasks and duties.            And

      6    then, for a Criminalist Level IV, there was also about a one to

      7    two month of training before I was able to do those duties.

      8         Q.    And what did the training entail?        What kind of things

      9    were you taught or trained to do?

     10         A.     So, different levels have different responsibilities

     11    and duties.    So, as a Criminalist Level I and II, we did most

     12    of the bench work.      So, any of the DNA testing that needed to

     13    be done or the evidence examination, that was the type of
     14    things that we learned -- were trained on how to do.

     15                So, part of training is basically a three-step

     16    process.    We would watch somebody that was already competent

     17    that could already do the task, and then they would watch us as
     18    we performed the same task, and then we would do a competency
     19    test.     Basically, a competency test is something that our

     20    in-house training group creates, and then we would perform the
     21    test ourselves, and then we would give our results to the
    22     training group and they would check our results to make sure it
     23    matches with what the known result is.         And after we take that
     24    test, we're deemed competent on that procedure.
    25          Q.    And, Ms. Wong, how did you do on your competency


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 792 of 1061 PageID #: 987
  000790                                                                            320
                                People - Wong - Direct/Reeves

      1    exams?     Pass or fail?

      2         A.     I passed all of my competency tests.

      3         Q.     Do you also have to take, as part of the requirement

      4    of working in the lab, what are known as proficiency exams?

      5         A.     Yes.   Proficiency exams are, basically, exams that we

      6    take twice a year.      Remember how I was talking about the
      7    competency test where it's given in-house?          A proficiency test

      8    is actually from an agency outside -- it's from a company

      9    outside.     They send us, quote-unquote, evidence from a case,
     10    and then -- where they know the results for, so they make up

     11    mock evidence.     We would perform our testing and do our duties

     12    like we normally would on a case file, and we would obtain
     13    results, and then we would send our results to this outside
     14    agency.    They would check with their records what their known
     15    results are and then send our quality assurance team the
     16    results to see whether we were correct or not.
     17         Q.     How often would you take the proficiency exams?
     18         A.     I take it twice a year.
     19         Q.    Can you tell us how you've done on all the proficiency
     20    exams you've taken since 2001?
     21         A.     I've passed all my proficiency exams.
     22         Q.     Now, Ms. Wong, in addition to giving competency and
     23    proficiency exams to the individual people who work in the lab,
     24    is the lab itself checked by an outside agency?
     25         A.    Yes.


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      Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 793 of 1061 PageID #: 988
        000791                                                                            321
                                       People - Wong - Direct/Reeves

            1         Q.    Would you explain to the ladies and gentlemen of the

            2    jury how the lab is audited and how often that happens.

            3         A.    So, we are audited by a company called ASCLD/LAB,

            4    which is the American Society of Crime Laboratory Directors

            5    Laboratory Accreditation Board and New York State.           What that

            6    means is they come in and they inspect and audit our laboratory

            7    either twice a year and then we do an internal audit once a

            8    year, every other year.       And it ensures that what we're saying

            9    we're doing and all our results are accurate and we're

           10    following our standard protocols.

           11         Q.    And how did the lab fare in the most recent audit

           12    that's going on now, correct?

f'7        13         A.    It's actually going to start on Monday.

           14         Q.    Prior to this year's audit, how has the lab fared?

           15         A.    We've passed all our audits.

           16         Q.    Would it be a fair statement to say that the DNA lab

           17    at the Office of Chief Medical Examiner is part of as the

           18    world's best?       I know it's a loaded question, but.

           19         A.    Yes.
           20         Q.    Okay.     As part of the Office of Chief Medical
           21    Examiner's Forensic Biology Unit, have you had an opportunity

           22    to perform any DNA techniques to develop profiles of DNA?

           23         A.    Yes.
           24         Q.    And can you explain to the jury if there is any way to
           25    quantify it?       How many times have you personally done that


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 794 of 1061 PageID #: 989
 000792                                                                             322
                                 People - Wong - Direct/Reeves

      1    during the course of your career?

      2         A.     It's in the thousands.

      3         Q.     Now, we'll talk about what that means in a minute, but

      4    have you also had a chance to come to court to testify about

      5    your findings or other people's findings from the Office of

      6    Chief Medical Examiner's Forensic Biology Lab related to DNA
      7    profiles?

      8         A.     Yes.

      9         Q.     How many times have you come to court to testify?

     10         A.     Approximately 26 times; 17 times in trial and 9 times

     11    in Grand Jury.

     12         Q.     And can you tell us what courts or jurisdictions

     13    you've testified in before today?
     14         A.     In the five boroughs of the City.
     15         Q.     And when you testify, are you deemed to be an expert
     16    in the field of DNA analysis?
     17         A.     Yes.
     18         Q.     And have you ever been denied the qualification of an
     19    expert in the field of DNA analysis?
     20         A.     No.
     21                       MR. REEVES:    Your Honor, I'd offer Ms. Wong as an
     22         expert in the field of ONA analysis.
     23                       MS. GUASTELLA:    No objection.
     24                       THE COURT:    All right.   The witness is recognized
     25         as an expert in DNA analysis; is that correct?


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 795 of 1061 PageID #: 990
 000793                                                                              323
                                  People - Wong - Direct/Reeves

      1                        MR. REEVES:    Yes, it is.

      2                        THE COURT:    Okay.

      3           Q.      Ms. Wong, before we start talking about work that was

      4    actually done on evidence in this case, I'd like you to just

      5    briefly tell the jury what DNA is and how you can use it

      6    forensically.
      7           A.      So, DNA is hereditary material that is passed down

      8    from your mother and your father.           It is the same throughout

      9    your body.        So, if I were to test DNA from, let's say, the root

     10    of your hair versus your skin cells versus your blood, it would
     11    be the exact same DNA profile that we would obtain.
     12                   So, it is the same throughout your lifetime.      So, the
     13    DNA that you were born with is the same as the DNA when you
     14    die.        And you are the only one with this DNA with the exception
     15    of an identical twin.
     16                   What DNA is is it tells you the person you are.      So,
     17    it tells you that you have five fingers, two arms, two legs,
     18    black hair, blue eyes; stuff like that.
     19           Q.      Now, when .I use the word "forensically," can you
     20    explain to the ladies and gentlemen of the jury what we're
     21    talking about?
     22           A.      So, we use DNA to try to connect a person, place, or
     23    thing to another person, place, or thing.          So, if we were to
     24    examine crime scene evidence, evidence collected from a crime
     25    scene, and see whether we can find biological material: semen,


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    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 796 of 1061 PageID #: 991
      000794                                                                            324
                                    People - Wong - Direct/Reeves

          1    blood, or saliva on the material, and then we would cut a piece

          2    of it and do DNA testing to see whether we can connect it to a

          3    person.

          4         Q.    Now, can you explain to the ladies and gentlemen of

          5    the jury how you generate a DNA profile from either a known or

          6    an unknown sample of biological material?
          7         A.    So, a known biological material is, basically, just

          8    something that we know where it's coming from.           So, if I were

          9    to take something like a cotton swab and swab the inside of my

         10    cheek cells, I know that that DNA is from me.

         11               So, if I were to do DNA testing on it, what I would do

         12    is I would cut the DNA swab, or the cotton swab, maybe like a

~        13    third of the cotton swab, and then I would do what is called a

         14    DNA extraction.     And, basically, what that is is I would remove

         15    the DNA from the swab by putting that in a lot of chemicals

         16    into a tube, and the next step would be to quantify, which is
         17    basically to figure out how much DNA is in that tube.            The next
         18    step after that is amplification, which just means that we're

         19    going to make thousands and thousands of copies of the DNA that
         20    we're looking at.      So, think of it like a copy machine, we're
         21    just making thousands and thousands of copies.
         22               The step after that would be to put that DNA, the
         23    thousands and thousands of copies, into an instrument for STR,
         24    or short tandem repeat, and what that does is it's going to
         25    come out with a DNA profile.


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 797 of 1061 PageID #: 992
  000795                                                                            325
                                People - Wong - Direct/Reeves

      1               What a DNA profile is is, for DNA testing, we look at

      2    15 different locations on your DNA, plus a gender gene, and

      3    that's going to tell you the male or female.           So, those 15

      4    different locations we see a series of numbers, and that is

      5    basically what the DNA profile is.           And when we examine

      6    evidence, or a known sample, this is what would come out and

      7    this is what we're comparing.

      8         Q.    Now, is the method used to generate a profile from an

      9    unknown source the same or different as it is for a known

     10    source?    Do you use the same equipment, the same techniques?

     11         A.    It's the same technique, yes.
     12         Q.    Now, what I'd like to do is hand up to you what's been

     13    premarked as People's 175A and B, and I'm going to ask you some

     14    questions.
     15               In 2011 and 2012, did the Office of Chief Medical

     16    Examiner receive, both, known and unknown samples relating to a
     17    homicide of David Williams on December 8, 2011, here in Staten
     18    Island, New York?
     19                     THE WITNESS:     Your Honor, may I please refer to
     20         my notes?
     21                     THE COURT:     Yes.
     22         A.    Can you please repeat that date?
     23         Q.    Certainly.
     24               The homicide of David Williams occurred on December 8,
     25    2011, and my question was, in December of 2011 through 2012,


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 798 of 1061 PageID #: 993
  000796                                                                            326
                               People - Wong - Direct/Reeves

      1    did the Office of Chief Medical Examiner receive, both, known

      2    and unknown samples that were requested to be analyzed for DNA?

      3         A.    Yes.
      4         Q.    What I've handed up to you is People's 175A and B for

      5    identification.     Each time a known sample comes in from a
      6    suspect in a case, is it assigned a unique and specific number

      7    by the Office of Chief Medical Examiner?

      8         A.    Yes.
      9         Q.    And, in this case, did the Office of Chief Medical
     10    Examiner receive a known sample from a person by the name of
     11    Armand Skrine?
     12         A.    Yes.
     13         Q.    And was it assigned a specific and unique number?
     14         A.    Yes.
     15         Q.    And what was that number?
     16         A.    FB for Forensic Biology, 11 for 2011, -S1608.
     17         Q.    Now, I've handed up a binder to you that's been
     18    labeled People's 175A.      Do you recognize that?
     19         A.    Yes.
     20         Q.    And what do you recognize that to be?
     21         A.    This is a certified copy of a file concerning the
     22    evidence FBll-S1608.
     23         Q.    And is it a complete and accurate copy that's been
     24    certified?
     25         A.    Yes.


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 799 of 1061 PageID #: 994
  000797                                                                            327
                                People - Wong - Direct/Reeves

      1         Q.    Now, in the course of business of the Office of Chief

      2    Medical Examiner's Forensic Biology Unit, are you required to

      3    keep files on all work you do on a specific case?

      4         A.    Yes.

      5         Q.    And was that done with FBll-S1608?

      6         A.    Yes.
      7         Q.    And what I handed up to you is 175A for

      8    identification.      Is it true and accurate copy of the business

      9    records that you are required to keep?
     10         A.    Yes.
     11                      MR. REEVES:    Your Honor, I offer People's 175A at

     12         this time.

     13                      MS. GUASTELLA:    No objection.

     14                      THE COURT:    I beg your pardon?

     15                      MS. GUASTELLA:    No objection.
     16                      THE COURT:    All right, 175A is marked in
     17         evidence.

     18                      (Whereupon, People's Exhibit 175A is received in
     19         evidence.)
     20                      THE COURT OFFICER:      So marked.
     21         Q.    Ms. Wong, what I'd like to do is to talk to you about
     22    the second folder, 175B for identification, and I'd ask you if
     23    you recognize that.
     24         A.    Yes.
     25         Q.    What do you recognize that to be?


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         Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 800 of 1061 PageID #: 995
          000798                                                                             328
                                          People - Wong - Direct/Reeves

I""""\         1         A.     It's a certified copy of the file F811-06979.

               2         Q.     Is it a fair and accurate copy of the entire file or

               3    the evidence that was submitted under that particular number?

               4         A.     Yes.

               5         Q.     And the same questions:        You are required when you get

               6    unknown evidence, you are required to assign it a specific and

               7    unique number and maintain a file on that evidence that you've

               8    analyzed?

               9         A.     Yes.

             10                        MR. REEVES:    Your Honor, I offer People's 175B in

             11          evidence.
              12                       MS. GUASTELLA:    Can I take a look at 1758?

             13                        THE COURT:    Sure.

             14                        (Handing.)

             15                        MS. GUASTELLA:    No objection.
             16                        THE COURT:    I beg your pardon?
              17                       MS. GUASTELLA:    No objection.

              18                       THE COURT:    This is 175B now in evidence.

              19                       (Whereupon, People's Exhibit 1758 is received in

             20          evidence.)
              21                       THE COURT:    What is 1758 what is submitted as and
              22         unknown sample?
             23                        MR. REEVES:    Yes.
             24                        THE COURT:    All right.
             25          Q.     Ms. Wong, what I'd like to do is to talk to you about


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 801 of 1061 PageID #: 996
  000799                                                                            329
                                People - Wong - Direct/Reeves

      1    1758 first.

      2                Now, you explained the different steps that

      3    technicians or criminalists in the lab will take to generate a

      4    profile from an unknown sample.        In this particular case, what

      5    was submitted for examination?

      6         A.     There are items taken from David Williams: blood

      7    sample, scalp hair, left fingernails, right fingernails, and

      8    swab of a bite mark.
      9                There were also swab RS6 from the west wall of the 7th

     10    floor hallway of 195 Steuben Street, S/O stairwell doorway 7B.

     11    There was also a brown long coat labeled RS7 from the duffel

     12    bag RS23.     There was a black mask from inside the left outside
     13    pocket of the brown long coat.        There was also black mask RS12

     14    from the duffel bag RS23; black sock RS13 from the duffel bag

     15    RS23; black gloves with a yellow trim labeled RS18; black
     16    leather jacket RS28; black long sleeved shirt RS33; black
     17    duffel bag RS23 from the N/O footpath north side of retainer
     18    wall Pierce Street.

     19                There were also items taken from Armand Skrine:         A

     20    gray hoodie zip-up sweatshirt labeled RS8; pink bath towel,
     21    RS9; a pink hand towel, RS10; black hoodie sweatshirt pullover,
     22    RSll; a black right ankle sneaker boot, RS29; left ankle
     23    sneaker boot, RS29A; blue jeans, RS30; black shorts with white
     24    trim, RS31; a gray T-shirt, RS32; a black spade with yellow
     25    handle RS14; black umbrella, RS15; black umbrella, RS16; white


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 802 of 1061 PageID #: 997
  000800                                                                            330
                                People - Wong - Direct/Reeves

      1    rope, RS17; a gray CD player, RS19; CD-ROM, RS19A; black

      2    headphones, RS20; white glove, RS21; white glove, RS22; a swab

      3    22.1 handle of blade; swab 23.1 handle of umbrella; swab 24.1

      4    handle of umbrella; swab 26.1 buttons of CO player; swab 27.1,

      5    rim of CD; swab 28.1, edges of headphone; swab 29.1, wristband

      6    of latex glove; swab 30.1, wristband of latex glove; clear

      7    plastic bottle, RS24; clear glass bottle containing fluid, 24A;

      8    swab 21.1, rigid portion of cap of Gatorade bottle; swab 21.2,

      9    swab of -- side of Gatorade bottle; swab 1.1, from grip of
     10    rifle; swab 1.2 from strap buckle of rifle; swab 1.3 from lever

     11    of rifle; cutting 1.4 from edge of duct tape on rifle; swab 2.1
     12    from head stamp of cartridge; swab 3.1 from base and loading
     13    area of magazine; swab 4.1.1 'from head           head stamps of
     14    cartridge; swab 4.2.1 from head stamps of cartridge; swab 9.1
     15    loader area of firearm magazine; swab 9.2, edges of firearm
     16    magazine; swab 20.1, head stamps of cartridge; swab 20.2, head
     17    stamps of cartridge; and that was the last one.
     18         Q.    Now, out of all the evidence that was submitted, can
     19    you tell us what was analyzed by the Office of Chief Medical
     20    Examiner for DNA?
     21         A.    We looked at the items taken from David Williams, the
     22    blood sample.     And we also looked at the brown coat, RS7; the
     23    black mask from inside the left outside pocket of the long --
     24    brown long coat; the black mask, RS12; the black glove with
     25    yellow trim, RS18; the black leather jacket, RS28; the gray


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    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 803 of 1061 PageID #: 998
      000801                                                                            331
                                   People - Wong - Direct/Reeves

          1    hoodie zip-up sweatshirt, RS8; the black hoodie sweatshirt

          2    pullover, RSll; the black right ankle sneaker boot, RS29; the

          3    black left ankle sneaker boot, RS29A; and the blue jeans, RS30.

          4         Q.     Now, from those items, were you able or was the lab

          5    able to generate any DNA profiles?

          6         A.     Yes.
          7         Q.     And from what items were DNA profiles generated?

          8         A.     A male profile that we labeled Male Donor A was

          9    generated from black mask 1B swabbing and a black mask 2 inside
         10    scrapings.

         11         Q.     Now, Ms. Wong, as part of the examination process,

         12    were color photos taken of several of the items that were
         13    examined?
         14         A.     Yes.
         15         Q.     I am going to hand up to you what's been premarked as

         16    People's 176A through E for identification and ask you if you
         17    recognize these color photos.
         18                Ms. Wong, before we talk about the photos, there are
         19    black-and-white copies of that            of those five photos in the
         20    folder that's been received in evidence as 175B, correct?
         21         A.     Yes.
         22         Q.     Is the only difference between the bnes that have been
         23    received in evidence and the ones I've handed up as 176A
         24    through E for identification the fact that the ones I've just
~
         25    handed to you are in color?


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 804 of 1061 PageID #: 999
  000802                                                                            332
                                People - Wong - Direct/Reeves

      1         A.    Yes.
      2                      MR. REEVES:     Your Honor, I'd offer People's 176A

      3         through E.
      4                      MS. GUASTELLA:     I just have a quick question.

      5                      Ms. Wong, in those photos, the copies of the

      6         mask, it looks like there is a gray mark or so around the

      7         items.   Is that something that was added to the article?

      8                      THE WITNESS:     No.     That was when the analyst
      9         performed the testing on the item, they took a picture of
     10         it and then they circled the picture to demonstrate where
     11         they did the testing.
     12                      MS. GUASTELLA:     So that's something added by the
     13         lab, the actual markings on the -- Okay.           Nothing further.
     14                      THE WITNESS:     Correct.
     15                      THE COURT:     Any objection?
     16                      MS. GUASTELLA:     No.
     17                      THE COURT:     All right, this is 176A through E.
     18         Is that right?
     19                      MR. REEVES:     That's correct.
     20                      THE COURT:     In evidence.
     21                      (Whereupon, People's Exhibits 176A through E are
     22         received in evidence.)
     23                      THE COURT OFFICER:        So marked, your Honor.
     24         Q.    Ms. Wong, I posted 176A.         Could you tell the ladies
     25    and gentlemen of the jury what they're looking at in this


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 805 of 1061 PageID #: 1000
  000803                                                                             333
                                People - Wong - Direct/Reeves

      1     picture?

      2         A.     So, this is a picture that was taken during the

      3     examination of the long brown coat with black and gray lining.

       4         Q.    Now, the top picture is the coat right side out, and

       5    the bottom picture is the coat inside out, correct?

       6        A.     The top picture is from the outside front, and the

       7    bottom picture is the inside rear.

       8        Q.     Thank you.
       9               Ms. Guastella asked you, the defense attorney asked

     10     you questions about the white lines.        Could you explain those

     11     to the ladies and gentlemen of the jury.         What are those?

     12         A.     So, for the testing on these items, we swabbed the
     13     certain areas to determine who might have had contact or who
     14     was wearing the jacket.      So, in instances where, let's say a
     15     jacket or a shirt, we would look in areas where they would rub

     16     against the skin, so that's where your skin cells would most
     17     likely be.    So, the areas that you see circled on the bottom
     18     picture, which is around the neck or the chest area, and the
     19     two cuffs, the left and the right arm, those were the areas
     20     that were swabbed for DNA testing.
     21         Q.     And to your knowledge, was any DNA recovered from
     22     those areas on the brown coat?
     23         A.     There was not enough DNA for -- to do testing.
     24         Q.     Thank you.
     25                I want to draw your attention to the next photo, which


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 806 of 1061 PageID #: 1001
  000804                                                                             334
                                People - Wong - Direct/Reeves

      1     is 176B.     Just tell the ladies and gentlemen what they're

      2     looking at in 176B.

      3         A.      This was the black mask found on -- found from the

      4     outside pocket of the brown coat.

      5         Q.      And in this photo, the white lines, can you explain to

      6     the ladies and gentlemen what the white lines represent?

      7         A.      So, this was exactly the same as the jacket where the

      8     analyst that did the testing swabbed that middle portion of the

       9    mask to try to obtain DNA.

     10         Q.      Now, was the lab successful in generating DNA profile

     11     from that item that was swabbed by the technician?

     12         A.      Yes.
     13         Q.      What I'd like to do is to show you 176C and just ask
     14     you some questions about that.

     15                 Can you tell us what 176C is?
     16         A.      That is a picture of the black mask, RS12.
     17         Q.      That's a different mask than the one we just displayed
     18     as 176B, correct?
     19         A.      That's correct.
     20         Q.      Was any examination done on this particular item?
     21         A.      Yes.
     22         Q.      And can you explain what the white lines on this item
     23     represent?
     24         A.      So, the white lines are the same as from the other
     25     items.     Basically, that was the area that the analyst swabbed


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 807 of 1061 PageID #: 1002
  000805                                                                             335
                                People - Wong - Direct/Reeves

      1     or scraped to try to obtain some DNA.

      2           Q.   And the same question for 176D.       What's that a picture

      3     of?

       4          A.   So, 176C was from the outside of the mask.         176D is

       5    the inside of the mask.

       6          Q.   And was a DNA profile developed from any of the

       7    swabbing taken from the second mask?

      8           A.   Yes.

       9          Q.   Finally, the last picture in this series, 176E, can

     10     you explain to the ladies and gentlemen of the jury what this

     11     is a picture of?

     12           A.   This is the picture of the black glove with the yellow

     13     trim, RS18.

     14           Q.   And the white lines on the photo represent what?

     15           A.   And that was the area that the analyst scraped in
     16     order to try to obtain some DNA.
     17           Q.   And was a DNA profile generated from those scrapings

     18     from the black glove with the yellow stripe?

     19           A.   No.

     20           Q.   Now, Ms. Wong, what I'd like to do is to talk to you
     21     about the second file, 175A.
     22                During the course of the investigation, did the Office

     23     of Chief Medical Examiner's Forensic Biology Unit receive a
     24     known sample of Armand Skrine?
     25           A.   Yes.


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    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 808 of 1061 PageID #: 1003
      000806                                                                             336
                                    People - Wong - Direct/Reeves

          1         Q.    I'm going to hand up to you what's been premarked as

          2     177A through c, and if you could, when the court officer gives

          3     you those pieces of paper, just tell the jury what they are.

          4         A.    They are, basically, a summary of the DNA results

          5     obtained from this case.

          6         Q.    And do those three pieces of paper fairly and

          7     accurately reflect the result of the DNA analysis of the known

          8     sample of Armand Skrine and the unknown samples recovered from

          9     the two masks that are contained in the bench notes received in
         10     evidence as 175A and B?
         11         A.    Yes.
         12         Q.    Ms. Wong, would those three pieces of paper be helpful

         13     to you in explaining to the jury the results of your testing in
         14     this case?
         15         A.    Yes.
         16                      MR. REEVES:    Your Honor, I'd offer People's 177A
         17         through cat this time.
         18                      THE COURT:    Can we have a brief sidebar, please,
         19          just for a moment.
         20                      (Whereupon, a discussion is held at the side bar
         21         off the record. )
         22                      (Whereupon, Tammy Rodriguez replaces Maurizia
         23         Selleck as the official court reporter.)
         24                      (Continued on next page.)
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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 809 of 1061 PageID #: 1004
  000807                                                                             337
                                    Wong - Direct - Reeves

       1        Q.    Ms. Wong, if you take 175 A., note relating to the

       2   buccal swab from the defendant, does it indicate where the swab

       3   was taken?
       4        A.    According to the request for laboratory examination
       5    report provided by the New York City Police Department it states

       6    it's from I/0, mouth/cheek of suspect Armand Skrine.

       7        Q.     Does it indicate the person who took the actual buccal

       8    swabbing from the defendant?
       9        A.     It says -- on the same form it says the evidence
      10    collector was Robin S-T-E-N-E-C-K.

      11        Q.     Detective Steneck?

      12        A.    That would be correct.
      13        Q.     Detective Steneck prepared a voucher for those buccal

      14    swabs?
      15        A.    Yes.

      16        Q.    That voucher was submitted to the OCME for analysis?

      17        A.    Yes.

      18         Q.   Ms. Wong, what I would like to do is redirect your

      19    attention to 177 A. through C, the last question I asked you, I

      20    believe, would those three pieces of paper help you explain to
      21    the ladies and gentlemen of the jury what a DNA profile looks
      22    like?
      23        A.    Yes.
      24                     MR. REEVES:    Your Honor, I would offer People's
      25         177 A. through C. in evidence at this time?


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 810 of 1061 PageID #: 1005
  000808                                                                             338
                                    Wong - Direct - Reeves

       1                      MS. GUASTELLA:   No objection.

       2                      THE COURT:   All right.    177 A. through C. in

       3          evidence.

       4                      (At this time People's Exhibit 177 A through C

       5          were marked and received in evidence.)

       6                      THE COURT OFFICER:     So marked, your Honor.

       7          Q.   Now, Ms. Wong, I would like you to take a look at 177

       8    A. and I've posted for the ladies and gentlemen of the jury.

       9               Tell them what they're looking at?

      10          A.   So before when I was talking about the 15 different

      11    locations that we're looking at on the DNA this is what it would

      12    look like.

      13               So on the left hand column you see on the top it says

      14    loci that basically means the location of the DNA we're looking

      15    at.    So the first row after Loci says D3Sl358 that's the first

      16    location the name of the first location.

      17               VWA is the second and FGA is the third etc., etc ..

      18               On the second column on the right hand side on the top

      19    it says Armand Skrine and underneath that you see a bunch of

      20    numbers that is what a DNA profile looks like.

      21               So before when I had said that the DNA comes from your

      22    mother and your father, so if you look at location D3S1358 you

      23    see two numbers a 15 and 17, so the mother or the father could

      24    have donated a 15 and the other person would have donated the 17

      25    so that goes the same for all of the different locations that


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 811 of 1061 PageID #: 1006
  000809                                                                             339
                                     Wong - Direct - Reeves

       1   you see there.

       2                Now, at the last location on that last row you see
       3    something the location called amelogenin that is the gender

       4    gene.     So basically it's going to tell you if it's a male or

       5    female.    A female would be XX and a male would be XY.

       6        Q.      Thank you.   So what's posted is 177 A. would be the 15

       7    loci DNA profile of Armand Skrine, correct?
       8        A.      Correct.
       9        Q.      Now, what I would like you to do is just explain to

      10    the ladies and gentlemen of the jury you said that you guys exam
      11    the glove, but you weren't able to generate a DNA profile from
      12   the glove.
      13                Can you explain to the ladies and gentlemen why the
      14    absence of DNA from an item like a glove?
      15        A.      So for the glove we scraped inside area where we would
      16   think there would be a lot of DNA.         Unfortunately there was not
      17   enough DNA to continue with our testing.
      18                Remember before I said some of the steps to do DNA
      19   testing, the first thing would be to draw the DNA out of the
      20    item.
      21                The second one would be to quantify it, to figure out
      22   how much DNA is there.       At that stage we were not able to get
      23   the minimum amount of DNA obtained in order to continue testing
      24   to obtain a DNA profile.
      25        Q.      Can you tell us where in the human body can we get DNA


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 812 of 1061 PageID #: 1007
  000810                                                                              340
                                    Wong - Direct - Reeves

       1    from?
       2         A.    You can get it from practically anywhere in the body.

       3         Q.    Now, you did have a chance to test the two masks.             I'd

       4    like to ask you did you have an opportunity if you take a look

       5    at 177 B., did you have an opportunity to generate a DNA profile

       6    from the unknown scrapings from the mask that was called mask 1?
       7         A.    Yes.

       8                      THE COURT:     What's mask 1?

       9                      MR. REEVES:     Can you tell the Court which one it

      10         was the one in the pocket, or the one in the duffel bag?

      11         A.    Mask 1 B was from the inside -- left outside pocket of

      12    the brown long coat.

      13         Q.    So just to differentiate between the two the lab

      14    called that mask l?
      15                      THE COURT:     I think the witness said 1 B., is
      16         that right?
      17                      THE WITNESS:     Correct.

      18         Q.    Now, were you able to generate a profile, a DNA

      19    profile from mask 1 B?
      20         A.    Yes.
      21         Q.   What I posted on 177 B., how does that compare to the
      22    known DNA profile of Armand Skrine?
      23         A.   As you can see from the chart Armand Skrine's profile,
      24    DNA profile is on the second column.          We're going to compare the
      25    numbers between the second column and the DNA profile obtained


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 813 of 1061 PageID #: 1008
  000811                                                                             341
                                    Wong - Direct - Reeves

       1   from the mask lB. and the numbers are the same.

       2        Q.    Finally, if I can draw your attention to 177 C., that

       3   was designated mask 2 inside scrapings?

       4        A.    Correct.

       5        Q.    And can you tell us were you able to generate DNA

       6   profile from that item?

       7        A.    Yes.

       8        Q.    Can you explain the findings to the ladies and

       9   gentlemen of the jury?

      10        A.    So if you're looking at the DNA profile for mask 2 is

      11   on the last column on the right.          So the numbers are exactly the

      12   same as before with the exception of location FGA as well as for

      13    four other locations.

      14              What this generally means is there wasn't enough DNA

      15    to obtain a full DNA profile.

      16        Q.    Now the profile from the two unknown samples from the

      17    two masks was that a single source of DNA or a mixture of DNA?

      18        A.    There were single source.

      19        Q.    Can you explain what that means?

      20        A.    So for evidence that we tried to do DNA testing on we

      21   were able to obtain either single source, which means only one

      22   person donated to that sample or a mixture, which means that

      23   more than one person was found on that sample.
      24        Q.    Now, Ms. Wong, once you generate a DNA profile on the

      25   15 loci of somebody's DNA, is there any way to tell how rare or


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 814 of 1061 PageID #: 1009
  000812                                                                             342
                                    Wong - Direct - Reeves

       1   how common that is in the general population?
       2        A.    Yes.

       3        Q.    What's that called?

       4        A.    We use our population statistics in order to figure

       5   out how rare the profile is.

       6        Q.    Are you familiar with random match probability?
       7        A.    Yes.

       8        Q.    Does that play to help calculate how rare or how

       9    common some profiles can be?

      10        A.    That's the formula that we use in order to figure out

      11   our calculations.

      12        Q.    Can you explain to the ladies and gentlemen how random

      13   match probability works?

      14        A.    So basically all those numbers from the DNA chart that
      15    you see over there we calculate how frequent we see that number
      16    in the general population.
      17              Once we see how frequent that is we multiply all of

      18    those numbers and all of those frequencies in order to figure

      19    out the -- how often we'll see it in the population.
      20              So think of it like a lottery system.         If 1 comes out
      21   of the lottery it's 1 in 52 chances because there's 52 numbers.
      22   The next time that you draw from it that's another 1 in 52
      23   chances and etc., etc. until we have 15 different locations and
      24   we have two DNA alleles or those numbers are called alleles
      25   different variations of DNA.


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 815 of 1061 PageID #: 1010
  000813                                                                               343
                                    Wong - Direct - Reeves

       1              So it's 15 locations times 2 per location.          It 1 s the

       2    frequency of each of those DNA that we're comparing to come up

       3   with those numbers.
       4        Q.    Could you calculate the random match probability for

       5   either of the two unknown samples in relationship to Armand

       6   Skrine?
       7        A.    Yes.

       8        Q.    What did you come up with?

       9        A.    The DNA profile is expected to be found in one in

      10   greater than 6.8 trillion people.

      11        Q.    Can you give the jury an idea how that compares to the

      12   current population?
      13        A.    So the current population of earth is about 6.8
      14   billion to 7 billion, so we would expect to see this profile

      15    once in approximately a hundred planet earths.

      16        Q.    The last question that I have for you to a reasonable
      17   degree of scientific certainty, can you tell me who the donor of
      18    the two unknown samples from the two masks are?

      19        A.    Armand Skrine is the donor to those two mask samples.
      20        Q.    Thank you.    No further questions.
      21                     MR. REEVES:   Thank you, your Honor.
      22   CROSS-EXAMINATION
      23    BY MS. GUASTELLA:
      24        Q.    You can't tell the last time the donor wore those two
      25   masks?


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    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 816 of 1061 PageID #: 1011
      000814                                                                             344
                                        Wong - Direct - Reeves

           1        A.    No.   We can't tell the timeframe of when the DNA was

           2   deposited on the item.

           3        Q.    Could have been a year ago, correct?

           4        A.    That's possible.

           5                    MS. GUASTELLA:        Thank you.

           6                    THE COURT:    Anything else?

           7                    MR. REEVES:     No.     Thank you, your Honor.

           8                    THE COURT:    Ms. Wong, thank you you're excused.

           9        You're free to step out.

          10                    I understand that we're done for the day.
          11                    MR. REEVES:    That is correct.
          12                    THE COURT:    We'll resume tomorrow at 10 a.m.

          13                    MR. REEVES:    Yes.

          14                    THE COURT:    Okay.        We'll resume tomorrow at

          15        10:00, members of the jury, have a good evening.

          16                    Abide by the rules.          Don't discuss the case.
          17        Leave your notebooks.

          18                     (At this time the jury is excused from the
          19        courtroom. }

          20                    I guess we're talking about Dr. DeRoux that's it
          21         for you.
          22                    MR. REEVES:    Yes.

          23                    THE COURT:    We had a side-bar regarding the
          24        source of the known DNA sample from Mr. Skrine.
~
          25                    We discussed the fact that it was taken by a


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    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 817 of 1061 PageID #: 1012
      000815                                                                             345
                                        Wong - Direct - Reeves

           1        detective in the precinct and apparently it was Detective

           2        Steneck.    Defense counsel suggested maybe the DA could ask

           3         that question in an effort to reveal the source and he did.

           4                    So are we done with that issue?

           5                    MS. GUASTELLA:     What would have happened is I

           6        would have objected, you would have had them call the

           7        witness in.     The witness would have said the swab, she would

           8        have come back and wasted everybody's time.          Because of that

           9         I was satisfied with the way it came out.

          10                    I have an issue.     There was may be I was mistaken

          11         to assume the People would have testified to the lab report

          12         that there was no residue consistent with discharge of

~         13         firearm with the glove that was recovered.

          14                    THE COURT:    I didn't hear you.      No discharge?

          15                    MS. GUASTELLA:     There's a report that I have that

          16        was taken from the criminal section of NYPD, that laboratory

          17         results -- that there was no residue consistent with a

          18        discharge of a firearm from the glove.

          19                    THE COURT:    The glove that was recovered in the

          20        duffel bag?

          21                    MS. GUASTELLA:     Yes.

          22                    THE COURT:    All right.    What do you want me to
          23        do?
          24                    MS. GUASTELLA:     I ask that the People make this

          25        person available.


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    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 818 of 1061 PageID #: 1013
      000816                                                                             346
                                        Wong - Direct - Reeves

           1                    THE COURT:    You can do that or stipulate.        I

           2        don't know if that's a big issue.         I'm not litigating, so I

           3        don't have your prospective.

           4                    A stipulation might be the easiest way to do it,

           5        but I'll leave it up to you.

           6                    You're talking about somebody from the lab?

           7                    MS. GUASTELLA:     Jean Columbo.

           8                    MR. REEVES:     I haven't spoken to Ms. Columbo.         We

           9        had no intention of calling her.        She was not on the witness

          10        list, or the names of witnesses to be mentioned.

          11                    I'll check to see if she's available.         Counsel

          12        can always obtain her.       I'll make it easier.
          13                    THE COURT:    You can expedite it if she's

          14        available, and not retired or on vacation.
          15                    You could subpoena her, or as I suggested may be

          16        you can reach a stipulation.         I don't know how important it

          17        is.   That's not my call.      Do what you can.
          18                    MS. GUASTELLA:     Are there any other documents
          19        that the People have that indicate other tests that were

          20        done with gunshot residue tests any other items?
          21                    MS. CILIA:    Not to our knowledge, no.       I believe
          22        that by the time they would have been able to do that too
          23        much time had gone by and therefore they didn't do it.
          24                    THE COURT:    If they finish up with Dr. DeRoux
~         25        tomorrow, which I said 10 a.m. that means we'll start at


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 819 of 1061 PageID #: 1014
  000817                                                                             347
                                     Wong - Direct - Reeves

       1         10:30, which means we'll probably be done with the ME by

       2         11:30, what are we going to do with the rest of the day.

       3         Ms. Guastella?
       4                      MS. GUASTELLA:   I indicated this morning my

       5         witness is available Monday morning.

       6                      THE COURT:   If you have any other witnesses then
       7         I would ask you to consider utilizing them tomorrow.

       8                      I hate to send the jury home at 11:30 in the

       9         morning.
      10                      MS. GUASTELLA:   We may have Ms. Columbo as a

      11         witness.
      12                      THE COURT:   Are you putting your client on the
      13         stand?

      14                      MS. GUASTELLA:   We're still discussing it, Judge.

      15         I'm hoping to know by tomorrow afternoon.
      16                      THE COURT:   Well, maybe tomorrow by noon.       I'm
      17         not trying to put you in a corner, but we're going to have a

      18         whole day tomorrow if your client is going to testify

      19                      MS. GUASTELLA:   I'm going to put him on after his
      20         father testifies.
      21                      THE COURT:   Well get his father in tomorrow.
      22                      MS. GUASTELLA:   I can't.    He has three jobs he
      23         couldn't take off tomorrow.
      24                      THE COURT:   It seems to me this is very
      25         important.


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 820 of 1061 PageID #: 1015
  000818                                                                             348
                                    Wong - Direct - Reeves

       1                    MS. GUASTELLA:     I initially told him Wednesday.

       2         I thought we would finish later on in the week.

       3                    MR. REEVES:     I am going to ask for an offer of

       4        proof as to the father -- it doesn't seem to me that there's

       5         anything relevant.

       6                    THE COURT:    That sounds like a good idea.        We had

       7         a brief bench conference earlier.       Ms. Guastella said he was

       8        background.     I asked if he was a character witness and she

       9        said no.

      10                    Background is a little obscure.        I know you're

      11         reluctant to disclose your defense if you have a formal one

      12        or maybe you're relying on proof beyond a reasonable doubt

      13         I'm not sure, but can you give us an offer of proof.

      14                    MS. GUASTELLA:     He'll testify as to background

      15        that means he knows his son went to college, went to law

      16        school, whether he graduated or not, where he was living on

      17         December 7, 2011, what his situations were.

      18                    MR. REEVES:     None of that is relevant.

      19                    THE COURT:    At this point I don't think it is.

      20                    MS. GUASTELLA:     Of coarse it is.     People are
      21        going to a allege that he took the ferry and bus over to

      22        Staten Island.     What if he was living in New Jersey.

      23                    THE COURT:    They haven't alleged or proven

      24        specifically where he lives.         I think Ms. Hunt testified
      25        that she thought he lived in Queens.


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 821 of 1061 PageID #: 1016
  000819                                                                             349
                                    Wong - Direct - Reeves

       1                    MR. REEVES:    That would be an alibi.       We have no

       2        alibi notice.

       3                    THE COURT:    Are you talking about alibi?

       4                    MS. GUASTELLA:     I'm not.

       5                    MR. REEVES:    Where he lives is irrelevant.

       6                    MS. GUASTELLA:     Of course, it is.     They're going

       7         to say he came over from Queens on the ferry, the ferry to

       8         the train, to the bus, and came to Staten Island to execute

       9         David Williams.     Perhaps he was living in New Jersey at the

      10         time.

      11                    THE COURT:    Mr. Skrine will testify he was living

      12        where?

      13                    MS. GUASTELLA:     I'm not saying that's where he

      14        was living.     The father will provide information as to where

      15        Mr. Skrine was living at the time that the People say, in

      16         the general time People say he committed this crime.

      17                    MR. REEVES:     That's irrelevant.

      18                    MS. GUASTELLA:     No.   It's not it would disprove

      19         that he was on the ferry and train.
      20                    THE COURT:    Where?

      21                    MS. GUASTELLA:     I don't know, Judge.      I'll speak

      22         to the father a little bit more.

      23                    THE COURT:    Talk to me tomorrow.      It seems to me
      24         if you wanted to call your client's father to say where he
      25        was living at the time in question I would probably permit


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 822 of 1061 PageID #: 1017
  000820                                                                             350
                                    Wong - Direct - Reeves

       1         that.    Arguably that is relevant given the ferry video.

       2         Beyond that, I'm not sure that you can ask about your

       3         client's background and so on.

       4                     I mean I think that the DA is right when he says

       5         that's not relevant.      I think where he was living, if the

       6         father could say that probably is, given the People's proof.

       7         Beyond that I'm not sure.

       8                     You can always call him as a character witness,

       9         but I don't think that's what you want to do although you
      10         could.

      11                     In terms of bringing out your client's background

      12         and so on, I don't know that I can permit him to do that.

      13                     MS. GUASTELLA:    I'm assuming if he was a
      14         character witness possibly at this time I'm going to ask for
      15         a motion in limine as to that if the father or Mr. Skrine

      16         was to testify as to character would that be opening up the
      17         door to the uncharged crime.

      18                     THE COURT:    Which uncharged crime?
      19                     MS. GUASTELLA:    The one in Queens.
      20                     THE COURT:    I didn't know what that is.       We're
      21         talking about that?
      22                     MS. GUASTELLA:    The incident in Queens the People
      23         tried to get it through Sandoval.
      24                     THE COURT:    Some kind of controlled substance.
      25                     MR. REEVES:    It was an assault.


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 823 of 1061 PageID #: 1018
  000821                                                                             351
                                    Wong - Direct - Reeves

       1                     MS. GUASTELLA:    It was not charged.      Mr. Skrine

       2        was not arrested.      Upon information and believe that

       3         complainant in that case is not going to proceed and never

       4        did want to proceed and, in fact, the detectives couldn't

       5         get him to come in.

       6                     THE COURT:    If you put your client 1 s peacefulness

       7         the character trait in evidence -- you can read Richardson's

       8         as well as I, that might open the door with regard to cross

       9         examination regarding prior acts of violence, but I don't
      10        want to give you a ruling because I haven't heard anything

      11         specific.    You can read Richardson 1 s as well as I.

      12                     If you did make him a character witness, I don't
      13         think that would be out of the realm of possibility, you

      14        might be able to go into that or I'll talk to you tomorrow.
      15        Think about it.      You can't get the father in tomorrow.
      16                     MS. GUASTELLA:    No.   I can't get the father in
      17         tomorrow, no.
      18                     THE COURT:   Well, think about it.      If your client
      19         is going to testify what 1 s wrong with tomorrow?

      20                     MS. GUASTELLA:    I'm not going to put him on
      21        tomorrow.     I'm going to spend time with him on Riker's
      22         Island this weekend, and prepare him for his defense.           I 1m
      23        not going to put him on tomorrow afternoon.
      24                     THE COURT:   Do you anticipate any other witnesses
      25        perhaps your client and possibly his father?


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 824 of 1061 PageID #: 1019
  000822                                                                             352
                                    Wong - Direct - Reeves

       1                    MS. GUASTELLA:     No.

       2                    THE COURT:    Okay.        I'll see you at 10:00.   We'll

       3        talk again and we'll work out scheduling.

       4                    MS. GUASTELLA:     The only issues unresolved are

       5        they going to make her available, or do I have to subpoena

       6        her?

       7                    THE COURT:    I heard Mr. Reeves say that he was

       8        going to look into it.

       9                    If you can it's 4 o'clock, Mr. Reeves, perhaps

      10        you can make a phone call expedite this or if you can reach

      11        a stipulation great, if not, I'll sign a subpoena.
      12                    I don't know if it's an important issue, but I'm

      13        not necessarily the best gauge of that, so I'll certainly

      14        sign a subpoena for the technician of the lab if she's still

      15        there and available.      All right.       Thank you.

      16                     Certified to be true and accurate.
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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 825 of 1061 PageID #: 1020
  000823




           SUPREME COURT OF THE STATE OF NEW YORK
           COUNTY OF RICHMOND - CRIMINAL TERM - PART 5
           --------------------------------------x
           THE PEOPLE OF THE STATE OF NEW YORK                  INDICTMENT NO.
                                                                454/2011

                          -against-


           ARMAND SKRINE,

                                                                JURY TRIAL
                                             Defendant.          (Continued}
           --------------------------------------x
           (Dr.    deRoux)                   18 Richmond Terrace
                                             Staten Island, New York
                                             March 7, 2014


           BEFORE:

                  HONORABLE STEPHEN J. ROONEY, Justice.




           APPEARANCES:

                  DANIEL DONOVAN, ESQ.
                  District Attorney - Richmond County
                       130 Stuyvesant Place
                       Staten Island, N.Y. 10301
                  BY:  KYLE REEVES, ESQ.,
                       JENNIFER CILIA, ESQ.,
                       Assistant District Attorneys

                  MARIA GUASTELLA, ESQ.
                  Attorney for the Defendant
                       88 New Dorp Plaza
                       Staten Island, N. Y. 10306




                                                     MAURIZIA M. SELLECK
                                                     SENIOR COURT REPORTER


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 826 of 1061 PageID #: 1021
  000824                                                                             354
                                           Proceedings

      1                      THE COURT CLERK:       Case on trial continues,
      2           calendar number 2: Armand Skrine.

      3                      THE COURT:    Ready?

      4                      MS. GUASTELLA:       Yes.

      5                      MS. CILIA:    Yes.
      6                      THE COURT:    I saw Dr. deRoux.        We can line up the
      7           jury.
      8                      THE COURT OFFICER:          Your Honor ready for the
      9           jury?
     10                      THE COURT:    Yes.
     11                      THE COURT OFFICER:          Jury entering.
     12                      (Whereupon, the jury enters the courtroom.)
     13                      THE COURT CLERK:       Do both sides stipulate to a
     14           complete jury panel, properly seated?
     15                      People?
     16                      MS. CILIA:    Yes.
     17                      THE COURT CLERK:       Defense?
     18                      MS. GUASTELLA:       So stipulated.
     19                      THE COURT:    Good morning.        Welcome back.
     20                      Next witness, please.
     21                      MR. REEVES:    People call Dr. Stephen deRoux.
     22     DR.      S T E P H E N     de Ro u X, having been called as a
     23           witness on behalf of the People, having been duly sworn by
     24           the clerk of the court, was examined and testified as
     25           follows:


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 827 of 1061 PageID #: 1022
  000825                                                                             355
                             People - Dr. deRoux - Direct/Reeves

      1                      THE COURT CLERK:       State your name and affiliation

      2         for the record, please.

      3                      THE WITNESS:     Stephen deRoux, Office of Chief

      4         Medical Examiner, New York City.
      5                      MR. REEVES:     May I inquire, your Honor?

      6                      THE COURT:     Yes.
      7                      MR. REEVES:     Thank you.

      8     DIRECT EXAMINATION
      9     BY MR. REEVES:

     10         Q.    Good morning, Dr. deRoux.          How are you?
     11         A.    I'm good, thank you.
     12         Q.    Would you start off by telling the ladies and

     13     gentlemen of the jury how long you've been with the Office of

     14     Chief Medical Examiner.
     15         A.    More than 21 years.
     16         Q.    And, Dr. deRoux, what position do you hold with the
     17     Office of Chief Medical Examiner now?
     18         A.    I'm currently Deputy Chief Medical Examiner in charge
     19     of Staten Island, or Richmond County.
     20         Q.    And would you explain to the jury a little bit about
     21     your educational background.
     22         A.    I went to medical school at University of the West
     23     Indies, that's in Kingston, Jamaica.           Following graduation from
     24    medical school, I worked for the Jamaican government in
     25    multiple medical specialties for about three and a half years.


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 828 of 1061 PageID #: 1023
  000826                                                                             356
                             People - Dr. deRoux - Direct/Reeves

      1     I then moved to United States and did three years of training

      2     in general surgery.     That was followed by three years of

      3     training in anatomical pathology which was followed by one year

      4     of training in forensic pathology.

      5         Q.    And, Doctor, would you explain to the ladies and

      6     gentlemen what anatomical pathology and forensic pathology are.

      7         A.    Anatomic pathology is primarily a hospital-based

      8     laboratory specialty where we diagnose disease primarily using

      9     a microscope.    Forensic pathology is a specialized branch of
     10     anatomic pathology where we investigate the cause of death and
     11    manner of death in people who die under violent, unexplained,

     12     or suspicious circumstances.       This is primarily done by field

     13     investigation and conducting autopsy.
     14         Q.    And, Dr. deRoux, are you licensed to practice medicine
     15     here in New York?
     16         A.    Yes.
     17         Q.    Can you tell us a little bit about the duties and
     18     responsibilities of a medical examiner here in Staten Island?
     19         A.    The main function of medical examiner, like I said, is
     20     to determine the cause of death and manner of death in these
     21    people who die under violent, unexplained, or suspicious
     22     circumstances.
     23         Q.    Dr. deRoux, what is an autopsy?
     24         A.    An autopsy is where you examine the body of a deceased
     25    person.    We generally start by doing an external examination of


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 829 of 1061 PageID #: 1024
  000827                                                                             357
                             People - Dr. deRoux - Direct/Reeves

      1     the body, looking for diseases and injuries.          We measure height

      2     and weight of the body.      This is then followed by multiple

      3     incisions in the body where we remove all the internal organs

      4     and dissect them, again, primarily looking for disease

      5     processes and injuries.

      6         Q.    Doctor, during the course of your medical career, can

      7     you tell the jury the number of autopsies that you've

      8     personally performed?
      9         A.    I've done more than 4,000.
     10         Q.    And can you tell us the number of autopsies that you

     11     observed other doctors in your presence perform?

     12         A.    Several thousand.

     13         Q.    Doctor, have you testified in court before today?
     14         A.    I didn't hear the question, sorry.
     15         Q.    Have you testified in a court of law before today?

     16         A.    Yes.
     17         Q.    Approximately how many times have you testified?
     18         A.    More than 350 times.
     19         Q.    And, Dr. deRoux, in 350 times you've testified in
     20     court, have you been qualified as an expert in the field of
     21     forensic pathology?
     22         A.    Yes.
     23         Q.    Has any court denied you title of expert in that
     24     field?
     25         A.    No.


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 830 of 1061 PageID #: 1025
  000828                                                                             358
                            People - Dr. deRoux - Direct/Reeves

      1                     MR. REEVES:    Your Honor, I would offer Dr. deRoux

      2         as an expert in the field of Forensic Pathology.

      3                     MS. GUASTELLA:     No objection.

      4                     THE COURT:    All right, the doctor is recognized

      5         as an expert in Forensic Pathology.

      6         Q.     Dr. deRoux, before we talk about the specific case,

      7     I'd like you to tell the jury what the following terms mean the

      8     way you would use them as a forensic pathologist?

      9                Would you explain to the jury what the manner and
     10     cause of death is.
     11         A.     The cause of death is a disease or injury or a

     12     combination of those which lead to the final cause of death.

     13     So, it's whatever starts a lethal sequence of events in someone
     14    dying.     And manner of death explains how the cause arose.          And
     15     for purposes of death certification, on a death certificate we

     16     are allowed certain choices.       We are allowed to put either
     17     natural, homicide, suicide, accident, or undetermined.
     18         Q.     Dr. deRoux, would you explain to the ladies and
     19     gentlemen what an abrasion, a laceration, and blunt force
     20     trauma is?
     21         A.     Blunt force trauma is caused by any sort of blunt
     22     instrument that either impacts a body or the body impacts
     23     itself.   A laceration is a wound caused by blunt trauma where
     24     the skin will split open.      And an abrasion is where you have an
     25    outer layer of skin rubbed off by some sort of blunt trauma.


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 831 of 1061 PageID #: 1026
  000829                                                                             359
                               People - Dr. deRoux - Direct/Reeves

      1         Q.      And, Dr. deRoux, I'd like to focus your attention on

      2     an autopsy that was performed on December 9, 2011, on a person

      3     identified as David Williams.       Each time an autopsy is done in

       4    the City of New York, is it given a unique and specific number?

      5         A.      Yes.
       6        Q.      And is a report written and filed with the Office of

      7     Chief Medical Examiner related to the findings of the autopsy?

       8        A.      Yes.
       9        Q.      What was the number assigned the autopsy of David
     10     Williams?

     11         A.      Rll1292.
     12         Q.      And, Doctor, what I am going to do is hand up to you
     13     what's been premarked as People's 178 for identification, and
     14     I'd ask you to take a look at that.        And just tell the ladies
     15     and gentlemen of the jury if you recognize that document.

     16         A.      Yes.
     17         Q.      Dr. deRoux, what is that?
     18         A.      This is a copy of the files for David Williams,
     19     including my final autopsy report.
     20         Q.      And do those documents fairly and accurately cover all
     21     the documents that were prepared during the course of autopsy
     22     relating to the investigation into the death of David Williams?
     23         A.      Yes.
     24         Q.      Now, does the autopsy report that's included in that
     25     set of documents also bear your signature?


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 832 of 1061 PageID #: 1027
  000830                                                                              360
                             People - Dr. deRoux - Direct/Reeves

      1         A.    Yes.

      2         Q.    And when did you sign off on the autopsy report?           Do

      3     you recall the date?
      4         A.    December 14, 2011.

      5                      MR. REEVES:    Your Honor, I would offer People's

      6         178 in evidence at this time.

      7                      MS. GUASTELLA:    No objection.

      8                      THE COURT:    Okay, 178 is marked in evidence.

      9                      (Whereupon, People's Exhibit 178 is received in

     10         evidence.)

     11                      THE COURT OFFICER:      So marked, your Honor.

     12         Q.    Doctor, who performed the autopsy on the body of

     13     David Williams?
     14         A.    I did.
     15         Q.    During the course of autopsy, did you or any member of

     16     the Office of Chief Medical Examiner take photographs of the
     17     wounds on David Williams --
     18         A.    Yes.
     19         Q.    -- either before or during the autopsy?

     20         A.    Yes.
     21         Q.    I am going to hand up to you what have been premarked
     22     as People's 179A through M, as in Mary, for identification.
     23               Dr. deRoux, if you can take a look at those photos.
     24     Do you recognize those as photos that were taken during autopsy
     25     of Mr. Williams on December 9, 2011?


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 833 of 1061 PageID #: 1028
  000831                                                                             361
                             People - Dr. deRoux - Direct/Reeves

      1         A.    Yes.
      2         Q.    Do those photographs accurately show the wounds that

      3     you observed on Mr. Williams at the time of autopsy?
      4         A.    Yes.
      5                      MR. REEVES:     I'd offer them in evidence as

      6          People's 179A through M, your Honor.
      7                      MS. GUASTELLA:     Doctor, the injuries that are
      8          reflected in the photos are also in your report, correct?

       9                     THE WITNESS:     Yes.
     10                      MS. GUASTELLA:     Judge, I'm going to object.

     11                      THE COURT:     May I see them, please.
     12                      (Handing.)
     13                      THE COURT:     All right.    I've reviewed the photos.
     14          I think the foundation is sufficient, so I'll mark them
     15         into evidence 179A through M.
     16                      (Whereupon, People's Exhibits 179A through Mare
     17          received in evidence.)
     18                      THE COURT OFFICER:       So marked, your Honor.
     19         Q.    Doctor, before we talk about the injuries to
     20     Mr. Williams, at autopsy did you have an opportunity to measure
     21     the height and weight of Mr. Williams at the time of his death?
     22         A.    Yes.
     23         Q.    What was his height?
     24         A.    He was 70 inches, or 5-foot-10, and 138 pounds.
     25         Q.    I'm sorry, how much did he weigh?


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 834 of 1061 PageID #: 1029
  000832                                                                             362
                             People - Dr. deRoux - Direct/Reeves

      1         A.    138 pounds.
      2         Q.    Thank you.
      3               Was Mr. Williams clothed or unclothed when he was

      4     received at the morgue?

      5         A.    He was wearing clothing.

      6         Q.    Was there any evidence of medical intervention when he
      7     was received at the morgue?
      8         A.    No.
      9         Q.    Prior to or during the time of autopsy, did a

     10     medical/legal investigator furnish you with any evidence from

     11     the scene relating to Mr. Williams' death?
     12         A.    Yes.
     13         Q.    What was furnished?
     14         A.    The medical/legal investigator provide the report of

     15     what he saw when he went to the scene.
     16         Q.    Did he also physically bring you anything that was
     17     recovered from the scene relating to Mr. Williams' body?
     18         A.    Aside from sending the body itself, he recovered some
     19     fragments of skull at the scene which he put in a bag and sent
     20     along with the body.
     21         Q.    I am going to show you People's 179A and just ask you
     22     what that is.
     23         A.    Those are multiple fragments of skull.
     24         Q.    Those were received from the medical/legal
     25     investigator from your office?


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 835 of 1061 PageID #: 1030
  000833                                                                             363
                             People - Dr. deRoux - Direct/Reeves

      1         A.    Yes.

      2         Q.    Now, what I'd like to do is ask you, did you see any

      3     injuries on Mr. Williams at the time of autopsy?

      4         A.    Yes.

      5         Q.    And can you tell us or describe for us where those

      6     injuries were.
      7         A.    He had an entry gunshot wound of the left side of the

      8     head, behind the left ear, and he had an exit wound at the top

      9     of his head, going from his eyebrow area to the top of his

     10     head, which was a big gaping wound with brain visible.

     11               He had a second gunshot wound that went through his

     12     right arm.    It then exited the right arm and entered the right

     13     side of the chest.     It went through his chest, going through

     14     the right lung, the heart, the left lung, and exiting the left

     15     side of the chest, and then went through his left arm and

     16     exited the left arm.
     17         Q.    Dr. deRoux, I want to talk to you about the injuries
     18     to Mr. Williams' head.      I'm going to show you 179B.       Can you

     19     show us on that photograph where the entry wound was?

     20         A.    How do I show it?
     21         Q.    I'm sorry?

     22         A.    How do I show it?      Using this?
     23         Q.    Yes.   You have the same photo in front of you.
     24         A.    This is the same photograph.         And just behind the left
     25     ear, in the back of the head, there is an entry gunshot wound.


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 836 of 1061 PageID #: 1031
  000834                                                                             364
                               People - Dr. deRoux - Direct/Reeves

      1         Q.      Where is the exit wound?

      2         A.     The exit wound is at the top of the head.         It extended

      3     from the right eyebrow to the top of the head.

      4         Q.      I am going to show you 179C.      What is that a

      5     photograph of?

      6         A.      That's a close-up of the entry gunshot wound on the

      7     left side of the head.

      8         Q.      Doctor, are you familiar with the term "stippling"?

      9         A.      Yes.

     10         Q.      Just explain to the ladies and gentlemen what

     11     stippling is.

     12         A.      Whenever a firearm is discharged, there are a number

     13     of things that go on in the barrel of the gun.          You are going
     14     to have a projectile, or bullet.         Shell casings contain gun

     15     powder.    When the weapon is fired, the gun powder catches on

     16     fire.     Now, most of the gun powder will catch on fire and burn
     17     completely, forming soot.      Some of the gun powder never ever
     18     catches on fire.      So, the gun powder that never ever catches on
     19     fire still goes down the muzzle of the gun and exits the muzzle
     20     of the gun and goes through the air.        When those unburnt
     21     fragments of gun powder strikes the skin, it leaves a
     22     characteristic pattern of abrasions, which we call stippling.
     23         Q.      Now, Dr. deRoux, does the presence of stippling or the
     24     absence of stippling assist you as a medical examiner in
     25     determining the distance the muzzle of the gun was from the


                                               MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 837 of 1061 PageID #: 1032
  000835                                                                             365
                             People - Dr. deRoux - Direct/Reeves

       1    victim at the time a shot was fired?

       2        A.     It can, yes.

       3         Q.    Now, did you see any stippling around the wound that's

       4    on the screen now?

       5        A.     No.

       6         Q.    Does that give you any indication as to how close or

       7    how far the muzzle of the weapon would have been from
       8    Mr. Williams at the time that shot was inflicted?
       9         A.    It would depend on the test-firing of that weapon.

     10     Since it was a high-powered weapon, I'm not sure how far the

     11     unburnt gun powder would travel from a high-powered weapon.
     12          Q.    And, Dr. deRoux, can you describe for us the path that

     13     the bullet from this particular shot traveled through
     14     Mr. Williams' head?
     15         A.     It went from left to right, back to front, and
     16     upwards.
     17          Q.    Now, when you use those directions, what position do
     18     you assume the body to be in?
     19         A.     We describe these directions based on the body in the
     20     anatomical position.      The anatomical position is a body
     21     standing erect, head facing forward, arms at the side, palms
     22     facing forward.
     23         Q.     And, Dr. deRoux, do you have an opinion to a
     24     reasonable degree of medical certainty what impact this wound
     25     would have had on Mr. Williams' immediate ability to function?


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 838 of 1061 PageID #: 1033
  000836                                                                             366
                             People - Dr. deRoux - Direct/Reeves

      1         A.    That would cause immediate death, instantaneous death.

      2         Q.    Dr. deRoux, I'm going to talk to you about the second

      3    gunshot wound to the arms and the chest, and to do that I'm

      4    going to show you the next photo, which is People's 1790.

      5               Before we talk about the gunshot wound, however, I'd

      6     like to talk to you about a wound on the upper right shoulder

      7    of Mr. Williams that is visible in this picture.           Can you tell

      8     us what that is?

      9         A.    Those are three abrasions.

     10         Q.    And do you have any opinion as to how recent those

     11     abrasions were?
     12         A.    Those are all fresh abrasions.        They happened around

     13     the time of death.
     14         Q.    Would you explain to the jury why that's your opinion.

     15         A.    Because there is no evidence of it healing.          There is

     16     no evidence of scab formation or anything like that.           That's a
     17     fresh wound.
     18         Q.    Now, Doctor, in this particular photo, which is 179D,

     19     is the gunshot wound to the right arm visible?
     20         A.    Yes.
     21         Q.    Can you use a picture you have in front of you to show
     22     the ladies and gentlemen of the jury where the right arm
     23     entrance wound is.
     24         A.     (Indicating.)
     25         Q.    Thank you, Dr. deRoux.


                                               MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 839 of 1061 PageID #: 1034
  000837                                                                             367
                             People - Dr. deRoux - Direct/Reeves

      1                      MR. REEVES:   Could I hand up a marker to the

      2         doctor and ask him to mark that "ENT" for entrance.

      3                      (Handing.)

      4         Q.    And that's on People's 179D.

      5         A.     (Indicating.)

      6         Q.    Doctor, can you explain to the ladies and gentlemen,

      7     how do you, as a medical examiner, tell the difference between

      8     an entrance gunshot wound and an exit gunshot wound?
      9         A.    There are several things that we use, but as a general

     10     rule, entry wound is smaller than the exit wound.          As a general

     11     rule, entry wound tends to be fairly neat and round and also
     12     tends to have what we call an abrasion margin around it.
     13     Whereas, a general rule, the exit wound tends to be larger,
     14    more irregular, and do not have an abrasion margin.
     15         Q.    And, Doctor, put up 179E.       Can you take a look at that
     16     and tell us what it is.
     17         A.    That's just a close-up of the entry gunshot wound of
     18     the right arm.
     19         Q.    Thank you.
     20               Now, can you describe for us the path that this bullet
     21     took through Mr. Williams' body?
     22         A.    It went from right to left without any significant
     23     vertical or horizontal deviation.
     24         Q.    I'm going to show you 178 -- I'm sorry -- 179F.
     25    What's that a picture of?


                                               MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 840 of 1061 PageID #: 1035
  000838                                                                             368
                                People - Dr. deRoux - Direct/Reeves

      1         A.      That shows the entry gunshot wound to the right arm,

      2     and also the reentry of the right chest.

      3         Q.      What damage was done to Mr. Williams' right arm as a

      4     result of this gunshot wound?

      5         A.      Nothing significant, just went through the muscles.

      6     There were no bone injuries and no significant vascular

      7     injuries.

      8         Q.      Doctor, when the bullet entered the chest cavity on

      9     the right side of Mr. Williams, what was struck in his chest

     10     cavity by this particular bullet?

     11         A.      It went through his right lung, his heart, and his

     12     left lung.
     13         Q.      Now, I am going to show you the next photo, which is

     14     179G.    What does that show?

     15         A.      I'm not quite sure.    I can't really orient it.

     16         Q.      Okay.    I am going to skip to 179H.     Does that now
     17     orient you?
     18         A.      Yes.
     19         Q.      What are we looking at in 179H?
     20         A.      You are looking at the exit wound from the right arm.
     21         Q.      And 179I, what does that show you?
     22         A.      That shows the exit wound from the left chest and the
     23     reentry into the left arm.
     24         Q.      And if you can tell me what 179J is.
     25         A.      That's just a close-up of the exit wound from the left


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    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 841 of 1061 PageID #: 1036
      000839                                                                             369
                                 People - Dr. deRoux - Direct/Reeves

          1     chest.

          2         Q.    Now, you had indicated the organs that were struck by

          3     this bullet.     Can you tell us what happened or what damage was

          4     done to Mr. Williams' heart as a result of this gunshot wound?

          5         A.    There was extensive damage of the entire heart.           It

          6     involved all four ventricles, the septum between the

          7     ventricles, and the -- what we call the papillary muscles,

          8     which hold the valves in place.

          9         Q.    I am going to show you 179K.        Does that picture show

         10     the damage to Mr. Williams' heart by this gunshot wound?

         11         A.    It does, yes.
         12         Q.    And 179L, does that also show the extensive damage to
~        13     Mr. Williams' heart?

         14         A.    Yes.

         15         Q.    Doctor, do you have an opinion to a reasonable degree

         16     of medical certainty what impact that gunshot wound would have

         17     had on Mr. Williams' immediate ability to function?
         18         A.    Well, once that heart was struck, that heart will not

         19     be pumping blood anymore.      He would only have maybe 10 or

         20     15 seconds worth of oxygen in his brain to keep him conscious.
         21    After that 10 or 15 seconds, he's going to go unconscious and
         22    become unresponsive, and if he was erect, he would fall to the
         23     ground.
         24         Q.    And, Doctor, during the course of preparing the
         25     autopsy report, you used the term pulpified to describe the


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 842 of 1061 PageID #: 1037
  000840                                                                             370
                             People - Dr. deRoux - Direct/Reeves

       1    damage to Mr. Williams' heart.       Would you mind explaining to

       2    the jury what pulpified means as the way you used it.

       3        A.     Pulpified means it was extensively damaged, like pulp

       4    from paper or something like that, with extensive damage,

       5    almost like the heart had been ground up in something.

       6         Q.    Dr. deRoux, you and I have been talking about the

       7    gunshot wound to the head and the gunshot wound to the arms and

       8    chest.    Do you have any opinion whatsoever on which wound was

       9    inflicted first?

     10          A.    No.

     11          Q.   And can you explain to the jury why that is?

     12          A.    There is no way of me sequencing the gunshot wounds.

     13     I have no idea which one came first or second.
     14          Q.    Now, the last photo that I have up on the screen is

     15     179M, as in Mary.     Would you explain to the ladies and

     16     gentlemen of the jury what that is.
     17          A.    On the upper right you can see the abrasions that

     18     we've discussed before.      Where you see that L-shaped cursor,
     19     that's a scale to measure things.         And what you're seeing

     20     inside that L-shaped area is what to me appeared to be a bite
     21     mark, which was subsequently confirmed by our forensic dentist.
     22          Q.   And, when you examined Mr. Williams' body on
     23     December 9, 2011, could you tell whether or not this what
     24     appeared to be a bite mark was fresh or an old wound?

     25          A.    It was a fresh wound.


                                                MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 843 of 1061 PageID #: 1038
  000841                                                                             371
                             People - Dr. deRoux - Direct/Reeves

      1         Q.      And can you explain why that's your opinion?

      2         A.      Because, again, you could actually see the impression.

      3     Over time the impression would disappear.         The skin itself is
      4     not broken, so over time that impression would disappear.

      5     That's something fresh.

       6        Q.      And, Dr. deRoux, do you have any opinion to a

      7     reasonable degree of medical certainty the position of

      8     Mr. Williams' upper arms at the time the gunshot wound to the

       9    arms and chest was inflicted?
     10         A.      The arms were to his side because the entry and exit
     11     wounds of the arm line up quite nicely with the entry and exit
     12     wounds of the chest, and then the wound to the left arm also
     13     matches up with exit from the left chest, so his arms were by
     14     his side.
     15         Q.      Doctor, can you explain to the ladies and gentlemen of
     16     the jury what toxicology is the way it was used in your lab?
     17         A.      When we do an autopsy, we take liquid and solid organ
     18     tissues for measuring chemical substances, drugs, both legal
     19     and illegal, and we        the lab will generate a report of the
     20     presence or absence of any of these substance, whether they be
     21     prescribed or illicit substance.
     22         Q.      And, Dr. deRoux, during the autopsy of Mr. Williams,
     23     other than the injuries that you and I have talked about, did
     24     you see any other injuries that were relevant to the report
     25     that you prepared?


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 844 of 1061 PageID #: 1039
  000842                                                                             372
                            People - Dr. deRoux - Direct/Reeves

      1         A.     He had some abrasions and a contusion of his head; he

      2     also had a abrasion of his chest, which we've seen before; and

      3     he had an abrasion of his leg.

      4         Q.     And did those injuries appear to be recent?

      5         A.     They were all recent, yes.

      6         Q.     Now, what was sent to the toxicology lab from

      7     Mr. Williams' body, and what was tested, and what were the

      8     results?
      9         A.     I sent bile, blood, brain, gastric contents, liver,

     10     urine, and vitreous humor.
     11         Q.     And could you tell us what results came back from the

     12     toxicology lab?
     13         A.     In, both, blood and urine, they detected cotinine and

     14     cannabinoids.
     15         Q.     What is cotinine?
     16         A.     Cotinine is a breakdown product of tobacco or
     17     metabolites.
     18         Q.     And cannabinoids are what?
     19         A.     Same as marijuana.
     20         Q.     Can you tell us to a reasonable degree of medical
     21     certainty what effect either of those two substances had on the
     22     cause of death of David Williams?
     23         A.     They had nothing to do with the cause of death.
     24         Q.     And, Doctor, that 1 s my last question for you:       To a
     25     reasonable degree of medical certainty, what did you certify


                                               MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 845 of 1061 PageID #: 1040
  000843                                                                               373
                             People - Dr. deRoux - Direct/Reeves

      1     the cause of death to David Williams to be?

      2         A.    Gunshot wounds of head and chest with injuries of

      3     brain, heart and liver -- sorry -- lungs.             My mistake.
      4                      MR. REEVES:     Thank you, Dr. deRoux.       No further

      5         questions for you.

      6                      Thank you, your Honor.
      7                      MS. GUASTELLA:     Judge, I have no questions.

      8                      THE COURT:     Pardon?
      9                      MS. GUASTELLA:     No questions.
     10                      THE COURT:     Okay.     Thanks, Doctor.
     11                      THE WITNESS:     You 1 re welcome.
     12                      THE COURT:     You're excused.
     13                      (Witness excused.)
     14                      THE COURT:     Can you step up a moment, Counsel.
     15                      (Whereupon, a discussion is held at the bench off
     16         the record. )
     17                      THE COURT:     That's as far as we can go today,
     18         members of the jury.        I'm sorry to let you go so early on a
     19         Friday, but that's the best that I can do.
     20                      We're going to resume at 10 a.m. on Monday.          We
     21         are actually ahead of schedule according to the lawyers, so
     22         I don't want you to be concerned that we're losing this
     23         afternoon.      So, I'll let you go.       Have a good weekend.
     24         Remember the rules:        Don't discuss the case, and so on.
     25         And we'll see you 10 a.m., Monday.          Thanks, again.


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 846 of 1061 PageID #: 1041
  000844                                                                                374
                                           Proceedings

      1                      (Whereupon, the jury exits the courtroom.)

      2                     THE COURT:    Okay, the jury has left.       I just

      3         wanted to ask a question about the second ski mask.               I'm

      4         calling it the second, I don't know which is the first.

      5         Which ski mask have I been looking at pictures of during

      6         this trial?
      7                     MR. REEVES:     The pictures that you've been

      8          looking at during the trial have been the ski mask that was

       9         found in the duffel bag itself.        The second ski mask was

     10          found in the pocket of the brown coat found in the duffel

     11         bag.

     12                     THE COURT:    Who found it, the one in the coat?

     13                     MR. REEVES:     The one in the coat, the testimony

     14         was that the Office of Chief Medical Examiner found it in

     15          the pocket of the coat when they processed the coat.

     16                     THE COURT:     I know the coat was in the duffel bag

     17         according to the Crime Scene Unit.         There is no testimony
     18          she looked into the pockets or took anything out, did she?
     19                     MR. REEVES:     No.
     20                     THE COURT:    So, the coat is vouchered and sent
     21         out to the lab where that mask is taken from the pocket and
     22          tested?
     23                     MR. REEVES:     Correct.
     24                     THE COURT:    Okay.     I was just wondering.     I
     25         haven't reviewed the transcript.         I will over the weekend.


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 847 of 1061 PageID #: 1042
  000845                                                                                         375
                                               Proceedings

      1                       So, your plan is to call possibly your client's

      2          father and possibly your client?

      3                       MS. GUASTELLA:       Correct.

      4                       THE COURT:       What I would suggest -- I don't know

      5         how the day is going to go Monday.              If the testimony is not

      6         too extended, then I think I'd like to have a charge
      7         con f erence an d may b e you cou ld sum up.          I don 't know 1'f

      8          I'll get a charge in by an appropriate time.                   I don't like

      9         to charge after 3:30.           It doesn't really make a lot of
     10         sense.    So, keep that in mind.            I mean, it is possible that
     11          I'll be asking you to sum up Monday.

     12                       MS. GUASTELLA:       I'll be ready.

     13                       THE COURT:       It really depends on how long the
     14         defense case is.      Anything else?
     15                       MS. GUASTELLA:       No.
     16                       MR. REEVES:       I don't think so.
     17                       THE COURT:       Okay.     Thank you very much.           I'll see
     18         you Monday at 10:00.
     19                       (Defendant remanded.)
     20                       (Whereupon, court stands in recess and this
     21         matter is adjourned to March 10, 2014, at 10 a.m.)
     22     *      *      *       *        *       *        *     *         *       *        *
                  I hereby certify that the foregoing is a true and
     23     accurate transcript of the above proceedings to the best of my
            knowledge, skill, and ability.
     24

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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 848 of 1061 PageID #: 1043
  000846



           SUPREME COURT OF THE STATE OF NEW YORK
           COUNTY OF RICHMOND - CRIMINAL TERM - PART 5
           --------------------------------------x INDICTMENT NO.
           THE PEOPLE OF THE STATE OF NEW YORK
                                                                454/2011

                          -against-


           ARMAND SKRINE,
                                                                JURY TRIAL
                                             Defendant.          (Cont'd)
           --------------------------------------x
                                      18 Richmond Terrace
                                             Staten Island, New York
                                             March 10, 2014

           BEFORE:

                 HONORABLE STEPHEN J. ROONEY, Justice.




           APPEARANCES:
                 DANIEL DONOVAN, ESQ.
                 District Attorney - Richmond County
                      130 Stuyvesant Place
                      Staten Island, N.Y. 10301
                 BY:  KYLE REEVES, ESQ.,
                      JENNIFER CILIA, ESQ.,
                      Assistant District Attorneys

                MARIA GUASTELLA, ESQ.
                Attorney for the Defendant
                     88 New Dorp Plaza
                     Staten Island, N.Y. 10306




                                                     MAURIZIA M. SELLECK
                                                     SENIOR COURT REPORTER


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 849 of 1061 PageID #: 1044
  000847                                                                             377
                                           Proceedings

      1                      THE COURT CLERK:     Case on trial continues,

      2         calendar number 3, Indictment 454/2011, Armand Skrine, from

      3         the back.

      4                      Appearances, counsel.

      5                      MR. REEVES:    On behalf of the People, Kyle Reeves

      6         and Jennifer Cilia.
      7                      Good morning, your Honor.

      8                      MS. GUASTELLA:     Maria Guastella for Mr. Skrine.

      9                      Good morning, your Honor.
     10                      THE COURT:    Good morning.
     11                      Do you want to step up a moment while we're

     12         waiting for the defendant.
     13                      {Whereupon, a discussion is held at the bench off
     14         the record. )
     15                      (Defendant present.)
     16                      THE COURT:    Why don't we get on the record.
     17         Mr. Skrine is present.
     18                      People, I understand that that's your case in
     19         chief.
     20                      MR. REEVES:    Yes, your Honor.
     21                      THE COURT:    Ms. Guastella, what is your
     22         intention?
     23                      MS. GUASTELLA:     Resting at this point.
     24                      THE COURT:    So you are resting.
     25                      MS. GUASTELLA:     Yes.


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 850 of 1061 PageID #: 1045
  000848                                                                              378
                                           Proceedings

      1                     THE COURT:    You mind if I just ask your client.

      2                     Mr. Skrine, I 1 m sure you've discussed it with

      3         your lawyer, you have a right to testify, of course.            She

      4         says you're resting, so I gather you've decided you are not

      5         going to testify; is that correct?
      6                     THE DEFENDANT:     Yes.
      7                     THE COURT:    Have you had enough time to discuss

      8         this with your lawyer?

      9                     THE DEFENDANT:     Yes.
     10                     THE COURT:    Okay.    So, the defense is resting,

     11         the People are resting, right?
     12                     MR. REEVES:    Yes.

     13                     THE COURT:    So, both sides are resting.       We have

     14         a jury, but we're going to have a charge conference.            If
     15         you're ready we can do that now.
     16                     MS. GUASTELLA:     Yes, Judge.
     17                     THE COURT:    Okay.    Incidentally, we discussed at
     18         the bench, if you are resting, I don't think there is
     19         enough in the record for me to give a justification charge.
     20         I guess you agree.
     21                     MS. GUASTELLA:     I do.   I wasn't planning on
     22         asking for that.
     23                     THE COURT:    I just wanted to make sure.       Let me
     24         ask a couple of preliminary questions:
     25                     Was there any testimony in this case regarding


                                               MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 851 of 1061 PageID #: 1046
  000849                                                                              379
                                           Proceedings

      1         witness preparation?      I have a charge on that, but I don't

      2          recall any questions regarding

      3                     MS. GUASTELLA:        I don't recall any.

      4                     THE COURT:    Do you recall any?

      5                     MR. REEVES:     No.

      6                     THE COURT:    Okay.      We had four experts, correct?

      7                     MR. REEVES:     Correct.

      8                     THE COURT:    Are there any exhibits that are

       9        marked for ID but not in evidence?            I can think of one.

     10                     MR. REEVES:     Yes.
     11                     THE COURT:    There was a magazine marked subject

     12          to connection.

     13                     MR. REEVES:     Correct.

     14                     THE COURT:    Okay.      Anything else?

     15                     MR. REEVES:     There was some photographs.
     16                     THE COURT CLERK:       A lot of pictures.
     17                     THE COURT:     Photos that are not in evidence,

     18         marked for IO but not in evidence?
     19                     THE COURT CLERK:        Yes.
     20                     THE COURT:     I'll tell the jury as part of my
     21          standard charge they may consider testimony regarding
     22          exhibits that are not in evidence, but they can't have the
     23          exhibits themselves.
     24                     I have a charge on photographs.           I also have a
     25          charge on gruesome photographs.           I don't know that that's


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 852 of 1061 PageID #: 1047
  000850                                                                               380
                                           Proceedings

      1         required here.     What do you think, Ms. Guastella?

      2                      MS. GUASTELLA:    I'm sorry, I didn't hear.        What

      3         type of photographs?
      4                      THE COURT:    I give a general charge on

      5         photographs, I also have a specific charge on what's

      6         referred to as gruesome photographs.          I don't know if
      7         that's required here or not.         What do you think?

      8                      MS. GUASTELLA:    No, Judge.

      9                      THE COURT:    Okay.     Were there any maps or

     10         diagrams placed in evidence?
     11                      MR. REEVES:    Yes, there were, your Honor.
     12                      THE COURT:    Which was that?
     13                      MR. REEVES:    People's 161, 162, and 163.

     14                      THE COURT:    Oh, right, 161, 162, and 163, is that
     15         right?
     16                      MR. REEVES:    Correct.
     17                      THE COURT:    Okay.     Those were my preliminary
     18         questions.
     19                      Now, in terms of what I'm charging here, I'm
     20         assuming the People are asking for a circumstantial
     21         evidence charge.
     22                      MR. REEVES:    Yes, your Honor.
     23                      THE COURT:    Any objection?
     24                      MS. GUASTELLA:    No.
     25                      THE COURT:    Okay, I'll give that.


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 853 of 1061 PageID #: 1048
  000851                                                                             381
                                           Proceedings

      1                     There was talk during voir dire          I don't know

      2         if it was Ms. Cilia or Mr. Reeves or both            I think to the

      3         effect that the Court would charge the jury on motive.

      4                     Are you asking for a motive charge?

      5                     MR. REEVES:    Yes, your Honor.

      6                     THE COURT:    Any objection?
      7                     MS. GUASTELLA:     No.

      8                     THE COURT:    That's a standard charge from CJI.

      9         I'll give it if you want it, and you do.

     10                     MR. REEVES:    Yes.
     11                     THE COURT:    So, that's circumstantial evidence

     12         and motive.     And I think that's it preliminarily.

     13                     Let 1 s get to the substantive charges.

     14                     Count 1 is Murder in the Second Degree.         People
     15         are requesting it?
     16                     MR. REEVES:    Yes.
     17                     THE COURT:    Any objection?
     18                     MS. GUASTELLA:     No.
     19                     THE COURT:    Okay.      I'll charge Count 1, Murder in
     20         the Second Degree.
     21                     In terms of the weapons charges, I'd like to
     22         streamline these submissions if I can.         Let me just throw
     23         out a thought:     What I'm thinking of submitting but I'm not
     24         wedded to this, and I'll certainly hear argument, what I'm
     25         thinking of submitting are Counts 3 and 4, not submitting


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 854 of 1061 PageID #: 1049
  000852                                                                             382
                                           Proceedings

      1         Count 2, not submitting Count 5.         I don't know how you feel

      2         about that.     There's arguably consecutive sentencing

      3         possible here.     I'm not saying I would do that if there

      4         were a conviction of any sort, but Counts 2 and 3 are

      5         concurrent counts, Counts 4 and 5 are concurrent counts.              I

      6         believe Count 5 might be a lesser included of Count 3; I'm
      7         not a hundred percent sure.       My inclination is to give
      8         Counts 3 and 4.
       9                    What do you think?
     10                     MR. REEVES:    Can I have one moment?
     11                     THE COURT:    Okay.
     12                     MR. REEVES:     Your Honor, I would just ask for
     13         Count 3, Criminal Possession of a Weapon in the Second
     14          Degree, not home or place of business.
     15                     THE COURT:    And that's it for weapons counts?
     16                     MR. REEVES:    And Count, I believe, 5 -- I'm
     17         sorry.    Count 4, which is the -- One second, your Honor.
     18                     Just Count 3, your Honor, Criminal Possession of
     19         a Weapon in the Second Degree.

     20                     THE COURT:    So, in terms of weapon counts, you're
     21         only requesting Count 3?
     22                     MR. REEVES:    That's correct.
     23                     THE COURT:    That's all right with me.
     24                     Ms. Guastella, what do you think?
     25                     MS. GUASTELLA:     That's fine.


                                               MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 855 of 1061 PageID #: 1050
  000853                                                                             383
                                           Proceedings

      1                      THE COURT:    Okay.     So, I'm submitting Counts 1

      2         and 3.    I won't submit Counts 2, 4 and 5.

      3                      That brings us to Count 6.       Are you requesting

      4         that, a forged instrument?

      5                      MR. REEVES:    Yes, your Honor.

      6                      THE COURT:    All right.     Any objection?

      7                      MS. GUASTELLA:    No.
      8                      THE COURT:    Okay.     So, I'll submit Count 6.

      9         Count 7 was dismissed at the outset of the case.            So, three

     10         counts: Counts 1, 3, and 6.

     11                      Any other requests from either side?

     12                      MS. CILIA:    Your Honor, under the firearms

     13         section, it says that pistol or revolver is a definition of
     14         a firearm, but there is a specialized definition that

     15         includes assault weapons.          We would ask for that.

     16                      THE COURT:    Right, I think I have to do that.         A
     17         firearm means a pistol or revolver, or, in this case, an
     18         assault weapon.     That's at Penal Law section 265.00(22).
     19         What I had planned on charging was the statute prior to the
     20         amendment in July of 2013, since this is a 2011 charge.
     21         So, it would be 265.00(22) prior to the July, 2013,
     22         amendment.
     23                      Let me just read it into the record:
     24                      "Assault weapon" means (a) a semiautomatic rifle
     25         that has an ability to accept a detachable magazine and has


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         Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 856 of 1061 PageID #: 1051
           000854                                                                             384
                                                    Proceedings

               1         at least two of the following characteristics: (1) a

               2         folding or telescoping stock; (2) a pistol grip that

               3         protrudes conspicuously beneath the action of the weapon;

               4          (3) a bayonet mount; (4) a flash suppressor or threaded

               5         barrel designed to accommodate a flash suppressor; (5) a

               6         grenade launcher.

               7                     That's the way the statute reads.        As I recall,

               8         having reviewed the ballistics expert's testimony, he

               9         testified as to a pistol grip protruding conspicuously

              10         beneath the action and a bayonet mount.          I don't think he

              11         testified as to the other three items.          Did he?

              12                     MR. REEVES:     He did.   He testified about a

              13         detachable box magazine as well.
              14                     THE COURT:    Okay.    Well, yeah, that's part of the

              15         original definition.       In terms of the following

              16         characteristics, they list five, I think he only testified

              17         as to two of them.       I'm not sure.    What do you think?
              18                     Do you follow me?      He did testify this is a
              19         semiautomatic rifle with the ability to accept a detachable

              20         magazine.    Then the statute talks about at least two of the
              21         following five characteristics: a folding or telescoping
              22         stock.    Did he testify to that?        He testified that can be a
              23         characteristic of an assault weapon.          I don't know if he
              24                     MR. REEVES:     I believe he testified about the
,.-.._        25         pistol grip and the bayonet mount.


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 857 of 1061 PageID #: 1052
  000855                                                                              385
                                           Proceedings

      1                     THE COURT:    That's what I recall.

      2                     Shall I just list those two, or shall I list them

      3         all and let the jury make their findings?          I can read the

       4         statute in full, it doesn't matter to me, or I can edit it.

       5                     I mean, what I could say, for example, is an

       6         assault weapon means a semiautomatic rifle that has an

      7          ability to accept a detachable magazine and has the

       8         following two characteristics: a pistol grip that protrudes

       9         conspicuously beneath the action of the weapon and a

     10          bayonet mount.
     11                     MR. REEVES:     I also believe he testified that it

     12          was also based on the AK-47 design which I believe is part

     13          of the statute.
     14                     THE COURT:     You know, that is, but the statute is

     15          a little more complex and I don't know if he met all of

     16          those hurdles.
     17                      Hang on a second.     He said it was pattern on the

     18          AK-47 design.
     19                     MR. REEVES:     Correct.
     20                     THE COURT:     He said it was made in Romania.
     21                     MR. REEVES:     Correct.
     22                     THE COURT:     I don't believe he said it was an
     23         AK-47.     I believe he said it was pattern on an AK-47
     24          design.   You could check the minutes if you want.          I have
     25          them, but I think you do too.


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 858 of 1061 PageID #: 1053
  000856                                                                             386
                                            Proceedings

      1                      MS. GUASTELLA:     He did talk about that it was a

      2         Romanian AK-47.

      3                      THE COURT:     I don't know if he said it was a

      4         Romanian AK-47 or if it was Romanian-manufactured and based

      5         on the AK-47 design.        I don't know if that 1 s significant or

      6         not, I have no idea.       Which is why I didn't intend to get

      7         into that part of the assault weapon definition, if you

      8         follow me.

      9                      MS. GUASTELLA:     I don't think it necessarily

     10         matters.
     11                      THE COURT:     What?

     12                      MS. GUASTELLA:     I don't think it necessarily

     13         matters.
     14                      THE COURT:    Why don't I give the assault weapon

     15         definition under 265.00(22) (a).        Is that acceptable or not?

     16                      MR. REEVES:     Yes.

     17                      MS. GUASTELLA:     That's fine.
     18                      THE COURT:     Okay.   I think that 1 s all I have.
     19         Anybody think of anything else you might want me to charge?
     20         I mean, I 1 ll charge the usual.
     21                      MS. GUASTELLA:     In your circumstantial charge are
     22         you going to discuss moral certainty as to the evidence?
     23                      THE COURT:     I don't usually do that.     That was
     24         the law years ago.        It's no longer part of the pattern
     25         instruction, although I think the language is equivalent.


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 859 of 1061 PageID #: 1054
  000857                                                                             387
                                           Proceedings

      1         The charge I have been giving for some time now is the

      2          pattern instruction.      I'll hand it out if you want to take

       3         a look at it.
       4                     Why don't you give this to Ms. Guastella, and you

       5         can hand it over to the DA when you finish.          I can print

       6         out two more copies if you want me to.

      7                      (Handing.)

      8                      MS. GUASTELLA:    I could give this to Mr. Kyle.          I

       9         have one.

     10                      THE COURT:    Oh, you do?
     11                      MS. GUASTELLA:    Yeah.

     12                      MR. REEVES:    Does the Court need this back?

     13                      THE COURT:    Yes, it's my only copy.      I'll give
     14          you a copy.
     15                      MR. REEVES:    No, I have a copy.
     16                      THE COURT:    Is that charge okay with both sides?
     17                      MR. REEVES:    Yes.
     18                      THE COURT:    Defense?
     19                      MS. GUASTELLA:    One moment, Judge.
     20                      (Pause.)
     21                      MS. GUASTELLA:    It's fine.
     22                      THE COURT:    Okay.   Anything else anybody wants?
     23                      MS. GUASTELLA:    Do you want me to reserve my
     24         trial order of dismissal to right before we sum up, or?
     25                      THE COURT:    You can make it now if you want.          You


                                               MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 860 of 1061 PageID #: 1055
  000858                                                                             388
                                           Proceedings

      1         probably do not want to make it in front of the jury,

      2          although you can if you want.

      3                      MS. GUASTELLA:    That's why I was asking if you

       4        want me to reserve it or do it now.

       5                     THE COURT:    You can do it whenever you want.

       6                     MS. GUASTELLA:    Judge, at this time the defense

      7         moves to dismiss the indictment on the grounds that the

       8        prosecution hasn't proved a legally sufficient case.

       9         Specifically, the People have not proven Count 1, Murder in

     10          the Second Degree, and People have not presented legally

     11          sufficient evidence to establish that Mr. Skrine committed

     12         Murder in the Second Degree.         As well, they did not present

     13          legally sufficient evidence to charge -- to establish that

     14          Mr. Skrine committed Count 3, Criminal Possession of a

     15          Weapon in the Second Degree.        And, as well, they did not

     16          present legally sufficient evidence to establish that

     17         Mr. Skrine committed Count 6, Criminal Possession of a

     18          Forged Instrument in the First Degree.

     19                      THE COURT:    People?
     20                      MR. REEVES:    Your Honor, the People would rest on
     21          the record and ask the Court to deny the motion in its

     22          entirety.
     23                      THE COURT:    I think a legally sufficient case was
     24          presented considering the circumstantial evidence charge,
     25          so I'll -- as to all three of those counts, so I'll deny


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 861 of 1061 PageID #: 1056
  000859                                                                              389
                                           Proceedings

      1         the motion.
      2                     Well, the jury is here.          Do you want to take a

      3         few minutes and get your summations together, or are you

      4         ready to go now?      I don't know how you feel about it.         I'm

      5         in no rush if you want 15, 20 minutes, half hour.

      6                     MS. GUASTELLA:     I'm ready, Judge.
      7                     MR. REEVES:     The only thing we need to do is to

      8         bring all the evidence across the street, so if we can have

      9         15 minutes, that would be sufficient.
     10                     THE COURT:     That's fine.      We'll take 20 minutes.
     11         If you need more, I'll give it to you.
     12                     Why don't we tell the jury -- Don't tell them

     13         anything specific.       Just tell them it's going to be about
     14         another 20 minutes or so if they want to get some coffee.
     15                     THE COURT OFFICER:       Okay.
     16                      (Whereupon, a brief recess is taken.)
     17                      (Whereupon, Court Exhibit 1 is marked.)
     18                     THE COURT CLERK:     Come to order.       Case on trial
     19         continues, Armand Skrine.
     20                      (Defendant present.)
     21                     THE COURT:    All right.      Everybody is present.       I
     22         neglected to ask during our charge conference,
     23         Ms. Guastella, if you want me to charge the jury they may
     24         draw no inference unfavorable to your client because he
     25         didn't testify.     I can only give that if you want me to.


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 862 of 1061 PageID #: 1057
  000860                                                                             390
                                           Proceedings

      1                     MS. GUASTELLA:        It's not necessary, Judge.

      2                     THE COURT:    Are you saying you don't want me to

      3         give it?
      4                     MS. GUASTELLA:        Right.

      5                     THE COURT:    Okay, I won't, if you don't want me

      6         to.
      7                     The verdict sheet was handed up.        Both sides

      8         initialed it I see.       It is approved in form?

      9                     MR. REEVES:     Yes.
     10                     MS. GUASTELLA:        Yes.
     11                     THE COURT:    What videos do we have in evidence
     12         here?    We have two from the Ferry.
     13                     MS. CILIA:     Yes.
     14                     THE COURT:     If the jury wants to see those, how
     15         are we going to do it?       I don't think you can get this big
     16         screen in the jury room; we've tried that before.           Can we
     17         send a laptop in?
     18                     MS. CILIA:     Yes.
     19                     THE COURT:     Is that all right if they ask for it?
     20                     MS. GUASTELLA:        Your Honor, I just had a brief
     21         discussion with my client about that charge that was just
     22         discussed, and, on second thought, we would like to have it
     23         in.
     24                     THE COURT:    You're talking about if the defendant
     25         does not testify, the jury may draw no unfavorable


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 863 of 1061 PageID #: 1058
  000861                                                                             391
                                           Proceedings

      1         inference?

      2                      MS. GUASTELLA:    Yes.

      3                      THE COURT:    Do you want that?

      4                      MS. GUASTELLA:    Yes.

      5                      THE COURT:    Okay, I'll give it.

      6                      What about this laptop issue, if the jury

      7         requests to see those videos, can we send it in with the

      8         laptop?
      9                      MS. GUASTELLA:    What else is going to be on that

     10         laptop?

     11                      THE COURT:    Hopefully nothing.

     12                      MS. GUASTELLA:    Right.

     13                      THE COURT:    In the past the DA has provided I

     14         think what they call a clean laptop.         There is no internet

     15         access in the jury room.
     16                      MS. GUASTELLA:    As long as it's clean, I have no
     17         objection.
     18                      MR. REEVES:    It will be.

     19                      THE COURT:    Okay.   Is that all right with you?
     20                      MR. REEVES:    That's fine.
     21                      THE COURT:    I mean, I can tell them, if they want
     22         to see it on the big screen, we'll bring them back in the
     23         courtroom, but if they want to see it on the laptop, we'll
     24         send it in.
     25                      MS. GUASTELLA:    Okay, that's fine.


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 864 of 1061 PageID #: 1059
  000862                                                                             392
                                           Proceedings

      1                     THE COURT:    In terms of ballistics evidence, if

      2         they want to see the rifle or ballistics evidence, I think

      3         what I'll tell them is we'll send it in with them, but with

      4         an officer; we are not going to leave it in there.           And

      5         when they're examining it, the officer will take it out,

      6         and I'll tell them not to deliberate while the officer is

      7         in there.

      8                     MS. GUASTELLA:     That's fine.

      9                     THE COURT:    Okay.   Now, we've got this computer

     10         screen here.     You see where it's set up.       Is that all right

     11         with you, the positioning, or not?

     12                     MS. GUASTELLA:     Well, I'm actually feeling a

     13         little claustrophobic.
     14                     THE COURT:    Well, my point is your client can't

     15         see it, right, and you can't either?

     16                     MS. GUASTELLA:     Right.

     17                     THE COURT:    If it's all right with you.       I can't

     18         touch it.
     19                     MS. GUASTELLA:     Can we put it back to where it

     20         was?
     21                     THE COURT:    The defendant can't see it from where
     22         it is and he ought to be able to see it.          Can we move it
     23         out to where you had it during the trial?
     24                     MS. GUASTELLA:     I don't see why it has to be

     25         right here.


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 865 of 1061 PageID #: 1060
  000863                                                                               393
                                            Proceedings

      1                     THE COURT:      I don't care where it is.        I can see

      2         it, but I'm concerned that the defense table cannot see it.

      3                     MR. REEVES:      I don't think there is any

      4         obligation for the defendant to see it at this point.

      5                     THE COURT:      If you don't want to move it, then I

      6         won't let you use it.

      7                     MR.   REEVES:    I guess I don't have a choice.
      8         That's fine.

      9                     THE COURT:      Okay.     Why don't we do this:    We'll
     10         have the defense summation and then we'll take a break and
     11         you can move this thing.        And maybe I want to see what
     12         you're going to have on this.           I haven't seen it.
     13                     Have you, Ms. Guastella?
     14                     MS. GUASTELLA:      No.
     15                     THE COURT:      I think we ought to view it after the

     16         defense summation.
     17                     Do you want to step up a moment?
     18                      (Whereupon, a discussion is held at the bench off
     19         the record. )
     20                     THE COURT:      Is there anything else for the
     21         record?
     22                     Just for the record, we're going to raise the
     23         laptop so the defense table can see it.
     24                     MR. REEVES:     Correct.
     25                     THE COURT:      So we won't bother to move the big


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    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 866 of 1061 PageID #: 1061
      000864                                                                             394
                                               Proceedings

~         1         screen.     They'll be able to see it on the laptop.

          2                      If there's nothing else, we'll bring the jury in.

          3          I guess there's nothing else.          Line them up.

          4                      THE COURT OFFICER:         Your Honor, are you ready for

          5         the jury?

           6                     THE COURT:    Yes.

           7                     THE COURT OFFICER:         Jury entering.

           8                     (Whereupon, the jury enters the courtroom.)

           9                     THE COURT CLERK:       Do both sides stipulate to the

         10         presence of a complete jury panel properly seated?

         11                      People?

         12                      MS. CILIA:    Yes.

         13                      THE COURT CLERK:       Defense?
         14                      MS. GUASTELLA:       So stipulated.

         15                      THE COURT:    Good morning.       Welcome back.

         16                      People?

         17                      MR. REEVES:    Ladies and gentlemen, the People's

         18          case was completed with Dr. deRoux's testimony.

         19                      Your Honor, the People rest.

         20                      THE COURT:    Defense?

         21                      MS. GUASTELLA:       Your Honor, at this time the
         22          people -- the defense rests.
         23                      THE COURT:    All right, members of the jury, both
         24          sides have rested, so that concludes the introduction of
         25          evidence in the case.      You'll now hear the summations of


                                                      MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 867 of 1061 PageID #: 1062
  000865                                                                              395
                                           Proceedings

      1         the lawyers, and after that I'll instruct you on the law,

      2         and then you'll begin deliberations.

      3                     Under our law, defense counsel must sum up first

      4          and the prosecutor must follow.       The lawyers may not speak

      5          to you after that.     Summations provide each lawyer an

      6         opportunity to review the evidence and submit for your

      7          consideration the facts, inferences, and conclusions that

      8          they contend may properly be drawn from the evidence.
      9                     If you find that a lawyer has accurately
     10          summarized and analyzed the evidence, and if you find that
     11          the inferences and conclusions the lawyer asks you to draw
     12          from that evidence are reasonable, logical, and consistent

     13         with the evidence, then you may adopt those inferences and
     14          conclusions.
     15                     Please bear in mind the following points:
     16                     First, you are the finders of fact, and that's
     17          for you and you alone to determine the facts from the
     18         evidence that you find to be truthful and accurate.            And,
     19         so, whatever the lawyers say and however they say it, you
     20         should remember that what the lawyers say is simply
     21         argument submitted for your consideration.
     22                     Second, remember the lawyers are not witnesses in
     23         this case, and, so, if a lawyer asserts as facts something
     24         that is not based on the evidence, you must disregard it.
     25         Nothing the lawyers say at any time is evidence, and, so,


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 868 of 1061 PageID #: 1063
  000866                                                                             396
                                           Proceedings

      1         nothing they say in their summations is evidence.           You've

      2         heard the evidence and you must decide the case on the

      3         evidence as you find it and on the law as I will explain

      4          it.

      5                     Third, during summations one lawyer's

      6         recollection of the evidence may in good faith differ from
      7         the recollection of the other lawyer's or from your own

      8          recollection.    The lawyers will undoubtedly differ with

      9         each other on the conclusions to be drawn from the
     10         evidence.    It's your own recollection and understanding and
     11         evaluation of the evidence, however, that controls
     12         regardless of what the lawyers have said or will say about

     13         the evidence.     You and you alone are the judges of the

     14          facts in this case, and if during your deliberations you
     15         need to have your recollection of the testimony refreshed,
     16         you may have all or any portion of the testimony read back
     17         to you.
     18                     Fourth, remember, under our law I'm responsible
     19          for explaining the law, not the lawyers.         If you think
     20         there is any difference between what the lawyers may say or
     21         what I say the law is, your sworn duties as jurors is to
     22         follow my instructions on the law.
     23                     And, finally, if during the summations I sustain
     24         an objection to a comment of a lawyer, that comment will be
     25         stricken from the record and you must disregard it as if it


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 869 of 1061 PageID #: 1064
  000867                                                                             397
                                     Summations - Defense

      1         were never said.      If I overrule an objection, the comment

      2         will stand.     Whether I sustain or overrule an objection, or

      3         on my own indicate that a comment must be disregarded, my

      4         ruling indicates only that the comment does or does not

      5         violate one of the rules of law set down for lawyers to

      6         follow during the summation.         It's not an attempt to
      7         indicate that I have an opinion on what is said or of the

      8         facts of the case or of whether this defendant is guilty or

      9         not guilty.
     10                     Remember, once again, under our law, you and you
     11         alone judge what facts, if any, are proven and whether the

     12         defendant is guilty or not guilty, not I and not the
     13         lawyers.

     14                     So, we'll turn to summations now, and I'll
     15         recognize Ms. Guastella.
     16                     MS. GUASTELLA:     Thank you, your Honor.
     17                     Not guilty.    Not guilty is the only possible
     18         verdict in this case.      They couldn't even prove to you the
     19         theory of their own theory that they presented to you in

     20         opening.    They couldn't even prove that.
     21                     So, what did they prove in this case?         They
     22         certainly didn't prove that Armand committed any crimes
     23         beyond a reasonable doubt.       Again, they couldn't even prove
     24         their own theory, and we'll go through that in a little
     25         bit.


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 870 of 1061 PageID #: 1065
  000868                                                                             398
                                     Summations - Defense

      1                     The judge is going to talk about circumstantial

      2         evidence in his charge to you and I 1 m going to ask that you

      3         pay close attention to it.       It's a long charge.      Please

      4         listen to it carefully.       It's going to discuss inferences.

      5                     Prosecution is going to get up, they are going to

      6         make an inference, they are going to tell you an inference.

      7         They are going to tell you that just because a mask that

      8         had DNA on it that belonged to Armand, just because it was

      9         in a bag with the murder weapon, he must be guilty, you

     10         have to convict.     Ladies and gentlemen, the inferences must

     11         be proven beyond a reasonable doubt.

     12                     Now, I mentioned they didn't even prove their

     13         theory of their case, and I 1 ll tell you why.        In opening,

     14         she told you that this person came to Staten Island, that

     15         person being Armand.      He comes to Staten Island with a

     16         duffel bag; the murder weapon is in the duffel bag.            Takes

     17         the Ferry, gets off the Ferry; takes the bus, gets off

     18         at -- walks -- I don't know however he got to 195 Steuben,

     19         that was never testified to.         Gets there, enters the

     20         building with the mask, goes up to the apartment, and
     21         shoots David for absolutely no reason, but it was his
     22         friend.
     23                     She tells you that he shot through the arm, out
     24         the other arm, hits the heart, and then while he's down on

     25         the ground the shooter shoots him in the back of the head.


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 871 of 1061 PageID #: 1066
  000869                                                                             399
                                     Summations - Defense

      1         She couldn't even prove that during this trial.           She
      2         couldn't even prove to you the manner he was shot in.

      3         Dr. deRoux testified that he didn't know which shot came
      4         first, but she told you it was the one through the arm.
      5         Dr. DeRoux also told you that he wasn't shot while he was
      6         on the ground, he was standing.        She couldn't even prove to
      7         you the theory of her own case.

      8                      What else didn't they prove?      They never proved

      9         or showed any evidence that Armand was the person on the
     10         Ferry.    They never proved that he was the one that had that
     11         gray and black duffel bag.       They didn't prove that he

     12         entered 195 Steuben Street.
     13                      Jean testified a tall man enters the building
     14         with a mask, with a bag.       And we will get to that in a

     15         minute, but there is no proof that the mask that that
     16         person was wearing entering Steuben Street was the mask
     17         that was recovered from the duffel bag that contained his
     18         DNA on it.     They never proved that.      In fact, they never
     19         even proved to you the person that entered the building
     20         with the mask was the shooter.
     21                      What else didn't they prove to you?        They didn't
     22         prove that Armand committed any crimes on December 8th.
     23                      So, what did the prosecution show in this case?
     24         Well, I'll submit they put on a good show: brought the
     25         video screen in, shows you hundreds of pictures, some


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 872 of 1061 PageID #: 1067
  000870                                                                              400
                                     Summations - Defense

      1         unnecessary, duplicates, misfires, close-ups.          Showed you

      2         videos.    I'm sure in summation they are going to do some

      3         type of a presentation, that's why the screen is here.               And

      4         all for what?     They dragged this trial on -- out as long as

      5         they could and for what?

      6                     MR. REEVES:    Objection, your Honor.

      7                     THE COURT:    Well, I'll sustain the objection to

      8         dragging the trial out.

      9                     Go ahead.

     10                     MS. GUASTELLA:     People did this to put on this

     11         show to show you or to try to hide that there is no

     12         evidence in this case that Armand committed any crimes on

     13         December 8, 2011.

     14                     They are going to get up, and I assume Mr. Kyle

     15         will get up, and he is going to tell you that he proved his

     16         theory of the case because a mask containing DNA that may

     17         have belonged to Armand was in the bag.         What is that proof

     18         of?   It's proof of nothing.      The mask was in the bag.       And,

     19         by the way, it's a ski mask.         We keep saying mask.    It was

     20         a ski mask, it was in the duffel bag.         So what, what does
     21         that prove?     That's not evidence that it's in the bag.

     22         They never proved that that bag belonged to Armand.

     23                     They never showed you or gave you any evidence
     24         that that person entering the building with the mask was
     25         wearing the same mask that was recovered later.           It's a ski


                                               MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 873 of 1061 PageID #: 1068
  000871                                                                             401
                                     Summations - Defense

      1         mask.     It can be purchased anywhere.      Nothing unique about

      2         it.     It's not a Halloween disguise.      It's a mask that you

      3         buy in the cold, to repel cold weather.

      4                      What else haven't they proved?       They haven't

      5         proven how long that ski mask was in that duffel bag.            They

      6         haven't proved the last time somebody wore that ski mask.

      7         You heard Ms. Wong testify that DNA could have been on the
      8         mask for over a year.      So we don't know how long that was
      9          in there, we don't know the last time someone wore that

     10         mask.
     11                      They haven't even proven to you whose clothes
     12         were in the duffel bag.       Now, during the trial they made a
     13         big deal about getting the measurements of the clothing
     14         out, so I'm assuming they are going to come and they are
     15         going to say the 48L jacket and the 4X sweatshirt belongs
     16         to Armand.     But you know what, it could have also belonged
     17         to Lonney Walker.      We know he's 6'6" and over 220 pounds.
     18         And in Ms. Hunt's own words, she said he was a big guy.
     19         Those could have been his clothes.         We know he's been in
     20         the apartment.
     21                      MS. CILIA:   Objection, Judge.
     22                      THE COURT:   Overruled.
     23                      MS. GUASTELLA:    We know he's been in the
     24         apartment.    We know Armand has been in the apartment.
     25         Armand has showered there before.        We don't know exactly


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 874 of 1061 PageID #: 1069
  000872                                                                             402
                                     Summations - Defense

      1         how many times, but more than one.         Could have left

      2         anything behind.

      3                     Simply put, the People did not prove their case.

      4         They did not prove each and every element of every crime

      5         charged beyond a reasonable doubt, and because of that you

      6         need to return a verdict of not guilty.
      7                     Now, I'm going to go through the trial a little

      8         bit.   You sat here, it was a long trial.         I don't want to

      9         revisit everything.      If I don't mention something it's not
     10         because I don't think it's important.         Maybe when preparing

     11         my summation I might have left it out or I missed it.            You

     12         all sat here with Armand and myself.         You heard it all.
     13         You probably remember something that I forgot to mention.
     14         So, please, don't think I don't think it's important.
     15                     So, I'd like to start with Det. Anderson.          He sat
     16         there and he basically told us all he stopped him for no
     17         reason, and the reason we know he had no reason to stop him
     18         is because he told you he had no description of a
     19         perpetrator.     He didn't know if it was a male black, a male
     20         white, a female.     Had no idea who he was looking for.         But
     21         he wants you to believe that racing to the crime scene,
     22         lights and siren, he happens to make eye contact with him
     23         and he appeared nervous and that's why he stopped him.
     24         That's ridiculous.      You cannot believe that's the reason
     25         why he was stopped.      He had no reason to stop him


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 875 of 1061 PageID #: 1070
  000873                                                                             403
                                     Summations - Defense

      1         whatsoever.     He couldn't even tell you what color shirt I

      2         had on.

      3                     Now, he tells you when Armand is apprehended, he

      4         had black jeans on and a black jacket.           He never mentions a

      5         gray hoodie or a great sweatshirt jacket, never.           And

      6         that 1 s important, because when Det. Patterson testified, he

      7         viewed the videotape, as we all did, and he testified that

      8         the person on the Ferry, this person of interest, was

      9         wearing a gray hoodie.       Det. Anderson never says he was

     10         wearing a gray hoodie, and that would have been something

     11         that was important.      Or at least say a sweatshirt; he

     12         doesn't even say that.
     13                     So, when he's asked why this person was of
     14          interest, Det. Patterson responds, the person was a person
     15         of interest because he was wearing the clothes that Armand

     16         was wearing when he was apprehended.           Where -- There was no
     17         evidence of that.      We don't know who the person of interest
     18         is that was on the Ferry.       We don't know if those clothes
     19         that that person was wearing were his clothes.           There is no
     20         evidence of that.      Is he a person of interest because he's
     21         wearing black jeans, a black jacket, and he's carrying a
     22         duffel bag and he's on the Ferry?        There are many people
     23         that would have fit that description, including Lonney
     24         Walker: tall, black man.       So, because of that, makes him a
     25         person of interest?      That 1 s ludicrous.


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 876 of 1061 PageID #: 1071
  000874                                                                             4 04
                                     Summations - Defense

      1                      So, they make a big deal about the fact that he

      2         got on the Ferry in Manhattan, this person of interest,

      3         gets off in Staten Island, and then walks up the bus ramp.

      4         Where does he go from there?         There is no evidence to show

      5         where this person of interest goes.         And just as a side

      6         note, recall -- I believe it was the Manhattan side -- when

      7         he's coming onto -- this person of interest is coming onto

      8         the Ferry on the Manhattan side.         He walks past uniformed
      9         officers, K9 teams.      I believe the K9 team was passing him
     10         corning down the ramp.     You can take a look at it.       But they

     11         want you to believe that this person of interest is
     12         carrying around a duffel bag with an AK-47 in it, pass the
     13         police officers, pass K9 teams that are trained in
     14         terrorism, and this person of interest calmly walks past
     15         them.     It just doesn't make any sense.
     16                      And I love the fact when Det. Patterson said he
     17         said that he could tell looking at that duffel bag there
     18         was an object in it.      They are going to argue that that
     19         object was the AK-47.      Of course there was an object in the
     20         bag.     There was numerous objects in the bag.       That's why he
     21         is carrying a duffel bag, otherwise he wouldn't need to
     22         carry it if there were no objects in it.          That made no
     23         sense.
     24                      So, what happens to this person of interest?
     25         People are going to argue to you that he shows up at


                                               MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 877 of 1061 PageID #: 1072
  000875                                                                             405
                                     Summations - Defense

      1         195 Steuben Street.      And we know that he shows up at

      2         195 Steuben Street because Jean testifies that a small

      3         man -- I'm sorry, a small man -- uniquely tall man enters

      4         the building wearing a mask and a duffel bag.           If you

      5         remember what he said when Ms. Cilia asked him or tried to

      6         get him to say that that bag was four feet wide, do you

      7         remember what he said?      No, it wasn't that big, it was only

      8         16 inches wide.     He is a maintenance man.       I submit to you

      9         that a maintenance man is going to know the difference
     10         between 16 inches and 4 feet wide.

     11                     So, who was that person walking into 195 Steuben

     12         Street?    We don't know.     They certainly didn't prove who
     13         that person was.     It could have been Lonney Walker walking
     14         in.   He would have had to hide his face because everybody
     15         would know him walking into the building.
     16                     Again, they didn't show, they didn't prove, they
     17         didn't provide any evidence that that person walking into
     18         195 Steuben Street, that mask was the same mask that's
     19         recovered hours and hours later with some DNA on it that
     20         belonged to Armand.      They didn't do that.      They didn't
     21         prove that.    So, now we have a bag that's described as
     22         black and gray on the Ferry, in the lobby of 195 Steuben
     23         Street, at 16 inches wide.
     24                     And then Ms. Hunt testifies as well at this
     25         trial, and Ms. Cilia showed her -- I believe it was


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 878 of 1061 PageID #: 1073
  000876                                                                             406
                                     Summations - Defense

      1         Ms. Cilia -- The prosecution showed her a photo of the bag,

      2         and she says, yep, that's the bag that Armand was carrying

      3         on November 26th when he came to our apartment.           But on

      4         cross, when I asked her, You sure his bag wasn't blue, she

      5         doesn't reply, No, it was gray and black.          She's like, It

      6         was dark.    It was a dark bag.      So now we have three bags:

      7         We have the black and gray from the Ferry, we have the one

      8         at Steuben Street that's 16 inches, and then we have

      9         Armand's blue bag.      Three different bags.
     10                     Now, they are also going to argue that when he

     11         comes to the apartment, he must have been carrying the

     12         AK-47 with him, because when he drops the bag down on the

     13         ground it makes a loud noise.        I asked her, could the

     14         little metal pegs on bottom of the bag create that loud
     15         noise?    She said she didn't see them.       Doesn't mean they

     16         weren't there.     And I think it's ridiculous to assume that
     17         there was a weapon in that bag because it made a loud
     18         noise.    I submit it could have been the metal pegs on the
     19         bottom of the bag.      And she testifies that he took a shower
     20         that day as well.
     21                     Now, why else hasn't the People even proven their
     22         theory that they told you about in their opening?
     23                     The crime scene.     She told you, or they told you
     24         that David was shot in the hallway, okay.          Now, recall
     25         Det. Aguilo, he testifies that he's the first police


                                               MMS
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 879 of 1061 PageID #: 1074
      000877                                                                              407
                                         Summations - Defense

~         1         officer to arrive.        Him and his partner run up the stairs,

          2         run up seven flights.        They get there, the deceased is

          3         laying on the ground and there is a lot of blood.            And he

          4         thinks there's a child in the apartment, so he runs into

          5         the apartment, rightfully so, looking for this child,

          6         having to step over things, moving things around looking

          7         for this child.     And I submit to you -- I'm sorry.         When he

          8         comes, enters that apartment, he tells you that he finds a

          9         shell casing inside the apartment, a bullet and a shell
         10         casing inside of the apartment.           And I submit that when he
         11         was leaving the apartment, he or his partner accidentally
         12         kicked the shell casing outside, which is where --
         13                      MR. REEVES:     Objection, your Honor.      There is no
         14         evidence to that at all.
         15                      THE COURT:     I didn't hear any evidence regarding
         16         that.
         17                      I'll caution the jury not to speculate.
         18                      You're free to sum up based on the evidence.
         19                      MS. GUASTELLA:     Have his testimony read back.         He
         20         testifies that when he enters the apartment, he sees a
         21         shell casing behind the door, on the inside of the
         22         apartment.
         23                      MR. REEVES:     Objection.     That 1 s not the evidence.
         24                      THE COURT:     The jury's recollection will control.
         25         As I said before, the lawyers may differ in their


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 880 of 1061 PageID #: 1075
  000878                                                                             408
                                     Summations - Defense

      1         recollection, but it's your recollection that controls.              If

      2         you need anything read back, you need only ask.

      3                     Go ahead.

      4                     MS. GUASTELLA:     Det. Steneck tells you that she

      5         recovers the shell casing outside.         Have that testimony

      6         read back, because it's in there.

      7                     Now, let's talk about her.       Very experienced.

      8         She's securing the crime scene.         Very, very careful.     Works

      9         hours.    I think she said she worked until about 11 o'clock

     10         collecting all the evidence.         She collected a lot of stuff,

     11         swabbed a lot of stuff to send things to the lab for a

     12         fingerprint, for gun powder residue, for DNA testing, all
     13         that stuff.     She is very careful in collecting everything.
     14         She's very thorough.      She doesn't want to miss anything.
     15         She told you she didn't want to miss anything, and, in

     16         fact, she didn't miss the print, the handprint on the
     17         hallway, right near where the deceased body was laying.
     18         And she explains to you, she doesn't say that the handprint
     19         on the wall, the palm print on the wall was there and then
     20         there was blood splatter and that's maybe how it got there.
     21         No.   What does she tell you?        She explains to you that
     22         someone put their hand in blood --
     23                     MR. REEVES:    Objection.
     24                     MS. CILIA:    Objection.
     25                     THE COURT:    I don't recall that testimony.


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 881 of 1061 PageID #: 1076
  000879                                                                             409
                                     Summations - Defense

      1         Again, the jury's recollection controls.

      2                     MS. GUASTELLA:     Please have that read back.       She

      3         explained that somebody put their hand and then touched the

      4         wall.

      5                     MR. REEVES:     Objection.    That's not the

       6         testimony, your Honor.

       7                    THE COURT:     I don't recall specifically.       Again,

       8         the jury's recollection will control.

       9                    MS. GUASTELLA:     The print is taken, the print is

     10          analyzed, and it comes back to Samuel Nelson.          And we know

     11          that Samuel Nelson lives in the building, he lives in 7-0,

     12          right near there; and we know that he knows David, they've

     13          been on the same floor for years.        In fact, perhaps he hung

     14          out with them during the daytime when Ms. Hunt was at work.

     15                     MR. REEVES:     Objection.

     16                     THE COURT:    Sustained as to that.      That's

     17          speculative.
     18                     MS. GUASTELLA:     We know he was at the crime

     19          scene, his print was on the wall.        And what does the

     20          detective do?    He rules out Samuel Nelson as a suspect, and
     21          the prosecution asked him why.       I ruled him out because he
     22          resides in the building.      That's ridiculous.      He ruled him
     23          out because he resides in the building.         Not concerned that
     24          there is a palm print right on the wall right outside where
     25         Mr. -- where the deceased was laying?         But he's ruled out


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 882 of 1061 PageID #: 1077
  000880                                                                             410
                                     Summations - Defense

      1         because he lives in the building.        There is no evidence

      2         that he called 911.       People didn't show you that either.

      3         But he's ruled out because he's a resident of the building.

      4         Some investigation.

      5                      What else was done in this case besides ruling

      6         him out?
      7                      Ms. Zippo testifies, and she goes on and on and

      8         on about her qualifications and the fact that she knows the

      9         money is counterfeit and the money that was found in the

     10         sock in the duffel bag was counterfeit.          I asked her, Did

     11         you investigate the origins of the money?          And she said,

     12         No.     Why not trace the money, find out who owned the money

     13         or who began this counterfeit ring?         It's never even looked

     14         into.
     15                      What else?    Det. Clontz, yeah.     He testifies that
     16         he runs some tests and that a partial serial number is
     17         lifted from the AK-47, a partial serial number.           There is
     18         no evidence that that
     19                      MS. CILIA:   Objection, Judge.      That 1 s not the
     20         evidence.
     21                      THE COURT:    The DA says it's not the testimony.
     22                      MS. GUASTELLA:    I apologize.     He testifies that
     23         criminalist Clontz lifted up the partial serial number, and
     24         now Det. Clontz now works for the ATF lifting serial
     25         numbers.    There is no evidence that that serial number was


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 883 of 1061 PageID #: 1078
  000881                                                                             411
                                     Summations - Defense

      1         traced to anybody.       There was no evidence they even tried

      2         to trace it to anybody to find out who the last registered

      3         owner of this weapon was.       He did nothing.     What did they

      4         do?

      5                      There's capability of all these things that they

      6         could have done: DNA on all the stuff that was taken,

      7         fingerprints, gun powder residue.        None of that.

      8                      Ms. Wong.     She talks about the whole laundry list

      9         of things that she receives to test: the rifle, the
     10         bullets, the magazine -- they're all swabbed -- the duffel
     11         bag, the duct tape on the duffel bag, all the clothing, and

     12         the mask.    And then she talks about finding a second mask

     13         in a pocket.     And out of all those things, she selects a
     14         few items, a few items to test to try to develop a profile.
     15         And out of the few items, out of this long laundry list
     16         that she tests, she retrieves a profile and she testifies
     17         that it matches Armand's profile.        But what's interesting
     18         is, where did the second mask come from?          Because you know
     19         the Det. Steneck was very thorough.         Where did it come
     20         from?     Ms. Wong said that it was found in the pocket of the
     21         jacket.     That doesn't make sense.     Det. Steneck would have
     22         found it if it was in the pocket.        She is going to go
     23         through the pockets to see if there is any kind of piece of
     24         identification that would have identified the clothing.
     25                      MR. REEVES:    Objection, your Honor.


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     Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 884 of 1061 PageID #: 1079
       000882                                                                             412
                                          Summations - Defense

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           1                      THE COURT:   I don't know if -- Well, I don't want

           2         to comment on the evidence.       The record is what it is and

           3         both sides are free to argue from it.         I'll say no more.

           4                      Go ahead.

           5                      MS. GUASTELLA:    The other thing that's

           6         interesting is that she testifies that she scrapes the

           7         inside of the second mask, the inside.         Now the inside is

           8         where the person would put the ski mask on, it would

           9         touch -- the eyes would touch it, the nose would touch it,

          10         the mouth would touch it, but, yet, when she scrapes the

          11         inside, she says there's not enough DNA recovered to

          12         develop a profile but there is enough on the outside.            That

          13          just doesn't make any sense to me.
          14                      And the other thing is, at first I thought I

          15         misheard something, but the Property Clerk testified that

          16         they recovered       Sgt. Trzcinsky I believe his name was
          17         testified that he retrieved or he recovered or he received,
          18          I apologize, a pair of blue jeans.        I thought maybe I
          19         misheard it.     And then I heard Ms. Wong say the same thing.

          20         Out of the long laundry list of items, one of the items is
          21         a pair of blue jeans.      Where did these blue jeans come
          22         from?     Whose blue jeans were they?      They weren't even
          23         tested.     We heard that Armand was wearing black jeans.            The
          24         person of interest was wearing black jeans.          Where did the
          25         blue jeans come from?      It's just something to keep in the


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 885 of 1061 PageID #: 1080
  000883                                                                             413
                                     Summations - Defense

      1         back of your mind.

      2                       The biggest thing is the bite mark.       Dr. deRoux

      3         tells you it's a fresh bite mark.         David was struggling

      4         with someone in the apartment.        Whoever shot him bit him on

      5         his back.      No tests are done.     You heard it was swabbed.

      6          It was received by the ME's office, but nothing was done

      7         with it.      No DNA testing on it, no dental impressions on

      8          it.     That was the killer.   Whoever belonged to that bite

      9         mark was the killer and they did nothing to test the bite

     10         mark.      That makes no sense to me.     But because some DNA

     11          that belonged to Armand was found on a mask inside of a

     12         bag, because of that he must be guilty?          You can't believe

     13          that.     You can't trust that when they get up here

     14                       MR. REEVES:   Objection, your Honor.

     15                       THE COURT:    I'll sustain the objection to the

     16         word "trust."      You can rephrase that.
     17                       MS. GUASTELLA:    Well, they are going to get up in

     18         a few minutes after I sit down -- And I want to say that

     19         once I sit down, I can't come back up and say anything
     20          else.     This is it, my final opportunity to speak to you.
     21         So, please, when they go through their summation and their
     22         power point and all of this stuff they're going to show you

     23         all over again, and arguments they are going to make,
     24         please reflect upon what I'm telling you and ask yourself,
     25         what would Ms. Guastella say in rebuttal to what they're


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 886 of 1061 PageID #: 1081
  000884                                                                             414
                                     Summations - Defense

      1         saying in their summation?       Because I can't get back up

      2         here and tell you what I would have said.          So, please think

      3         about what I would say based on what I'm telling you now.

      4                     What do we know in this case?       At the end of the

      5         case, at the end of the day, what we know is that David

      6         didn't work --

      7                     MR. REEVES:     Objection, your Honor.

      8                     MS. GUASTELLA:     He was unemployed on December 8th

      9         of 2011.
     10                     THE COURT:     I don't recall.    I remember his

     11         fiancee testified that he was doing something.           I'll let

     12         the jury's recollection control in that regard.

     13                     MS. GUASTELLA:     Judge, withdrawn.     We know that
     14         he did do       he did go to college and he met Armand in
     15         college, but he never finished college.

     16                     MR. REEVES:     Objection.
     17                     MS. CILIA:     Objection.
     18                     MR. REEVES:     You can't besmirch the victim's
     19         character, your Honor.
     20                     THE COURT:     I'll sustain the argument to whether
     21         he finished or not.       There was a question during trial in
     22         that regard and I sustained the objection as I recall, but
     23         you can certainly sum up on the record that he went to
     24         college, I gather, with your client.
     25                     MS. GUASTELLA:     Ms. Hunt testifies that her --


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 887 of 1061 PageID #: 1082
  000885                                                                             415
                                      Summations - Defense

      1          that David kept in touch with Armand after he graduated

      2          college and after law school, and that's why she called him

      3          2-5, because she knew him from when he played basketball on

      4          those teams.

      5                       We know that Armand was in the apartment numerous

       6         occasions and, in fact, has taken showers there before.

       7                      But, most importantly, what do we know for sure?

       8         Because the detective told you -- everyone told you here

       9         that the handprint on the wall belonged to Samuel Nelson

     10         but he was ruled out because he lived on the same floor.

     11          That's what we know.      Samuel Nelson's hand was in David's

     12          blood.

     13                       Thank you.
     14                       THE COURT:   Okay.   At this point we are going to

     15          take a short break, then we'll hear from the district

     16          attorney.     So, I'll let you step out.
     17                       Don't discuss the case yet.     The rules still
     18          apply.

     19                       Thank you.
     20                       (Whereupon, the jury exits the courtroom.)
     21                       THE COURT:   Okay, the jury has left.      Shall we
     22          run through this -- You don't have to give me a whole
     23          summation.     I just want to see what you got on the screen.
     24         They are going to arrange the laptop so the defense can see
     25          it.


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 888 of 1061 PageID #: 1083
  000886                                                                             416
                                            Proceedings

      1                      MR. REEVES:     I am going to hand up a copy of the

      2         power point to Court and to counsel.

      3                      (Handing.)

      4                      MR. REEVES:     Those are all the slides that will

      5         be used during the course of the summation.           All the slides

      6         are photos that have been received in evidence.

      7                      THE COURT:     What I'm looking at is what you are

      8         going to have on the screen?

      9                      MR. REEVES:     Correct.

     10                      In addition to the slides that are in evidence,

     11         we've put texts that mirrors the Court's charge which,

     12         according to People versus Baker, Court of Appeals case

     13         that precedes People versus Santiago, Court of Appeals

     14         noted with approval that People are allowed to display the

     15         appropriate law provided that the People do two things:
     16         One, they are accurate in the presentation of the law, and,
     17         two, that they acknowledge the Court is always the source
     18         of the law.
     19                      THE COURT:    What's the cite on Baker?
     20                      MR. REEVES:     I believe it's 14 NY3d.     I don't
     21         remember the page.        It's People versus Baker.     It's within
     22         the last two years.        But there's also a Second Department
     23         case called Tiro, T-I-R-0, where the Second Department
     24         noted with approval the People's use of power point in
     25         summation.    And I should point out to the Court --


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 889 of 1061 PageID #: 1084
  000887                                                                             417
                                           Proceedings

      1                     THE COURT:     I can't read this, because you keep

      2         talking to me.      Go ahead.

      3                     MR. REEVES:     I'm sorry.

      4                      THE COURT:    That's all right.     Finish up.    I

      5         don't have a problem with the concept of a power point

      6         presentation.      There's nothing wrong with that.       I just

      7          like to go through them before so I know what I am going to

      8         be looking at.

      9                      MR. REEVES:    Sure.     What I did want to point out

     10          to the Court is that Ms. Cilia will be using the power

     11         point which includes the photos and other evidence that

     12         have been received in evidence as well as excerpts from the

     13         transcript.
     14                      THE COURT:    These photos are all in evidence that
     15          I'm looking at?
     16                      MR. REEVES:    Correct.
     17                      THE COURT:    Did Det. Patterson give a height for
     18         the defendant?
     19                     MS. CILIA:     He did.
     20                      THE COURT:    He said 6'7"?
     21                      MS. CILIA:    He did.
     22                     MS. GUASTELLA:      He said based on -- from his own
     23         height.
     24                     THE COURT:     I'm just trying to remember if he
     25         used the term 6 1 7 11 •


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 890 of 1061 PageID #: 1085
  000888                                                                             418
                                            Proceedings

      1                      MS. CILIA:     I got that the from the transcript.

      2                      THE COURT:    And the same with the weight?

      3                      MS. CILIA:    As well as the weight, yes.

      4                      THE COURT:    On page 35 you have two pictures of a

      5         person walking up the ramp.         Underneath the photo you have,

      6          "This is the defendant."

      7                      MS. GUASTELLA:     There is no proof that that's the

      8         defendant.
      9                      MR. REEVES:    That's our argument.

     10                      THE COURT:     You can certainly make the argument,

     11         but I'd like that taken out of the power point.           You can do

     12         that easily, right?
     13                      MR. REEVES:     Yes.
     14                      THE COURT:     You can certainly ask the jury to

     15         make that inference, but I think printing it like that

     16         might be misleading, so take that out.
     17                      MR. REEVES:    That's been done.
     18                      THE COURT:    Thank you.
     19                      MS. GUASTELLA:     Judge, I have a problem with the

     20         photos on page 36.        It looks like they overlaid photos of a
     21         person with clothing at the Ferry terminal.          There is no
     22         proof that those are the same clothes.
     23                      MR. REEVES:    That's our argument, we're asking
     24         the jury to draw logical and reasonable inferences from the
     25         evidence.


                                                MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 891 of 1061 PageID #: 1086
  000889                                                                             419
                                           Proceedings

      1                     THE COURT:    As long as everything I'm looking at

      2         is in evidence, there is no problem with juxtaposing or

      3         making an argument.      It's an inference you're asking the

      4          jury to draw.

      5                     MS. GUASTELLA:     Judge, I have an objection to the

      6         rest where they put the charges and the element of the

      7         charges.    I believe that's the Court's job, not the

      8         prosecution's job.

      9                     THE COURT:    I'm going to go read this Baker case

     10         in a minute and see what they say.         I am going to go read

     11         Baker and Tiro if I can find them.

     12                     Let me just make one observation before I do
     13         that.    Throughout this power point presentation, you have,

     14         What is the credible evidence?        What is the credible

     15         evidence?    And then you list it.       You got to take
     16          "credible" out.    The reason is you're vouchering, and
     17         that's improper.      I can't let you argue you should believe
     18         this, you should believe that.        You can make objective

     19         arguments in terms of what the jury should find and you can
     20         ask them to draw inferences, but I wouldn't let you argue
     21         verbally, This is credible, That's not credible, This is
     22         credible.    You got to make objective arguments, so take out
     23         the word "credible."      You can leave, What is the evidence,
     24         if you want.     That's throughout.
     25                     I am going to go read a couple of cases.


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    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 892 of 1061 PageID #: 1087
      000890                                                                               420
                                                 Proceedings

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          1                       Second call.

          2                       (Whereupon, a brief recess is taken.)

          3                       (Defendant present.)

          4                       THE COURT CLERK:        Case on trial continues,

          5         Armand Skrine, Indictment 454/2011.

          6                       THE COURT:     Well, I reviewed Santiago, which

          7         Mr. Reeves alluded to.         I've also reviewed Baker and Tiro.

          8          I don't think the defendant -- rather, the People's power

          9         point presentation necessarily runs or follows those cases.

         10                       In Baker, as Mr. Reeves said, the law was

         11          referred to, but the Court of Appeals indicated that it
         12         could make certain things clearer to the jury.             Moreover,

         13         the Court made it clear that the jury had to take the law

         14          from them.     I've already done that in pre-summation
         15          instructions.     And I'd expect the People, when referring to

         16          the law, to make it clear that they get the law from the

         17         Court, which I think Mr. Reeves already said you'd do.

         18          Right?

         19                       MS. CILIA:     Right.
         20                       MR. REEVES:     Yes.
         21                       THE COURT:     Do you have any other objections,

         22         specific objections?
         23                       MS. GUASTELLA:        No.   Did they take "credible"
         24         out?
         25                       THE COURT:     Yes.     It's gone?


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    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 893 of 1061 PageID #: 1088
      000891                                                                             421
                                               Proceedings

          1                     MR. REEVES:    Yes.
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          2                     THE COURT:    Take a look at page 41, do you have

          3         any objection to anything on page 41?

          4                     MS. GUASTELLA:      The first line, How to determine

          5         if someone is intentionally doing something on purpose, I

          6         have a problem with that.         I can't really read this.

          7         Judge, the defendant's conduct, that's for the jury to

          8         decide if that was the defendant's conduct.

          9                     THE COURT:    That 1 s true, but as I've said in the

         10         pre-summation instructions, and as I often say during

         11         summations when I get objections, both sides are free to

         12         ask a jury to draw reasonable, logical inferences from the

         13         evidence.    The jury can accept them or reject them.
         14                     MS. GUASTELLA:      Judge, just to be clear, have you

         15          instructed for them to take out the charges and the

         16         elements?
         17                     THE COURT:    No.
         18                     MS. GUASTELLA:      That's staying in?
         19                     THE COURT:    Having read Baker I don't think there

         20          is any problem with it, as long as the DA makes it clear
         21         that they're not charging on the law.         There's nothing
         22         wrong, I don't think, with referring to their burden of
         23         proof in terms of the elements and saying here's how we
         24         argue we've proved these elements.         I've made it clear to
         25         the jury they have to take the law from me.          Part of the


                                                    MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 894 of 1061 PageID #: 1089
  000892                                                                             422
                                           Proceedings

      1         pre-summation instruction was, If you think there is any

      2         difference between what the lawyers may have said and what

      3         I say the law is, your sworn duties as jurors is to follow

      4         my instructions on the law.

      5                      MS. GUASTELLA:    Judge, I have a problem with

      6         page 41, last two slides, where he says "defendant's

      7         conduct," because that's assuming to the jury that that was

      8         already proven in the trial and it wasn't.

      9                      THE COURT:    I take it to mean they're asking the

     10         jury to draw inferences from the evidence that is in front

     11         of them.     But I do think, I mean        I'm just thinking out
     12         loud here.     I think that on page 41 the first box is fine.
     13         The second box I think is fine, except for items 10 and 11.
     14         I don't know where that comes from.          It seems to me that's

     15         pure speculation.      The rest of it I think is arguably
     16         asking the jury to draw inferences on the evidence based on
     17         the evidence in front of them.        And then the final
     18                      MS. GUASTELLA:    I disagree.     I don't see how you
     19         interpret that to mean that it draws an inference.            It says
     20         the intent is defendant's conduct.         It's not saying draw an
     21         inference.     It's basically telling the jury this is what
     22         the defendant's conduct was.
     23                      THE COURT:    Well, maybe we ought to rework it,
     24         put "inference" in there somewhere.
     25                      MR. REEVES:    I don't understand why.      This is our


                                               MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 895 of 1061 PageID #: 1090
  000893                                                                             423
                                           Proceedings

      1         argument to the jury: that the defendant is the shooter,

      2         look at his conduct to determine his intent before, during,

      3         and after.     And all the things that we have displayed are

      4         either in evidence or can be reasonably inferred from the

      5         evidence.

      6                      THE COURT:    I don't necessarily disagree with you

      7         except for 10 and 11 in the middle box and 2 in the lower

      8         box.    I don't know where those items come from.         I don't

      9          know that that's inferences.        It seems to me it 1 s pure

     10         speculation.

     11                      MR. REEVES:    I think if you take Dr. deRoux's

     12         testimony and the pictures that are in evidence, it's clear

     13         that the weapon was aimed at his chest.
     14                      MS. GUASTELLA:    The gun was strapped to the body

     15         part.
     16                      THE COURT:    10 and 11 in the middle box, I don't
     17          know where they come from.      I think they should come out.
     18          I don't think I'd let you make that argument verbally.
     19         It's speculation.      The rest of it I think is arguably a
     20         legitimate inference you're asking the jury to draw.              And
     21         then the bottom box, number 2, "Aimed murder weapon at
     22         David's chest as David attempted to run out of his
     23         apartment."
     24                      MR. REEVES:    I think that's a reasonable
     25         inference from the evidence when you have Det. Steneck


                                               MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 896 of 1061 PageID #: 1091
  000894                                                                              424
                                           Proceedings

      1         saying there is a deformed bullet inside the apartment,

      2         there is a bullet impact mark on the inside door frame, and

      3         the shell casing's recovered from the duffel bag

      4         afterwards.     Coupled with Dr. deRoux 1 s testimony, I think

      5         that's a logical inference.

      6                     THE COURT:    "Aimed murder weapon at David's

      7         chest, 11 fine, I think you can make that argument.          But as

      8         he attempted to run out of the apartment, I don't think

       9        there is any base.

     10                     MS. GUASTELLA:       Dr. deRoux's testimony is that it

     11         goes in through his right arm
     12                     THE COURT:    Yes.

     13                     MS. GUASTELLA:          not through his chest.

     14                     THE COURT:    And through the chest.

     15                     MS. GUASTELLA:       So, the gun was not aimed at his

     16         chest.    It went in through the side.
     17                     MR. REEVES:     If the Court wants me to take out

     18         the "as David attempted to run out" part.

     19                     THE COURT:    Why don't you change to, Aimed murder
     20         weapon at David.      Ms. Guastella is arguing that the
     21         entrance wound was to the left arm as I recall.           The bullet
     22         then traveled through the torso and did the damage the
     23         doctor testified to, but I don't know where it was aimed
     24         other than at the defendant -- other than at the deceased.
     25         I would change number 2 in the bottom box to aimed murder


                                                 MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 897 of 1061 PageID #: 1092
  000895                                                                                  425
                                           Proceedings

      1         weapon at David.

      2                     MR. REEVES:     Fine.

      3                     MS. GUASTELLA:     And fired through David's heart.

      4                     THE COURT:    Well, the bullet went through the

      5         heart.

      6                     MS. GUASTELLA:     It wasn't fired at the heart, it

      7         went through the arm.

      8                     MR. REEVES:     It doesn't say that.     It says into.

      9                     THE COURT:    I don 1 t think that's necessarily

     10         misleading.     The jury heard the doctor's testimony.           I

     11         don't think that's necessarily misleading.

     12                     MS. GUASTELLA:     And 5 and 6, Aimed the murder

     13         weapon at David's head and fired directly to David's head.
     14         That's not what Dr. DeRoux testified to.
     15                     THE COURT:    The doctor said it was a wound to the
     16         back of the head that came through the forehead.           The
     17         neighbor testified that when the deceased came out of the
     18         apartment, after she heard the first shot, he fell on his
     19          face; she then left in the stairway and heard the second
     20         shot.    So, I think this is a fair comment on that evidence.
     21          It's asking the jury to draw an inference as to the second
     22         shot, and I don't think it's necessarily misleading.                 Of
     23         course, it's up to the jury what inferences and conclusions
     24         to draw.
     25                     So, 10 and 11 in the middle box should come out,


                                               MMS
       Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 898 of 1061 PageID #: 1093
         000896                                                                              426
                                                  Proceedings

r-..         1         and we're going to alter 2 to aimed murder weapon at David.

             2                     MR. REEVES:    That's fine.

             3                     THE COURT:    Apart from that, I think we're

             4         talking about inferences that are not unreasonable.             I'm

             5         not saying the jury has to draw them, I'm simply saying I

             6         think it's a fair argument.          We've taken out the word

             7         "credible;" and there was that other issue: This is the

             8         defendant in the Ferry pictures.         Apart from that, I don't

             9         have any specific problems, as long as you make it clear

            10         when you talk about the law that the jury must take the law

            11         from the Court.

            12                     It's ten to one.     We're not going to get a DA

            13         summation in before lunchtime, so is it all right if I
            14         simply tell the jury to come back at two?
            15                     MS. GUASTELLA:     That's fine.
            16                     THE COURT:    Do I have to bring them back in the
            17         courtroom for that?
            18                     MS. GUASTELLA:     No.
            19                     THE COURT:    We're just going to tell them to come
            20         back at two for the next summation.
            21                      (Whereupon, a luncheon recess is taken.}
            22                     THE COURT CLERK:     Case on trial continues:
            23         Armand Skrine, Indictment 454/2011.
            24                      (Defendant present.)
            25                     THE COURT:    The defendant is present.       So, if


                                                      MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 899 of 1061 PageID #: 1094
  000897                                                                             427
                                   Summation - People/Cilia

      1         there's nothing further, we'll bring the jury in.

      2                     Are you going to arrange that so the defense

      3         table can see it?

      4                     MR. REEVES:     (Indicating.)

      5                     MS. CILIA:    It's going to be like that.

      6                     THE COURT OFFICER:         Your Honor ready for the

      7          jury?

      8                     THE COURT:    Yes.
      9                     THE COURT OFFICER:         Jury entering.

     10                      (Whereupon, the jury enters the courtroom.)

     11                     THE COURT CLERK:       Do both sides stipulate the

     12         presence of a complete jury panel, properly seated?

     13                     People?
     14                     MS. CILIA:    Yes.
     15                     THE COURT CLERK:       Defense?

     16                     MS. GUASTELLA:       So stipulated.
     17                     THE COURT:    Good afternoon, welcome back.
     18                     Ms. Cilia.
     19                     MS. CILIA:    No one knew when they boarded the
     20         9:15 ferry on December 8th of 2011, that with a murderer's
     21         intention in his heart and assault rifle strapped to his
     22         chest, death in the form of defendant was boarding along
     23         with them, and that death in the form of defendant would
     24         travel by ferry, by bus, by foot, by elevator, until he
     25         reached the destination that would be his final: David


                                                 MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 900 of 1061 PageID #: 1095
  000898                                                                             428
                                   Summation - People/Cilia

      1         Williams' doorstep.

      2                      When David met death that morning, he didn't

      3         recognize him.     Instead, all that David saw was his friend,

      4         his old former college roommate paying him a visit; and

      5         cloaked in that friendship David welcomed death into his

      6         apartment with open arms.

      7                      But once outside of view from everyone in the

      8         world but his intended victim, death revealed himself, and

      9         although David tried valiantly to run from him, death in

     10         the form of defendant prevailed aiming his assault rifle

     11         and pulling the trigger into David's heart and into David's

     12         head.

     13                      Death tried to hide his identity that bloody day.

     14         He was cloaked in a face mask to the outside world, he was

     15         cloaked in his friendship to David, but death is concealed

     16         no longer.     Death sits before you today in his suit and
     17         tie, his face is revealed
     18                      THE COURT:   I'm going to sustain the objection as

     19         to death sits before you today in suit and tie.           Rephrase

     20         that.
     21                      MS. CILIA:   The defendant is the man who killed
     22         David Williams on December 8th.
     23                      The issue for you to be decided is as follows:
     24         Did the defendant kill David Williams on purpose on

     25         December 8th of 2011?      The answer is yes.


                                               MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 901 of 1061 PageID #: 1096
  000899                                                                              429
                                   Summation - People/Cilia

      1                     Your role as a juror:      To evaluate the witnesses,

      2         to evaluate the evidence, to be the finders of fact.            Your

      3         role as jurors is not to speculate as Ms. Guastella asked

      4         you to do, speculate about what if, what if this, what if

      5         that, what if there is somebody else in Staten Island who's

      6         a tall man.     You have to evaluate the evidence in front of

      7         you and nothing else.

      8                     Determine for yourself what evidence is

      9         believable to reach a verdict.        The Court is going to tell

     10         you some factors to use and, of course, it's the Court who

     11         gives you the law, but, also, don't leave your common sense

     12         at the door.
     13                     Ask yourselves, the ability to observe, did the

     14         witnesses in this case see the incident?          Ask yourself if

     15         Jean Loiseau, as he was entering through that building, had

     16         an opportunity to see the masked man who was so much taller
     17         than him when Jean Loiseau is 6-foot-4.         Ask yourself, did
     18         Janet Smith, as she was walking out of her apartment, have

     19         an opportunity to see and to hear David get shot, David
     20         step out of his apartment, David fall to the floor.
     21                     Did the People's witnesses recall the event
     22         accurately?     Do you think      Does anyone here think that
     23         Janet Smith is ever going to forget what happened to her
     24         neighbor on December 8th, that she is the last person on
     25         earth to see David alive, to say his very last words?            Is


                                               MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 902 of 1061 PageID #: 1097
  000900                                                                             430
                                   Summation - People/Cilia

      1         that something that she's going to forget?

      2                      Corroboration:    Is the testimony supported by

      3         physical evidence?      And what are some examples of that?

      4         Jean Loiseau talked about a black face mask, he talked

      5         about a dark long jacket; and then you saw a black face

      6         mask in the defendant's bag, you saw a dark jacket, you saw

      7         the murder weapon.      So, ask yourself, is the witness's

      8         testimony corroborated by the physical evidence?

      9                      You heard Janet Smith talk about two shots that

     10         she heard.     And what did Det. Steneck recover?        Two

     11         deformed bullets matching the two shots that David

     12         struck -- I'm sorry -- that defendant struck David with on

     13         December 8th of 2011.

     14                      Is the testimony supported by other testimony?           I

     15         don't know how many people took the stand and said in one

     16         way or the other that the defendant is an incredibly tall
     17         person, that the man in the mask on December 8th of 2008
     18          (sic) was an unbelievably tall man.        Jean Loiseau, he's

     19          6-foot-4, he was towering over me.        Nicole told you, I've

     20         had many opportunities to see the defendant, he's somewhere
     21         between 6-foot-5 and 6-foot-9.        Det. Patterson is 6-foot-4,
     22         and what did he tell you?       I think this guy is about
     23          6-foot-7.
     24                      Did what the People's witnesses say have the ring
     25         of truth?     Did it all make sense, common sense?        Did the


                                               MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 903 of 1061 PageID #: 1098
  000901                                                                             4 31
                                   Summation - People/Cilia

      1         People's evidence make sense?        And the answer, of course,

      2         is yes.

      3                     The defendant shot David Williams on purpose on

      4         December 8th of 2011.      So, let's talk a little bit about

      5         the testimony, the evidence in this case.

      6                     You heard from Jean Loiseau.       You heard that he's

      7         a maintenance worker at 195 Steuben Street, as well as the

      8         apartment building across the street.         You heard that on

      9         December 8th, that morning, he was working in the other

     10         building at 204.     When he was working on tiles, he had to

     11         go back to his shop, so he entered into 195 Steuben Street.

     12         And he did that because he needed to get into his workroom.
     13                     Nobody was in the lobby at that time.         He told
     14         you that the lobby is open, anybody can get in.           As he
     15         walks back out, what does he see?        He sees a masked man who
     16         he's observing because it's the middle of the day, it's
     17         strange.    He's inside, he sees a masked man.        This man is
     18         much taller than him and he's carrying a gray and black
     19         duffel bag.     This man was well over 6-foot-4, he was
     20         wearing a long dark coat, his hands had gloves on them.
     21         And, again, he was wearing that full face mask that only
     22         showed his eyes, and, again, carrying the gray and black
     23         duffel bag.
     24                     And what do we find out?       That in the defendant's
     25         bag that was left by him in the woods, there is a glove


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 904 of 1061 PageID #: 1099
  000902                                                                             432
                                   Summation - People/Cilia

      1         inside.     There is a dark long jacket inside of that duffel

      2         bag which has the defendant's DNA in that duffel bag as

      3         well as the murder weapon.

      4                      MS. GUASTELLA:      Objection to in the duffel bag.

      5                      THE COURT:   Well, I guess that's technically

      6         accurate.
      7                      I think you are referring to the ski masks or the

      8         masks, whatever?

      9                      MS. CILIA:   Yes.

     10                      THE COURT:   I think the jury understands that.

     11                      MS. CILIA:   And when I asked Jean on the stand
     12         how does that compare, he said, in sum and substance,

     13         that's the same kind of jacket.
     14                      Same question when we asked him about the duffel

     15         bag.   His response was, That looks like the same kind of

     16         duffel bag.
     17                      And, finally, when we showed him the mask, his
     18         same response, It looks like the same kind of mask to me.
     19                      All of those items found in the defendant's
     20         duffel bag with the murder weapon.
     21                      You heard from Janet Smith, Janet Smith being the
     22         next-door neighbor to David and to Nicole, right next door.
     23         They lived next to door to each other for years.           And she
     24         told you, she is a nurse, she works in the afternoons; she
     25         was home that morning.        She talked to you about the fact


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 905 of 1061 PageID #: 1100
  000903                                                                             433
                                   Summation - People/Cilia

      1         that she was cleaning her apartment, that she noticed that

      2         her stove wasn't working because she had been cleaning it,

      3         so she goes initially to David's apartment because he's her

      4         neighbor, but she hears the male voices inside.           She

      5         doesn't think anything of it.        She just thinks, I'm going

      6         to go downstairs, I'm going to ask somebody else because I

      7         don't want to bother him.       She comes back up shortly

      8         thereafter.     She lights her stove after borrowing the

      9         lighter from her neighbor.

     10                      As she comes back out, what does she hear?         No

     11         longer just voices.      Now she hears papers being moved, she

     12         hears furniture being thrown around.         At this point she

     13         testifies to you that she's at this red circle up here.
     14         This is People's Exhibit 161.        I'm sorry, she's at this

     15         middle circle.     She turned around, she wonders what's going

     16         on, so she begins to start walking back toward David's
     17         apartment where she hears this commotion coming from.            And
     18         that's the point at which she hears shot number one.            And
     19         where does shot number one come from?         It comes from inside
     20         of David's apartment.      That, of course, scares Janet Smith,
     21         of course.     She then begins running down the hallway, runs
     22         down, until she hears the door open.         And what does Janet
     23         Smith think?     She turns around because she wants to make
     24         sure that the person, whoever is shot, she wants to see
     25         who's behind her, so she turns around, and instead of


                                               MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 906 of 1061 PageID #: 1101
  000904                                                                             434
                                   Summation - People/Cilia

      1         seeing the shooter, she sees the victim.          She sees her

      2         neighbor who she's known for the past five, seven years,

      3         clutching his chest, opening the door.         He's the only one

      4         there who's opening the door.        His hand is extended out to

      5         her, his other hand is at his chest, and he says, the last

      6         words of his life:      Oh, my God, help me, help me.

      7                     She sees David fall to the floor, his head in the

      8         ground, as she runs qut into the stairs to the only place

      9         that she knows that somebody is definitely home, her

     10         4th-floor neighbor, where she's just borrowed the lighter

     11          from.   She runs down those stairs as fast as she can.            She
     12         enters into that apartment and she tells that neighbor,
     13         Call 911.    And right as she's entering into that -- into
     14         the stairwell, what does she hear?         A second shot.    And
     15         this shot is so much louder than the first.          Why?   Because

     1~         we're no longer within David's apartment.          The defendant at
     17         this point has stepped outside as David is laying face down
     18         on the floor and then he shoots a second time into David's
     19         head just to make sure.       Just to make sure that that first
     20         shot that hit him in the heart killed him, he's going to
     21         shoot him a second time in the head.
     22                     You heard from Nicole Hunt.       Nicole and David
     23         have been together for the past 13 years.          They have a
     24         child together.     They've lived together.       She told you not
     25         only about her relationship with David, but she told you


                                               MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 907 of 1061 PageID #: 1102
  000905                                                                             435
                                   Summation - People/Cilia

      1         about the relationship between the defendant and David:

      2         that David and the defendant met in college; that they were

      3         actually roommates in college in Connecticut; that even

      4         after their school days were over, that the defendant and

      5         David still kept in touch with one another to the point

      6         where the defendant would actually visit David, with Nicole

      7         there, with the baby there, in their apartment on Steuben

      8         Street, many times.

      9                     She's able to tell you the defendant's physical

     10         description.     And what was it?     She said he had to be at

     11         least 6-foot-5, maybe up to 6-foot-9.         He had a much larger

     12         build than David.      And she talked about David's physical

     13         description.     Who would know David's physical description

     14         better than Nicole?      She said he's about 5-foot-11, she

     15         said he has a very skinny build, and we know from

     16         Dr. deRoux that that's correct, because Dr. deRoux measured
     17         him, David, when he did the autopsy, and he weighed him.
     18         David was 5-foot-10, in fact; he was 135 pounds.           And what

     19         does this tell us?      That Nicole can observe things very

     20         well.   What she sees is what is, in fact, happening.
     21                     And she talks about the last day of David's life,
     22         December 8, 2011.      She and David, they get up at the normal
     23         time, early; they get ready for work and for school.            They
     24         get the baby ready.      Everybody gets into the car because
     25         David is going to drive Nicole to school -- I'm sorry,


                                               MMS
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 908 of 1061 PageID #: 1103
      000906                                                                             436
                                       Summation - People/Cilia

          1         Nicole to work and Denae to school, and that's what he

          2         does.    And it's not until later in the morning that Nicole

          3         gets that phone call that she is never going to forget.

          4                     And, again, remember that ability to observe?

          5         Nicole had many opportunities to see the defendant, and she

          6         also had an opportunity to see the defendant's bag.            And

          7          she told you when she took that stand, I recognize that

          8         bag, that is the defendant's bag.         I saw him carry it a

          9          little after Thanksgiving, in November of 2011.          He brought

         10          that bag to my apartment.
         11                     And what else does she tell you about the bag?
         12         When he dropped it on the floor, it make a clunking noise,
         13         because the defendant always had that gun with him.
         14                     She talked to you about the apartment.         This is
         15         not the way that Nicole left the apartment on December 8th,
         16         with baby's toys knocked over, the drum set knocked over.
         17         Clearly something has happened here.         Poor David was trying
         18          to run for his life out of the apartment as the defendant

         19         chased him with an assault rifle.
         20                     The sectional here, it used to be all put
         21         together.    There are papers on the floor.        None of that was
         22         like that when Nicole left.       That's the defendant's doing
         23         as he was running after David in his final moments in life.
         24                     Even if you take a look at the fish tank in this
~        25         picture.    David was trying so hard to get out and the


                                                   MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 909 of 1061 PageID #: 1104
  000907                                                                             437
                                   Summation - People/Cilia

      1         defendant was running after him so quickly that there is a

      2         cup inside of the fish tank.         There are different items

      3         inside of that fish tank, all which shows the struggle that

      4         ensued within.

      5                     You also heard from law enforcement, not just

      6         civilian witnesses.

      7                     You heard from Det. Jeffrey Anderson.

      8         Det. Anderson is the one who stopped the defendant.            Let's

      9          just talk about that for a minute.        We know that Janet has

     10         her neighbor call the police as soon as this happened.               She

     11         sees David die.     No time has elapsed at this time.        And

     12         between 5 and 10 minutes after that phone call the

     13         defendant is stopped less than three blocks away in a

     14         wooded area that has a direct path to 195 Steuben Street.

     15                     And where is he stopped?       He's stopped on a

     16         service road; a service road with no sidewalk, with no

     17         pedestrian traffic anywhere.         It's just the defendant

     18         walking on the side of the service road.

     19                     And what does he have?       He's got mud on his
     20         shoes, indicating that he just came from that wooded path.
     21         He's acting nervous.      He's sweating profusely.       The officer
     22         actually says, I could see him sweating, which makes a lot
     23         of sense why the defendant's DNA would later be found on
     24         the mask, because he's sweating into the mask.
     25                     And, again, he's wearing the dark baseball hat,


                                               MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 910 of 1061 PageID #: 1105
  000908                                                                             438
                                   Summation - People/Cilia

      1         and we're going to talk about that later when we look at

      2         some of the stills from the video.

      3                     195 Steuben Street where David lay dying.          Mosel

      4         Avenue, which you can see leads all the way to the service

      5         road where the defendant is stopped.         Pierce Street, where

      6         the defendant 1 s duffel bag that he just discarded was

      7         recovered with the murder weapon.        And here is a close-up.

      8                     Det. Anderson, as he hears this, he goes the

      9         fastest route that he knows to get to 195 Steuben Street

     10         because he's heard this come over the radio.          So, he takes
     11         the service road and he sees the defendant coming from a
     12         wooded area.     Who comes from a wooded area?       So, he stops
     13         the defendant who is acting nervously, who's sweating, who
     14         has mud on his shoes.

     15                     And this is what the defendant looked like when
     16         he was arrested, minus the baseball cap.          You'll see he's
     17         not wearing a gray sweatshirt.        He's wearing a black jacket
     18         and a black shirt, because he's changed his clothes from
     19         what he was wearing on the Ferry.        He knew what he was
     20         going to do; he implemented that plan.
     21                     You can still see, if you look carefully, on the
     22         bottom of his shoes the mud from that path that he just
     23         took.
     24                     You heard from Officer Anthony Jacobs from K-9.
     25         He talked to you about Storm, his partner.          He and Storm


                                               MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 911 of 1061 PageID #: 1106
  000909                                                                             439
                                   Summation - People/Cilia

      1         came to Staten Island for one purpose, to look for physical

      2         evidence.    He didn't know what that evidence was going to

      3         be.   And he's deployed to an area where he ends up

      4         recovering the defendant's duffel bag.         That duffel bag

      5         with the defendant's mask with his DNA inside with the

      6         murder weapon inside, that's what Storm found.           And Storm

      7         was looking for human scents, and that's exactly what he

      8         found.
      9                     So, let's look at this again:        Where David's body

     10         was found; where Officer Anderson stopped the defendant,

     11         approximately 5 to 10 minutes after this horrendous murder

     12         happened; and where Storm was deployed.

     13                     Let's take a close-up.      Right here, right at

     14         where that wall is, that's approximately where the duffel

     15         bag was found.     The defendant walked down, he dumped the
     16         bag, and then he walked out to the service road, trying to
     17         get a bus to get back to where he was coming from.

     18                     So, here is the bag, the retaining wall on one
     19         side and the duffel bag.       But Officer Jacobs told you, this

     20         isn't quite the way that it looked when he and Storm found
     21         the duffel bag.     No, the defendant had actually tried to
     22         cover it up with leaves and the duffel bag was closed,
     23         because he didn't want anybody to find his -- the murder
     24         weapon.
     25                     When Officer Jacobs got there, the duffel bag was


                                               MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 912 of 1061 PageID #: 1107
  000910                                                                             440
                                   Summation - People/Cilia

      1         closed, but it was opened by Det. Guariano in his presence.

      2         And what's inside?      You could see the murder weapon, right

      3         there, same murder weapon in the bag.         It was tested by

      4         ballistics.    We know it's the murder weapon.

      5                     And what's right on top?       That dark jacket that

      6         the defendant was wearing.       It's on top of the bag because

      7         it's the last thing that he took off before he closed up

      8         that duffel bag.     Also back there, the gray sweatshirt that

      9         he wasn't wearing when he was stopped by the police,

     10         because he didn't want to be wearing the same clothes.               He

     11         had planned for that.
     12                     Det. Robin Steneck took the stand from crime
     13         scene.    She documented everything in this case.         She
     14         documented the crime scene, she documented the ballistic

     15         evidence, she documented the defendant's abandoned duffel

     16         bag, as well as documenting the defendant himself, what he
     17         looked like.     She documented the outside of 195 Steuben
     18         Street where David was murdered, what it looked like when
     19         she got there; David's body laying face down; the blood
     20         trail; the blood spatter that happened when the defendant
     21         took that assault rifle and pointed it at the victim's
     22         head.    She even told you about the brain matter that she
     23         found from David almost 80 feet away from his body.
     24                     Let's take a look just for a minute at the way
     25         that David was dressed the day that he was murdered:            No


                                               MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 913 of 1061 PageID #: 1108
  000911                                                                             441
                                   Summation - People/Cilia

      1         shoes on; he wasn't expecting anyone.         No pants on; he is

      2         just wearing shorts.       It's December; he wasn't looking to

      3         go outside.     He was looking for visitors.       This was

      4         unannounced.

      5                      And then the deformed bullets:       This one being

      6         outside the apartment, so that would be the second shot to

      7         David.    We have it in evidence.      We have the shell casing

      8         also from outside of 195.       It's going to go along with the

      9         second bullet to David's head.        She documented the door

     10         which shows that there was no forced entry, because David

     11         knew the defendant.      And she documented the apartment,

     12         which we've seen some photos of already.
     13                      And then that second -- what she called the
     14         second but it was actually the first shot, we have that one
     15         as well, this deformed bullet.        That's the bullet that went
     16         through David 1 s heart.
     17                      She also documented the bullet impact marks.            The
     18         first one, as we know, Janet Smith told us that she heard
     19         the first shot from within the apartment, as David was
     20         running out.     And we know that also from the ballistic
     21         evidence, because there is a bullet impact mark right
     22         there.    After it went through David and went through his
     23         heart and went through the other side of his body, it hit
     24         that door.
     25                      Then we have the second bullet impact mark, and


                                               MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 914 of 1061 PageID #: 1109
  000912                                                                             442
                                   Summation - People/Cilia

      1         that's right in front of 7N.         That bullet struck the door

      2         after it struck David in the head.

      3                      And she documented, again, the duffel bag, the

      4         contents of the duffel bag.       What did defendant bring with

      5         him when he went to murder David Williams?          He brought his

      6         long coat, okay, because he needed one thing to wear when

      7         he murdered David, another thing to wear when he was

      8         running away.     And if you'll note, that's a 46XL, which

      9         would fit somebody the size and stature of the defendant.

     10                      Here is the gray hoodie, the gray hoodie that he

     11         wasn't wearing when he was stopped, but that he was wearing

     12         when he was on the Ferry, that Det. Patterson took interest

     13         in when he was watching the Ferry video.          That's a 3XL,

     14         again, because the defendant is a very extremely large man.

     15                      Towels.   The face mask.     He needed that face mask

     16         because he didn't want anybody to know who he was when he

     17         entered that building, because he knew he was going to kill

     18         David Williams.
     19                      Counterfeit money because he wanted to make sure

     20         that he would have something to get away -- money to get
     21         away with.     And what was interesting about the counterfeit
     22         money?    You could tell it was counterfeit because all the
     23         serial numbers matched.       You heard from an expert who
     24         explained to you that all the serial numbers are not
     25         supposed to match when it comes to United States currency.


                                               MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 915 of 1061 PageID #: 1110
  000913                                                                             443
                                   Summation - People/Cilia

      1                     A glove.     Because the defendant wanted to make

      2         sure that he didn 1 t leave any fingerprints or any DNA on

      3         that gun.    And not just one set of gloves, but a second

      4         latex gloves, because he wanted to make extra sure that he

      5         wasn't going to have any DNA anywhere near that gun.

      6                     And, of course, the music.       What he got pumped up

      7         with before executing David Williams.         And just take a look

      8         at that for a second.       This is the CD that was found in the

      9         defendant's bag.       And what does it say on that CD?       It

     10         says, Massacre; and now just think about what happened to

     11         David Williams that day.

     12                     And the murder weapon fully loaded, two

     13         magazines, bullet in the chamber.        That was inside of that

     14         bag, too, and that's why he put the leaves over that,

     15         because he was hoping nobody would find that.          And along

     16         with that magazine, one shell casing.         And that shell

     17         casing becomes very important later on when we talk about

     18         ballistics, because we learn that that shell casing matches
     19         the shell casing that was left at the scene.          They both

     20         came from the same firearm, the murder weapon, which is in
     21         evidence.
     22                     That's the shell casing from inside of the bag.
     23         That's the shell casing from inside of David's apartment.
     24                     And, again, a second magazine.
     25                     We talked about the fact that Det. Steneck, she


                                               MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 916 of 1061 PageID #: 1111
  000914                                                                             444
                                   Summation - People/Cilia

      1         also documented what the defendant looked like, what he was

      2         wearing, okay.     He was wearing that black jacket, dark

      3         jeans, black shoes, black T-shirt.        And there they are, the

      4         black jacket, the black shoes, the black jeans.           And look

      5         at those sizes, this is what's on the defendant: 4XL, US

      6         13, W38.    That's what the defendant is wearing at the time

      7         of his arrest.

      8                      And she documented the defendant, no injuries to

      9         the defendant, none whatsoever.        Looks like on his hand he

     10         has some old injury on his finger, nothing from that day.

     11         Nothing whatsoever.
     12                      You heard from Officer Vincent Aguila.        Officer
     13         Aguila was the first officer to respond to David's death
     14         scene.     There were officers who were outside first, but
     15         Officer Aguila and his partners were the ones who went in

     16         before anyone else.      He was also the first officer to enter
                                                                -
     17         David 1 s apartment, because, again, as you heard, he was
     18         looking to see whether or not there were any small children
     19         inside.    And he told you that the way the Det. Steneck had
     20         taken the photographs and documented that, that's exactly
     21         the way that David Williams was laying when he entered that
     22         hallway.    And he told you that the way that Det. Steneck
     23         documented that apartment was exactly the way that it was
     24         when he entered that apartment.
     25                      And you heard from Det. Patterson.       He's the case


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 917 of 1061 PageID #: 1112
  000915                                                                             445
                                   Summation - People/Cilia

      1         detective in this.      He's the one who's responsible for the

      2         entire investigation.      He oversaw it.     He talked to you

      3         about canvasses, you canvass for people, he and his team.

      4         He canvassed for video.       And he talked to you about

      5         suspects, okay.     He said that there was a print that was

      6         removed from the scene, okay, and that came back to a man

      7         named Samuel Nelson.      And why was that person not a

      8         suspect?    He's 5-foot-7, okay, a foot under the defendant,

      9         okay, a foot under what the witnesses said that the masked
     10         man was wearing.     He lives in the building.       He's on the

     11         7th floor, okay.     You heard Nicole say that he lives in

     12         apartment 7-0.     You heard Officer Aguilo say that when he

     13         got there, he saw a man who looked like he was calling 911,
     14         okay.    Samuel Nelson was never a suspect in this case.
     15         Samuel Nelson wasn't stopped 10 -- I'm sorry, 5 to
     16         10 minutes away, three blocks away.         Samuel Nelson's bag
     17         wasn't found with his DNA and the murder weapon inside.
     18                     And Det. Patterson also talked about the
     19         defendant's physical description because he had some time
     20         to observe it.     He said that the defendant was
     21         approximately 6-foot-7 and between 240 and 260 pounds.
     22                     You heard from Det. James Clontz from the
     23         ballistics lab, an expert in ballistics.          He talked to you
     24         about the assault rifle that was found in the defendant's
     25         bag which was, in fact, the murder weapon.          He told you


                                               MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 918 of 1061 PageID #: 1113
  000916                                                                              446
                                   Summation - People/Cilia

      1         that it was a semiautomatic rifle which is different than

      2         an automatic rifle.      So, it's one trigger pull per bullet.

      3         So when the defendant pulled the trigger, he did it not

      4         just once, but he did it twice.        It had the ability to

      5         accept external magazines.       It had a pistol grip which

      6         protrudes from beneath the frame.        And it was designed

      7         based on an AK-47 model.       Okay.   That's what makes it,

      8         Det. Clontz told you, an assault weapon under the law.

      9                     He told you that it was defaced, meaning that

     10         where there is supposed to be a serial number, which is

     11         what allows us to track weapons, that there was no serial

     12         number.

     13                     And he told you that the magazine was loaded.             He

     14         told you that this particular magazine has the capacity to

     15         hold 21 bullets.     And how many were in there?        19.   Where

     16         are the other two?      We have them right here, the two that

     17         went through David Williams.

     18                     He told you that the weapon is operable, he

     19         tested it himself; and he also told you that the weapon was

     20         discharged.
     21                     He talked to you about the deformed bullets.

     22         Now, the deformed bullets and the assault rifle have the
     23         exact same caliber.      He told you they are deformed.        He
     24         can't tell you whether or not they're -- they came from
     25         that particular rifle, because they're deformed, they went


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 919 of 1061 PageID #: 1114
  000917                                                                             447
                                   Summation - People/Cilia

      1         through a body and then hit different objects, but he can

      2         tell you that they are the same caliber.          But he could tell

      3         you about the shell casings, the shell casings that we have

      4         in evidence as well.      One shell casing coming from the bag,

      5         the other shell casing coming from David's death scene.

      6         And these two shell casings matched.         And they match a
      7         weapon, and it's the weapon that we have in evidence, it's

      8         the murder weapon.

      9                     And what else does Det. Clontz tell us?         He told

     10         us the significance of this garbage bag wrapped around the

     11         murder weapon.     Why is there a garbage bag over this
     12         weapon?    Well, he told you that this would contain the

     13         shell casings, okay.      So, unlike a revolver, their actual
     14         shell casings come out of each bullet as it comes out.               And
     15         these -- And that garbage bag right there would hold those

     16         shell casings in place, but because shell casings are hot,
     17         the garbage bag had a little hole.         The defendant's plan
     18         didn't work out exactly the way that he wanted.           Although
     19         he didn't want to leave any forensic evidence at the scene,
     20         he did.
     21                     You heard from Irene Wong who came from the DNA
     22         lab.   She is a DNA expert.      She talked to you about the
     23         masks in this case that were found contained within the
     24         duffel bag that had the murder weapon inside.          She talked
     25         to you about two masks.       Mask number one she told you the


                                               MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 920 of 1061 PageID #: 1115
  000918                                                                             448
                                   Summation - People/Cilia

      1         source of the DNA, the defendant.        There is a second mask;

      2         the source of the DNA on that mask, the defendant.

      3                      Now, this first mask was actually contained

      4         within that dark jacket that Jean Loiseau saw the defendant

      5         wearing, okay.     That was in the pocket.      And there is the

      6          jacket that it came from, right inside the pocket.          So,

      7          Det. Steneck didn't even document the fact that there was

      8         this mask because she documented the jacket itself, but not

      9         the mask inside.      But of course she did document this mask.

     10         This is the same mask that Jean saw the defendant wearing
     11         on December 8th.

     12                      So, here we go with mask number one; this is the

     13         smaller of the two masks.       I'm not a DNA expert, okay, but
     14          I can read the numbers.      And you can see that in each one
     15         they match, okay, that the defendant's DNA is the source of
     16         that mask.
     17                      And there is the mask, the second mask.        We're
     18         going to get to that now.       Again, mask number 2 you can see

     19         right here, and, more importantly, the expert told you that
     20         the source of the DNA on both of these masks is the
     21         defendant.
     22                      You also heard from Patricia Zippo.        She was a
     23         questioned document expert.       She talked to you about the
     24         bills that were found in the defendant's duffel bag, and
     25         she's the one that told you they were counterfeit.           She's


                                               MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 921 of 1061 PageID #: 1116
  000919                                                                             449
                                    Summation - People/Cilia

      1         the expert in this.      And, so, she was able to explain that

      2         there are a bunch of security features that are on regular

      3         money that were missing from this money, okay.           That's what

      4         makes it non-genuine.

      5                     You heard from Dr. Stephen deRoux.         He's the one

      6         who conducted David's autopsy.        He talked to you about the

      7          injuries that David had on his body on December 8th of

      8          2011.   And what was of particular note was he told us that

       9         the bullet wound that went through David's heart would have

     10         given him 10 to 15 seconds of breathing air, okay, 10 to

     11          15 seconds where he would still be able to do something.

     12         And he did.     He ran out of the apartment, he gasped, he

     13         said his last words.
     14                     Now, that's in stark contrast to the bullet wound

     15          to David's head.     Dr. de Roux told you once that bullet
     16          impacted David's head, that would be it, death would be
     17          instantaneous.     So, we know that shot number one is the one

     18          that went through David's side, through his heart, and into

     19         the other side.
     20                     Here is the entrance wound.       David's running out
     21         of his apartment, okay.       On the right-hand side is where
     22          the bullet enters the body.      And here is the exit wound,
     23          right on the other side.      It goes right through him.
     24                     This is what the defendant did to David's heart.
     25          Dr. deRoux said it was pulpified, 10 to 15 seconds left


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 922 of 1061 PageID #: 1117
  000920                                                                             450
                                   Summation - People/Cilia

      1         after the defendant shot David in the heart.

      2                      Second shot:    David is lying on the ground, face

      3         down, and what does the defendant do?         He shoots him right

      4         in the back of the head just to make sure.

      5                      So, let's talk about the physical evidence in

      6         this case.     We've talked a little bit about it already.

      7                      We've talked about the discharged shell casings.

      8         The casing found in David's bag matched the casing found at

      9         the scene of the crime.

     10                      We talked about the deformed bullets.        And those

     11         deformed bullets were found one inside of the apartment,
     12         which goes along with Janet's testimony, okay, that she

     13         heard one shot from within the apartment, and then a second

     14         deformed bullet outside, which goes along with her

     15         testimony that she heard a second louder shot.
     16                      And then we have some more evidence, and that's
     17         the surveillance videotape.       So, let's go through that now.
     18         9:10 a.m., Whitehall side.       Right there is the defendant,

     19         already strapped with the duffel bag which contains the
     20         murder weapon, with the dark hat on, the baseball cap that
     21         Officer -- I'm sorry         Detective Anderson saw him wearing
     22         when he was stopped, and the gray hoodie sweatshirt that
     23         was found in the duffel bag.
     24                      There he is again, left-hand side of the screen,
     25         another shot of the defendant.


                                               MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 923 of 1061 PageID #: 1118
  000921                                                                             451
                                   Summation - People/Cilia

      1                      Fast-forward about 35 minutes later.        Here is the

      2         defendant on the Staten Island side of the Ferry entering

      3         into the bus terminal; walking toward the bus terminal.

      4         Here is a shot of the back of the bag.         You can see that

      5         it's weighed down.      We all know what it was weighed down

      6         with.      It was so heavy that the defendant had to readjust

      7         the bag.

      8                      The images that we just showed you are the

      9         defendant.     Let 1 s talk about how we know that.

     10                      Here he is:    Same duffel bag that's found in the

     11         woods; same jacket that the defendant was wearing at the

     12         time of his arrest; and same gray hoodie that was found

     13         within that duffel bag.

     14                      Here is another shot of him:       Same dark jeans

     15         that defendant is wearing; same shoes that the defendant

     16         was wearing at the time of his arrest; and, again, the same
     17          jacket.

     18                       Det. Steneck took a picture of the defendant from

     19         the back when he was arrested.        Same stature, same posture,

     20         same bag.
     21                      So, let's talk about the charges.       This is
     22         something that the judge is going to charge you on the law,
     23         but we are just going to go over a few things now.
     24                      He's being charged with Murder in the Second
     25         Degree, Criminal Possession of a Weapon in the Second


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 924 of 1061 PageID #: 1119
  000922                                                                             452
                                   Summation - People/Cilia

      1         Degree, and Criminal Possession of a Forged Instrument in

      2         the First Degree.      Those are the names of the charges.

      3                     You are going to hear from the judge about

      4         "knowingly," that "knowingly" means aware of conduct; that

      5         to "possess" means to have physical possession or dominion

      6         or control over property; and "firearm," he is going to

      7         tell you, includes an assault weapon, which is what we have

      8         in evidence.
      9                     He is going to tell you that an assault weapon is

     10         a semiautomatic rifle that has the ability to accept a

     11         detachable magazine and it has at least two of the

     12         following characteristics, which include a pistol grip that
     13         protrudes conspicuously beneath the action of the weapon,
     14         and a folding or telescoping stock, flash suppressor, and

     15         grenade launcher.
     16                     You heard from Det. Clontz that this is, in fact,
     17         the assault rifle; it had at least two of those
     18         characteristics.
     19                     Loaded, has ammunition and capable of firing.
     20                     And, also, that this did not take place in the
     21         defendant's home or place of business, and, obviously, we
     22         have proven that.
     23                     We know that it's loaded because it had not one
     24         but two separate magazines both of which are loaded.
     25         Remember, the only two bullets that are missing are the two


                                               MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 925 of 1061 PageID #: 1120
  000923                                                                             453
                                   Summation - People/Cilia

      1         that killed David Williams.

      2                     So, now we are going to apply the law to the

      3         evidence.    The defendant carries the assault weapon to

      4         Staten Island in his duffel bag.        The defendant holds the

      5         weapon in his hands as he shoots into David's heart and

      6         into David's head.      And then the defendant discards the

      7         murder weapon in the woods as he attempts to flee the

      8         scene.    And that's how we know that he possessed it.

      9                     Again, apply the law to the evidence.

     10                     This is a semiautomatic rifle; it has the ability

     11         to accept external magazines.        It has a pistol grip that

     12         protrudes from beneath the frame.         It's designed based on

     13         an AK-47 model.     So, we know that it's a assault rifle.

     14                     What has the evidence proven?        That on

     15         December 8, 2011, in Staten Island, the defendant possessed

     16         an assault rifle, and that he did so knowingly; that

     17          firearm was loaded and operable; and the gun was not in his
     18         home or place of business.
     19                     So, now moving along to Criminal Possession of a

     20         Forged Instrument in the First Degree, again, the judge is
     21         going to be the one who tells you the law, but I expect him
     22         to say that with knowledge that it is forged and with
     23         intent to defraud, deceive, or injure another, he possesses
     24         a forged instrument which is or purports to be an issue of
     25         money, this money, okay, the counterfeit money.


                                               MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 926 of 1061 PageID #: 1121
  000924                                                                             454
                                   Summation - People/Cilia

      1                     Again, you have to act knowingly and

      2         intentionally.     How do we know that he acted knowingly?

      3         The defendant discarded the counterfeit money along with

      4         the murder weapon when he tried to flee the scene, and we

      5         know that he acted intentionally because the defendant's

      6         bag was filled with items meant to provide assistance to

      7         him when he was on the run, and that included the

      8         counterfeit money.

      9                     So, the evidence in this case has proven that on

     10         December 8th of 2011, in Staten Island, the defendant

     11         possessed a forged instrument purporting to be an issue of

     12         money; he did so knowingly and he did so with the intent to
     13         defraud, deceive or injure another.
     14                     And then we have Murder in the Second Degree:
     15         With intent to cause death, the defendant caused the death

     16         of another person.
     17                     The judge is going to tell you that "intent"
     18         means conscious objective or purpose.         And how do we
     19         determine that?     How do we know that the defendant acted

     20         intentionally?     We've got to look at what the defendant
     21         did, his conduct before he murdered David Williams, while
     22         he murdered David Williams, and then after the crime.
     23                     So, what did he do before?       He placed duct tape
     24         around the weapon, okay, because he didn't want to have his
     25         prints, DNA, on there.      He put the garbage bag on the


                                               MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 927 of 1061 PageID #: 1122
  000925                                                                             455
                                   Summation - People/Cilia

      1         weapon to make sure that the shell casings would stay in

      2         place and none would stay on the scene.         He loaded the

      3         weapon with a detachable magazine fully loaded.           Then he

      4         placed that loaded weapon into a duffel bag.          And then,

      5          just to make sure, he added an additional loaded magazine

      6         into the duffel bag as well.         He carried the assault weapon

      7         which was hidden in the duffel bag through the Whitehall

      8         Ferry terminal.     We saw him on video doing that.        And then

      9         he carried that assault weapon hidden in the duffel bag
     10         onto the Ferry.     Then he carried the assault weapon still

     11         hidden in the duffel bag through the terminal.           And then

     12         continuing his route, he went to David's apartment building

     13         with that duffel bag containing the murder weapon.
     14                     He placed a face mask on to conceal his identity,
     15         because he knew that he was going to kill David.           He placed

     16         gloves on himself to keep from leaving fingerprints.            He
     17         removed the face mask from his face when he knocked on
     18         David's door, because he didn't want David to know that he
     19         was about to kill him.
     20                     What did the defendant do during the shooting?
     21         We know there was no forced entry, so as his friend the
     22         defendant entered that apartment.         He aimed the assault
     23         rifle at David, and he fired into David's heart.
     24                     Then the defendant, after David ran out, fell on
     25         the ground, he opened the apartment door, he walked to


                                               MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 928 of 1061 PageID #: 1123
  000926                                                                             456
                                   Summation - People/Cilia

      1         David's body, and David's body was laying face down on the

      2         floor, and he aimed the murder weapon at David's head.

      3         Then he fired directly into David's head.

      4                      What was the defendant's conduct like after the

      5         shooting?     Well, he quickly left the apartment.        He didn't

      6         want to get caught.      He took the gloves, the long coat that

      7         he was wearing, the mask that he was wearing, the murder

      8         weapon, the ammunition, he put it all back into the duffel

      9         bag; he changed his clothes, because he didn 1 t want to be

     10         wearing the same clothes as the clothes he had just been

     11         killing David with; and then he discarded the duffel bag

     12         into that wooded area.       He put leaves over the duffel bag

     13         to make sure to hide the bag from view, and he walked
     14         toward public transportation.        When he was stopped by
     15         police, he was sweating profusely.
     16                      The result of the defendant's conduct:        A gunshot
     17         wound to his heart, a gunshot wound to his head, the result
     18         being David Williams' death.         The defendant shot David on
     19         purpose.     When you apply the law, that's what you get.
     20                      The defendant intended to kill David.        How do we
     21         know that?     The weapon that was used: fully-loaded assault
     22         rifle.     Also, the location of where he was shot:        Shot
     23         number one, as the defendant -- as David attempted to run
     24         out of the apartment; shot number two, David is on the
     25         ground.


                                               MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 929 of 1061 PageID #: 1124
  000927                                                                             457
                                   Summation - People/Cilia

      1                     The defendant was in close proximity to David.

      2         There were two shots that he fired.         Remember because as a

      3         semiautomatic you have to shoot each time.

      4                     The number of times that David was struck: twice,

      5         because he was aiming at David.

      6                     The area:    He shoots David in the heart and in

      7         the head.    And, again, the result, David Williams' death.

      8                     The evidence has proven in this case that on

      9         December 8th of 2011, right here in Staten Island, that the

     10         defendant caused the death of David Williams, that the

     11         defendant intended to kill           to cause the death of David

     12         Williams.

     13                     Now, at the beginning of this case, during jury

     14         selection, during the openings, we told you that at the end

     15         of this case, after we had proved beyond all reasonable

     16         doubt the defendant's guilt, that we were going to come

     17         back to you and we were going to ask you to do one thing,

     18         and that's what I'm going to ask you to do now, and that's

     19         follow the law.     Follow the law, convict the man who was

     20         responsible for these crimes, vote guilty on all counts
     21         against the defendant.
     22                     Thank you.

     23                     THE COURT:    It's about 3:30.     My charge on the
     24         law is going to take about an hour.         It's really too late
     25         in the day for me to charge, so we're going to break now.


                                               MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 930 of 1061 PageID #: 1125
  000928                                                                              458
                                           Proceedings

      1         We are going to resume -- Can I make it 9:30?            It's been

      2         10:00 for the last few days.            Is 9:30 all right with

      3         everybody?     I'll make it 10:00 if you want.

      4                      THE JURORS:    Ten o'clock.

      5                      THE COURT:    Would you prefer 10:00?

      6                      THE JUROR:    Ten.

      7                      THE COURT:    Okay, we'll make it 10 a.m., and I'll

      8         give you the law then.

      9                      The rules still apply:         Don't discuss the case,

     10         and so on.     Thank you for your attention, and have a good

     11         afternoon.
     12                      THE JUROR:    Leave the notebooks?

     13                      THE COURT:    Yes.    We'll lock them up, we'll give

     14         them back to you tomorrow.

     15                      (Whereupon, the jury exits the courtroom.)

     16                      THE COURT:    Okay.    10 a.m.
     17                      (Defendant remanded.)

     18                      (Whereupon, court stands in recess and this
     19         matter is adjourned to March 11, 2014, at 10 a.m.)
     20     *      *    *     *     *      *    *     *     *     *     *
                  I hereby certify that the foregoing is a true and
     21     accurate transcript of the above proceedings to the best of my
            knowledge, skill, and ability.
     22

     23

     24
     25


                                                  MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 931 of 1061 PageID #: 1126
  000929



           SUPREME COURT OF THE STATE OF NEW YORK
           COUNTY OF RICHMOND - CRIMINAL TERM - PART 5
           --------------------------------------x INDICTMENT NO.
           THE PEOPLE OF THE STATE OF NEW YORK
                                                                454/2011

                          -against-


           ARMAND SKRINE,                                       JURY TRIAL
                                                                 (Cont'd)

                                             Defendant.
           --------------------------------------x
                                      18 Richmond Terrace
                                             Staten Island, New York
                                             March 11, 2014

           BEFORE:

                HONORABLE STEPHEN J. ROONEY, Justice.




           APPEARANCES:

                DANIEL DONOVAN, ESQ.
                District Attorney - Richmond County
                     130 Stuyvesant Place
                     Staten Island, N.Y. 10301
                BY:  KYLE REEVES, ESQ.,
                     JENNIFER CILIA, ESQ.,
                     Assistant District Attorneys

                MARIA GUASTELLA, ESQ.
                Attorney for the Defendant
                     88 New Dorp Plaza
                     Staten Island, N.Y. 10306




                                                     MAURIZIA M. SELLECK
                                                     SENIOR COURT REPORTER



                                             MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 932 of 1061 PageID #: 1127
  000930                                                                             460
                                           Proceedings

      1                     THE COURT CLERK:     Case on trial continues,

      2         calendar number 1, Indictment 454/2011: Armand Skrine.

      3                     Appearances, counsel.

      4                     MS. CILIA:    Jennifer Cilia and Kyle Reeves for

      5         the People.

      6                     MS. GUASTELLA:     Maria Guastella on behalf of

      7         Mr. Skrine.

      8                     Good morning again, your Honor.

      9                     THE COURT:    Good morning.

     10                      (Defendant present.)

     11                     THE COURT:    Okay, the defendant is present.
     12                     As to Count 6, in reviewing the law yesterday

     13         afternoon, I came across several cases that indicate to me
     14         Count 6 is probably not proven.        People against Bailey at
     15         13 N.Y.3d 67.     I'll cite another case, People against
     16         Batson, Second Department case from last year, reported at
     17         103 A.D.3d 910.     These cases stand for the proposition that
     18         in terms of Criminal Possession of a Forged Instrument in
     19         the First Degree, it must be proven that the defendant in
     20         question knew, was aware, that the bills at issue were
     21         counterfeit, and also it must be proven beyond a reasonable
     22         doubt, of course, that the defendant intended to defraud,
     23         deceive, or injure another.       I don't think we have either
     24         of those things specifically proven here.          We 1 ve got
     25         possession in a circumstantial sense proven, but I don't


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 933 of 1061 PageID #: 1128
  000931                                                                             461
                                           Proceedings

      1         think there is any proof of knowledge or intent.

      2                     So, my feeling is I should have granted

      3         Ms. Guastella's motion yesterday with regard to Count 6

      4         anyway.

      5                     Anyone want to be heard?

      6                     MS. GUASTELLA:     Judge, obviously, I have no

      7         objection to the count being dismissed.         However, I think

      8         the jury should have a curative instruction asking them to

      9         disregard any testimony during the trial and during

     10         Ms. Cilia's summation as to counterfeit money.

     11                     THE COURT:    I 1 m not submitting a number of counts
     12         based on the charge conference.        What I generally say as
     13         part of my pattern instruction is for reasons which need
     14         not concern them, certain counts are not going to be

     15         submitted and they are not to draw any inference.

     16                     MS. GUASTELLA:     But the People in their power
     17         point gave that charge.

     18                     THE COURT:    You want me to leave it?
     19                     MS. GUASTELLA:     No.
     20                     THE COURT:    I'll take it out.      I'll hear the DA.
     21         But if I start to get into specific as you call it curative
     22         instructions with regard to Count 6, then wouldn't I have
     23         to do it with regard to counts 2 and 4 and 5?
     24                     MS. GUASTELLA:     Had the People not addressed that
     25         exact count in their power point and broken it down element


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 934 of 1061 PageID #: 1129
  000932                                                                             462
                                           Proceedings

      1         by element --

      2                     THE COURT:    What do you want me to say?

      3                     MS. GUASTELLA:     That the People should disregard

      4         any testimony surrounding the counterfeit money as well as

      5         their summation and the power point.

      6                     THE COURT:    Hear what I generally say:       For

      7         reasons that need not and must not concern you, the Court

      8         will not submit the other counts to the indictment for your

      9         consideration.     That simply means you will not consider

     10         those particular counts in your final deliberations.             Bear

     11         in mind you are not to speculate upon the fact that they've

     12         been removed from your final deliberations.          You are to
     13         draw no inference whatsoever from the fact that those
     14         particular counts have been excluded from your final

     15         deliberations.

     16                     Isn't that sufficient?
     17                     MS. GUASTELLA:     Judge, can you read it one more
     18         time?    I apologize.
     19                     THE COURT:    For reasons that need not and must

     20         not concern you, the Court will not submit the other counts
     21         of the indictment for your consideration.          That simply
     22         means you will not consider those particular counts in your
     23         final deliberations.      Bear in mind you are not to speculate
     24         upon the fact that I've removed those particular counts of
     25         the indictment from your final deliberations.          You are to


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 935 of 1061 PageID #: 1130
  000933                                                                                 463
                                           Proceedings

      1         draw no inference whatsoever from the fact that those

      2         particular counts have been excluded from your final

      3         deliberations.

      4                      MS. GUASTELLA:    Judge, I guess that's fine, but

      5         just note my objection as to the curative instruction for

      6         the record.
      7                      THE COURT:    I guess that's fine but note my

      8         objection?

      9                      MS. GUASTELLA:    Because if the People didn't put

     10         it in their power point and actually expand on the charge

     11         and put the elements out in front of them and compare what

     12         they think they have proven to each element, then I

     13         probably wouldn't have asked for a curative instruction.

     14                      THE COURT:    I can't see how a counterfeit charge
     15         has any bearing on the other two counts.          I mean, it's a

     16         separate and distinct charge which I'm not submitting.               I
     17         think this is sufficient.
     18                      What do you think, People?      I mean --
     19                      MR. REEVES:   I think we're disadvantaged
     20         because Ms. Cilia argued to the jury the proof of the
     21         defendant's guilt of this count, but I have no objection
     22         if the Court reads the instruction.         I'm not quite sure
     23         what a curative instruction would be for.          There was no bad
     24         faith and we argued the evidence, so there is nothing to be
     25         cured.


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 936 of 1061 PageID #: 1131
  000934                                                                             464
                                           Proceedings

      1                      THE COURT:    There is no question I should have

      2         granted the motion yesterday in my view and you would have

      3         known before you summed up.       I don't see any prejudice on

      4         this counterfeit argument with regard to the other two

      5         counts.    I mean, of course I have my own unique

      6         perspective, you have yours.

      7                      MR. REEVES:    Correct.

      8                      THE COURT:    If you both want me to say something

      9         specific about Count 6, if you both want me to, then tell

     10         me what you want me to say.

     11                      MR. REEVES:    I want you to say what you just read

     12         to both parties.      I think that minimizes the prejudice to

     13         the People and it explains to the jury why they're only
     14         getting the two counts.
     15                      THE COURT:    I think that instruction is

     16         sufficient.     It's time-tested and I just don't see the

     17         prejudice.

     18                      I do agree, I should have dismissed it before you
     19         summed up, but I didn't review these cases until after when
     20         I began to wonder about the elements.
     21                      Okay.   So, if there is no further discussion,
     22         I'll grant the defense motion to dismiss Count 6.           So, that
     23         means I'm submitting two counts.
     24                      Let me hand out another verdict sheet, and if you
     25         approve it in form, just say so and please initial in the


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 937 of 1061 PageID #: 1132
  000935                                                                             465
                                           Proceedings

      1         lower corner somewhere.

      2                      (Handing.)

      3                      THE COURT:    Is the verdict sheet approved in form

      4         by both sides?

      5                      MS. GUASTELLA:    Yes.
      6                      MR. REEVES:    Yes.
      7                      THE COURT:    Okay.     So, I guess we can bring the

      8         panel in and I'll give them an instruction.

      9                      (Whereupon, Court's Exhibit 2 is received in

     10         evidence.)
     11                      THE COURT:    You know, if you want me to, I can
     12         say this in their final instructions:         Specifically with
     13         regard to the counterfeit charge, disregard --
     14                      MR. REEVES:    No, I'm not asking for that.
     15                      THE COURT:    She is.
     16                      MS. GUASTELLA:    On the count that it was brought
     17         out the way it was in the power point, I'd ask for that
     18         you.
     19                      MR. REEVES:    It doesn't matter whether it's in
     20         the power point or not.       It's a count in the indictment the
     21         Court didn't dismiss.      We had a charge conference; the
     22         Court agreed to submit it; we argued it.          I don't know why
     23         the People should be penalized for
     24                      THE COURT:    I don't know how I'm penalizing
     25         anyone.


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 938 of 1061 PageID #: 1133
  000936                                                                             466
                                           Proceedings

      1                      MR. REEVES:    If you are drawing attention to it.

      2                      THE COURT:    Then here's what I will do.      I'll

      3         say:   For reasons that need not and must not concern you, I

      4         will not submit the other counts of the indictment for your

      5         consideration, specifically counts 2, 4, 5 and 6, and I'll

      6         name them.     And I'll leave it at that.      I think that should

      7         be quite clear.

      8                      MR. REEVES:    Your Honor, they -- you haven't read

      9         the indictment to them, so I don't know why we're drawing

     10         attention to it.

     11                      THE COURT:    Did anybody refer to the other counts

     12         at any point?

     13                      MR. REEVES:    No.

     14                      THE COURT:    No?

     15                      MR. REEVES:    No.    This unduly draws the jury's

     16         attention to counts that aren't being submitted, and it's
     17         going to lead to speculation.

     18                      THE COURT:    On the other hand, there was, as

     19         Ms. Guastella points out, summation with regard to the
     20         counterfeit charge because I didn't grant the motion to
     21         dismiss.     So, what I will say is:      For reasons that need

     22         not concern you I won't submit the other counts of the

     23         indictment, including the Criminal Possession of a Forged
     24         Instrument in the First Degree count.         That simply means
     25         you won't consider those counts.         I don't think that harms


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 939 of 1061 PageID #: 1134
  000937                                                                             467
                                          Jury Charge

      1         anybody.    And I believe it addresses Ms. Guastella 1 s

      2         concern.

      3                     THE COURT OFFICER:         Your Honor, ready for the

      4         jury?

      5                     THE COURT:    Yes.

      6                     THE COURT OFFICER:         Jury entering.

      7                     (Whereupon, the jury enters the courtroom.)

      8                     THE COURT CLERK:       Do both sides stipulate a

      9         complete jury panel, properly seated?

     10                     People?

     11                     MS. CILIA:    Yes.
     12                     THE COURT CLERK:       Defense?

     13                     MS. GUASTELLA:       So stipulated.

     14                     THE COURT:    Good morning.       Welcome back.

     15                     The proof -- Withdrawn.         Following summations of

     16         the lawyers, it now becomes my duty to instruct you as to
     17         the law applicable to this case.           I want to remind you
     18         that, in making their summations, the lawyers reviewed the

     19         evidence that you've already seen during the trial and
     20         suggested to you certain inferences or conclusions which
     21         they, in their opinions, believe may be properly drawn from
     22         the evidence.
     23                     If you found that a particular attorney's
     24         analysis of the evidence was correct, that the evidence as
     25         summed up and analyzed by that attorney is accurate, and if


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 940 of 1061 PageID #: 1135
  000938                                                                             468
                                           Jury Charge

      1         you find that the inferences and conclusions which you were

      2         asked to draw from the evidence are logical and sensible,

      3         then you are at liberty to adopt such inferences or

      4         conclusions either in whole or in part.

      5                     On the other hand, if you believe that either

      6         counsel's analysis of the facts or of the inferences or
      7         conclusions which you were asked to draw therefrom are

      8         illogical or not warranted by the evidence, then you may

      9         disregard the same, either in whole or in part, in drawing

     10         your own conclusions from the evidence which you believe to
     11         be truthful.
     12                     Bear in mind nothing the lawyers said in their
     13         summation is evidence in the case.         Indeed, nothing that I
     14         will say in my final instructions on the law will be
     15         evidence in the case.      You've heard the evidence, and you

     16         alone are the sole and exclusive judges of the facts in the
     17         case.
     18                     I want to commend the attorneys for the able
     19         manner in which they've carried out their responsibilities
     20         as advocates, and I want to thank the jury for its patience
     21         and attention.     It I s now of utmost importa•nce that the
     22         final words in this case be given to you and be considered
     23         by you in a calm and a quiet atmosphere.
     24                     Trial by jury in criminal cases forms the very
     25         basis and is the heart of the true administration of


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 941 of 1061 PageID #: 1136
  000939                                                                                469
                                           Jury Charge

      1         justice in our country, our state, and our community.              It

      2         should not be a game of wits, nor of histrionics.           It's

      3         intended as a procedure by which we quietly, rationally,

      4         and objectively attempt to ascertain the truth.           You as

      5         jurors and I representing the Court have a great

      6         responsibility in determining that a just result is

      7         reached, both, on the law and on the facts.          And we've now

      8         arrived at that phase of the trial where you will be

      9         instructed on the law and then retire for final

     10         deliberations.
     11                     I'll divide my instructions into two parts:

     12         first, a general statement of the law applicable to all

     13         jury trials in criminal cases, and then a statement of the

     14         law which is particularly applicable to the crimes charged

     15         in this indictment.
     16                     As I said during summations, the district
     17         attorney and defense counsel, respectively, have commented

     18         on the evidence and have suggested to you certain
     19         inferences and conclusions you might reasonably and
     20         logically draw from the evidence.         Once again, their
     21         summations are not evidence.         However, if the arguments of
     22         counsel strike you as reasonable and logical and supported
     23         by the evidence, you may, if you so conclude, adopt them.
     24         On the other hand, if you find such arguments to be
     25         unreasonable or illogical or unsupported by the evidence,


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 942 of 1061 PageID #: 1137
  000940                                                                              470
                                          Jury Charge

      1         you may reject them.      In the last analysis, it's the

      2         function of the jury to draw its own inferences or

      3         conclusions from the evidence as you recollect the evidence

      4         and as you find such evidence credible and believable.               You

      5         are the sole and exclusive judges of the facts.           It's the

      6         duty of the jury to decide each and every issue of fact

      7         which has arisen during trial.        No one, not the lawyers and

      8         not I, may presume to tell you how the issues of fact

      9         should be decided.      I repeat, you and you alone are the

     10         sole and exclusive judges of the facts.
     11                     In resolving each and every issue of fact, you

     12         must do so solely on evidence in the case and on that

     13         evidence alone.     You may not consider or speculate on

     14         matters not in evidence or matters outside the case.            The
     15         evidence in this case includes the testimony of the
     16         witnesses and the exhibits that were received in evidence.

     17         Any testimony which was stricken from the record or to
     18         which an objection was sustained must be disregarded by
     19         you.   Exhibits that were received in evidence are available
     20         upon your request for your inspection and consideration.
     21         Exhibits that were just seen during the trial or marked for
     22         identification but not received in evidence are not
     23         evidence and, thus, are not available for your inspection
     24         and consideration.      But testimony based on exhibits that
     25         were not received in evidence may be considered by you.


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 943 of 1061 PageID #: 1138
  000941                                                                             471
                                           Jury Charge

      1         It's just that the exhibit itself is not available for your

      2         inspection and consideration.

      3                       If you want to see the videos that were

      4         introduced in evidence from the Ferry terminals, you can

      5         request that.      It's up to you.    If you do, we'll send it in

      6         or send them in with a laptop so you can play it in the
      7          jury room.     If you want to see it on that big screen, we

      8         can't get that into the jury room.         If you need that, we'll

      9         bring you back into the courtroom and play it for you here
     10         in the courtroom.
     11                       Also, if you want to see any of the ballistics
     12         evidence, including the rifle that's in evidence, you can

     13         request that and we'll send it in, but we'll send it in
     14         with a court officer, and the court officer will remain in
     15         the jury room while you examine those items, if you want
     16         to.   It's up to you.     Do not deliberate while the court
     17         officer is in the room.       Wait until he leaves.      When he
     18         leaves, he'll take the ballistics evidence with him.
     19                       Apart from that, you can request any of the other
     20         exhibits in evidence and, as I said, we will send them in
     21         to you for your inspection.
     22                       As I've said, you are the sole and exclusive
     23         judges of the facts.      On the other hand, I'm the sole and
     24         exclusive judge of the law in the case.         These are separate
     25         and distinct responsibilities of equal importance.


                                               MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 944 of 1061 PageID #: 1139
  000942                                                                             472
                                          Jury Charge

      1                     As the judge of the law, it's been my function to

      2         regulate the course of the trial and to determine what

      3         evidence under our law was admissible.         My rulings in each

      4         instance were solely based on the law.

      5                     My other function is to instruct you on the law

      6         specifically applicable to this case.         My instructions to

      7         you on the law must be accepted by you, whether you agree

      8         with them or not.      If you have any idea of your own of what

      9         the law is or what you think it should be, it's now your

     10         duty under your oath to cast aside your own ideas of the

     11         law and to accept the law exactly as I give it to you.
     12                     You must not infer from any of my rulings or

     13         anything I may have said during this trial that I hold any

     14         personal views for or against this defendant.           Furthermore,
     15         you are not under any circumstance to draw any inference or
     16         conclusion from an unanswered question, nor may you
     17         consider any testimony which was stricken from the record.

     18                     Please remember, all of us, the court, counsel,
     19         jury, people and defendant, are bound by the laws of our
     20         state exactly as these laws provide.         Each attorney is an
     21         officer of the court, holding the highest duties to that
     22         attorney's client.      An attorney's function is to represent
     23         a client to the best of that attorney's ability.           If, in
     24         the interests of advocacy, the attorneys have done or said
     25         anything which you deem to be objectionable, you must not


                                               MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 945 of 1061 PageID #: 1140
  000943                                                                             473
                                          Jury Charge

      1         let such feeling interfere with your primary duty here to

      2         judge the facts impartially and to be fair to, both, the

      3         people and the defendant.       As I believe I've said before,

      4         arguments of counsel made during the course of trial are

      5         not evidence and must not be considered by you as such.

      6                      During the course of the trial, the lawyers and I

      7         have had various conferences, sometimes up here at the

      8         bench, sometimes off to the side.        We try to keep our

      9         voices down during these conferences.         Hopefully you didn't

     10         overhear us, but I'll instruct you now, if you did overhear

     11         any parts of these conferences, you must disregard what you

     12         heard.     The conferences do not constitute evidence, and
     13         anything you may have heard in that regard must play no
     14         role in your deliberations.

     15                      During the trial I've ruled on various motions

     16         and objections.     These rulings are solely based on the law,
     17         and these rulings should not be considered by you as giving
     18         any indication or creating any inference that the Court has
     19         any opinion as to the issues or the facts which, as I've
     20         said several times now, are exclusively for your
     21         determination.
     22                      Now, there are certain fundamental legal
     23         principles that are applicable in the criminal cases in
     24         general.    These are safeguards mandated by our Constitution
     25         with which the law surrounds every defendant in a criminal


                                               MMS
     Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 946 of 1061 PageID #: 1141
       000944                                                                             474
                                                Jury Charge

           1         trial.     These basic principles of law apply to every

           2         criminal case conducted in the courts of New York State

           3         regardless of the nature or seriousness of the crime or

           4         crimes charged.     I made reference to these principles in my

           5         preliminary instructions at the beginning of the trial.

           6         Because of their importance I'll repeat and amplify my

           7         instructions as to each of them.

           8                      Before discussing these Constitutional

           9         safeguards, however, let me emphasize, as I have before,

          10         that an indictment is simply an accusation required by the

          11         law solely for the purpose of informing a defendant of the

          12         offenses with which he is charged.         It's simply a paper

          13         writing.     It's not evidence of anything.       The allegations
          14         set forth in the indictment are allegations only, they're

          15         not evidence; and, as I say, the indictment is merely a

          16         device required by law to inform a defendant of the charges
          17         against him and to bring such charges to trial.
          18                      So, I'll turn now to the fundamental principles
          19         of our law that apply in all criminal trials: the

          20         presumption of innocence, the burden of proof, and the
          21         requirement of proof beyond a reasonable doubt.
          22                      As to the presumption of innocence:        Throughout
          23         these proceedings the defendant is presumed to be innocent.
          24         As a result, you must find the defendant not guilty unless
.~        25         on the evidence presented at this trial you conclude that


                                                    MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 947 of 1061 PageID #: 1142
  000945                                                                             475
                                           Jury Charge

      1         the People have proven the defendant guilty beyond a

      2         reasonable doubt.

      3                     As to the burden of proof:       The defendant is not

      4         required to prove that he is not guilty.          In fact, the

      5         defendant is not required to prove or disprove anything.

      6         To the contrary, the People have the burden of proving the

      7         defendant guilty beyond a reasonable doubt.          That means

      8         before you can find the defendant guilty of a crime, the

      9         People must prove beyond a reasonable doubt every element

     10         of the crime, including that the defendant is the person

     11         who committed that crime.       This burden of proof never

     12         shifts from the People to the defendant.          If the People

     13         fail to satisfy their burden of proof, you must find the

     14         defendant not guilty.       If the People satisfy their burden

     15         of proof, you must find the defendant guilty.

     16                     Now, as to the standard of proof required for a
     17         conviction in every criminal case, that standard, of

     18         course, being proof of guilt beyond a reasonable doubt:

     19         What does our law mean when it requires proof of guilt
     20         beyond a reasonable doubt?       The law uses the term proof
     21         beyond a reasonable doubt to tell you how convincing the
     22         evidence of guilt must be to permit a verdict of guilty.
     23         The law recognizes that, in dealing with human affairs,
     24         there are very few things in this world that we know with
     25         absolute certainty.      Therefore, the law does not require


                                               MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 948 of 1061 PageID #: 1143
  000946                                                                             476
                                          Jury Charge

      1         the People to prove a defendant guilty beyond all possible

      2         doubt.    On the other hand, it's not sufficient to prove

      3         that a defendant is probably guilty.         In a criminal case,

      4         the proof of guilt must be stronger than that.           It must be

      5         beyond a reasonable doubt.

      6                     A reasonable doubt is an honest doubt of the

      7         defendant's guilt for which a reason exists based upon the

      8         nature and quality of the evidence.         It's an actual doubt.

      9         It's not an imaginary doubt.         It's a doubt that a

     10         reasonable person acting in a matter of this importance

     11         would be likely to entertain because of the evidence that

     12         was presented or because of the lack of convincing

     13         evidence.

     14                     Proof of guilt beyond a reasonable doubt is proof

     15         that leaves you so firmly convinced of the defendant's

     16         guilt that you have no reasonable doubt of the existence of

     17         any element of the crime or of the defendant's identity as
     18         the person who committed the crime.

     19                     In determining whether or not the People have
     20         proven the defendant's guilt beyond a reasonable doubt, you
     21         should be guided solely by a full and fair evaluation of
     22         the evidence.     After carefully evaluating the evidence,
     23         each of you must decide whether or not that evidence
     24         convinces you beyond a reasonable doubt of the defendant's
     25         guilt.


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 949 of 1061 PageID #: 1144
  000947                                                                             477
                                           Jury Charge

      1                     Whatever your verdict may be, it may not rest

      2         based upon baseless speculation, nor may be influenced in

      3         any way by bias, prejudice, sympathy, or by a desire to

      4         bring an end to your deliberations or to avoid an

      5         unpleasant duty.

      6                     If you are not convinced beyond a reasonable

      7         doubt that the defendant is guilty of a charged crime, you

      8         must find the defendant not guilty of that crime.           If you

      9         are convinced beyond a reasonable doubt that the defendant

     10         is guilty of a charged crime, you must find the defendant

     11         guilty of that crime.
     12                     The last fundamental principle I'll discuss with

     13         you before moving on has to do with your duty not to

     14         consider the subject of punishment.

     15                     Our law provides that in determining your

     16         verdict, you may not consider or speculate concerning
     17         matters relating to sentence or punishment.          You must not
     18         discuss such matters, nor should your deliberations in any
     19         way be influenced by such matters.         If you render a verdict
     20         of guilty, I'm required to impose sentence in accordance
     21         with the law.     The jury has no function relating to
     22         sentence or punishment and such matters are wholly
     23         immaterial to your deliberations.
     24                     So, that concludes my discussion of the
     25         fundamental principles and the Constitutional safeguards


                                               MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 950 of 1061 PageID #: 1145
  000948                                                                             478
                                          Jury Charge

      1         applicable to all criminal cases.

      2                      Let me move on now and discuss with you the issue

      3         of credibility of witnesses.

      4                      As judges of the facts, you alone determine the

      5         truthfulness and accuracy of the testimony of each witness.

      6         You must decide whether a witness told the truth and was

      7         accurate, or, instead, testified falsely or was mistaken.

      8         You must also decide what importance to give to the

      9         testimony you do accept as truthful and accurate.           It 1 s the
     10         quality of the testimony that is controlling, not the
     11         number of witnesses who testified.
     12                      If you find that any witness has intentionally

     13         testified falsely as to any material fact, you may
     14         disregard that witness's entire testimony, or you may
     15         disregard so much of it as you find was untruthful and
     16         accept so much of it as you find to have been truthfully
     17         and accurately given.
     18                      There is no particular formula for evaluating the
     19         truthfulness and accuracy of another person's statements or
     20         testimony.     You bring to this process all of your varied
     21         experiences.     In life you frequently decide the
     22         truthfulness and accuracy of statements made to you by
     23         other people.     The same factors used to make those
     24         decisions should be used in this case when evaluating the
     25         testimony.


                                               MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 951 of 1061 PageID #: 1146
  000949                                                                             479
                                          Jury Charge

      1                      Some of the factors you may wish to consider in

      2         evaluating the testimony of a witness are as follows:

      3                      Did the witness have an opportunity to see or

      4         hear the events about which he or she testified?

      5                      Did the witness have the ability to recall those

      6         events accurately?
      7                      Was the testimony of the witness plausible and

      8         likely to be true, or was it implausible and not likely to

      9         be true?
     10                      Was the testimony of the witness consistent or

     11         inconsistent with other testimony or evidence in the case?

     12                      Did the manner in which the witness testified

     13         reflect upon the truthfulness of that witness's testimony?

     14                      To what extent, if any, did the witness's
     15         background, training, education, or experience affect the

     16         believability of that witness's testimony?
     17                      Did the witness have a bias, hostility, or some

     18         other attitude that affected the truthfulness of the
     19         witness's testimony?
     20                      You may consider whether a witness had or did not
     21         have a motive to lie.      If a witness had a motive to lie,
     22         you may consider whether and to what extent, if any, that
     23         motive affected the truthfulness of that witness's
     24         testimony.     If a witness did not have a motive to lie, you
     25         may consider that as well in evaluating the witness's


                                               MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 952 of 1061 PageID #: 1147
  000950                                                                             480
                                           Jury Charge

      1         truthfulness.

      2                     You may consider whether a witness has any

      3         interest in the outcome of the case or, instead, whether

      4         the witness has no such interest.        You are not required to

      5         reject the testimony of an interested witness or to accept

      6         the testimony of a witness who has no interest in the

      7         outcome of the case.      You may, however, consider whether

      8         any interest in the outcome or the lack of such interest

      9         affected the truthfulness of the witness's testimony.

     10                     You may consider whether a witness made

     11         statements at this trial that are inconsistent with each

     12         other.    You may also consider whether a witness made

     13         previous statements that are inconsistent with his or her

     14         testimony at trial.

     15                     You may consider whether a witness testified to a

     16         fact here at trial that the witness omitted to state at a

     17         prior time when it would have been reasonable and logical

     18         for the witness to have stated the fact.          In determining
     19         whether it would have been reasonable and logical for the

     20         witness to have stated an omitted fact, you may consider
     21         whether the witness's intention was called to the matter
     22         and whether the witness was specifically asked about it.
     23                     If a witness has made such inconsistent
     24         statements or omissions, you may consider whether and to
     25         what extent they affect the truthfulness or accuracy of


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    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 953 of 1061 PageID #: 1148
      000951                                                                             481
                                              Jury Charge

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          1         that witness's testimony here at trial.         The contents of a

          2         prior inconsistent statement are not proof of what

          3         happened.    You may use evidence of a prior inconsistent

          4         statement only to evaluate the truthfulness or accuracy of

          5         the witness's testimony here at trial.

          6                     You may consider whether a witness's testimony is

          7         consistent with the testimony of other witnesses or with

          8         other evidence in the case.       If there were inconsistencies

          9         by or among witnesses, you may consider whether they were

         10         significant inconsistencies relating to important facts or

         11         instead with the kind of minor inconsistencies that one

         12         might expect from multiple witnesses to the same event.

         13                     In this case you've heard the testimony of police

         14         officers.    The testimony of a witness should not be

         15         believed solely and simply because the witness is a police

         16         officer.    At the same time, a witness's testimony should

         17         not be disbelieved solely and simply because the witness is

         18         a police officer.      You must evaluate a police officer's

         19         testimony in the same way you would evaluate the testimony

         20         of any other witness.
         21                     The defendant did not testify in this case, and I
         22         charge you that the fact that he did not testify is not a
         23         factor from which any inference unfavorable to the
         24         defendant may be drawn.
         25                     You will recall that certain witnesses testified


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 954 of 1061 PageID #: 1149
  000952                                                                             482
                                          Jury Charge

      1         after being qualified as experts in their respective

      2         fields.    Patricia Zippo testified as an expert in the field

      3         of questioned documents; Det. James Clontz testified as an

      4         expert in the field of ballistics; Irene Wong testified as

      5         an expert in DNA analysis; and Dr. Stephen deRoux testified

      6         as an expert in forensic pathology.

      7                     Ordinarily a witness is called to testify about

      8         facts and is not permitted to give an opinion.           Where,

      9         however, scientific, medical, technical, or other

     10         specialized knowledge will help the jury understand the

     11         evidence or determine a fact in issue, a witness with

     12         expertise in a specialized field may render opinions about

     13         such matters.     You should evaluate the testimony of any
     14         such witness just as you would the testimony of any other

     15         witness.    You may accept or reject such testimony in whole

     16         or in part, just as you may with respect to the testimony
     17         of any other witness.
     18                     In deciding whether or not to accept such
     19         testimony, you should consider the following: the
     20         qualifications and believability of the witness; the facts
     21         and other circumstances upon which the witness's opinion
     22         was based; the accuracy or inaccuracy of any assumed or
     23         hypothetical fact upon which an opinion was based; the
     24         reasons given for the witness's opinion; and whether the
     25         witness's opinion is consistent or inconsistent with other


                                               MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 955 of 1061 PageID #: 1150
  000953                                                                             483
                                           Jury Charge

      1         evidence in the case.

      2                     In sum, the testimony and opinions of expert

      3         witnesses are subject to the same rules and tests

      4         concerning reliability as is the testimony of any other

      5         witness.

      6                     During the trial we marked in evidence a number

      7         of exhibits.     The exhibits together with the testimony

      8         constitute the evidence.       I'll remind you, any exhibits

      9         marked solely for identification but not received in

     10         evidence cannot and must not be considered by you during

     11         your deliberations.      Should you wish to examine any or for
     12         that matter all of the exhibits, you may request the same
     13         in a note to the Court.
     14                     Among the exhibits received in evidence were

     15         photographs.     These photographs purport to depict various

     16         locations or objects or persons relevant to the issues in
     17         the case.    Those photographs were received in evidence to
     18         assist you in making your evaluation of the testimony

     19         relating to the location, scenes, objects, or persons
     20         depicted therein.      You're the sole judges of the accuracy
     21         of these photographs and you're the sole judges of the
     22         weight, if any, to be given to such photographs.
     23                     Also, amongst the exhibits marked into evidence
     24         were DNA records from the Office of the Chief Medical
     25         Examiner and an autopsy report and file admitted during


                                               MMS
          Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 956 of 1061 PageID #: 1151
            000954                                                                             484
                                                     Jury Charge

                1         Dr. deRoux 1 s testimony.     You may consider these records

                2         together with all the other proof in the case in

                3         determining the issues presented to you for your final

                4         determination.

                5                     Counselors, there was no stipulation in this

                6         case, was there?

                7                     MR. REEVES:     No.

                8                     THE COURT:     Okay.    That's part one.

                9                     Let me move on to part two wherein I will define

               10         the counts being submitted to you, give you the elements of

               11         those counts.     But before I do that, I want to address two

               12         issues, the first has to do with what we call
,,-..,,        13         circumstantial evidence.

               14                     There are two types of evidence, namely, direct

               15         evidence and circumstantial evidence.         In this case the

               16         People contend that there is circumstantial evidence of the
               17         defendant's guilt.       Let me explain what constitutes direct
               18         and circumstantial evidence and how they differ.

               19                     Direct evidence is evidence of a fact based on a
               20         witness's personal knowledge or observation of that fact.
               21         A person's guilt of a charged crime may be proven by direct
               22         evidence if, standing alone, that evidence satisfies the
               23          jury beyond a reasonable doubt of the person's guilt of
               24         that crime.
               25                     Circumstantial evidence is direct evidence of a


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 957 of 1061 PageID #: 1152
  000955                                                                             485
                                          Jury Charge

      1         fact from which a person may reasonably infer the existence

      2         or nonexistence of another fact.        A person 1 s guilt of a

      3         charged crime may be proven by circumstantial evidence if

      4         that evidence, while not directly establishing guilt, gives

      5         rise to an inference of guilt beyond a reasonable doubt.

      6                     Let me give you an example of the difference

      7         between direct evidence and circumstantial evidence.

      8         Suppose that in a trial one of the parties is trying to

      9         prove that it was raining on a certain morning.           A witness

     10         testifies that on that morning she walked to the subway

     11         and, as she walks, she saw rain falling, she felt it

     12         striking her face and she heard it splashing on the

     13         sidewalk.    That testimony of the witness's perceptions

     14         would be direct evidence that it rained on that morning.

     15                     Suppose, on the other hand, the witness testified
     16         that it was clear as she walked to the subway, that she
     17         went into the subway and got on the train, and that while

     18         she was on the train, she saw passengers come in at one
     19         station after another carrying wet umbrellas and wearing
     20         wet clothes and raincoats.       That testimony constitutes
     21         direct evidence of what the witness observed, and because
     22         an inference that it was raining in the area would flow
     23         naturally, reasonably, and logically from that direct
     24         evidence, the witness's testimony would constitute
     25         circumstantial evidence that it was raining in the area.


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 958 of 1061 PageID #: 1153
  000956                                                                             486
                                           Jury Charge

      1                     The law draws no distinction between

      2         circumstantial evidence and direct evidence in terms of

      3         weight or importance.      Either type of evidence may be

      4         enough to establish guilt beyond a reasonable doubt

      5         depending on the facts of the case as the jury finds them

      6         to be.
      7                     Because circumstantial evidence requires the

      8         drawing of inferences, I'll explain the process involved in

      9         analyzing that evidence and what you must do before you

     10         return a verdict of guilty based solely on circumstantial
     11         evidence.
     12                     Initially, you must decide on the basis of all

     13         the evidence what facts, if any, have been proven.           Any
     14         facts upon which an inference of guilt can be drawn must be
     15         proven beyond a reasonable doubt.        After you have
     16         determined what facts, if any, have been proven beyond a
     17         reasonable doubt, then you may decide what inferences, if
     18         any, can be drawn from those facts.         Before you may draw an
     19         inference of guilt, however, that inference must be the
     20         only one that can fairly and reasonably be drawn from the
     21         facts.    It must be consistent with the proven facts and it
     22         must flow naturally, reasonably, and logically from them.
     23         Again, it must appear that the inference of guilt is the
     24         only one that can fairly and reasonably be drawn from the
     25         facts and that the evidence excludes beyond a reasonable


                                               MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 959 of 1061 PageID #: 1154
  000957                                                                             487
                                           Jury Charge

      1         doubt every reasonable hypothesis of innocence.

      2                     If there is a reasonable hypothesis from the

      3         proven facts consistent with the defendant 1 s innocence,

      4         then you must find the defendant not guilty.          If the only

      5         reasonable inference you find is that the defendant is

      6         guilty of a charged crime and that inference is established
      7         beyond a reasonable doubt, then you must find the defendant

      8         guilty of that crime.

      9                     So, that's the law on circumstantial evidence.

     10                     Let me at this point give you a charge on the law

     11         with respect to what we call motive.         Let me explain motive
     12         and, in particular, the difference between motive and

     13         intent.

     14                     Intent means conscious objective or purpose.
     15         And, so, a person commits a criminal act with intent when
     16         that person's conscious intent or purpose is to engage in
     17         the act which the law forbids or to bring about an unlawful
     18         result.    Motive is the reason why a person chooses to
     19         engage in criminal conduct.       If intent is an element of a
     20         charged crime, that element must be proven by the People
     21         beyond a reasonable doubt.
     22                     In this case intent is an element of Murder in
     23         the Second Degree.      I'll explain that charge to you
     24         shortly.
     25                     Motive, however, is not an element of the crimes


                                               MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 960 of 1061 PageID #: 1155
  000958                                                                             488
                                           Jury Charge

      1         charged, therefore the People are not required to prove a

      2         motive for the commission of a charged crime.

      3         Nevertheless, evidence of a motive or evidence of lack of a

      4         motive may be considered by the jury.         For example, if you

      5         find from the evidence that the defendant had a motive to

      6         commit the crime charged, that's a circumstance you may

      7         wish to consider as tending to support a finding of guilt.

      8         On the other hand, if the proof establishes that the

      9         defendant had no motive to commit the crime charged, that's

     10         a circumstance you may wish to consider as tending to
     11         establish that the defendant is not guilty of a charged
     12         crime.

     13                     So, that's the law on motive.
     14                     Let me now get to the specific counts of the
     15         indictment I'm submitting to you.        I'm submitting two
     16         counts for your consideration.        Count 1 is called Murder in
     17         the Second Degree, and I'll define that for you now.
     18                     Under our law, a person is guilty of Murder in
     19         the Second Degree when, with intent to cause the death of
     20         another person, he causes the death of such person.           The
     21         term intent used in this definition has its own meaning
     22         under the law, and I'll define that for you now.           Intent
     23         means conscious objective or purpose.         Thus, a person acts
     24         with intent to cause the death of another when that
     25         person's conscious objective or purpose is to cause a death


                                               MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 961 of 1061 PageID #: 1156
  000959                                                                              489
                                           Jury Charge

      1         of another.

      2                     In order for you to find the defendant guilty of

      3         this crime, this is Murder in the Second Degree, submitted

      4         to you under Count 1 of the indictment, the People are

      5         required to prove from all the evidence in the case beyond

      6         a reasonable doubt both of the following two elements:
      7         element number one, that on or about December 8, 2011, in

      8         Richmond County, the defendant caused the death of David

      9         Williams, and element number two, that the defendant did so

     10         with the intent to cause the death of David Williams.

     11                     If you find that the People have proven beyond a

     12         reasonable doubt both of those elements, you must find the

     13         defendant guilty of the crime of Murder in the Second

     14          Degree as charged in Count 1.
     15                     On the other hand, if you find that the People
     16         have not proven beyond a reasonable doubt either one or
     17         both of those elements, you must find the defendant not
     18         guilty of the crime of Murder in the Second Degree as
     19         charged in Count 1.
     20                     The other count I'm submitting to you is called
     21         Criminal Possession of a Weapon in the Second Degree.            This
     22         is submitted to you under Count 3 of the indictment.            Let
     23         me define that count for you.
     24                     Under our law, a person is guilty of Criminal
     25         Possession of a Weapon in the Second Degree when that


                                               MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 962 of 1061 PageID #: 1157
  000960                                                                               490
                                          Jury Charge

      1         person knowingly possesses any loaded firearm.           Such

      2         possession shall not constitute a violation of this law if

      3         such possession takes place in such person's home or place

      4         of business.

      5                     In connection with this law, let me define for

      6         you the following terms: firearm, loaded firearm, possess,

      7         and knowingly.

      8                     A firearm means any assault weapon.         Further, a

      9         firearm -- Withdrawn.      A firearm means any assault weapon.

     10                     What I'll do at this point is define for you the
     11         term assault weapon.      Assault weapon means a semiautomatic

     12         rifle that has an ability to accept a detachable magazine

     13         and has at least two of the following characteristics: 1, a
     14         folding or telescopic stock; 2, a pistol grip that
     15         protrudes conspicuously beneath the action of the weapon;
     16         3, a bayonet mount; 4, a flash suppressor or a threaded
     17         barrel to accommodate a flash suppressor; or 5, a grenade
     18         launcher.     That's the definition of assault weapon.          And,
     19         again, a firearm means any assault weapon.
     20                     Now, under our law, a firearm must be operable,
     21         that is, the firearm must be capable of discharging
     22         ammunition.
     23                     A loaded firearm means any firearm loaded with
     24         ammunition which may be used to discharge such firearm, or
     25         any firearm which is possessed by one who, at the same


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 963 of 1061 PageID #: 1158
  000961                                                                             491
                                           Jury Charge

      1         time, possesses a quantity of ammunition which may be used

      2         to discharge such firearm.

      3                     Possess means to have physical possession or

      4         otherwise to exercise dominion or control over tangible

      5         property.    A person knowingly possesses a firearm when that

      6         person is aware that he is in possession of a firearm.

      7                     So, that's the definition of the crime charged

      8         Criminal Possession of a Weapon in the Second Degree and

      9         the definition of the internal terms contained within that

     10         law.
     11                     Let me give you the elements now.        In order for

     12         you to find the defendant guilty of this crime, this is

     13         Count 3, Criminal Possession of a Weapon in the Second
     14         Degree, the People are required to prove from all the
     15         evidence in the case, beyond a reasonable doubt, each of
     16         the following four elements: element number one, that on or
     17         about December 8, 2011, in Richmond County, the defendant
     18         possessed a firearm; element two, that the defendant did so
     19         knowingly; element three, that the firearm was loaded and
     20         operable; and element four, that the defendant possessed
     21         such firearm in a place that was not the defendant's home
     22         or place of business.
     23                     Therefore, if you find that the People have
     24         proven beyond a reasonable doubt each of those elements,
     25         you must find the defendant guilty of the crime of Criminal


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 964 of 1061 PageID #: 1159
  000962                                                                             492
                                           Jury Charge

      1         Possession of a Weapon in the Second Degree as charged in

      2         Count 3.

      3                     On the other hand, if you find that the People

      4         have not proven beyond a reasonable doubt any one or more

      5         of those elements, you must find the defendant not guilty

       6        of the crime of Criminal Possession of a Weapon in the

      7         Second Degree as charged in Count 3.

      8                     That concludes my review of the laws and rules

       9         you apply in reaching your final verdict as to each of the

     10         counts submitted to you.       For reasons that need not and

     11         must not concern you, the Court is not submitting various

     12         other counts of the indictment to you for your

     13         consideration, including a count of Criminal Possession of

     14          a Forged Instrument in the First Degree.         That was the

     15         count related to alleged counterfeit money.

     16                     This simply means -- when I say "this," I mean

     17         the fact that I am not submitting other counts to you --

     18         This simply means you will not consider those particular

     19          counts in your final deliberations.        Please bear in mind
     20          you are not to speculate upon the fact that I have removed
     21          these particular counts of the indictment from your final

     22         deliberations.     You are to draw no inference whatsoever
     23          from the fact that these particular counts have been
     24         excluded from your final deliberations.
     25                     Your final verdict as to each of the counts that


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 965 of 1061 PageID #: 1160
  000963                                                                             493
                                           Jury Charge

      1         are being submitted to you must be based upon the laws and

      2         rules as given to you by the Court and which you must now

      3         apply to the facts as you find the facts to exist in this

      4         case.

      5                     To assist you during your final deliberations

      6         we've prepared a written list called a verdict sheet.            The

      7         verdict sheet contains the specific counts being submitted

      8         to you for your final determination, and the verdict sheet

      9         also lists the options or choices that you may make after
     10         careful consideration of all the evidence in accordance

     11         with the Court's instructions.        Further, the verdict sheet

     12         provides a column for your Foreperson to record your

     13         verdict as to each of the separate offense -- submitted
     14         separate offenses submitted to you for your final
     15         determination.     Your verdict will be either guilty or not
     16         guilty, and you will render a verdict separately and
     17         specifically as to each of the counts being submitted to
     18         you.
     19                     A court officer will bring a copy of the verdict
     20         sheet to the jury room when you retire for deliberations.
     21         If at any time during your deliberations you have any
     22         questions concerning your use of the verdict sheet or any
     23         questions concerning your review of the offenses listed
     24         thereon, please feel free to send us a note in writing and
     25         we will respond to your inquiry.


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 966 of 1061 PageID #: 1161
  000964                                                                             494
                                           Jury Charge

      1                     In the course of your deliberations, if your

      2          recollection of any part of the testimony should fail, or

      3          if you find yourselves in doubt concerning my legal

       4         instructions, it's your privilege, if you so desire, to

       5         return to the courtroom for the purpose of having such

       6         testimony or instructions read to you.         Your Foreperson

      7          should write out your request and sign the same.          Simply

       8         give the note to the court officer who will be stationed

       9         outside the jury room.      He or she will bring it to us, and

     10          as soon as we can -- we're prepared to answer your
     11          requests, we'll bring you in and do that.         We'll do this as

     12         promptly as possible.

     13                     If you request testimony and if there is a delay

     14          between your sending us the note and our bringing you in to
     15          respond, it doesn't mean we're ignoring you.          It means

     16         we're searching the record to find what it is you want.
     17          Sometimes that takes a little bit of time.         So, if there is

     18          any delay, that's what's going on.
     19                     To conduct your deliberations in an orderly
     20          fashion you must have the Foreperson.        Of course, this
     21         person's vote is entitled to no greater weight than that of
     22          any other jurors.     Under our law, the juror whose name was
     23          first drawn and called must be designated the Foreperson,
     24         so Juror Number 1 will act as your Foreperson and record
     25          your verdict.


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 967 of 1061 PageID #: 1162
  000965                                                                             495
                                           Jury Charge

       1                    Let me remind you of the note-taking

       2         instructions.    I believe I observed a few of you taking

      3          notes.   Any notes you've taken are only an aid to your

       4        memory and must not take precedence over your independent

       5         recollection.    Those of you who did not take notes must

       6         rely on your independent recollection and must not be
       7         influenced by any notes another juror may have taken.           Any

       8         notes you've taken are only for your own personal use in

       9         refreshing your recollection.       A juror's notes are not a
     10          substitute for the recorded transcript of the testimony or
     11          for any exhibit received in evidence.
     12                     If there is a discrepancy between a juror's
     13          recollection and his or her notes regarding the evidence,
     14          you should ask to have the relevant testimony read back or
     15          the exhibit produced in the jury room.
     16                     Additionally, a juror's notes are not a
     17          substitute for the detailed explanation I have given you of
     18          the principles of law that govern this case.          If there is a
     19          discrepancy between a juror's recollection in his or her
     20          notes regarding those principles, you should ask me to
     21          explain those principles again.
     22                     A juror may only refer to his or her notes during
     23          the proceedings and during deliberations.         Any notes you
     24         have taken are confidential and shall not be available for
     25         examination or review by any party or any other person.


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 968 of 1061 PageID #: 1163
  000966                                                                             496
                                          Jury Charge

      1         After the jury has rendered its verdict, we will collect

      2         any notes and destroy them.

      3                     Your verdict on each of the counts you are

      4         considering, whether guilty or not guilty, must be

      5         unanimous; that is, each and every juror must agree to it.

      6         To reach a unanimous verdict you must deliberate with the

      7         other jurors.     That means you should discuss the evidence

      8         and consult with each other, listen to each other, give

      9         each other's views careful consideration, and reason
     10         together when considering the evidence together.           When you
     11         deliberate, you should do so with a view toward reaching an

     12         agreement if that can be done without surrendering

     13         individual judgment.
     14                     Each of you must decide the case for yourself but
     15         only after a fair and impartial consideration of the
     16         evidence with the other jurors.        You should not surrender

     17         an honest view of the evidence simply because you want the
     18         trial to end or you are outvoted.        At the same time, you
     19         should not hesitate to reexamine your views and change your
     20         mind if you become convinced that your position was not
     21         correct.
     22                     As I said, in order to reach a verdict all twelve
     23         members of the jury must agree.        Your verdict must be
     24         unanimous, and whenever all of your members are in
     25         agreement on a verdict, you may report the same to the


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 969 of 1061 PageID #: 1164
  000967                                                                             497
                                           Jury Charge

      1         Court.
      2                      At this point I am going to step to the side with

      3         the lawyers for a short discussion.            I'll be right back.

      4         Don't discuss the case yet, please.            Thanks for your

      5         attention.
      6                      (Whereupon, the following takes place at sidebar,

      7         out of the hearing of the jury:)

      8                      THE COURT:    We are at sidebar in the courtroom.

      9                      Exceptions or requests?

     10                      MR. REEVES:    No exceptions, no requests.
     11                      MS. GUASTELLA:       No.
     12                      THE COURT:    What do you want me to do with the

     13         alternates?     I believe I'll keep them around.
     14                      MS. GUASTELLA:       For a little bit.

     15                      THE COURT:    We can talk about them later.
     16                      Can I have your consent, if you want to give it,
     17         to send any exhibits they request -- exhibits that are in
     18         evidence       into them without your being here to approve
     19         it?
     20                      MS. CILIA:    Yes.
     21                      MS. GUASTELLA:       That 1 s fine.
     22                      THE COURT:    Okay.        I assume you'll all be nearby
     23         anyway.
     24                      Anything else?
     25                      MS. GUASTELLA:       No.


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 970 of 1061 PageID #: 1165
  000968                                                                             498
                                           Jury Charge

      1                     MS. CILIA:    No.

      2                      (Whereupon, proceedings resume in open court.)

      3                     THE COURT:    All right.     That concludes my

      4         instructions.     I'll submit the case to you for your final

      5         determination.
      6                     As I have stated before, our law and your oath

      7         require that you render a fair and impartial verdict and

      8         that you do so without fear, favor, or sympathy, so we ask

      9         that you take this case and, in fulfillment of your oath

     10         and in accordance with the Court's instructions, render a
     11         true and impartial verdict.

     12                     Thank you very much for your attention.          You're

     13         free to step out now and go to the jury room.          Take your

     14         notebooks with you if you want.
     15                     I'm going to ask our alternate jurors to remain
     16         with us for a moment.
     17                      (Whereupon, the primary jury exits the
     18         courtroom.)

     19                     THE COURT:    The 12 jurors have left.
     20                     Gentlemen, we'd like to keep you around for a
     21         while.    The reason is we can substitute an alternate juror
     22         into deliberations even after they've started.           So, we'd
     23         like to keep you around in case that's necessary.           We're
     24         going to send you to another room in the building; I'm sure
     25         you'll be comfortable.      Leave your notebooks, don't take


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 971 of 1061 PageID #: 1166
  000969                                                                             499
                                          Jury Charge

      1         them with you.     And let me instruct you, don't discuss the

      2         case with anyone, don't let anyone discuss it with you.

      3         And this is also very important:         Please don't form any

      4         opinion.    If you're substituted into deliberations, it's

      5         important you go in with an open mind.

      6                     So, thank you very much for your patience and

      7         attention and we'll see you a little later.          The officers

      8         will show you to another room in the building.

      9                      (Whereupon, the two alternate jurors exit the

     10         courtroom.)
     11                     THE COURT:    Okay.     The alternates have left.
     12                     It's 11:30.     I don't know if and when we're going

     13         to get a note, but I just want to advise you, I have to

     14         break for lunch, I have to send the jury out for lunch with
     15         special instructions, and I have to do that no later than
     16         five to one.     So, if you don't hear from us before, would
     17         you make sure you're here in the courtroom by, let's say, a

     18         quarter to one.
     19                     MS. GUASTELLA:       Yes.
     20                     MS. CILIA:    Yes.
     21                     THE COURT:    Good.     Thank you.
     22                     {Whereupon, the case is set aside, awaiting the
     23         verdict of the jury.)
     24                     THE COURT CLERK:       Court Exhibits 3 through 7,
     25         jury notes.


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 972 of 1061 PageID #: 1167
  000970                                                                             500
                                           Proceedings

      1                     (Whereupon, Court's Exhibits 3, 4, 5, 6, and 7

      2         are received in evidence.)

      3                     THE COURT CLERK:     First note, Number 3, is review

      4         Ferry terminal videos.       Number 4, testimony about Samuel

      5         Nelson prints.     Number 5 is testimony about defendant's

      6         clothing, money, et cetera.       Number 6, testimony from
      7         detective who apprehended the defendant.          Number 7, DNA

      8         testimony and evidence.

      9                      (Defendant present.)

     10                     THE COURT CLERK:     Case on trial continues.

     11                     THE COURT:    We're making copies of the jury notes
     12         so we can give it to both sides, so that will just take a

     13         minute.

     14                     Have you all seen the notes?
     15                     MS. CILIA:    We just got them.
     16                     THE COURT:    You didn't see them before?
     17                     THE COURT CLERK:     I showed them to you.
     18                     THE COURT:    The clerk says he showed them to you.
     19         I just want to get it on the record.
     20                     MR. REEVES:    We saw the notes.
     21                     THE COURT:    He just gave you a copy.
     22                     Defense has seen them, too.
     23                     MS. GUASTELLA:     Yes, we saw the original notes.
     24                     THE COURT:    The clerk has marked them 3, 4, 5, 6,
     25         and 7.


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 973 of 1061 PageID #: 1168
  000971                                                                             501
                                           Proceedings

      1                     Court Exhibit 3, review Ferry terminal videos.

      2         We've sent them in based on our sidebar conference after

      3         the charge.     You consented to that.

      4                     Court Exhibit 4, testimony about Samuel/Nelson

      5         prints.

      6                     What is that, the print on the wall in the

      7         hallway?

      8                     MS. GUASTELLA:     Yes.

      9                     THE COURT:    Who's the witness?

     10                     MS. GUASTELLA:     It was Det. Steneck.
     11                     MR. REEVES:    It would be Det. Patterson.
     12                     THE COURT:    I beg your pardon?
     13                     MR. REEVES:    It would be Det. Patterson, because

     14         Det. Steneck didn't testify about Samuel Nelson.

     15                     MS. GUASTELLA:     She testified that -- how the

     16         prints got on the wall -- how the prints could have gotten
     17         on the wall, and that print went back to Samuel Nelson, and

     18         that's what I said in my opening.

     19                     THE COURT:    Did Steneck testify about prints on
     20         the wall?
     21                     MS. GUASTELLA:     Yes.
     22                     MR. REEVES:    She testified about a single print
     23         from the wall, but did not attribute it to anyone.
     24                     THE COURT:    And then who's the next guy who
     25         testified about Samuel Nelson?


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 974 of 1061 PageID #: 1169
  000972                                                                             502
                                           Proceedings

      1                      MR. REEVES:    Ms. Cilia asked Det. Patterson about

      2         the identity of the print on the wall.

      3                      THE COURT:    And he put it to Mr. Nelson?

      4                      MR. REEVES:    Yes.

      5                      THE COURT:    I think we give them both.       Take the

      6         passes out of Steneck, take the passes out of whoever the

      7         other detective was.       I mean, it's not very long, right?

      8                      MS. GUASTELLA:     No.

      9                      THE COURT:    Why don't you see if you can agree on

     10         what passes we are going to read, but let me move on before

     11         you tackle that.
     12                      Court Exhibit 4 -- No.      Court Exhibit 5,

     13         testimony about defendant's clothing, money, et cetera.

     14                      How many witnesses are we talking about here?           I

     15         mean, that's spread all over the place.
     16                      MS. GUASTELLA:     Can you get them to clarify the
     17         note?
     18                      THE COURT:    I could ask them to clarify it.       Are
     19         you talking about clothing in the duffel bag, clothing
     20         defendant was wearing?        Are you talking about both?     Shall
     21         I do that?
     22                      MR. REEVES:    Just read them Det. Steneck's
     23         testimony and Det. Anderson's testimony.
     24                      THE COURT:    Are they the only two that dealt with
     25         this?


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 975 of 1061 PageID #: 1170
  000973                                                                              503
                                           Proceedings

      1                     MS. GUASTELLA:     Judge, it's too vague.

      2          Defendant's clothing, money, et cetera.         I think we need to

      3         ask them exactly what they mean by the note.

      4                     THE COURT:    We have two sets of clothing as I

      5         understand the testimony: one, the defendant, what he was

       6        wearing; two, clothing recovered from a duffel bag.            I'll

      7          ask them for clarification.

      8                     Court Exhibit 6 is pretty straightforward:

       9        Testimony from detective who apprehended defendant.

     10                     Who was that?
     11                     MS. CILIA:     Det. Anderson.

     12                     THE COURT:    Det. Anderson.     So, we'll have the

     13          reporter read Det. Anderson's testimony.         Agreed?

     14                     MS. GUASTELLA:     Yes.

     15                     THE COURT:    How long is that, does anyone know?

     16                     MS.   GUASTELLA:   I don't remember it being long at
     17          all.
     18                     THE COURT:    I don't seem to have it.       I have

     19         everything else, but I don't have that.
     20                     MS. GUASTELLA:     I can give it to you.
     21                     THE COURT:     I don't want to look at it.       I just
     22         want to make sure the reporter has it.
     23                     We have Anderson.
     24                     Agreed, we'll read Det. Anderson's testimony?
     25                     MS. GUASTELLA:     Yes.


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 976 of 1061 PageID #: 1171
  000974                                                                             504
                                           Proceedings

      1                      THE COURT:   People agreed?

      2                      MS. CILIA:   Yes.

      3                      THE COURT:   And the last note is Court Exhibit 7,

      4         DNA testimony and evidence.

      5                      So, that, I gather, would require the reading of

      6          Irene Wong's testimony.

      7                      MS. GUASTELLA:      Right.

      8                      THE COURT:   And the evidence, according to my

      9         notes, correct me if I'm wrong, Exhibit 175A and B,

     10         Exhibit 176A through E, and Exhibit 177A through C.            Is

     11          that agreed?
     12                      MS. CILIA:   Yes.
     13                      THE COURT:   Can we give the jury those exhibits?

     14                      MS. GUASTELLA:      That's fine.

     15                      THE COURT:   The People have agreed.
     16                      Maybe what I'll do at this point          We sent the

     17         videos in; I don't know if they're looking at them now or
     18         not.      I suppose what I could do is bring the jury in, ask

     19          for a clarification on that one note, and then send them to
     20          lunch.    What do you think?
     21                      MS. GUASTELLA:      Judge, that's fine.
     22                      MS. CILIA:   In that clarification we would just
     23         ask whether or not they would like readbacks from the
     24         civilian testimony of the clothing description that those
     25         people gave as well as the bag.


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 977 of 1061 PageID #: 1172
  000975                                                                             505
                                           Proceedings

      1                      MS. GUASTELLA:    Well, if they are going to

      2         clarify, they'll let us know.

      3                      THE COURT:    The note reads:     Testimony about

      4         defendant's clothing, money, et cetera.          That's pretty

      5         vague.    I don't know if they're talking about the clothing

      6         the defendant was wearing, the clothing that was recovered

      7         from a duffel bag, both.

      8                      MS. CILIA:    Or the clothing described by

      9         witnesses.

     10                      THE COURT:    Well, I guess that would be

     11         encompassed in this note.          I just don't know what they're

     12         talking about.     If they're just talking about the duffel

     13         bag, I guess we can narrow it down.          If they're talking

     14         about everything, it may be broader.          It may take us time

     15         to go through it.       I don 1 t know how many witnesses touched

     16         on this; a lot, several.
     17                      Anybody?
     18                      MS. CILIA:    Jean Loiseau talked about clothing,
     19         Nicole talked about clothing, Det. Steneck talked about
     20         clothing, Det. Anderson, Patterson.
     21                      THE COURT:    Okay.    Why don't we line them up.
     22                      THE COURT OFFICER:      Where do you want the
     23         alternates, Judge?
     24                      THE COURT:    In the front row.
     25                      MS. CILIA:    Also Ms. Hunt.


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 978 of 1061 PageID #: 1173
  000976                                                                               506
                                             Proceedings

      1                     MS. GUASTELLA:          Ms. Hunt described the clothing.

      2         I think we need to get the clarification.              It's just too

      3         much.

      4                     THE COURT OFFICER:            Your Honor ready for the

      5         jury?

      6                     THE COURT:       (Indicating.)

      7                     THE COURT OFFICER:            Jury entering.

      8                      (Whereupon, the jury and alternates enter the

      9         courtroom.}
     10                     THE COURT CLERK:          Both sides stipulate to a

     11         complete jury panel, properly seated?

     12                     People?
     13                     MS. CILIA:       Yes.

     14                     THE COURT CLERK:          Defense?

     15                     MS. GUASTELLA:          So stipulated.

     16                     THE COURT:       Okay, we have your notes.       We've

     17         marked them Court Exhibits 3 through 7.
     18                     Number 3, review Ferry terminal videos.            We sent

     19         those in, right?
     20                     JUROR:    Yes.
     21                     THE COURT:       Okay, fine.       So you can review those
     22         as you wish.
     23                     Number 4, Court Exhibit 4, Testimony about
     24         Samuel/Nelson prints.        We're searching through the record
     25         to find that, and we'll get it to you -- read back to you


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 979 of 1061 PageID #: 1174
  000977                                                                             507
                                           Proceedings

      1         as soon as we can.

      2                     Court Exhibit 5, Testimony about defendant's

      3         clothing, money, et cetera.       We're going to need a

      4         clarification on that.       I have to get it in a note.       I

      5         can't talk to you individually, I'm not allowed to.           So,

      6         what I'd like you to do -- I'm going to send you to lunch

      7         shortly, but what I'd like you to do, if you could, is send

      8         us another note telling us with a little more specificity,
      9         if possible, what you want.       We're not sure if you're
     10         talking about clothing recovered from a duffel bag,

     11         clothing that the defendant was allegedly wearing, both.

     12         We're just not quite sure.       This testimony could involve a

     13         number of witnesses, and depending on your clarification
     14         note, we will be searching the record to respond.           We'll

     15         respond to your notes, it might take a little time.

     16                     So, send us another note after lunch, if you can,
     17         narrowing that down.      It would help us in our search.
     18                     Court Exhibit 6, fairly straightforward,
     19         Testimony from detective who apprehended the defendant.
     20         We'll read that to you this afternoon.
     21                     And the final note, Number 7, DNA testimony and
     22         evidence.    We'll read you the DNA witness's testimony and
     23         we will send you the evidence that was introduced during
     24         her testimony, which was Exhibits 175 and 176 and 177.
     25                     So, what we'll do is, I'll give you what we call


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 980 of 1061 PageID #: 1175
  000978                                                                             508
                                           Proceedings

      1         separation instructions and then, at 2 p.m., maybe you can

      2         send us a clarifying note regarding that clothing question.

      3         That will put us in a better position to respond.           The rest

      4         of it we will deal with early this afternoon.          And as I

      5         said, we've already sent in the videos.

      6                     We used to bring lunch in for our jurors, but we

      7         don't do that anymore.      The judiciary budget is such that

      8         we can't afford it, so we send you out to lunch.           I'm

      9         required by law, once deliberations start, to give you what

     10         we call separation instructions.         So, let me do that now.
     11                     First of all, deliberations must be conducted
     12         only in the jury room when all jurors are present.
     13         Therefore, all deliberations must now cease and must not be
     14         resumed until all of you have returned and are together
     15         again in the jury room.       So, when the 12th juror shows up

     16         at or about 2 p.m., please compose a clarifying note, if
     17         you can, regarding that clothing issue.         And once we get
     18         that, we'll bring you back in, we'll respond to the other
     19         requests, and then we'll probably take a break while we
     20         search the record for the clothing testimony and evidence.
     21                     Secondly, during this recess, do not converse,
     22         either amongst yourselves or with anyone else, about
     23         anything relating to this case.
     24                     Third, you remain under obligation not to
     25         request, accept, agree to accept, or discuss with any


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 981 of 1061 PageID #: 1176
  000979                                                                             509
                                           Proceedings

      1         person the receipt or acceptance of any payment or benefit

      2          in return for supplying information concerning this trial.

      3                      Fourth, you must promptly report directly to me

       4         any incident within your knowledge involving an attempt by

      5         any person improperly to influence you or any members of

       6        the jury.

      7                      Fifth, you must not visit or view the premises or

      8         place where any charged crime was allegedly committed, or

       9         any other premises or place involved in the case.
     10                      Sixth, you must not read, view, or listen to any

     11          accounts or any discussions of the case reported by

     12         newspapers, television, radio, the internet, or any other

     13         news media.
     14                      And, finally, you must not attempt to research
     15         any fact, issue, or law related to this case whether by
     16         discussion with others, by research in the library, on
     17         computer, on the internet, or by any other means or source.
     18                      I'll let you go to lunch now.       We'll make it
     19          2 p.m.    We'll wait for that clarifying note, if you can
     20         propose one, then we'll bring you back in and address as
     21         many of these notes as we can.        Then we'll probably take a
     22         break while we search the record on the clothing issue.              I
     23         hope that's good.
     24                      Have a good lunch.      We'll give them back to you
     25         at 2:00.


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 982 of 1061 PageID #: 1177
  000980                                                                             510
                                           Proceedings

      1                      (Whereupon, the primary jury exits the courtroom.

      2                     THE COURT:    The 12 jurors have left.

      3                     Gentlemen, you can go to lunch, too.         The same

      4         rules apply to you.      Have a good lunch.     And when you

      5         return to wherever they have you in the building, at 2:00,

      6         we'll wait till we get the jury's note and then we'll bring

      7         you back in.

      8                     Thanks very much.      Have a good lunch.

      9                      (Whereupon, the two alternates exit the
     10         court room. )
     11                     THE COURT:    Okay.    The alternates have left.
     12                     I think notes 6 and 7 are self-explanatory.
     13         We'll have the reporter read the DNA witness's testimony;
     14         we'll send those exhibits in; and we'll have
     15          Det. Anderson --
     16                     Is that the apprehending officer?
     17                     MS. CILIA:    Yes.
     18                     THE COURT:    We will have his testimony read.
     19         That's pretty straightforward.
     20                     If you could, please see if you can get your
     21         heads together on Samuel Nelson prints.          I gather from what
     22         I've heard there is a passage from Det. Steneck and there
     23         is a passage from some other detective.          So, if you can
     24         narrow that down, you can read it to them.          Is that
     25         possible?


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 983 of 1061 PageID #: 1178
  000981                                                                                 511
                                           Proceedings

      1                      MR. REEVES:    Det. Steneck is at page 57, line 21,

      2         through 58, line 6.

      3                      THE COURT:    Okay, that doesn't sound too hard.

      4         And the other detective?

      5                      MR. REEVES:    Det. Patterson.
      6                      MS. GUASTELLA:    I agree with the Det. Steneck's.
      7                      THE COURT:    Take a look at Patterson's testimony

      8         and see if you can agree on that and that shouldn't be too

      9         hard.
     10                      MS. CILIA:    We also have Det. Patterson's
     11         testimony.     It's on page 222, and that's going to start on
     12         line 14, and it continues to page 223, line 4.
     13                      MS. GUASTELLA:    That's fine, Judge.
     14                      THE COURT:    Okay, then we're agreed on that.          So,
     15         what's left up in the air is testimony about defendant's
     16         clothing, money, et cetera.       Hopefully we will get a
     17         clarifying note.     That can involve some time, I guess.            I
     18         mean, I think it's a theme running through the whole trial,
     19         isn't it?     Probably a number of witnesses.       I don't know
     20         how long it's going to take.         Why don't we wait and see
     21         what the clarifying note says.
     22                      Okay.   I guess we'll break for lunch.       I'll see
     23         you at 2:00.     Thank you.
     24                      (Defendant remanded.)
     25                      (Whereupon, a luncheon recess is taken.)


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 984 of 1061 PageID #: 1179
  000982                                                                             512
                                           Proceedings

      1                      (Whereupon, Court Exhibit Number 8, is marked in

      2         evidence.)

      3                      (Defendant present.)

      4                      THE COURT:    Everyone is present.      We have a note.

      5         I gather it's a clarifying note.           It's marked Court

      6         Exhibit 8.     I'll just read it into the record:        "Photos of

      7         items found on defendant at time when he was picked up;

      8         Testimony from detective who picked him up;" and, "List of

      9         all items found in the duffel bag."

     10                      The testimony from the detective who picked him

     11         up they've already requested, right?          They're going to get

     12         that.    That's Det. Anderson.

     13                      MS. CILIA:    Yes.

     14                      MS. GUASTELLA:       Right.

     15                      THE COURT:    Photos of items found on defendant at
     16         time when he was picked up.          As I recall, that's clothing.
     17                      MR. REEVES:    Correct.

     18                      THE COURT:    Do we know what photos we're talking

     19         about?
     20                      MR. REEVES:    Ms. Cilia is getting those now.
     21                      People's 153 through 159 is one set.        And 132
     22         through 135, 139, and 138.
     23                      MS. GUASTELLA:       There was also money, right, the
     24         120 that was put up and tested for blood?

     25                      MR. REEVES:   That's People's 160.


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 985 of 1061 PageID #: 1180
  000983                                                                             513
                                           Proceedings

      1                     THE COURT:    So we're settled on the photos, both

      2         sides?
      3                     MR. REEVES:    Yes.

      4                     MS. GUASTELLA:     Yes, Judge.

      5                     THE COURT:    Second, testimony from detective who

      6         picked him up.     And that's going to be read to them.
      7         That's Det. Anderson as I understand, correct?

      8                     MR. REEVES:    Yes.

      9                     THE COURT:    And, finally, list of all items found

     10         in the duffel bag.

     11                     I don't recall any list being placed in evidence.
     12         Are we talking about Steneck's testimony?

     13                     MS. CILIA:    We have the photographs which is the
     14         list of everything that was in the bag, because
     15         Det. Steneck took one single photo of each item.
     16                     MS. GUASTELLA:     Judge, they didn't ask for a
     17         photo.    They asked for a list.      They asked for a list of
     18         the items in the duffel bag.         They didn't ask for photos.
     19         They clearly want a list.

     20                     THE COURT:    I don't want to create evidence.
     21                     MS. GUASTELLA:     I'm thinking -- The list?
     22                     THE COURT:    Seems to me what Ms. Cilia just
     23         suggested is probably responsive.         I don't know.    There is
     24         no list in evidence, but if there are photos of everything
     25         she recovered, they're marked in evidence, then I suppose


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 986 of 1061 PageID #: 1181
  000984                                                                             514
                                           Proceedings

       1         that would satisfy them.

       2                    MS. GUASTELLA:        Let me see the items you're

       3         talking about.
       4                     (Handing.)

       5                    THE COURT:     What do you think?

       6                    MS. GUASTELLA:        Fine, Judge.
       7                     THE COURT:    Pardon?

       8                    MS. GUASTELLA:        That's fine.
       9                     THE COURT:    Can I get the numbers of those

     10          photos?   I want the numbers of the photos regarding the

     11          items found in the duffel bag.
     12                     THE COURT CLERK:        105, 106, 107, 108, 109.
     13                     THE COURT:     108, 109?

     14                     THE COURT CLERK:        Yes.   110, 111, 112, 113, 114,

     15          115, 116, 117, 118, 119, 120, 121, 122, 123, 124, 125, 126,

     16          128.
     17                     THE COURT:     128?
     18                     THE COURT CLERK:        Yes.   127.
     19                     THE COURT:     127?
     20                     THE COURT CLERK:        Yes.
     21                     THE COURT:    And 128?
     22                     THE COURT CLERK:        Yes.
     23                     Was that in the duffel bag?
     24                     MR. REEVES:     Yes.
     25                     THE COURT CLERK:        129, 130, 131, 140, 141, 142,


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 987 of 1061 PageID #: 1182
  000985                                                                                           515
                                               Proceedings

      1         143, 144, 145, 146, 147, 148, 149, 150, 151, and 152.

      2                         105 to 152.

      3                         THE COURT:    And the first part, the photos of

      4         items found on defendant at time when he was picked up.

      5         What are those numbers?

      6                         THE COURT OFFICER:           Photo 132, 133, 134, 135,

      7         138, 139, 153, 154, 155, 156, 157, 158, 159, 160.

      8                         THE COURT:    All right.        Then if it's acceptable,

      9         what I'll say to the jury is, in terms of their request,

     10         photos of items found on defendant at time when he was

     11         picked up, we're sending those photos in to you, they are

     12         exhibit numbers 132, '3, '4, '5, '8, '9, 153, '4,                1
                                                                                     5,   1
                                                                                              6,

     13          '7,   1
                           8, '9 and 160.     Is that all right?

     14                         MR. REEVES:     Yes.

     15                         THE COURT:    Both sides?

     16                         MS. GUASTELLA:        Yes.
     17                         THE COURT:    And then, in terms of list of all

     18         items found in the duffel bag, what I think I'll say, if

     19         it's all right with both sides, is there is no list in

     20         evidence, however, we'll send you in photos that are in
     21         evidence of items allegedly recovered from the duffel bag;
     22         105 through 131, 140 through 152.                 Is that acceptable?
     23                         MS. GUASTELLA:        Yes.
     24                         MS. CILIA:     Yes.
     25                         THE COURT:    Okay.      And the second part of the


                                                      MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 988 of 1061 PageID #: 1183
  000986                                                                             516
                                            Proceedings

      1         trilogy was, Testimony from the detective who picked him

      2         up.     That's Anderson.    We're going to read that anyway.

      3                      All right.    Then, if there's nothing else, we'll

      4         bring the jury in.        I guess what we'll do is go in order.

      5         First, testimony about Samuel Nelson prints.

      6                      We're ready for that?

      7                      MS. CILIA:     I believe also responsive would be

      8         Ms. Hunt's testimony on page 262, lines 22 to 25.

      9                      MS. GUASTELLA:     What is that?    In reference to
     10         what?

     11                      MS. CILIA:     Samuel.   It says testimony about
     12         Samuel/Nelson prints.

     13                      MS. GUASTELLA:     Prints which I don't think she
     14         talked about prints.

     15                      MS. CILIA:     The first time I read this I thought

     16         it was Samuel Nelson prints, but now I think it's testimony
     17         about Samuel, slash, Nelson prints.
     18                      MS. GUASTELLA:     They want to hear testimony about
     19         the prints.
     20                      THE COURT:    That's what the note says.
     21                      MS. GUASTELLA:     She didn't testify about his
     22         prints, Ms. Hunt.
     23                      THE COURT:     The note says testimony about
     24         Samuel/Nelson prints.       What's the slash?     Is that his name,
     25         Samuel Nelson?


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 989 of 1061 PageID #: 1184
  000987                                                                             517
                                           Proceedings

      1                       MS. CILIA:   His name is Samuel Nelson.

      2                       THE COURT:   So testimony about Samuel Nelson

      3         prints.

      4                       MS. GUASTELLA:   Right.     Not Ms. Hunt.   Ms. Hunt

      5         didn't talk about his prints.

       6                      THE COURT:   I don't know what we 1 re talking

       7         about.

      8                       MS. CILIA:   She testifies that he lives on the

       9         7th floor.

     10                       THE COURT:   Your position?

     11                       MS. GUASTELLA:   What page are you talking about,

     12          Jenn?
     13                       MS. CILIA:   Page 262.

     14                       MS. GUASTELLA:   Which lines?

     15                       MS. CILIA:   22 to 25.

     16                       MS. GUASTELLA:   Judge, we can do line 22:       "He

     17          lives in apartment 7-O?"
     18                       "He lived on the 7th floor, yes."
     19                       And that's it.   I don't see how, "Did you know

     20          him well?" -- I don't see how that has anything to do with
     21          the prints.
     22                       MS. CILIA:   That's fine.
     23                       THE COURT:   Okay, the DA agrees.     So let's make
     24         sure the reporter knows what she's reading.
     25                       MS. CILIA:   So we have Ms. Hunt and then we have


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 990 of 1061 PageID #: 1185
  000988                                                                               518
                                             Proceedings

      1          Det. Patterson, which we previously discussed, page 222,

      2          lines 14 to 25, page 223, lines 1 through 4.           And then for

       3         Det. Steneck 1 s testimony we have page 57, lines 21 through

       4         25, and page 58, lines 1 through 9.

      5                       THE COURT:     That 1 s with regard to what note?

       6                      MS. CILIA:     Det. Steneck, the crime scene

      7          detective.
       8                      THE COURT:     I know what she is.      What note are we

       9         talking about, Samuel Nelson?
     10                       MS. CILIA:     The prints, yes.
     11                       THE COURT:     I think we agreed on that before we
     12         broke for lunch.      Are we still in agreement?
     13                       MS. GUASTELLA:        I just want to be clear, because
     14          now I don't know why we're doing this again.
     15                       Page 222, line 14 to line 25, and then page 223,
     16          line 1 to line 4, right?
     17                       MS. CILIA:     Yes.
     18                       THE COURT:     All right.      Then the last two notes
     19         were, Testimony of detective who apprehended defendant; we
     20          know that's Anderson.       And DNA testimony in evidence; we
     21          know that's Ms. Wong.        So, I think we're set.
     22                       Are you set?
     23                       THE COURT REPORTER:         Yes.
     24                       THE COURT:     Why don't we bring the jury in and
     25         respond to their notes.


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 991 of 1061 PageID #: 1186
  000989                                                                             519
                                           Proceedings

      1                     Do they still have the videos?

      2                     THE COURT OFFICER:         Yes.

      3                     THE COURT:    They're still in there?

      4                     THE COURT OFFICER:         Yes.

      5                     THE COURT:    Okay.

      6                     THE COURT OFFICER:         Your Honor ready for the

      7         jury?

      8                     THE COURT:     (Indicating.)

      9                     THE COURT OFFICER:         Jury entering.

     10                     THE COURT CLERK:       Do both sides stipulate to a

     11         complete jury panel, properly seated?

     12                     People?

     13                     MS. CILIA:    Yes.

     14                     THE COURT CLERK:       Defense?

     15                     MS. GUASTELLA:       So stipulated.

     16                     THE COURT:    Okay, welcome back.         We have your

     17         clarifying note.      Thank you very much.        Let me just go

     18         through these again one at a time.
     19                     Exhibit 3, "Review ferry terminal videos," we
     20         sent them in.     I understand you still have them, so you can
     21         review them at your leisure.
     22                     Court Exhibit 4, "Testimony about Samuel Nelson
     23         prints," and we've isolated that.             I think it's three
     24         witnesses, so the court reporter is going to read that for
     25         you now and then we'll move on.


                                                 MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 992 of 1061 PageID #: 1187
  000990                                                                             520
                                           Proceedings

      1                      (Whereupon, the requested testimony is read

      2         back.)

      3                      THE COURT:   Okay, that was Court Exhibit

      4         Number 4.

      5                      Court Exhibit Number 5 was your initial request,

      6         "Testimony about defendant's clothing, money, et cetera."

      7         You sent us a clarifying note, which we've marked Court

      8         Exhibit 8, and I'll just read that in the record.           We'll go

      9         one at a time.     There are three requests in Court

     10         Exhibit 8.

     11                      First of all, "Photos of items found on defendant

     12         at time when he was picked up."        We have put those photos

     13         together and we'll send them in to you.         They are photos --

     14         or Exhibits Number 132 through 135, 138, and 139, and 153

     15         through 160.     So, those are photos in response to that
     16         query and we will send them in to you.
     17                      Next, "Testimony from detective who picked him

     18         up."     That's actually the same as your request in Court
     19         Exhibit Number 6, which was testimony from defendant --
     20         from detective who apprehended the defendant.          That's
     21         Det. Anderson, and we are going to read his testimony to
     22         you shortly.
     23                      And, finally, in terms of Court Exhibit 8, your
     24         note -- your earlier note about defendant's clothing, which
     25         was Court Exhibit 5, "List of all items found in the duffel


                                               MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 993 of 1061 PageID #: 1188
  000991                                                                             521
                                           Proceedings

      1         bag."     There is no list in evidence.      However, there are

      2         photos.     So, what we're going to do is send you in the

      3         photos of the items found in the duffel bag.          Hopefully

      4         that will be satisfactory.       If it's not, just let us know.

      5         And those are photos -- or exhibits, rather, numbers 105

      6         through 131, and 140 through 152.        So we will send those

      7         exhibits in to you.

      8                      So that takes care of your amended note Court

      9         Exhibit 8.
     10                      Court Exhibit 6, as I've already said, is,
     11         "Testimony from detective who apprehended the defendant."
     12         That's Det. Anderson, and the court reporter will read that
     13         to you now.
     14                      (Whereupon, the requested testimony is read
     15         back.)
     16                      THE COURT:   And your last note or request is
     17         Court Exhibit 7, "DNA testimony and evidence."           This is the
     18         testimony of Ms. Irene Wong.         During her testimony the
     19         following exhibits were placed in evidence:          Exhibits 175A
     20         and B, 176A through E, and 177A through C.          So, we will
     21         send those exhibits in to you.
     22                      And the court reporter is going to read
     23         Ms. Wong's testimony back to you now.
     24                      (Whereupon, the requested testimony is read
     25         back.)


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 994 of 1061 PageID #: 1189
  000992                                                                             522
                                           Proceedings

      1                     THE COURT:    Counsels, can you approach the bench

      2          for a moment.

      3                      (Whereupon, a discussion is held at the bench off

      4          the record.)

      5                     THE COURT:    Well, that completes the readback.

       6        We will send in the exhibits I discussed a little earlier.

      7         And I hope this satisfies your various inquiries.            If not,

      8          send us another note.     We aim to please.

       9                    Thank you very much for your attention.          I'll let

     10          you step out and resume deliberations.        You can take your

     11          notebooks with you.
     12                      (Whereupon, the jury and alternates exits the

     13          courtroom.)

     14                     THE COURT:    All right.     The jury and the

     15         alternates have left.      My plan, Counselors, as we discussed

     16         at the bench, is to break at about 4:10, which is about a
     17          half hour from now, so please be here then.
     18                     MS. GUASTELLA:       Yes, Judge.
     19                     THE COURT:     If you are not going to stay around.
     20                     Thank you.
     21                     Shall we bring the alternates back tomorrow if
     22          there is no verdict?
     23                     MS. CILIA:    Yes.
     24                     MS. GUASTELLA:       I don 1 t think we need to keep
     25         them.


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 995 of 1061 PageID #: 1190
  000993                                                                             523
                                           Proceedings

      1                     THE COURT:    Pardon?

      2                     MS. GUASTELLA:     I'm okay with discharging them.

      3                     THE COURT:    I am too, but not if the DA doesn't

      4         want me to.     So, I really need consent from both sides to

      5         discharge them.     I don't mind bringing them back.

      6                     MS. GUASTELLA:     I don't think I'd consent to
      7         putting an alternate in at this point anyhow.
      8                     THE COURT:    That's the issue, I can't discharge

      9         an alternate without the consent of both sides.           If you

     10         think that's a possibility.         It's always good to have them

     11         around just in case.
     12                     MS. GUASTELLA:     I don't think it's a possibility.
     13         That's what I'm saying.
     14                     MR. REEVES:    We'll consent to their release, your
     15         Honor.
     16                     THE COURT:    So, both sides are consenting?
     17                     MS. GUAS~ELLA:     Yes.
     18                     MR. REEVES:    Yes.
     19                     THE COURT:    When we resume in about a half hour,
     20         I'll send the jury home for the night and discharge the
     21         alternates.
     22                     Thank you.
     23                     (Whereupon, court stands in recess, awaiting the
     24         verdict of the jury.)
     25                     THE COURT:    Just for the record, the case on


                                               MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 996 of 1061 PageID #: 1191
  000994                                                                             524
                                          Proceedings

      1         trial continues.     All parties are present.

      2                      These are the alternate jurors, Counselors.

      3                      Gentlemen, we have decided to release you from

      4         this case.     I know you've been around all day, probably

      5         getting bored, so we've decided to let you go.           You're

      6         discharged.     I want to thank you on behalf of the parties

      7         for your service in this matter.          Because of your service

      8         you are now exempt from jury duty in the courts of New

      9         York State for a number of years.           I think it's six

     10         years.    The jury clerk can tell you more about that when

     11         you check out, which I understand you have to do across

     12         the street.
     13                      So, again, thank you very much for your service

     14         and you're discharged from this matter.

     15                      (Whereupon, the alternate jurors exit the

     16         courtroom.)
     17                      THE COURT:   You can bring the regular jury in.

     18         Shall I say 10 a.m.?      I don't want to fight with them.

     19         When I said 9:30 a couple of people expressed a

     20         displeasure.
     21                      MS. GUASTELLA:      Are you going to instruct them
     22         once they're all there to start deliberating?
     23                      THE COURT:   Yes.
     24                      THE COURT OFFICER:        Your Honor ready for the
     25         jury?


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 997 of 1061 PageID #: 1192
  000995                                                                             525
                                           Proceedings

      1                      THE COURT:    (Indicating.)

      2                      THE COURT OFFICER:        Jury entering.

      3                      (Whereupon, the jury enters the courtroom.)

      4                      THE COURT CLERK:      Do both sides stipulate the

      5         presence of a complete jury panel, properly seated?

      6                      People?

      7                      MS. CILIA:   Yes.

      8                      THE COURT CLERK:      Defendant?

      9                      MS. GUASTELLA:      So stipulated.

     10                      THE COURT:   We're going to break for the

     11         afternoon.     Permit me to instruct you as I'm required to at

     12         this stage, because you're in the midst of deliberations,

     13         as follows:
     14                      First of all, deliberations must be conducted
     15         only in the jury room when all jurors are present.

     16         Therefore, all deliberations must now cease and must not
     17         be resumed until all of you have returned and are together
     18         again in the jury room.       I'll make it 10 a.m.      I am not
     19         going to argue with you about 9:30.           I will make it 10 a.m.
     20         In other words, when the 12th juror appears, at or about
     21         10 a.m., we will send your notebooks in and we'll send the
     22         exhibits you have back in and you may resume deliberations
     23         then, but not before then.
     24                      Secondly, during this recess, do not converse,
     25         either amongst yourselves or with anyone else, about


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 998 of 1061 PageID #: 1193
  000996                                                                             526
                                           Proceedings

      1         anything related to this case.

      2                     Third, you remain under obligation not to

      3         request, accept, agree to accept, or discuss with any

      4         person the receipt or acceptance of any payment or

      5         benefit in return for supplying information concerning this

      6         trial.
      7                     Fourth, you must promptly report directly to me

      8         any incident within your knowledge involving an attempt by

      9         any person improperly to influence you or any members of

     10         the jury.
     11                     Fifth, you must not visit or view the premises or

     12         place where any charged crime was allegedly committed, or

     13         any other premises or place involved in the case.
     14                     Sixth, you must not read, view, or listen to

     15         any accounts or discussions of the case reported by

     16         newspapers, television, radio, the internet, or any other

     17         news media.

     18                     And, finally, you must not attempt to research
     19         any fact, issue, or law related to this case whether by
     20         discussion with others, by research in the library or on
     21         the internet, or by any other means or source.
     22                     We have released our alternate jurors, so stay
     23         well.    We can't do anything without all twelve of you.
     24         Okay.    Have a good evening and we'll see you tomorrow.
     25                     (Whereupon, the jury exits the courtroom.)


                                               MMS
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 999 of 1061 PageID #: 1194
      000997                                                                                 527
                                                   Proceedings

          1                       THE COURT:       Okay.   Jury has left.

          2                       I'll see you tomorrow morning.

          3                       (Defendant remanded.)

          4                       (Whereupon, court stands in recess and this

          5         matter is adjourned to March 12, 2014, at 10 a.m.)

          6     *      *      *       *        *       *      *     *       *   *        *
                     I hereby certify that the foregoing is a true and
          7    accurate transcript of the above proceedings to the best of my
               knowledge, skill, and ability.
          8

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    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 1000 of 1061 PageID #: 1195
       000998                                                                             528



            1   SUPREME COURT OF THE STATE OF NEW YORK

           2    COUNTY OF RICHMOND:       CRIMINAL TERM - PART 5

            3   PEOPLE OF THE STATE OF NEW YORK

            4

            5                   against

            6

            7   ARMAND SKRINE,

            8                   Defendant

            9

          10    Indictment #434-2011

          11                                18 Richmond Terrace

          12                        Staten Island, New York, 10301

~         13                                  March 12, 2014

          14               BEFORE:          HONORABLE STEPHEN ROONEY, Judge

          15

          16    APPEARANCES:

          17

          18    DANIEL DONOVAN, ESQ.
                District Attorney-Richmond County
          19
                JENNIFER CILIA, ESQ.
          20    KYLE REEVES, ESQ.
                Assistant District Attorney
          21
                MARIA GUASTELLA, ESQ.
          22    Appearing on behalf of the Defendant

          23

          24

          25
                               Tammy Rodriguez, Senior Court Reporter

                                                    TR
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 1001 of 1061 PageID #: 1196
  000999                                                                              529
                                           Proceedings

        1                     THE COURT:   Both sides have seen the note.       We

       2         got another note.

        3                     This one says, "We would like to go to lunch."

        4                     THE CLERK:   Case on trial continues Armand

        5        Skrine.

        6                     MS. CELIA:   Jennifer Celia and Kyle Reeves for

        7        the People.

        8                     MS. GUASTELLA:      Maria Guastella for the

        9        defendant.

      10                      THE COURT:   Before we bring the jury in we got

      11         the first note Court exhibit 9 requested photos of the

      12         outside area where the defendant was apprehended, and
      13         secondly, photographs of the hallway where the deceased was

      14         found.

      15                      The lawyers went through the photos and they

      16         agreed on what photos to send in.        All in evidence.     They
      17         were exhibits 169 A. through C. exhibit 3 through 10, 12
      18         through 17, 21, 23, 25, 32 through 43, 72 through 76 and 82

      19         through 89.

      20                      So those photos were all sent in to the jury in
      21         response to Court exhibit 9 on agreement of the lawyers, is
      22         that right?
      23                      MS. GUASTELLA:      Yes.
      24                      MS. CILIA:   Yes.
      25                      THE COURT:   That note is dealt with.


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 1002 of 1061 PageID #: 1197
  001000                                                                              530
                                           Proceedings

        1                    Now we have two more notes.       The first one is

        2        marked court exhibit 10, Can Judge review definition of

        3        circumstantial evidence, the intent, and reasonable doubt.

        4                    I think that's self-explanatory.        I don't know if

        5        you have any comments.       I'll review those areas with them,

        6        is that agreed.

        7                    MS. GUASTELLA:       Yes.

        8                    THE COURT:    We got a note immediately after that,

        9        which we haven't marked it yet.         It will be court exhibit

      10         10.

      11                     The jury is out in the hallway.        I think I'll

      12         send them out to lunch and I'll charge them on these issues

      13         at 2 p.m.

      14                     MS. GUASTELLA:       Yes.

      15                     MS. CILIA:    Yes.

      16                     THE COURT:    We can bring the jury in.

      17                     (At this time the jury enters the courtroom.)

      18                     THE CLERK:    Both sides stipulate the presence of

      19         a complete jury panel properly seated?

      20                     MS. CELIA:    Yes.

      21                     MS. GUASTELLA:       So stipulated.

      22                     THE COURT:    Good afternoon nice to see you again.

      23         We got an earlier note requesting various photos we sent

      24         them in to you.

      25                     Now we've gotten two more notes.        One we marked


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          Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 1003 of 1061 PageID #: 1198
            001001                                                                              531
                                                     Proceedings

                  1        court 10, Can Judge review definition of circumstantial

                  2        evidence, intent, and reasonable doubt.

                  3                    I'll of course do that.      Immediately after that

                  4        we got another note, which we marked number 11, We would

                  5        like to go to lunch.

                  6                    I think I'll send you to lunch then.        At 2 p.m.

                  7        I'll charge you on those items that you requested.

                  8                    Permit me to instruct you before I let you go to

                  9        lunch as follows:
                10                     I have to do that.      I'm required by law to give

                11         you these instructions.      You know them by heart now, but I

                12         must repeat them.

                13                     First, deliberations must be conducted in the

                14         jury room when all jurors are present.         Therefore, all

                15         deliberations must now cease, and must not be resumed until
                16         all of you are returned and are together again in the jury

                17         room.

                18                     In this situation when the 12th juror returns
                19         from lunch, we'll bring you back here, and I'll review the

                20         law with you on those areas that you requested.          After that
                21         you may resume deliberations, but not before then.

                22                     Secondly, during this recess do not converse,

                23         either among yourselves or with anyone else about anything
                24         related to this case.
I"""",,
                25                     Third, you remain under obligation not to


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    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 1004 of 1061 PageID #: 1199
       001002                                                                             532
                                               Proceedings

            1        request, accept, agree to accept, or discuss with any person

            2        the receipt or acceptance of any payment or benefit in

            3        return for supplying any information concerning the trial.

            4                    Fourth, you must promptly report directly to me

            5        any incident involving an attempt by any person improperly

            6        to influence you or any member of the jury.

            7                    Fifth, you must not visit or view the premises or

            8        place where any charged crime was allegedly committed, or

            9        any other premises or place involved in the case.

          10                     Six, you must not read, view, or listen to any

          11         accounts or discussions of the case reported by newspaper,

          12         television, radio, the internet or any other news media.

~         13                     And, finally and you must not attempt to research

          14         any fact, issue, or law related to this case whether by

          15         discussions with others, research in the library or internet

           16        or, by any other means or source.

           17                    Thank you very much.     We'll see you at 2 and I'll

           18        read the law to you again.

           19                    (At this time the jury is excused from the

          20         courtroom.)

          21                     THE COURT:    All right 2 p.m.

          22                     (Whereupon a luncheon recess was taken.)

          23                     THE CLERK:    Case on trial continues appearances,

          24         counsel.

          25                     MS. CILIA:    Jennifer Celia and Kyle Reeves for


                                                    TR
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 1005 of 1061 PageID #: 1200
   001003                                                                             533
                                           Proceedings

        1        the People.

        2                     MS. GUASTELLA:      Maria Guastella for Mr. Skrine.

        3                     THE COURT OFFICER:         Jury entering.

        4                     (At this time the jury enters the courtroom.

        5                     THE CLERK:   Both sides stipulate to the presence

        6        of a complete jury panel properly seated, People?

        7                     MS. CELIA:   Yes.

        8                     MS. GUASTELLA:      Yes.

        9                     THE COURT:   This is court exhibit 10, Can Judge

       10        review definition of circumstantial evidence, intent, and

       11        reasonable doubt.      I'll go in order in the way you

       12        requested.

       13                     Circumstantial evidence there are two types of

       14        evidence namely direct evidence and circumstantial evidence.

       15                     In this case the People contend that there is

       16        circumstantial evidence of the defendant's guilt.

       17                     Let me explain what constitutes direct and

       18        circumstantial evidence and how they are different.

       19                     Direct evidence is evidence of a fact based on a

       20        witness's personal knowledge or observation of that fact.

       21                     A person guilt of a charged crime may be proven

       22        by direct evidence if standing alone that evidence satisfies

       23        the jury beyond a reasonable doubt of the person's guilt of

       24        that crime.

       25                     Circumstantial evidence is direct evidence of a


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    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 1006 of 1061 PageID #: 1201
       001004                                                                             534
                                               Proceedings

            1        fact from which a person may reasonably infer the existence

            2        or nonexistence of another fact.

            3                    A person's guilt of a charged crime may be proven

            4        by circumstantial evidence if that evidence while not

            5        directly establishing guilt gives rise to an inference of

            6        guilt beyond a reasonable doubt.
            7                    Now, let me give you an example of the difference

            8        between direct evidence and circumstantial evidence.

            9        Suppose that in a trial one of the parties is trying to

           10        prove that it was raining on a certain morning.          A witness

           11        testifies that on that morning she walked to the subway and

           12        as she walked she saw rain falling, she felt it striking her
           13        face and she heard it splashing on the sidewalk.           That

           14        testimony of the witness's perception would be direct

           15        evidence that it rained on that morning.

           16                    Suppose, on the other hand, the witness testified
           17        that it was clear as she walked to the subway, that she went

           18        into the subway and got on the train, and that while she was

           19        on the train, she saw passengers come in at one station
           20        after another carrying wet umbrellas and wearing wet clothes
          21         and raincoats.
          22                     That testimony constitutes direct evidence of
           23        what the witness observed, and because an inference that it

           24        was raining in the area would flow naturally, reasonably,
~         25         and logically from that direct evidence, the witness's


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 1007 of 1061 PageID #: 1202
   001005                                                                             535
                                           Proceedings

        1        testimony would constitute           rcumstantial evidence that it

        2        was raining in the area.

        3                    The law draws no distinction between

        4        circumstantial evidence and direct evidence in terms of

        5        weight or importance.      Either type of evidence may be enough

        6        to establish guilt beyond a reasonable doubt depending on

        7        the facts of the case as the jury finds them to be.

        8                    Because circumstantial evidence requires the

        9        drawing of inferences, I'll explain the process involved in

       10        analyzing that evidence and what you must do before you may

       11        return a verdict of guilt based solely on circumstantial

       12        evidence.

       13                    Initially, you must decide on the basis of all

       14        the evidence what facts, if any, have been proven.           Any

       15        facts upon which an inference of guilt can be drawn must be

       16        proven beyond a reasonable doubt.
       17                    After you've determined what facts, if any, have

       18        been proven beyond a reasonable doubt, then you must decide

       19        what inferences, if any, can be drawn from those facts.

       20                    Before you may draw an inference of guilL,
       21        however, that inference must be the only one that can fairly

       22        and reasonably be drawn from the facts.

       23                    It must be consistent with the proven facts and

       24        it must flow naturally, reasonably, and logically from them.

       25                    Again, it must appear that the inference of


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 1008 of 1061 PageID #: 1203
   001006                                                                             536
                                           Proceedings

        1        guilty is the only one that can fairly and reasonably be

        2        drawn from the facts, and that the evidence excludes beyond

        3        a reasonable doubt every reasonable hypothesis of innocence.

        4                    If there is a reasonable hypothesis from the

        5        proven facts consistent with the defendant's innocence, then

        6        you must find the defendant not guilty.

        7                    If the only reasonable inference you find is that

        8        the defendant is guilty of a charged crime, and that

        9        inference is established beyond a reasonable doubt, then you

       10        must find the defendant guilty of that crime.

       11                    So that's the law on circumstantial evidence.

       12        Now, your next request for me is to review the law on

       13        intent.

       14                    Intent is an element of count one that's murder

       15        in the second degree.

       16                    Intent means conscious objective or purpose.

       17        Thus, a person acts with intent to cause the death of

       18        another when that person's conscious objective or purpose is

       19        to cause the death of another, and to put this in context

      20         let me review with you the element of murder in the second

      21         degree, count one.

      22                     In order for you to find the defendant guilty of

      23         this crime the People are required to prove from all the

      24         evidence in the case beyond a reasonable doubt both of the

      25         following two elements:


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 1009 of 1061 PageID #: 1204
   001007                                                                             537
                                           Proceedings

        1                    Element number one that on or about December 8,

        2        2011 in Richmond County the defendant caused the death of

        3        David Williams and element number two, the defendant did so

        4        with the intent to cause the death of David Williams.

        5                    Therefore, if you find that the People have

        6        proven beyond a reasonable doubt both of those elements you

        7        must find the defendant guilty of the crime of murder in the

        8        second degree as charged in count 1.

        9                    On the other hand, if you find that the people

       10        have not proven beyond a reasonable doubt either one or both

       11        of those elements you must find the defendant not guilty of

       12        the crime of murder in the second degree as charged in count

       13        one.

       14                    Once again intent means conscious objective or

       15        purpose.    Thus a person acts with intent to cause the death

       16        of another when that person's conscious objective or purpose

       17        is to cause the death of another.        So that's intent.

       18                    Finally, let me review with you the concept of

       19        proof beyond a reasonable doubt.

       20                    The standard of proof required by law for
       21        conviction in every criminal case is called proof of guilt

       22        beyond a reasonable doubt.

       23                    Now what does our law mean when it requires proof

       24        of guilty beyond a reasonable doubt?

       25                    The law uses the term proof beyond a reasonable


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 1010 of 1061 PageID #: 1205
   001008                                                                             538
                                           Proceedings

        1        doubt to tell you how convincing the evidence of guilt must

        2        be to permit a verdict of guilt.

        3                    The law recognizes that in dealing with human

        4        affairs there are very few things in this world that we know

        5        with absolute certainty.      Therefore, the law does not

        6        require the People to prove a defendan~'s guilt beyond all

        7        possible doubt.

        8                    On the other hand it's not sufficient to prove

        9        that the defendant is probably guilty in a criminal case,

       10        the proof must be stronger than that, it must be beyond a

       11        reasonable doubt.

       12                    A reasonable doubt is an honest doubt of the

       13        defendant's guilt for which a reason exist based upon the

       14        nature and quality of the evidence.

       15                    It's an actual doubt not an imaginary doubt.

       16        It's a doubt that a reasonable person, acting in the manner

       17        of this importance would be likely to entertain because of

      18         the evidence that was presented or because of the lack of

       19        convincing evidence.

       20                    Proof of guilt beyond a reasonable doubt is proof
      21         that leaves you so firmly convinced of the defendant's guilt

       22        that you have no reasonable doubt of the existence of any

       23        element of the crime or of the defendant's identity as the

      24         person who commented the crime.

      25                     In determining whether or not the People have


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    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 1011 of 1061 PageID #: 1206
       001009                                                                             539
                                               Proceedings

            1        proven the defendant's quilt beyond a reasonable doubt, you

            2        should be guided solely by a full and fair evaluation of the

            3        evidence.

            4                    After carefully evaluating the evidence each of

            5        you must decide whether or not that evidence convinces you

            6        beyond a reasonable doubt of the defendant 1 s guilt.

            7        Whatever your verdict maybe it must not rest upon baseless

            8        speculation, nor may it be influenced in any way by bias,

            9        prejudice, sympathy, or by a desire to bring an end to your

           10        deliberation or to avoid an unpleasant duty.

           11                    If you're not convinced beyond a reasonable doubt

           12        that the defendant is guilty of a charged crime you must

~          13        find the defendant not guilty of that crime.

           14                    If you are convinced beyond a reasonable doubt

           15        that the defendant is guilty of a charged crime you must

           16        find the defendant guilty of that crime.

           17                    So that's the law on reasonable doubt.          I hope

           18        this satisfies your inquiry.        Send us another note if you

           19        need to.    Please resume deliberations.       Thank you very much.

          20                     (At this time the jury is excused from the
          21         courtroom.)

          22                     THE COURT:    The jury left.     Second call.

          23                     THE CLERK:    Case on trial conditions, 454 of 2011

          24         Armand Skrine.

          25                     I'll note the presence of all parties .          It's


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 1012 of 1061 PageID #: 1207
   001010                                                                                 540
                                             Proceedings

        1        4:25.     The officer who 1 s assigned to the jury tells me the

        2        jury would like to go home for the evening.                If there's no

        3        objection.

        4                     MS. GUASTELLA:        No objection.

        5                     THE COUR1':    I'll bring them in and release them.

        6        Do we need a note?

        7                     MS. CILIA:     No.

        8                     THE COURT:     We can bring them in.

        9                     THE COURT OFFICER:           Jury entering.

      10                      (At this time the jury enters the courtroom.)

      11                      THE CLERK:     Both sides stipulate to a complete

      12         jury panel properly seated?

      13                      MS. CILIA:     Yes.

      14                      MS. GUASTELLA:        Yes.

      15                      THE COUR'l':   How are we doing?

      16                      That 1 s a rhetorical question.         I'm told by the
      17         officer that you would like to break for the day.               That's

      18         fine with us.

      19                      Permit me to instruct you as I've told you do
      20         before.
      21                      First of all Deliberations must be conducted only
      22         in the jury room when all jurors are present.               Therefore,
      23         all deliberations must now cease and must not be resumed

      24         until all of you have returned and are together again in the
      25         jury room.     I'll make it 10 a.m.


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 1013 of 1061 PageID #: 1208
   001011                                                                             541
                                           Proceedings

        1                    Again when at 12 jurors appear you may resume

        2        deliberations not before then.

        3                    Second, do not converse either among yourselves

        4        or with anyone else about anything relate today this case.

        5                    Third, you remain under obligation not to

        6        request, accept, agree to accept or discuss with any person

        7        the receipt or acceptance of any payment or benefit in

        8        return for supplying information about this trial.

        9                    Fourth, you must promptly report directly to me

       10        any incident within your knowledge involving an attempt by

       11        any person improperly to influence you or any member of the

       12        jury.

       13                    Fifth, you must not visit or view the premises or

       14        place where any charged crime was allegedly committed, any

       15        other premises or place involved in the case.

       16                    Six, you must not read, view, or listen to any

       17        accounts or discussions of the case reported by newspapers,

       18        television, radio, the internet, or any other news media.

       19                    And, finally, you must not attempt to research

       20        any fact, issue, or law relate to this case whether by

       21        discussion with others, by research in the library or on the

       22        internet or any other means or source.

       23                    Thank you very much.       Have a good evening.    We'll

       24        see you tomorrow morning.       Thank you.

       25                    (At this time, the jury is excused from the


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 1014 of 1061 PageID #: 1209
   001012                                                                             542
                                           Proceedings

        1        courtroom.)

        2                    Jury has left.     I'll see you tomorrow.

        3

        4                                        true and accurate.

        5

        6

        7                      Tammy

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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 1015 of 1061 PageID #: 1210
   001013



            SUPREME COURT OF THE STATE OF NEW YORK
            COUNTY OF RICHMOND - CRIMINAL TERM - PART 5
            --------------------------------------x INDICTMENT NO.
            THE PEOPLE OF THE STATE OF NEW YORK
                                                                454/2011

                          -against-


            ARMAND SKRINE,
                                                                JURY TRIAL
                                              Defendant.         (Continued)
            --------------------------------------x
                                       18 Richmond Terrace
                                              Staten Island, New York
                                              March 13, 2014

            BEFORE:

                 HONORABLE STEPHEN J. ROONEY, Justice.




            APPEARANCES:

                 DANIEL DONOVAN, ESQ.
                 District Attorney - Richmond County
                      130 Stuyvesant Place
                      Staten Island, N.Y. 10301
                 BY:  KYLE REEVES, ESQ.,
                      JENNIFER CILIA, ESQ.,
                      Assistant District Attorneys

                 MARIA GUASTELLA, ESQ.
                 Attorney for the Defendant
                      88 New Dorp Plaza
                      Staten Island, N.Y. 10306




                                                      MAURIZIA M. SELLECK
                                                      SENIOR COURT REPORTER

                                             MMS
    Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 1016 of 1061 PageID #: 1211
       001014                                                                              544
                                                Proceedings

           1                      THE COURT CLERK:      Calendar number 3, case on

           2         trial continues:     Armand Skrine, 454/2011.

           3                      (Whereupon, Court Exhibit 12 is marked in

           4         evidence.)

           5                      THE COURT:    You've seen the note?

           6                      MS. GUASTELLA:     Yes.
           7                      THE COURT:    Do we have that ballistics evidence?

           8                      MR. REEVES:    Yes.
           9                      THE COURT:    Okay.    We can send that in, we don't
          10         need a court officer, right?           We'll just give it to them?
          11                      THE COURT OFFICER:        Yes.
          12                      THE COURT:    Exhibit 164, shell casings.
~         13                      MR. REEVES:    It's all ballistics evidence.
          14                      MS. GUASTELLA:     Judge, they're asking for the
          15         shell casings found at the scene.             There was only one.
          16                      MR. REEVES:    It's all combined.        I don't think
          17         you can separate the shell casings.             It's all packaged
          18         together.
          19                      THE COURT:    What exhibit?
          20                      MR. REEVES:    164.
          21                      THE COURT:    How many shell casings were found at
          22         the scene?
          23                      MS. GUASTELLA:     One.
          24                      THE COURT:    It says one.       And one was found in
          25         the duffel bag, right?


                                                     MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 1017 of 1061 PageID #: 1212
   001015                                                                             545
                                            Proceedings

       1                      MR. REEVES:    Correct.

       2                      THE COURT:    Why don't I tell them that.      We will

       3         give them the shell casings, but your note says shell

       4         casings found at the scene.       The testimony was one found at

       5         the scene, one found in the duffel bag, and we'll send it

       6         in to you.
       7                      MS. GUASTELLA:    Judge, I would just leave the

       8         record even tighter than that, that only one shell casing

       9         was found at the scene.

      10                      THE COURT:    That's what I just said.
      11                      MS. GUASTELLA:    Without the additional the other
      12         one was found in the bag.

      13                      THE COURT:    I'll say the additional part, too,

      14         because they asked for shell casings, plural.          I don't know

      15         if they're confused.
      16                      MS. GUASTELLA:    Okay.
      17                      (Defendant present.)

      18                      THE COURT:    All right.     Mr. Skrine is here.

      19                      Let me just read the note into the record:
      20         "Janitor testimony read back.          Shell casings found at
      21         scene."
      22                      We just discussed that.
      23                      "Was there any testimony in regard to
      24         fingerprints found in the apartment?"
      25                      Was there?


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 1018 of 1061 PageID #: 1213
   001016                                                                             546
                                            Proceedings

       1                      MS. GUASTELLA:       I don't recall.

       2                      MR. REEVES:    No.    The only testimony is

       3         Det. Steneck's testimony about where the patent fingerprint

       4         was found.

       5                      THE COURT:    In the hallway.

       6                      MR. REEVES:    In the hallway, that's correct.

       7                      THE COURT:    So, the answer to the question, "Was

       8         there any testimony in regard to fingerprints found in the

       9         apartment," is no.
      10                      MR. REEVES:    I would say, But there's no
      11         fingerprints found in the hall -- in the apartment, your

      12         Honor.

      13                      THE COURT:    "Was there any testimony in regard to

      14         fingerprints found in the apartment?"
      15                      MS. GUASTELLA:       The answer is no.
      16                      MR. REEVES:    The answer would be no.
      17                      THE COURT:    Okay.     And the last one, "What were

      18         the Judge's instructions about Lonney Walker?"          I'm pretty
      19         sure I didn't give any.       Is that correct?
      20                      MS. GUASTELLA:       That's correct.
      21                      MR. REEVES:    That's correct.
      22                      THE COURT:    Okay.     We are going to let the
      23         reporter go through the transcript for a bit and then we 1 ll
      24         bring the jury in.
      25                      MR. REEVES:    Your Honor, to answer the fourth


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 1019 of 1061 PageID #: 1214
   001017                                                                             547
                                           Proceedings

       1         question, I agree there was no instructions, but how does

       2         the Court propose to answer that question?

       3                     THE COURT:    I gave no such instructions.

       4                     MR. REEVES:    Okay.

       5                     (Pause.)

       6                     THE COURT:    I'm looking at my notes.      One shell

       7         casing found at the scene
       8                     MR. REEVES:    One found in the duffel bag.

       9                     THE COURT:    -- one in the duffel bag.      Two shell

      10         casings in total were found in this case or recovered.
      11                     MR. REEVES:    Correct.
      12                     THE COURT:    And then --
      13                     MR. REEVES:    And those two shell casings are now
      14         in one --
      15                     THE COURT:    -- bag.
      16                     MR. REEVES:    one bag.
      17                     THE COURT:    All right.
      18                     MS. CILIA:    Judge, can we approach briefly?
      19                     THE COURT:    You can stay on the record if you
      20         want or approach.      I don't care.
      21                     (Whereupon, a discussion is held at the bench off
      22         the record.)
      23                     THE COURT OFFICER:       Your Honor ready for the
      24         jury?
           1
      25                     THE COURT:    Just one second.


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 1020 of 1061 PageID #: 1215
   001018                                                                             548
                                           Proceedings

       1                     (Pause.)

       2                     THE COURT:    You can bring the jury in.

       3                     THE COURT OFFICER:         Jury entering.

       4                     (Whereupon, the jury enters the courtroom.)

       5                     THE COURT CLERK:       Do both sides stipulate the

       6         complete jury panel, properly seated?

       7                     People?

       8                     MS. CILIA:    Yes.

       9                     THE COURT CLERK:       Defense?

      10                     MS. GUASTELLA:       So stipulated.

      11                     THE COURT:    Good morning, welcome back.       We have

      12         your note which we've marked Court Exhibit 12.          We'll go

      13         question by question.

      14                     First, "Janitor testimony read back."        And our

      15         court reporter is ready to do that now.

      16                     (Whereupon, the requested testimony is read back
      17         to the jury.)

      18                     THE COURT:    Okay, thank you.

      19                     The second request on Court Exhibit 12, "Shell

      20         casings found at scene."
      21                     The testimony was that one shell casing was
      22         recovered from the scene and one shell casing was recovered
      23         from the duffel bag.      They've both been entered into
      24         evidence as Exhibit 164, and we'll send them in to you.
      25                     Next question:       "Was there any testimony in


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 1021 of 1061 PageID #: 1216
   001019                                                                             549
                                           Proceedings

       1         regard to fingerprints found in the apartment?"           The answer

       2         is no.

       3                     And, lastly, "What were the judge's instructions

       4         about Lonney Walker?"      I gave instructions regarding

       5         evidence and testimony and credibility of witnesses, but I

       6         gave no specific instruction as to Lonney Walker.
       1                     So, I hope that satisfies your request.         If you

       8         have any further request, feel free to send us a note.

       9         Please resume deliberations.           We'll send that exhibit in to

      10         you.

      11                     {Whereupon, the jury exits the courtroom.)
      12                     THE COURT:    That last answer I just want to say

      13         for the record was discussed at the bench just before the

      14         jury came in.     It was a little different than what we had

      15         discussed on the record prior.           It was discussed in front
      16         of both lawyers and I had no objection registered.
      17                     It's 12:15, so I got to send them to lunch in
      18         35 minutes or so, so please make sure you're here so I can

      19         give them the usual separation instructions.
      20                     THE COURT OFFICER:         Take charge?
      21                     THE COURT:    Yes.
      22                     (Defendant remanded.}
      23                     (Whereupon, court stands in recess awaiting the
      24         verdict of the jury.)
      25                     (Defendant present.)


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 1022 of 1061 PageID #: 1217
   001020                                                                             550
                                           Proceedings

       1                     THE COURT:    Okay.        All parties are present.     We

       2         have two more notes.

       3                     (Whereupon, Court Exhibits 13 and 14 are marked

       4         in evidence.)

       5                     THE COURT:    Court Exhibit 13 reads, "Defense

       6         attorney's questions and answers read back regarding Lonney
       7         Walker."
       8                     Was that Ms. Hunt's testimony?

       9                     MS. CILIA:    It was.        It's less than one page.

      10                     THE COURT:    Anybody else?

      11                     MS. CILIA:    That's it.
      12                     THE COURT:    Nothing from Det. Patterson on that?
      13                     MS. CILIA:    No.
      14                     MS. GUASTELLA:       No.
      15                     THE COURT:    Okay.        So we agreed that's it.
      16                     Do you have the page?
      17                     MS. CILIA:    Yes.     Page 263, line 21 to 23, and
      18         page 264, line 2 through 25.
      19                     THE COURT:    Ms. Guastella?
      20                     MS. GUASTELLA:       Judge, I apologize.     I was
      21         downstairs when that note came in.            I didn't get a chance
      22         to look through.
      23                     THE COURT:    Go ahead.
      24                     MS. GUASTELLA:       What did you say?
      25                     MS. CILIA:    Page 263, starting at line 21 to 23,


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 1023 of 1061 PageID #: 1218
   001021                                                                             551
                                           Proceedings

       1         and then the next page, 264, line 2 to 25.

       2                      MS. GUASTELLA:      What line did you say?

       3                      MS. CILIA:   2 through 25.

       4                      MS. GUASTELLA:      Judge, 265?    Unless she said it

       5         and I missed it.

       6                      Page 265, actually line 4.
       7                      MS. CILIA:   That was an objection that was

       8         sustained.     That doesn't get read back.
       9                      THE COURT:   If I sustained an objection, then we

      10         can't read it.

      11                      MS. GUASTELLA:      I get that, Judge.

      12                      Judge, they sent a note in right after that to go

      13         to lunch.
      14                      THE COURT:   The next note says, "Can we go to

      15         lunch?"

      16                      MS. CILIA:   Judge, this is going to take less
      17         than one minute to read back.
      18                      THE COURT:   Why don't we read it in and then I'll

      19         give them separation instructions for lunch.           Okay?
      20                      MS. CILIA:   Yes.
      21                      THE COURT:   If it's that brief, then it won 1 t
      22         take long.
      23                      Bring them in.
      24                      THE COURT OFFICER:        Your Honor ready for the
      25         jury?


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 1024 of 1061 PageID #: 1219
   001022                                                                                 552
                                           Proceedings

       1                     THE COURT:    Yes.

       2                     THE COURT OFFICER:          Jury entering.

       3                     (Whereupon, the jury enters the courtroom.)

       4                     THE COURT CLERK:       Both sides stipulate to a

       5         complete jury panel, properly seated?

       6                     People?
       7                     MS. CILIA:    Yes.

       8                     THE COURT CLERK:       Defense?
       9                     MS. GUASTELLA:       Yes.
      10                     THE COURT:    Okay, we have two notes.           The first

      11         one has been marked Court Exhibit 13.            "Defense attorney's

      12         questions and answers read back regarding Lonney Walker."
      13         I believe this is from Ms. Hunt's testimony, and the court
      14         reporter will read it to you now.
      15                     (Whereupon, the requested testimony is read
      16         back.)
      17                     THE COURT:    Okay.     Your next note is marked Court
      18         Exhibit 14, "Can we go to lunch?"            Yes, you can.    And, as
      19         you know, I have to read you what we call separation
      20         instructions, and then I'll let you go to lunch.
      21                     First of all, deliberations must be conducted
      22         only in the jury room when all jurors are present.
      23         Therefore, all deliberations must now cease and must not be
      24         resumed until all of you have returned and are together
      25         again in the jury room.


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 1025 of 1061 PageID #: 1220
   001023                                                                             553
                                           Proceedings

       1                     Second, during this recess, do not converse,

       2         either amongst yourselves or with anyone else, about

       3         anything related to this case.

       4                     Third, you remain under obligation not to

       5         request, accept, agree to accept, or discuss with any

       6         person the receipt or acceptance of any payment or benefit

       7         in return for supplying information concerning the trial.

       8                     Fourth, you must promptly report directly to me

       9         any incident within your knowledge involving an attempt by

      10         any person improperly to influence you or any members of

      11         the jury.

      12                     Fifth, you must not visit or view the premises or

      13         place where the charged crime was allegedly committed, or

      14         any other premises or place involved in the case.

      15                     Sixth, you must not read, view, or listen to any

      16         accounts or discussions of the case reported by newspapers,

      17         television, radio, the internet, or any other news media.

      18                     And, finally, you must not attempt to research

      19         any fact, issue, or law related to this case whether by

      20         discussion with others, by research in the library, or on
      21         internet, or by any other means or source.

      22                     Thank you very much.       Have a good lunch, and
      23         we'll see you later.
      24                     (Whereupon, the jury exits the courtroom.}

      25                     THE COURT:    All right.     The jury has left.    We'll


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 1026 of 1061 PageID #: 1221
   001024                                                                              554
                                            Proceedings

       1         break for lunch.
       2                      (Defendant remanded.)

       3                      (Whereupon, a luncheon recess is taken.)

       4                      (Whereupon, court stands in recess awaiting the

       5         verdict of the jury.)
       6                      (Whereupon, Court Exhibit 15 is marked in
       7         evidence.)

       8                      (Defendant present.)

       9                      THE CLERK:    Case on trial continues:     Armand

      10         Skrine, Indictment 454/2011.         Appearances remain the same.

      11                      THE COURT:    I have a note, Court Exhibit 15,      11
                                                                                       Can

      12         we break for the day? 11

      13                      What do you think?
      14                      MS. CILIA:    We feel that their day ends at 4:30
      15         and they should probably be reminded that their day ends at
      16         4:30.    They've been asking to go to lunch earlier and
      17         earlier every day, now they're asking to leave for the day
      18         earlier and earlier.       So, this might be a good time
      19                      THE COURT:    Defense, what do you think?
      20                      MS. GUASTELLA:    Judge, I don't think it's been an
      21         easy case for them.       You can obviously tell from their
      22         faces when they came in last night they were frustrated and
      23         upset.     If they want to go home, I think we should let them
      24         go home.
      25                      THE COURT:    You think I should ask -- I mean, I'm


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 1027 of 1061 PageID #: 1222
   001025                                                                             555
                                           Proceedings

       1         perfectly willing to ask -- whether they've reached a

       2         partial verdict?

       3                     MS. GUASTELLA:     Judge, they haven't indicated

       4         that they have.

       5                      THE COURT:   No, they haven't.

       6                     MS. GUASTELLA:     They haven't indicated they're

       7         deadlocked.     They've been sending in notes.       I think if

       8         they had a partial verdict, I think they'd say something.

       9                      THE COURT:   Maybe.     I don't think there is any
      10         rule that prohibits me from inquiring.         I just wondered how

      11         both sides felt about me inquiring.        I don't have a

      12         particular feeling.

      13                      You prefer I leave it alone?
      14                     MS. GUASTELLA:     {Indicating.)
      15                      THE COURT:   If both sides would, then I'll do
      16         that.
      17                      Then now the question is shall I let them go or
      18         not.     It's 3:33, I guess.    I think if they want to go home,
      19         I'll let them go home.       I haven't gotten a deadlock note,
      20         so I don't believe there is need to talk about Allen at
      21         this point.
      22                      So, I'll send them home, tell them to come back
      23         at 10:00 and then resume deliberations.
      24                     All right.    You can line them up if they're in
      25         there.


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 1028 of 1061 PageID #: 1223
   001026                                                                             556
                                           Proceedings

       1                     THE COURT OFFICER:          Your Honor ready for the

       2         jury?

       3                     Jury entering.

       4                     (Whereupon, the jury enters the courtroom.)

       5                     THE COURT CLERK:       Do both sides stipulate to a

       6         complete jury panel, properly seated?
       7                     People?

       8                     MS. CILIA:    Yes.

       9                     THE COURT CLERK:       Defense?

      10                     MS. GUASTELLA:       Yes.
      11                     THE COURT:    Okay, we have your note, Court

      12         Exhibit 15, "Can we break for the day?"            Sure, you can.    I

      13         guess I'll make it 10 a.m. tomorrow.            Is that all right
      14         with everyone?
      15                     Okay, 10 a.m. tomorrow.
      16                     And bear with me:
      17                     First, deliberations must be conducted only in
      18         the jury room when all jurors are present.            Therefore, all
      19         deliberations must now cease and must not be resumed until
      20         all of you have returned and are together again in the jury
      21         room.   So, in other words, when the 12th juror appears at
      22         or about 10 a.m., you may resume deliberations, but not
      23         before then.
      24                     Secondly, during this recess, do not converse
      25         either amongst yourselves or with anyone else about


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 1029 of 1061 PageID #: 1224
   001027                                                                             557
                                           Proceedings

       1         anything related to this case.

       2                     Third, you remain under obligation not to

       3         request, accept, agree to accept, or discuss with any

       4         person the receipt or acceptance of any payment or benefit

       5         in return for supplying any information concerning the

       6         trial.
       7                     Fourth, you must promptly report directly to me

       8         any incident within your knowledge involving an attempt by

       9         any person improperly to influence you or any members of

      10         the jury.
      11                     Fifth, you must not visit or view the premises or

      12         place where the charged crime was allegedly committed, or

      13         any other premises or place involved in the case.

      14                     Sixth, you must not read, view, or listen to any

      15         accounts or discussions of the case reported by newspapers,
      16         television, radio, the internet, or any other news media.
      17                     And, finally, you must not attempt to research

      18         any fact, issue, or law related to this case whether by

      19         discussion with others, by research in the library or on

      20         the internet, or by any other means or source.
      21                     Thank you very much for your efforts today.         Have
      22         a good evening.     We'll see you tomorrow.
      23                     (Whereupon, the jury exits the courtroom.)
      24                     THE COURT:    Okay.   The jury has left.      I'll see
      25         you tomorrow.


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          Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 1030 of 1061 PageID #: 1225
             001028                                                                                 558
                                                       Proceedings

                 1                      (Defendant remanded.)

                 2                      (Whereupon, court stands in recess and this

                 3         matter is adjourned to March 14, 2014, at 10 a.m.)

                 4    *      *      *       *      *      *      *      *      *      *         *
                            I hereby certify that the foregoing is a true and
                 5    accurate transcript of the above proceedings to the best of my
                      knowledge, skill, and ability.
                 6

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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 1031 of 1061 PageID #: 1226
   001029



            SUPREME COURT OF THE STATE OF NEW YORK
            COUNTY OF RICHMOND - CRIMINAL TERM - PART 5
            --------------------------------------x
            THE PEOPLE OF THE STATE OF NEW YORK                 INDICTMENT NO.
                                                                454/2011

                          -against-


            ARMAND SKRINE,
                                                                JURY TRIAL
                                              Defendant.         (Cont'd)
            --------------------------------------x
                                              18 Richmond Terrace
                                              Staten Island, New York
                                              March 14, 2014

            BEFORE:

                 HONORABLE STEPHEN J. ROONEY, Justice.




            APPEARANCES:

                 DANIEL DONOVAN, ESQ.
                 District Attorney - Richmond County
                      130 Stuyvesant Place
                      Staten Island, N.Y. 10301
                 BY:  KYLE REEVES, ESQ.,
                      JENNIFER CILIA, ESQ.,
                      Assistant District Attorneys

                MARIA GUASTELLA, ESQ.
                Attorney for the Defendant
                     88 New Dorp Plaza
                     Staten Island, N.Y. 10306




                                                     MAURIZIA M. SELLECK
                                                     SENIOR COURT REPORTER

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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 1032 of 1061 PageID #: 1227
  001030                                                                              560
                                            Proceedings

       1                    THE COURT CLERK:      Case on trial continues,

       2         calendar number 4:       Armand Skrine, Indictment 454/2011.

       3                    Appearances, Counsel.

       4                    MS. CILIA:      Jennifer Cilia and Kyle Reeves for

       5         the People.

       6                     MS. GUASTELLA:     Maria Guastella on behalf of

       7         Mr. Skrine.
       8                     Good morning, your Honor.

       9                     THE COURT:     Good morning.

     10                      THE COURT CLERK:     First one is Court Exhibit

      11         Number 16 and the second one will be 17.

     12                      {Whereupon, Court's Exhibits 16 and 17 are

      13         received in evidence.)
     14                      (Defendant present.)

     15                      THE COURT:     All parties are present.     We have two

      16         notes marked, respectively, Exhibit 16 and 17.
     17                      Sixteen says, "Can we get a magnifying glass?"

     18          Any objection?
      19                     MS. GUASTELLA:     I have an objection, Judge.       I

     20          don't think it's appropriate for the jury to have a
      21         magnifying glass.     It's akin to when you instruct them
     22          not to go to the crime scene and do their own independent
     23          investigation.     Here it appears that with a magnifying
     24          glass they're trying to conduct their own investigation.
     25                      THE COURT:     People?


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 1033 of 1061 PageID #: 1228
   001031                                                                             561
                                           Proceedings

       1                     MR. REEVES:    I would disagree with counsel.       If

       2         they want a magnifying glass to look at the exhibits, we

       3         can provide it to them.

       4                     THE COURT:    I don't see anything wrong with a

       5         magnifying glass.     I've sent them in before.       I don't think

       6         it's equivalent to conducting an experiment.

       7                     Actually, I have a case, People against Moody,

       8         195 A.D.2d, page 1016.      I'll read the pertinent language:

       9         "Nor did the Court err in granting the jury's request,
      10         during deliberations, for a magnifying glass.          As the Court

      11         correctly observed, use of a magnifying glass was for the
      12         purpose of enhancing the clarity of the photographs,
      13         similar to the use of reading glasses."
      14                     So, I will send in a magnifying glass.        We have
      15         one.
      16                     We have another note; the reporter hasn't dealt
      17         with it yet.    So, what I propose to do is send the
      18         magnifying glass and tell the jury we'll bring them in in
      19         response to their second note as soon as we can.          That's
      20         number 17, and it reads as follows:        "Part of neighbor's
      21         testimony when she said she heard voices in David's
      22         apartment prior to borrowing the lighter."
      23                     So, I guess we'll search for testimony and pull

      24         that out and then bring them in and read to it.          Maybe you
     25          can agree to what passages are involved and then tell the


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 1034 of 1061 PageID #: 1229
   001032                                                                             562
                                           Proceedings

       1         reporter.

       2                     So, we'll send the magnifier in and tell them

       3         we'll get them in response to their second note, and I

       4         guess we'll second call this while you go through the

       5         record.

       6                     MS. CILIA:    It will just take another minute,

       7         Judge.

       8                     THE COURT:    Well, if you think you can do it

       9         quickly, but the reporter has to be in on this.
      10                     Let's second call the case so the reporter can
      11         get her copy in and you can work with her on this response.

      12                     {Pause in the proceedings.)

      13                     (Defendant present.)
      14                     THE COURT CLERK:      Case on trial continues,
      15         Indictment 454/2011.
      16                     THE COURT:    All parties are present.
      17                     Have we agreed, Counsels, on the readback?
      18                     MS. GUASTELLA:     Judge, I just want to confer with
      19         my client, but I believe so.
      20                     THE COURT:    Okay.
      21                     MS. GUASTELLA:     Judge, no objection.     We did
      22         agree.
      23                     THE COURT:    So we've agreed.
      24                     Maurizia, are you ready?
      25                     THE COURT REPORTER:      Yes.


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 1035 of 1061 PageID #: 1230
   001033                                                                               563
                                           Proceedings

       1                    MS. CILIA:     Do you want us to put on the record

       2         what the pages are?

       3                     THE COURT:    I don't care.       If you've agreed,

       4         that's good enough for me.

       5                     MS. CILIA:    We will make a brief record.

       6                     This is regarding Janet Smith's testimony:            It

       7         starts on page 166, the lines are 19 through 25.           Next is

       8         page 167, the lines are 1 through 11.           The next is page

       9         173, the lines are 22 through 25.           Next is page 174, line

      10         1, and lines 19 through 23.
      11                     THE COURT:    Okay.     You can bring them in.

      12                     THE COURT OFFICER:         Your Honor ready for the

     13          jury?

      14                     THE COURT:    (Indicating.)
      15                     THE COURT OFFICER:         Jury entering.
      16                     {Whereupon, the jury enters the courtroom.)
      17                     THE COURT CLERK:       Do both sides stipulate the
      18         presence of a complete jury panel, properly seated?
     19                      People?
     20                     MS. CILIA:     Yes.
      21                    THE COURT CLERK:        Defense?
     22                     MS. GUASTELLA:        So stipulated.
      23                     THE COURT:    Good morning.       We've got the two
     24          notes this morning.      The first was Court Exhibit 16 in
     25          request for a magnifying glass, which we sent in, once we


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 1036 of 1061 PageID #: 1231
  001034                                                                              564
                                           Proceedings

       1         found one.

       2                      The next is Court Exhibit 17, and it reads as

       3         follows:     It's a jury note.     "Part of neighbor's testimony

       4         where she said she heard voices in David's apartment prior

       5         to borrowing the lighter."        So, we 1 ve pulled that testimony

       6         out from the record and the court reporter will read it to

       7         you now.

       8                      (Whereupon, the requested testimony is read

       9         back.)

     10                       THE COURT:   I hope that's helpful.      Thank you

     11          very much.     Please resume deliberations.

     12                       (Whereupon, the jury exits the courtroom.)

     13                       THE COURT:   Okay.    The jury has left.    We'll

     14          second call this.     I have another case.      Keep in mind,

     15          Counsels, as you know, I've got to send them to lunch in

     16          about an hour, so make sure you're here.
     17                       {Defendant remanded.)

     18                       {Court stands in recess awaiting the verdict of
     19          the jury.)

     20                       (Whereupon, Court Exhibit Number 18 is marked in
     21          evidence.)
     22                       (Defendant present.)
     23                       THE COURT:   All right.    All parties are present.
     24                       Court Exhibit 18, a jury note, says, "May we
     25          break for lunch," so let's bring them in and I'll send them


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 1037 of 1061 PageID #: 1232
   001035                                                                              565
                                           Proceedings

       1         to lunch.
       2                      THE COURT OFFICER:         Your Honor ready for the

       3         jury?

       4                      THE COURT:   (Indicating.)

       5                      THE COURT OFFICER:         Jury entering.

       6                      (Whereupon, the jury enters the courtroom.)
       7                      THE COURT CLERK:      Do both sides stipulate the
       8         presence of a complete jury panel, properly seated?

       9                      People?
      10                      MS. CILIA:   Yes.
      11                      THE COURT CLERK:      Defense?
      12                      MS. GUASTELLA:      Yes.
      13                      THE COURT:   We have your note, "May we break for

      14         lunch?"     It's lunchtime anyway.         I'm sorry for the delay.
      15         I was in conference with another judge in another case and
      16         I got caught up with that.         Bear with me.
      17                      Deliberations must be conducted only in the jury
      18         room when all jurors are present.           Therefore, all
      19         deliberations must now cease and must not be resumed until
      20         all of you have returned and are together again and in the
      21         jury room.     I'll make it 2 p.m.
      22                      Secondly, during the recess do not converse,
      23         either amongst yourselves or with anyone else, about
      24         anything related to this case.
      25                      Third, you remain under obligation not to


                                                  MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 1038 of 1061 PageID #: 1233
   001036                                                                             566
                                           Proceedings

       1         request, accept, agree to accept, or discuss with any

       2         person the receipt or acceptance of any payment or benefit
       3         in return for supplying any information concerning the
       4         trial.

       5                      Fourth, you must promptly report directly to me

       6         any incident within your knowledge involving an attempt by
       7         any person to improperly influence you or any members of
       8         the jury.
       9                      Fifth, you must not visit or view the premises or

      10         place where any charged crime was allegedly committed, or
      11         any other premises or place involved in the case.
     12                       Sixth, you must not read, view, or listen to any
      13         accounts or discussions of the case reported by newspapers,
      14         television, radio, the internet, or any other news media.
      15                      And, once again, finally, you must not attempt to
      16         research any fact, issue, or media, or law related to this
     17          case whether by discussion with others, by research in the
      18         library or internet, or by any other means or source.
     19                       Thank you.   Have a good lunch.
     20                       (Whereupon, the jury exits the courtroom.)
     21                       THE COURT:   Okay.   The jury has left.     I'll see
      22         you later.
      23                      (Defendant is remanded.)
     24                       (Whereupon, a luncheon recess taken.)
     25                       (Whereupon, court stands in recess awaiting the


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 1039 of 1061 PageID #: 1234
   001037                                                                             567
                                               Verdict

       1         verdict of the jury.)

       2                      THE COURT CLERK:      Court Exhibit 19 so marked.

       3                      (Whereupon, Court Exhibit 19 is marked in

       4         evidence.)
       5                      (Defendant present.}

       6                      THE COURT:   All parties are present.
       7                      We have Court Exhibit Number 19, a jury note,

       8         reading:     "The jury has reached a verdict," so let's bring
       9         the jury in and we'll take a verdict.
      10                      THE COURT CLERK:      Line them up.

      11                      THE COURT OFFICER:         Ready for the jury?
      12                      THE COURT:   Yes.
      13                      THE COURT OFFICER:         Jury entering.
      14                      (Whereupon, the jury is entering the courtroom.)
      15                      THE COURT CLERK:      Do both sides stipulate to a
      16         complete jury panel, properly seated?
      17                      People?
      18                      MS. CILIA:   Yes.
      19                      THE COURT CLERK:      Defense?
      20                      MS. GUASTELLA:      Yes.
      21                      THE COURT:   I have your note indicating you've
      22         reached a verdict, so the clerk will now take a verdict.
      23                      THE COURT CLERK:      Madam Foreperson, has the jury
      24         reached a verdict, yes or no?
      25                      THE FOREPERSON:      Yes.


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 1040 of 1061 PageID #: 1235
   001038                                                                             568
                                              Verdict

       1                     THE COURT CLERK:       Please rise.
       2                     How say you to Count 1, Murder in the Second

       3         Degree, guilty or not guilty?
       4                     THE FOREPERSON:       Guilty.

       5                     THE COURT CLERK:       How say you to Count 2,
       6         Criminal Possession of a Weapon in the Second Degree,

       7         guilty or not guilty?
       8                     THE FOREPERSON:       Guilty.
       9                     THE COURT CLERK:       The Foreperson may be seated.
      10                     Members of the jury, hearken unto your verdict as
      11         it now stands recorded:       You, and each of you, have said
      12         collectively, through your Foreperson, that you find the
      13         defendant guilty of Count 1, Murder in the Second Degree,
      14         and guilty of Count 2, Criminal Possession of a Weapon in
      15         the Second Degree, and so say you all?
      16                     THE JURORS:    Yes.
      17                     THE COURT:    Is there a request to poll the jury?
      18                     MS. GUASTELLA:     Yes, Judge.
      19                     THE COURT:    Poll the jury, please.
      20                     THE COURT CLERK:      Members of the jury, each of
      21         you say through your Foreperson that you find the
      22         defendant, Armand Skrine, guilty of Murder in the Second
      23         Degree and guilty of Criminal Possession of a Weapon in the
      24         Second Degree.
      25                     Juror Number 1, is that your verdict?


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          Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 1041 of 1061 PageID #: 1236
             001039                                                                             569
                                                       Verdict

~
                 1                    JUROR #1:    Yes.

                 2                    THE COURT CLERK:      Juror Number 2, is that your

                 3         verdict?

                 4                    JUROR #2:    Yes.

                 5                    THE COURT CLERK:      Juror Number 3, is that your

                 6         verdict?
                 7                     JUROR #3:   Yes.

                 8                    THE COURT CLERK:      Juror Number 4, is that your

                 9         verdict?

               10                     JUROR #4:    Yes.

               11                     THE COURT CLERK:      Juror Number 5, is that your

               12          verdict?

-~             13                     JUROR #5:    Yes.

               14                     THE COURT CLERK:      Juror Number 6, is that your

               15          verdict?

               16                      JUROR #6:   Yes.
               17                     THE COURT CLERK:      Juror Number 7, is that your

               18          verdict?

               19                     JUROR #7:    Yes.

               20                     THE COURT CLERK:      Juror Number 8, is that your
               21          verdict?
               22                     JUROR #8:    Yes.
               23                     THE COURT CLERK:      Juror Number 9, is that your
               24          verdict?
,..-,.,        25                     JUROR #9:    Yes.


                                                          MMS
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 1042 of 1061 PageID #: 1237
   001040                                                                             570
                                               Verdict

       1                      THE COURT CLERK:       Juror Number 10, is that your

       2         verdict?

       3                      JUROR #10:    Yes.

       4                      THE COURT CLERK:       Juror Number 11, is that your

       5         verdict?

       6                      JUROR #11:    Yes.
       7                      THE COURT CLERK:       Juror Number 12, is that your

       8         verdict?

       9                      JUROR #12:    Yes.

      10                      THE COURT:    Members of the jury, I want to thank

      11         you for your service in this matter.          We took you away from

      12         your jobs and your lives for an extended period.           We are

      13         very grateful to all of you for that sacrifice of your very

      14         valuable time.     You are now discharged from this matter.

      15                      If you have your notebooks, leave them.        If you

      16         have them in the jury room, leave them.          All the notebooks

      17         will be destroyed.        I am told you will be signed off across

      18         the street -- Okay, talk to the officers when you leave,

      19         they will give you instructions in terms of what you do

      20         from here.
      21                      In any event, thank you all for your service.
      22         This jury is discharged.          You are free to leave.
      23                      THE JURORS:    Thank you.
      24                      (Whereupon, the jury exits the courtroom.)
      25                      THE COURT:    All right.     The jury has left.


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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 1043 of 1061 PageID #: 1238
   001041                                                                                         571
                                                Proceedings

       1                       I need a date for investigation and sentence.

       2         Probation wants at least ten days.              Today is the 14th.           So,

       3         I think we're talking about, at the earliest, March 26th,

       4         27th, something of that sort.
       5                       Counselors, can we agree on a date?

       6                       MR. REEVES:       Your Honor, the 26th is not a good
       7         date for either Ms. Cilia for myself.                 The 27th?

       8                       MS. GUASTELLA:       The 27th is fine.

       9                       THE COURT:       The 27th is good.
      10                       Okay.   I'll put this on for March 27th for
      11         investigation and sentence.            I'll order a presentence
      12         report, and Mr. Skrine is remanded until then.
      13                       MS. GUASTELLA:       Judge, I'm reserving motions.
      14                       THE COURT:       That's fine.     If you want to file
      15         motions, perhaps you can do it by the 27th.                    I'll adjust
      16         the schedule if that's how it works out.
      17                       MS. GUASTELLA:       Thank you.
      18                       THE COURT:       Okay, thank you.
      19                       (Defendant remanded.)
      20                       {Proceedings concluded.)
      21    *      *       *       *        *       *     *        *        *        *        *
                  I hereby certify that the foregoing is a true and
      22    accurate transcript of the above proceedings to the best of my
            knowledge, skill, and ability.
      23

      24

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        Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 1044 of 1061 PageID #: 1239
           001042
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             1      SUPREME COURT OF THE STATE OF NEW YORK
                    COUNTY OF RICHMOND - CRIMINAL TERM - PART 5
             2      -------------------------------------X Indictment No.
                    THE PEOPLE OF THE STATE OF NEW YORK    454/11
             3
                                      -against-                   MURDER 2
             4
                    ARMAND SKRINE,
             5      NYSID# 08012423R          DEFENDANT.
                    -------------------------------------X Sentence
             6
                                                  18 Richmond Terrace
             7                                    Staten Island, New York 10301
                                                  July 29, 2014
             8
             9
                    BEFORE:
            10
                                      HONORABLE STEPHEN J. ROONEY
            11
                                                    Justice
            12
            13
            14      APPEARANCES:
            15
                                DANIEL M. DONOVAN, JR., ESQ.
            16                  District Attorney - Richmond County
                                BY: KYLE REEVES, ESQ.
            17                          and
                                     NATALIE BARROS, ESQ.
            18                       Assistant District Attorneys
            19
            20                  MARK FONTE, ESQ.
                                     Attorney for the Defendant
            21                       60 Bay Street
                                     Staten Island, New York 10301
            22
                            *         *      *         *      *      *
            23
            24
                                             KARYN S. GUTKIN
            25                            SENIOR COURT REPORTER
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           Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 1045 of 1061 PageID #: 1240
              001043
                                                                                        2
                                           Sentence - Skrine
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                1                      COURT CLERK:     On the Part 5 calendar, number
                2            four, Armand Skrine, Indictment 454 of 2011.
                3                      THE COURT:     I received papers on a 330 motion, I
                4            handed out a decision.      Did both sides receive it?
                5                      MR. REEVES:     Kyle Reeves, on behalf of the
                6            People.
                7                      Yes, your Honor, I did receive it.
                8                      MR. FONTE:     Good morning.    Mark Fonte, on behalf
                9            of the defendant.
               10                      I have read and reviewed the decision, and I have
               11            given my client a copy thereof.
               12                      THE COURT:     Okay.
               13                      Just for the record, for the reasons stated in
               14            the written decision, the motion is denied.
               15                      And I'm ready to proceed to sentencing, if the
               16            parties are ready.
               17                      MR. FONTE:     I'm ready.
               18                      MR. REEVES:     People are ready, your Honor.
               19                      COURT CLERK:     Are you Armand Skrine?
               20                      THE DEFENDANT:     Yes.
               21                      COURT CLERK:     Is Mr. Fonte, standing beside you,
               22            your attorney?
               23                      THE DEFENDANT:     Yes.
               24                      COURT CLERK:     Armand Skrine, you're before the
               25            Court for sentencing following your conviction by verdict
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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 1046 of 1061 PageID #: 1241
   001044
                                                                              3
                                 Sentence - Skrine

     1            of the crimes of Murder in the Second Degree and Criminal
     2            Possession of a Weapon in the Second Degree.
     3                        Before being sentenced, the Court will allow you,

     4            your attorney and the district attorney an opportunity to

     5            address the Court with respect to this matter regarding

     6            sentence.
     7                        For the People?
     8                        MR. REEVES:    Your Honor, before I address the
     9            Court, I previously, or Ms. Cilia had previously sent to

    10            the. Court in April 2014 a letter asking the Court,
    11            pursuant to 380.50 of the Criminal Procedure Law, to allow
    12            a member of David Williams' family to address the Court
    13            about the impact this crime has had on their lives.
    14                        I would ask the Court to recognize

    15            Miss Evelyn Porter, the mother of Mr. David Williams, and
    16            allow her to address the Court before I speak.
    17                        THE COURT:    Okay.   The last name?
    18                        MR. REEVES:    Porter.
    19                        THE COURT:    Okay, very well.
    20                        MS. PORTER:    Good morning, your Honor.
    21                        THE COURT:    Good morning.
    22                        MS. PORTER:    My name is Evelyn Porter, and I am
    23            the mother of David Williams.
    24                        I just want to say today that my son was
    25            viciously murdered by Armand Skrine, who is in the

            kg
          Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 1047 of 1061 PageID #: 1242
             001045
                                                                                        4
                                           Sentence - Skrine
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               1            courthouse today.      Why this heinous crime took place, I
               2            have no idea.     I'm here today on behalf of my son to say,
               3            although this crime has taken place and my son was
               4            viciously murdered on that day, that I was not even able
               5            to have an open casket for him because of this hideous
               6            crime.
               7                      And I would say to Armand Skrine today, you
               8            should be ashamed of yourself, and may that particular
               9            day, that very moment that you pulled the trigger and you
              10            murdered my son, I want that to burn inside of you for the
              11            rest of your God given life.
              12                      And in addition to that, I want to also say, what
              13            type of a friend were you to him, that my son opened his
              14            door to you and you committed this crime to him, how dare
              15            you.
              16                      May God forgive you today, because as far as I'm
              17            concerned this is something that you should--
              18                      MR. FONTE:     She is supposed to address the Court,
              19            not the defendant.
              20                      MS. PORTER:     You may have murdered his body, but
              21            I can tell you this,     on   this very day, my son will live
              22            forever and ever.
              23                      And when they lock you behind those doors and
              24            turn that key, remember this, look around this courthouse,
              25            he has friends that will remember him forever.          David will
,,-....
                      kg
           Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 1048 of 1061 PageID #: 1243
              001046
                                                                                         5
                                           Sentence - Skrine
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                1            live on forever and ever, and you, Mr. Skrine, you will be
                2            destined to your determination.        You are done, finished.
                3            And that's all I have to say on behalf of my son.
                4                      You robbed him, you robbed him from being a good
                5            father that he was.      You tried to disgrace his name in
                6            this courthouse.     And he was a good guy, a good man, my
                7            son, who you viciously murdered.        May you rot in hell.
                8                      That's all I have to say, your Honor.
                9                      THE COURT:    All right, that's the victim impact
               10            statement.
               11                      Mr. Fonte, do you want to make a statement?
               12                      MR. FONTE:    Yes, Judge.     My understanding of a
               13            victim impact statement is a representative of the family
               14            is allowed to address the Court, not allowed to address
               15            directly the defendant.      So that is my objection, to what
               16            is a victim impact statement.
               17                      I'm not sure exactly what that rant was, but if
               18            it was a victim impact statement, I certainly object to
               19            it.
               20                      THE COURT:     Your objection is noted.
               21                      Do the People want to be heard?
               22                      MR. REEVES:     I do, your Honor.     Two things.
               23                      Before I speak on behalf of the People of the
               24            State of New York, I do want to read into the record a
               25            letter that Miss Nicole Hunt, the wife of David Williams,
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         Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 1049 of 1061 PageID #: 1244
            001047
                                                                                       6
                                         Sentence - Skrine

              1            handed me, and I would ask this be made part of the
              2            record.   This is written by Miss Hunt and addressed to the
              3            Court.
              4                      MR. FONTE:     Judge, I'm going to object to a
              5            second impact statement.
              6                      THE COURT:    Let me rule on your first objection.
              7            I think Miss Porter's statement was a victim impact
              8            statement, it was largely addressed to the Court.
              9                       I don't dispute the fact she did address some
             10            remarks to your client.      But I think the purpose of the
             11            victim impact statement is to inform the Court of the
             12            impact that the crime had on the victim's family, and I

~            13            think that was accomplished.       So your objection is noted,
             14            I overrule it.
             15                       In terms of what Mr. Reeves wants to read, it's a
             16            letter, I don't view it as another victim impact
             17            statement.    I wouldn't permit two oral victim impact
             18            statements, the statute really doesn't permit it.           But I
             19            do consider letters, I get them all the time on
             20            sentencing.    This is a letter.     And whether I read it or
             21            whether Mr. Reeves reads it into the record, I don't think
             22            makes any deference.
             23                      So I will overrule that objection and permit
             24            Mr. Reeves to read the letter.
             25                      MR. REEVES:     Thank you, your Honor .
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           Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 1050 of 1061 PageID #: 1245
              001048
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                                            Sentence - Skrine
:'~
                1                      This is from Miss Nicole Hunt, the wife of
                2            David Williams and the mother of David Williams' child.

                3                      My complete life and my daughter's life were
                4            forever changed on December 8, 2011.         Little did any of us
                5            know that would be the last time we would see each other.
                6            A seemingly normal day ended in tragedy, and I was in
                7            shock for days after David passed.
                8                      Not only did I have to accept that David was
                9            gone, I had to explain to his four year old daughter.               For
               10            months my daughter had emotional outbursts and was
               11            inconsolable.
               12                      The person that we looked to, trusted and

r-..           13            depended on was ripped from our lives.         David was an
               14            honest, helpful person who did not deserve to die the way
               15            he did, especially by someone he trusted as a friend and
               16            welcomed into his house and around his family.          My
               17            daughter was robbed of a father who was constantly by her
               18            side.
               19                       Instead of planning birthday parties and
               20            weddings, I have been planning funeral arrangements and
               21            memorial services.     To be in the courtroom with
               22            Armand Skrine, the defendant, knowing that I had to be in
               23            the same room as him makes me sick to my stomach.
               24                      He deserves to pay for what he has done.           I'm
               25            asking for David, and the safety of my daughter and
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                       kg
     Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 1051 of 1061 PageID #: 1246
        001049
                                                                                   8
                                      Sentence - Skrine
-~
          1            myself, that Armand Skrine serve the maximum sentence for
          2            his crime, a life sentence without parole, for the life he
          3            so cruelly took.
          4                      And Miss Hunt asked me to make that part of the
          5            court record, that statement.
          6                      THE COURT:     You know, of course, that I cannot
          7            impose life without parole.
          8                      MR. REEVES:     I understand, your Honor.       That's
          9            Miss Hunt's sentiment.
         10                      THE COURT:     Understood.
         11                      MR. REEVES:     My request is to have the Court
         12            impose the maximum punishment that you can under the law,
         13            that is, to run the two terms consecutive to one another.
         14            Simply because the evidence adduced during this trial
         15            supported the People's contention that the defendant,
         16            armed with an AK 47 assault rifle, went into Mr. Williams'
         17            home and shot him to death.
         18                      He didn't shoot Mr. Williams twice, Armand Skrine
         19            shot Mr. Williams two times, in an effort to kill him both
         20            times.
         21                      As the Court heard, the first shot essentially
         22            pulpified the victim's heart.       When Mr. Williams fell in
         23            the hallway of his apartment building, mortally wounded,
         24            the defendant didn't walk away.        Instead, he took the
         25            rifle, he aimed it at Mr. Williams' head and he executed
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                 kg
Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 1052 of 1061 PageID #: 1247
   001050
                                                                             9
                                 Sentence - Skrine

     1            Mr. Williams.
     2                        Dr. de Roux told you that either of the two shots

     3            were fatal.
     4                        Your Honor, despite the lack of a significant
     5            criminal history, there are some crimes that only have to
     6            be committed once in order for a defendant to earn the
     7            maximum punishment, and I think the Court, in its
     8            experience and wisdom, has seen one of those cases before
     9            it when this case was tried in April 2014.
    10                        Because of the horrific nature of the crime,
    11            because of the way Armand Skrine has conducted his life to
    12            this date, I would ask the Court to impose the maximum
    13            sentence.
    14                        Thank you, your Honor.
    15                        THE COURT:   Thank you.
    16                        Mr. Fonte, would you like to be heard on
    17            sentencing?
    18                        MR. FONTE:   I would.
    19                        As the Court is aware, I was not the trial
    20            counsel during the trial of Armand Skrine, so my comments
    21            today are a result of reviewing the trial transcript, the
    22            presentence report, the 330.30 motion submitted by
    23            Ms. Guastella, and People's response thereto, as well as
    24            Dr. Barday's psychiatric report, which I submitted to the
    25            People and the Court, that psychiatric report dated May 5,

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Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 1053 of 1061 PageID #: 1248
   001051
                                                                            10
                                Sentence - Skrine

     1            2014 and which was at least partly the subject of my

     2            supplemental 330.30 motion.
     3                      Judge, because of the possibility and/or

     4            likelihood that this case may very well have to be retried

     5            again, having to go through an appeal process, I'm not
     6            going to comment on the facts of the case.
     7                      My client adamantly maintains his innocence, and
     8            I suppose the People should be congratulated on convicting
     9            the wrong person for the murder--
    10                      MR. REEVES:     Objection, your Honor.
    11                      MR. FONTE:    --of the deceased.
    12                      MR. REEVES:     The psychiatric report indicates
    13            Mr. Skrine killed the victim, so I think this is a
    14            somewhat hollow statement by counsel.
    15                      THE COURT:     I will hear him.     I will note that I
    16            address the psychiatric report issue as part of the 330.30
    17            application and decision.
    18                      Go ahead.
    19                      MR. FONTE:    Next, Judge, as Mr. Reeves pointed
    20            out, your Honor has a wealth of experience on these
    21            matters, on these sentences, and in reviewing the
    22            background of defendants.
    23                      This particular defendant's background is very
    24            different and stands apart from what we ordinarily see in
    25            the court.

            kg
            Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 1054 of 1061 PageID #: 1249
               001052
                                                                                        11
                                             Sentence - Skrine
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                 1                       Mr. Skrine, as a young man, lost his mother.
                 2            Despite that early loss, he began his life excelling.               He
                 3            went through high school, did well enough in high school
                 4            to attend college.     Became a college graduate.       And
                 5            excelled so much that he applied to and was accepted into
                 6            law school.
                 7                       And I think everybody in the well of this
                 8            courtroom knows how difficult that is.
                 9                       He gets into law school and begins his studies in
                10            the law.    At this point in time, according to Dr. Barday,
                11            he begins to suffer what began as periodic episodes of
                12            depression.    That depression became more and more apparent
                13            during his time in law school.
                14                       And apparently, he began to self medicate by
                15            using alcohol, and then gradually into other controlled
                16            substances.
                17                       But what is sad about this case-- obviously,
                18            there is a loss of a life, but there is also a young man
                19            who was seemingly on the road to success, he was on the
                20            jet path to success, coming from a somewhat impoverished
                21            background, with the loss of an intimate family member,
                22            yet dispute all of that, he was able to overcome.
                23                       Interjecting into his path in life, became his
                24            illness.    And the mental illness is what sidetracked this
                25            individual.    And it's an illness that he apparently

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         Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 1055 of 1061 PageID #: 1250
            001053
                                                                                     12
                                          Sentence - Skrine
,.-..,
              1            continues to suffer from.
              2                        I would note that Dr. Barday states in page 16 of
              3            his report that Mr. Skrine was suffering from both a mood
              4            disorder with psychotic features, as well as from

              5            substance abuse and dependence.        His interpersonal
              6            functioning gradually declined over time.
              7                        Having hit his apex in law school, Mr. Skrine was
              8            never then able to pass the bar, sustain gainful
              9            employment or maintain personal relationships.
             10                        I understand this is a defense-submitted report;
             11            however, as the Court is aware, the defendant was the
             12            subject of a 730 examination well before I ever got into
             13            the case.    Ms. Guastella apparently asked for a 730
             14            examination, and at one point he was found unfit to
             15            proceed.
             16                        So we have at least two state psychiatrists,
             17            state doctors, did an examination of the defendant and
             18            found him unfit.     And I bring this to the Court's
             19            attention for purposes of mitigation of sentence.
             20                        Certainly if the defendant committed these
             21            crimes, this is not actions which would rise to the level
             22            of mental disease or defect, as Ms. Guastella informed the
             23            Court, but I think it can and should be taken into
             24            consideration at mitigation of sentence that your Honor is
             25            about to set.

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         Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 1056 of 1061 PageID #: 1251
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                                          Sentence - Skrine
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              1                        Dr. Barday further states that by the time of the
              2            offense, he was no longer reflective on his life and on
              3            how to improve it, but was living day to day hustling on
              4            the street.
              5                        There is, however, evidence that disturbances in
              6            his mental state persisted after his arrest, as evidenced
              7            by his having been found unfit to stand trial and being
              8            committed to a _forensic hospital for psychiatric
              9            treatment.
             10                        I would, therefore, respectfully ask your Honor
             11            to consider these factors in mitigation of the defendant's
             12            sentence.
/""'.,       13                        THE COURT:     Thank you.
             14                        COURT CLERK:     Mr. Skrine?
             15                        THE COURT:     Mr. Skrine, would you like to say
             16            anything before I impose sentence?
             17                        THE DEFENDANT:     Yeah.
             18                        Um, I am very sorry for the loss that this family
             19            is dealing with.     Very sorry that I am sitting in this
             20            position, talking to you in this capacity.
             21                        Just like you all suffered losses, I have gone
             22            through a lot of pain, and a lot of trials and
             23            tribulations to this point in my life.
             24                        There was a point where I did suffer
             25            tremendously.     I wouldn't even be able to speak as
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             Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 1057 of 1061 PageID #: 1252
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                                              Sentence - Skrine

                  1            fluently as I am today if I didn't get this kind of

                  2            treatment in this sad situation that I have for mental
                  3            sickness, such as I was suffering from.
                  4                      I hope one day that the truth you see is fully

                  5            brought to you.     There were points in this trial, but I'm

                  6            not going to say I agreed with in the way that certain
                  7            people say things about me, the way that they pointed out

                  8            certain things to indicate that I am the guilty person in
                  9            this.
                 10                      And I just felt that there were certain things

                 11            that they did sloppy, that should have been looked at a

                 12            little bit more clearly, as I'm going in the right

  ~              13            direction.    So I'm going to say I'm sorry.
                 14                      THE COURT:    Thank you for your statement.
                 15                      Thank you all for your statements.
                 16                      I presided over the trial, I reviewed the
                 17            presentence report, of course, Dr. Barday's sentencing
                 18            statements, so I'm familiar with the facts and
                 19            circumstances.
                 20                      The defendant was convicted after a jury trial of
                 21            counts one and three in the indictment, Murder in the
                 22            Second Degree and Criminal Possession of a Weapon in the
                 23            Second Degree, respectively.
                 24                      The evidence indicated that the defendant and the
                 25            victim had known each other since college, and that on the
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          Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 1058 of 1061 PageID #: 1253
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                                          Sentence - Skrine

               1            day in question the defendant went to the victim's
               2            apartment with an AK 47 semiautomatic rifle and shot the
               3            victim twice.
               4                      One shot penetrated the chest and went through
               5            the lungs and the heart.      The other shot went through the
               6            victim's head.
               7                      The evidence indicated that this was delivered

               8            while the victim was lying prone on the hallway floor.
               9                      As the D.A. noted, the medical examiner testified
              10            that each shot was fatal.
              11                      Probation indicates as a result of these crimes,
              12            the victim's fiancee and his seven year old daughter are
,.-.,.,       13            now in counseling.
              14                      Probation also indicates, and the NYSID sheet
              15            verifies this, that Mr. Skrine has three prior misdemeanor
              16            convictions, one of which was for Criminal Possession of a
              17            Weapon in the Fourth Degree.
              18                      I will note Mr. Fonte's argument regarding mental
              19            health, and I'm certainly considering it; it was also
              20            addressed in the presentence report.
              21                      I will note in passing, as well, that no
              22            psychiatric defense was raised in this case and no
              23            intoxication defense was raised.
              24                      These were senseless crimes, as far as I can
              25            tell, and committed in a brutal manner with tragic effect.

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           Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 1059 of 1061 PageID #: 1254
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                                            Sentence - Skrine
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                1                      I will note that the sentence as to count three,
                2            which is Criminal Possession of a Weapon in the second
                3            degree, is going to involve a period of post-release
                4            supervision.
                5                      I just want to advise Mr. Skrine that pursuant to
                6            the Penal Law, a period of post-release supervision is
                7            automatically included in every determinate sentence as a
                8            part thereof.    The Board of Parole provides this
                9            supervision and is empowered to impose this supervision
               10            during the post-release period in the same manner as it
               11            does for defendants on parole or conditional release.
               12                      A Violation of any period of supervision

~              13            occurring at any time during any period of post-release
               14            supervision would subject the defendant to a further
               15            period of imprisonment, up to the balance of the remaining
               16            period of post-release supervision.
               17                      Accordingly, and considering all of the above,
               18            the sentences are as follows:
               19                      As to count one, which was a conviction of Murder
               20            in the Second Degree, a Class A felony, in violation of
               21            Penal Law 125.25 subdivision one, the sentence is an
               22            indeterminate one consisting of 25 years to Life; that is,
               23            a minimum of 25 years, a maximum of life.
               24                      As to count three, which was a conviction for
               25            Criminal Possession of a Weapon in the Second Degree, a
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     Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 1060 of 1061 PageID #: 1255
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                                      Sentence - Skrine

          1            Class C violent felony offense, in violation of Penal Law
          2            Section 265.03 subdivision three, the sentence is a
          3            determinate one consisting of ten years, to include and to
          4            be followed by a two and a half year period of
          5            post-release supervision.
          6                        I will direct that these sentences run
          7            concurrently with each other.
          8                       Mr. Fonte, if you want me to, I will make sure
          9            the defendant's commit card is addressed mental health
         10            treatment requested.
         11                       MR. FONTE:     That is my request, Judge.     Thank
         12            you.
~-       13                       THE COURT:     We will make that notation on the
         14            commit card.
         15                       Surcharges and fees are imposed, as required by
         16            law.     I will direct they come from inmate funds.
         17                       And I would like to see that Mr. Skrine is
         18            advised of his right to appeal the judgement of this
         19            Court.
         20                       COURT CLERK:     Mr. Skrine, pursuant to the New
         21            York City Administrative Code 10-601 Gun Offender
         22            Registration Act, which I will provide to you, you must
         23            register in writing at the time of your sentence by
         24            signing the Gun Offender Registration Form, and you must
         25            physically report to the NYPD gun offender monitoring unit

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            Case 1:23-cv-04575-DG Document 12-1 Filed 12/01/23 Page 1061 of 1061 PageID #: 1256
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                                             Sentence - Skrine

                 1            within 48 hours of your release.
                 2                      You're also advised that you have 30 days to
                 3            appeal, and I will give you a form for that, as well.

                 4                      MR. FONTE:     I would like the record to reflect

                 5            that my client has been given written notice of appeal,
                 6            and I will file a notice of appeal with the Court.
                 7                      THE COURT:    Very good.     I think that's
                 8            everything.
                 9                      MR. FONTE:     Judge, let the record reflect I'm

                10            handing to Mr. Skrine a written notice of appeal.
                11                      THE COURT:    Okay.    If there is nothing else, I
                12            will let the officers take charge.
~.              13                      MR. REEVES:     Thank you, your Honor.
                14                      MR. FONTE:    Thank you.
                15                      THE COURT:    Thank you.
                16      CERTIFIED TO BE A TRUE AND ACCURATE TRANSCRIPT OF THE ORIGINAL
                        STENOGRAPHIC MINUTES     N OF THIS PROCEEDING.
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                                               Senior Court Reporter
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